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                                             Exhibit A


                                AHC of Supporting Counsel Members


              Law Firm                       Address                      Number of Claims
                                                                            Represented

 Andres Pereira Law Firm          Andres Peirera                  63
                                  14709 Custer Court
                                  Austin, Texas 78734
 Andrews & Thornton               Anne Andrews                    2,031
                                  4701 Von Karman Ave.
                                  Suite 300
                                  Newport Beach, CA 92660
 Heninger Garrison Davis, LLC     W. Lewis Garrison, Jr.          97
                                  224 1st Avenue North
                                  Birmingham, AL 35203
 Johnson Law Group                Basil E. Adham                  2,132
                                  2925 Richmond Avenue
                                  Suite 1700
                                  Houston, Texas 77098
 Linville Law Group               Hunter Linville                 87
                                  2100 Riveredge Pkwy
                                  Suite 750
                                  Atlanta, GA 30328
 McDonald Worley PC               Don Worley                      808
                                  1770 St. James Place
                                  Suite 100
                                  Houston, Texas 77056
 Nachawati Law Firm               Majed Nachawati                 4,949
                                  5489 Blair Road
                                  Dallas, TX 75231
 OnderLaw, LLC                    James Onder                     21,411
                                  110 E. Lockwood Ave
                                  St. Louis, MO 63119
 Paul LLP                         Ashlea Schwarz                  17
                                  601 Walnut Street
                                  Suite 300
                                  Kansas City, MO 64106
 Pulaski Kherkher, PLLC           Adam Pulaski                    6,231
                                  2925 Richmond Avenue
                                  Suite 1725
                                  Houston, TX 77098
 Rueb Stoller Daniel (f/k/a       Greg Rueb                       1,258
 Dalimonte Rueb, LLP)             1990 N. California Blvd., 8th
                                  Floor
                                  Walnut Creek, CA 94596




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                               Exhibit (s) A - Q Page 2 of 1377



 Singleton Schreiber              Andrew Bluth              144
                                  1414 K. Street
                                  Suite 470
                                  Sacramento, CA 95814
 Slater Slater Schulman LLP       Jonathan Schulman         366
                                  488 Madison Avenue
                                  20th Floor
                                  New York, NY 10022
 Trammell PC                      Fletcher Trammell         1,505
                                  3262 Westheimer Rd
                                  #423
                                  Houston TX 77098
 Watts Guerra LLP                 Mikal Watts               16,935
                                  5726 W. Hausman Rd
                                  Suite 119
                                  San Antonio, TX 78249




                                               2
66055/0001-45293283v6
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                         Exhibit (s) A - Q Page 3 of 1377


                                     Exhibit B-1


                            Andres Pereira Law Firm Claims




                                          2
66055/0001-45293283v5
           Case 23-01092-MBK              Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04               Desc
                                           Exhibit (s) A - Q Page 4 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit B-1 – Andres Pereira Law Firm - Redacted Claimant Schedule
Page 1 of 2
                           Exhibit B-1   Andres Pereira Law Firm          REDACTED VERSION


                                     Last Name
  Claimant         First Name
                                      (injured     Date of Birth
    No.         (injured person)                                          SSN       Date of Death (if
                                      person)
                                                                        (last 4)      applicable)       Claim Type
      1        Anita                A.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
      2        Judith               A.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
      3        Olivia               A.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
      4        Tonya                A.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
      5        Carey                B.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
      6        Kaedah               B.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
      7        Katey                B.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
      8        Angela               B.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
      9        Acacia               C.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     10        JoAnn                C.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     11        Patricia             D.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     12        Lori                 D.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     13        Renee                E.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     14        Paula                E.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     15        Tanya                F.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     16        Mary                 G.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     17        Georgette            G.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     18        Noemi                G.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     19        Michelle             G.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     20        Teresa               H.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     21        Catherine            H.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     22        Nancy                H.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     23        Remedios             H.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     24        Stephanie            H.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     25        Melissa              J.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     26        Valerie              J.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     27        Kimberly             J.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     28        Dana                 K.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     29        Melissa              L.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     30        Paulette             L.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     31        Rachel               M.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     32        Carolyn              M.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     33        April                M.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     34        Kathryn              M.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     35        Tami                 M.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     36        Tanyagale            M.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     37        Diana                M.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     38        Rosemary             M.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     39        Janice               M.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     40        Roseanne             M.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     41        Nakisha              P.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     42        Janese               P.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     43        Donna                R.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     44        Dwana                R.           [Redacted]        [Redacted]      [Redacted]         [Redacted]
     45        Tori                 R.           [Redacted]        [Redacted]      [Redacted]         [Redacted]

40000/0600-45304596v2
           Case 23-01092-MBK            Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04               Desc
                                         Exhibit (s) A - Q Page 5 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit B-1 – Andres Pereira Law Firm - Redacted Claimant Schedule
Page 2 of 2

                                   Last Name
  Claimant         First Name
                                    (injured     Date of Birth
    No.         (injured person)                                        SSN       Date of Death (if
                                    person)
                                                                      (last 4)      applicable)       Claim Type
     46        Thelma              R.          [Redacted]        [Redacted]      [Redacted]         [Redacted]
     47        Cynthia             S.          [Redacted]        [Redacted]      [Redacted]         [Redacted]
     48        Ebony               S.          [Redacted]        [Redacted]      [Redacted]         [Redacted]
     49        Carol               S.          [Redacted]        [Redacted]      [Redacted]         [Redacted]
     50        Michelle            S.          [Redacted]        [Redacted]      [Redacted]         [Redacted]
     51        Wendolyn            S.          [Redacted]        [Redacted]      [Redacted]         [Redacted]
     52        Constance           S.          [Redacted]        [Redacted]      [Redacted]         [Redacted]
     53        Diane               S.          [Redacted]        [Redacted]      [Redacted]         [Redacted]
     54        Barbara             S.          [Redacted]        [Redacted]      [Redacted]         [Redacted]
     55        Donna               T.          [Redacted]        [Redacted]      [Redacted]         [Redacted]
     56        Jaqueline           T.          [Redacted]        [Redacted]      [Redacted]         [Redacted]
     57        Jessica             T.          [Redacted]        [Redacted]      [Redacted]         [Redacted]
     58        Melissa             T.          [Redacted]        [Redacted]      [Redacted]         [Redacted]
     59        Pamela              W.          [Redacted]        [Redacted]      [Redacted]         [Redacted]
     60        Susan               W.          [Redacted]        [Redacted]      [Redacted]         [Redacted]
     61        Teri                W.          [Redacted]        [Redacted]      [Redacted]         [Redacted]
     62        Wendy               W.          [Redacted]        [Redacted]      [Redacted]         [Redacted]
     63        Joanne              W.          [Redacted]        [Redacted]      [Redacted]         [Redacted]




40000/0600-45304596v2
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                     Exhibit (s) A - Q Page 6 of 1377


                                 Exhibit B-2


                Andres Pereira Law Firm Form Retainer Agreement
         Case 23-01092-MBK       Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04           Desc
                                  Exhibit (s) A - Q Page 7 of 1377

                                 CONTRACT OF REPRESENTATION
                                      Personal Injury Client

I                                            (“the Client”) employ and retain Andres Pereira, Esq. and
The Shapiro Legal Group, PLLC (hereinafter “Associated Counsel”) to represent me as set forth
herein for my personal injury claim related to Talc.

This contract can be cancelled by me by written notification to the attorney at any time within three (3)
business days of the date the contract was signed, as shown below, and if cancelled the client shall
not be obligated to pay any fees to the attorney(s) for the work performed during that time.

1.     SCOPE OF REPRESENTATION

Associated Counsel agree to investigate and evaluate my possible claim or claims based on personal
injury due to Talc.

If at any time during the course of investigating, preparing, handling or prosecuting this claim the
attorneys make a good faith determination that further action is untenable or that a successful
conclusion is not possible, then the attorneys have the right to withdraw from the case by returning to
the client's last known address, all file materials along with a letter of explanation for the withdrawal.

I empower Associated Counsel to take all steps in this matter deemed by them to be advisable for the
investigation and handling of my claim, including hiring investigators, expert witnesses and/or other
attorneys and filing any legal action necessary. I understand and agree that the scope of
representation herein does not include the filing of any claim for medical malpractice related to or
arising from Talc, or any claim for workers' compensation coverage or other state or federal employee
benefits.

I authorize the Associated Counsel to associate other co-counsel if Associated Counsel believe it
advisable or necessary for the proper handling of my claim, and expressly authorize Associated
Counsel to divide any attorneys' fees that may eventually be earned with co-counsel so associated for
the handling of my claim. This will not increase the fees I owe but will come from the attorneys’
portion of fees.

2.     ATTORNEYS' FEES

It is understood and agreed that I am employing the Associated Counsel as set forth herein, and that
if no recovery is made, I will not owe Associated Counsel for any sums whatsoever as
attorneys' fees.

I agree to pay the Associated Counsel attorney’s fees as follows:

       CONTINGENT FEE ARRANGEMENT

       I agree to pay a REDACTED contingent fee from the gross recovery made on my behalf.

         If there is an appeal, I agree to pay an additional 5% of any recovery after the notice of appeal
is filed or post-judgment relief or action is required for recovery on the judgment.


                                                                                                  Page 1 of 3
         Case 23-01092-MBK      Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04           Desc
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      In the event there is no recovery there is no fee.

3.    EXPENSES OF LITIGATION

I understand that during the term of representation, my attorneys will advance all litigation expenses
incurred on my behalf in this action including, but not limited to, filing fees, service of process fees,
medical record fees, court reporter expenses, interest paid for monies borrowed to advance my case,
investigation expenses, photographs and photo-reproduction expenses, and reasonable travel
expenses but that those expenses will be deducted from my net recovery of any settlement or
recovered proceeds. In the event no recovery is made, I understand that I owe the Associated
Counsel nothing and I have no obligation to reimburse the Associated Counsel for expenses
incurred in the litigation of our case. At the time of disbursement of any proceeds recovered on my
behalf under the terms of this contract, I will be provided with a detailed closing statement reflecting
the method by which attorneys' fees have been calculated and the expenses of litigation which are
due to the Associated Counsel from the verdict or settlement proceeds. I also understand that the
Associated Counsel may have received liens from my medical providers, insurance companies,
Medicaid/Medicare for the treatment I have had related to my mesh implant and that these medical
costs will be negotiated by the firm but will be paid from my portion of any recovery.

4.    SETTLEMENT DISCUSSIONS/GROUP SETTLEMENT

I will have authority to accept or reject any final settlement amount after receiving the advice
of my attorneys. I understand that this suit may be handled as a part of a larger number of cases
which may be aggregated for settlement and/or trial preparation. I authorize my attorneys to enter
into aggregate settlement negotiations, and to disclose the amount of my proposed settlement, the
nature of my damages, and other factors relevant to evaluation of settlement values to other clients
whose cases are included in the aggregate of cases. I also understand that certain expenses will be
incurred in a joint effort to handle all cases. I authorize my attorneys to prorate expenses among all
the cases in the settlement group.

I understand that no guarantee or assurances of any kind have been made regarding the likelihood of
success of my claim, but that my attorneys will use their skill and diligence, as well as their
experience in the field of personal injury litigation, to diligently pursue my action.

Client acknowledges that client has retained the Associated Counsel, for the sole purposes expressly
stated in this contract. Client understands that the Associated Counsel its partners, associates, or
other representatives make no representations, express or implied, to perform any legal services or
provide any legal opinions, on any matter not expressly addressed in this contract.


5.    TERMINATION OF REPRESENTATION

I understand I can terminate the Associated Counsel's representation of me at any time by providing
written notice to the Associated Counsel at the address of their principal office. Should I elect to
terminate the Associated Counsel's representation prior to the full conclusion of Associated Counsel's
services under this contract, I understand and agree that the Associated Counsel have a claim for
expenses of litigation and unpaid attorneys' fees which will become due only upon receipt by me or by
any successor attorney of any proceeds for any remaining portion of my personal injury claim.

                                                 * * *

                                                                                                 Page 2 of 3
       Case 23-01092-MBK   Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04   Desc
                            Exhibit (s) A - Q Page 9 of 1377

I HAVE READ AND UNDERSTAND THIS CONTRACT AND AGREE AS STATED ABOVE ON

________________________________, 20_____.


                               ____________________________________
                               SIGNATURE

                               ____________________________________
                               FULL NAME (please print)




                                                                                    Page 3 of 3
Case 23-01092-MBK   Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04   Desc
                     Exhibit (s) A - Q Page 10 of 1377


                                Exhibit C-1


                         Andrews & Thornton Claims
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
                                                                                        11 of 1377
Exhibit C-1 – Andrews Thornton - Redacted Claimant Schedule
Page 1 of 58


                                Exhibit C-1 - Andrews & Thornton [REDACTED VERSION]

              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
     1      Tobbie         A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
     2      Carrie         A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
     3      Shirley        A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
     4      Maria          A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
     5      Paola          A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
            Geraldine
    6       Lucille        A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    7       Yolanda R.     A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    8       Mary           A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    9       Barbara        A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    10      Melonie        A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    11      Tameka A       A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    12      Montrice       A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    13      Linda          A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    14      Lisa           A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    15      Melinda        A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    16      Stephanie M    A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    17      Chelsea        A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    18      Cynthia        A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    19      Christine      A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    20      Peaches        A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    21      Edwyna         A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    22      Kadeijah       A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    23      Arteisha       A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    24      Talisha        A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    25      Patrice        A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    26      April          A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    27      Linda          A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    28      Regina         A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    29      Latifha        A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    30      Allene         A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    31      Andranee       A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    32      Tiffanie       A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    33      Marlena        A.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]

40000/0600-45309592v1                                                                                                 1
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
                                                                                        12 of 1377
Exhibit C-1 – Andrews Thornton - Redacted Claimant Schedule
Page 2 of 58


              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
    34      Marcia         A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    35      Grace          A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    36      Cunie          A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    37      Karen          A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    38      Carmela        A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    39      Angela         A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    40      Valerie        A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    41      Karolynne      A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    42      Nancy          A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    43      Aywanna        A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    44      Sherry Evon    A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    45      Andrea         A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    46      Natasha        A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    47      Cheryl         A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    48      Delivia        A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    49      Anita          A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    50      Natasha        A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    51      Irene          A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    52      Taina          A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    53      Christle       A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    54      Monique        A.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    55      Kimberly       B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    56      Erin           B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    57      Shanda         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    58      Veronica       B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    59      Jamie          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    60      Christine      B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    61      Benielle       B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    62      Anna           B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
            Wendolyn
    63      Denise         B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    64      Karen          B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    65      Andrea         B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    66      Tina           B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    67      Charlene       B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
    68      Rochelle       B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]

40000/0600-45309592v1                                                                                                 2
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
                                                                                        13 of 1377
Exhibit C-1 – Andrews Thornton - Redacted Claimant Schedule
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
    69      Shinik         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    70      Diana          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    71      Breann         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    72      Valarie        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    73      Imani          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    74      Kimberly       B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    75      Tanya D        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    76      Valerie        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    77      Bamocka        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    78      Deborah        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    79      Nataysai       B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    80      Linda          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    81      Shaniqua       B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    82      Kenisha        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    83      Lashunda       B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    84      Regina         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    85      Cindy          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    86      Hope           B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    87      Brittiney      B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    88      Kandinisha     B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    89      Diana          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    90      Tayana         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    91      Barbara        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    92      Nichelle       B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    93      Inovia         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    94      Diana          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    95      Keisha         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    96      Pamela         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    97      Shari          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    98      Victoria       B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    99      Lola           B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   100      Bobbie Jo      B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   101      Joanne         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   102      Mashayla       B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   103      Aida           B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   104      Brenda         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

40000/0600-45309592v1                                                                                                 3
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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Exhibit C-1 – Andrews Thornton - Redacted Claimant Schedule
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   105      Denorvala      B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   106      Alice          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   107      Lovie          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   108      Shaquita       B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   109      Diane          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   110      Lenise         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   111      Tenesha        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   112      Edna           B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   113      Zsarje         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   114      Joyeuse        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   115      Marlena        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   116      Nekitress      B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   117      Angel          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   118      Alexcia        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   119      Angela         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   120      Genie Lou      B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   121      Doreen         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   122      Tyesha         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   123      Essence        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
            Christine
   124      Geraldine      B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   125      Nina           B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   126      Shabronte      B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   127      Shinah         B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   128      Kristin        B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   129      Jenni          B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   130      Katrina        B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   131      Michelle       B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   132      Donna          B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   133      Amy            B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   134      Cherrie        B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   135      Patricia       B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   136      Safara         B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   137      Renee          B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   138      Crystal        B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   139      Diane          B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]

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                CaseLLC,
In re: LTL Management    23-01092-MBK
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                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   140      Clinetta       B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   141      Mary           B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   142      Tiffany        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   143      Judy           B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   144      Kristen        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   145      Crystal        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   146      Bonnie         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   147      Diana          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   148      Brittany       B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   149      Sashaye        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   150      Marilyn        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   151      Esperanza      B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
            Chassidy
   152      Monique        B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   153      Kimberly       B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   154      Metarsha       B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   155      Karen          B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   156      Paula          B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   157      Teresa         B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   158      Debbie         B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   159      Felicia        B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   160      Barbara        B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   161      Belinda        B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   162      Kesheba        B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   163      Nancy          B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   164      Tammy          B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   165      Renee          B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   166      Denise         B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   167      Quinetta       B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   168      Andreneka      B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   169      Katherine      B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   170      Ebony          B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   171      Tausha         B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   172      Lisa           B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   173      Chemeka        B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   174      Janay          B.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]

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                CaseLLC,
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   175      Tamikia        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   176      Janie          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   177      Renorda        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   178      Dana           B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   179      Londea         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   180      Erica          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   181      Troi           B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   182      Imani J        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   183      Mary           B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   184      Thelma         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   185      Gloria         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   186      Barbara        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   187      Lara           B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   188      Joseph         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   189      Tammy          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   190      Tamika         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   191      Nyeisa C       B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   192      Mariah         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   193      Martha         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   194      Barbara        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   195      Georgia        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   196      Cheryl         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   197      Margie         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   198      Tija           B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   199      Keena          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   200      Neysi Carol    B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   201      Jacqueline     B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   202      Susan          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   203      Kenna          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   204      Kimberly       B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   205      Fhallen        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   206      Shanell        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   207      Deborah        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   208      Sian           B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   209      Beth           B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   210      Crystal        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

40000/0600-45309592v1                                                                                                 6
                CaseLLC,
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
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                                                                         Q Page Rubio LLP
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   211      Veronica       B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   212      Cynthia        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   213      Moriah         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   214      Shenita        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   215      Shamika        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   216      Tamica         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   217      Corleen        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   218      Mikhaila       B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   219      Erickoine      B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   220      Catherin       B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   221      Juatona        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   222      Phantasia      B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   223      Samiria        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   224      Lisa           B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   225      Claudia        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   226      Nicole         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   227      Angela         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   228      Khisha         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   229      Terri          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   230      Yvette         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   231      Wilhelmina     B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   232      Lisa           B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   233      Nakita         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   234      Angela         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   235      Jaquece        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   236      Lakesha        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   237      Tammi          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   238      Betty          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   239      Bhance         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   240      Linda          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   241      Antoinette     B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   242      Cemara         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   243      Joyce          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   244      Rhonda         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   245      Thomas         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   246      Angel          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

40000/0600-45309592v1                                                                                                 7
                CaseLLC,
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                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
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                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   247      Shaunte        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   248      Kay            B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   249      Patricia       B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   250      Paulina        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   251      Krystine       B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   252      Carla          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   253      Michelle       B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   254      LuAnn          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   255      Ellen          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   256      Tawanza        B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   257      Latisa         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   258      Adrienne       B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   259      Debra          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   260      Ryana          B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   261      Aneika         B.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   262      Margaret       C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   263      Mary           C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   264      Tatiana        C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   265      Janice         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   266      Sarah          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   267      Tracey         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   268      Kathi          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   269      Monique        C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   270      Doral          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   271      Sky            C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   272      Delphine       C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   273      Bonita         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   274      Holly M.       C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   275      Alisha         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   276      Isalina        C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   277      Tiffany        C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   278      Donalda        C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   279      Raven          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   280      Cynthia        C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   281      Cinthia        C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   282      Marcy          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

40000/0600-45309592v1                                                                                                 8
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04              Desc
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                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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Exhibit C-1 – Andrews Thornton - Redacted Claimant Schedule
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              First Name         Last Name
Claimant
                (injured          (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)           person)                     (last 4)    applicable)       Claim Type
   283      Kathleen Mary   C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   284      Joann           C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   285      Barbara         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   286      Marisela        C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   287      Linda           C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   288      Becky Ann       C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   289      Jolene          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   290      Rosemary        C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   291      Verna           C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   292      India           C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   293      Jatanya         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   294      Jermietra       C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   295      Crystal         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   296      Victoria        C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   297      Marylin         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   298      Blaze           C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   299      Amanda          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   300      Kennedy         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   301      Akia            C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   302      Melodie         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   303      Elizabeth       C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   304      Michelle        C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   305      Doreen          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   306      Fritz           C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   307      Jacqueline      C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   308      Dreanna         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   309      Maria           C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   310      Yelany          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   311      Glennis         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   312      Teresa          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   313      Brandi          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   314      Cecilia         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   315      Robyn           C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   316      Shantell        C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   317      Valerie L       C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   318      Vonetta         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

40000/0600-45309592v1                                                                                                  9
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04              Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
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                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name         Last Name
Claimant
                (injured          (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)           person)                     (last 4)    applicable)       Claim Type
   319      Heather         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   320      Marcella        C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   321      Susana          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   322      Cristal         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   323      Kimberly        C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   324      Sallie          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   325      Phyllis         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   326      Carolyn         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   327      Linda           C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   328      Katrina         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   329      Catherine       C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   330      Abrigail        C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   331      Tyra            C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   332      Kathrine        C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   333      Tiamundria      C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   334      Stephanie       C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   335      Bailey          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   336      Elaine          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   337      Tiffany         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   338      Sincere         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   339      Alexis          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   340      Leslie          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   341      Tiquania        C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   342      Lori            C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   343      Elaine          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   344      Wanda           C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   345      Natalie Marie   C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   346      Ariane          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   347      Sherlisd        C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   348      Shana           C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   349      Tammy           C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   350      Cathi           C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   351      Brenda          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   352      Margaret        C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   353      Paislee         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   354      Janiyia         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

40000/0600-45309592v1                                                                                                  10
                CaseLLC,
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                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04               Desc
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                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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Exhibit C-1 – Andrews Thornton - Redacted Claimant Schedule
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              First Name          Last Name
Claimant
                (injured           (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)            person)                     (last 4)    applicable)       Claim Type
   355      Kathlen          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   356      Tjuanna          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   357      Whitney          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   358      Mary             C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   359      Laura            C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   360      Lindy            C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   361      Chevon           C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   362      Kenyetta         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   363      Tammy            C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   364      Pamela           C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   365      Lisa             C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   366      Sherilyn         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   367      Cynthia          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   368      Beth             C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   369      Asya             C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   370      Shavon           C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   371      Polly            C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   372      Jennifer Marie   C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   373      Barbara          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   374      Chelsea          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   375      Nicole           C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   376      Maxine           C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   377      Victoria         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   378      Jennifer         C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   379      Alisha           C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   380      Daisy            C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   381      Bertha           C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   382      Marisol          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   383      Nicole           C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   384      Ramona           C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   385      Quiana           C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   386      Toymica          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   387      Christine        C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   388      Linette          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   389      Toni             C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   390      Deborah          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

40000/0600-45309592v1                                                                                                   11
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
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                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   391      Rebecca        C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   392      Traci          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   393      Chrishawn      C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   394      Darlene        C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   395      Kelly          C.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

   396      Constance Ella C.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   397      Jacklene       C.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   398      Penny          C.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   399      Wanda          C.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   400      Shatora        C.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   401      Judith         C.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   402      Kathy          C.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   403      Lashonna       C.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   404      Mhanta         C.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   405      Shakeria       C.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   406      Willette       C.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   407      Sally          C.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   408      Victoria       C.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   409      Lakeisha       C.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   410      Marie          C.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   411      Lummani T.     C.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   412      Cynthia Kay    C.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   413      Milagros       C.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   414      Sierra Renee' C.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   415      Marilyn        C.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   416      Elizabeth      C.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   417      Janet          C.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   418      Cynthia        C.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   419      Cowanda        C.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   420      Gloria         C.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   421      Lesette        D.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   422      Keyonda        D.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   423      Shakima        D.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   424      Shelley        D.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   425      Cydnee         D.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]

40000/0600-45309592v1                                                                                                 12
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
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                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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Exhibit C-1 – Andrews Thornton - Redacted Claimant Schedule
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   426      Sammyra        D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   427      Latasha        D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   428      Barbara        D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   429      Betty          D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   430      Leticia        D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   431      Chonnise       D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   432      Kiona          D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   433      Armani         D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

   434      Sheron Denise D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   435      Pamela        D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   436      Jacinda       D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   437      Shontae       D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   438      Kioko         D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   439      Julien        D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   440      Makenzie      D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   441      Kiara         D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   442      Christina     D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   443      Carly         D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   444      Eugenia       D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
            Larhonda
   445      Dearsha       D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   446      Natasha D.    D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   447      Toyna         D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   448      Whitney       D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   449      Regina        D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   450      Bythia        D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   451      Lakeisha      D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   452      Wanda         D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   453      Patricia      D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   454      Laura         D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   455      Terry         D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   456      Robbrell      D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   457      Cherie        D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   458      Sandra        D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   459      Tabitha       D.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]

40000/0600-45309592v1                                                                                                 13
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   460      Clarissa       D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   461      Lovelee        D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   462      Kianna         D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   463      Otilia         D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   464      Roberta        D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   465      Lydia          D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   466      Anesha         D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   467      Dana           D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   468      Kristin        D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   469      Patricia       D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   470      Shawnika       D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   471      Robin          D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   472      Marilyn D      D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   473      Jane           D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   474      Lauren         D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   475      Nickie         D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   476      Samia          D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   477      Jennifer       D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   478      Diana          D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   479      Roxanne        D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   480      Tammy          D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   481      Pamela         D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   482      Delmy          D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   483      Tara           D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   484      Serina         D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   485      Valerie        D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   486      Anna           D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   487      Tressa         D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   488      Stephine       D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   489      Tia M          D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   490      Katherine      D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   491      Laura          D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   492      Shaquara       D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   493      Tina           D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   494      Mona           D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   495      Kara           D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

40000/0600-45309592v1                                                                                                 14
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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Exhibit C-1 – Andrews Thornton - Redacted Claimant Schedule
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   496      Phyllis        D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   497      Rita           D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   498      Shelly         D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   499      Andrea         D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   500      Ashley         D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   501      Chaquanda      D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   502      Tarris         D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   503      Betsy          D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   504      Tearl          D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   505      Kim A          D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   506      Gwendolyn      D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   507      Deborah        D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   508      Kristi         D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   509      Davida         D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   510      Sherria        D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   511      Stephanie      D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   512      Betty          D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   513      Yolanda        D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   514      Maytasha       D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   515      Annette        D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   516      Nicole         D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   517      Melody         D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   518      Veronica       D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   519      Ginger         D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   520      Phaness        D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   521      Demetria       D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   522      Joan           D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   523      Linda          D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   524      Durinda        D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   525      Carolyn        D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   526      Silvia         D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   527      Macey          D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   528      Misty          D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   529      Whylene        D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   530      Andrea         D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   531      Sherrie        D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

40000/0600-45309592v1                                                                                                 15
                CaseLLC,
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
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                                                                     A -Parkins
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   532      Kimberly       D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   533      Tawanda        D.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   534      Shaneeka       E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   535      Nykia          E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   536      Earnestine     E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   537      Kapeka         E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   538      Alicia         E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   539      Carla          E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   540      Erica          E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   541      Loreka         E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   542      Karolean       E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   543      Taquana        E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   544      Ethel          E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   545      Antoinette     E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   546      Sandra         E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   547      Lia Austin     E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   548      Georgiana      E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   549      Charissa       E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   550      Felicia        E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   551      Austine        E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   552      Becky          E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   553      Mercedes       E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   554      Brandi         E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   555      Tiffany        E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   556      Jennifer       E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   557      Jerrie         E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   558      April          E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   559      Shema          E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   560      Robin          E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   561      Vanessa        E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   562      Brianne        E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   563      Lena           E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   564      Terry          E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   565      Patricia       E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   566      Elaine         E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   567      Amia K         E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

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                                                                     A -Parkins
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   568      Dariesha       E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   569      Joan           E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   570      Alicia         E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   571      Enjoli         E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   572      Saieda R.      E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   573      Charlene       E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   574      Tamika         E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   575      Lepkicha       E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   576      Talita P       E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   577      Katharine      E.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   578      Portia         F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   579      Patricia       F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   580      Rebecca        F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   581      Latrice        F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   582      Shanel         F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   583      Ashley         F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   584      Denise         F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   585      Ella           F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   586      Naycora        F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   587      Shatanna       F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   588      Tameka         F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   589      Patis          F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   590      Bianca         F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   591      Charleszetta   F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   592      Samantha       F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   593      Janice         F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   594      Stephnie       F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   595      Barbara        F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   596      Quontina       F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   597      Angel          F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   598      Mirosly        F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   599      Pamela         F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   600      Shanika        F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   601      Lorna          F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   602      Loretta        F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   603      Erica          F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

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                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   604      Maile          F.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
            Maria
   605      Magdalena      F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   606      Sherry         F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   607      Yolanda        F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   608      Elizabeth      F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   609      Leha           F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   610      Erone          F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   611      Mary           F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   612      Judith         F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   613      Ashley         F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   614      Jean           F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   615      Denise         F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   616      Christa        F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   617      Ashley         F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   618      Naomi          F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   619      Victoria       F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   620      Katherine      F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   621      Kristian       F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   622      Andrea         F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   623      Paige          F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   624      Rebecca        F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   625      Latisha        F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   626      Shanaya        F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   627      Stephanie      F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   628      Keanna         F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   629      Valentiny      F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   630      Rose           F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   631      Jennifer       F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   632      Debbie         F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   633      Chanelle       F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   634      Janice         F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   635      Antonique      F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   636      Valecia        F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   637      Sharolyn       F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   638      Aletha         F.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]

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                CaseLLC,
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                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name    Last Name
Claimant
                (injured     (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)      person)                     (last 4)    applicable)       Claim Type
   639      Karen          F.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   640      Palestine      F.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   641      Legend         F.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   642      Linda          F.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   643      Shanita        G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   644      Joyce          G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   645      Frances        G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   646      Debbie         G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   647      Geneva         G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   648      Grace          G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   649      Renarda        G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   650      Monica         G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   651      Dev            G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   652      Evelyn         G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   653      Lleny          G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   654      Denecia        G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   655      Elizabeth      G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   656      Yvonne         G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   657      Davalla        G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   658      Octavia        G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   659      Robin          G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   660      Cynthia        G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   661      Sharon         G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   662      Nikole         G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   663      Japoria        G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   664      Dontevia       G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   665      Jessica        G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   666      Natalie        G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   667      Brittany A     G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   668      Samantha       G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   669      Kendra         G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   670      Dominique      G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   671      Martha         G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   672      Skylar         G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   673      Beulah         G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   674      Tina           G.              [Redacted]   [Redacted]        [Redacted]          [Redacted]

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                CaseLLC,
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                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04          Desc
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                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name     Last Name
Claimant
                (injured      (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)       person)                     (last 4)    applicable)       Claim Type
   675      Larae          G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   676      Wendy          G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   677      Melissa        G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   678      Yvette         G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   679      Jasmine        G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   680      Susan          G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   681      Yvette         G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   682      Tabitha        G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   683      Priscilla R    G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   684      Roshena        G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   685      Wanda          G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   686      Florinda       G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   687      Jacque         G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   688      Shaquetta      G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   689      Barbara        G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   690      Alejandra      G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   691      Rosellen       G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   692      Annette        G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   693      Katherine      G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   694      Stella         G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   695      Emelina        G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   696      Mia            G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   697      Sasha          G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   698      Donna          G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   699      Shannon        G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   700      Pamela         G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   701      Jeanna Boyd    G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   702      Dolores        G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   703      Aleisia        G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   704      Shequanie      G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   705      Connie         G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   706      Natasha        G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   707      Marian         G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   708      Shameeka       G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   709      Stacy          G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   710      Vermica        G.               [Redacted]   [Redacted]        [Redacted]          [Redacted]

40000/0600-45309592v1                                                                                              20
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                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name      Last Name
Claimant
                (injured       (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)        person)                     (last 4)    applicable)       Claim Type
   711      Latita         G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   712      Elizabeth      G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   713      Margaret       G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   714      Mary           G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   715      Patsy          G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   716      Lashay         G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   717      Destiny        G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   718      Leesa          G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   719      Wilhelmina     G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   720      Nancy          G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   721      Laura          G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   722      Cynthia        G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   723      Lacey          G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   724      Deanna         G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   725      Antwanett      G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   726      Erica          G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   727      Susan          G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   728      Gladys         G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   729      Frances        G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   730      Tracie         G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   731      Vernell        G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   732      Tameka         G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   733      Judith         G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   734      Samantha       G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   735      Trudy          G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   736      Adriana        G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   737      Lynita         G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   738      Sylvia         G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   739      Staci          G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   740      Valarie        G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   741      Norma          G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   742      Donna          G.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   743      Krista         H.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   744      Betty          H.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   745      Cora           H.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   746      Lynn           H.                [Redacted]   [Redacted]        [Redacted]          [Redacted]

40000/0600-45309592v1                                                                                               21
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                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
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                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   747      Krystal        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   748      Evett          H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   749      Crishawna      H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   750      William        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   751      Laquisha       H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   752      Robin          H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   753      Krystal        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   754      Brenda         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   755      Keyosha        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   756      Lonnie         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   757      Barbara        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   758      Delawna        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   759      Gloria Ann     H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   760      Loretta        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   761      Gildasha       H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   762      Stephanie      H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   763      Evon           H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   764      Lisa           H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   765      Lena           H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   766      Makeda         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   767      Earlene        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   768      Tamara         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   769      Latasha        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   770      Tiphanee       H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   771      Kimberly       H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   772      Mable          H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   773      Ericka         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   774      Jena           H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   775      Latoya         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   776      Denise         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   777      Chekhana       H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   778      Ashly          H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   779      Tawanna        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   780      Amee           H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   781      Ashley         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   782      Mary           H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

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                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   783      Monica         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   784      Donna          H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   785      Imogene        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   786      Theresa        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   787      Terayne        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   788      Kanisha        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   789      Shekia         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   790      Katrina        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   791      Jamie          H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   792      Rosie          H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   793      Kimberly       H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   794      Eva            H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   795      Carrie         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   796      Shiffonda      H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   797      Uhura          H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   798      Tiffany S      H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   799      Arielle        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   800      Patricia       H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   801      Alysha         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   802      Jaynie         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   803      Brianca        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   804      Melissa        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   805      Crystal        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   806      Elizabeth V    H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   807      Shajuanna      H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   808      Jamia          H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   809      Elizabet       H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   810      Natalie        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   811      Tonya          H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   812      Rhonda         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   813      Meosha         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   814      Shadeya        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   815      Scott          H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   816      Tina           H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   817      Altagracia     H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   818      Wendy          H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

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                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   819      Betty          H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   820      Olabisi        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   821      Jameka S       H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   822      Shannon        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   823      Sue            H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   824      Alix           H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   825      Louise         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   826      Regina         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   827      Crystal        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   828      Betty          H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   829      Betty          H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   830      Yorketha       H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   831      Melonie        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   832      Bacarra        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   833      Sandra         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   834      Kimberly       H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   835      Glenda         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   836      Lovette        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   837      Cassaundra J   H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   838      Edna           H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
            Daniela
   839      Tenisha        H.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   840      Kimberly       H.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   841      Deedy          H.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   842      Sonia          H.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   843      Rita           H.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   844      Connie         H.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   845      Jenice         H.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   846      Josephine      H.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   847      Ethel          H.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   848      Shelby         H.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   849      Teeann         H.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   850      Angelia        H.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   851      Angela         H.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   852      Julie          H.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   853      Dorothy M      H.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]

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                CaseLLC,
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   854      Mikwandaa      H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   855      Alison         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   856      Roxie          H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   857      Giordina       H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   858      Misty          H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   859      Gentry         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   860      Lenarda        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   861      Emma           H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   862      Mary           H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   863      Krista         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   864      Evaugn         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   865      Kimberly       H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   866      Georgianna     H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   867      Gail           H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   868      Roxane         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   869      Kathryn        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   870      Helen          H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   871      Anna           H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   872      Beverly        H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   873      Gladys         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   874      Karen          H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   875      Gwendolyn      H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   876      Chonta         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   877      Nancy          H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   878      Josephine      H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   879      Brenda         H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   880      Tina           H.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   881      Susan          I.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   882      Juanita        I.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   883      Karen          I.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   884      Beatrice       I.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   885      Penny          I.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   886      Leslie         I.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   887      Rosie          I.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   888      Felisha        J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   889      Dorothy        J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

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                CaseLLC,
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   890      Kelleana       J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   891      Angela         J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   892      Maretta        J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   893      Keyonna        J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   894      Kathy          J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   895      Shanquanett    J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   896      Kim            J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   897      Latrice        J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   898      Jane           J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   899      Evelyn         J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   900      Felicia        J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   901      Shalonda       J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   902      Kiesha         J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   903      Crystal        J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   904      Shandra        J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   905      Sharra         J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
            Latoya
   906      Shameka        J.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   907      Shontia        J.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   908      Twyla Sheere   J.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   909      Jocelyn        J.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   910      Gabrielle      J.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   911      Jsanique       J.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   912      Michele        J.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   913      Virginia       J.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   914      Regina Marie   J.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   915      Ayesha         J.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   916      Tyesha         J.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   917      Joyce          J.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   918      Robert Paul    J.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   919      Karen          J.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   920      Bridget        J.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   921      Kathy          J.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   922      Dana           J.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   923      Cyndi          J.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   924      Fantasha       J.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]

40000/0600-45309592v1                                                                                                 26
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                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   925      Schanaque      J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   926      Shawn          J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   927      Trisha         J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   928      Lashanda       J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   929      Dortha         J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   930      Latarska       J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   931      Nicole         J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   932      Tranell        J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   933      Markisha       J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   934      Quiana         J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   935      Sharon         J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   936      Labrea S       J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   937      Martha         J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   938      Rachel         J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   939      Florence       J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   940      Shatonna       J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   941      Deborah        J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   942      Sheri L        J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   943      Anna           J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   944      Penny          J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   945      Cassandra      J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   946      Frances        J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   947      Bobbi          J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   948      Rachel         J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   949      Kyria          J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   950      Sandra         J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   951      Johnnie        J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   952      Melissa        J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   953      Kristina       J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   954      Christine      J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   955      Fania          J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   956      Sheila C       J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   957      Aretha         J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   958      Alenea         J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   959      Angela V.      J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   960      Heather        J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

40000/0600-45309592v1                                                                                                 27
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                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   961      Serena         J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   962      Tiffany        J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   963      Sandra         J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   964      Taralynn       J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   965      Patricia       J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   966      Deyanna        J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   967      Samantha L     J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   968      Carolyn        J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   969      Ali R          J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   970      Monique        J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   971      Sandra         J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   972      Meaghan        J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   973      Erica M        J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   974      Momot          J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   975      Helen          J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   976      Sandra         J.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   977      Katherine      K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   978      Julia          K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   979      Marie          K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   980      Christine      K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   981      Latasha        K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   982      Jennifer       K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   983      Victoria       K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   984      Beatrice       K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   985      Brittany       K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   986      Mabel          K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   987      Sharon         K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   988      Mary           K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   989      Tanisha        K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   990      Bobbi          K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   991      Denise         K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   992      Fatima         K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   993      Tanya          K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   994      Deann          K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   995      Frances        K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   996      Sharon         K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

40000/0600-45309592v1                                                                                                 28
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
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                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
    997     Elsia Mae      K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    998     Lisa R.        K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
    999     Dawn           K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1000     Kathleen Ann   K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1001     Tiara          K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1002     Rita           K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1003     Ciera          K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1004     Elizabeth      K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1005     Courtney       K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1006     Margaret       K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1007     Khaisa         K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1008     Danielle       K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1009     Linda          K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1010     Lenor          K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1011     Joy            K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1012     Kimbra         K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1013     Regina         K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1014     Alexice        K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1015     Lisa           K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1016     Catrice        K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1017     Shannon        K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1018     Kim            K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1019     Stephanie      K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1020     Inita          K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1021     Trudy          K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1022     Rhonda         K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1023     Katherine      K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1024     Karen          K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1025     Adrienne       K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1026     Dolores        K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1027     Debra          K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1028     Sandra         K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1029     Maha           K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1030     Tonya          K.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1031     April          L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]


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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
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                                                                     A -Parkins
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              First Name           Last Name
Claimant
                (injured            (injured   Date of Birth     SSN        Date of Death (if
   No.
                person)             person)                    (last 4)       applicable)       Claim Type
            Marilyn
   1032     Rodriguez         L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1033     Myesha            L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1034     Anita             L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1035     Arvis             L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1036     Lakeya            L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1037     Christiana        L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1038     Thelma            L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1039     Lois              L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1040     Kyowanna          L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1041     Judith            L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1042     Teresa            L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1043     Brittany          L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1044     Teresa            L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1045     Monica            L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1046     Bobbi             L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1047     Tina              L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1048     Wanda             L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1049     Quaedra           L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1050     Tammy             L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1051     Nina              L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1052     Ellen             L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1053     Nicole            L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1054     Tracy             L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1055     Essence           L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1056     Brianna           L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1057     Tameka            L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1058     Pamela            L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1059     Evelyn            L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1060     Cheryl            L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1061     Joan Marie        L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1062     Crystal Tierria   L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1063     Chardaze          L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1064     Nicole            L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1065     Brenda            L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1066     Elizabeth         L.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]

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                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
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                                                                     A -Parkins
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   1067     Rebecca        L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1068     Tomika         L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1069     Atelaite       L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1070     Martha         L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1071     Tina           L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1072     Nicole         L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1073     Tynise         L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1074     Jasmine        L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1075     Thelma         L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1076     Alexis         L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1077     Camille        L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1078     Keona M        L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1079     Viki           L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1080     Shirley        L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1081     Laurie         L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1082     Judith         L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1083     Cherie         L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1084     Andria         L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1085     Dawn           L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1086     Beverly        L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1087     Cheniqua       L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1088     Donna          L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1089     Lynette        L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1090     Michelle       L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1091     Briahnna       L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1092     Ghloris        L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1093     Erykah         L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1094     Miriam         L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1095     Carolann       L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1096     Kristal        L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1097     Lauren         L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1098     Sandra         L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1099     Crystal        L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1100     Kawanna Y      L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1101     Ana            L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1102     Ana            L.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

40000/0600-45309592v1                                                                                                 31
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04         Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
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                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name    Last Name
Claimant
                (injured     (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)      person)                     (last 4)    applicable)       Claim Type
   1103     Leandra        L.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1104     Aldarys        L.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1105     Laura          L.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1106     Brenda         L.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1107     Sylvia         L.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1108     Dawn           L.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1109     Kayla          L.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1110     Jennifer       L.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1111     Irene          L.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1112     Karen          L.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1113     Tracy          L.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1114     Sharon         L.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1115     Ericka         L.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1116     Karen          L.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1117     Erin           L.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1118     Kristina       L.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1119     Tanny L.       L.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1120     Patsy          L.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1121     Keisha         L.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1122     Shelby         L.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1123     Nicole         L.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1124     Jana           M.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1125     Rashika        M.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1126     Alexis         M.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1127     Kevi           M.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1128     Mary           M.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1129     Pamela         M.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1130     Antonia        M.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1131     Linda          M.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1132     Janice         M.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1133     Barbara        M.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1134     Ashley         M.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1135     Francess       M.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1136     Brenda         M.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1137     Brooke         M.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1138     Tammy          M.              [Redacted]   [Redacted]        [Redacted]          [Redacted]

40000/0600-45309592v1                                                                                             32
                CaseLLC,
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                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04           Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name      Last Name
Claimant
                 (injured      (injured   Date of Birth      SSN     Date of Death (if
   No.
                 person)       person)                     (last 4)    applicable)       Claim Type
   1139     Nicole          M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1140     Cherylin        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1141     Belinda         M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1142     Salome B        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1143     Christina       M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1144     Jennifer        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1145     Monique         M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1146     Judith          M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1147     Holly           M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1148     Kaitlyn         M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1149     Jasmine         M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1150     Doris           M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1151     Yvonne          M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1152     Brittany        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1153     Patricia        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
            Kasey
   1154     Commaquie       M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1155     Nya             M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1156     Shafiqah        M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1157     Barbara         M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1158     Babette         M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1159     Tanasia         M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1160     Kathleen        M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1161     Orquidea Ruiz   M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1162     Maria           M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1163     Patricia        M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1164     Melissa         M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1165     Kim             M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1166     Charrlette      M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1167     Carol           M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1168     Trin            M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1169     Kennishau       M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1170     Amanda          M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1171     Samantha        M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1172     Billie          M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1173     Jennifer        M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]

40000/0600-45309592v1                                                                                               33
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04          Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name     Last Name
Claimant
                (injured      (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)       person)                     (last 4)    applicable)       Claim Type
   1174     Shirley J      M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1175     Ashley         M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1176     Shelle         M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1177     Leshawn E      M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1178     Delthia        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1179     Ethel          M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1180     Samantha       M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1181     Jeanette       M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1182     Dawna          M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1183     Laqresha       M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1184     Lashonda       M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1185     Rosella        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1186     Simone         M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1187     Portia         M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1188     Erika          M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1189     Jasmine        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1190     Gian           M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1191     Charday        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1192     Jasmine        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1193     Alicia         M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1194     Phyllis        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1195     Pamela         M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1196     Teonya N       M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1197     Linda          M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1198     Danielle       M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1199     Kelly          M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1200     Shanovia V     M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1201     Rachael        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1202     Chari          M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1203     Anita          M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1204     Gwendolyn      M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1205     Erica          M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1206     Shannon        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1207     Jada           M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1208     Melissa M      M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1209     Krystal        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]

40000/0600-45309592v1                                                                                              34
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04          Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
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                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name     Last Name
Claimant
                (injured      (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)       person)                     (last 4)    applicable)       Claim Type
   1210     Victoria       M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1211     James          M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1212     Brenda         M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1213     Brittany       M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1214     Rashaun        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1215     Caroline       M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1216     Rhonda         M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1217     Amber          M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1218     Kadrian        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1219     Gina           M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1220     Maryln         M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1221     Makossa        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1222     Mary           M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1223     Myia           M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1224     Stephanie      M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1225     Sonja          M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1226     Sybil          M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1227     Erica          M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1228     Kahliah        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1229     Roseanne       M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1230     Yabel          M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1231     Betzy          M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1232     Patricia       M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1233     Heather        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1234     Takyra         M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1235     Casey          M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1236     Cheryl         M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1237     Cindy          M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1238     Teresa         M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1239     Jessika        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1240     Malissa        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1241     Amber          M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1242     Regina         M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1243     Marlexia       M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1244     Alice          M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1245     Robin B        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]

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                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04           Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name      Last Name
Claimant
                (injured       (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)        person)                     (last 4)    applicable)       Claim Type
   1246     Susan           M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1247     Montay          M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1248     Kimberly        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1249     Tunisha         M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1250     Rosa            M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1251     Dorothy Marie   M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1252     Rita            M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1253     Marillys        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
            Shaneeka
   1254     Amanda          M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1255     Natasha D       M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1256     Tashiana        M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1257     Monica          M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1258     Elisa           M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1259     Vicky           M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1260     Ronevera        M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1261     Kim             M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1262     Felisha         M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1263     Tawnia          M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1264     Rodger          M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1265     Alysha          M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1266     Briana          M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1267     Catherine       M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1268     Annie           M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]

   1269     Blanche Evelyn M.                [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1270     Michelle       M.                [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1271     Annettra       M.                [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1272     Marycarol      M.                [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1273     Jean-Marie     M.                [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1274     Samella        M.                [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1275     Sharon         M.                [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1276     Saniya         M.                [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1277     Sandra         M.                [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1278     Rhonda         M.                [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1279     Hattie         M.                [Redacted]   [Redacted]        [Redacted]         [Redacted]

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                CaseLLC,
In re: LTL Management    23-01092-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
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                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name     Last Name
Claimant
                (injured      (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)       person)                     (last 4)    applicable)       Claim Type
   1280     Monique        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1281     Tenisha        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1282     Patricia       M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1283     Tajmia         M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1284     Nicole         M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1285     Lasonya T      M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1286     Brenda         M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1287     Justine        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1288     Tatiana        M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1289     Nitzia         M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1290     Nina           M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1291     Pam            M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1292     Princess       M.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
            Frances
   1293     Williams       M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1294     Laronica       M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1295     Rosalind       M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1296     Gladys         M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1297     Sharon Lynn    M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1298     Cassandra      M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1299     Ruta           M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1300     Aurora         M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1301     Lolita         M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1302     Jazmyne        M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1303     Delilah        M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1304     Yorgelis       M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1305     Taneal         M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1306     Lauren         M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1307     Melissa        M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1308     Typreka        M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1309     Rose           M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1310     Sue            M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1311     Sarina         M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1312     Keyonna        M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1313     Renee          M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1314     Cindy-Lou      M.               [Redacted]   [Redacted]        [Redacted]         [Redacted]

40000/0600-45309592v1                                                                                              37
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04            Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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               First Name      Last Name
Claimant
                 (injured       (injured   Date of Birth      SSN     Date of Death (if
   No.
                 person)        person)                     (last 4)    applicable)       Claim Type
   1315     Anita           M.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1316     Willie          M.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1317     Patricia        N.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1318     Kiara C.        N.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1319     Marie           N.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1320     Angela          N.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1321     Harriet G.      N.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1322     Anna            N.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1323     Paula           N.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1324     Tiara           N.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1325     Jacqueline      N.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1326     Alysha          N.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1327     Tina            N.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1328     Talithia        N.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1329     Traneisha       N.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1330     Kelly           N.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1331     Jerry           N.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1332     Lori            N.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1333     Jessica         N.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1334     Michelle        N.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1335     Mary            N.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1336     Cathy           N.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1337     Tammy           N.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1338     Mary            N.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1339     Rebecca         N.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
            Tiffany
   1340     Michelle        N.                [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1341     Ferlescia       N.                [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1342     Theresa         N.                [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1343     Tara            N.                [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1344     Elena           N.                [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1345     Ilana           N.                [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1346     Dianond         N.                [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1347     Lucy Jane       N.                [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1348     Kenya           N.                [Redacted]   [Redacted]        [Redacted]         [Redacted]


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                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04          Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name    Last Name
Claimant
                (injured     (injured   Date of Birth     SSN        Date of Death (if
   No.
                person)      person)                    (last 4)       applicable)       Claim Type
            Stephanie
   1349     Lynn           O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1350     Linda          O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1351     Natasha        O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1352     Roxann         O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1353     Dora           O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1354     Judy           O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1355     Robin          O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1356     Rebecca        O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1357     Gina           O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1358     Tomeko         O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1359     Betty Clay     O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1360     Sherrod        O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1361     Earla Jean     O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1362     Milagros       O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1363     Sol            O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1364     Rosa           O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1365     Tonya          O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1366     Jasmine        O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1367     Tiara          O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1368     April          O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1369     Priscilla      O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1370     Sudisha        O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1371     Shirley        O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1372     Tamika         O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1373     Jannine        O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1374     Jakila C       O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1375     Tara           O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1376     Sade           O.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1377     Andrea         P.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1378     Shana          P.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1379     Christal       P.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1380     Imelda         P.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1381     Kianna         P.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1382     Paris          P.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1383     Lorraine       P.              [Redacted]   [Redacted]          [Redacted]         [Redacted]

40000/0600-45309592v1                                                                                              39
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04              Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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Exhibit C-1 – Andrews Thornton - Redacted Claimant Schedule
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth     SSN        Date of Death (if
   No.
                person)          person)                    (last 4)       applicable)       Claim Type

   1384     Kathleen Gayle P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1385     Alina          P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1386     Marie          P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1387     Lorraine       P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1388     Meriam         P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1389     Montana R.     P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1390     Jakeishalin    P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1391     Catherine      P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1392     Urvi           P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1393     Michele        P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1394     Lea            P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1395     Wilma          P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1396     Shaquana       P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1397     Cynthia        P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1398     Tonisha        P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1399     Tiffany        P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1400     Bonnie         P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1401     Giselle M      P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1402     Debbie         P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1403     Mary           P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1404     Janice         P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1405     Brandy Rae     P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1406     Betty          P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1407     Shantel        P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1408     Carolyn        P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1409     Katrice        P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1410     Bianca         P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1411     Pauline        P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
            Tereza Alicia
   1412     Almagro        P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1413     Jacqueline     P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1414     Star           P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1415     Felicia        P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1416     Jonnie         P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1417     Jennifer       P.                  [Redacted]   [Redacted]          [Redacted]         [Redacted]

40000/0600-45309592v1                                                                                                  40
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04          Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
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                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name     Last Name
Claimant
                 (injured     (injured   Date of Birth      SSN     Date of Death (if
   No.
                 person)      person)                     (last 4)    applicable)       Claim Type
   1418     Satoria       P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1419     Grace         P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1420     Tatika        P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1421     Martha        P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1422     Katherine     P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1423     Marie E       P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1424     Starla        P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1425     Lydia         P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1426     Janice        P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1427     Nicola        P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1428     Betty G.      P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1429     Deborah       P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1430     Debra         P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1431     Tierra        P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1432     Tanya         P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1433     Latynia       P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1434     Mary          P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1435     Karina        P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1436     Amanda        P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1437     Jennifer      P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1438     Stephanie     P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1439     Florence      P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1440     Andrea        P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1441     Victoria      P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1442     Rocio         P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1443     Lakesha       P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1444     Margaret      P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1445     Lorraine      P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1446     Sheila        P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1447     Chiyoko       P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1448     Denia         P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1449     Christie      P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1450     Mary          P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1451     Estes         P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1452     Allison       P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1453     Sandra Jordan P.                [Redacted]   [Redacted]        [Redacted]          [Redacted]

40000/0600-45309592v1                                                                                              41
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04         Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
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                                                                     A -Parkins
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              First Name    Last Name
Claimant
                (injured     (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)      person)                     (last 4)    applicable)       Claim Type
   1454     Carol          P.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1455     Mary           P.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1456     Angela         P.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1457     Christie       P.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1458     Susie Jane     P.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1459     Marsha         P.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1460     Sandra         P.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1461     Contina        P.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1462     Michelle       P.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1463     Cathy          P.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1464     Leeann         P.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1465     Jan            P.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1466     Naomi          P.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1467     Lakeya         P.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1468     Alexis         P.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1469     Audrey         P.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1470     Hilda          P.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1471     Tonia          P.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1472     Suzanne        Q.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1473     Misty          Q.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1474     Susanna Kate   Q.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1475     Brandy         Q.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1476     Gizella        Q.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1477     Anais          Q.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1478     Mary           Q.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1479     Berneice       R.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1480     Amy            R.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1481     Tammie         R.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1482     Clarissa       R.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1483     Fran           R.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1484     Elyse          R.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1485     Wanda          R.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1486     Violet         R.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1487     Janet          R.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1488     Marilyn        R.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1489     Gloria         R.              [Redacted]   [Redacted]        [Redacted]          [Redacted]

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                CaseLLC,
In re: LTL Management    23-01092-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
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                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   1490     Robin          R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1491     Ashley         R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1492     Natosha        R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1493     Chanequa       R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1494     Sunday         R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1495     Sally          R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1496     Angela         R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1497     Shirley        R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1498     Toddrina       R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1499     Zakkiyya       R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1500     Melissa        R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1501     Taneasha       R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1502     Latonya        R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1503     Samantha       R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1504     Janey          R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1505     Bridget        R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1506     Karissa        R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1507     Pamela         R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1508     Anna           R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1509     Maria          R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1510     Amanda         R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1511     Timatha M.     R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1512     Caloryn        R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1513     Ana            R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1514     Omayra         R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1515     Brenda         R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1516     PAUL           R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1517     Alina          R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1518     Monique        R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1519     Tiffany        R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1520     Elise          R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1521     Marlene        R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1522     Vantrese       R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1523     Shanita        R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1524     Ching          R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1525     Lakesha        R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

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                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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Exhibit C-1 – Andrews Thornton - Redacted Claimant Schedule
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   1526     Shirley        R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1527     Telenia        R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1528     Ashley         R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1529     Lakendra       R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1530     Amy            R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1531     Martha         R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1532     Roxanne R      R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1533     Sue            R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1534     Julie          R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1535     Michele        R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1536     Tiffany        R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1537     Yesenia        R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1538     Cecilia        R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1539     Anna           R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1540     Cynthia        R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1541     Alejandra      R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1542     Karen          R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1543     Josie          R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1544     Tana           R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1545     Brittany       R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1546     Donna          R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1547     Sarah Jane     R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1548     Ora            R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1549     Yvonne         R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1550     Lachelle       R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1551     Shedee         R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1552     Alida          R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1553     Sacha          R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1554     Elsie          R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1555     Genesis        R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1556     Crystal        R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1557     Josephine      R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1558     Rosanne        R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1559     Treasa         R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1560     Katherine      R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1561     Aida           R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

40000/0600-45309592v1                                                                                                 44
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
                                                                                        55 of 1377
Exhibit C-1 – Andrews Thornton - Redacted Claimant Schedule
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   1562     Maria Elena    R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1563     Emma           R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1564     Sherri         R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1565     Erica          R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1566     TINA           R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1567     Eleanor        R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1568     Erica          R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1569     Alona          R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1570     Lafania R      R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1571     Keisha         R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1572     Pamela         R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1573     Tiffany        R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

   1574     Mercedes Pilar R.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1575     Larry          R.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1576     Anabelle       R.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1577     Angela         R.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1578     Rose           R.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1579     Charme         R.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1580     Tequila Renae R.                   [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1581     Paige          R.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1582     Amber          R.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1583     Kristen        R.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1584     Mary           R.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1585     Chelecia       R.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1586     Cynthia        R.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1587     Equilla        R.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1588     Patricia       R.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1589     Setaya         R.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1590     Effie          R.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1591     Hoshea         R.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1592     Linda          R.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1593     Erlexis        R.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1594     Vickie         R.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1595     Vicki          R.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1596     Betty          R.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]

40000/0600-45309592v1                                                                                                 45
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04              Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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Exhibit C-1 – Andrews Thornton - Redacted Claimant Schedule
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              First Name         Last Name
Claimant
                (injured          (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)           person)                     (last 4)    applicable)       Claim Type
   1597     Karen           R.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1598     Richard         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1599     Dominique       S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1600     Lucesia         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1601     Melissa         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1602     Alexandra       S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1603     Linda           S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1604     Karina Emilia   S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1605     Sendy           S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1606     Adelita         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1607     Anna Maria      S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1608     Christina       S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1609     Monica          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1610     Patricia        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1611     Roxann          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1612     Arlene          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1613     Samone          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1614     Tunisha         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1615     Carolyn Marie   S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1616     Olga            S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1617     Tita            S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1618     Anna            S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1619     Ruby            S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1620     Mary            S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1621     Lori            S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1622     Lynne           S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1623     Louise          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1624     Jackie          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1625     Samantha        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1626     Pearl           S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1627     Betty           S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1628     Angela          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1629     Rebecca         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1630     Darlene         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1631     Cathy           S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1632     Tyrika          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

40000/0600-45309592v1                                                                                                  46
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   1633     Mya F          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1634     Kareem S       S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1635     Karen          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1636     LINDA          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1637     Regina         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1638     Charla         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1639     Jade           S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1640     Debra          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1641     Kristi         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1642     Enid           S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1643     Luisa          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1644     Barbara        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1645     Brenda         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1646     Akime          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1647     Shakima        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1648     Karenza        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1649     Antoinette     S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1650     Mary Lou       S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1651     Glynisha       S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1652     Darlene        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1653     Annalisha      S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1654     Faith          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1655     Amber          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1656     George         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1657     Lydia          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1658     Jeanelle       S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1659     Bertha         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1660     Brittany       S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1661     Yuliya         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1662     Andrea         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1663     Robin          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1664     Sherri         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1665     Ashanti        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1666     Jazelle        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1667     Latricia       S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1668     Traci          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

40000/0600-45309592v1                                                                                                 47
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04              Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name         Last Name
Claimant
                (injured          (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)           person)                     (last 4)    applicable)       Claim Type
   1669     Adrienne        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1670     Epiphany        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1671     Sara            S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1672     Sheleta         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1673     Jaqueline       S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1674     Angelica        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1675     Mistina         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1676     Dorothy         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1677     Teresa          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1678     Leslie          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1679     Shyneira        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1680     Leah            S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1681     Myeisha         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1682     Patricia        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1683     Shawntia D.     S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1684     Linda           S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1685     Aquanilla A     S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1686     Brenda          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1687     Brittani        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1688     Kathy C         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1689     Latonia         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1690     Stacey Nicole   S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1691     Terranique      S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1692     Candice         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1693     Nicole          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1694     Betty           S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1695     Shannon         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1696     Crystal         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1697     Veronica        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1698     Debra           S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1699     Mercedes        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1700     Sarah           S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1701     Donna           S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1702     Arnette         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1703     Stephanie       S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1704     Chasity         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

40000/0600-45309592v1                                                                                                  48
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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Exhibit C-1 – Andrews Thornton - Redacted Claimant Schedule
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   1705     Maria          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1706     Linda          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1707     Terriann       S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1708     Braion         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1709     Dlasha         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1710     Kemischa       S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1711     Karen          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1712     Katrina        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1713     Camilla        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1714     Dianne         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1715     Carol Ann      S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1716     Alexandra      S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1717     Letecia        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1718     Karen          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1719     Charise        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1720     Latoya         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1721     Stacy          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1722     Shania         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1723     Brandie        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1724     Valencia       S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1725     Lady           S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1726     Shemeka        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1727     Anna           S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1728     Leona          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1729     Rachel         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1730     Catherine      S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1731     Laveeca        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1732     Tina           S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]

   1733     Aundrea Nicole S.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1734     Sheila         S.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1735     Shanda         S.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1736     Rowena         S.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1737     Armani         S.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1738     Gloria D       S.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1739     Linda          S.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]

40000/0600-45309592v1                                                                                                 49
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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Exhibit C-1 – Andrews Thornton - Redacted Claimant Schedule
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   1740     Kristin        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1741     Joan           S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1742     Caren Lynn     S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1743     Helen          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1744     Kamilah        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1745     Monique        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1746     Shawnda        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1747     Yazmine        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1748     Matopia        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1749     Yolanda        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1750     Robbie         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1751     Gaia           S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1752     Sheree         S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1753     Rosanne        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1754     Carolyn        S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1755     Donna          S.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1756     Susan          T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1757     Melva          T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1758     Jamielle       T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1759     Belinda        T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1760     Tracy          T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1761     Karen          T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1762     Breanah        T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1763     Jonelle        T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1764     Ebony          T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1765     Danielle       T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1766     Latonia        T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1767     Niyah          T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1768     Rhonda         T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
            Marilyn
   1769     Monique        T.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1770     Cynthia        T.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1771     Rhonda         T.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1772     Linda          T.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1773     Jessika        T.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1774     Margaret       T.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]

40000/0600-45309592v1                                                                                                 50
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
                                                                                        61 of 1377
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              First Name           Last Name
Claimant
                (injured            (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)             person)                     (last 4)    applicable)       Claim Type
   1775     Jauqee            T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1776     Susan             T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1777     Lavita Serrelle   T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1778     Natasha           T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1779     Evelyn            T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1780     Wislene           T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1781     Alice             T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1782     Judanne           T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1783     Latisha           T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1784     Antoinette        T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1785     Melanie           T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1786     Dezire            T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1787     Diarah            T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1788     Nicole            T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1789     Messiah           T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1790     Maitra            T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1791     Heresa            T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1792     Kameelia          T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1793     Tiffany           T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1794     Connie            T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1795     Gabriele          T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1796     Lashell           T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1797     Shawana           T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1798     Carline           T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1799     Miriam            T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1800     Anne              T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1801     Cierra            T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1802     Lakyera           T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1803     Janibell          T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1804     Lynne             T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1805     Lakeysha          T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1806     Deborah           T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1807     Natasha           T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1808     Myesha            T.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
            Tyesha
   1809     Tomike            T.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]

40000/0600-45309592v1                                                                                                    51
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04              Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
                                                                                        62 of 1377
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              First Name         Last Name
Claimant
                (injured          (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)           person)                     (last 4)    applicable)       Claim Type
   1810     Adrienne       T.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1811     Jasheka        T.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1812     Karen          T.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1813     Leslie         T.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1814     Jennifer       T.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1815     Patricia       T.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1816     Dana           T.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1817     Dana C         T.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1818     Theresa        T.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1819     Sherley        T.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1820     Rockella       T.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1821     Seneitra       T.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1822     Mitzie         T.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1823     Roberta        T.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1824     Elizabeth      T.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1825     Brenda Faye    T.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1826     Triboro        T.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1827     Latrice        T.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1828     Shantanay L.   T.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1829     Nashala        T.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1830     Jessie Lee     T.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1831     Barbara        T.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1832     Rosalba        U.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1833     Shariah        U.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1834     Nichole        V.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1835     Vanessa        V.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1836     Tachelle       V.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1837     Kache          V.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1838     Tia            V.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1839     Shanda         V.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1840     Danielle       V.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1841     Tonya          V.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1842     Barbara        V.                   [Redacted]   [Redacted]        [Redacted]          [Redacted]

   1843     Noris Altagreca V.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]
   1844     Glenna          V.                  [Redacted]   [Redacted]        [Redacted]         [Redacted]

40000/0600-45309592v1                                                                                                  52
                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04         Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name    Last Name
Claimant
                (injured     (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)      person)                     (last 4)    applicable)       Claim Type
   1845     Sharnia        V.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1846     Kristie        V.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1847     Roselor        V.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1848     Rebbeca        V.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1849     Janice         V.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1850     Patrice        V.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1851     Diane          V.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1852     Mary           V.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1853     Giselle        V.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1854     Jessica        V.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1855     Ashley         V.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1856     Wendy          V.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1857     Keyla          V.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1858     Mary           V.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1859     Demetrius      W.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1860     Nickko         W.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1861     Markeisha S    W.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1862     Sandy          W.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1863     Janet          W.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1864     Mary           W.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1865     Destiny        W.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1866     Taylor         W.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1867     Joyce          W.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1868     Miesha         W.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1869     Latanca        W.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1870     Machayla       W.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1871     Nancy          W.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1872     Shanay         W.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1873     Whitney        W.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1874     Betsy          W.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1875     Thomascene     W.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1876     Carolyn        W.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1877     Judy           W.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1878     Shawnique      W.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1879     Sarah          W.              [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1880     Janie          W.              [Redacted]   [Redacted]        [Redacted]          [Redacted]

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                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04            Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name      Last Name
Claimant
                (injured        (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)         person)                     (last 4)    applicable)       Claim Type
   1881     Brenda           W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1882     Melissa          W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1883     Cherezz          W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1884     Lisa             W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1885     Therese          W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1886     Carrie           W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1887     Rosemary         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1888     Nancy            W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1889     Estrella         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1890     Tiara            W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1891     Brenda           W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1892     Doris            W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1893     Beverly          W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1894     Tammy            W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1895     Patsy            W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1896     Katie            W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1897     Teresa           W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1898     Yvonne           W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1899     Debra            W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1900     Kearra           W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1901     Yuriko           W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1902     Deborah          W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1903     Patricia         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1904     Jacqueline       W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1905     Renee            W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1906     Chrystal         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1907     Peggy            W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1908     Deanna           W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1909     Keshia           W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1910     Chantia Nicole   W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1911     Deszaree         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1912     Lusanna E.       W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1913     Meyoshi          W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1914     Samantha         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1915     Shawntelle       W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1916     Shevon           W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]

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                CaseLLC,
In re: LTL Management    23-01092-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
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                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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               First Name    Last Name
Claimant
                 (injured      (injured   Date of Birth      SSN     Date of Death (if
   No.
                 person)       person)                     (last 4)    applicable)       Claim Type
   1917     Da'shae         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1918     Rasheniece      W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1919     Jasmine         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1920     Margaret        W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1921     Ashley          W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1922     Lacey           W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1923     Amber           W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1924     Christina       W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1925     Anne            W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1926     Caronda         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1927     Nancy           W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1928     Joyce           W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1929     Nishea          W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1930     Evelyn          W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1931     Ashanti         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1932     Shunda          W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1933     Candi           W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1934     Marilyn         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1935     Synetta         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1936     Iris            W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1937     Jennifer        W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1938     Patricia        W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1939     Sonia           W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1940     Ivy             W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1941     Annette         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1942     Toddina         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1943     Imeya           W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1944     Josephine       W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1945     Tamara          W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1946     Jonique         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1947     Reonda          W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1948     Jasmine         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1949     Candace         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1950     Selena          W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1951     Taryan          W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1952     Shantel         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]

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                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04           Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name     Last Name
Claimant
                (injured       (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)        person)                     (last 4)    applicable)       Claim Type
   1953     Andrea          W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1954     Bronda          W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1955     Talisha V.      W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1956     Tiwana J        W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1957     Anecia          W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1958     India           W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1959     Lakisha         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1960     Linda           W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1961     Melvinique S    W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1962     Bianca          W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1963     Dandrea         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1964     Jasmine D       W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1965     Gloria Anne     W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1966     Darlene         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1967     Precious        W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1968     Simone          W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1969     Nickesha        W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1970     Patricia        W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1971     Tottyona        W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1972     Roshawn         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1973     Sheila          W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1974     Karen           W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1975     Stephanie       W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1976     Mary            W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1977     Jennifer        W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1978     Tamesha         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1979     Brooke          W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1980     Darla           W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1981     Erica           W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1982     Senovia         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1983     Tiffany Raine   W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1984     Claudia Marie   W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1985     Jerry D.        W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1986     Najya           W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]
   1987     Rayisha         W.               [Redacted]   [Redacted]        [Redacted]          [Redacted]


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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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              First Name     Last Name
Claimant
                 (injured     (injured   Date of Birth     SSN        Date of Death (if
   No.
                 person)      person)                    (last 4)       applicable)       Claim Type
            Takisha
   1988     Ophelia         W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1989     Tyease          W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1990     Ellitra         W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1991     Penny           W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1992     Susan           W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1993     Shannon         W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1994     Carolyn         W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1995     Paula           W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1996     Kathleen        W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1997     Brandi          W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1998     Michelle        W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   1999     Carol           W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   2000     Libby           W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   2001     Andrea          W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   2002     Nyonna          W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   2003     Shun            W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   2004     Tirhakah        W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   2005     Sarah           W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   2006     Barbara         W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   2007     Joan            W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   2008     Mariah          W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   2009     Alyssa          W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   2010     Asia            W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   2011     Jermaura        W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   2012     Candace         W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   2013     Nicole          W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   2014     Connie          W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   2015     Terica          W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   2016     Shirley         W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   2017     Janet           W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   2018     Patrice         W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   2019     Lashawn         W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   2020     Vanessa         W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   2021     Chawanda        W.              [Redacted]   [Redacted]          [Redacted]         [Redacted]
   2022     Clara           Y.              [Redacted]   [Redacted]          [Redacted]         [Redacted]

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                CaseLLC,
In re: LTL Management    23-01092-MBK
                            Case No. 23-12825-MBK  Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C.,
                                                    Exhibit    (s) and
                                                                     A -Parkins
                                                                         Q Page Rubio LLP
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Exhibit C-1 – Andrews Thornton - Redacted Claimant Schedule
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              First Name        Last Name
Claimant
                (injured         (injured   Date of Birth      SSN     Date of Death (if
   No.
                person)          person)                     (last 4)    applicable)       Claim Type
   2023     Elicia         Y.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   2024     Juanita        Y.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   2025     Harriett       Y.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   2026     Cassandra      Y.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   2027     Krystal        Z.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   2028     Debra          Z.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   2029     Amanda         Z.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   2030     Jasmine        Z.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]
   2031     Heather Ann    Z.                  [Redacted]   [Redacted]        [Redacted]          [Redacted]




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                                   Exhibit C-2


                    Andrews & Thornton Form Retainer Agreement
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Andrews & Thornton AAL, ALC
Attorney-Client Contingency Fee Retainer Agreement

TALC LITIGATION – Attorney-Client Agreement

ANDREWS & THORNTON, AAL, ALC,                                             (“the Firms”) hereby enter
into this attorney-client agreement with _________________________ (“Client”). Client agrees that
Firms will provide legal services to Client to recover money damages for injury arising out of use of
Johnson & Johnson- branded talcum powder.




                                                     1
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Andrews & Thornton AAL, ALC
Attorney-Client Contingency Fee Retainer Agreement




2. CLIENT'S RESPONSIBILITIES. The Client agrees to cooperate fully with the Firms, disclose all
relevant facts at all times during the claim and to promptly advise the Firms of any change in address,
email address or telephone number. Client authorizes the Firms to use their professional judgment and
any relevant documents, records or other information that the Firms deem necessary to the proper
representation of the Client. The Client agrees to promptly and fully comply with all reasonable requests
of the Firms on all matters included in this contract. The Client understands that failure to fully cooperate
may be a basis for termination of this contract. As described below, Client further agrees that the Firms
may withdraw from representing the Client if the Firms deem withdrawal is warranted.

The Client agrees not to attempt on Client’s part to unilaterally settle all or any portion of the claims
made the subject of this contract. The Client will rely exclusively upon the representation of the Firms
during any settlement negotiations. No settlement will be made without the Client's consent.

3. ASSOCIATION OF COUNSEL. Client understands and agrees that the two separate law firms of
ANDREWS & THORNTON AAL, ALC                                              will be associating on this
matter. Client also authorizes the Firms to associate co-counsel as the Firms may deem necessary
and to share any fees contemplated in this contract with such co-counsel with the express
understanding that associating with co-counsel will NOT increase the fees set forth in Paragraph 4
below, and, that any co-counsel agreement will be subject to the client’s informed written consent.

4. EXPENSES FOR THE LAWSUIT. The Firms agree to advance any and all reasonable expenses
associated with the prosecution of Client's claim. In the event of a recovery, the Client understands and
agrees that Firms will be paid all reasonable costs, charges or expenses made or incurred by the Firms
in the Firms’ handling of the Client’s claim and causes of action, including but not limited to expenses
or charges for obtaining legal and medical records, medical lien resolution (but not the discharge or
satisfaction of such liens, which are ultimately an existing client obligation independent of this
agreement), court costs, filing fees, depositions, and expert witnesses. Client understands that
Attorneys may represent numerous other similarly injured clients and Client agrees that the term
"expenses" includes, in addition to “case-specific expenses” that are unique to Client like ordering
Client’s medical records, “general expenses” incurred for the common and shared benefit of all such
similarly injured Clients, including but not limited to retaining and compensating experts, copying of
voluminous documents, postage, research, computerized document management, conference calls,
jury consultants, travel, and costs relating to the depositions of defendants' representatives, witnesses,
and agents. “Case-specific expenses” will be charged in full to Client, and “general expenses” will be
allocated equitably among all benefited claimants (usually in proportion with the client’s recovery). If a
matter requires experience or expertise uncommon to the Firms, outside counsel may be obtained. The
Firms will be reimbursed Firms’ reasonable costs associated with the outside assistance.
                                                     2
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                                  Exhibit (s) A - Q Page 72 of 1377
Andrews & Thornton AAL, ALC
Attorney-Client Contingency Fee Retainer Agreement




Costs advanced will be payable out of the Client’s share of any recovery and will not affect the
contingency rate or fees due to the Firms. Client hereby assigns and sets over to the Firms as a
lien that portion of the gross proceeds recovered that is equal to the total amount of costs and expenses
advanced.

If you as the Client do not obtain legal recoveries in this matter, then You will not be obligated to
reimburse any expense that the Firms advance on your behalf.

5. CONTINGENT FEE ARRANGEMENT. The Firms, and co-counsel if any, will assume joint
responsibility for representation of the Client. In consideration of the services rendered, and to be
rendered, to the Client by the Firms, the Client agrees to pay the Firms for the Firms’ compensation in
handling the Client's lawsuit the following present interest and assignment in the claims and the lawsuit:
                                :




                                                     3
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                                   Exhibit (s) A - Q Page 73 of 1377
Andrews & Thornton AAL, ALC
Attorney-Client Contingency Fee Retainer Agreement




              d. In the event there is no recovery or settlement of the Client’s claim(s), Client owes
                 Firms nothing.

6. DIVISION OF FEES. ANDREWS & THORNTON, AAL, ALC,                                                will
associate on this matter and have agreed to split any fee collected under the terms of this agreement
in the following manner:       ANDREWS & THORNTON

Client hereby grants the Firms a lien on any and all recovery from the claims which is subject of Firms’
representation under this agreement. The lien will attach to any recovery Client may obtain, whether
by arbitration award, judgment, settlement or otherwise.

7. NEGOTIABILITY OF FEES. The rates set forth above are not set by law, but are negotiable between
the Firms and Client.

8. CONFLICT OF INTEREST: REPRESENTATION OF OTHER INDIVIDUAL CLAIMANTS. Firms
represent other individuals who have Johnson & Johnson talcum powder injury cases in the same
bankruptcies. By its nature, the funds available to claimants in a bankruptcy will be limited,
and because the Firms could be representing multiple parties with respect to multiple claims in that
bankruptcy, there is a conflict of interest. By signing this agreement, Client waives any conflict of
interest.

9. NO GUARANTEES. No guarantees have been made as to what amounts, if any, Client may be
entitled to recover in this case.

10. TERMINATION OF REPRESENTATION. Either party may terminate the representation at any
time, subject to Firms’ obligations under the Rules of Professional Conduct and the approval of the
court, if required. In the event the Client recovers nothing or, after investigation, Firms or Client decides
not to pursue the claims, Client will not be responsible for any fees, costs or expenses. If, however,
Client terminates attorney and pursues a recovery, with or without another attorney, Client agrees to
pay Firms the fair rate for time expended on the matters as well as reimbursement of costs and
expenses. If there is any disagreement concerning the fee charged hereunder, the parties agree to
submit that disagreement to binding arbitration with the Fee Arbitration Committee of the state bar for
a jurisdiction in which the principal attorney(s) handling the matter is licensed.

After the appropriate investigation, the Firms reserve the right to rescind this contract. Client hereby
fully empowers, authorizes and directs the Firms to manage and handle, as they deem necessary, best
and proper, and subject to the limitations herein, said claim, or cause of action that may grow out of the
same, and to prosecute said causes of action in any manner they deem advisable. The Firms are
hereby authorized and empowered to deliver in Client’s name any and all notices, receipts,
authorizations, releases, pleadings and any other documents and instruments proper in the handling
of said claim.



                                                     4
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Andrews & Thornton AAL, ALC
Attorney-Client Contingency Fee Retainer Agreement

11. RECEIPT AND DISBURSEMENT OF CASE RECOVERY. All proceeds of Client’s case shall be
deposited into one of Firms’ trust accounts (or in a court approved Qualified Settlement Fund) for
disbursement in accordance with the provisions of this Agreement. Client grants to Firms a power of
attorney to execute financial instruments for deposits into Client’s trust account. Clients will receive an
accounting for approval before disbursement.

12. POWER OF ATTORNEY TO SIGN FOR CLIENT. There may be times when it is necessary to
submit the Client’s signature on documents. Generally, an attempt will be made to obtain Client’s
signature. However, in those situations where it is necessary to protect Client’s rights from a deadline,
Client authorizes the Firms to sign documents on Client’s behalf.

13. REVIEW AND UNDERSTANDING OF AGREEMENT. Client acknowledges review and
understanding of this agreement, having read its contents in its entirety, and Client understands and
agrees with all of its provisions. Client acknowledges that Firms, their employees or agents, have made
no guarantee regarding the successful determination of Client’s claim or causes of action, nor any
guarantees regarding the amount of recovery or the type of relief, if any, which Client may obtain
therefrom.


This Agreement must be signed by Firms and Client(s) to be valid.

ACCEPTED:

This __ ___day of                      , 202_, at                                    .
      [Day]                 [Month]                             [City, State]



________________________________
Client:



ACCEPTED:                                           ANDREWS & THORNTON



                                              By: ____________________________
                                                 ANNE ANDREWS
                                                 JOHN C. THORNTON
                                                 Attorneys at Law




                                                     5
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                                  Exhibit (s) A - Q Page 75 of 1377
Andrews & Thornton AAL, ALC
Attorney-Client Contingency Fee Retainer Agreement


ACCEPTED:




You are entitled to receive a copy of this agreement with signatures by Firms and Client for your records.
If you do not receive a copy of the signed agreement within a reasonable time of returning it to Firms,
please call and we will send another copy.




                                                     6
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                         Exhibit (s) A - Q Page 76 of 1377


                                     Exhibit D-1


                          Heninger Garrison Davis, LLC Claims




                                          2
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In re: LTL Management                          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04
                        LLC, Case No. 23-12825-MBK                                                             Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz
                                                Exhibit    (s)P.C.,
                                                                A -and
                                                                    QParkins
                                                                        Page Rubio77
                                                                                   LLPof 1377
Exhibit D-1 – Heninger Garrison Davis, LLC - Redacted Claimant Schedule
Page 1 of 3


                           Exhibit D-1 - Heninger Garrison Davis, LLC [REDACTED VERSION]

              First Name
Claimant                        Last Name
                (injured                      Date of Birth        SSN       Date of Death
   No.                       (injured person)
                person)                                          (last 4)    (if applicable)      Claim Type
     1      Anita           A.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
     2      Kathryn         A.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
     3      Betty           A.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
     4      Diane           A.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
     5      Joan            B.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
     6      Mary            B.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
     7      Willetta        B.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
     8      Lela            B.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
     9      Elizabeth       C.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    10      Melinda         C.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    11      Bobbie          C.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    12      Bernadette      C.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    13      Shauna          C.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    14      Katrina         C.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    15      Judith          C.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    16      Becky           C.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    17      Marilyn         C.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    18      Mary            C.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    19      Irene           D.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    20      Paula           D.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    21      Casa            D.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    22      Linda           D.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    23      Lynn            E.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    24      Mary Anne       F.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    25      Betty           F.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    26      Ann             F.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    27      Sonia           F.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    28      Sadie           F.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    29      Eleanor         F.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    30      Mary            G.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    31      Pamela          G.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    32      Maggie          G.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    33      Elizabeth       G.                [Redacted]      [Redacted]    [Redacted]       [Redacted]
    34      Joanna          G.                [Redacted]      [Redacted]    [Redacted]       [Redacted]

40000/0600-45310202v1
            Case 23-01092-MBK
In re: LTL Management                          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04
                        LLC, Case No. 23-12825-MBK                                                           Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz
                                                Exhibit    (s)P.C.,
                                                                A -and
                                                                    QParkins
                                                                        Page Rubio78
                                                                                   LLPof 1377
Exhibit D-1 – Heninger Garrison Davis, LLC - Redacted Claimant Schedule
Page 2 of 3


              First Name
Claimant                      Last Name
                (injured                    Date of Birth        SSN       Date of Death
   No.                     (injured person)
                person)                                        (last 4)    (if applicable)      Claim Type
    35      Carol          G.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    36      Karen          H.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    37      Elizabeth      H.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    38      Jacqueline     H.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    39      Martha         H.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    40      Gaylyn         H.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    41      Freida         H.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    42      Verga          H.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    43      Brenda         H.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    44      Linda          H.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    45      Tyann          J.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    46      Agnes          J.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    47      Audrey         J.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    48      Nikeisha       J.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    49      Brittney       K.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    50      Mary           K.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    51      Sylvia         L.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    52      Christine      L.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    53      Deborah        L.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    54      Laura          L.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    55      Josephine      M.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    56      Diane          M.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    57      Dixie          M.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    58      Linda          M.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    59      Kim            M.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    60      Virgie         M.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    61      Shari          M.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    62      Thelma         M.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    63      Peggy          M.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    64      Sonja          M.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    65      Lidia          M.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    66      Marilyn        M.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    67      Paula          M.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    68      Charlene       M.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    69      Leslie         N.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    70      Usha           P.               [Redacted]      [Redacted]    [Redacted]       [Redacted]

40000/0600-45310202v1
            Case 23-01092-MBK
In re: LTL Management                          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04
                        LLC, Case No. 23-12825-MBK                                                           Desc
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz
                                                Exhibit    (s)P.C.,
                                                                A -and
                                                                    QParkins
                                                                        Page Rubio79
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Exhibit D-1 – Heninger Garrison Davis, LLC - Redacted Claimant Schedule
Page 3 of 3


              First Name
Claimant                      Last Name
                (injured                    Date of Birth        SSN       Date of Death
   No.                     (injured person)
                person)                                        (last 4)    (if applicable)      Claim Type
    71      Margaret       P.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    72      Phyllis        P.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    73      Linda          P.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    74      Amy            P.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    75      Joanne         R.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    76      Helen          R.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    77      Susan          R.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    78      Carolyn        R.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    79      Heather        R.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    80      Margaret       S.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    81      Rosalyn        S.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    82      Patricia       S.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    83      Sally          S.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    84      Gratha         S.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    85      Willodean      S.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    86      Regina         S.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    87      Mary           S.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    88      Gail           T.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    89      Magdaline      T.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    90      Peggy          T.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    91      Linda          V.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    92      Adrienne       W.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    93      Deborah        W.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    94      Susan          W.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    95      Barbara        W.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    96      Mary           W.               [Redacted]      [Redacted]    [Redacted]       [Redacted]
    97      Lenore         W.               [Redacted]      [Redacted]    [Redacted]       [Redacted]




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                     Exhibit (s) A - Q Page 80 of 1377


                                  Exhibit D-2


              Heninger Garrison Davis, LLC Form Retainer Agreement
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                                    Exhibit (s) A - Q Page 81 of 1377

                            HENINGER GARRISON DAVIS, LLC

                                      EMPLOYMENT AGREEMENT

1.    The undersigned employs HENINGER GARRISON DAVIS, LLC [“the law firm”] to represent me/us
      [“the client(s)”] in connection with all claims, demands, settlement, and suits which I/we may
      have arising out of:

      _____          Use of Talcum Powder and Resultant Health Issues / Injuries

2.    For services rendered, the law firm shall receive a fee equal to (1)   of the gross recovery
      obtained, plus (2) the expenses incurred on its own account, whether such recovery be made by
      me personally, by the law firm, or by anyone else.

3.    The law firm agrees to charge no fee either for its services or the expenses it incurs (expenses
      deemed necessary by the firm in its sole discretion in the handling of this matter) if nothing is
      received or recovered.

4.    The client(s) expressly authorizes Heninger Garrison Davis, LLC to endorse and deposit in its
      Trust for client’s account any and all drafts or checks from settlements or judgments.

      Signed this _____ day of ____________________, 20_____.


FOR THE FIRM:                           Client Signature:      ______________________________________
                                        Name:                  ____________________________________
_________________________               DOB:    _________________    SSN: ________________________________

                                        Address:               ____________________________________
                                                               ____________________________________
ASSOCIATE COUNSEL:                      Telephone:     home    _________________   work_____________________

                                                       cell    _________________   other_____________________

_________________________
                                        Client Signature:      ___________________________________________
                                        Name:                  ___________________________________________
                                        DOB:    _________________    SSN: ________________________________
                                        Address:               ____________________________________
                                                               ____________________________________
                                        Telephone:     home    _________________   work_____________________
                                                       cell    _________________   other_____________________


                             ATTORNEY FEE SPLITS              (IF APPLICABLE)

       I understand that my case was referred to the law firm by _______________________ who
may receive a portion of the fee as set out above. I understand that this referral fee will be paid out of
the fee to the law firm and will not increase the total fee that I/we pay for the law firm’s services.
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                                    Exhibit E-1


                              Johnson Law Group Claims




                                         2
66055/0001-45293283v5
       Case 23-01092-MBK            Doc -1     Filed 05/09/23     Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.Exhibit
                                     23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
Page 1 of 53

                        Exhibit E-1 - Johnson Law Group - REDACTED VERSION
                               Last Name
 Claimant    First Name
                                (injured Date of Birth          SSN      Date of Death       Claim Type
    No.   (injured person)
                                person)                       (last 4)   (if applicable)      (disease)
    1        Donna             A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    2        Rashidah          A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    3        Rima              A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    4        Christine         A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    5        Jane              A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    6        Kathleen          A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    7        Patricia          A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    8        Bernadine         A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    9        Jasmine           A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    10       Kimberly          A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    11       Maria Elena       A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    12       Starlene          A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    13       Dawn              A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    14       Robin             A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    15       Karla             A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    16       Jane              A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    17       Shaena            A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    18       Anita             A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    19       Pamela            A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    20       Vera              A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    21       Angela            A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    22       Deborah           A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    23       Celeste           A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    24       Judith            A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    25       Fatimah           A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    26       Esther            A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    27       Felicia A         A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    28       Sharon            A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    29       Carmen            A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    30       Jacqueline        A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    31       Cora              A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    32       Vivian            A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    33       Debra             A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    34       Jane              A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    35       Donna             A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    36       Mary              A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    37       Sharon            A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    38       Mary              A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    39       Diane             A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    40       Gina              A.            [Redacted]    [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.Exhibit
                                     23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
    41       Maria Guadalupe A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    42       Valarie         A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    43       Annette         A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    44       Ellen           A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    45       Lori            A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    46       Michel          A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    47       Brenda          A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    48       Donna           A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    49       Shelby          A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    50       Deborah         A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    51       Regina          A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    52       Sherrie         A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    53       Barbara         A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    54       Linda           A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    55       Pamela          A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    56       Johnna          A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    57       Donna           A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    58       Jlenda          A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    59       Mary Lou        A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    60       Debra           A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    61       Joan            A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    62       Debra           A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    63       Minnie          A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    64       Melanie         A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    65       Sarah           A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    66       Cynthia         A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    67       Wilma           A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    68       Maria           A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    69       Elizabeth       A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    70       Gloria          A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    71       Yvonne          A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    72       Mary            A.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    73       Kelly           B.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    74       Margaret        B.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    75       Yslie           B.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    76       Kimberly        B.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    77       Diane           B.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    78       Michelle        B.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    79       Lynn            B.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    80       Shirley         B.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
    81       Leslie          B.             [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.Exhibit
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
     82      Darlene          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
     83      Melva            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
     84      Janiece          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
     85      Rhonda           B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
     86      Irene            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
     87      Kathleen         B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
     88      Elizabeth        B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
     89      Laura            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
     90      Laverne          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
     91      Betsy            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
     92      Cheryl           B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
     93      Margaret         B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
     94      Vicki            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
     95      Patricia         B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
     96      Virginia J.      B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
     97      Kathleen         B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
     98      Charlotte        B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
     99      Lucinda          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    100      LaDona           B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    101      Michele          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    102      Joyce            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    103      Kathleen         B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    104      Cheryl           B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    105      Nancy            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    106      Suzanne          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    107      Amy              B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    108      Kristina         B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    109      Bonnie           B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    110      JoAnne           B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    111      Pauline          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    112      DuAnn            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    113      Annie            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    114      Selina           B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    115      Terry            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    116      Geraldine        B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    117      Deborah          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    118      Amelia           B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    119      Lillian          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    120      Patricia         B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    121      Shirley          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    122      Shannon          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23     Entered 05/09/23 03:22:04         Desc
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                               Last Name
 Claimant    First Name
                                (injured Date of Birth          SSN      Date of Death       Claim Type
    No.   (injured person)
                                person)                       (last 4)   (if applicable)      (disease)
    123      Kimberly ElisabethB.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    124      Saundra           B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    125      Cathy             B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    126      Raven             B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    127      Pia               B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    128      Bronislava        B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    129      Laura             B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    130      Laurie            B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    131      Amy               B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    132      Louise            B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    133      Doina             B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    134      Dana              B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    135      Yvonne            B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    136      Donna             B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    137      Alexandra         B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    138      Debra             B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    139      Teresa            B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    140      Deborah           B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    141      Ann Marie         B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    142      Lorraine          B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    143      Sarah             B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    144      Ida               B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    145      Kerri             B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    146      Jill              B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    147      Linda             B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    148      Michele           B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    149      Melissa           B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    150      Sandra            B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    151      Ana Patricia      B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    152      Nancy             B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    153      Joy               B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    154      Michelle          B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    155      Jane              B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    156      Desa              B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    157      Althea            B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    158      Carey             B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    159      Elda              B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    160      Brenda            B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    161      Cristina          B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    162      Caron             B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
    163      Ashley            B.            [Redacted]    [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
    164      Betsy            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    165      Holly            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    166      Michele          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    167      Sylvia           B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    168      Jomatia          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    169      Beverly          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    170      Catherine        B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    171      Janet            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    172      Esther           B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    173      Margaret         B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    174      Sandy            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    175      Elizabeth        B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    176      Billie           B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    177      Lorraine         B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    178      Millicent        B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    179      Lynne            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    180      Marilyn          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    181      Carol            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    182      Connie           B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    183      Joanne           B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    184      Eleanor          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    185      Deborah          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    186      Crystal          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    187      Charity          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    188      Janice           B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    189      Debra            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    190      Elizabeth        B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    191      Stephanie        B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    192      Joyce            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    193      Mary             B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    194      Jacqueline       B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    195      Camille          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    196      Maria            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    197      Roberta          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    198      Louise           B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    199      Michelle         B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    200      Syril            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    201      Jennifer         B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    202      Lisa             B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    203      Cynthia          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    204      Joy              B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
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                                     23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
    205      Josephine        B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    206      Deborah          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    207      Joan Dolores     B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    208      Evelyne          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    209      Ethel F          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    210      Suzanne          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    211      Mary             B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    212      Catherine        B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    213      Jacquelyn        B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    214      Linda E.         B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    215      Nancy            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    216      Dorreen          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    217      Sara             B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    218      Veronica         B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    219      Louiseann        B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    220      Simie            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    221      Cora             B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    222      Connie           B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    223      Carol            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    224      Sonya            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    225      Tara             B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    226      Margaret         B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    227      Diana            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    228      Virginia         B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    229      Deborah          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    230      Janet            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    231      Joan             B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    232      Nancy            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    233      Sally Marie      B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    234      Sally            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    235      Kelly            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    236      Vicki            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    237      Karen            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    238      Gina             B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    239      Janie            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    240      Margaret         B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    241      Madge            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    242      Julie            B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    243      Martha           B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    244      Erlinda          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    245      Latonya          B.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK             Doc -1     Filed 05/09/23    Entered 05/09/23 03:22:04         Desc
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                                Last Name
 Claimant    First Name
                                 (injured Date of Birth         SSN      Date of Death       Claim Type
    No.   (injured person)
                                 person)                      (last 4)   (if applicable)      (disease)
    246      Kelly              B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    247      Evon               B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    248      Tracey             B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    249      Christine          B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    250      Elisabel           B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    251      Jane               B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    252      Vonda              B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    253      Carrie             B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    254      Nina               B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    255      Deborah            B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    256      Cherie             B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    257      Brenda             B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    258      Susan C.           B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    259      Kay                B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    260      Maria              B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    261      Geraldine          B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    262      Brenda             B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    263      Betty A.           B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    264      Lisa               B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    265      Patricia           B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    266      Rebecca            B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    267      Jo Etta            B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    268      Angela             B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    269      Kelvey             B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    270      Julie              B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    271      Cynthia            B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    272      Charlotte Evette   B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    273      Mary               B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    274      Tonna              B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    275      Martha             B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    276      Tina               B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    277      Kimberlee          B.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    278      Marta              C.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    279      Debbie             C.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    280      Judy               C.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    281      Patricia           C.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    282      Kathleen           C.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    283      Maria Elena        C.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    284      Carol              C.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    285      Karin              C.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
    286      Susana             C.            [Redacted]   [Redacted]    [Redacted]        [Redacted]


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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
    287      Alieen           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    288      Regina           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    289      Sherran          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    290      Ellen            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    291      Kathryn          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    292      Erin             C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    293      Debra            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    294      Patrice          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    295      Cynthia          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    296      Peggy            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    297      Rose             C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    298      Michelle         C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    299      Domenica         C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    300      Claudia          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    301      Catherine A.     C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    302      Susanne          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    303      Marisela         C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    304      Christy          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    305      Ginger           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    306      Rachel           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    307      Maryanne         C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    308      Lisa             C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    309      Joanne           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    310      Vicky            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    311      Ruby             C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    312      Stacy            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    313      Myrtle           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    314      Kathryn          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    315      Mary             C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    316      Deborah          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    317      Lisa             C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    318      Bonnie           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    319      Ann              C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    320      Carolyn          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    321      Kimberly M       C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    322      Laurie           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    323      Margarita        C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    324      Shelby           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    325      Jeanette         C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    326      Margaret         C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    327      Beth             C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
    328      JoAnn            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    329      Teresa           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    330      Debra            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    331      Frances          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    332      Patricia         C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    333      Luisa            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    334      Gloria J.        C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    335      Brenda           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    336      JoAnna Marie     C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    337      Sarah            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    338      Davida           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    339      Karan            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    340      Carolyn          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    341      Ann              C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    342      Maria            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    343      Kathy            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    344      Laura            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    345      Deborah          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    346      Christi          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    347      Kimberley        C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    348      Shirley          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    349      Mary             C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    350      Deborah          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    351      Tanya            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    352      Cynthia D.       C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    353      June             C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    354      Wendy            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    355      Martha           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    356      Denise           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    357      Mary             C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    358      Christine        C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    359      Gena             C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    360      Loretta          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    361      Kerri            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    362      Lois             C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    363      Penelope         C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    364      Janice           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    365      Beverly Jo       C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    366      Maureen          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    367      Minnie           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    368      Darlene          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
    369      Pia              C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    370      Janet            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    371      Kathleen Anne    C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    372      Mary Anne        C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    373      Tonia            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    374      Freeda           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    375      Lolita           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    376      Rhonda           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    377      Maxine           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    378      Lori             C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    379      Sheila           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    380      Beth             C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    381      Clara            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    382      Eula             C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    383      Jodie            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    384      Lesa             C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    385      Lori             C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    386      Emma             C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    387      Vernessa         C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    388      Debbie           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    389      Carol            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    390      Michelle         C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    391      Karen            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    392      Angela           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    393      Haley            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    394      Jamie            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    395      Brenda           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    396      Margaret         C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    397      Dorothy S.       C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    398      Rebecca          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    399      Leigh            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    400      Nancy            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    401      Kim              C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    402      Barbara          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    403      Elizabeth        C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    404      Kathleen         C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    405      Lilliana         C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    406      Lisa             C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    407      Trina            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    408      Anna             C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    409      Phyllis          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
    410      Sherri           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    411      Mary             C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    412      Maria            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    413      Roni             C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    414      Joycelyn         C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    415      Margaret         C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    416      Betty            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    417      Carmela          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    418      Joan             C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    419      Lisa             C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    420      Cynthia          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    421      Susan            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    422      Patricia         C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    423      Carolyn          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    424      Pamela           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    425      Judith           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    426      Heidi            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    427      Rebecca          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    428      Enedina          C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    429      Lucia            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    430      Sherri           C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    431      Linda            C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    432      Patricia D.      C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    433      Catherin         C.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    434      Barbara          D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    435      Kathleen         D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    436      Anita            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    437      Victoria         D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    438      Tania            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    439      Amy              D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    440      Doreen           D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    441      Suzanne          D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    442      Christine        D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    443      Yugaishtri       D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    444      Sharen           D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    445      Dajiah           D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    446      Traci            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    447      Laura            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    448      Shirley          D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    449      Judy             D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    450      Kathleen         D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
    451      Frances          D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    452      Rebecca          D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    453      Lucille          D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    454      Kathleen         D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    455      Rania            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    456      Olena            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    457      Katrina          D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    458      Deborah          D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    459      Pamela           D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    460      Bailey           D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    461      Michelle         D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    462      Eula             D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    463      Nancy            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    464      Delia            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    465      Shelia           D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    466      Janice           D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    467      Monica           D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    468      Frances          D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    469      Linda            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    470      Gail             D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    471      Michelle         D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    472      Michelle         D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    473      Donna E.         D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    474      Debra            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    475      Tina             D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    476      Rebecca          D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    477      Lynda            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    478      Meena            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    479      Eva              D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    480      Mary             D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    481      Linda            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    482      Evangelina       D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    483      Tammy            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    484      Julee            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    485      Roxanne          D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    486      Elizabeth        D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    487      Sherri           D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    488      Pearl            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    489      Shirley          D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    490      Donna            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    491      Bobbie           D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


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Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
    492      Carol            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    493      Wanda            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    494      Sandra           D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    495      Linda            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    496      Barbara          D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    497      Linda            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    498      Carol            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    499      Tina             D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    500      Cheryl           D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    501      Marie            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    502      Alice            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    503      Janet            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    504      Cathy            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    505      Lou Ann          D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    506      Marsha           D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    507      Charlene         D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    508      Priscilla        D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    509      Avis             D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    510      Yvonne           D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    511      Pamela           D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    512      Crystal          D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    513      Stacey           D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    514      Jill             D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    515      Margaret         D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    516      Rebecca          D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    517      Margaret         D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    518      Margaret         D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    519      Jeanne           D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    520      Faith            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    521      Phyllis          D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    522      Peggy            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    523      Robina           D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    524      Susan            D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    525      Miriam           D.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    526      Shana            E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    527      Mary             E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    528      Vali             E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    529      Cheryl           E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    530      Tai              E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    531      Cora Lee         E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    532      Marsha           E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


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       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.Exhibit
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
    533      Mildred          E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    534      Francisca        E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    535      Rosemary         E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    536      Susan            E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    537      Susanne          E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    538      Gina             E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    539      Jeanne           E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    540      Christine        E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    541      Dottie           E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    542      Julie            E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    543      Diane            E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    544      Ingrid           E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    545      Julie            E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    546      Felicita         E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    547      Andrea           E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    548      Marianne         E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    549      Rebecca          E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    550      Carrie           E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    551      Antonieta        E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    552      Mary             E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    553      Donita           E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    554      Virginia         E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    555      Brenda           E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    556      Lourdes          E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    557      Mary Jo          E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    558      Eldonna          E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    559      Betty            E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    560      Barbara          E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    561      Marcie           E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    562      Jill             E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    563      Sandra           E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    564      Jeanne           E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    565      Delores          E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    566      Joy              E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    567      Dorothy          E.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    568      Luise            F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    569      Paula            F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    570      Barbara          F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    571      Teresa           F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    572      Cheryl           F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    573      Shirley          F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
    574      Pamella          F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    575      Patricia         F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    576      Sylvie           F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    577      Michelle         F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    578      Pamela           F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    579      Marilyn          F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    580      Susan            F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    581      Esther           F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    582      Catherine        F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    583      Linda            F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    584      Kylie            F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    585      Deborah          F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    586      Charlene K       F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    587      Joyce            F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    588      Deborah          F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    589      Teresa           F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    590      Nancy            F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    591      Mary Jean        F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    592      Lillie           F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    593      Yvonne           F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    594      Judith           F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    595      Nancy            F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    596      Marie M.         F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    597      Terresa          F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    598      Rebecca M.       F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    599      Rosemarie        F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    600      Donna            F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    601      Maria            F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    602      Sheryl           F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    603      Angela           F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    604      Catalina         F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    605      Rhonda           F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    606      Lisa             F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    607      Jean             F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    608      Paulette         F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    609      Deborah          F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    610      Kim              F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    611      Lauren           F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    612      Kathryn          F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    613      Susan            F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    614      Cynthia          F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.Exhibit
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
    615      Fong-Ling        F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    616      Aisha            F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    617      Nelda            F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    618      Lynda            F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    619      Jennifer         F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    620      Betty            F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    621      Josephine        F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    622      Gloria           F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    623      Kimberley        F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    624      Eddi-Ann         F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    625      Jennifer         F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    626      Nancy            F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    627      Ruth             F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    628      Tanya            F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    629      Janelle          F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    630      Barbara          F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    631      Kathleen         F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    632      Krystal          F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    633      Patricia         F.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    634      Alice            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    635      Wanda            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    636      Brenda           G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    637      Heather          G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    638      Debra            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    639      Janetta          G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    640      Casey            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    641      Verona           G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    642      Mary             G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    643      Annie            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    644      Susan            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    645      Dorothy          G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    646      Debbie           G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    647      Betty            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    648      Connie           G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    649      Stephanie        G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    650      Patricia         G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    651      Clara            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    652      Helen            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    653      Helen            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    654      Rachel           G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    655      Kathryn          G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
    656      Noreen           G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    657      Donna Marie      G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    658      Lori             G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    659      Inna             G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    660      Gabriele         G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    661      Jeanette         G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    662      Kim              G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    663      Denise           G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    664      Donella          G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    665      Marilyn          G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    666      Melissa          G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    667      Donna            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    668      Earline          G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    669      Emmyln           G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    670      Donna            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    671      Sandy            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    672      Rachell          G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    673      Valerie          G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    674      Bodil            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    675      Dawn             G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    676      Deborah          G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    677      Peggy            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    678      Dixie            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    679      Joyce            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    680      Brenda           G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    681      Zarah            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    682      Joellyn          G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    683      MaryAnn          G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    684      Gabriella        G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    685      Cathy            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    686      Florentina       G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    687      Melody Love      G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    688      Myriam           G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    689      Deshonda         G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    690      Anni E.          G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    691      Meredith         G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    692      Evelyn           G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    693      Angela           G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    694      Tammy            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    695      Lois M.          G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    696      Judy             G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
    697      Willa            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    698      Cheryl           G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    699      Ruby             G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    700      Tiffiny          G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    701      Nancy            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    702      Meri             G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    703      Mary             G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    704      Christine        G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    705      Lisa             G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    706      Shandelle        G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    707      Meagan           G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    708      Lois             G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    709      Jacqueline       G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    710      Mary Lou         G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    711      Doris            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    712      Christi          G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    713      April            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    714      Lisa M.          G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    715      Nancy            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    716      Sundi            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    717      Kosa             G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    718      Sandra           G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    719      Maurine          G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    720      Susan            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    721      Judith           G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    722      Teresa           G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    723      Robyn            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    724      Abbe             G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    725      Cleone           G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    726      Keishawn         G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    727      Betty            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    728      Miriam           G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    729      Betty            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    730      Ruth             G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    731      Sharon           G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    732      Tammy            G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    733      Ana              G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    734      Gloria           G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    735      Patricia         G.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    736      Debra            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    737      Chynelle         H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 101 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
Page 19 of 53

                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
    738      Sayla            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    739      Jeannette        H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    740      Judy             H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    741      Shelley          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    742      Shannon          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    743      Dee              H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    744      Joyce            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    745      Linda            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    746      Julie            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    747      Lovelle          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    748      Sharon           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    749      Cynthia          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    750      Betty            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    751      Georgia          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    752      Beverly          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    753      Hazel            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    754      Alicia           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    755      Marjorie         H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    756      Cora             H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    757      Tina             H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    758      Julie            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    759      Constance        H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    760      Peggy            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    761      Carol            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    762      Lorraine         H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    763      Ceanna           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    764      Pamela           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    765      Catherine        H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    766      Barbara          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    767      Debra            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    768      Cody             H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    769      Nettye           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    770      Kimberly         H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    771      Melvina          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    772      Carla            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    773      Denese           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    774      Janell S.        H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    775      Mary             H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    776      Brenda           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    777      Billie           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    778      Linda            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 102 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
    779      Cleo             H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    780      Amy              H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    781      Jenny            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    782      Blanche          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    783      Gladys           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    784      Debra            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    785      Michelle         H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    786      Sylvia           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    787      Trudy            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    788      Mary Jane        H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    789      Patricia         H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    790      Mary             H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    791      Valerie          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    792      Frankie          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    793      Pamela           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    794      Yolanda          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    795      Cathy            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    796      Marion           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    797      Stephanie        H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    798      Megan            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    799      Donna            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    800      Ida              H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    801      Debra            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    802      Kathleen         H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    803      Lesley           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    804      Anne Marie       H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    805      Rebecca          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    806      Lucero           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    807      Joyce            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    808      Deborah          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    809      Patricia         H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    810      Dana             H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    811      Debra            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    812      Linda            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    813      Therese          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    814      Betty            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    815      Lori             H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    816      Maria            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    817      Edna             H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    818      Eleanor          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    819      Maureen          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
    820      Monica           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    821      Isabella         H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    822      Beverly          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    823      Cheryl           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    824      Gladys           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    825      Jessica          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    826      Deanna           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    827      JoAnn            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    828      Neoma            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    829      Melissa          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    830      Linda            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    831      Shirley          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    832      Rachel           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    833      Lynn             H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    834      Pamela           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    835      Cheryl           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    836      Naomi            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    837      Karen            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    838      Jami             H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    839      Terri            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    840      Teresa           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    841      Lisa             H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    842      Deborah          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    843      Pennie           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    844      Joellyn          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    845      Patricia         H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    846      Lorraine         H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    847      Mary             H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    848      Ashley           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    849      Jane             H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    850      Pamela           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    851      Angela           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    852      Karen            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    853      Rebecca          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    854      Frances M        H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    855      Barbara          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    856      Marcia           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    857      Carrie           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    858      Eliza            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    859      Laura            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    860      Leann            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 104 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
    861      Martha Blee      H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    862      Joellen          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    863      Dana             H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    864      Leah             H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    865      Shirley          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    866      Susan            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    867      Alice            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    868      Diane            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    869      Linda            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    870      Mary Beth        H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    871      Angela           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    872      Melanie          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    873      Rose             H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    874      Delores          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    875      Lori             H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    876      Yvonne           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    877      Catherine        H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    878      Tammy            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    879      Ashley           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    880      Claudia          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    881      Melanie          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    882      Jonette          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    883      Teresa           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    884      Kathleen         H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    885      Deborah          H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    886      Katie            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    887      Mary             H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    888      Elizabeth        H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    889      Helen            H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    890      Janice           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    891      Denise           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    892      Sherry           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    893      Judith           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    894      Christine        H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    895      Judy             H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    896      Gail             H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    897      Sherri           H.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    898      Maria            I.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    899      Maria            I.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    900      Lizette          I.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    901      Jacqueline       I.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
Page 23 of 53

                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
    902      Nancy            I.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    903      Lourdes          I.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    904      Anna             I.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    905      Sandra           I.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    906      Mary Jo          I.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    907      Janet            I.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    908      Lyudmila         I.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    909      Virginia         J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    910      Robin            J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    911      Marie            J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    912      Cedia            J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    913      Nancy            J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    914      Anush            J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    915      Norma            J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    916      June             J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    917      Stephanie        J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    918      Carol            J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    919      Betty            J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    920      Patricia         J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    921      Denise           J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    922      Kathleen         J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    923      Narene           J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    924      Patricia         J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    925      Mary             J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    926      Michelle         J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    927      Delories         J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    928      Tonya            J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    929      Valerie          J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    930      Kristi           J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    931      Elizabeth        J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    932      Linda            J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    933      Gail             J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    934      Yvonne           J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    935      Carrie           J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    936      Frances          J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    937      Teresa           J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    938      Charlotte        J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    939      Hazel            J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    940      Nancy            J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    941      Countess         J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    942      Cynthia          J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
    943      Carolyn          J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    944      Gwendyl          J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    945      Karyl            J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    946      Sharon           J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    947      Barbara          J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    948      Ann              J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    949      Cynthia F.       J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    950      Sharon Lee       J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    951      Cassie           J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    952      Florence         J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    953      Pamela           J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    954      Shirley          J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    955      Patricia         J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    956      Sonya            J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    957      Jennifer         J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    958      Sue Ann          J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    959      Doris            J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    960      Joy              J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    961      Deloris          J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    962      Kathleen         J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    963      Cathy            J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    964      Tanya            J.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    965      Patricia         K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    966      Sheilah          K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    967      Carren           K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    968      Teresa           K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    969      Florence         K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    970      Shehnaz          K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    971      Carmen           K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    972      Nancy            K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    973      Janet            K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    974      Jennifer         K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    975      Joanne           K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    976      Kathleen         K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    977      Tia              K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    978      Virginia         K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    979      Rebecca          K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    980      Brandi           K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    981      Crystal          K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    982      Peggy            K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
    983      Kathy            K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   984       Natasha          K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   985       Korpu            K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   986       Anne             K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   987       Laura Lynn       K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   988       Tammy            K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   989       Sharon           K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   990       Jamie            K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   991       Jacoba           K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   992       Victoria         K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   993       Elaine           K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   994       Debbie           K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   995       Connie           K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   996       Katharine        K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   997       Wilma Jean       K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   998       Patricia         K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   999       Carole           K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1000      Joanna           K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1001      Rosa Lee         K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1002      Nancy            K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1003      Judy             K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1004      Elena            K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1005      Melissa          K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1006      Joy              K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1007      Crystal          K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1008      Denise           K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1009      Melinda          K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1010      Jennie           K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1011      Paula            K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1012      Barbara          K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1013      Mary             K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1014      Teresa           K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1015      Pamela           K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1016      Julia            K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1017      Christine        K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1018      Debra            K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1019      Karen            K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1020      Cathy            K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1021      Michelle         K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1022      Karen            K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1023      Susan            K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1024      Leslie           K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   1025      AnnJanette       K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1026      Pauline          K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1027      Arlene           K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1028      Judy             K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1029      Mary Ann         K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1030      Jeanne           K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1031      Alicia           K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1032      Bhavna           K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1033      Roxanne          K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1034      Laurie           K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1035      Kathleen         K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1036      Mary             K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1037      Joan             K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1038      Carol Joanne     K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1039      Linda            K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1040      Anita            K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1041      Nada             K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1042      Cynthia          K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1043      Terri            K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1044      Beth             K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1045      Patricia         K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1046      Geneviene        K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1047      Bridget          K.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1048      Maria            L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1049      Pamela           L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1050      Lillian          L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1051      Pamela           L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1052      Tonya            L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1053      Joyce            L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1054      Donna            L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1055      Theresa          L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1056      Sandra           L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1057      Frances          L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1058      Bobbie           L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1059      Charlotte Ann    L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1060      Amy              L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1061      Elera            L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1062      Elizabeth        L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1063      Gemma            L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1064      Audrey           L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1065      Lee Ann          L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK             Doc -1     Filed 05/09/23    Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 109 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
Page 27 of 53

                                Last Name
 Claimant    First Name
                                 (injured Date of Birth         SSN      Date of Death       Claim Type
    No.   (injured person)
                                 person)                      (last 4)   (if applicable)      (disease)
   1066      Barbara            L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1067      Wanda              L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1068      Carole             L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1069      Channe             L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1070      Estate of Sheryl   L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1071      Teresa             L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1072      Deborah            L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1073      Nikolaja           L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1074      Teena              L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1075      Christine          L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1076      Deborah            L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1077      Kandace            L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1078      Aliece             L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1079      Johnnie            L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1080      Linda              L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1081      Teresa             L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1082      Melissa            L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1083      Gloria             L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1084      Dianne             L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1085      Julie              L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1086      Elaine             L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1087      Darla              L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1088      Irene              L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1089      Marlene            L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1090      Amanda             L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1091      Jearlean           L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1092      Laura              L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1093      Dominque           L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1094      Cynthia            L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1095      Sally              L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1096      Barbara            L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1097      Kimberly           L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1098      Silvia             L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1099      Amy                L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1100      Charlene           L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1101      Karen              L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1102      Tanya              L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1103      Brenda             L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1104      Maria              L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1105      Joyce              L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1106      Jean               L.            [Redacted]   [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   1107      Christine        L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1108      Rowena           L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1109      Barbara          L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1110      Samantha         L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1111      Virginia         L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1112      Marion           L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1113      Melody           L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1114      Stephanie        L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1115      Claire           L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1116      Suzanne          L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1117      Mary Ann         L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1118      Pamela           L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1119      Eleanor          L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1120      Tammy            L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1121      Barbara          L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1122      Linda            L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1123      Eloise           L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1124      Eva              L.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1125      Macel Irene      M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1126      Carolyn          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1127      Marilyn A.       M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1128      Nancy            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1129      Tciaya           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1130      Mary             M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1131      Helen            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1132      Quandaria        M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1133      Lisha            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1134      Michelle         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1135      Melody           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1136      Angelica         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1137      Myrna            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1138      Vandana          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1139      Irene            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1140      Misty            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1141      Josephine        M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1142      Yasmin           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1143      Sandy            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1144      Doris            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1145      Icilma           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1146      Merici           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1147      Margaret         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   1148      Enid             M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1149      Coty             M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1150      LaVera           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1151      Guillermina      M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1152      Jennifer         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1153      Lisa             M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1154      Jean             M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1155      Denise           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1156      Suzanne          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1157      Stephanie        M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1158      Julie            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1159      Alice            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1160      Jamesena         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1161      Arlene           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1162      Teresa           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1163      Charlotte        M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1164      Amber            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1165      Francis E.       M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1166      Camellia         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1167      Martha           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1168      Ailil R.         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1169      Sulema           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1170      Carolyn          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1171      Beatrize         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1172      Sherry           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1173      Sandy            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1174      Susanna          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1175      Zoe              M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1176      Stacey           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1177      Sharon           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1178      Faith            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1179      Pamela           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1180      Wendy            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1181      Delores          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1182      Tammy            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1183      Virginia         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1184      Diane            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1185      Kelly            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1186      Joyce            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1187      Mary             M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1188      Leonor Cecilia   M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 112 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
Page 30 of 53

                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   1189      Virginia         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1190      Alisa            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1191      Marcia           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1192      Madonna          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1193      Crystal          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1194      Carole           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1195      Mattie           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1196      Annette          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1197      Barbara          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1198      Patricia         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1199      Jana             M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1200      Teri             M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1201      Mildred          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1202      Regina           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1203      Sherry           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1204      Deborah          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1205      Jane             M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1206      Janice           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1207      Chiquetta        M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1208      Lynette          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1209      Nell             M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1210      Mary             M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1211      Elizabeth        M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1212      Patrea           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1213      Matroy           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1214      Leigh            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1215      Karin            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1216      Joyce            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1217      Maureen          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1218      Lisa             M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1219      Marquette        M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1220      Allene           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1221      Jill             M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1222      Marjorie         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1223      Jacqueline       M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1224      Maudie J         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1225      Jennie           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1226      Lisa             M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1227      Kathy            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1228      Elizabeth        M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1229      Mary             M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 113 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   1230      Patti            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1231      Deborah          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1232      Cristie          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1233      Jennifer         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1234      Betty            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1235      Jennifer         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1236      Becky            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1237      Sonja            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1238      Denelda          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1239      Ivelisse         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1240      Pam              M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1241      Kimberlyn        M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1242      Vivian           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1243      Lorie            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1244      Lynn             M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1245      Rachel           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1246      Cathy            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1247      Melissa          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1248      Monica           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1249      Margaret         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1250      Elizabeth        M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1251      Marjorie         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1252      Kathryn          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1253      Cathy            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1254      Norma            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1255      Dolores          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1256      Ann              M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1257      Melanie          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1258      Cynthia          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1259      Kaydee           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1260      Lori             M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1261      Betty            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1262      Margaret         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1263      Leigh            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1264      Judith           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1265      Nina             M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1266      Jacqueline       M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1267      Kathleen         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1268      Arlene A.        M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1269      Bessie           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1270      Nancy            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 114 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   1271      Michaela         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1272      Bridgette        M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1273      Sandra           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1274      Minda            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1275      Rose             M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1276      Karen            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1277      Helga            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1278      Roxanna          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1279      Rebecca          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1280      Michaela         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1281      Lourdes          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1282      Mona             M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1283      Carol            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1284      Lisa             M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1285      Ramona           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1286      Selina           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1287      Katherine        M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1288      Maria            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1289      Josephine        M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1290      Coyote           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1291      Shanna           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1292      Brenda           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1293      Tanya            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1294      Patricia         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1295      Maxine           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1296      Darlene          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1297      Amparo           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1298      Leticia          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1299      Gail             M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1300      Peggy            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1301      Stacie           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1302      Deborah          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1303      Penelope         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1304      Susan M.         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1305      Susan            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1306      Jayne            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1307      Susan            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1308      Mary             M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1309      Linda            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1310      Stephenie        M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1311      Patricia         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 115 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   1312      Linda            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1313      Melanie          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1314      Jackie           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1315      Tina             M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1316      Patricia         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1317      Meredith         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1318      Frances          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1319      Annmarie         M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1320      Zoellen          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1321      Billie Joe       M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1322      Megan            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1323      Suzanne          M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1324      Buffie           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1325      Kelly            M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1326      Teresa           M.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1327      Jennifer         N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1328      Wendy            N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1329      Belinda          N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1330      Tambaria         N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1331      Sheela           N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1332      Barbara          N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1333      Maria            N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1334      Vickie           N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1335      Lillian          N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1336      Diana            N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1337      Mary             N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1338      Martina          N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1339      Nicole           N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1340      Mary             N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1341      Ginger           N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1342      Doris            N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1343      Gloria           N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1344      Sharon           N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1345      Janet            N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1346      Ann              N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1347      Linda            N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1348      Cheryl           N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1349      Richelle         N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1350      Beryl Jean       N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1351      Deborah          N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1352      Bonnie           N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
Page 34 of 53

                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   1353      Deanna           N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1354      Geraldine        N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1355      Marguerite       N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1356      Rosemarie        N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1357      Claudia          N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1358      Jennifer         N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1359      Karen            N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1360      Mary Joleen      N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1361      Theresa          N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1362      Cheryl           N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1363      Jacquelyn        N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1364      Fyaly            N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1365      Vicky Ann        N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1366      Deborah          N.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1367      Corinne          O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1368      Geraldine        O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1369      Mary             O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1370      Dianne           O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1371      Ann              O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1372      Michelle         O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1373      Barbara          O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1374      Laurene          O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1375      Patricia         O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1376      Carol            O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1377      LaDonna          O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1378      Danyel           O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1379      Maura            O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1380      Joan             O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1381      Claire           O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1382      Mary             O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1383      Dawn             O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1384      Ellen            O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1385      Deborah          O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1386      Sherry           O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1387      Josie            O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1388      Sandra           O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1389      Jessica          O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1390      Adriana          O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1391      Ana I.           O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1392      Dorothy          O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1393      Maria            O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 117 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   1394      Jane             O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1395      Janet            O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1396      Donnice          O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1397      Catherine        O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1398      Jerri            O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1399      Janet            O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1400      Shirley          O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1401      Brenda           O.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1402      Gizelda          P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1403      Sharon           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1404      Alice            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1405      Marsha           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1406      Stephanie        P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1407      Norma            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1408      Annabelle        P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1409      Mary             P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1410      Colleen          P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1411      Toni Michele     P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1412      Lorraine M.      P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1413      Helen            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1414      Patricia         P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1415      Teresa           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1416      Judy             P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1417      Sherry           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1418      Wanda            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1419      Pamela           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1420      Sandra           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1421      Angela           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1422      Carolyn          P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1423      Kathleen         P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1424      Elizabeth        P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1425      Leanna           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1426      Beth             P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1427      Lena             P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1428      Mary Ann         P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1429      Mary Anne        P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1430      Julie            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1431      Elaine           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1432      Parul            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1433      Carrie           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1434      Barbara          P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 118 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
Page 36 of 53

                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   1435      Bonney           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1436      Jessie           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1437      Susan            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1438      Alice Annette    P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1439      Celina           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1440      Karen            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1441      Laura            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1442      Isolina Amanda   P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1443      Beatrice         P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1444      Deborah          P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1445      Mary Katherine   P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1446      Watson           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1447      Barbara          P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1448      Kelly            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1449      Kristine         P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1450      Rosa             P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1451      Beverly          P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1452      Maria            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1453      Thelma           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1454      Bertha           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1455      Lynette          P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1456      Nora             P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1457      Monica           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1458      Laurie           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1459      Carmen           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1460      Martha           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1461      Lynn             P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1462      Nancy            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1463      Charlotte        P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1464      Judy             P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1465      Sella            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1466      Beverly          P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1467      Deomattie        P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1468      Julie            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1469      Bonnie           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1470      Jennifer         P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1471      Linda            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1472      Christine        P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1473      Ann              P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1474      Cathy            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1475      Darla            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 119 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
Page 37 of 53

                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   1476      Maria            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1477      Roxann           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1478      Debra            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1479      Mary Ann         P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1480      Brenda           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1481      Falisade         P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1482      Phyllis          P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1483      Julie            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1484      Jazmine          P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1485      Sharon           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1486      Sharon           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1487      Mary Kay         P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1488      Christa          P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1489      Irma             P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1490      Ellen            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1491      Tammy            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1492      Dianne           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1493      Ruth             P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1494      Diane E.         P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1495      Lisa             P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1496      JoAnne           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1497      Melza            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1498      Patricia         P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1499      Marsha           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1500      Agnes            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1501      Kimberly         P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1502      Dorothy          P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1503      Randi            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1504      Patricia         P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1505      Bette            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1506      Julia Ann        P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1507      Eunice           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1508      Virginia         P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1509      Priscilla        P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1510      Wendy            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1511      Louisia          P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1512      Linda            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1513      Eileen           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1514      Donna            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1515      Janie            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1516      Donna            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 120 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
Page 38 of 53

                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   1517      Shirley          P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1518      Tanya            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1519      Jacqueline       P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1520      Staci            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1521      Karen            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1522      Alice            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1523      Sharon           P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1524      Kimberly         P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1525      Karen            P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1526      Jacqueline       P.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1527      Yolanda          Q.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1528      Dorothy          Q.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1529      Michelle         Q.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1530      Melissa          R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1531      Parvin           R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1532      Latrese          R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1533      Alejandra        R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1534      Wilma            R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1535      Consuelo         R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1536      Hera             R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1537      Shobha           R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1538      Janice           R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1539      Dorothy          R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1540      Roberta          R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1541      Rebecca          R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1542      Victoria         R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1543      Sherene          R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1544      Sandra           R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1545      Jacqueline       R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1546      Kathy            R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1547      JoAnne           R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1548      Nancy            R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1549      Carol            R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1550      Jacquelyn        R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1551      Barbara          R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1552      Josefina         R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1553      Terri            R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1554      Christinna       R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1555      Judith           R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1556      Connie           R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1557      Elaine           R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 121 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
Page 39 of 53

                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   1558      Theresa         R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1559      Grethel         R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1560      Judith          R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1561      Shawn           R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1562      Tracy           R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1563      Viola           R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1564      Heidi           R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1565      Dana            R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1566      Donna           R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1567      Amie            R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1568      Charlotte       R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1569      Cathy           R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1570      Brenda          R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1571      Bridget         R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1572      Helen           R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1573      Arlyn           R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1574      Jennifer        R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1575      Lavada          R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1576      Corina          R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1577      Ann             R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1578      Susan           R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1579      Shirley         R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1580      Rosanne         R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1581      Dhan            R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1582      Tiffany         R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1583      Gina            R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1584      Dorothy Luverna R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1585      Cheryl Ann      R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1586      Miriam          R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1587      Teresa          R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1588      Katherine       R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1589      Evelyn          R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1590      Carmelita       R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1591      Doris           R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1592      Mary Kathleen R.               [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1593      Eva             R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1594      Mary            R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1595      Patricia        R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1596      Lorie           R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1597      Ruth            R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1598      Chasity         R.             [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23     Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 122 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
Page 40 of 53

                               Last Name
 Claimant    First Name
                                (injured Date of Birth          SSN      Date of Death       Claim Type
    No.   (injured person)
                                person)                       (last 4)   (if applicable)      (disease)
   1599      Linda             R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1600      Virginia          R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1601      Maryann           R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1602      Joy               R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1603      Rosemary          R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1604      Rhoda Joy         R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1605      Carolyn           R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1606      Susan             R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1607      G-Ann             R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1608      Jelina            R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1609      Carmen            R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1610      Nelly             R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1611      Deborah           R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1612      Nora              R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1613      Rachel            R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1614      Norma             R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1615      Phyllis           R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1616      Carrie            R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1617      Judith            R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1618      Lisa A            R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1619      Nora              R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1620      Lisa              R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1621      Carol             R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1622      Judith            R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1623      Kandy             R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1624      Margaret          R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1625      Ann               R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1626      Laura             R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1627      Mary Lou          R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1628      Diane Josephine   R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1629      Karen             R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1630      Claire            R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1631      Tonja             R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1632      Sally             R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1633      Dee Dee           R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1634      Lisa              R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1635      Rhonda            R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1636      Ida               R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1637      Marie             R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1638      Sarah             R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]
   1639      Sylvia            R.            [Redacted]    [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 123 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   1640      Gail             R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1641      Eileen           R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1642      Maki             R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1643      Vickie           R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1644      Victoria         R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1645      Melissa          R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1646      Joyce            R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1647      Kelli            R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1648      Carolyn          R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1649      Rebecca          R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1650      Paula            R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1651      Christianne      R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1652      Debra            R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1653      Emerita S.       R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1654      Tanya            R.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1655      Mary             S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1656      Wendy            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1657      Joyce            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1658      Jamila           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1659      Mary             S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1660      Maria            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1661      Julia            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1662      Debbie           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1663      Janet            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1664      Lynn             S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1665      Jonella          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1666      Doris            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1667      MaHanna          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1668      Elisabeth        S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1669      Pamela           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1670      Claudia          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1671      Tawnya           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1672      Rondell          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1673      Maria Paz        S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1674      Maria            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1675      Susan            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1676      Heidi            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1677      Anita            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1678      Batoul           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1679      Lissa            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1680      Gloria           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 124 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   1681      Juliette         S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1682      Donna            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1683      Tamara           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1684      Mary             S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1685      Joan             S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1686      Gladys           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1687      Eugenia          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1688      Tina             S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1689      Melonie          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1690      Linda            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1691      Jasbir Nina      S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1692      Jane             S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1693      Linda            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1694      Kathleen         S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1695      Keri             S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1696      Rebecca          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1697      Mary             S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1698      Peggy            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1699      Michele          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1700      Jolene           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1701      Barbara          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1702      Karin            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1703      Sondra           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1704      Kerrie           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1705      Cindy            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1706      Kristi           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1707      Emma             S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1708      Amy              S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1709      Cathy            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1710      Beatrice         S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1711      Laura            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1712      Jennifer         S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1713      Sumiko           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1714      Shirley          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1715      Sandra           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1716      Lillie           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1717      Barbara          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1718      Eloisa           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1719      Karen            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1720      Kathryn          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1721      Manuela          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 125 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   1722      Cecelia          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1723      Deborah          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1724      Evelyn           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1725      Vicki            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1726      Melanie          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1727      Esther           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1728      Jean             S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1729      Marti            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1730      Nola             S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1731      Julie            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1732      Darothey         S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1733      Wendy            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1734      Marjorie         S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1735      Ismath           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1736      Donna            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1737      Marilyn          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1738      Jennifer         S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1739      Tanya            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1740      Leacy            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1741      Rita             S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1742      Margie           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1743      Claire           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1744      Gloria           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1745      Tami             S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1746      Amanda           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1747      Rosa Mae         S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1748      Sheri            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1749      Ida              S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1750      Emily            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1751      Kirsta           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1752      Nickie           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1753      Jayme            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1754      Joan             S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1755      Marjorie         S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1756      Grace Mary       S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1757      Rhonda           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1758      Gloria           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1759      Debra            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1760      Michaela         S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1761      Cheryl           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1762      Johanna          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 126 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   1763      Donna Mae        S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1764      Nancy            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1765      Julie            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1766      Betty            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1767      Charlotte        S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1768      Christy          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1769      Shanna           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1770      Amy              S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1771      Frances          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1772      Carrie           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1773      Ramona           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1774      Susan            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1775      Beth             S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1776      Alice            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1777      Cynthia          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1778      Cherie           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1779      Robbin           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1780      Deanna           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1781      Lotdesa          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1782      Dolores          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1783      Colene           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1784      Patricia         S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1785      Theresa Marie    S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1786      Victoria         S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1787      Yvonne           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1788      Mary             S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1789      Cynthia          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1790      Abbey            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1791      Kimberly         S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1792      Velma Marie      S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1793      Deanna           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1794      Mary             S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1795      Amy              S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1796      Teresa           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1797      Joan             S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1798      Marian           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1799      Maxine           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1800      Virginia         S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1801      Deborah          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1802      Louise           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1803      Mackenzie        S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   1804      Jeanne           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1805      Kathleen         S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1806      Stephanie        S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1807      Christine        S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1808      Gailina          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1809      Colleen          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1810      Lindsey          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1811      Pamela           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1812      Amber            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1813      Susan            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1814      Shayna           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1815      Yvonne           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1816      Stephanie        S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1817      Ginger           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1818      Cheryl           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1819      Heather          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1820      Janet            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1821      Dolores          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1822      Monica           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1823      Nicole           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1824      Rebecca          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1825      Susan            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1826      Ramona           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1827      Ann              S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1828      Judith           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1829      Anne             S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1830      Olivia           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1831      Misty            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1832      Leslie           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1833      Heidi            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1834      Laurie           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1835      Linda            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1836      Ida              S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1837      Sharon           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1838      Danielle         S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1839      Miriam J         S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1840      Patricia         S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1841      Aura             S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1842      Deborah          S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1843      Audrey           S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1844      Kelly            S.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


40000/0600-45309780v1
       Case 23-01092-MBK             Doc -1     Filed 05/09/23    Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                                Last Name
 Claimant    First Name
                                 (injured Date of Birth         SSN      Date of Death       Claim Type
    No.   (injured person)
                                 person)                      (last 4)   (if applicable)      (disease)
   1845      Marina             S.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1846      Edith              S.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1847      Debbie             S.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1848      Estate of ElizabethS.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1849      Martha             S.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1850      Holly              S.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1851      Saundra            S.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1852      Tonya              S.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1853      Francine           S.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1854      Elizabeth          S.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1855      Tina               S.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1856      Patricia           S.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1857      Salina             T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1858      Gina               T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1859      Carol              T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1860      Virginia           T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1861      Adelaida           T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1862      Doris              T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1863      Delores            T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1864      Catherine          T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1865      Marilyn            T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1866      Carolyn Gayle      T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1867      Denise             T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1868      Linda Jo           T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1869      Denise             T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1870      Sherry R.          T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1871      Carolyn            T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1872      Belinda            T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1873      Betty              T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1874      Talana             T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1875      Denee              T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1876      Shara              T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1877      June               T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1878      Anna               T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1879      Christine          T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1880      Linda              T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1881      Casey              T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1882      Ruth               T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1883      Dellarene          T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1884      Tochia             T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]
   1885      Nelita             T.            [Redacted]   [Redacted]    [Redacted]        [Redacted]


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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   1886      Ragena           T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1887      Lori             T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1888      Margaret         T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1889      Andrea           T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1890      Marlene          T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1891      Jane             T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1892      Jozene           T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1893      Angela           T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1894      Claudia          T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1895      Katherine        T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1896      Hattie           T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1897      Linda            T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1898      Elaine           T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1899      Pattie           T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1900      Christine        T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1901      Paula            T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1902      Joanne           T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1903      Brenda           T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1904      Penny            T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1905      Vannesa          T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1906      Josephine        T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1907      Addy             T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1908      Angelica         T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1909      Erika            T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1910      Carmen M         T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1911      Beverly          T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1912      Christine        T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1913      Laurie           T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1914      Jan              T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1915      Peggy            T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1916      Gloria           T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1917      Julie            T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1918      Emily            T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1919      Mary             T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1920      Lori             T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1921      Pamela           T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1922      Luz              T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1923      Elizabeth        T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1924      Patricia A.      T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1925      Nancy            T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1926      Victoria         T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   1927      Carole           T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1928      Lenita           T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1929      Cynthia          T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1930      Iris             T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1931      JoAnn            T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1932      Melodie          T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1933      Miramonte        T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1934      Lauren           T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1935      Danielle Marie   T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1936      Robin            T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1937      Yvette           T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1938      Sharon           T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1939      Anita            T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1940      Susan            T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1941      Ana              T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1942      Janice           T.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1943      Kathleen         U.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1944      Teresa           U.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1945      Debra            U.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1946      Beverly          U.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1947      Cynthia          U.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1948      Irma             V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1949      Frances          V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1950      Maria G.         V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1951      Catherine        V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1952      Cheryl           V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1953      Guadalupe        V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1954      Judy             V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1955      Michele Lau      V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1956      Suzanne          V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1957      Esther           V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1958      Danielle         V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1959      Katherine        V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1960      Margaret         V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1961      Susana           V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1962      Alice            V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1963      Lisa             V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1964      Sandra           V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1965      Zaida            V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1966      Alicia           V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1967      Lorrina          V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   1968      Marina           V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1969      Marjorie         V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1970      Josette          V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1971      Ivanna           V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1972      Carolina         V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1973      Martha           V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1974      Debra            V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1975      Kathryn          V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1976      Elizabeth        V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1977      Mindy Jo         V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1978      Ruth             V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1979      Mary Ann         V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1980      Vincee           V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1981      Marion           V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1982      Denise           V.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1983      Sharon           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1984      Elizabeth        W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1985      April            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1986      Toni             W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1987      Kimberly         W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1988      Cherie           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1989      Barbara          W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1990      Evelyn           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1991      Yana             W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1992      Ammie            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1993      Jenelle          W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1994      Susan            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1995      Melissa          W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1996      Elena            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1997      Virginia         W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1998      Eilish           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   1999      Tamara           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2000      Glennis          W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2001      Carole           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2002      Karen            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2003      Aretha           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2004      Sheilah          W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2005      Burnell          W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2006      Sarah            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2007      Maria            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2008      Lucille          W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   2009      Lucile           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2010      Teresa           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2011      Eugenia          W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2012      Sandra           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2013      Kathleen         W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2014      Ginger           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2015      Jacqueline       W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2016      Judith           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2017      Janel            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2018      Armida           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2019      Kathleen         W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2020      Kelly            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2021      Shelby           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2022      Carol            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2023      Linda            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2024      Carol            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2025      Sharon           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2026      Gertrude         W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2027      Elizabeth        W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2028      Sherry           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2029      Lisa             W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2030      Anna             W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2031      Elva             W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2032      Rebecca          W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2033      Freda            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2034      Melissa          W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2035      Virginia         W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2036      Cathy            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2037      Grace            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2038      Martha           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2039      Faye             W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2040      Maureen          W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2041      Barbara          W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2042      Pamela           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2043      Andrea           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2044      Natalie          W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2045      Roslyn           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2046      Janice           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2047      Regina           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2048      Pamela           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2049      Josephine        W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


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       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04         Desc
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   2050      Kimberly         W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2051      Ruth             W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2052      Norma            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2053      Jennifer         W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2054      Martha           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2055      Angelique        W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2056      Miava            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2057      Sharon           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2058      Juanita          W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2059      Angila           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2060      Randy            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2061      Earnestine       W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2062      Linae            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2063      Leslie           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2064      Irena            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2065      Laurie           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2066      Amanda           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2067      Jeannette        W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2068      Penny            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2069      Tameitha         W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2070      Gayle            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2071      Lorrie           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2072      Shirley          W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2073      Mary             W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2074      Andrea           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2075      Antranette       W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2076      Nancy            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2077      Donnette         W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2078      Susan            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2079      Amy              W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2080      Nicolette        W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2081      Ruth             W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2082      Mary K.          W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2083      Annie            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2084      Mary             W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2085      Shelba           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2086      Mary             W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2087      Donna            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2088      Beverly          W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2089      Wanda            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2090      Lelia            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   2091      Mary             W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2092      Cindy            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2093      Thelma           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2094      Catherine        W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2095      Leslie           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2096      Helen            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2097      Je' Nae          W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2098      Belinda          W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2099      Anna             W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2100      Nikki            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2101      Billie           W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2102      Gui Yan          W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2103      Robin            W.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2104      Christine        Y.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2105      Asia             Y.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2106      Susan            Y.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2107      Jennifer         Y.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2108      Eugenia          Y.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2109      Penny            Y.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2110      Susan            Y.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2111      Linda            Y.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2112      Kay              Y.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2113      Doncella         Y.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2114      Brenda           Y.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2115      Virgillia        Y.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2116      Teresita         Y.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2117      LaNita           Y.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2118      Dinora           Y.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2119      Lucienne         Z.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2120      Victoria         Z.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2121      Lynn             Z.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2122      Joyce            Z.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2123      Victoria         Z.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2124      Pamela           Z.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2125      Shirley          Z.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2126      Nancy            Z.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2127      Donna M.         Z.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2128      Florentina       Z.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2129      Lauren           Z.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2130      Andrea           Z.            [Redacted]     [Redacted]    [Redacted]        [Redacted]
   2131      Rosa María       Z.            [Redacted]     [Redacted]    [Redacted]        [Redacted]


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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit E-1 – Johnson Law Group - Redacted Claimant Schedule
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                              Last Name
 Claimant    First Name
                               (injured Date of Birth           SSN      Date of Death       Claim Type
    No.   (injured person)
                               person)                        (last 4)   (if applicable)      (disease)
   2132      Kathy            Z.            [Redacted]     [Redacted]    [Redacted]        [Redacted]




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                                   Exhibit E-2


                    Johnson Law Group Form Retainer Agreement
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                                 Exhibit F-1


                          Linville Law Group Claims
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In re: LTL Management LLC, Case No. 23-12825-MBK Exhibit (s) A - Q Page 140 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit F-1 – Linville Law Group - Redacted Claimant Schedule
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                                Exhibit F-1 - Linville Law Group      [REDACTED VERSION]

              First Name        Last Name
Claimant
                (injured         (injured     Date of Birth           SSN      Date of Death
   No.
                person)          person)                            (last 4)   (if applicable)         Claim Type
     1      Lisa           L.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
     2      Brinda         S.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
     3      Judy           H.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
     4      Debbie         B.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
     5      Laura          R.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
     6      Elizabeth      W.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
     7      Camela         S.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
     8      Nancy          H.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
     9      Terry Louise   V.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
    10      Susan          H.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
    11      Carla          P.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
    12      Dana           B.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
    13      Cindy          M.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
    14      Yvonne         B.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
    15      Rosemary       A.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
    16      Theresa        H.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
    17      Nancy          A.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
    18      Cynthia        M.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
    19      Virginia       H.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
    20      Linda          M.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
    21      Lorraine       R.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
    22      Terry          F.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
    23      Anyda          A.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
    24      Barbara        M.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
    25      Carol          C.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]
    26      Markien        W.                 [Redacted]      [Redacted]       [Redacted]        [Redacted]



40000/0600-45304633v1
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Exhibit F-1 – Linville Law Group - Redacted Claimant Schedule
Page 2 of 4
              First Name    Last Name
Claimant
                (injured     (injured   Date of Birth         SSN      Date of Death
   No.
                person)      person)                        (last 4)   (if applicable)         Claim Type
    27      Christina      A.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    28      Frinzetta      H.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    29      Connie         R.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    30      Lorena         H.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    31      Ruby           H.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    32      Debbie         A.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    33      Cathy          H.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    34      Edna V         W.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    35      Crystal        B.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    36      Ruth           N.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    37      Beatrice       W.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    38      Lynda          L.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    39      Lynn           W.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    40      Kiley          O.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    41      Deborah        B.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    42      Lisa           H.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    43      Rita           M.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    44      Carol          H.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    45      Lori           T.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    46      Linda          T.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    47      Wanda          R.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    48      Anise          M.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    49      Nancy          I.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    50      Emilie         T.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    51      Sherry         M.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    52      Marilyn        K.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    53      Cheryl         B.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    54      Rose Marie     W.           [Redacted]      [Redacted]     [Redacted]        [Redacted]


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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit F-1 – Linville Law Group - Redacted Claimant Schedule
Page 3 of 4
              First Name     Last Name
Claimant
                 (injured     (injured   Date of Birth         SSN      Date of Death
   No.
                 person)      person)                        (last 4)   (if applicable)         Claim Type
    55      Diana           B.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    56      Debra Ann       G.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    57      Melissa         C.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    58      Cynthia         R.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    59      Kimberley       T.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    60      Barbara         M.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    61      Faviola         F.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    62      Billie          G.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    63      Kayla           A.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    64      Vikki           L.nn         [Redacted]      [Redacted]     [Redacted]        [Redacted]
    65      Mary            D.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    66      Julie           R.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    67      Marilyn         D.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    68      Stephanie       M.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    69      Karen           F.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    70      Bonnie          J.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    71      Ronda           F.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    72      Patricia        W.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    73      Stephanie       K.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    74      Geraldine       O.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    75      Bernita         P.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    76      Leisa           O.zo         [Redacted]      [Redacted]     [Redacted]        [Redacted]
    77      Kellie          S.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    78      Karen           S.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    79      Kristine        B.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    80      Trina           J.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    81      Judith          W.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    82      Julia           R.           [Redacted]      [Redacted]     [Redacted]        [Redacted]


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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit F-1 – Linville Law Group - Redacted Claimant Schedule
Page 4 of 4
              First Name    Last Name
Claimant
                (injured     (injured   Date of Birth         SSN      Date of Death
   No.
                person)      person)                        (last 4)   (if applicable)         Claim Type
    83      LaJo           L.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    84      Kathleen       D.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    85      Elaine         G.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    86      Angela         C.           [Redacted]      [Redacted]     [Redacted]        [Redacted]
    87      Rose           G.           [Redacted]      [Redacted]     [Redacted]        [Redacted]




40000/0600-45304633v1
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                                   Exhibit F-2


                    Linville Law Group Form Retainer Agreement
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                                Exhibit G-1


                         McDonald Worley PC Claims
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In re: LTL Management LLC, Case No. 23-12825-MBK
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Exhibit G-1 – McDonald Worley PC - Redacted Claimant Schedule
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                        Exhibit G-1   McDonald Worley PC Claims       [REDACTED VERSION]

                                                                                   Date of
 Claimant First Name (injured    Last Name               Date of      SSN         Death (if
    No.          person)      (injured person)            Birth      (last 4)    applicable)   Claim Type
     1    Ariana              A.                         [Redacted] [Redacted]    [Redacted]        [Redacted]
     2       Christina                A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
     3       Diana                    A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
     4       Chrystal                 A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
     5       Melody                   A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
     6       Rebecca                  A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
     7       Kimberly                 A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
     8       Angel                    A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
     9       Dante                    A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    10       Ilene                    A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    11       Jacina                   A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    12       Kristen                  A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    13       Tandelyn                 A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    14       Quantika                 A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    15       The Estate of Linda      A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    16       Deborah                  A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    17       Rosa                     A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    18       Annette                  A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    19       Brittny                  A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    20       Nancy                    A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    21       Michelle                 A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    22       Rebecca                  A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    23       Jinny                    A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    24       Janice                   A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    25       Tanita                   A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    26       Christina                A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    27       Tekelia                  A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    28       Shameka                  A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    29       Sherrita                 A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    30       Stephanie                A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    31       Ericka                   A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    32       Candace                  A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    33       Jamiala                  A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    34       Betty                    A.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    35       Sandra                   B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    36       Kelly                    B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    37       Tequila                  B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    38       Zohra                    B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    39       Sue Ann                  B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
40000/0600-45313157v1
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Exhibit G-1 – McDonald Worley PC - Redacted Claimant Schedule
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                                                                                  Date of
 Claimant     First Name (injured       Last Name       Date of      SSN         Death (if
    No.             person)          (injured person)    Birth      (last 4)    applicable)   Claim Type
    40       Calvinishia             B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    41       Elaine                  B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    42       Melisa                  B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    43       Keetra                  B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    44       Shanna                  B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    45       Candra                  B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    46       Lisa                    B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    47       Vicki                   B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    48       Sharon                  B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    49       Debra                   B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    50       Marsha                  B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    51       Precious                B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    52       Leah                    B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    53       Cassondra               B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    54       Linda                   B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    55       Shanterra               B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    56       Latoya)                 B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    57       Helen                   B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    58       Mary                    B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    59       Shamika L.              B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    60       Rhonda                  B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    61       Yolanda                 B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    62       Carol                   B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    63       Elimshia                B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    64       Sherry                  B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    65       Jennifer                B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    66       Michelle                B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    67       Tasha                   B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    68       Tanya                   B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]

    69       The Estate of Mary R. B.                   [Redacted] [Redacted]    [Redacted]        [Redacted]
    70       Cynthia               B.                   [Redacted] [Redacted]    [Redacted]        [Redacted]

    71       The Estate of Frances   B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    72       Jill                    B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    73       Christin                B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    74       Martha                  B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    75       Jackie                  B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    76       Deborah                 B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    77       Natoria                 B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    78       Conyey                  B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    79       Roslyn                  B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    80       Brittney                B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
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            Case 23-01092-MBK            Doc -1   Filed 05/09/23    Entered 05/09/23 03:22:04    Desc
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                                                                                 Date of
 Claimant     First Name (injured      Last Name       Date of       SSN        Death (if
    No.             person)         (injured person)    Birth       (last 4)   applicable)   Claim Type
    81       Deborah                B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    82       Ida                    B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    83       Leasha                 B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    84       Nicole                 B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    85       Sade                   B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    86       Valorie                B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    87       Diana                  B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    88       Patricia               B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    89       Debra                  B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    90       Yolanda                B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    91       Mary                   B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    92       Stacey                 B.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    93       Daria                  C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    94       Mary                   C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    95       Laura                  C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    96       Amanda                 C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    97       Brandy                 C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    98       Shannon                C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    99       Sharon                 C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    100      The Estate of Clara    C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    101      Wanda                  C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    102      Aluxa                  C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    103      Dwanda                 C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    104      Charlene               C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    105      Yolanda                C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    106      Kelley                 C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    107      Leticia                C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    108      Lisa                   C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    109      Edna                   C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    110      Angela                 C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    111      Kendall                C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    112      Putjenter              C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    113      Denise                 C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    114      Valerie                C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    115      Brittany               C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    116      Kelly                  C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    117      Katavia                C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    118      Rhonda                 C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    119      Leigh                  C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    120      Aleta                  C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    121      Jamila                 C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    122      Patricia               C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    123      Loretta                C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
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            Case 23-01092-MBK             Doc -1   Filed 05/09/23   Entered 05/09/23 03:22:04     Desc
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                                                                                  Date of
 Claimant     First Name (injured       Last Name       Date of      SSN         Death (if
    No.             person)          (injured person)    Birth      (last 4)    applicable)   Claim Type
    124      Ivy                     C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    125      Myra                    C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    126      Endia                   C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    127      Latasha                 C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    128      Sharon                  C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    129      Theresa                 C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    130      Michelle L.             C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    131      Cindy                   C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    132      Brandis                 C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    133      Denise                  C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    134      Gloria                  C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    135      Velmaria                C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    136      Candice                 C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    137      Flossie                 C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    138      Deborah                 C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    139      Pamela                  C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    140      Melissa S.              C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    141      Chontelle               C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    142      Dawn                    C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    143      Margaret                C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    144      Dina                    C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    145      Melanie                 C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    146      Asja                    C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    147      Danielle                C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    148      Melissa                 C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    149      Latoya                  C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    150      Rose                    C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
             The Estate of Willie
    151      Beatrice                C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    152      Alicia                  C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    153      Danielle                C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    154      Jasmine                 C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]

    155      The Estate of Vernell   C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    156      Victoria                C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    157      Roxana                  C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    158      Betty                   C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    159      Crystal                 C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    160      Michelle                C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    161      Talisha                 C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    162      Tina                    C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    163      Trinny                  C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    164      Jenell                  C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
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                                                                                  Date of
 Claimant     First Name (injured       Last Name       Date of      SSN         Death (if
    No.             person)          (injured person)    Birth      (last 4)    applicable)   Claim Type
    165      Deonte                  C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    166      Sharena                 C.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    167      Sherry                  D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    168      Tiffany                 D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    169      Elizabeth               D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    170      Gail                    D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    171      Kim                     D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    172      Darnisha                D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    173      Latrice                 D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    174      David                   D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    175      Deborah                 D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    176      Evangelina              D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    177      Sharlene                D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    178      Adrienne                D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    179      Daiven                  D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    180      LaTiane                 D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    181      Melissa                 D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    182      Roselene                D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    183      Stephanie               D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    184      Tameka                  D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    185      Tracy                   D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    186      Alaina                  D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    187      Lakezia                 D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    188      Marina                  D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    189      Sylvia                  D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    190      Martha                  D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    191      Rosamaria               D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    192      Dawn                    D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    193      DAngela                 D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    194      The Estate of Phyllis   D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    195      Tara                    D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    196      Shawn                   D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    197      Kimberly                D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    198      Shelitria               D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    199      Codreka                 D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    200      Patricia                D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    201      Janelle                 D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    202      Brandee                 D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    203      Jennifer                D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    204      Kiara                   D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    205      Latonya                 D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    206      Deborah                 D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    207      Darla                   D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
40000/0600-45313157v1
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                                                                                 Date of
 Claimant     First Name (injured      Last Name       Date of       SSN        Death (if
    No.             person)         (injured person)    Birth       (last 4)   applicable)   Claim Type
    208      Julie                  D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    209      Necole                 D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    210      Selina                 D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    211      Debbie                 D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    212      Neka                   D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    213      Uytese                 D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    214      Cathryn                D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    215      Emily                  D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    216      Doris                  D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    217      Felicity               D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    218      Geneva                 D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    219      Yvette                 D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    220      Deloris A.             D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    221      Lorna                  D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    222      Rachel                 D.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    223      Kelly                  E.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    224      Lashaundria            E.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    225      Khia                   E.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    226      Jacqueline             E.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    227      Audrey                 E.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    228      Amareisha              E.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    229      Terra                  E.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    230      Cheryl                 E.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    231      Jeneva                 E.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    232      Perez J.               E.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    233      Takarra                E.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    234      Annamarie              E.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    235      Fatima L.              E.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    236      Vernesa                E.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    237      Crystal                E.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    238      Cheryl                 F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    239      Marianne               F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    240      Brittiany              F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    241      Billie                 F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    242      Cornelia               F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    243      Cheryl                 F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    244      Janice                 F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    245      Jeanni                 F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    246      Stephanie D.           F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    247      Jewel                  F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    248      Grace                  F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    249      Katy                   F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    250      Chereen                F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
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                                                                                   Date of
 Claimant     First Name (injured        Last Name       Date of      SSN         Death (if
    No.             person)           (injured person)    Birth      (last 4)    applicable)   Claim Type
    251      Sheryl                   F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    252      Janet                    F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    253      Amber                    F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    254      Shameika                 F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    255      Tresa                    F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    256      Chanita                  F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    257      Catherine                F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    258      Jennifer                 F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    259      Krizia                   F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    260      Kim                      F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]

    261      The Estate of Linda R.   F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    262      Lila                     F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    263      Guermena                 F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    264      Jamee                    F.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    265      Shellie                  G.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    266      Erica                    G.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    267      Vera                     G.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    268      Charlotte                G.                 [Redacted] [Redacted]    [Redacted]        [Redacted]

    269      The Estate of Elayne B. G.                  [Redacted] [Redacted]    [Redacted]        [Redacted]
    270      Christina A.            G.                  [Redacted] [Redacted]    [Redacted]        [Redacted]
    271      Angelita                G.                  [Redacted] [Redacted]    [Redacted]        [Redacted]
    272      Jody                    G.                  [Redacted] [Redacted]    [Redacted]        [Redacted]
    273      Sharon                  G.                  [Redacted] [Redacted]    [Redacted]        [Redacted]
    274      Alyson                  G.                  [Redacted] [Redacted]    [Redacted]        [Redacted]
    275      Robin                   G.                  [Redacted] [Redacted]    [Redacted]        [Redacted]
    276      Barbara                 G.                  [Redacted] [Redacted]    [Redacted]        [Redacted]
    277      Donna                   G.                  [Redacted] [Redacted]    [Redacted]        [Redacted]
    278      Angie R.                G.                  [Redacted] [Redacted]    [Redacted]        [Redacted]
    279      Ivon                    G.                  [Redacted] [Redacted]    [Redacted]        [Redacted]
    280      Pauline                 G.                  [Redacted] [Redacted]    [Redacted]        [Redacted]
    281      Rhonda                  G.                  [Redacted] [Redacted]    [Redacted]        [Redacted]
    282      Waleska                 G.                  [Redacted] [Redacted]    [Redacted]        [Redacted]
    283      Kesha                   G.                  [Redacted] [Redacted]    [Redacted]        [Redacted]
    284      Lisa                    G.                  [Redacted] [Redacted]    [Redacted]        [Redacted]
    285      Toya                    G.                  [Redacted] [Redacted]    [Redacted]        [Redacted]
    286      Amanda                  G.                  [Redacted] [Redacted]    [Redacted]        [Redacted]
    287      Mika                    G.                  [Redacted] [Redacted]    [Redacted]        [Redacted]
    288      Deadrian                G.                  [Redacted] [Redacted]    [Redacted]        [Redacted]
    289      Tyeanna                 G.                  [Redacted] [Redacted]    [Redacted]        [Redacted]
    290      Donna                   G.                  [Redacted] [Redacted]    [Redacted]        [Redacted]
    291      Alicia                  G.                  [Redacted] [Redacted]    [Redacted]        [Redacted]
40000/0600-45313157v1
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                                                                                 Date of
 Claimant     First Name (injured      Last Name       Date of       SSN        Death (if
    No.             person)         (injured person)    Birth       (last 4)   applicable)   Claim Type
    292      Ieisga                 G.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    293      Yasimee                G.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    294      Nicole                 G.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    295      Trinice                G.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    296      Veronica               G.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    297      Stephanie              G.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    298      Tracy                  G.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    299      Debra                  G.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    300      Asia                   G.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    301      Lisa                   G.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    302      Tia                    G.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    303      Tavia                  G.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    304      Rouchelle              G.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    305      Jennifer               G.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    306      Lindsay                H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    307      Lisa                   H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    308      Margaret               H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    309      Lori                   H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    310      Betty                  H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    311      Charity                H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    312      Dawn                   H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    313      Candice                H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    314      Cynthia                H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    315      The Estate Of Kim E.   H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    316      Tabetha                H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
             The Estate of Sharon
    317      A.                     H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    318      Lois                   H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    319      Deborah                H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    320      Jessica                H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    321      Elaine                 H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    322      Tyra                   H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    323      Christine              H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    324      Latavia                H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    325      Nyota                  H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    326      Tameka                 H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    327      Kyonna                 H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    328      Pamela                 H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    329      Ti-Shona               H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    330      Robin                  H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    331      Takisha                H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    332      Terry                  H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    333      Mary                   H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
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                                                                                 Date of
 Claimant     First Name (injured      Last Name       Date of       SSN        Death (if
    No.             person)         (injured person)    Birth       (last 4)   applicable)   Claim Type
    334      Doris                  H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    335      Chanel                 H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    336      Carol                  H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    337      Angee                  H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    338      Mona                   H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    339      Samantha               H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    340      Sharell                H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    341      Katrina                H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    342      Taz                    H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    343      Keyana                 H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    344      Jacqueline             H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    345      Blennie                H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    346      Desiree                H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    347      Paula                  H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    348      Angel                  H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    349      Ronnie                 H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    350      Brittney               H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    351      Laura                  H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    352      Jasmin                 H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    353      Tawanna                H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]

    354      The Estate of Monica   H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    355      Latasha                H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    356      Rebecca                H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    357      Yvonne                 H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    358      Sherell                H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    359      Mary                   H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    360      Traneisha              H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    361      Brandy                 H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    362      Lateisha               H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    363      Rose                   H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    364      Diamond                H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    365      Samantha               H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    366      Fidelina               H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    367      Bridget                H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    368      Belinda                H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    369      Amber                  H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    370      Amber                  H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    371      Monica                 H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    372      Michelle               H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    373      Darlette               H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    374      Rebecca                H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    375      The Estate of Linda    H.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
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                                                                                 Date of
 Claimant     First Name (injured      Last Name       Date of       SSN        Death (if
    No.             person)         (injured person)    Birth       (last 4)   applicable)   Claim Type
    376      Jazmine                I.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    377      Danielle               J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    378      Quateka                J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    379      Andrea                 J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    380      Annette                J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    381      Tabitha                J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    382      Tanisha                J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    383      The Estate of Toyna    J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    384      Wanda                  J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    385      Tiffany                J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    386      Celeste                J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    387      Sharra                 J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    388      Vanisha                J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    389      Dawna                  J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    390      Felice                 J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    391      Alana                  J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    392      Alicia                 J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    393      Brenda                 J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    394      Christinia             J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    395      Debra                  J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    396      Dorothy                J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    397      Ebony                  J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    398      Margaret               J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    399      Marlene                J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    400      Mary                   J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    401      Stacey                 J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    402      Taleria                J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    403      Tanesha                J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    404      Claudette              J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    405      Tamara                 J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    406      Yvonne                 J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    407      Florence               J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    408      Ivy                    J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    409      Jiana                  J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    410      Keisha                 J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    411      Kimberly               J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    412      Kizzie                 J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    413      Lorraine               J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    414      Natasha                J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    415      Ruby                   J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    416      Shamika                J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    417      Tira                   J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    418      Yolanda                J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
40000/0600-45313157v1
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                                                                                 Date of
 Claimant     First Name (injured      Last Name       Date of       SSN        Death (if
    No.             person)         (injured person)    Birth       (last 4)   applicable)   Claim Type
    419      Yvonne                 J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    420      Kimberly               J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    421      Deborah                J.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    422      Miranda L.             K.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    423      Krista                 K.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    424      Rosetta                K.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    425      Sparkle                K.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    426      Heather                K.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    427      Amy                    K.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    428      Brittany               K.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    429      Tangela                K.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    430      The Estate of Pat      K.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    431      Jessica                L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    432      Kayla                  L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    433      Donetta                L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    434      Darcey                 L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    435      Elizabeth              L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    436      Maria                  L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    437      Morgan                 L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    438      LeDeja                 L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    439      Karen                  L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    440      Deborah                L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    441      Lynette                L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    442      Shannon                L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    443      Shawndalyn             L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    444      Susie                  L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    445      Tara                   L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    446      Shallon                L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    447      Cyd-Charisse           L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    448      Kyna                   L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    449      Raquel                 L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    450      Rashaun                L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    451      Tasha                  L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    452      Tawny                  L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    453      Carolyn                L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    454      Arlene                 L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    455      The Estate of Jennie   L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    456      Toji                   L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    457      Khadijah               L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    458      Terry                  L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    459      Carrie                 L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    460      Terry                  L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    461      Terneisha              L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
40000/0600-45313157v1
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                                                                                 Date of
 Claimant     First Name (injured      Last Name       Date of       SSN        Death (if
    No.             person)         (injured person)    Birth       (last 4)   applicable)   Claim Type
    462      Felisha                L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    463      Jessica                L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    464      Joanna                 L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    465      Trevina                L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    466      Ashley                 L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    467      Latricia               L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    468      Nickol                 L.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    469      Kathleen               M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    470      Tyra                   M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    471      Ursula                 M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    472      Shauntia               M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    473      Leisa                  M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    474      Sonya                  M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    475      Trinica                M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    476      Theolay                M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    477      Kathy                  M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    478      Euraline               M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    479      Brandi Lynette         M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    480      Patricia               M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    481      Tasha                  M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    482      Erma                   M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    483      Jacqueline             M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    484      Cheryl                 M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    485      Delores                M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    486      Carnisha               M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    487      Claudia                M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    488      Mary                   M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    489      Gaynell                M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    490      Porche                 M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    491      Deborah                M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    492      Amber                  M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    493      Alexa                  M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    494      Monica                 M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    495      Danieal                M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    496      Luon                   M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    497      Shelia                 M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    498      Nesha                  M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    499      Tamera                 M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    500      Theresa                M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    501      Ana                    M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    502      Maria                  M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    503      Dorothy                M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    504      Brenda                 M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
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                                                                                 Date of
 Claimant     First Name (injured      Last Name       Date of       SSN        Death (if
    No.             person)         (injured person)    Birth       (last 4)   applicable)   Claim Type
    505      Mary                   M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    506      Lucille                M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    507      Whitney                M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    508      Jackie                 M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    509      Uniqueah               M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    510      Aja                    M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    511      Renee                  M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    512      Aniaya                 M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    513      Dominique              M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    514      Avondrea               M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    515      Brooke                 M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    516      Camil                  M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    517      Leslie                 M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    518      Shira                  M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    519      Stacia                 M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    520      Jannae                 M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    521      Carletta               M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    522      Danyelle               M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    523      Elundra                M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    524      Pamela                 M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    525      Rocio                  M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    526      Patricia               M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    527      Nicola                 M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    528      Sheila                 M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    529      Tracy                  M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    530      Ashley                 M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    531      Kanisha                M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    532      Melanie                M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    533      Juanita S.             M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    534      Judy                   M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    535      Belinda                M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    536      Olga                   M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    537      Ina                    M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    538      Moya                   M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    539      Antoinette             M.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    540      Berniece               N.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    541      Catherine              N.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    542      Consuel                N.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    543      Patricia               N.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    544      The Estate of Eunice   N.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    545      Velecia                N.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    546      Lisa                   O.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    547      Cherie                 O.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
40000/0600-45313157v1
            Case 23-01092-MBK            Doc -1   Filed 05/09/23    Entered 05/09/23 03:22:04    Desc
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                                                                                 Date of
 Claimant     First Name (injured      Last Name       Date of       SSN        Death (if
    No.             person)         (injured person)    Birth       (last 4)   applicable)   Claim Type
    548      Vanessa                P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    549      Jennifer               P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    550      Pamela S.              P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    551      Cherise                P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    552      Claudett               P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    553      Demetria               P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    554      Pinky                  P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    555      The Estate of Norma    P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    556      Crystal                P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    557      Cynthia                P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    558      Sandra                 P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    559      Linda                  P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    560      Lenodra                P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    561      Mary B.                P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    562      Crystal                P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    563      Jennifer               P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    564      Georgianna             P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    565      Emily                  P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    566      Lisa .                 P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    567      Sherell                P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    568      The Estate of Betty    P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    569      Barbara                P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    570      Keshi                  P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    571      Sonvonna               P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    572      Kreisha                P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    573      Tamika                 P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    574      Tiffany                P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    575      Monique                P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    576      Latanya                P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    577      Tian                   P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    578      Mary L.                P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    579      Jessica                P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    580      Chalana                P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    581      Precious               P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    582      Felecia                P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    583      Erica                  P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    584      Gloria L.              P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    585      Rebecca                P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    586      Cynthia                P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    587      Sheri                  P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    588      Sanquetta              P.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    589      Silvana                Q.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    590      Cynthia                R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
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                                                                                 Date of
 Claimant     First Name (injured      Last Name       Date of       SSN        Death (if
    No.             person)         (injured person)    Birth       (last 4)   applicable)   Claim Type
    591      Shevy                  R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    592      Shana                  R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    593      Tarneicia              R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    594      Ashia                  R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    595      Stephanie              R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    596      Keveta                 R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    597      Keisha                 R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    598      Debra                  R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    599      Monica                 R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    600      Luz                    R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    601      Takasha                R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    602      Amber                  R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    603      Stacy                  R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    604      Michaelle              R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    605      Rhonda                 R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    606      Wallene                R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    607      Darcel                 R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    608      Teanna                 R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    609      Ashley                 R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    610      Brittney               R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    611      Crystal                R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    612      Jennifer               R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    613      Veronica               R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    614      Krystelle              R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    615      Latricia               R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    616      Laurie                 R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    617      Linda                  R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    618      Connie                 R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    619      Verna                  R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    620      Shima                  R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    621      Sheila                 R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    622      Wenona                 R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    623      N'gaio                 R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    624      Sade                   R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    625      Barbara                R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    626      Ebony                  R.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    627      Maggie                 S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    628      Angela                 S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    629      Ismae                  S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    630      Shirley                S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    631      Danielle               S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    632      Tangela D.             S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    633      Ana                    S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
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                                                                                  Date of
 Claimant First Name (injured    Last Name              Date of      SSN         Death (if
    No.           person)     (injured person)           Birth      (last 4)    applicable)   Claim Type
    634   Debbie              S.                        [Redacted] [Redacted]    [Redacted]        [Redacted]
    635   Virginia K.         S.                        [Redacted] [Redacted]    [Redacted]        [Redacted]
    636   Tiara               S.                        [Redacted] [Redacted]    [Redacted]        [Redacted]

    637      The Estate of Barbara   S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    638      Olga                    S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    639      Chantell                S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    640      Noris                   S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    641      Donisha                 S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    642      Theresa                 S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    643      The Estate of Yvette    S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    644      Tameca                  S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    645      Karen                   S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    646      Monica                  S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    647      Debra                   S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    648      Christina I.            S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    649      Elizabeth A.            S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    650      Patricia                S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    651      Debra                   S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    652      Patricia                S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    653      Johnnetta               S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    654      Barbara                 S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    655      Alice                   S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    656      Annastasia              S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    657      Janette                 S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    658      Deborah                 S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    659      Diane                   S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    660      Karla                   S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    661      Kimberly                S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    662      Kristy                  S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    663      Natalie                 S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    664      Renita                  S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    665      Shamia                  S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    666      Stephanie               S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    667      Suzanne                 S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    668      Tia                     S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    669      LaDonna M.              S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    670      Sierra                  S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    671      Glayeruschia            S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    672      Shirley                 S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    673      Tommie                  S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    674      Charity                 S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    675      Rosalind                S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
40000/0600-45313157v1
            Case 23-01092-MBK            Doc -1   Filed 05/09/23    Entered 05/09/23 03:22:04    Desc
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                                                                                 Date of
 Claimant     First Name (injured      Last Name       Date of       SSN        Death (if
    No.             person)         (injured person)    Birth       (last 4)   applicable)   Claim Type
    676      Tera                   S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    677      Mavis                  S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    678      Debra                  S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    679      Theresa                S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    680      Lisa                   S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    681      Jamika                 S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    682      Judith                 S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    683      Rhonda                 S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    684      Connie                 S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    685      Shaylah                S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    686      Chemeka                S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    687      Tracy                  S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    688      Lyric                  S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    689      Mary                   S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    690      Concian                S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    691      Tanisha                S.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    692      Amanda                 T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    693      Jacqueline             T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    694      Kelly                  T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    695      Lakesha                T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    696      Janeen                 T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    697      Jeanette               T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    698      Jessica                T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    699      Lori                   T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    700      Phyllis                T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    701      Savannah               T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    702      Tracy                  T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    703      Jessica                T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    704      Gloria                 T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    705      Cheryl                 T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    706      Geraldine              T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    707      Terra                  T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    708      Tiffany                T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    709      Tomeka N.              T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    710      Elanda                 T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    711      LaDeana                T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    712      Cornelia               T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    713      Kayla                  T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    714      Tyeika                 T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    715      Daysun                 T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    716      Jacqueline             T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    717      Tausha                 T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    718      Keianya                T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
40000/0600-45313157v1
            Case 23-01092-MBK            Doc -1   Filed 05/09/23    Entered 05/09/23 03:22:04    Desc
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                                                                                 Date of
 Claimant     First Name (injured      Last Name       Date of       SSN        Death (if
    No.             person)         (injured person)    Birth       (last 4)   applicable)   Claim Type
    719      Raynetta               T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    720      Barbara                T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    721      The Estate of Reba     T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    722      Wanda                  T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    723      Maricela               T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    724      Linda                  T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    725      Teneya                 T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    726      Joslyn                 T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    727      Josephine              T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    728      Cindy                  T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    729      Chaka                  T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    730      Tiana                  T.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    731      Shukriyah              U.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    732      Domenica               V.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    733      Jennifer               V.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    734      Josephine              V.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    735      Debra                  V.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    736      Michelle               V.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    737      Jo Ann                 V.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    738      Darneshia              V.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    739      Jennifer               V.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    740      Luz                    V.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    741      Jennifer               V.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    742      Jo                     V.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    743      Camilla                V.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    744      Lynette                W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    745      Torri                  W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    746      Teresa                 W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    747      Teresa                 W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    748      Alela                  W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    749      Fenesha                W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    750      Cynthia                W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    751      Wanda                  W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    752      Tracy                  W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    753      Shameka                W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    754      Keisha                 W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    755      Shavone                W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    756      Angela                 W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    757      Gale                   W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    758      Jabreal                W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    759      Shanette               W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    760      Sheena                 W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    761      Letha                  W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
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                                                                                 Date of
 Claimant     First Name (injured      Last Name       Date of       SSN        Death (if
    No.             person)         (injured person)    Birth       (last 4)   applicable)   Claim Type
    762      Pamela                 W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    763      Ashley                 W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    764      Jasmine                W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    765      Aisha                  W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    766      Michelle               W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    767      Gladys                 W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    768      Jacklyn                W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    769      Sheila                 W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    770      Melissa                W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    771      Brandi                 W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    772      Schevaloni             W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    773      Arlynda                W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    774      Cubie                  W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    775      Kristin                W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    776      Marchell               W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    777      Melissa                W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    778      Naimah                 W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    779      Roxanne                W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    780      Shanika                W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    781      Sharon                 W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    782      Tametreia              W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    783      The Estate of Jo Ann   W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    784      Virginia               W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    785      Donna                  W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    786      Mary                   W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    787      Farrah                 W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    788      Sharron                W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    789      Shirley                W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    790      Dayzi                  W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    791      Elaine                 W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    792      Essie                  W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    793      Katherine              W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    794      Ruby                   W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    795      Tina                   W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    796      Tonisha                W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    797      Janet                  W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    798      Tiffany                W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    799      Shatoya                W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    800      Victoria               W.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    801      Zandericka             Y.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    802      Brittany               Y.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    803      Bre Onna               Y.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    804      Monet                  Y.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
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            Case 23-01092-MBK            Doc -1   Filed 05/09/23    Entered 05/09/23 03:22:04    Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
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Exhibit G-1 – McDonald Worley PC - Redacted Claimant Schedule
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                                                                                 Date of
 Claimant     First Name (injured      Last Name       Date of       SSN        Death (if
    No.             person)         (injured person)    Birth       (last 4)   applicable)   Claim Type
    805      Rachelle               Y.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    806      Theresa A.             Y.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    807      Irene                  Z.                 [Redacted] [Redacted]    [Redacted]        [Redacted]
    808      Cynthia                Z.                 [Redacted] [Redacted]    [Redacted]        [Redacted]




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                                   Exhibit G-2


                    McDonald Worley PC Form Retainer Agreement
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                            ATTORNEY-CLIENT FEE AGREEMENT

 In consideration of legal services to be rendered by MCDONALD WORLEY, PC, hereinafter called
 ATTORNEY, on behalf of _____________, hereinafter called CLIENT, both ATTORNEY and CLIENT
 acknowledge and agree to the following:

 1. SCOPE OF SERVICES. CLIENT is hiring ATTORNEY to represent him/her with respect to a potential claim
 involving injuries resulting from the use of TALCUM POWDER. ATTORNEY will provide those legal services
 reasonably required to represent CLIENT. ATTORNEY will take reasonable steps to keep CLIENT informed
 of progress and to respond to inquiries. If a court action is filed, ATTORNEY will represent CLIENT through
 trial and post-trial motions. After judgment, ATTORNEY will not represent CLIENT in any post-trial matters,
 including execution proceedings or an appeal. Unless CLIENT and ATTORNEY make a different agreement
 in writing, this Agreement will govern all future services ATTORNEY may perform. This Agreement will not
 take effect, and ATTORNEY will have no obligation to provide legal services, until you return a signed copy of
 this Agreement. No attorney client relationship and no expectation of confidentiality is present until this
 Agreement is entered. This agreement is subject to investigation as to viability of claim in the sole
 determination of Attorney. I also understand that I may have a medical malpractice claim against a doctor or
 healthcare provider. I understand and agree that Attorneys will not investigate and will not pursue a medical
 malpractice action and that if I wish to pursue such action, I will need to find another attorney to pursue such
 claim. I also understand that a Defendant party to this action may convince a jury (should a trial occur) that
 my total recovery should be reduced by the portion of fault (if any) that is attributed to a doctor or healthcare
 provider by the jury.

 2. NO RECOVERY / NO FEE. IF NO RECOVERY IS OBTAINED, NO FEE SHALL BE PAYABLE TO
 ATTORNEY BY CLIENT.

 CONTINGENCY FEE. In consideration of the legal services to be rendered by ATTORNEY, for any claims
 that CLIENT may have against the parties responsible for claims by CLIENT, CLIENT does employ
 ATTORNEY for a legal fee of                             of all amounts recovered against the adverse
 parties in this matter.

 ATTORNEY has informed CLIENT that legal fees are not set by law, but are negotiable between ATTORNEY
 and CLIENT. CLIENT acknowledges that the fees stated hereinabove were reached and mutually agreed to
 through open discussion and negotiation. All expenses and charges of any nature made by ATTORNEY to
 third parties in conjunction with the above-mentioned claim are not legal fees, such as filing fees, court
 fees/costs, staff charges, medical record copy fees and retrieval fees, investigative fees, expert fees, including
 a nurse or physician medical record review fees, deposition costs, exhibit expenses, research fees, along with
 any interest charged by a lender on such expenses, federal MDL fees, state coordination fee assessments
 and any other such costs and these expenses and charges will also be deducted from CLIENT’s share of
 amounts recovered.

 3.                         CLIENT expressly grants ATTORNEY the right to associate into this matter
 counsel of ATTORNEY'S sole choice. No increase of the fee to CLIENT under this Agreement shall occur by
 any such association in of counsel.



 4. CLIENT'S DUTIES. CLIENT agrees to be truthful with ATTORNEY, to cooperate, to keep ATTORNEY
 informed of developments, to abide by this Agreement, and to keep ATTORNEY advised of CLIENT’S
 address, telephone number, and whereabouts. CLIENT consents to be contacted by ATTORNEY via text
 messaging.

 5. DISCLAIMER OF GUARANTEE. Nothing in this Agreement and nothing in ATTORNEY'S statements to
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 CLIENT shall be construed as a promise or guarantee about the outcome of CLIENT'S matter. ATTORNEY
 makes no such promises or guarantees. ATTORNEY comments about the outcome of CLIENT matter are
 expressions of opinion only.

 6. TERMINATION OF THIS AGREEMENT. If this Agreement is terminated before the case is resolved
 CLIENT gives ATTORNEY a lien against any subsequent recovery in this case for ATTORNEY's time and
 expenses. If an offer has been negotiated ATTORNEY will have a lien upon any subsequent recovery equal
 to an amount to compensate for time and expenses. ATTORNEY may withdraw from representation of
 CLIENT at any time if ATTORNEY determines prosecution of the claim is not practicable. ATTORNEY may,
 after further investigation of the merits of this claim, cancel this contract of employment by mailing notice to
 the CLIENT. In such event there will be no charge for services rendered or expenses incurred by ATTORNEY.

 7. WAIVER AND RELEASE – INCORRECT OR UNKNOWN FACTS REGARDING STATUTE OF
 LIMITATIONS. CLIENT understands that there are statutes of limitations that apply to the filing of claims
 against drug and medical device manufacturers, and that if a lawsuit is not filed against them for CLIENT’S
 injuries before the applicable statutes of limitations expire regarding CLIENT’s claims then CLIENT may be
 forever precluded from suing them. ATTORNEY enters into this agreement with CLIENT based upon certain
 representations by CLIENT regarding facts and dates which will determine when the statute of limitations will
 run on CLIENT’S claim and that Attorney may require additional information from CLIENT and/or third parties
 in order to proceed at all. CLIENT has represented to ATTORNEY the approximate dates the injury occurred
 and/or was discovered. CLIENT has also represented to ATTORNEY that prior to these dates no one ever
 told CLIENT or suggested to CLIENT, verbally or in writing, that CLIENT’S injuries were or could have been
 caused by the drug or medical device, and that prior to these dates CLIENT never received any information
 from any source, and that CLIENT never read, heard or saw any information which gave CLIENT any reason
 to suspect that the drug or medical device could cause injury, or that it could have caused CLIENT’S injury.
 CLIENT understands that if these representations regarding facts or these dates are incorrect, the statute of
 limitations on CLIENT’S claim may have already run, and even if it has not, that it could run during the time
 ATTORNEY is investigating CLIENT’S claim (the “Investigative Period”) which would preclude CLIENT from
 ever filing a claim in the future. The Investigative Period includes all applicable timeframes and deadlines that
 medical records holders have pursuant to the Health Insurance Portability and Accountability Act of 1996.
 CLIENT therefore agrees that if it is ever determined by a court or a jury that the statute of limitations on
 CLIENT’S claim ran out at any time during the Investigative Period that ATTORNEY shall not be responsible
 or liable to CLIENT in any manner for failure to file a lawsuit before the running of the statute of limitations.
 CLIENT further agrees to hold harmless ATTORNEY, its related entities and assigns, and release them from
 and waive any claim CLIENT may have against ATTORNEY for failure to file a lawsuit within the Investigative
 Period.

 8. LIMITED POWER OF ATTORNEY.
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 9. SETTLEMENT PROCEDURE IN MULTIPLE CLIENT CASES. CLIENT understands that oftentimes in
 cases in which the Firm represents multiple clients in similar litigation, the opposing parties (the defendants)
 attempt to settle the Firm’s cases in groups under a matrix type system whereby the Firm’s clients are offered
 varying settlement amounts depending upon the circumstances of each of the client’s cases. Once a
 settlement value under the matrix is determined, the client is then given the opportunity to accept or reject the
 value being offered within the matrix system. Similarly, defendants may wish to settle the Firm’s cases as a
 group, meaning the defendants may attempt to settle the Client’s case along with a number of other similar
 cases the firm is handling. When this group settlement system is being offered by the defendant, the Firm will
 get each client’s authorization for a minimum gross amount for which the clients authorize the Firm to attempt
 to settle the Client’s case. The Firm then adds up the total of all clients’ minimum authorized settlement values
 and attempts to settle the group for at least the minimum authorized by the clients. Finally, under some
 circumstances, the defendants offer to pay a certain sum to all the Firm’s clients regardless of the
 circumstances of the individual cases. Thus, each client receives the same amount of money even though the
 clients may have different levels of injuries or liability. Regardless of what method is used, the fact that the
 client’s case settles with a group of others will not take away the Client’s right to approve or not approve his/her
 individual settlement. Each client will always have the right to approve or not to approve his/her individual
 settlement.

 10. ARBITRATION. CLIENT hereby acknowledges being advised that ATTORNEY maintains error and
 omissions insurance coverage applicable to the services to be rendered to CLIENT by ATTORNEY. CLIENT
 consents that any controversy between the parties hereto involving the construction or application of any of
 the terms, covenants, or conditions of this Agreement or the quality of the legal services rendered, on written
 request of one party served on the other, shall be exclusively submitted to binding arbitration, and such
 arbitration shall comply with, and be governed by Texas law and conducted in Texas. The cost of arbitration,
 including an award of attorney's fees, may be borne by the losing party or in such proportions as the arbitrator
 may decide.

 CLIENT consents to the exclusive application of Texas law to this Agreement, including any documents signed
 on behalf of CLIENT for advances to fund costs and expenses, and to the exclusive jurisdiction and venue for
 the above exclusive binding arbitration procedure to be Texas. CLIENT consents to jurisdiction and venue in
 Texas and to the above dispute processes.

 CLIENT understands that this provision is a full and voluntary WAIVER of CLIENT'S ability to have a court
 and jury determine any dispute between ATTORNEY and CLIENT.

 11. FILES, PAPERS, PROPERTY & STORAGE. In the general course of representation, ATTORNEY will
 provide CLIENT copies of the documents, papers and materials related to and arising from this representation.
 CLIENT acknowledges and agrees that such materials are provided so that CLIENT may maintain CLIENT'S
 own files in this matter.

 12. MODIFICATIONS. This Agreement states the complete agreement and all understandings between
 CLIENT and ATTORNEY. No modifications to this Agreement shall be of any force or effect, unless it shall be
 in writing and signed by the party to be affected.

 13. ELECTRONIC SIGNATURE. An electronic or facsimile signature shall be as valid as an original for all
 purposes and I give ATTORNEY permission to use my electronic signature.

 14. MEDICAL RECORDS COMPANY RECORDS Rx US, INC.
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 NOTE TO CLIENT: This is a contract. It protects both you and ATTORNEY and will prevent misunderstanding.
 Please sign this Agreement only if you understand and agree with it. This Agreement is deemed entered into
 and to be performed in Texas. Legal services in jurisdictions outside of Texas shall be cause for association
 in of counsel, and the terms of this Agreement shall otherwise be in full force and effect.

 ACKNOWLEDGMENT: CLIENT understands and hereby acknowledges the following: 1) ATTORNEY,
 including its agents and associated counsel, did not solicit CLIENT to pursue this claim or sign this agreement;
 2) CLIENT made the initial request by telephone, email or through a website opt-in feature that an attorney
 contact CLIENT about his/her potential claim; 3) ATTORNEY has not made any promises or guarantees of
 settlement or final disposition of the claim in order to induce CLIENT to retain ATTORNEY; and 4) CLIENT’s
 decision to retain ATTORNEY is voluntary and of CLIENT’s own free will.
 I have read and understood the foregoing terms, and agree to them as of the date ATTORNEY first provided
 services. If more than one party signs below, we each agree to be individually liable,' jointly and severally, for
 all obligations under this Attorney-Client Fee Agreement.


 DATED: ___________________


 CLIENT:                                                    ATTORNEY:


 ________________________________ Signature                 ________________________________ Signature


 ________________________________ Print Name                __ McDonald ‘Don’ Worley___________ Print Name


 ________________________________ Social Security Number


 ________________________________ Date of Birth
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                                Exhibit H-1


                         Nachawati Law Firm Claims
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In re: LTL Management LLC, Case No.  23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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                            Exhibit H-1 - Nachawati Law Firm [REDACTED VERSION]

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
    1        Patricia       A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    2        Nozheh         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    3        Patricia       A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    4        Shawna         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    5        Kristie        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    6        Sheila         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    7        Barbara        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    8        Diane          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    9        Gwynn          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    10       Olivia         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    11       Emily          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    12       Tawanna        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    13       Melissa        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    14       Denise         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    15       Irene          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    16       Gloria         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    17       Alice          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    18       Helen          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    19       Bridget        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    20       Patricia       A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    21       Mildred        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    22       Yolanda        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    23       Barbara        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    24       Leonice        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    25       Banitha        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    26       Barbara        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    27       Maria          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    28       Denise         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    29       Jane           A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    30       Barbara        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    31       Marianne       A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    32       Mary           A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    33       Frankie        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    34       Katiba         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    35       Karen          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    36       Patricia       A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    37       Louella        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    38       Susan          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    39       Julia          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    40       Rebecca        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    41       Joseline       A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
         Case 23-01092-MBK          Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
    42       Helen          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    43       Estelle        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    44       Shirley        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    45       Phyllis        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    46       Paula          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    47       Carole         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    48       Tilisa         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    49       Aleshia        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    50       Donna          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    51       Andrea         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    52       Brenda         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    53       Ethel          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    54       Peggy          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    55       Cecelia        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    56       Zaniffa        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    57       Sarita         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    58       Jenifer        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    59       Shaneka        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    60       Kelly          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    61       Letha          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    62       Wanda          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    63       Tammy          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    64       Arnita         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    65       Claudette      A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    66       Debra          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    67       Kathleen       A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    68       Frida          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    69       Rosa           A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    70       Nellie         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    71       Vivian         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    72       Laura          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    73       Denise         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    74       Robin          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    75       Donna          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    76       Mary           A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    77       Sarah          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    78       Donna          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    79       Margaret       A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    80       Amanda         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    81       Barbara        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    82       Carla          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    83       Juanita        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    84       Betty          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
     85      Casey          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
     86      Kristina       A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
     87      Jacqueline     A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
     88      Evelyn         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
     89      Anna           A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
     90      Maureen        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
     91      Catherine      A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
     92      Karen          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
     93      Mary           A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
     94      Debra          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
     95      Geraldine      A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
     96      Deborah        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
     97      Shakedra       A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
     98      Renee          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
     99      Rachel         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    100      Doris          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    101      Charlene       A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    102      Ruth           A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    103      Gina           A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    104      Joann          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    105      Delie          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    106      Lucille        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    107      Karin          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    108      Judy           A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    109      Barbara        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    110      Christine      A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    111      Dana           A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    112      Laura          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    113      Tonya          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    114      Dorothy        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    115      Margaret       A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    116      Earline        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    117      Rosalba        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    118      Sylvia         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    119      Gina           A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    120      Nakia          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    121      Judith         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    122      Janet          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    123      Lamonica       A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    124      Dawn           A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    125      Diane          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    126      Roxanne        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    127      Linda          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
    128      Brandy         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    129      Debra          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    130      Nancy          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    131      Doris          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    132      Betty          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    133      Robin          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    134      Irene          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    135      Joan           A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    136      Karen          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    137      Ashley         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    138      Laura          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    139      Minnie         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    140      Stephanie      A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    141      Karen          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    142      Nona           A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    143      Marian         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    144      Valentina      A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    145      Delia          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    146      Waunita        A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    147      Mary           A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    148      Sandra         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    149      Brenda         A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    150      Elise          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    151      Olga           A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    152      Diane          A.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    153      Letha          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    154      Colette        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    155      Ida            B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    156      Rosetta        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    157      Linda          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    158      Jane           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    159      Debra          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    160      Lukeshia       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    161      Laura          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    162      Relda          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    163      Carlene        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    164      Diana          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    165      Yolanda        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    166      Diana          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    167      Colleen        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    168      Debra          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    169      Janet          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    170      Sherrie        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 5 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
    171      Crystal        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    172      Carolyn        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    173      Gloria         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    174      Rosemarie      B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    175      Sharon         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    176      Wanda          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    177      Shannell       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    178      Jeanitta       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    179      Gwendolyn      B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    180      Jolyne         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    181      Susan          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    182      Eunice         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    183      Benita         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    184      Judith         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    185      Rhonda         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    186      Rose           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    187      Catherine      B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    188      Maggie         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    189      Janet          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    190      Yvonne         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    191      Rose           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    192      Maquiwa        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    193      Georgia        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    194      Terisa         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    195      Susan          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    196      Rosalina       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    197      Margaret       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    198      Almalfa        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    199      Tami           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    200      Lenora         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    201      Chakara        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    202      Lisa           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    203      Kathy          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    204      Naiketa        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    205      Connie         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    206      Cheryl         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    207      Joyce          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    208      Deloris        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    209      Pearl          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    210      Phyllis        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    211      Janice         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    212      Ola Estelle    B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    213      Rebecca        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 6 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
    214      Michele        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    215      Florence       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    216      Elizabeth      B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    217      Mirella        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    218      Patricia       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    219      Joyce          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    220      Karla          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    221      Jillsyn        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    222      Naomi          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    223      Meda           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    224      Jeri           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    225      Mary Ann       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    226      Denise         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    227      Lynda          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    228      Patricia       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    229      Susan          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    230      Nikki          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    231      Diane          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    232      Yvette         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    233      Ursula         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    234      Shavon         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    235      Pamela         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    236      Wanda          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    237      Celestine      B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    238      Pamela         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    239      Pamela         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    240      Sealeta        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    241      Elizabeth      B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    242      Jacquelyn      B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    243      Beverly        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    244      Madeline       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    245      Tanicka        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    246      Barbara        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    247      Carole         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    248      Carey          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    249      Lindae         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    250      Darlene        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    251      Tonia          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    252      Mely           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    253      Regina         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    254      Suzanne        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    255      Lynda          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    256      Mary           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 179 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 7 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
    257      Mary           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    258      Janet          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    259      Cathy          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    260      Shelia         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    261      Lisa           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    262      Doris          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    263      Marlene        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    264      Leasa          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    265      Natalia        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    266      Marie          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    267      Bennie         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    268      Wendi          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    269      Marcia         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    270      Risa           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    271      Karyn          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    272      Audrey         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    273      Barbara        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    274      Mary           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    275      Diana          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    276      Joyce          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    277      Shirley        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    278      Bertha         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    279      Sylvia         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    280      Gloria         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    281      Helen          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    282      Leona          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    283      Dee            B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    284      Patricia       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    285      Carla          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    286      Mamie          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    287      Annie          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    288      Marjorie       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    289      Startrece      B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    290      Debra          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    291      Margie         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    292      Carolyn        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    293      Catherine      B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    294      Keneil         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    295      Sarh           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    296      Melissa        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    297      Alexis         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    298      Rita           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    299      Lisa           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 180 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 8 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
    300      Kathleen       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    301      Andrea         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    302      Reyna          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    303      Hannah         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    304      Beverly        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    305      Tracey         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    306      Paula          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    307      Linaya         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    308      Shirley        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    309      Yvette         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    310      Nell           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    311      Joanne         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    312      Carol          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    313      Diana          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    314      Barbara        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    315      Austine        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    316      Emma           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    317      Barbara        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    318      Stephanie      B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    319      Aaisha         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    320      Patti          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    321      Madonna        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    322      Wanda          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    323      Carol          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    324      Cecilia        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    325      Diana          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    326      Laura          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    327      Dixie          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    328      Heidi          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    329      Barbara        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    330      Debra          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    331      Joyce          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    332      Debra          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    333      Dianne         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    334      Ellen          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    335      Gloria         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    336      Tammara        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    337      Nicole         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    338      Sarah          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    339      Mary           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    340      Juanita        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    341      Melissa        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    342      Janice         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 181 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 9 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
    343      Kathleen       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    344      Rosie          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    345      Pamela         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    346      Bernadette     B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    347      Nola           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    348      Pamela         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    349      Erin           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    350      Lindsay        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    351      Dianna         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    352      Evelyn         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    353      Celine         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    354      Joyce          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    355      Ashley         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    356      Dominique      B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    357      Tanya          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    358      Ethel          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    359      Tracy          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    360      Priscilla      B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    361      Santos         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    362      Jannie         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    363      Teresa         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    364      Mary           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    365      Margaret       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    366      Sue            B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    367      Colleen        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    368      Jeanette       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    369      Mollie         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    370      Ashley         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    371      Marisa         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    372      Stephanie      B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    373      Eunice         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    374      Addie          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    375      Theresia       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    376      Sandra         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    377      Ora            B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    378      Carol          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    379      Jennifer       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    380      Judith         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    381      Irene          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    382      Linda          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    383      Michele        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    384      Joyce          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    385      Rosa           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 10 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
    386      Nancy          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    387      Anna           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    388      Melinda        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    389      Brenda         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    390      Freda          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    391      Barbara        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    392      Sulema         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    393      Alison         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    394      Claudette      B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    395      Sue            B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    396      Roberta        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    397      Karen          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    398      Patricia       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    399      Rita           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    400      Deborah        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    401      Kelly          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    402      Kimberly       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    403      Debra          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    404      Maxine         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    405      Hilda          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    406      Bernice        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    407      Vicky          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    408      Tina           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    409      Sandra         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    410      Joanna         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    411      Tamara         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    412      Meredith       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    413      Kathy          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    414      Lisa           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    415      Mary           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    416      In-Young       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    417      Ethel          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    418      Nancy          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    419      Shirley        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    420      Kristie        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    421      Vicky          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    422      Corinne        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    423      Martha         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    424      Eulanda        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    425      Yana           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    426      Van-tura       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    427      Josie          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    428      Mildred        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 183 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 11 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
    429      Lessie         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    430      Saundra        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    431      Lola           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    432      Sheena         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    433      Eldrae         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    434      Louise         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    435      Brittanee      B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    436      Joan           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    437      Shawn          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    438      Katherine      B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    439      Cheryl         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    440      Kay            B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    441      Luvenia        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    442      Barbara        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    443      Melinda        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    444      Deborah        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    445      Brenda         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    446      Zofia          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    447      Elizabeth      B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    448      Dynise         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    449      Latrice        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    450      Patricia       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    451      Kathryn        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    452      Cindy          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    453      Beth           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    454      Deborah        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    455      Climmie        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    456      Sharon         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    457      Angelique      B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    458      Robin          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    459      Ann            B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    460      Kellie         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    461      Barbara        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    462      Donna          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    463      Elaine         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    464      Marilynn       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    465      Jennifer       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    466      Susan          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    467      Fleta          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    468      Christell      B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    469      Amber          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    470      Ira            B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    471      Tina           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 184 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 12 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
    472      Janet          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    473      Dorothy        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    474      Sylvia         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    475      Lorraine       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    476      Emmaline       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    477      Florence       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    478      Teresita       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    479      Audrey         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    480      Ethelyn        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    481      Sandra         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    482      Cathie         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    483      Angela         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    484      Venay          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    485      Barbara        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    486      Mary           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    487      Dawn           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    488      Erica          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    489      Anne           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    490      Dorothea       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    491      Teresa         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    492      Melba          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    493      Beulah         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    494      Mable          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    495      Kathy          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    496      Lela           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    497      Tina           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    498      Vanessa        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    499      Lucille        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    500      Betty          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    501      Michele        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    502      Amanda         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    503      Crystal        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    504      Celeste        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    505      Rutha          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    506      Betty          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    507      Dianne         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    508      Janice         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    509      Karon          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    510      Beatrice       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    511      Linda          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    512      Lea            B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    513      Judith         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    514      Dianna         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 13 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
    515      Alice          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    516      Jacquelyn      B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    517      Lucinda        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    518      Yvonne         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    519      Barbara        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    520      Linda          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    521      Julia          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    522      Diana          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    523      Helen          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    524      Catherine      B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    525      Krystal        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    526      Bobbie         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    527      Amecia         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    528      Jo             B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    529      Valerie        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    530      Anna           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    531      Beatrice       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    532      Eva            B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    533      Evelyn         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    534      Mary           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    535      Carrie         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    536      Mary           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    537      Donna          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    538      Keyonna        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    539      Gloria         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    540      Sarah          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    541      Wendy          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    542      Connie         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    543      Jeanni         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    544      Tammy          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    545      Melvina        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    546      Sandra         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    547      Colleen        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    548      Cheryl         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    549      Joyce          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    550      Kay            B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    551      Daphne         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    552      Cynthia        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    553      Betty          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    554      Brenda         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    555      Linda          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    556      Clarilou       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    557      Deborah        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 186 of 1377
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 14 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
    558      Alicia         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    559      Cecilia        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    560      Ywanda         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    561      Taura          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    562      Betty          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    563      Joy            B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    564      Peggy          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    565      Teresa         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    566      Betty          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    567      Cynthia        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    568      Traci          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    569      Vonda          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    570      Catherine      B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    571      Elaine         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    572      Deidra         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    573      Piney          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    574      Rebecca        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    575      Patricia       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    576      Vicki          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    577      Beulah         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    578      Jackie         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    579      Shauna         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    580      Diana          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    581      Michelle       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    582      Kiaranae       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    583      Crystal        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    584      Maranda        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    585      Deona          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    586      Martha         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    587      Linda          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    588      Donna          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    589      Rebecca        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    590      Linda          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    591      Charlotte      B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    592      Petrina        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    593      Melva          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    594      Sheree         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    595      Joyce          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    596      Natalia        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    597      Jill           B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    598      Brenda         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    599      Lolita         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    600      Rae            B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 187 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
    601      Bonnie         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    602      Edwina         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    603      Amy            B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    604      Debra          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    605      Shaquella      B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    606      Tegra          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    607      Marlene        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    608      Maria          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    609      Tiffany        B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    610      Terry          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    611      Joanne         B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    612      Helen          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    613      Kenya          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    614      Rosemary       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    615      Lorrania       B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    616      Katie          B.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    617      Rita           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    618      Joanne         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    619      Deborah        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    620      Debra          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    621      Barbara        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    622      Catherine      C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    623      Linda          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    624      Helen          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    625      Gwenda         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    626      Concetta       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    627      Kelin          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    628      Cynthia        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    629      Barbara        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    630      Carrie         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    631      Amber          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    632      Patricia       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    633      Ellen          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    634      Kadee          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    635      Cynthia        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    636      Wanda          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    637      Bennie         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    638      Tammy          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    639      Lynda          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    640      Lena           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    641      Vera           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    642      Andrea         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    643      Deborah        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 16 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
    644      Germania       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    645      Lucy           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    646      Nancy          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    647      Sharon         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    648      Tammy          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    649      Carlyn         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    650      Linda          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    651      Phyllis        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    652      Amanda         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    653      Enita          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    654      Carol          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    655      Charmaine      C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    656      Marian         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    657      Sharita        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    658      Judith         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    659      Bobbie         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    660      Edith          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    661      Diane          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    662      Dionne         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    663      Theora         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    664      Kimberly       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    665      Versia         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    666      Christina      C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    667      Cecilia        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    668      Katherine      C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    669      Elda           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    670      Charlotte      C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    671      Maureen        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    672      Maryellen      C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    673      Tara           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    674      Lourdes        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    675      Donna          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    676      Cristen        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    677      Patricia       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    678      Shirley        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    679      Tiwana         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    680      Carmela        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    681      Terri          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    682      Diana          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    683      Leisey         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    684      Marianne       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    685      Betty          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    686      Pamela         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 189 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 17 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
    687      Bonnie         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    688      Jessica        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    689      Devanni        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    690      Sandra         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    691      Carolyn        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    692      Ruthie         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    693      Marisol        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    694      Tavita         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    695      Mary           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    696      Joanne         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    697      Marie          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    698      Sheilah        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    699      Jessie         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    700      Stella         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    701      Monica         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    702      Jane           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    703      Kenya          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    704      Crystal        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    705      Marilyn        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    706      Joan           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    707      Penelope       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    708      Bonnie         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    709      Pamela         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    710      Debra          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    711      Alice          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    712      Peggy          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    713      Shelba         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    714      Ludella        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    715      Rita           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    716      Jewell         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    717      Maria          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    718      Pearl          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    719      Petra          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    720      Jun            C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    721      Traci          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    722      Norma          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    723      Norma          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    724      Mary           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    725      Doris          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    726      Valerie        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    727      Vickie         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    728      Elizabeth      C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    729      Karen          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 18 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
    730      Stephanie      C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    731      Carla          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    732      Deborah        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    733      Mandy          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    734      Balbina        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    735      Kathleen       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    736      Alicia         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    737      Ramonica       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    738      Gracie         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    739      Kathleen       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    740      Darlene        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    741      Gwendolyn      C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    742      Beverley       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    743      Lisa           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    744      Bernice        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    745      Jesica         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    746      Leslie         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    747      Helen          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    748      Elizabeth      C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    749      Carolyn        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    750      Lynanne        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    751      Hae Chung      C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    752      Virginia       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    753      Kristin        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    754      Deborah        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    755      Sharon         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    756      Angela         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    757      Bernadette     C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    758      Letha          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    759      Holly          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    760      Courtney       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    761      Silva          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    762      Lorraine       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    763      Mia            C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    764      Oralia         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    765      Diana          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    766      Shelsea        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    767      Natalie        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    768      Marina         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    769      Donna          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    770      Kimberly       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    771      Della          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    772      Brenda         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 19 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
    773      Mary           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    774      Janice         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    775      Lucille        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    776      Kenita         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    777      Susan          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    778      Kimiaki        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    779      Isla           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    780      Darlene        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    781      Katrina        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    782      Towonner       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    783      Shirley        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    784      Barbara        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    785      Susan          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    786      Nancy          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    787      Felicia        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    788      Zabrina        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    789      Ashley         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    790      Dolores        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    791      Claire         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    792      Mattie         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    793      Carolyn        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    794      Martha         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    795      Mary           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    796      Karen          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    797      Tulin          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    798      Yorlene        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    799      Barbra         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    800      Linda          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    801      Michelle       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    802      Judith         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    803      Christine      C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    804      Ladell         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    805      Sherry         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    806      Rose           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    807      Rosa           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    808      Connie         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    809      Brandy         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    810      Diane          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    811      Mary           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    812      Clara          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    813      Monique        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    814      Nancy          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    815      Gertrude       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
    816      Evelyn         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    817      Dorothy        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    818      Felicia        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    819      Sonja          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    820      Josephine      C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    821      Annie          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    822      Pearlean       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    823      Kindry         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    824      Pamela         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    825      Virginia       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    826      Sharon         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    827      Pamela         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    828      Penelope       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    829      Sherita        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    830      Louise         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    831      Suzanne        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    832      Dolores        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    833      Linda          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    834      Nancy          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    835      Marion         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    836      Mary           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    837      Sandra         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    838      Georgina       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    839      Kikue          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    840      Barbara        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    841      Emity          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    842      Olevia         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    843      Leslie         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    844      Renee          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    845      Betty          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    846      Hannah         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    847      Marilyn        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    848      Barbara        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    849      April          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    850      Susan          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    851      Joan           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    852      Teresa         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    853      Nichole        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    854      Cynthia        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    855      Velma          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    856      Rhonda         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    857      Annette        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    858      Laura          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 21 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
    859      Cynthia        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    860      Mary           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    861      Nanette        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    862      Tammy          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    863      Brunilda       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    864      Harriet        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    865      Nancy          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    866      Teresa         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    867      Deborah        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    868      Denise         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    869      Ruth           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    870      Betty          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    871      Bernice        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    872      Carmen         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    873      Margaret       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    874      Iris           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    875      Rose           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    876      Dana           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    877      Misty          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    878      Lisa           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    879      Carol          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    880      Diane          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    881      Jo Ann         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    882      Lillie         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    883      Carol          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    884      Doris          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    885      Chamane        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    886      Dora           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    887      Sunshine       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    888      Patricia       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    889      Ellen          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    890      Tricia         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    891      Lola           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    892      Kim            C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    893      Carolyn        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    894      Sara           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    895      Betty          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    896      Ester          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    897      Nicole         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    898      Thelma         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    899      Maria          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    900      Frances        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    901      Barbara        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 194 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 22 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
    902      Catherine      C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    903      Mildred        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    904      Shirley        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    905      Lauretta       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    906      Marjorie       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    907      Shirley        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    908      Helen          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    909      Mattie         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    910      Bonnie         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    911      Tina           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    912      Sylvia         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    913      Ernestine      C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    914      Lisa           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    915      Lisa           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    916      Mercedes       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    917      Cheryl         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    918      Evelyn         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    919      Kimberly       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    920      Donna          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    921      Jessica        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    922      Annette        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    923      Genoveva       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    924      Edna           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    925      Susan          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    926      Joan           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    927      Lorna          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    928      Barbara        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    929      Stephanie      C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    930      Tyaisha        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    931      Cathy          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    932      Sharon         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    933      Brandy         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    934      LaCheryle      C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    935      Dionne         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    936      Shirley        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    937      Stephanie      C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    938      Latasia        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    939      Melissa        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    940      Debra          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    941      Beatrice       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    942      Linda          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    943      Sharon         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    944      Virginia       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 23 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
    945      Mary           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    946      Clara          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    947      Marion         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    948      Mary           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    949      Shirley        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    950      Janice         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    951      Rosie          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    952      Peggy          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    953      Shara          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    954      Joni           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    955      Denise         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    956      Pauline        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    957      Barbara        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    958      Nancy          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    959      Dorothy        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    960      Tanisha        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    961      Frances        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    962      Dorothea       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    963      Heidie         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    964      Dana           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    965      Ernestine      C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    966      Artrie         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    967      Charlene       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    968      Linda          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    969      Yvonne         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    970      Darlene        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    971      Deborah        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    972      Sharon         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    973      Jackie         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    974      Brenda         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    975      Luana          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    976      Keena          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    977      Loretta        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    978      Jeannette      C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    979      Elfredia       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    980      Sharon         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    981      Sonji          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    982      Aida           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    983      Sandra         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    984      Melissa        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    985      Mary           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    986      Anita          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
    987      Pamela         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Page 24 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   988       Norma          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   989       Kali           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   990       Josephine      C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   991       Connie         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   992       Ann            C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   993       Anne           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   994       Susan          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   995       Diana          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   996       Luella         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   997       Suzanne        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   998       Lynn           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   999       Patricia       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1000      Sarah          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1001      Ruby           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1002      Ora            C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1003      Amelia         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1004      Savannah       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1005      Elizabeth      C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1006      Judy           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1007      Dorcas         C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1008      Florence       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1009      Jody           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1010      Jennifer       C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1011      Nichole        C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1012      Mary           C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1013      Geraldine      C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1014      Laura          C.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1015      Carolyn        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1016      Anna           D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1017      Apearlella     D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1018      Theresa        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1019      Maddalena      D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1020      Barb           D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1021      Shelia         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1022      Helen          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1023      Deidre         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1024      Marilou        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1025      Mary           D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1026      Margaret       D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1027      Melanie        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1028      Gerri          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1029      Caron          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1030      Catesia        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 197 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   1031      Rhonda         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1032      Janice         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1033      Jeraldine      D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1034      Karen          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1035      Lisa           D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1036      Jan            D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1037      Betty          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1038      Evelyn         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1039      Jessica        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1040      Mary           D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1041      Cathleen       D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1042      Crystal        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1043      Susan          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1044      Martha         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1045      Juanita        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1046      Naomi          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1047      Louise         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1048      Charlene       D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1049      Louise         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1050      Mylinda        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1051      Debbie         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1052      Helen          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1053      Shirley        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1054      Micheale       D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1055      Rhonda         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1056      Marizona       D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1057      Sina           D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1058      Gertrude       D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1059      Willie         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1060      Patricia       D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1061      Harriett       D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1062      Roncindra      D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1063      Victoria       D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1064      Tayjha         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1065      Donna          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1066      Lois           D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1067      Katina         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1068      Michele        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1069      Carolyn        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1070      Rosetta        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1071      La Carla       D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1072      Janice         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1073      Betty          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   1074      Davetta        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1075      Delores        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1076      Judy           D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1077      Marlynn        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1078      Juanita        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1079      Barbara        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1080      Kimberlyn      D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1081      Victoria       D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1082      Donna          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1083      Alberta        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1084      Mary           D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1085      Nancy          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1086      Loubertha      D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1087      Eva            D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1088      Nina           D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1089      Edith          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1090      Maleeka        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1091      Janelle        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1092      Donna          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1093      Megan          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1094      Erica          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1095      Giana          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1096      Ruthie         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1097      Katherine      D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1098      Americus       D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1099      Virginia       D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1100      Lori           D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1101      Donna          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1102      Ruth           D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1103      Vali           D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1104      Colleen        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1105      Iris           D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1106      Joann          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1107      Laquita        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1108      Anne           D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1109      Palmira        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1110      Clelia         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1111      Christine      D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1112      Denise         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1113      Mary           D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1114      Veronika       D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1115      Robbie         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1116      Belinda        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
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Page 27 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   1117      Annie          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1118      Omarina        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1119      Petra          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1120      Carla          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1121      Jevetta        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1122      Melissa        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1123      Angie          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1124      Margaret       D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1125      Janet          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1126      Bonnie         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1127      Barbara        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1128      Laura          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1129      Verdeen        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1130      Mable          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1131      Tameka         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1132      Bernice        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1133      Tabatha        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1134      Olivia         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1135      Valerie        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1136      Phyllis        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1137      Lisa           D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1138      Norma          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1139      Theresa        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1140      Jessica        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1141      Linda          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1142      Tory           D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1143      Dolly          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1144      Doris          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1145      Phyllis        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1146      Joan           D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1147      Debra          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1148      Rebecca        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1149      Francesca      D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1150      Tawnya         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1151      Yesenia        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1152      Kenny          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1153      Elsa           D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1154      Migdalia       D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1155      Belinda        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1156      Peggy          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1157      Patsy          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1158      Stephanie      D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1159      Martha         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
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       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 28 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   1160      Deborah        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1161      Joan           D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1162      Suzanne        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1163      Ginger         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1164      Diane          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1165      Janet          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1166      Jeanne         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1167      Janie          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1168      Annie          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1169      Stephanie      D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1170      Premadevi      D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1171      Pamela         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1172      Edna           D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1173      June           D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1174      Christy        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1175      Shanna         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1176      Marsha         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1177      Marsha         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1178      Elizabeth      D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1179      Kathy          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1180      Loretta        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1181      Allison        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1182      Camilla        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1183      Renee          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1184      Debbie         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1185      Dailina        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1186      Nanuli         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1187      Laureen        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1188      Georgia        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1189      Tammy          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1190      Laurie         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1191      Susan          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1192      Tamara         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1193      Margret        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1194      Juanita        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1195      Delana         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1196      Paula          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1197      Betty          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1198      Summer         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1199      Patricia       D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1200      Cynthia        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1201      Phyllis        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1202      Sonya          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
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               First Name       Last Name
 Claimant                                                          SSN      Date of Death
                (injured         (injured     Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)          person)
   1203      Geraldine     D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1204      Adrian        D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1205      Darlene       D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1206      Rebecca       D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1207      Cassandra     D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1208      Beverly       D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1209      Marquita      D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1210      Frances       D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1211      Judy          D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1212      Josephine     D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1213      Retha         D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1214      Alice         D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1215      Elizabeth     D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1216      Linda         D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1217      Marsha        D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1218      Vicki         D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1219      Ruth          D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1220      Cathy         D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1221      Jacqueline    D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1222      Breanah       D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1223      Rhonda        D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1224      Sylvia        D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1225      Mary          D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1226      Julie         D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1227      Marcia        D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1228      Beverly       D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1229      Maudie        D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1230      Coleen        D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1231      Tracey        D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1232      Margaret      D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1233      Robin Darkene D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1234      Diane         D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1235      Betty         D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1236      Jacqueline    D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1237      Sandra        D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1238      Shirley       D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1239      Frances       D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1240      Linda         D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1241      Tracy         D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1242      Floris        D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1243      Teresa        D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1244      Lisa          D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1245      Melissa       D.                [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   1246      Stephanie      D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1247      Debbie         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1248      Cheryl         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1249      Tonya          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1250      Pamela         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1251      Kimberly       D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1252      Beverley       D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1253      Deborah        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1254      Christine      D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1255      Dorothy        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1256      Isabelle       D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1257      Monice         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1258      Shirley        D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1259      Cheryl         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1260      Susan          D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1261      Sharon         D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1262      Anna           D.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1263      Jenny          E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1264      Sylvia         E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1265      Mary           E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1266      Patricia       E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1267      Sharon         E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1268      Anne           E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1269      Pamelia        E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1270      Joyce          E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1271      Leslie         E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1272      Shirley        E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1273      Christine      E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1274      Mary           E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1275      Delores        E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1276      Leslie         E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1277      Alice          E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1278      Mamie          E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1279      Doris          E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1280      Annette        E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1281      Jeanette       E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1282      Bobbie         E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1283      Dorothy        E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1284      Nancy          E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1285      Tashonda       E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1286      Mary           E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1287      Precious       E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1288      Judy           E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 203 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 31 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   1289      Sharon         E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1290      Shauntoy       E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1291      Kim            E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1292      Gloria         E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1293      Ruth           E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1294      Ellen          E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1295      Barbara        E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1296      Mary           E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1297      Catherine      E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1298      Deborah        E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1299      Doris          E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1300      Eunice         E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1301      Belinda        E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1302      Kathy          E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1303      Celia          E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1304      Linda          E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1305      Nancy          E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1306      Mary           E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1307      Janice         E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1308      Kim            E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1309      Cheryl         E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1310      Rita           E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1311      Benna          E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1312      Mary           E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1313      Doris          E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1314      Crystal        E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1315      Linda          E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1316      Eartha         E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1317      Lily           E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1318      Gloria         E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1319      Sandra         E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1320      Brenda         E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1321      Vanessa        E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1322      Elham          E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1323      Rose           E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1324      Marquita       E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1325      Debra          E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1326      Martha         E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1327      Miriam         E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1328      Yolanda        E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1329      Matauaina      E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1330      Martha         E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1331      Sharon         E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 32 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   1332      Kelsey         E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1333      Cheryl         E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1334      Mary           E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1335      Susan          E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1336      Lillian        E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1337      Cynthia        E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1338      Chieko         E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1339      Lashandra      E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1340      Adrienne       E.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1341      Teresa         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1342      Roberta        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1343      Gladys         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1344      Lynda          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1345      Jill           F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1346      Mary           F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1347      Annemarie      F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1348      Theresa        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1349      Georgia        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1350      Justine        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1351      Hester         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1352      Lavoris        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1353      Patricia       F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1354      Agnes          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1355      Jane           F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1356      Mayra          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1357      Sherry         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1358      Crystal        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1359      Molley         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1360      Carmen         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1361      Nicole         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1362      Yolanda        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1363      Diane          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1364      Marilyn        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1365      Ramona         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1366      Althea         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1367      Cynthia        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1368      Sandra         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1369      Denise         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1370      Lorraine       F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1371      Greta          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1372      Clistie        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1373      Kayla          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1374      Teanika        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
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In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 33 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   1375      Marisol        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1376      Tina           F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1377      Karen          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1378      Laura          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1379      Jeanette       F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1380      Lovie          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1381      Theola         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1382      Rosalie        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1383      Urma           F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1384      Vesenta        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1385      Keishla        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1386      Leticia        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1387      Paula          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1388      Barbara        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1389      Linda          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1390      Shirley        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1391      Teresa         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1392      Wanda          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1393      Dorothy        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1394      Sharon         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1395      Mary           F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1396      Alison         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1397      Martha         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1398      Linda          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1399      Shelby         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1400      Debra          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1401      Rachel         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1402      Brigitte       F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1403      Phyllis        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1404      Pamela         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1405      Vanessa        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1406      Kimberly       F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1407      Nedra          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1408      Gail           F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1409      Christine      F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1410      Lorene         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1411      Hollis         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1412      Milena         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1413      Leuren         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1414      Lisa           F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1415      Tina           F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1416      Sylvia         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1417      Rachel         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
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Page 34 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   1418      Ofelia         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1419      Alicia         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1420      Veronica       F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1421      Delfina        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1422      Bettina        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1423      Barbara        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1424      Ava            F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1425      Vivian         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1426      Bridigette     F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1427      Rosalyn        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1428      Ida            F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1429      Karen          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1430      Judith         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1431      Nancy          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1432      Somalia        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1433      Brandi         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1434      Holly          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1435      Lorentina      F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1436      Ann            F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1437      Jodi           F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1438      Jessie         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1439      Hilda          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1440      Belinda        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1441      Linda          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1442      Marrissia      F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1443      Rubashuana     F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1444      Doris          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1445      Blanche        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1446      Tranza         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1447      Hilda          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1448      Theresa        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1449      Laverne        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1450      Antoinette     F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1451      Evelyn         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1452      Louise         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1453      Karen          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1454      Tammy          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1455      Ruth           F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1456      Deborah        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1457      Jannie         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1458      Maggie         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1459      Tracy          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1460      Janet          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   1461      Ta             F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1462      Cetera         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1463      Cassandra      F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1464      Monique        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1465      Letitia        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1466      Dianna         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1467      Julie          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1468      Laura          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1469      Sheri          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1470      Susan          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1471      Ann            F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1472      Sally          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1473      Inman          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1474      Annie          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1475      Wanda          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1476      Susan          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1477      Antonia        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1478      Janet          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1479      Mary           F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1480      Janet          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1481      Felicia        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1482      Amanda         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1483      Michelle       F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1484      Penny          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1485      Barbara        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1486      Heather        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1487      Deborah        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1488      Cynthia        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1489      Lynn           F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1490      Sherri         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1491      Emily          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1492      Linda          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1493      Darlene        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1494      Julia          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1495      Roberta        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1496      Joyce          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1497      Jessica        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1498      Belinda        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1499      Donna          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1500      Amanda         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1501      Donna          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1502      Barbara        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1503      Pamela         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   1504      Teresa         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1505      Mary           F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1506      Kathy          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1507      Marlene        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1508      Carin          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1509      Patricia       F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1510      Fu-Chyung      F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1511      Maria          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1512      Sherry         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1513      Marian         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1514      Felisha        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1515      Sherry         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1516      Estelita       F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1517      Tarita         F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1518      Ellyn          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1519      Deborah        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1520      Crystal        F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1521      Donna          F.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1522      Laura          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1523      Deborah        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1524      Lucinda        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1525      Donna          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1526      Hazel          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1527      Tierra         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1528      Tiffany        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1529      Yesenia        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1530      Noreen         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1531      Cathy          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1532      Patricia       G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1533      Aimee          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1534      Mary           G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1535      Margaret       G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1536      Danielle       G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1537      Patricia       G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1538      Susan          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1539      Amanda         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1540      Ruriko         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1541      Carmen         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1542      Linda          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1543      Jolynn         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1544      Carmen         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1545      Juana          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1546      Bertha         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   1547      Elizabeth      G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1548      Jennifer       G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1549      Mary           G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1550      Alicia         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1551      Deborah        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1552      Penny          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1553      Dixie          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1554      Ruth           G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1555      Emilee         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1556      Robin          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1557      Janette        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1558      Dorthey        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1559      Charlesetta    G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1560      Eileen         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1561      Jennifer       G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1562      Rosario        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1563      Maxine         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1564      Lillie         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1565      Julieann       G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1566      Joyce          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1567      Lodeal         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1568      Tresia         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1569      Kelsey         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1570      Marie          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1571      Kathleen       G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1572      Janelle        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1573      Lula           G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1574      Barbara        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1575      Gretchen       G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1576      Kristine       G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1577      Elizabeth      G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1578      Barbara Jo     G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1579      Penny          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1580      Marlene        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1581      Joyce          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1582      Jacqueline     G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1583      Elsie          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1584      Judy           G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1585      Fronnie        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1586      Zelda          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1587      Marilyn        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1588      Cathy          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1589      Gwendolyn      G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   1590      Renee          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1591      Maryann        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1592      Piper          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1593      Elizabeth      G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1594      Agnes          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1595      Alice          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1596      Linda          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1597      Accrisisus     G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1598      Angela         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1599      Pamela         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1600      Markita        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1601      Lawanna        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1602      Lorri          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1603      Geraldine      G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1604      Carmen         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1605      Regina         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1606      Penny          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1607      Imonia         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1608      Linda          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1609      Carol          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1610      Ronna          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1611      Joyce          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1612      Laura          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1613      Lafetta        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1614      Dottie         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1615      Latanya        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1616      Thelma         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1617      Marcella       G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1618      Tammy          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1619      Cathy          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1620      Betty          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1621      Diana          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1622      Willie         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1623      Judith         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1624      Nancy          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1625      Marilyn        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1626      Alfredia       G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1627      Lillie         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1628      Helen Louise   G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1629      Issabella      G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1630      Mary           G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1631      Phyliss        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1632      Kim            G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
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In re: LTL Management LLC, Case No.  23-12825-MBK
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   1633      Wendy          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1634      Lorraine       G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1635      Monica         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1636      June           G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1637      Donna          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1638      Lisa           G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1639      Jamie          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1640      Karletta       G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1641      Caroline       G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1642      Jill           G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1643      Mary           G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1644      Ruby           G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1645      Altina         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1646      Porsha         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1647      Teresa         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1648      Valentina      G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1649      Pauline        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1650      Laura          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1651      Vivian         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1652      Maria          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1653      Hassel         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1654      Macarmen       G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1655      Iris           G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1656      Dorothy        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1657      Annette        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1658      Carol          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1659      Audrey         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1660      Mary           G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1661      Rebecca        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1662      Arlene         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1663      Emily          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1664      Debra          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1665      Angelie        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1666      Lizza          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1667      Barbara        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1668      Bianca         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1669      Carrie         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1670      Bridgett       G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1671      Debra          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1672      Alice          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1673      Janet          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1674      Nimnon         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1675      Mandy          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   1676      Tillie         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1677      Juanita        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1678      Nancy          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1679      Doris          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1680      Joann          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1681      Gretchen       G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1682      Nancy          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1683      Carolyn        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1684      Cheralyn       G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1685      Darlean        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1686      Barbara        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1687      Carol          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1688      Lorna          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1689      Kristie        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1690      Rose           G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1691      Sherri         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1692      Sandra         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1693      Gwendolyn      G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1694      Gladys         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1695      Clara          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1696      Chrisimae      G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1697      Valerie        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1698      Arzetta        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1699      Pamela         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1700      Mia            G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1701      Laurie         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1702      Jacqueline     G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1703      Eunice         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1704      Loretta        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1705      Terri          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1706      Cindy          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1707      Ashley         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1708      Stephanie      G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1709      Anita          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1710      Lillie         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1711      Linda          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1712      Lois           G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1713      Cheryl         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1714      Dona           G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1715      Terrie         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1716      Valerie        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1717      Tondrah        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1718      Alicia         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 213 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   1719      Pearlie        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1720      Barbara        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1721      Nadine         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1722      Ladonna        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1723      Frances        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1724      Marian         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1725      Margaret       G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1726      Carol          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1727      Yvette         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1728      Patricia       G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1729      Virginia       G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1730      Luella         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1731      Willie         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1732      Linda          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1733      Dawn           G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1734      Shurie         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1735      Vivian         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1736      Jacqueline     G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1737      Jean           G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1738      Linda          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1739      Trudy          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1740      Ebony          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1741      Linda          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1742      Joan           G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1743      Dolores        G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1744      Maria          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1745      Maria          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1746      Ramona         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1747      Louise         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1748      Jacqueline     G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1749      Tyranyree      G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1750      Vianella       G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1751      Rita           G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1752      Clare          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1753      Cheryl         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1754      Anna           G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1755      Peggy          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1756      Alice          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1757      Margarita      G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1758      Linda          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1759      Paulette       G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1760      Cassandra      G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1761      Margarita      G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 42 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   1762      Glora          G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1763      Christine      G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1764      Lisa           G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1765      Lenora         G.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1766      Mary           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1767      Judith         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1768      Krista         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1769      Anita          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1770      Trixie         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1771      Sandra         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1772      Jeannie        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1773      Gloria         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1774      Kim            H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1775      Kristen        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1776      Tracy          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1777      Roberta        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1778      Shelba         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1779      Martha         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1780      Renee          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1781      Joyce          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1782      Bev            H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1783      Roxanne        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1784      Fannie         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1785      Carol          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1786      Bessie         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1787      Anna           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1788      Rachel         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1789      Tara           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1790      Cassandra      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1791      Stephanie      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1792      Washawnda      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1793      Laurie         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1794      Teresa         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1795      Lila           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1796      Karen          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1797      Kelly          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1798      Kelley         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1799      Victoria       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1800      Alis           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1801      Forest         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1802      Maranda        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1803      Kathy          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1804      Peggy          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
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       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   1805      Dayana         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1806      Frankie        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1807      Ella           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1808      Thelma         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1809      Joni           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1810      Lorraine       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1811      Jeanette       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1812      Gloria         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1813      Betty          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1814      Joyce          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1815      Lois           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1816      Sharon         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1817      Bessie         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1818      Martha         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1819      Juanita        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1820      Donna          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1821      Cynthia        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1822      Yamilet        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1823      Brenda         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1824      Antoinette     H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1825      Mary           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1826      Sharon         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1827      Bernice        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1828      Patricia       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1829      Bobbie         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1830      Sharif         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1831      Geri           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1832      Sandra         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1833      Carol          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1834      Vicki          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1835      Grace          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1836      Judy           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1837      Donna          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1838      Lucille        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1839      Elizabeth      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1840      Cheryl         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1841      Linda          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1842      Shirley        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1843      Tangerley      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1844      Mildred        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1845      Belinda        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1846      Kainya         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1847      Carol          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
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In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 44 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   1848      Marian         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1849      Evelyn         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1850      Jacqueline     H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1851      Ashley         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1852      Benita         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1853      Madeline       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1854      Odie           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1855      Linda          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1856      Kenyetta       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1857      Elizabeth      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1858      Nadine         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1859      Sonya          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1860      Reva           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1861      Joann          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1862      Tonya          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1863      Myrtle         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1864      Linda          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1865      Mary           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1866      Mary           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1867      Angela         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1868      Sonja          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1869      Ticopia        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1870      Jo             H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1871      Pamela         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1872      Deidra         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1873      Tonia          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1874      Marsha         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1875      Jacqueline     H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1876      Darla          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1877      Marian         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1878      Tiffany        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1879      Ladevia        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1880      Karen          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1881      Angela         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1882      Sherrelle      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1883      Elsie          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1884      Sadiya         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1885      Stephanie      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1886      Lisa           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1887      Elisheia       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1888      Jamila         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1889      Jasmine        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1890      Eula           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   1891      Carla          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1892      Donna          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1893      Elizabeth      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1894      Renada         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1895      Twakawana      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1896      Suzanne        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1897      Rhonda         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1898      Tiffeny        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1899      Carol          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1900      Tammy          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1901      Julie          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1902      Stacy          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1903      Debra          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1904      Rita           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1905      Annie          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1906      Jeannette      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1907      Merle          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1908      Linda          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1909      Glenda         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1910      Shepell        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1911      Madonna        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1912      Teresa         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1913      Arline         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1914      Valerie        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1915      Linda          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1916      Patricia       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1917      Isabelle       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1918      Elaine         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1919      Hazel          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1920      Ethia          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1921      Gwendolyn      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1922      Kristie        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1923      Dora           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1924      Diane          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1925      Joyce          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1926      Tiffany        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1927      Lois           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1928      Christa        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1929      Kathleen       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1930      Naomi          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1931      Kathi          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1932      Jennifer       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1933      Patricia       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 218 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   1934      Christina      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1935      Annette        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1936      Tami           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1937      Margie         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1938      Amanda         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1939      Evangelina     H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1940      Gwendolyn      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1941      Lauren         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1942      Tanica         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1943      Ramona         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1944      Christy        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1945      Jean           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1946      Margaret       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1947      Sherree        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1948      Karen          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1949      Seline         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1950      Jennifer       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1951      Sheila         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1952      Sharon         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1953      Evelyn         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1954      Valary         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1955      Marsha         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1956      Eloise         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1957      Mary           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1958      Vera           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1959      Griselda       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1960      Christine      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1961      Diana          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1962      Susan          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1963      Esperanza      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1964      Anna           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1965      Barbara        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1966      Judy           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1967      Debbie         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1968      Barbara        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1969      Mary           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1970      Viviane        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1971      Sharyl         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1972      RoseAnn        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1973      Patricia       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1974      Hattie         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1975      Nichole        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1976      Yolanda        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   1977      Linda          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1978      Kim            H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1979      Kathy          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1980      Joann          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1981      Charline       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1982      Carla          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1983      Dorothy        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1984      Sheila         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1985      QV             H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1986      Dana           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1987      Kama           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1988      Joan           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1989      Timirra        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1990      Julie          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1991      Linda          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1992      Lori           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1993      Tina           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1994      Julia          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1995      Yokeasha       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1996      Deborah        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1997      Venise         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1998      Terri          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   1999      Cecilia        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2000      Josephine      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2001      Eunice         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2002      Linda          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2003      Cindy          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2004      Linda          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2005      Donna          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2006      Maureen        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2007      Heather        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2008      Rosa           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2009      Sylvia         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2010      Christeen      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2011      Vicelda        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2012      Janie          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2013      Doris          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2014      Linda          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2015      Valarie        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2016      Dollisha       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2017      Ayesia         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2018      Sharon         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2019      Shirley        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   2020      Kimberly       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2021      Angelia        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2022      Rebecca        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2023      Christina      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2024      Kathya         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2025      Sharon         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2026      Melissa        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2027      Maxine         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2028      Linda          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2029      Evelyn         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2030      Antoinette     H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2031      Sophia         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2032      Kim            H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2033      Sandra         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2034      Sabrina        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2035      Martha         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2036      Trudy          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2037      Melissa        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2038      Sonya          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2039      Lakezia        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2040      Marie          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2041      Marlene        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2042      Latosha        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2043      Elizabeth      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2044      Patricia       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2045      Shirley        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2046      Elaine         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2047      Eunita         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2048      Karen          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2049      Alene          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2050      Edith          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2051      Racheal        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2052      Carol          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2053      Cheri          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2054      Judith         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2055      Shannon        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2056      Gwendolyn      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2057      Sheila         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2058      Tammie         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2059      Wyvonna        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2060      Charlene       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2061      Beverly        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2062      Diondra        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 221 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 49 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   2063      Tanika         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2064      Patricia       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2065      Barbara        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2066      Heidi          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2067      Elizabeth      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2068      Emma           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2069      Cherly         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2070      Willie Mae     H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2071      Nicole         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2072      Ernestine      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2073      Joslyn         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2074      Doris          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2075      Susan          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2076      Sherlynn       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2077      Christine      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2078      Virginia       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2079      Viia           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2080      Connie         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2081      Gladys         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2082      Elizabeth      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2083      Ashley         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2084      Kimberly       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2085      Sarah          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2086      Belinda        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2087      Janet          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2088      Mamie          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2089      Sally          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2090      Karen          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2091      Wilma          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2092      Deborah        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2093      Shannon        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2094      Roschelle      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2095      Barbara        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2096      Catherine      H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2097      Brenda         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2098      Cynthia        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2099      Leslie         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2100      Ella           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2101      Rachel         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2102      Lilly          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2103      Deborah        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2104      Roberta        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2105      Michele        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
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Page 50 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   2106      Della          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2107      Jessica        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2108      Julie          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2109      Jacqueline     H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2110      Linda          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2111      Karen          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2112      Melanie        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2113      Bonnie         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2114      Millie         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2115      Lisa           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2116      Kathleen       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2117      Barbara        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2118      Brenda         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2119      Miri           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2120      Staci          H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2121      Mary           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2122      Dorothy        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2123      Mary           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2124      Ronica         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2125      Beverly        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2126      Jill           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2127      Thursday       H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2128      Joanne         H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2129      Emma           H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2130      Dorothy        H.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2131      Jazzlyn        I.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2132      Patricia       I.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2133      Debra          I.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2134      Roseann        I.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2135      Rosa           I.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2136      Shoyndelle     I.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2137      Christine      I.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2138      Virgie         I.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2139      Armetha        I.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2140      Shirley        I.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2141      Barbara        I.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2142      Sherree        I.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2143      Joyce          I.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2144      Verna          I.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2145      JoAnne         I.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2146      Patricia       I.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2147      Crystal        I.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2148      Terry          I.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 223 of 1377
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   2149      Diana          I.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2150      Laurie         I.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2151      Martha         I.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2152      Adrian         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2153      Doris          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2154      Ada            J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2155      Cynthia        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2156      Vivian         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2157      Jane           J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2158      Diane          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2159      Jamie          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2160      Joan           J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2161      Shirley        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2162      Yvonne         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2163      Laverda        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2164      Lillie         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2165      Bobbie         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2166      Marie          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2167      Hilda          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2168      Myra           J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2169      Nakia          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2170      Ruby           J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2171      Marie          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2172      Makesha        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2173      Fannie         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2174      Pauline        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2175      Audrey         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2176      Arlene         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2177      Debra          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2178      Deborah        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2179      Susan          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2180      Pamela         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2181      Carol          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2182      Stephanie      J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2183      June           J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2184      Verna          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2185      Linda          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2186      Judith         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2187      Denise         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2188      Roberta        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2189      Marie          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2190      Jazmin         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2191      Dormica        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 224 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 52 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   2192      Victoria       J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2193      Lidia          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2194      Desiree        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2195      Annie          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2196      Marion         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2197      Pam            J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2198      Deseree        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2199      Jimmie         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2200      Debra          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2201      Nicole         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2202      Tina           J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2203      Barbara        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2204      Sheila         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2205      Wilma          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2206      Kwana          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2207      Joyce          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2208      Marie          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2209      Herni          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2210      Lucinda        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2211      Nettie         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2212      Lisa           J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2213      Laurie         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2214      Angela         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2215      Mary           J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2216      Ernestine      J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2217      Jean           J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2218      Kristen        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2219      Amy            J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2220      Pamela         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2221      Sara           J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2222      Delores        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2223      Carla          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2224      Paulita        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2225      Maria          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2226      LaDonna        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2227      Bailan         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2228      Barbara        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2229      Gloria         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2230      Dian           J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2231      Regina         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2232      Cassandra      J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2233      Earline        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2234      Dorothy        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 225 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 53 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   2235      Willie         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2236      Ethel          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2237      Victoria       J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2238      Joyce          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2239      Millie         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2240      Latricia       J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2241      Charlotte      J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2242      Theresa        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2243      Heather        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2244      Joann          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2245      Lucille        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2246      Theresa        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2247      Lennie         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2248      Diane          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2249      Sta'Cee        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2250      Ethel          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2251      Cecelia        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2252      Beverley       J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2253      Mary           J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2254      Carlene        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2255      Evelyn         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2256      Mary           J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2257      Linda          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2258      Rosie          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2259      Angela         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2260      Leatha         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2261      Berdetta       J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2262      Michelle       J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2263      Rosalie        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2264      Tamara         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2265      Trinere        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2266      Elvira         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2267      Dorothy        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2268      Sue            J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2269      Attie          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2270      Dorothy        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2271      Rosie          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2272      Tina           J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2273      Alejandrina    J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2274      Deena          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2275      Mamie          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2276      Willie         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2277      Suzanne        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 226 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 54 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   2278      Marilyn        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2279      Peaches        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2280      Verlie         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2281      Sylvia         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2282      Melvina        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2283      Stephanie      J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2284      Elizabeth      J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2285      Chante         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2286      Dawn Eaton     J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2287      Erica          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2288      Tanya          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2289      Julia          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2290      Shirley        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2291      Maria          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2292      Kelly          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2293      Linda          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2294      Lillian        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2295      Janet          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2296      Tonisha        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2297      Pamela         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2298      Christine      J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2299      Robin          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2300      Patricia       J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2301      Lisa           J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2302      Jacquelyn      J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2303      Elizabeth      J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2304      Rabina         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2305      Jacqueline     J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2306      Shirley        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2307      Tammy          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2308      Rhondalyn      J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2309      April          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2310      Denise         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2311      Wanda          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2312      Jean           J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2313      Hattie         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2314      Robin          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2315      Marian         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2316      Billie         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2317      Rhonda         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2318      Karen          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2319      Ruth           J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2320      Pauline        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 227 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 55 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   2321      Anna           J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2322      Rhonda         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2323      Erika          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2324      Keniada        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2325      Debra          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2326      Dora           J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2327      Denise         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2328      Martha         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2329      Catherine      J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2330      Laquinta       J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2331      Lulu           J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2332      Lakia          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2333      Charlene       J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2334      Bernice        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2335      Vernesta       J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2336      Tina           J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2337      Deborah        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2338      Eretha         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2339      Regina         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2340      Brenda         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2341      Donna          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2342      Tammie         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2343      Lori           J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2344      Heidy          J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2345      Rebecca        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2346      Emma           J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2347      Sharell        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2348      Stephanie      J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2349      Margarita      J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2350      Marifie        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2351      Kristy         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2352      Carolyn        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2353      Theresa        J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2354      Evangelina     J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2355      Cari           J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2356      Sandra         J.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2357      Stephanie      K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2358      Allison        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2359      Shirley        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2360      Nossrat        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2361      Nena           K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2362      Betty          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2363      Kimberly       K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 228 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 56 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   2364      Geraldine      K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2365      Mary           K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2366      Salua          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2367      Stella         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2368      Peace          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2369      Elizabeth      K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2370      Helen          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2371      Cassandra      K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2372      Nancy          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2373      Sonia          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2374      Annette        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2375      Donna          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2376      Ellen          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2377      Christine      K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2378      Sharon         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2379      Sherry         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2380      Lisa           K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2381      Kelly          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2382      Patricia       K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2383      Betty          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2384      Janice         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2385      Jacqueline     K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2386      Lashawn        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2387      Diana          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2388      Deborah        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2389      Patricia       K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2390      Cheryl         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2391      Debra          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2392      Genevieve      K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2393      Mattie         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2394      Margaret       K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2395      Christina      K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2396      Brenda         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2397      Mary           K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2398      Crystal        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2399      Beverly        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2400      Katherine      K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2401      Judith         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2402      Heleni         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2403      Rebecca        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2404      Beverly        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2405      Margaret       K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2406      Judith         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 229 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   2407      Jean           K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2408      Shacoya        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2409      Bobbie         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2410      Ruzanna        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2411      Clarine        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2412      Laurie         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2413      Barbara        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2414      Melissa        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2415      Chasity        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2416      Susan          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2417      Jennifer       K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2418      Michelle       K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2419      Myong          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2420      Karen          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2421      Debra          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2422      Kathlyn        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2423      Karen          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2424      Iris           K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2425      Geraldine      K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2426      Donna          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2427      Jeannie        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2428      Melissa        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2429      Nell           K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2430      Sallie         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2431      Helen          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2432      Myrtle         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2433      Theresa        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2434      Kimberly       K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2435      Kimbra         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2436      Virginia       K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2437      Phyllis        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2438      Jane           K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2439      Kayla          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2440      Martha         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2441      Theresa        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2442      Terri          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2443      Linda          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2444      Essie          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2445      Katrina        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2446      Ora            K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2447      Betty          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2448      Lisa           K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2449      Donna          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 58 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   2450      Susan          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2451      Shelly         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2452      Debora         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2453      Darlene        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2454      Rayfennette    K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2455      Phyllis        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2456      Marcella       K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2457      Corinne        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2458      Shendrell      K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2459      Tammie         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2460      Jennie         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2461      Anita          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2462      Pamela         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2463      Sawanda        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2464      Ann            K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2465      Rosiebeth      K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2466      Chrystol       K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2467      Lynn           K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2468      Laurie         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2469      Patsy          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2470      Velda          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2471      Marguerite     K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2472      Jennifer       K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2473      Cassandra      K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2474      Nora           K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2475      Patrea         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2476      Vanessa        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2477      Manzella       K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2478      Linda          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2479      Donna          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2480      Regina         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2481      Colleen        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2482      Sherry         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2483      Wilma          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2484      Anita          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2485      Audrey         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2486      Inez           K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2487      Valerie        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2488      Sandra         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2489      Susan          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2490      Summer         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2491      Eva            K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2492      Debra          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
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In re: LTL Management LLC, Case No.  23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 59 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   2493      Dianna         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2494      Karen          K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2495      Barbara        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2496      Mary           K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2497      Debbie         K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2498      Jacquis        K.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2499      Joan           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2500      Trina          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2501      Claire         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2502      Anita          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2503      Julia          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2504      Karen          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2505      Lisa           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2506      Cynthia        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2507      Brenda         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2508      Leslie         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2509      Deyanira       L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2510      Janice         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2511      Ellen          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2512      Darlene        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2513      Angela         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2514      Sabrina        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2515      Cheryl         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2516      Gretchen       L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2517      Patricia       L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2518      Pamela         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2519      Brittnay       L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2520      Gayla          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2521      Joinnie        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2522      Barbara        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2523      Ashley         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2524      Frances        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2525      Debra          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2526      Nancy          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2527      Barbara        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2528      Tamara         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2529      Deborah        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2530      Cheryl         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2531      Marie-France   L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2532      Maria          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2533      Susan          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2534      Stephanie      L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2535      Eula           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
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Page 60 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   2536      Sandra         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2537      Nancy          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2538      Kathleen       L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2539      Shirika        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2540      Josephine      L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2541      Folau          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2542      Kimberly       L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2543      Susan          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2544      Dorothy        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2545      Ramona         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2546      Karen          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2547      Rita           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2548      Sandra         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2549      Karen          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2550      Julie          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2551      Crystal        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2552      Leslie         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2553      Laura          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2554      Martha         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2555      Gina           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2556      Angie          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2557      Catherine      L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2558      Cathleen       L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2559      Gertrude       L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2560      Abby           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2561      Kathryn        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2562      Tammy          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2563      Lisa           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2564      Josefa         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2565      Cathleen       L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2566      Diana          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2567      Janice         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2568      Barbara        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2569      Caroline       L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2570      Gwendolyn      L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2571      Deborah        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2572      Yolanda        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2573      Amy            L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2574      Danielle       L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2575      Eleanor        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2576      Szeling        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2577      Patti          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2578      Lili           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   2579      Lili           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2580      Elizabeth      L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2581      Leah           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2582      Vicki          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2583      Luz            L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2584      Lois           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2585      Rachel         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2586      Dorothy        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2587      Carrie         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2588      Jane           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2589      Leticia        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2590      Claudette      L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2591      Kelly          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2592      Jean           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2593      Rita           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2594      Victoria       L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2595      Sherry         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2596      Brenda         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2597      Lorraine       L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2598      Barbara        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2599      Myrna          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2600      Kathleen       L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2601      Donna          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2602      Teri           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2603      Estalee        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2604      Kimbricka      L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2605      Deborah        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2606      Janet          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2607      Lakesika       L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2608      Cynthia        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2609      Monica         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2610      Renee          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2611      Linda          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2612      Frankie        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2613      Hanna          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2614      Marie          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2615      Monica         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2616      Sandra         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2617      Diane          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2618      Kasie          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2619      Candice        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2620      Merica         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2621      Chantel        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 234 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   2622      Anita          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2623      Jocelya        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2624      Mary           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2625      Nannell        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2626      Mary           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2627      Phyllis        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2628      Erica          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2629      Lori           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2630      Stephanie      L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2631      Evelyn         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2632      Charla         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2633      Sharon         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2634      Deborah        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2635      Therese        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2636      Polly          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2637      Lana           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2638      Pamela         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2639      Joann          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2640      Jeanette       L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2641      Tori           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2642      Kathy          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2643      Theresa        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2644      Kiara          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2645      Brenda         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2646      Wendy          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2647      Magdalene      L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2648      Barbara        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2649      Vickie         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2650      Brenda         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2651      Amy            L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2652      Dervie         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2653      Betty          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2654      Jeannette      L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2655      Shirley        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2656      Danielle       L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2657      Rosa           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2658      Elaine         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2659      Jessie         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2660      Shirley        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2661      Judy           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2662      Kelly          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2663      Kathleen       L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2664      Linda          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 235 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   2665      JoAnn          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2666      Antonique      L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2667      Anna           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2668      Tamara         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2669      Rita           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2670      Alma           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2671      Jane           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2672      Veronica       L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2673      Janet          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2674      Irene          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2675      Eva            L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2676      Alma           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2677      Eva            L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2678      Phyllis        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2679      Maria          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2680      Terri          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2681      Robin          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2682      Toni           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2683      Marcy          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2684      Rita           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2685      Melissa        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2686      Linda          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2687      Kristina       L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2688      Cassandra      L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2689      Deborah        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2690      Kristy         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2691      Helen          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2692      Diane          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2693      Jennifer       L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2694      Rebecca        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2695      Jessica        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2696      Beverly        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2697      Joan           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2698      Brenda         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2699      Amber          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2700      Barbara        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2701      Naida          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2702      Dolores        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2703      Lelar          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2704      Nancy          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2705      Abbie          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2706      Juana          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2707      Karla          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 236 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name     Last Name
 Claimant                                                          SSN      Date of Death
                (injured       (injured       Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)        person)
   2708      Sena           L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2709      Linda          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2710      Lenda          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2711      Heather        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2712      Mamie          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2713      Alyssa         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2714      Bettye         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2715      Susan          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2716      Blanchie       L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2717      Olivia         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2718      Beverly        L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2719      Doris          L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2720      Denise         L.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2721      Nancy          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2722      Nancy          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2723      Mary           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2724      Jane           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2725      Karen          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2726      Donna          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2727      Queena         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2728      Gladis         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2729      Velicia        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2730      Barbara        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2731      Brenda         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2732      Barbara        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2733      Georgia        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2734      Sylvia         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2735      Brigida        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2736      Jackqulyn      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2737      Sylvia         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2738      Ann            M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2739      Deyanira       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2740      Majdolene      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2741      Brittany       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2742      Sharon         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2743      Holly          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2744      Vera           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2745      Gloria         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2746      Ellen          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2747      Mable          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2748      Jeanette       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2749      Clara          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2750      Lisa           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 65 of 116

               First Name     Last Name
 Claimant                                                          SSN      Date of Death
                (injured       (injured       Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)        person)
   2751      Lillie         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2752      Janet          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2753      Jaime          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2754      Sarah          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2755      Cyndy          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2756      Stephanie      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2757      Frances        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2758      Ruth           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2759      Edith          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2760      Mindy          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2761      Letha          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2762      Sanna-Marie    M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2763      Misty          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2764      Monique        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2765      Ruby           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2766      Harlee         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2767      Althea         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2768      Marlita        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2769      Najullah       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2770      Lonnetta       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2771      Kimmarie       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2772      Tina           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2773      Janet          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2774      Bonnie         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2775      Mindy          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2776      Becky          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2777      Guadalupe      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2778      Cora           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2779      Martha         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2780      Doris          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2781      Lisa           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2782      Ruby           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2783      Maximina       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2784      Amanda         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2785      Librada        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2786      Gena           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2787      Aleshia        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2788      Myrtle         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2789      Catherine      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2790      Gwendolyn      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2791      Marilyn        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2792      Lytashe        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2793      Virginia       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 66 of 116

               First Name     Last Name
 Claimant                                                          SSN      Date of Death
                (injured       (injured       Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)        person)
   2794      Teneka         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2795      Barbara        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2796      Marilyn        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2797      Sonja          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2798      Evelyn         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2799      AnneMarie      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2800      Sondra         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2801      Lisa           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2802      Jane           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2803      Leeya          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2804      Gwinda         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2805      Cathy          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2806      Rebecca        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2807      Angelina       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2808      Maria          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2809      Maria          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2810      Eloise         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2811      Jackie         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2812      Gracy          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2813      Mary           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2814      Carolyn        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2815      Linda          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2816      Miriam         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2817      Judith         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2818      Carol          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2819      Clara          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2820      Fairoz         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2821      Julie          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2822      Marcella       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2823      Adilene        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2824      Maria          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2825      Lori           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2826      Sharon         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2827      Johnnie        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2828      Patricia       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2829      Adrian         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2830      Shirley        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2831      Lynn           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2832      Bobby          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2833      Florine        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2834      Gloria         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2835      Djeshariya     M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2836      Cyndi          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 239 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 67 of 116

               First Name     Last Name
 Claimant                                                          SSN      Date of Death
                (injured       (injured       Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)        person)
   2837      Elizabeth      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2838      Dawna          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2839      Christine      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2840      Phebe          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2841      Bobby          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2842      Carol          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2843      Susie          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2844      Betty          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2845      Linnette       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2846      Patricia       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2847      Hattie         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2848      Ruth           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2849      Venita         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2850      Adriene        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2851      Bobbie         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2852      Shuana         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2853      Karen          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2854      Wanda          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2855      Delories       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2856      Janice         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2857      Tanna          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2858      Janice         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2859      Elizabeth      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2860      Rae            M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2861      Patricia       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2862      Marlo          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2863      Veronica       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2864      Kathy          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2865      Lillie         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2866      Bernice        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2867      Shubia         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2868      Roger          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2869      Tequita        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2870      Cynthia        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2871      Carrie         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2872      Jeri           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2873      Christina      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2874      Parris         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2875      Carmella       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2876      Lori           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2877      Patricia       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2878      Regina         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2879      Brianna        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 68 of 116

               First Name     Last Name
 Claimant                                                          SSN      Date of Death
                (injured       (injured       Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)        person)
   2880      Angelean       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2881      Marghanna      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2882      Kathy          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2883      Elizabeth      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2884      Jacqulynne     M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2885      Joann          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2886      Diane          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2887      Sallie         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2888      Roberta        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2889      Krystle        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2890      Ronda          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2891      Kimberly       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2892      Caroline       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2893      Bobbie         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2894      Lynda          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2895      Ella           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2896      Laura          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2897      Rita           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2898      Shelia         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2899      Mary           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2900      Faye           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2901      Betty          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2902      Nicole         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2903      Cathy          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2904      Janice         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2905      Ruby           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2906      Denisa         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2907      Annie          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2908      Amanda         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2909      Christa        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2910      Iris           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2911      Rosa           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2912      Mattie         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2913      Sandra         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2914      Evelyn         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2915      Geraldine      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2916      Cassandra      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2917      Alyce          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2918      Dawn           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2919      Annette        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2920      Lena           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2921      Judith         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2922      Nancy          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 69 of 116

               First Name     Last Name
 Claimant                                                          SSN      Date of Death
                (injured       (injured       Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)        person)
   2923      Karen          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2924      Fannie         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2925      Judith         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2926      Kathryn        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2927      Yvonne         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2928      Patricia       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2929      Mary           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2930      Elizabeth      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2931      Andrea         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2932      Marie-Louise   M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2933      Renee          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2934      Janet          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2935      Doris          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2936      Gertie         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2937      Ethel          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2938      Patricia       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2939      Sherrill       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2940      Kathryn        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2941      Pamela         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2942      Patricia       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2943      Evelyn         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2944      Diana          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2945      Barbara        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2946      Doreen         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2947      Colleen        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2948      Makeisha       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2949      Keira          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2950      Rosalind       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2951      Shirley        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2952      Barbara        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2953      Concetta       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2954      Krista         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2955      Rosa           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2956      Sandra         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2957      Gwendlyn       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2958      Mattie         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2959      Beverly        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2960      Patricia       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2961      Stephanie      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2962      Judith         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2963      Orah           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2964      Christy        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2965      Antoinette     M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 242 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 70 of 116

               First Name     Last Name
 Claimant                                                          SSN      Date of Death
                (injured       (injured       Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)        person)
   2966      Helen           M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2967      Mary            M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2968      Patricia        M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2969      Maggie          M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2970      Andrea          M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2971      Shirley         M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2972      Miryam          M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2973      Phyllis         M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2974      Isabel          M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2975      Gloria          M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2976      Kelly           M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2977      Mary Jane       M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2978      Linda           M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2979      Carol           M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2980      Esther          M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2981      Delia           M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2982      Rebecca         M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2983      Linda           M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2984      Maria Socorro   M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2985      Constance       M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2986      Gale            M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2987      Irene           M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2988      Nidia           M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2989      Doris           M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2990      Constance       M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2991      Maria           M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2992      Esther          M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2993      San Juanita     M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2994      Andrea          M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2995      Charlotte       M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2996      Beverly         M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2997      Norma           M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2998      Lisa            M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   2999      Loretta         M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3000      Nancy           M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3001      Pauline         M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3002      Frances         M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3003      Carol           M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3004      Barbara         M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3005      Lisa            M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3006      Darlene         M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3007      Wendi           M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3008      Nancy           M.              [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
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In re: LTL Management LLC, Case No.  23-12825-MBK
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Page 71 of 116

               First Name     Last Name
 Claimant                                                          SSN      Date of Death
                (injured       (injured       Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)        person)
   3009      Patricia       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3010      Connie         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3011      Marie          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3012      Barbara        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3013      Ann            M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3014      Rachel         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3015      Linda          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3016      Melissa        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3017      Willie         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3018      Theresa        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3019      Lula           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3020      Melissa        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3021      Dorothy        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3022      Ina            M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3023      Brenda         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3024      Gladys         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3025      Josephine      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3026      Charlotte      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3027      Elaine         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3028      Lesley         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3029      Bernadine      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3030      Deborah        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3031      Marilu         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3032      Priscilla      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3033      Stella         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3034      Sandra         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3035      Shela          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3036      Peg            M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3037      Erma           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3038      Cynthia        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3039      Gayna          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3040      Maureen        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3041      Sheila         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3042      Karen          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3043      Laura          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3044      Carla          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3045      Judy           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3046      Shaista        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3047      Judy           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3048      Deborah        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3049      Jane           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3050      Tisha          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3051      Diane          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 72 of 116

               First Name     Last Name
 Claimant                                                          SSN      Date of Death
                (injured       (injured       Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)        person)
   3052      Marzetta       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3053      Rozenia        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3054      Vonciele       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3055      Irene          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3056      Mary           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3057      Felicia        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3058      Marilyn        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3059      Krystal        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3060      Heather        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3061      Deborah        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3062      Pearl          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3063      Debra          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3064      Leona          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3065      Elaine         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3066      Dana           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3067      Dianna         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3068      Shannon        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3069      Amanda         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3070      Lily           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3071      Marie          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3072      Angela         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3073      Hannah         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3074      Carol          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3075      Janet          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3076      Beverly        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3077      Jennifer       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3078      Grace          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3079      Michelle       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3080      Berta          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3081      Marsha         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3082      Rochelle       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3083      Donna          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3084      Cynthia        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3085      Ernistina      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3086      Jenifer        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3087      Patrice        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3088      Sara           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3089      Mamie          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3090      Laverne        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3091      Jacquelin      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3092      Susan          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3093      Maryll         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3094      Deborah        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 245 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 73 of 116

               First Name     Last Name
 Claimant                                                          SSN      Date of Death
                (injured       (injured       Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)        person)
   3095      Shirley        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3096      Melba          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3097      Sarah          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3098      Christine      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3099      Sharon         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3100      Johnnie        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3101      Evelyn         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3102      Carl           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3103      Gwendolyn      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3104      Shelley        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3105      Rachel         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3106      Jamie          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3107      Darlene        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3108      Lois           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3109      Joyce          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3110      Tiffany        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3111      Patricia       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3112      Tabia          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3113      Marguerite     M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3114      Charlene       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3115      Jackeline      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3116      Penelope       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3117      Debra          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3118      Emma           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3119      Deborah        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3120      Tamera         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3121      Estella        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3122      Adriana        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3123      Esperanza      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3124      Renee          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3125      Aimee          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3126      Jennifer       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3127      Julia          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3128      Hester         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3129      Amber          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3130      Linda          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3131      Rosa           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3132      Barbara        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3133      Teresa         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3134      Carole         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3135      Vickie         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3136      Shariondria    M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3137      Selester       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 246 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 74 of 116

               First Name     Last Name
 Claimant                                                          SSN      Date of Death
                (injured       (injured       Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)        person)
   3138      Una            M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3139      Paula          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3140      Gypsy          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3141      Dianne         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3142      Karen          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3143      Rosemary       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3144      Alice          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3145      Lashaun        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3146      Agnes          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3147      Ashleigh       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3148      Delphine       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3149      Octavia        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3150      Lois           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3151      Debra          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3152      Mary           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3153      Micki          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3154      Michelle       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3155      Nancy          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3156      Pamela         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3157      Linda          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3158      Charlotte      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3159      Judy           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3160      Patrica        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3161      Josis          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3162      Shannon        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3163      Ana            M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3164      Graciela       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3165      Margaret       M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3166      Rhonda         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3167      Adell          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3168      Sharon         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3169      Jacquelyn      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3170      Frances        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3171      Colleen        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3172      Doris          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3173      Mary           M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3174      Elizabeth      M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3175      Jalanda        M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3176      Vicki          M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3177      Martha         M.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3178      Laura          N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3179      Beverly        N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3180      Caroline       N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 247 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 75 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   3181      Pamela         N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3182      Ray            N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3183      Mary           N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3184      TIffeny        N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3185      Susan          N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3186      Reva           N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3187      Brenda         N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3188      Teberia        N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3189      Maria          N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3190      Teresa         N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3191      Lanace         N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3192      Georgia        N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3193      Marie          N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3194      Arlethea       N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3195      Arlene         N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3196      Rosemary       N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3197      Judy           N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3198      Ashley         N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3199      Shonie         N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3200      Melissa        N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3201      Lorna          N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3202      Cindy          N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3203      Cynthia        N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3204      Delonda        N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3205      Patricia       N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3206      Genevieve      N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3207      Valerie        N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3208      Eva            N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3209      Erin           N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3210      Josette        N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3211      Lucy           N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3212      Vanessa        N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3213      Donna          N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3214      Lorrietta      N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3215      Martha         N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3216      Kathleen       N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3217      Rita           N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3218      Janet          N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3219      Jenny          N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3220      Irma           N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3221      Lisa           N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3222      Sonia          N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3223      Carolyn        N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 248 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 76 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   3224      Barbara        N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3225      Hattie         N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3226      Jacqueline     N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3227      Michelle       N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3228      Sandra         N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3229      Shirley        N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3230      Lily           N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3231      Lynda          N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3232      Claudia        N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3233      Carolyn        N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3234      Shonda         N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3235      Virgie         N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3236      Louella        N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3237      Sharon         N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3238      Nancy          N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3239      Suzanne        N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3240      Neda           N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3241      Kimberly       N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3242      Jacqueline     N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3243      Angela         N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3244      Jean           N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3245      Dolores        N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3246      Jo Ann         N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3247      Marie          N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3248      Cindy          N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3249      Deborah        N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3250      Gloria         N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3251      Tamora         N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3252      Bonnie         N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3253      Mary           N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3254      Karen          N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3255      Teresa         N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3256      Cathy          N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3257      Toni           N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3258      Brenda         N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3259      Sheila         N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3260      June           N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3261      Shameika       N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3262      Sharon         N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3263      Diane          N.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3264      Sally          O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3265      Amanda         O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3266      Natasha        O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 77 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   3267      Joann          O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3268      Verdell        O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3269      Mary           O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3270      Mary           O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3271      Margaret       O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3272      Dolores        O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3273      Jean           O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3274      Catherine      O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3275      Margaret       O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3276      Lauralea       O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3277      Linda          O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3278      Della          O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3279      Patricia       O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3280      Charlene       O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3281      Kendra         O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3282      Aletha         O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3283      Sheera         O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3284      Nancy          O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3285      Sharon         O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3286      Pamela         O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3287      Erlinda        O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3288      Elizabeth      O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3289      Connie         O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3290      Marianne       O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3291      Jacqueline     O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3292      Shirley        O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3293      Iris           O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3294      Teresa         O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3295      Mary           O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3296      Arnetta        O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3297      Tiffany        O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3298      Josefina       O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3299      Yolanda        O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3300      Heather        O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3301      Cynthia        O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3302      Jacqueline     O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3303      Mary           O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3304      Rita           O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3305      Alicia         O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3306      Julie          O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3307      Linda          O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3308      Kristi         O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3309      Janice         O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   3310      Christine      O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3311      Madeline       O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3312      Kathleen       O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3313      Darlene        O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3314      Callie         O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3315      Mica           O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3316      Sharon         O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3317      Evelyn         O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3318      Laryssa        O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3319      Ana            O.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3320      Margaret       P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3321      Cindy          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3322      Irene          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3323      Gilberta       P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3324      Clementa       P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3325      Nicole         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3326      Nita           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3327      Sharron        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3328      Nora           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3329      Julaine        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3330      Ana            P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3331      Lisa           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3332      Flora          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3333      Bonnie         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3334      Carla          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3335      Deborah        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3336      Ermela         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3337      Lizzeth        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3338      Pauline        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3339      Donna          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3340      Toya           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3341      Linda          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3342      Mary           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3343      Linda          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3344      Charley        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3345      Crystal        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3346      Florence       P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3347      Patricia       P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3348      Dawn           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3349      Veronica       P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3350      Joann          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3351      Alice          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3352      Varnice        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   3353      Beverly        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3354      Carolyn        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3355      Edna           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3356      Christina      P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3357      Jasmine        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3358      Odessa         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3359      Lucy           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3360      Linda          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3361      Melissa        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3362      Evelyn         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3363      Kateria        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3364      Sherlie        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3365      Glalinda       P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3366      Martha         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3367      Janna          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3368      Lisa           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3369      Yvonne         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3370      Melissa        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3371      Gwendolyn      P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3372      Paula          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3373      Karen          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3374      Linda          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3375      Nancy          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3376      Jennifer       P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3377      Patricia       P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3378      Rahesha        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3379      Vanita         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3380      Doreen         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3381      Joyce          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3382      Brenda         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3383      Gena           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3384      Loretta        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3385      Susan          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3386      Elizabeth      P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3387      Tellar         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3388      Shelby         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3389      Patricia       P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3390      Ellen          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3391      Sennie         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3392      Debra          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3393      Rhonda         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3394      Anita          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3395      Linda          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   3396      Renee          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3397      Verna          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3398      Christine      P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3399      Sharon         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3400      Deirdre        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3401      Lelon          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3402      Kimberly       P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3403      Rebecca        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3404      Betty          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3405      Christy        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3406      Catherine      P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3407      Helena         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3408      Karen          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3409      Connie         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3410      Gwendolyn      P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3411      Jeanette       P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3412      Karen          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3413      Loretta        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3414      Dorothy        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3415      Robin          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3416      Margarita      P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3417      Giselle        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3418      Francisca      P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3419      Janet          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3420      Faye           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3421      Janice         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3422      Annette        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3423      Jamesetta      P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3424      Sara           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3425      Jolanda        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3426      Sheila         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3427      Peggy          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3428      Catherine      P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3429      Maria          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3430      Roberta        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3431      Dorothy        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3432      Denise         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3433      Barbara        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3434      Corinne        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3435      Teresa         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3436      Donna          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3437      Georgia        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3438      June           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 81 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   3439      Joanna         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3440      Judith         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3441      Pamela         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3442      Kimberly       P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3443      Lisa           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3444      Occie          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3445      Gwendolyn      P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3446      Nicola         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3447      Tracy          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3448      Pamela         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3449      Tina           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3450      Virginia       P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3451      Patsy          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3452      Dana           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3453      Norma          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3454      Diane          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3455      Diana          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3456      Carleen        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3457      Barbara        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3458      Tara           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3459      Cherie         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3460      Tina           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3461      Donna          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3462      Barbara        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3463      Evelyn         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3464      Cherish        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3465      Susan          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3466      Maria          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3467      Lorraine       P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3468      Dolores        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3469      Mary           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3470      Vickie         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3471      Shanika        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3472      Amie           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3473      Christine      P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3474      Monica         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3475      Danielle       P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3476      Jacquelyn      P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3477      Gloria         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3478      Annie          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3479      Delna          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3480      Miriam         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3481      Rose           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
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Page 82 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   3482      Cheryl         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3483      Sandra         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3484      Beverly        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3485      Johanna        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3486      Melissa        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3487      Patricia       P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3488      Kimberly       P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3489      Rhonda         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3490      Tracy          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3491      Linda          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3492      Frances        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3493      Benita         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3494      Maria          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3495      Karen          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3496      Miya           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3497      Sandra         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3498      Deidre         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3499      Charlotte      P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3500      Rozella        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3501      Lenora         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3502      Willette       P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3503      Kendra         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3504      Sherry         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3505      Rebecca        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3506      Rosie          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3507      Jacqueline     P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3508      Ruth           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3509      Raquel         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3510      Kathryn        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3511      Delores        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3512      Barbara        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3513      Anne           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3514      Judith         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3515      Debra          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3516      Virginia       P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3517      Janie          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3518      Constance      P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3519      Latina         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3520      Alicia         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3521      Stacy          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3522      Dawn           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3523      Bonnie         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3524      Gabrielle      P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 255 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   3525      Rosalind       P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3526      Velma          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3527      Sabina         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3528      Glenda         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3529      Linda          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3530      Wanda          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3531      Aline          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3532      Marcella       P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3533      Colleen        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3534      Donna          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3535      Jackie         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3536      Deborah        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3537      Catherine      P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3538      Dorothy        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3539      Clara          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3540      Patricia       P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3541      Janet          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3542      Lillian        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3543      Shanqueata     P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3544      Karen          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3545      Dorothy        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3546      Lois           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3547      Quelon         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3548      Sandra         P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3549      Katherine      P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3550      Margaret       P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3551      Darlene        P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3552      Mary           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3553      Karen          P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3554      Kay            P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3555      Mary           P.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3556      Kathleen       Q.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3557      Esther         Q.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3558      Fe             Q.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3559      Denise         Q.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3560      Deloris        Q.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3561      Patty          Q.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3562      Patsy          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3563      Nancy          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3564      Anna           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3565      Evangeline     R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3566      Ethel          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3567      Kathleen       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 256 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   3568      Josephine      R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3569      Debra          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3570      Violeta        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3571      Christina      R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3572      Eva            R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3573      Veronica       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3574      Toshia         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3575      Pamela         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3576      Maria          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3577      Marilyn        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3578      Joan           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3579      Robina         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3580      Alice          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3581      Jemima         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3582      Marie          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3583      Diana          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3584      Isabel         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3585      April          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3586      Porchia        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3587      Ninette        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3588      Vivian         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3589      Ronda          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3590      RitaLe         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3591      Alicia         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3592      Cathedria      R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3593      Leonie         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3594      Donna          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3595      Deborah        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3596      Ellen          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3597      Wanda          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3598      Sharon         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3599      Minnie         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3600      Glenda         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3601      Shirley        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3602      Linda          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3603      Patricia       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3604      Ozzie          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3605      Alisha         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3606      Becky          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3607      Judith         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3608      Angela         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3609      Linda          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3610      Gwendolyn      R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 257 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   3611      Linda          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3612      Clara          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3613      Helen          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3614      Winifred       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3615      Tracy          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3616      Olivia         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3617      Vickie         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3618      Theresa        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3619      Chyna          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3620      Imogene        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3621      Wanda          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3622      Kelly          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3623      Sheryl         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3624      Lynn           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3625      Ruth           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3626      Cynthia        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3627      Starlene       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3628      Carol          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3629      Rebecca        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3630      Ana            R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3631      Deloris        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3632      Sally          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3633      Barbara        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3634      Roberta        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3635      Maureen        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3636      Michele        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3637      Jennifer       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3638      Debra          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3639      Maria          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3640      Stephanie      R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3641      Norma          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3642      Linda          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3643      Anna           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3644      Michele        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3645      Marilyn        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3646      Kim            R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3647      Lois           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3648      Maria          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3649      Cynthia        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3650      Lisa           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3651      Lynn           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3652      Nita           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3653      Peggy          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 258 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 86 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   3654      Nannette       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3655      Barbara        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3656      Mary           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3657      Vivian         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3658      Sheila         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3659      Elaine         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3660      Linda          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3661      Terri          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3662      Sonya          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3663      Sara           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3664      Glenda         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3665      Sonia          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3666      Jamie          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3667      Heidi          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3668      Marion         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3669      Kimberly       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3670      Nikkia         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3671      Jo'Anne        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3672      Lela           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3673      Faye           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3674      Debbie         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3675      Patsey         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3676      Ruby           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3677      Lynn           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3678      Kinyuada       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3679      Lupe           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3680      Kelly          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3681      Barbara        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3682      Madge          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3683      Linda          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3684      Margareth      R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3685      Toresa         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3686      Stephanie      R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3687      Rosetta        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3688      Mary           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3689      Deborah        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3690      Teresa         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3691      Dianna         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3692      Jamisha        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3693      Anna Rose      R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3694      Mae            R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3695      Cheryl         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3696      Linda          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 87 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   3697      Betty          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3698      Luz            R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3699      Frances        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3700      Ana            R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3701      Annette        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3702      Wanda          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3703      Virginia       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3704      Lisa           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3705      Sheila         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3706      Eva            R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3707      Linda          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3708      Patricia       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3709      Beva           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3710      Nina           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3711      Bonnie         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3712      Catherine      R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3713      Teresa         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3714      Barbara        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3715      Patricia       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3716      Tiffany        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3717      Joyce          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3718      Brandy         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3719      Peggy          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3720      Patricia       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3721      Cherie         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3722      Patricia       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3723      Carol          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3724      Judy           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3725      Sheila         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3726      Belinda        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3727      Shirley        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3728      Kim            R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3729      Chasity        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3730      Jasmine        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3731      Sally          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3732      Rachel         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3733      Sandra         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3734      Reyna          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3735      Tahirah        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3736      Donna          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3737      Doris          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3738      Deidre         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3739      Yvonne         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 260 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   3740      Nicole         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3741      Corine         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3742      Virginia       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3743      Alice          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3744      Regine         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3745      Patricia       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3746      Rouqukria      R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3747      Sarah          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3748      Rona           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3749      Michelle       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3750      Kathleen       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3751      Janet          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3752      Leticia        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3753      Marisela       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3754      Alisa          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3755      Irma           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3756      Daisy          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3757      Josephine      R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3758      Miriam         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3759      Rose           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3760      Melissa        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3761      Toni           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3762      Betty          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3763      Clancy         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3764      Vadia          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3765      Rosalie        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3766      Mary           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3767      Patricia       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3768      Rashelle       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3769      Katherine      R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3770      Patti          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3771      Janel          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3772      Esther         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3773      Margaret       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3774      Anna           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3775      Maria          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3776      Carolyn        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3777      Rosalinda      R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3778      Matilda        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3779      Bertha         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3780      Leslie         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3781      Martha         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3782      Santos         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 261 of 1377
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 89 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   3783      Evelyn         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3784      Kennaly        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3785      Diana          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3786      Marcia         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3787      Cheryl         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3788      Kristy         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3789      Amber          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3790      Enid           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3791      Pamela         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3792      Hildegard      R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3793      Marsha         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3794      Marian         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3795      Elaine         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3796      Christine      R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3797      Patricia       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3798      Christine      R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3799      Patricia       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3800      Rosa           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3801      Pamela         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3802      Jewel          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3803      Mattie         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3804      Herlunda       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3805      Juanta         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3806      Adrienne       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3807      Deanette       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3808      Georgia        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3809      Lonnie         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3810      Donna          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3811      Gloria         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3812      Shirley        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3813      Gloria         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3814      Pamela         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3815      Theresa        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3816      Robin          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3817      Priscilla      R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3818      Regina         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3819      Charlotte      R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3820      Elizabeth      R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3821      Devona         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3822      Mary           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3823      Patricia       R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3824      Marcy          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3825      Laurie         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   3826      Joanne         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3827      Laruie         R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3828      Cassandra      R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3829      Loretta        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3830      Mary           R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3831      Jeannie        R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3832      Susan          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3833      Adele          R.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3834      Deborah        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3835      Angela         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3836      Diana          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3837      Hilda          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3838      Martha         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3839      Maria          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3840      Sandra         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3841      Jessie         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3842      Nancy          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3843      Jane           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3844      Roen           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3845      Danielle       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3846      Christy        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3847      Rose           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3848      Jenny          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3849      Ibtesam        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3850      Carolina       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3851      Patricia       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3852      Lisa           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3853      Julie          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3854      Van            S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3855      Crystal        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3856      Deborah        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3857      Rose           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3858      Anabel         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3859      Dora           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3860      Julie          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3861      Leslie         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3862      Ivette         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3863      Isabel         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3864      Laura          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3865      Evelina        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3866      Carol          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3867      Donna          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3868      Rose           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 263 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 91 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   3869      Birgit         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3870      Gloria         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3871      Christine      S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3872      Stephanie      S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3873      Diane          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3874      Graciela       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3875      Mildred        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3876      Sarah          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3877      Idella         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3878      Lynda          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3879      Elizabeth      S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3880      Octavia        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3881      Silvia         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3882      Rita           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3883      Leonie         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3884      Paula          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3885      Geneva         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3886      Paulette       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3887      Ruby           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3888      Holly          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3889      Karen          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3890      Eve            S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3891      Norma          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3892      Bonnie         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3893      Patricia       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3894      Barbara        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3895      Cynthia        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3896      Debrah         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3897      Bertha         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3898      Ollie          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3899      Brooke         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3900      Kellie         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3901      Kaaydah        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3902      Jean           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3903      Marcia         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3904      Stacy          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3905      Marie          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3906      Deserie        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3907      Karen          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3908      Beverley       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3909      Jackie         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3910      Kathleen       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3911      Sally          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Page 92 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   3912      Elizabeth      S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3913      Diana          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3914      Juanita        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3915      Tami           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3916      Theresa        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3917      Joan           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3918      Camille        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3919      Cathleen       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3920      Rhonda         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3921      Laura          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3922      Connee         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3923      Kristin        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3924      Judy           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3925      Karen          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3926      Carol          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3927      Carol          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3928      Anna           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3929      Jakeeta        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3930      Charlene       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3931      Delores        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3932      Donna          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3933      Victoria       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3934      Julie          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3935      Freida         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3936      Luvina         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3937      Marcella       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3938      Paula          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3939      Debra          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3940      Rosemarie      S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3941      Crystal        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3942      Sharon         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3943      Mary           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3944      Kristy         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3945      Sylvia         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3946      Violet         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3947      Letty          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3948      Eleanor        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3949      Irene          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3950      Sandy          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3951      Wanda          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3952      Renee          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3953      Barbara        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3954      Donna          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK             Doc -1   Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 265 of 1377
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 93 of 116

               First Name         Last Name
 Claimant                                                          SSN      Date of Death
                (injured           (injured   Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)            person)
   3955      Eva             S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3956      Alana           S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3957      Sharon          S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3958      Tonya           S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3959      Martha          S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3960      Minnie          S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3961      Michelle        S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3962      Carolyn         S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3963      Shawn           S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3964      Deborah         S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3965      Vonita-Bonnie   S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3966      Tashawn         S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3967      Barbara         S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3968      Victoria        S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3969      Kattie          S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3970      Marianne        S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3971      Belvia          S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3972      Esther          S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3973      Glenda          S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3974      Beverly         S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3975      Barbara         S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3976      Dorothy         S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3977      Denice          S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3978      Eleanor         S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3979      Hilary          S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3980      Jacqueline      S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3981      Theresa         S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3982      Demetrius       S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3983      Joyce           S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3984      Lorraine        S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3985      Rebecca         S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3986      Mary            S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3987      Gloria          S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3988      Betty           S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3989      Clair           S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3990      Georgia         S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3991      Yoshiko         S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3992      Jeanne          S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3993      Cathy           S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3994      Julie           S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3995      Linda           S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3996      Dhanmattee      S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3997      Karen           S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   3998      Sara           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   3999      Dianna         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4000      Martha         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4001      Janice         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4002      Nancy          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4003      Mary           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4004      Valarie        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4005      Ellen          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4006      Hilda          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4007      Sandy          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4008      Clara          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4009      Marion         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4010      Gwyndle        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4011      Joella         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4012      Ellen          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4013      Pamela         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4014      Betty          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4015      Cindy          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4016      Natalie        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4017      Janet          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4018      Pansy          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4019      Edna           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4020      Nena           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4021      Mildred        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4022      Nancy          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4023      Felicia        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4024      Audrey         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4025      Sandra         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4026      Rachel         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4027      Doris          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4028      Ladonna        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4029      Stacy          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4030      Vickie         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4031      Mary           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4032      Michelle       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4033      Kim            S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4034      Patricia       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4035      Jessica        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4036      Carolyn        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4037      Albertha       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4038      Sharon         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4039      Chunese        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4040      Tomachia       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   4041      Candace        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4042      Susan          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4043      LaDonna        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4044      Charlotte      S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4045      Shannon        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4046      Darlene        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4047      Allene         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4048      Reba           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4049      Veronica       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4050      Alana          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4051      Mable          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4052      Christina      S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4053      Kim            S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4054      Stephani       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4055      Jana           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4056      Margaret       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4057      Burnadell      S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4058      Barbara        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4059      Debra          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4060      Vernetta       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4061      Gladis         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4062      Elmer          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4063      Joanne         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4064      Rita           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4065      Terrie         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4066      Judy           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4067      Ranjana        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4068      Cvijeta        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4069      Brenda         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4070      Rachel         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4071      Mary           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4072      Sandra         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4073      Evelyn         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4074      Susan          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4075      Grace          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4076      Tunya          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4077      Denise         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4078      Buffy          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4079      Betty          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4080      Dorothy        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4081      Alfreda        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4082      Tameka         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4083      Randa          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
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In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   4084      Adrienne       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4085      Monica         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4086      Gloria         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4087      Dana           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4088      Alice          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4089      Vickie         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4090      Evelyn         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4091      Julia          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4092      Phyllis        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4093      Thomasine      S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4094      Romana         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4095      Emma           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4096      Veronica       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4097      Nichole        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4098      Wynenna        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4099      Cindy          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4100      Lela           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4101      Sallie         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4102      Elizabeth      S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4103      Debra          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4104      Tammy          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4105      Monique        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4106      Mary           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4107      Mi Ae          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4108      Carol          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4109      Hermenie       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4110      Sonia          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4111      Rita           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4112      Samantha       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4113      Rosie          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4114      Corby          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4115      Mary           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4116      Sandra         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4117      Margaret       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4118      Angela         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4119      Mary           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4120      Joanne         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4121      Cheryl         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4122      Alicia         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4123      Sheila         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4124      Latoya         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4125      Cora           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4126      Kristin        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 97 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   4127      Lakisha        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4128      Chasity        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4129      Gayle          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4130      Rosanne        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4131      Rulene         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4132      Donna          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4133      Rebecca        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4134      Karen          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4135      Billie         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4136      Robin          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4137      Angela         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4138      Deborah        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4139      Linda          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4140      Oralia         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4141      Rosalinda      S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4142      Marlene        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4143      Mary           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4144      Teresa         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4145      Erika          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4146      Judith         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4147      Linda          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4148      Susan          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4149      Shari          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4150      Zandra         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4151      Dorothy        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4152      Rhonda         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4153      Chasity        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4154      Michelle       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4155      Lenora         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4156      Queen          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4157      Esta           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4158      Teresa         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4159      Elizabeth      S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4160      Anne           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4161      Judith         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4162      Mary           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4163      Susan          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4164      Marva          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4165      Darlene        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4166      Sherry         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4167      Barbara        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4168      Solamie        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4169      Barbara        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
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Page 98 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   4170      Laura          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4171      Pamela         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4172      Teresa         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4173      Melissa        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4174      Anna           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4175      Melissa        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4176      Sandra         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4177      Barbara        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4178      Debra          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4179      Jacqueline     S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4180      Shirley        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4181      Joshay         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4182      Bonnie         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4183      Hilda          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4184      Cynthia        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4185      Donna          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4186      Shirley        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4187      Bettie         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4188      Margaret       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4189      Regina         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4190      Dorothy        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4191      Phyllis        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4192      Joan           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4193      April          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4194      Christina      S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4195      Mary           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4196      Linda          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4197      Barbara        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4198      Johnnice       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4199      Darlene        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4200      Elane          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4201      Tammy          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4202      Mary           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4203      Denise         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4204      Kimberly       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4205      Vicky          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4206      Vera           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4207      Marcia         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4208      Martha         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4209      Ashley         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4210      Debra          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4211      Nicole         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4212      Bette          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   4213      Jenifer        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4214      Janice         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4215      Tina           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4216      Tracy          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4217      Kelly          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4218      Jeanette       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4219      Deborah        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4220      Brenda         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4221      Esther         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4222      Teresa         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4223      Kasey          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4224      Roseleen       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4225      Charlene       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4226      Teri           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4227      Kristin        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4228      Andrea         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4229      Ida            S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4230      Emma           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4231      Audrey         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4232      Renee          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4233      Latwanyept     S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4234      Wendy          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4235      Rita           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4236      Lorraine       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4237      Carol          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4238      Stacey         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4239      Carolyn        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4240      Lynn           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4241      Terrina        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4242      Barbara        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4243      AaLiyah        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4244      Deniska        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4245      Sandra         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4246      Beatrice       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4247      Patricia       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4248      Stacy          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4249      Ollie          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4250      Nichole        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4251      Rita           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4252      Dana           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4253      Patricia       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4254      Belkis         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4255      Maria          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   4256      Ruth           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4257      Christina      S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4258      Vernetta       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4259      Ruby           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4260      Tina           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4261      Gloria         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4262      Cristianna     S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4263      Julia          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4264      Cleah          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4265      Pamela         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4266      Gladys         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4267      Bobbie         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4268      Elsie          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4269      Allyson        S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4270      Jacqueline     S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4271      Judith         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4272      Brenda         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4273      Lora           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4274      Cheryl         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4275      Lisa           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4276      Kae            S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4277      Mary           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4278      Jeanette       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4279      Elizabeth      S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4280      Tikira         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4281      Carol          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4282      Luann          S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4283      Janice         S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4284      Margaret       S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4285      Mary           S.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4286      Sheila         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4287      Kathleen       T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4288      Maria          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4289      Titania        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4290      ARC            T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4291      Florence       T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4292      Waydean        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4293      Loretta        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4294      Mary           T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4295      Gladys         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4296      Lee Ann        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4297      Quinell        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4298      Jazmine        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
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       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   4299      Veronica       T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4300      Daree          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4301      Ashley         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4302      Sokhonn        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4303      Cynthia        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4304      Tina           T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4305      Margaret       T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4306      Jaime          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4307      Deborah        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4308      Apryl          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4309      Caron          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4310      Patricia       T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4311      Maggie         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4312      Linda          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4313      Annie          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4314      Emilee         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4315      Felicia        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4316      Martha         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4317      Lolita         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4318      Brittany       T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4319      Barbara        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4320      Addie          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4321      Martin         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4322      Katara         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4323      Jeanette       T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4324      Tinisha        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4325      Gayle          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4326      Phyllis        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4327      Loretta        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4328      Gracie         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4329      Elaine         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4330      Janet          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4331      Julie          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4332      Betty          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4333      Charlene       T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4334      Rita           T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4335      Adwoa          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4336      Crystal        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4337      Kristin        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4338      Monica         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4339      Lori           T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4340      Enka           T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4341      Cynthia        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   4342      Laura          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4343      Amelia         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4344      Dora           T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4345      Gwendolyn      T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4346      Shirley        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4347      Shelley        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4348      Hazel          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4349      Mary           T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4350      Juanita        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4351      Roseann        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4352      Annette        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4353      Dorcas         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4354      Margie         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4355      Audrey         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4356      Ernestine      T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4357      Janis          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4358      Suzanne        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4359      Susan          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4360      Dorothy        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4361      Lisa           T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4362      Linda          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4363      Linda          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4364      Madge          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4365      Barbara        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4366      Shirley        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4367      Jean           T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4368      Shannon        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4369      Angela         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4370      Donna          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4371      Rachell        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4372      Evelyn         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4373      Charlene       T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4374      Marcia         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4375      Wendy          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4376      Rhonda         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4377      Tonya          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4378      Carolyn        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4379      Katherine      T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4380      Jane           T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4381      Rose           T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4382      Patricia       T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4383      Clara          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4384      Hillary        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Page 103 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   4385      Bettyann       T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4386      Emma           T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4387      Jacqueline     T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4388      LaCressa       T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4389      Claudette      T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4390      Debbie         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4391      Pearl          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4392      Sara           T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4393      Rena           T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4394      Lottie         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4395      Diana          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4396      Milen          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4397      Michelle       T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4398      Christina      T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4399      Olga           T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4400      Dorothy        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4401      Barbara        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4402      Judith         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4403      Lorraine       T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4404      Linda          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4405      Mary           T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4406      Chrissie       T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4407      Linda          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4408      Terry          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4409      Ann            T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4410      Rachael        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4411      Deborah        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4412      Carmen         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4413      Demetria       T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4414      Marjorie       T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4415      Kevelyn        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4416      Patricia       T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4417      Edna           T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4418      Jane           T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4419      Michelle       T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4420      Keely          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4421      Doreen         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4422      Margo          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4423      Dorothy        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4424      Laurin         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4425      Selma          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4426      Laura          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4427      Gaila          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 276 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   4428      Rosa           T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4429      Annie          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4430      Candius        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4431      Susan          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4432      Laura          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4433      Carolyn        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4434      Annamarie      T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4435      Jairlene       T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4436      Theresa        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4437      Cynthia        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4438      Rose           T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4439      Patricia       T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4440      Loyce          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4441      Ina            T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4442      Emmie          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4443      I'o            T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4444      Rebecca        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4445      Judy           T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4446      Donna          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4447      Patricia       T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4448      Corlette       T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4449      Josephine      T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4450      Julie          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4451      Yvette         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4452      Claudia        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4453      Frankie        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4454      Cindy          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4455      Elizabeth      T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4456      Theida         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4457      Janet          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4458      Hazel          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4459      Kelly          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4460      Heidi          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4461      Paula          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4462      Tiffany        T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4463      Lauren         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4464      Debra          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4465      Sharon         T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4466      Maria          T.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4467      Sandra         U.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4468      Mary           U.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4469      Mary           U.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4470      Patricia       U.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 105 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   4471      Andrea         U.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4472      Dolores        U.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4473      Cristina       U.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4474      Diana          U.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4475      Maria          U.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4476      Cheryl         U.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4477      Kasandra       V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4478      Florcita       V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4479      Maricela       V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4480      Eva            V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4481      Joyce          V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4482      Gertrude       V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4483      Beverly        V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4484      Jeanne         V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4485      Josephine      V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4486      Diane          V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4487      Mary           V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4488      Frances        V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4489      Mary           V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4490      Tami           V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4491      Tammy          V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4492      Tamera         V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4493      Karen          V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4494      Robyn          V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4495      Jana           V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4496      Susan          V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4497      Brandie        V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4498      Dawn           V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4499      Deanna         V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4500      Leslie         V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4501      Jeanette       V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4502      Teresa         V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4503      Karen          V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4504      Yolanda        V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4505      Elia           V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4506      Yesenia        V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4507      Christina      V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4508      Brandy         V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4509      Glenna         V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4510      Malinda        V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4511      Juana          V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4512      Delores        V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4513      Maggie         V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 278 of 1377
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 106 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   4514      Lori           V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4515      Linda          V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4516      Dolores        V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4517      Carrie         V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4518      Carmen         V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4519      Debra          V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4520      Barbara        V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4521      Christina      V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4522      Corine         V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4523      Jean           V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4524      Kimberly       V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4525      Laura          V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4526      Geraldine      V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4527      Victoria       V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4528      Orpha          V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4529      Barbara        V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4530      Tammy          V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4531      Iara           V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4532      Sonya          V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4533      Barbara        V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4534      Adriana        V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4535      Patsy          V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4536      Suzette        V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4537      Patricia       V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4538      Elizabeth      V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4539      Lily           V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4540      Phyllis        V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4541      Claudia        V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4542      Denise         V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4543      Eloisa         V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4544      Taffii         V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4545      Betty          V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4546      Faigie         V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4547      Braylinna      V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4548      Charlotte      V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4549      Natalie        V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4550      Tauninga       V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4551      Stefanie       V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4552      Cynthia        V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4553      Raisa          V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4554      Karen          V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4555      Kimberly       V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4556      Beth           V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 107 of 116

               First Name     Last Name
 Claimant                                                          SSN      Date of Death
                (injured       (injured       Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)        person)
   4557      Deborah        V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4558      LesleyAnne     V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4559      Chantel        V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4560      Carole         V.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4561      Christine      W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4562      Laura          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4563      Octavius       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4564      Sheryl         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4565      Antonia        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4566      Edna           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4567      Phyllis        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4568      Jeanine        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4569      Mary           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4570      Melissa        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4571      Linda          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4572      Lindsey        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4573      Devania        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4574      Amanda         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4575      Sophronia      W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4576      Faye           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4577      Audrey         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4578      Louise         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4579      Lorena         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4580      Peggie         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4581      Pennie         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4582      Bobbie         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4583      Caren          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4584      Kimberly       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4585      Monica         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4586      Brenda         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4587      Joan           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4588      Marie          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4589      Angela         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4590      Marie          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4591      Sadie          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4592      Gretchen       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4593      Dana           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4594      Judy           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4595      Rosemary       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4596      Rebecca        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4597      Barbara        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4598      Susan          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4599      Cynthia        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
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Page 108 of 116

               First Name     Last Name
 Claimant                                                          SSN      Date of Death
                (injured       (injured       Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)        person)
   4600      Alma           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4601      Alice          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4602      Lena           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4603      Mable          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4604      Ontayai        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4605      Tara           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4606      Elizabeth      W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4607      Alice          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4608      Wilma          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4609      Kathleen       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4610      June           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4611      Amy            W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4612      Roseatta       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4613      Renee          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4614      Brooklyn       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4615      Barbara        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4616      Brittany       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4617      Elizabeth      W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4618      Shelley        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4619      Shelley        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4620      Lorene         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4621      Elvira         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4622      Rose           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4623      Romine         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4624      Evelyn         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4625      Sandra         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4626      Mary           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4627      Wendy          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4628      Cassandra      W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4629      Cathy          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4630      Arlinda        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4631      Janice         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4632      Valerie        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4633      Mary           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4634      Celestine      W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4635      Debra          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4636      Rosie          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4637      Mary           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4638      Tawana         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4639      Patricia       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4640      Tamica         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4641      Pamela         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4642      Olivia         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 281 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name     Last Name
 Claimant                                                          SSN      Date of Death
                (injured       (injured       Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)        person)
   4643      Simonne        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4644      Doris          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4645      Marla          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4646      Dorothy        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4647      Jackie         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4648      Angielee       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4649      Dorothy        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4650      Erika          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4651      Audrey         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4652      Barbara        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4653      Janice         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4654      Priscilla      W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4655      Patricia       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4656      Debra          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4657      Linda          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4658      Debora         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4659      Jeraldean      W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4660      Catherine      W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4661      Latosha        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4662      Peggy          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4663      Thelma         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4664      Carrie         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4665      Karen          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4666      Carmela        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4667      Rhonda         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4668      Lynn           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4669      Janet          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4670      Luella         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4671      Brandy         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4672      Tammy          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4673      Kayla          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4674      Helen          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4675      Sharon         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4676      Julie          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4677      Jennie         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4678      Margaret       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4679      Margit         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4680      Diane          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4681      Cynthia        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4682      Debra          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4683      Cathy          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4684      Bertha         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4685      Shirley        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
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               First Name     Last Name
 Claimant                                                          SSN      Date of Death
                (injured       (injured       Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)        person)
   4686      Terri          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4687      Dawn           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4688      Maria          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4689      Tichillian     W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4690      Shelby         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4691      Kerrianne      W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4692      Kathleen       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4693      Mary           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4694      Linda          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4695      Demetria       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4696      Blossom        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4697      Carolyn        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4698      Magdalene      W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4699      Willene        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4700      Chaka          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4701      Cindy          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4702      Mary           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4703      Dena           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4704      Deborah        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4705      Johnnie        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4706      Twila          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4707      Oneta          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4708      Rose           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4709      Victoria       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4710      Joan           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4711      Cathleen       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4712      Constance      W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4713      Valerie        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4714      Paula          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4715      Cynthia        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4716      Patricia       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4717      Margaret       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4718      Patricia       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4719      Ruby           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4720      Susan          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4721      Rose           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4722      Irene          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4723      Barbara        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4724      Sherlyn        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4725      Jacqueline     W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4726      Margaret       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4727      Shontaria      W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4728      Deanna         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
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Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 111 of 116

               First Name     Last Name
 Claimant                                                          SSN      Date of Death
                (injured       (injured       Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)        person)
   4729      Mary           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4730      Amelia         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4731      Barbara        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4732      Mary           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4733      Juanita        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4734      Marla          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4735      Katherine      W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4736      Jada           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4737      Ruby           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4738      Mocheet        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4739      Latoya         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4740      Naomi          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4741      Raquela        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4742      Xontippie      W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4743      Dorothy        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4744      Dorothy        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4745      Ina            W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4746      Edith          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4747      Bessie         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4748      Belinda        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4749      Jaymie         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4750      Doris          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4751      Felicia        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4752      Valerie        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4753      Georgette      W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4754      Jacqueline     W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4755      Wanda          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4756      Maybelle       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4757      Elizabeth      W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4758      Janice         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4759      Nordina        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4760      Nordina        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4761      Ellen          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4762      Laveda         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4763      Ruby           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4764      Lisa           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4765      Emma           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4766      Kristina       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4767      Bernice        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4768      Sophia         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4769      Sonia          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4770      Margaret       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4771      Helen          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 284 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 112 of 116

               First Name     Last Name
 Claimant                                                          SSN      Date of Death
                (injured       (injured       Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)        person)
   4772      Anita          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4773      Deborah        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4774      Novlette       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4775      Ellen          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4776      Trelana        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4777      Jeanette       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4778      Donna          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4779      Anita          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4780      Melissa        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4781      Maria          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4782      Mildred        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4783      Deon           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4784      Jessie         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4785      Tambra         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4786      Linda          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4787      Barbara        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4788      Ishaveka       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4789      Tanisha        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4790      Sandra         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4791      Cheryl         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4792      Goldie         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4793      Angelia        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4794      Gail           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4795      Mae            W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4796      Martha         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4797      Shirley        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4798      Lashelle       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4799      Star           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4800      Janice         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4801      Barbara        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4802      Mary           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4803      Ayeshah        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4804      Yolanda        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4805      Stephanie      W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4806      Karen          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4807      Doris          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4808      Linda          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4809      Vanessa        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4810      Mary           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4811      Keisha         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4812      Jacqueline     W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4813      Rachel         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4814      Loretta        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
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Page 113 of 116

               First Name     Last Name
 Claimant                                                          SSN      Date of Death
                (injured       (injured       Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)        person)
   4815      Tiffany        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4816      Beatrice       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4817      Mildred        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4818      Sonya          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4819      Josephine      W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4820      Carol Ann      W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4821      Virginia       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4822      Barbara        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4823      Retha          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4824      Melba          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4825      Iris           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4826      Karen          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4827      Maureen        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4828      Carol          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4829      Elsie          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4830      Monyia         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4831      Darlene        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4832      Edria          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4833      Sharon         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4834      Chemaria       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4835      Rosa           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4836      Monice         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4837      Marjorie       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4838      Lynn           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4839      Katrina        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4840      Latrisha       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4841      Phyllis        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4842      Betty          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4843      Shirley        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4844      Jennifer       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4845      Vicki          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4846      Jenelle        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4847      Kimberly       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4848      Amanda         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4849      Brenda         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4850      Stephanie      W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4851      Helen M.       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4852      Bani           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4853      Darlene        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4854      Patricia       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4855      Lovie          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4856      Mary           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4857      Bengta         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
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               First Name     Last Name
 Claimant                                                          SSN      Date of Death
                (injured       (injured       Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)        person)
   4858      Cynthia        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4859      Patricia       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4860      Kitty          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4861      Heidi          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4862      Trina          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4863      Ellen          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4864      Deborah        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4865      Terry          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4866      Bridget        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4867      Susan          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4868      Donna          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4869      Barbara        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4870      Barbara        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4871      Sharon         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4872      Victoria       W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4873      Johnnie        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4874      Sallie         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4875      Deborah        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4876      Dawn           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4877      Debbie         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4878      Ina            W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4879      Donna          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4880      Dorothy        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4881      Jillian        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4882      Lynette        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4883      Angela         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4884      Carole         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4885      Sandy          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4886      Serena         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4887      Frances        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4888      Tina           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4889      Karen          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4890      Essie          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4891      Sandra         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4892      Claudette      W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4893      Charles        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4894      Ruby           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4895      GayAnn         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4896      Kathryn        W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4897      Martha         W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4898      Linda          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4899      Karen          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4900      Joyce          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 287 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 115 of 116

               First Name     Last Name
 Claimant                                                          SSN      Date of Death
                (injured       (injured       Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)        person)
   4901      Mary           W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4902      Nancy          W.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4903      Le             X.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4904      Anna           Y.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4905      Nadia          Y.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4906      Sandra         Y.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4907      Kathleen       Y.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4908      Carol          Y.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4909      Joanne         Y.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4910      Ila            Y.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4911      Donna          Y.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4912      Ella           Y.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4913      Carol          Y.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4914      Zenaida        Y.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4915      Bridgette      Y.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4916      Linda          Y.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4917      Angela         Y.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4918      Karen          Y.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4919      Alma           Y.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4920      Tammy          Y.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4921      JoAnn          Y.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4922      Joanna         Y.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4923      Hui Hui        Y.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4924      Jeanne         Y.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4925      Patricia       Y.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4926      Leticia        Y.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4927      Mattie         Z.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4928      Kely           Z.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4929      Kathleen       Z.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4930      Moregan        Z.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4931      Shelley        Z.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4932      Claudia        Z.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4933      Guillermina    Z.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4934      Jessica        Z.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4935      Thelma         Z.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4936      Hermine        Z.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4937      Benita         Z.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4938      Lasondra       Z.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4939      Sheri          Z.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4940      Theresa        Z.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4941      Georgene       Z.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4942      Pamela         Z.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4943      Evelyn         Z.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
40000/0600-45310406v1
       Case 23-01092-MBK            Doc -1    Filed 05/09/23      Entered 05/09/23 03:22:04          Desc
In re: LTL Management LLC, Case No.  23-12825-MBK
                                   Exhibit (s) A - Q Page 288 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit H-1 – Nachawati Law Firm - Redacted Claimant Schedule
Page 116 of 116

               First Name        Last Name
 Claimant                                                          SSN      Date of Death
                (injured          (injured    Date of Birth
    No.                                                          (last 4)   (if applicable)      Claim Type
                person)           person)
   4944      Marilynne      Z.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4945      Barbara        Z.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4946      Shirley        Z.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4947      Diane          Z.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4948      Linda          Z.               [Redacted]       [Redacted]    [Redacted]        [Redacted]
   4949      Monica         Z.               [Redacted]       [Redacted]    [Redacted]        [Redacted]




40000/0600-45310406v1
Case 23-01092-MBK    Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04   Desc
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                                   Exhibit H-2


                    Nachawati Law Firm Form Retainer Agreement
Case 23-01092-MBK   Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04   Desc
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Case 23-01092-MBK   Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04   Desc
                    Exhibit (s) A - Q Page 291 of 1377
Case 23-01092-MBK   Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04   Desc
                    Exhibit (s) A - Q Page 292 of 1377


                                Exhibit I-1


                           OnderLaw, LLC Claims
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 293 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 1 of 437
                         Exhibit I-1 - Onder Law LLC [REDACTED VERSION]

                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
    1       Phyllis      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    2       Nahida       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    3       Tammy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    4       Deborah      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    5       Wendy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    6       Sandra       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    7       Maria        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    8       Anna         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    9       Anna         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    10      Daphna       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    11      Tammy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    12      Ashley       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    13      Emelita      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    14      Bonnie       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    15      Virginia     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    16      Vicky        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    17      Monica       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    18      Sheila       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    19      Sheila       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    20      Melody       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    21      Ola          A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    22      Brenda       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    23      Nila         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    24      Giovanna     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    25      Cheryl       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    26      Murletta     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    27      Edwina       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    28      Barbara      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    29      Melinda      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    30      Gracie       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    31      Shirley      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    32      Monica       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    33      Sheryl       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    34      Marie        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    35      Patricia     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    36      Leigh        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    37      Annette      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    38      Esmeralda    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    39      Christina    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    40      Adriana      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    41      Elizabeth    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    42      Tammy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    43      Helen        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    44      Kim          A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    45      Bea          A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    46      Paula        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    47      Mary         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
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                                       Exhibit (s) A - Q Page 294 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 2 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
    48      Billie       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    49      Stefanie     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    50      Laura        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    51      Lourdes      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    52      Marielena    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    53      Tonui        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    54      Kristine     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    55      Starlite     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    56      Gloria       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    57      Brenda       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    58      Thomas,      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    59      Sandra       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    60      Teresa       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    61      Echols,      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    62      Nikita       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    63      Roberta      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    64      Sonya        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    65      Terry        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    66      Carrie       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    67      Jerrie       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    68      Linda        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    69      Janice       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    70      Betty        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    71      Carol        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    72      Bernadette   A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    73      Delette      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    74      Linda        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    75      Jessica      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    76      Stacy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    77      Barbara      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    78      Toni         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    79      Sherrie      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    80      Micki        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    81      Madjuianna   A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    82      Jennifer     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    83      Cheryl       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    84      Yvonne       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    85      Betty        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    86      Carole       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    87      Barbara      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    88      Janet        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    89      Janet        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    90      Cheri        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    91      Vicky        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    92      Patricia     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    93      June         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    94      Grace        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    95      Edith        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    96      Corinne      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 295 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 3 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
    97      Parthenia    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    98      Cliffie      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    99      Susan        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   100      Tracey       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   101      Terri        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   102      Markie       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   103      Lois         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   104      Marnie       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   105      Phyllis      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   106      Patricia     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   107      Tara         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   108      Patricia     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   109      Joyce        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   110      Irvenna      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   111      Sharon       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   112      Nancy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   113      Jacqueline   A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   114      Marsha       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   115      Kathy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   116      Susan        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   117      Tammy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   118      Martha       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   119      Jessica      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   120      Michelle     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   121      Rita         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   122      Carol        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   123      Shena        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   124      Thelma       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   125      Ida          A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   126      Myrna        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   127      Susan        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   128      Patricia     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   129      Hilda        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   130      Shawna       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   131      Elsa         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   132      Earlean      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   133      Jennifer     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   134      Elliza       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   135      Eva          A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   136      Ruth         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   137      Katherine    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   138      Alice        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   139      Deborah      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   140      Virginia     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   141      Rhonda       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   142      Pamela       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   143      Linda        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   144      Rose         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   145      Marlene      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 296 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 4 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   146      Serena       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   147      Judythe      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   148      Sylvia       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   149      Elizabeth    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   150      Joanne       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   151      Cory         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   152      Mary         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   153      Amanda       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   154      Juanita      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   155      Elida        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   156      Hilda        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   157      Soon,        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   158      Christina    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   159      Stasia       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   160      Ella         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   161      Patricia     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   162      Celeste      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   163      Diana        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   164      Debbie       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   165      Tracy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   166      Nuzhat       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   167      Nargis       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   168      Loretta      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   169      Makanani     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   170      Johanna      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   171      Bonita       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   172      Desiree      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   173      Deborah      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   174      Esther       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   175      Dorothy      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   176      Janet        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   177      Marva        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   178      Chyrel       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   179      Debra        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   180      Luann        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   181      Michelle     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   182      Regina       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   183      Belinda      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   184      Sharon       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   185      Mary         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   186      Gayle        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   187      Dianne       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   188      Olga         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   189      Oluwashola   A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   190      Frances      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   191      Kholoud      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   192      Erica        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   193      Joaquina     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   194      Melina       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 297 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 5 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   195      Guadalupe    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   196      Odelia       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   197      Fakhr        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   198      Patricia     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   199      Pamela       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   200      Disa         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   201      Debbie       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   202      Donna        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   203      Billie       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   204      Ellen        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   205      Sherry       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   206      Helen        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   207      Colleen      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   208      Lisa         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   209      Karen        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   210      Sherry       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   211      Laura        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   212      Elaine       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   213      Lindsay      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   214      Lisa         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   215      Janet        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   216      Pearl        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   217      AnnaMae      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   218      Sandra       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   219      Lisa         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   220      Edythe       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   221      Lisa         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   222      Katherine    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   223      Donna        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   224      Bernice      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   225      Erika        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   226      Valerie      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   227      Mary         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   228      Milissa      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   229      Prenella     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   230      Annette      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   231      Anna         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   232      Carol        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   233      Patricia     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   234      Charlene     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   235      Lizzie       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   236      Shanice      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   237      Denisha      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   238      Dorine       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   239      Norma        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   240      Joetta       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   241      Maudine      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   242      Harriet      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   243      Doris        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 6 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   244      Kimberli     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   245      Bettie       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   246      Dorothy      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   247      Dora         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   248      Florence     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   249      Julie        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   250      Glenda       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   251      Kay          A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   252      Bernice      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   253      Quintette    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   254      Jenny        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   255      Brenda       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   256      Natalie      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   257      Shirley      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   258      Deborah      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   259      Fatima       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   260      Theresa      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   261      Karen        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   262      Gema         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   263      Sarita       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   264      Maria        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   265      Marlene      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   266      Mary         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   267      Cynthia      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   268      Marian       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   269      Melissa      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   270      Mary         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   271      Rosa         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   272      June         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   273      Tracy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   274      Houstine     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   275      Kristi       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   276      Monet        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   277      Connie       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   278      Jennifer     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   279      Hope         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   280      Patricia     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   281      Beulah       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   282      Ebony        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   283      Dorothy      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   284      Ola          A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   285      Dominique    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   286      Pamela       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   287      Lafifia      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   288      Theresa      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   289      Bonnie       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   290      Iisha        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   291      Sioux        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   292      Kim          A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 299 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 7 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   293      Glena        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   294      Kristi       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   295      Cheryl       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   296      Marcelle     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   297      Jacquelyn    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   298      Rhonda       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   299      Alma         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   300      Kimberly     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   301      Jennifer     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   302      Kathy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   303      Betty        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   304      Carolyn      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   305      Julanna      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   306      Patricia     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   307      Amanda       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   308      Jennifer     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   309      Doris        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   310      Beth         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   311      Judith       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   312      Harriet      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   313      Lemuel       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   314      Sharron      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   315      Mary         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   316      Carol        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   317      Rosemarie    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   318      Sandra       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   319      Deborah      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   320      Bobbie       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   321      Terrie       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   322      Lillie       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   323      Charity      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   324      Maria        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   325      Misty        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   326      Gomez,       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   327      Tiffany      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   328      Linda        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   329      Kitty        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   330      Sarai        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   331      Lisa         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   332      Tammy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   333      Barbara      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   334      Shirley      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   335      Lavona       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   336      Dolores      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   337      Tracy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   338      Sandra       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   339      Eileen       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   340      Kay          A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   341      Stacey       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
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                                       Exhibit (s) A - Q Page 300 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 8 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   342      Kimberly     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   343      Rebecca      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   344      Maria        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   345      Maria        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   346      Maria        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   347      Rivera,      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   348      Jacqueline   A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   349      Elena        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   350      Melissa      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   351      Luz          A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   352      Valerie      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   353      Angelina     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   354      Susan        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   355      Alicia       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   356      Graciela     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   357      Maria        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   358      Yanira       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   359      Gail         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   360      Suzanne      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   361      Yvette       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   362      Diana        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   363      Betty        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   364      Jeanette     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   365      Rebecca      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   366      Elizabeth    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   367      Andrea       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   368      Amarilis     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   369      Gloria       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   370      Lana         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   371      Farkhanda    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   372      Hilary       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   373      Michelle     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   374      Jacqueline   A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   375      Diane        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   376      Barbara      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   377      Kathleen     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   378      Carolyne     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   379      Deandra      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   380      Edna         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   381      Ina          A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   382      Sarah        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   383      Rona         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   384      Jennifer     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   385      Zipora       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   386      Jacqueline   A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   387      Linda        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   388      Debbie       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   389      Phyllis      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   390      Angela       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 301 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 9 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   391      Annunziata   A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   392      Linda        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   393      Sarah        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   394      Frances      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   395      Karina       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   396      Lisa         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   397      Karen        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   398      Elaine       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   399      Regina       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   400      Teresa       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   401      Tracey       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   402      Gloria       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   403      Veola        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   404      Betty        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   405      Laura        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   406      Lisa         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   407      Jewell       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   408      Janice       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   409      Jeanette     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   410      Nancy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   411      Betty        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   412      Pleasant     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   413      Joyce        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   414      Cheryl       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   415      Carolyn      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   416      Leevearn     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   417      Robyn        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   418      Barbara      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   419      Joan         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   420      Demerita     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   421      Peggy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   422      Mary         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   423      Cynthia      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   424      Leah         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   425      Patricia     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   426      Virginia     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   427      Pamela       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   428      Nancy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   429      Dronda       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   430      Linda        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   431      Barbara      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   432      Virginia     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   433      Neoma        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   434      Charlene     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   435      Sandra       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   436      Patricia     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   437      Stacey       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   438      Wilma        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   439      Beverly      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 10 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   440      Rosa         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   441      Tina         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   442      Linda        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   443      Nancy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   444      Alice        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   445      Staci        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   446      Alicia       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   447      Sharlene     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   448      Victoria     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   449      Betty        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   450      Shanetta     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   451      Mary         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   452      Gwendolyn    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   453      Charlene     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   454      Erica        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   455      Kathy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   456      Lorraine     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   457      Tammy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   458      Dorothy      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   459      Kasia        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   460      LaTonya      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   461      Sherry       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   462      Nathalie     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   463      Debra        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   464      Geraldine    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   465      Oceola       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   466      Cassandra    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   467      Tamara       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   468      Viola        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   469      Cheryl       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   470      Sabrina      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   471      Roberta      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   472      Amber        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   473      Denise       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   474      Martha       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   475      Leslie       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   476      Lorae        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   477      Susan        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   478      Lorraine     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   479      Deborah      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   480      Catherine    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   481      Bonnie       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   482      Diane        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   483      Ollie        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   484      Mary         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   485      Nicole       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   486      Earnestine   A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   487      Emma         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   488      Patricia     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 11 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   489      Tammy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   490      Carol        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   491      Brenda       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   492      Cindy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   493      Heather      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   494      Margaretta   A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   495      Tanjanika    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   496      Brenda       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   497      Janet        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   498      Heidi        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   499      Juanita      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   500      Melissa      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   501      Hannah       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   502      Louise       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   503      Gayle-Jean   A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   504      Pamela       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   505      Kimberly     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   506      JoAnn        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   507      Ann          A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   508      Barbara      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   509      Julia        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   510      Patricia     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   511      Louise       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   512      Shawn        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   513      Cora         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   514      Dona         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   515      Beverly      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   516      Jacqueline   A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   517      Maria        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   518      Carol        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   519      Rosa         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   520      Ella         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   521      Anna         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   522      Wanda        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   523      Sharon       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   524      Beverly      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   525      Kathleen     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   526      Stacie       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   527      Deborah      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   528      Marchell     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   529      Liza         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   530      Lizanne      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   531      Ivette       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   532      Amy          A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   533      Mildred      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   534      Dolores      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   535      Adriana      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   536      Nancy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   537      Yolanda      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 304 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 12 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   538      Nelly        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   539      Nora         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   540      Nancy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   541      Carolyn      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   542      Tanya        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   543      Tracy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   544      Samantha     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   545      Rice,        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   546      Christine    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   547      Brandi       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   548      Valerie      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   549      Jordan       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   550      Valerie      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   551      Eunice       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   552      Dorian       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   553      Anita        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   554      Rachel       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   555      Dawn         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   556      Martha       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   557      Mary         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   558      Dalia        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   559      Cecilia      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   560      Marlene      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   561      Annette      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   562      Victoria     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   563      Juana        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   564      Bonnie       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   565      April        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   566      Janice       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   567      Rocshell     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   568      Nagina       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   569      Vanessa      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   570      Lois         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   571      April        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   572      Debra        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   573      Susan        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   574      Betty        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   575      Donna        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   576      Barbara      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   577      Anita        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   578      Edna         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   579      Ramona       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   580      Rita         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   581      Crystal      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   582      Karen        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   583      Robin        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   584      Christie     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   585      Linda        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   586      Janell       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 305 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 13 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   587      Tammy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   588      Kathleen     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   589      Mary         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   590      Patricia     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   591      Iris         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   592      Brenda       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   593      Dianne       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   594      Elaine       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   595      Rosemary     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   596      Evelyn       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   597      Verna        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   598      June         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   599      Anna         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   600      Thea         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   601      Juanita      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   602      Caren        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   603      Christine    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   604      Emma         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   605      Sharon       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   606      Pamela       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   607      Karen        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   608      Barbara      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   609      Tammy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   610      Arnita       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   611      Donna        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   612      Sue          A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   613      Emily        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   614      Felicia      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   615      Stavoula     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   616      Mary         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   617      Teana        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   618      Anna         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   619      Rosa         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   620      Karen        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   621      Roseanna     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   622      Katherine    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   623      June         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   624      Melissa      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   625      Linda        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   626      Audrey       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   627      Teresa       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   628      Peggy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   629      Crystal      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   630      Ruth         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   631      Christina    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   632      Maxine       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   633      Ruby         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   634      Carla        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   635      Laura        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 306 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 14 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   636      Teresa       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   637      Ghyzal       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   638      Patricia     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   639      Carol        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   640      Denise       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   641      Judith       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   642      Marie        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   643      Geraldine    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   644      Wanda        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   645      Brenda       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   646      Nayna        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   647      Karen        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   648      Margaret     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   649      Janice       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   650      Denise       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   651      Carmen       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   652      Carolyn      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   653      Kathleen     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   654      Glenda       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   655      Isabella     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   656      Cynthia      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   657      Phyllis      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   658      Janet        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   659      Leslee       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   660      Edwina       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   661      Carmen       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   662      Starlic      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   663      Cherylann    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   664      Candy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   665      Yvette       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   666      Melvina      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   667      Rena         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   668      Margorie     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   669      Donna        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   670      Anita        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   671      Susie        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   672      Alisha       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   673      Tina         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   674      Doris        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   675      Keeler       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   676      Brenda       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   677      Elizabeth    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   678      Faith        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   679      Carol        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   680      Marie        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   681      Lois         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   682      Denice       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   683      Blondine     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   684      Claudia      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 15 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   685      Vaoita       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   686      Diane        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   687      Beverly      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   688      Laura        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   689      Tiffinie     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   690      Tracie       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   691      Marina       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   692      Jewell       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   693      Nancy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   694      Shameka      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   695      Evelyn       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   696      Leanora      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   697      Toni         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   698      Ana          A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   699      Sheila       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   700      Lillian      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   701      Rhonda       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   702      Barbara      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   703      Maude        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   704      Mary         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   705      April        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   706      Brittany     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   707      Laresa       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   708      Pearl        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   709      Shinette     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   710      Joanne       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   711      Joan         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   712      Filifili     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   713      Aida         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   714      Lillian      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   715      Evangelina   A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   716      Christine    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   717      Laura        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   718      Jody         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   719      Susan        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   720      Sandra       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   721      Magda        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   722      Dorothy      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   723      Emmy         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   724      Victoria     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   725      Kathleen     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   726      Susan        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   727      Nuemi        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   728      Lithia       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   729      Karen        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   730      Iris         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   731      Juanita      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   732      Damaris      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   733      Vilma        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 16 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   734      Penny        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   735      Rosemary     A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   736      Kathryn      A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   737      Tami         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   738      Mary         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   739      Nadia        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   740      Zenona       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   741      Stacy        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   742      Martha       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   743      Elvira       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   744      Gina         A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   745      Blanca       A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   746      Angel        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   747      Robin        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   748      Robin        A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   749      Catherine    A.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   750      Tanya        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   751      Susan        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   752      Savannah     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   753      Cassandra    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   754      Karla        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   755      Carol        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   756      Ivette       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   757      Crystal      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   758      Antoinette   B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   759      Laura        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   760      Dolores      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   761      Susan        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   762      Betsy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   763      Kara         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   764      Nettie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   765      Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   766      Emiliana     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   767      Martha       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   768      Trina        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   769      Jacqueleen   B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   770      Tanya        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   771      Ada          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   772      Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   773      Brenda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   774      Valerie      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   775      Tina         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   776      Lori         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   777      Perianne     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   778      Lisa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   779      Happye       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   780      Alma         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   781      Denise       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   782      Vilma        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 309 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 17 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   783      Joanne       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   784      Karen        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   785      Brigit       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   786      Latrena      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   787      Joanne       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   788      Lakiya       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   789      Juawana      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   790      Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   791      Janice       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   792      Regina       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   793      Marlene      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   794      Elizabeth    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   795      Karen        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   796      Latoya       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   797      Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   798      Jennifer     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   799      Teresa       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   800      Ruth         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   801      Cheryl       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   802      Kimberly     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   803      Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   804      Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   805      Brenda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   806      Shirley      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   807      Carol        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   808      Lisa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   809      Leslie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   810      Bernell      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   811      Angela       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   812      Gevincia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   813      Lynn         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   814      Judy         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   815      Lisa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   816      Gail         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   817      Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   818      Margaret     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   819      Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   820      Amy          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   821      Jeanne       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   822      Marcie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   823      Nettie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   824      Trena        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   825      Shazia       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   826      Rhonda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   827      Carmen       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   828      Jeannie      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   829      Marion       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   830      Marta        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   831      Gloria       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 310 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 18 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   832      Catherine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   833      Bethany      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   834      Joyce        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   835      Sandra       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   836      Peggy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   837      Stephanie    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   838      Sherri       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   839      Nanette      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   840      Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   841      Thomasine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   842      Coreena      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   843      Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   844      Carol        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   845      Sandra       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   846      Grace        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   847      Pamela       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   848      Jacqueline   B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   849      Deborah      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   850      Brenda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   851      Nettie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   852      Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   853      Lynda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   854      Donna        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   855      Mable        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   856      Tina         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   857      Anne         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   858      Emma         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   859      Tammy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   860      Susanne      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   861      Colleen      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   862      Christine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   863      Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   864      Cora         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   865      Joyce        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   866      Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   867      Nancy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   868      Kathy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   869      Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   870      Sharon       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   871      Daria        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   872      Treva        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   873      Jane Ann     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   874      Debra        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   875      Ramona       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   876      Marci        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   877      Vasvika      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   878      Nazima       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   879      Susan        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   880      Sadie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 311 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 19 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   881      John,        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   882      Ewa          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   883      Yolanda      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   884      Elmira       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   885      Andrea       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   886      Sherry       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   887      Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   888      Brenda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   889      Alexandria   B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   890      Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   891      Betty        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   892      Sally        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   893      Sue          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   894      Vickey       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   895      Shashonna    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   896      Alvina       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   897      Mable        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   898      Lori         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   899      Georgetta    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   900      Yuvonne      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   901      Sandra       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   902      Belinda      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   903      Deanna       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   904      Louise       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   905      LuGusta      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   906      Joellen      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   907      Wilma        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   908      Diane        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   909      Michelle     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   910      Kimberly     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   911      Diana        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   912      Donlyn       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   913      Deedra       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   914      Christine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   915      Benita       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   916      Teresa       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   917      Beatrice     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   918      Gilda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   919      Marcia       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   920      Janis        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   921      Eileen       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   922      Rosemary     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   923      Jana         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   924      Cecelia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   925      Susan        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   926      Julie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   927      Judith       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   928      Debra        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   929      Dana         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 312 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 20 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   930      Michelle     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   931      Prunella     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   932      Lisa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   933      Karen        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   934      Lynn         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   935      Shantica     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   936      Vanessa      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   937      Joyce        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   938      Lucille      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   939      Ardelia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   940      Vanessa      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   941      Bertha       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   942      Joan         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   943      Beverly      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   944      Pamela       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   945      Delores      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   946      Tammie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   947      Cynthia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   948      Annie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   949      Andrea       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   950      Zlatica      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   951      Ilona        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   952      Marie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   953      Martha       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   954      Judith       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   955      Georgia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   956      Val          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   957      Bridget      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   958      Anne         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   959      Lafleche     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   960      Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   961      Harriet      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   962      Rebecca      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   963      Cynthia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   964      Madelyn      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   965      Anne         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   966      Ethel        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   967      Gladys       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   968      Colleen      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   969      Nancy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   970      Joyce        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   971      Jessie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   972      Catherine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   973      Dorree       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   974      Jo           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   975      Susan        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   976      Joanne       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   977      Margaret     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   978      Christine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                          Exhibit (s) A - Q Page 313 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 21 of 437
                First
                             Last Name
 Claimant       Name                                                        Date of
                              (injured    Date of Birth
    No.       (injured                                          SSN        Death (if
                              person)
              person)                                         (last 4)    applicable)    Claim Type
    979     Karen           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    980     Linda           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    981     Marya           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    982     Melinda         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    983     Tracy           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    984     Sonja           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    985     Angela          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    986     Lyndie          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    987     Barbara         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    988     Jane            B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    989     Jessica         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    990     Jeanette        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    991     Regina          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    992     Lori            B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    993     Brandy          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    994     Sureka          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    995     Jacqueolyn      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    996     Zoe             B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    997     Phyllis         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    998     Peggy           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
    999     Joanna          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1000     Joanne          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1001     Diana           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1002     Sherie          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1003     Sherie          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1004     Linda           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1005     Sonya           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1006     Barbara         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1007     Michelle        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1008     Denise          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1009     Mary            B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1010     Sondra          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1011     Hazel           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1012     Elizabeth       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1013     Mary            B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1014     Shurhonda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1015     Joan            B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1016     Ok              B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1017     Andranette      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1018     Shenna          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1019     Lucia           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1020     Patricia        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1021     Laura           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1022     India           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1023     Victoria        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1024     Sheresa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1025     (Snellgrove),   B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1026     Glenda          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1027     Donna           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 314 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 22 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   1028     Dionnie      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1029     Kathryn      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1030     Ariana       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1031     Nancy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1032     Sheri        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1033     Margaret     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1034     Margaret     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1035     Judy         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1036     Victoria     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1037     Gale         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1038     Wendy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1039     Sharan       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1040     Amanda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1041     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1042     Lorraine     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1043     Deborah      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1044     Irene        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1045     Rebecca      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1046     Marsha       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1047     Judith       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1048     Marilyn      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1049     Gloria       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1050     Vickie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1051     Joan         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1052     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1053     Christine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1054     Carol        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1055     Carol        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1056     Sandra       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1057     Marcy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1058     Dian         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1059     Donna        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1060     Yvette       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1061     Robin        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1062     Michell      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1063     Karin        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1064     Susan        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1065     Helen        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1066     Olivia       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1067     Deaster      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1068     Patty        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1069     Deaster      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1070     Diane        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1071     Tracy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1072     Chavez,      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1073     Kathleen     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1074     Irmgard      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1075     Deborah      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1076     Ruby         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 23 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   1077     Denise       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1078     Cynthia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1079     Jennifer     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1080     Jane         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1081     Annette      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1082     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1083     Catherine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1084     Katrina      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1085     Elizabeth    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1086     Gwen         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1087     Rebecca      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1088     Deborah      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1089     Rose         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1090     Delores      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1091     Rae Cene     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1092     Karla        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1093     Maria        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1094     Francis      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1095     Deborah      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1096     Bobbie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1097     Beverly      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1098     Theresa      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1099     Valerie      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1100     Theresa      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1101     Shirley      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1102     Jessie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1103     Christine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1104     Pamela       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1105     Bernice      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1106     Denese       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1107     Angela       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1108     Melissa      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1109     Christy      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1110     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1111     Mabel        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1112     Lisa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1113     Amanda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1114     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1115     Nyx          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1116     Bernice      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1117     Darla        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1118     Elaine       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1119     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1120     Vickie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1121     Beverly      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1122     Cheryl       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1123     Gale         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1124     India        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1125     Beverly      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 24 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   1126     Diane        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1127     Thelma       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1128     Edna         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1129     Teshina      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1130     Sandra       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1131     Janice       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1132     Marie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1133     Cheryl       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1134     Pamela       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1135     Beverly      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1136     Dianne       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1137     Doreen       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1138     Elmira       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1139     Lois         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1140     Diana        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1141     Joann        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1142     Bertha       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1143     Marta        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1144     Caperria     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1145     Sabra        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1146     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1147     Sherry       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1148     Deidre       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1149     Delia        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1150     Sheryle      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1151     Jacqueline   B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1152     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1153     Helen        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1154     Roberta      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1155     Kendall      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1156     Sue          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1157     Julia        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1158     Joyce        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1159     Hazel        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1160     Maletta      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1161     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1162     Mitzi        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1163     Peggy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1164     Lynne        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1165     Susan        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1166     Pamela       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1167     Lou          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1168     Elizabeth    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1169     Melba        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1170     Michele      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1171     June         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1172     Debra        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1173     Dianne       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1174     Beatrice     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 25 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   1175     Helma        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1176     Phyllis      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1177     Phyllis      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1178     Melissa      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1179     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1180     Mildred      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1181     Catherine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1182     Lesia        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1183     Lisa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1184     Cynthia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1185     Caleeta      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1186     Sandra       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1187     Christine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1188     Inez         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1189     Brenda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1190     Laura        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1191     Loretta      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1192     Ella         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1193     Fay          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1194     Sandra       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1195     Vicki        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1196     Christina    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1197     Gail         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1198     Nancy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1199     Karry        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1200     Anita        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1201     Theresa      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1202     Aldridge,    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1203     Pamela       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1204     Terri        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1205     Donna        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1206     Melissa      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1207     Classie      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1208     Vonda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1209     Susanna      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1210     Elizabeth    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1211     Rosemary     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1212     Heart,       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1213     Kalisa       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1214     Martha       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1215     Katrina      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1216     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1217     Betty        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1218     Shelia       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1219     Shelia       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1220     Delores      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1221     Sharon       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1222     Brenda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1223     Mavis        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 318 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 26 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   1224     Joanne       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1225     Ann          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1226     Shirley      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1227     Janet        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1228     Jill         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1229     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1230     Irene        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1231     Donna        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1232     Ruth         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1233     Grace        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1234     Sandra       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1235     Lyndell      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1236     Beverly      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1237     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1238     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1239     Elaine       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1240     Monique      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1241     Shannon      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1242     Cinda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1243     Debora       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1244     Stacy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1245     Corina       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1246     Tracey       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1247     Denise       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1248     Susan        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1249     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1250     Helen        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1251     Pamela       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1252     Jeannette    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1253     Margariete   B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1254     Elizabeth    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1255     Sherrie      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1256     Twila        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1257     Penny        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1258     Daren        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1259     Karen        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1260     Desiree      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1261     Pamela       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1262     Betty        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1263     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1264     Lena         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1265     Kathryn      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1266     Richarlene   B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1267     Doreen       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1268     Lorna        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1269     Sheryl       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1270     Delores      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1271     Donna        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1272     Sylvia       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 319 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 27 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   1273     Sylvia       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1274     Julia        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1275     Perven       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1276     Shahida      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1277     Roshawn      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1278     Zelphia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1279     Maria        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1280     Adele        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1281     Jacqueline   B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1282     Kathleen     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1283     Ruth         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1284     Margaret     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1285     Ilona        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1286     Faith        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1287     Susan        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1288     Laura        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1289     Ann          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1290     Camilla      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1291     Vallerie     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1292     Lee          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1293     Cathy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1294     Elizabeth    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1295     Patty        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1296     Leah         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1297     Norma        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1298     Gloria       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1299     Sharon       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1300     Marilou      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1301     Carllita     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1302     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1303     Lola         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1304     Debra        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1305     Mamie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1306     Denise       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1307     Hiheshia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1308     Lawonda      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1309     Michelle     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1310     DJ           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1311     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1312     Roberta      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1313     Lillian      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1314     Audria       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1315     Anton        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1316     Mamie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1317     Rosie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1318     Susan        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1319     Susan        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1320     Debbie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1321     Connie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 320 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 28 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   1322     Ora          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1323     Hazel        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1324     Valencia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1325     Lois         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1326     Tina         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1327     Elsie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1328     Debra        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1329     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1330     Helen        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1331     Lucy         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1332     Ida          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1333     Jacquelyn    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1334     Sharon       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1335     Megan        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1336     Lori         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1337     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1338     Phyllis      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1339     Lori         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1340     Marina       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1341     Kristine     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1342     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1343     Mayra        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1344     Kathleen     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1345     Darla        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1346     Julie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1347     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1348     Yolanda      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1349     Felicitas    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1350     LaJuana      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1351     Virginia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1352     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1353     Cathleen     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1354     Jennifer     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1355     Julia        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1356     Betty        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1357     Sandra       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1358     Tashay       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1359     Shelia       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1360     Michelle     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1361     Margot       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1362     Francesca    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1363     Juana        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1364     Beatriz      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1365     Annie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1366     Diane        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1367     Renee        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1368     Suellen      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1369     Lisa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1370     Tanya        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 321 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 29 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   1371     Elizabeth    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1372     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1373     Peggy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1374     Jacqueline   B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1375     Delia        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1376     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1377     Betty        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1378     Claudia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1379     Melissa      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1380     Patsy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1381     Maria        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1382     Catherine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1383     Vickie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1384     Debra        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1385     Yvonne       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1386     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1387     Crystal      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1388     Judy         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1389     Geneshia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1390     Nancy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1391     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1392     Amanda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1393     Suzan        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1394     Clarice      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1395     Lola         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1396     Carolyn      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1397     Ricka        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1398     Karen        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1399     Pamela       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1400     Amanda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1401     Donna        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1402     Karen        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1403     Susan        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1404     Donna        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1405     Della        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1406     Lee          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1407     Lisa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1408     Gail         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1409     Susan        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1410     Julie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1411     Etheleen     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1412     Gwendolyn    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1413     Robin        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1414     Joyce        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1415     Dale         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1416     Virginia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1417     Guadalupe    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1418     Darlene      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1419     Diane        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK            Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 30 of 437
                  First
                            Last Name
 Claimant         Name                                                     Date of
                             (injured    Date of Birth
    No.         (injured                                       SSN        Death (if
                             person)
                person)                                      (last 4)    applicable)    Claim Type
   1420     Emily          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1421     Frances        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1422     Brenda         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1423     Sharon         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1424     Merlene        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1425     Cheryl         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1426     Judy           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1427     Susan          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1428     Marilyn        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1429     Virgina        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1430     Shelby         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1431     Miriam         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1432     Kelly          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1433     Rosemary       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1434     Madeline       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1435     Patricia       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1436     Evelyn         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1437     Lonalee        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1438     Iris           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1439     Gaylene        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1440     Paula          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1441     Lisa           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1442     Irma           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1443     Maria          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1444     Tomasa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1445     Ellen          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1446     Aida           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1447     Shirley        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1448     Kelly          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1449     Linda          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1450     Cherryl        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1451     Linda          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1452     Wanda          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1453     Susan          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1454     Betty          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1455     Deborah        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1456     ,              B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1457     Heather        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1458     Kathleen       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1459     Deborah        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1460     Salina         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1461     Karen          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1462     Mary           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1463     Denise         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1464     Samantha       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1465     Cheryl         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1466     Jaclyn         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1467     Peggy          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1468     Tonsie         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 323 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 31 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   1469     Phyllis      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1470     Alexcia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1471     Lora         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1472     Vinnie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1473     Marcella     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1474     Michele      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1475     Kara         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1476     Jeri         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1477     Dianne       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1478     Katherine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1479     Suzette      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1480     Joan         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1481     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1482     Twila        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1483     Marie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1484     Blanche      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1485     Jacqueline   B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1486     Nancy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1487     Marcy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1488     Gertrude     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1489     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1490     Charlotte    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1491     Gladys       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1492     Gisele       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1493     Arlean       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1494     Theresa      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1495     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1496     Elizabeth    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1497     Virginia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1498     Blanca       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1499     Tammatha     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1500     Janet        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1501     Charlene     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1502     Antonia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1503     Denice       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1504     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1505     Tonya        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1506     Paula        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1507     Vanessa      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1508     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1509     Jennifer     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1510     Maxine       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1511     Lisa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1512     Meera        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1513     Kheynehyah   B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1514     Elizabeth    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1515     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1516     Donna        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1517     Lisa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 324 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 32 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   1518     Gertrude     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1519     Janet        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1520     Lachrisha    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1521     Annette      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1522     Carla        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1523     Tina         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1524     Elizabeth    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1525     Leijuana     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1526     Terri        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1527     Bonnie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1528     Marie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1529     Ivetta       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1530     Tamara       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1531     Bridgette    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1532     Marlena      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1533     Barbie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1534     Gail         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1535     Dana         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1536     Safara       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1537     Safara       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1538     Vivika       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1539     Dorothy      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1540     Yvonne       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1541     Elizabeth    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1542     Marjorie     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1543     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1544     Phyllis      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1545     Cynthia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1546     Chamia       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1547     Carrie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1548     Joanne       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1549     Sally        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1550     Cynthia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1551     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1552     Kimberly     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1553     Gertrude     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1554     Margaret     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1555     Janey        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1556     Terri        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1557     Amy          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1558     Kelly        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1559     Debra        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1560     Cherylyn     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1561     Cathy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1562     Ada          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1563     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1564     Dinise       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1565     Melba        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1566     Sheila       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 325 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 33 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   1567     Carol        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1568     Kelsi        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1569     Donna        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1570     Carolyn      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1571     Connie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1572     Lynn         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1573     Kimberly     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1574     Louisa       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1575     Dorothy      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1576     Sharon       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1577     Catherine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1578     Courtney     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1579     Carol        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1580     Sally        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1581     Yolanda      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1582     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1583     Tracey       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1584     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1585     Debra        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1586     Shawna       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1587     Sejvah       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1588     Bernadine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1589     Annette      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1590     Alice        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1591     Dwana        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1592     Lucille      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1593     Elaine       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1594     Essie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1595     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1596     Sharon       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1597     Elizabeth    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1598     Madeline     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1599     Josephine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1600     Hamilton,    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1601     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1602     Dianna       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1603     Deborah      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1604     Heidi        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1605     Janet        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1606     Lewanda      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1607     Rachel       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1608     Emma         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1609     Leta         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1610     Michelle     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1611     Rosie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1612     Kathleen     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1613     Vilma        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1614     Carrie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1615     Genee        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK           Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 34 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
   1616     Nola          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1617     Lawanda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1618     M             B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1619     Deeanna       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1620     Farrie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1621     Chadsidy      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1622     Denice        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1623     Tandra        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1624     Mary          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1625     Jean          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1626     Ramona        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1627     Irene         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1628     Barbara       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1629     Ethel         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1630     Barbara       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1631     Helena        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1632     Shawn         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1633     Julie         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1634     Jannet        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1635     Ida           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1636     Carolann      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1637     Vanessa       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1638     Donna         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1639     Mattie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1640     Caren         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1641     Dawn          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1642     Lesley        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1643     Williamson,   B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1644     Eleanor       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1645     Merlin        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1646     Pamela        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1647     Mary          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1648     Dianna        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1649     Imojean       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1650     Latrice       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1651     Mary          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1652     Geedell       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1653     Joan          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1654     Kimberly      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1655     Sharon        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1656     Nancy         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1657     Sheryl        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1658     Stella        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1659     Nicole        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1660     Bernice       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1661     Crystal       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1662     Dorothy       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1663     Patricia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1664     Loretta       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 35 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   1665     Cindy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1666     Joen         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1667     June         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1668     Kathleen     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1669     Sebrena      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1670     Frana        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1671     Nancy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1672     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1673     Floretta     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1674     Ola          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1675     Joyce        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1676     Amber        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1677     Lisa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1678     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1679     Belinda      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1680     Janice       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1681     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1682     Melanie      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1683     Betsy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1684     Kay          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1685     Jennifer     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1686     Audrey       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1687     Donna        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1688     Victoria     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1689     Malissia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1690     Phyllis      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1691     Shannon      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1692     Bonnie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1693     Cheri        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1694     Rosa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1695     Laura        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1696     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1697     Luisa        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1698     Carol        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1699     Anita        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1700     Tanique      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1701     Dinah        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1702     Theresa      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1703     Joan         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1704     Genella      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1705     Joanne       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1706     Dorothy      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1707     Denise       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1708     Margie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1709     Pat          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1710     Merrilee     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1711     Lashanda     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1712     Collette     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1713     Vanessa      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 328 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 36 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   1714     Peggy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1715     Marsha       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1716     Vicki        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1717     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1718     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1719     Susan        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1720     Fannie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1721     Susan        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1722     Connie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1723     Ester        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1724     Martha       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1725     Lisa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1726     Jennifer     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1727     Tammy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1728     Susan        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1729     Irene        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1730     Tami         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1731     Katherine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1732     Nanette      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1733     Kathleen     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1734     Valerie      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1735     Mildred      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1736     Cheryl       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1737     Daurrannia   B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1738     Florence     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1739     Miesha       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1740     Betty        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1741     Vicki        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1742     JoAnn        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1743     Jacalyn      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1744     Colleen      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1745     Joyce        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1746     Joaquina     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1747     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1748     Teresa       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1749     Laura        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1750     Catherine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1751     Cynthia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1752     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1753     Frankie      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1754     Vera         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1755     Georgette    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1756     Karen        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1757     Charlotte    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1758     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1759     Diane        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1760     Judith       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1761     Ruth         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1762     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 37 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   1763     Cathy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1764     Helen        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1765     Jami         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1766     Rhonda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1767     Bridget      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1768     Regina       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1769     Carla        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1770     Irene        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1771     Karen        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1772     Nadaja       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1773     Sheila       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1774     Casey        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1775     Alice        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1776     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1777     Gisella      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1778     Kathleen     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1779     Susan        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1780     Sandra       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1781     Laurie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1782     Sharla       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1783     Laurie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1784     Wanda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1785     Willette     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1786     Deborah      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1787     Wanda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1788     Delores      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1789     Kimberly     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1790     Elizabeth    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1791     Liane        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1792     Elizabeth    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1793     Kantia       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1794     April        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1795     Polly        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1796     Valerie      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1797     Jean         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1798     (Normandin), B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1799     Joyce        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1800     Vickie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1801     Laura        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1802     Sherryl      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1803     Marian       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1804     Ruth         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1805     Christine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1806     Janet        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1807     June         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1808     Davonna      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1809     Shirley      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1810     Cindy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1811     Suzanne      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 38 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   1812     Lora         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1813     Lisa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1814     Lynda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1815     Tracy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1816     Eunice       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1817     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1818     Tammy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1819     Tammy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1820     Diane        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1821     Shannon      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1822     Ana          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1823     Carmen       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1824     Rebecca      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1825     Carole       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1826     Gwenda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1827     Sharon       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1828     Jeannette    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1829     Charlotte    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1830     Stephanie    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1831     Margarete    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1832     Norma        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1833     Doris        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1834     Charlene     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1835     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1836     Kerry        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1837     Tamera       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1838     Bonnie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1839     Paula        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1840     Delores      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1841     Dorothy      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1842     Doriann      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1843     Helen        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1844     Maggie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1845     Amalia       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1846     Kara         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1847     Theresa      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1848     Goyena       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1849     Nancy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1850     Yvonne       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1851     Mandy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1852     Marion       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1853     Rene         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1854     Jeanie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1855     Jodie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1856     Jeanette     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1857     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1858     Carolyn      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1859     Katherine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1860     Deborah      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 39 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   1861     Jeannine     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1862     Juanita      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1863     Lynne        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1864     Susan        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1865     Shirley      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1866     Sammons,     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1867     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1868     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1869     Debra        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1870     Tammie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1871     Darlene      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1872     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1873     Beverly      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1874     Darla        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1875     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1876     Lisa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1877     Jan          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1878     Deanna       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1879     Brittany     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1880     Margaret     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1881     Melissa      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1882     Katherine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1883     Daphne       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1884     Betty        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1885     Donna        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1886     Ruth         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1887     Amber        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1888     Myra         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1889     Betty        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1890     Josette      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1891     Rita         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1892     Kimberly     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1893     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1894     Terri        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1895     Vivian       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1896     Melanie      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1897     Janet        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1898     Brenda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1899     Bridgette    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1900     Yolanda      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1901     Sandra       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1902     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1903     Lisa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1904     Sandy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1905     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1906     Helene       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1907     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1908     Jennifer     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1909     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 40 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   1910     Stephanie    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1911     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1912     Paula        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1913     Marilyn      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1914     Maggie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1915     Teresa       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1916     Kesheila     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1917     Annette      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1918     Michelle     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1919     Donna        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1920     Virginia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1921     Anne         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1922     Fay          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1923     Renetta      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1924     Lori         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1925     Roberta      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1926     Lisa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1927     Rebecca      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1928     Belinda      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1929     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1930     Katherine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1931     Shana        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1932     Kenia        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1933     Kathryn      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1934     Carletha     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1935     Edna         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1936     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1937     Kathleen     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1938     Katherine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1939     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1940     Gari         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1941     Geneva       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1942     Dionne       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1943     Tina         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1944     Jaime        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1945     Jana         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1946     Leola        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1947     Ashley       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1948     Deborah      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1949     Moneshia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1950     Amanda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1951     Danitria     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1952     Marcia       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1953     Janet        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1954     Carol        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1955     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1956     Earnestine   B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1957     Theresa      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1958     Josephine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 333 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 41 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   1959     Aloma        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1960     Birdie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1961     Sarah        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1962     Carolyn      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1963     Laura        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1964     Brandy       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1965     Georgia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1966     Carol        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1967     Joyce        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1968     Shauna       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1969     Sandra       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1970     Janice       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1971     Rachel       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1972     JaeAnn       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1973     Jenny        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1974     Andrea       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1975     Clara        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1976     Tommie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1977     Debra        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1978     Judy         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1979     Cindy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1980     Virginia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1981     Melody       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1982     Rita         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1983     Lisa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1984     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1985     Joyce        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1986     Deborah      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1987     Billie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1988     Dena         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1989     Gloria       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1990     Kennedy      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1991     Deborah      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1992     Alexis       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1993     Tasha        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1994     Martha       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1995     Nancy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1996     Arleen       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1997     Ilene        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1998     Sandra       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   1999     Ann          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2000     Patrice      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2001     Kimberlee    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2002     Sherri       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2003     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2004     Deborah      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2005     Karen        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2006     Peggy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2007     Marianne     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                        Exhibit (s) A - Q Page 334 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 42 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
   2008     Tammara       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2009     Johnean       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2010     Tamekia       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2011     Carol         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2012     Tammy         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2013     Mary          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2014     Brandy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2015     Evelyn        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2016     Belisah       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2017     Kimberly      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2018     Deborah       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2019     Helen         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2020     Wendy         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2021     Barbara       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2022     Linda         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2023     Rhonda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2024     Barbara       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2025     Rebecca       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2026     Nanci         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2027     Marion        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2028     Kim           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2029     Linda         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2030     Flossie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2031     Kay           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2032     Evelyn        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2033     Deborah       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2034     Margie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2035     Katherine     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2036     April         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2037     Mary          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2038     Maureen       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2039     Norma         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2040     Valarie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2041     Betty         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2042     Sherri        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2043     Sally         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2044     Janice        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2045     Rachel        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2046     LaJana        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2047     Cheryl        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2048     Myrna         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2049     Maureen       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2050     Nancy         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2051     Harrington,   B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2052     Marianne      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2053     Nichole       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2054     Barbara       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2055     Barnet        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2056     Marie         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 43 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   2057     Marjorie     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2058     Wanda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2059     Noelle       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2060     Phyllis      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2061     Robertia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2062     Khristine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2063     Laura        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2064     Catherine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2065     Janet        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2066     Marilynn     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2067     Judith       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2068     Joan         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2069     Cindy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2070     Sandra       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2071     Rosemarie    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2072     Terri        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2073     Ruth         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2074     Judy         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2075     Brigette     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2076     Jeanette     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2077     Dianne       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2078     Karen        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2079     Brenda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2080     Amber        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2081     Virgeous     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2082     Charlotte    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2083     Merlinda     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2084     Maura        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2085     Ruby         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2086     Jacqueline   B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2087     Amber        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2088     Shana        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2089     Tiffany      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2090     Tina         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2091     Carol        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2092     Sharon       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2093     Rose         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2094     Julia        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2095     Jessie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2096     Angela       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2097     Elaine       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2098     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2099     Muriel       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2100     Katherine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2101     Jyone        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2102     Sylvia       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2103     Nancy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2104     Lorraine     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2105     Loradean     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 44 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   2106     Christine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2107     Reolia       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2108     (Vaughn),    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2109     Beverly      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2110     Elizabeth    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2111     Marie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2112     Brenda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2113     Allyson      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2114     Susan        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2115     Lavonda      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2116     Rebecca      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2117     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2118     Martinez,    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2119     Gladys       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2120     Harriett     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2121     Birdia       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2122     Carolyn      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2123     Peggy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2124     Ruby         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2125     Belinda      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2126     Becky        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2127     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2128     Marilyn      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2129     Janice       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2130     Diane        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2131     Deloris      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2132     Deborah      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2133     Mattie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2134     Marva        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2135     Lynn         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2136     Yedobaty     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2137     Susan        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2138     Callie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2139     Vynedra      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2140     Brenda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2141     Martha       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2142     Carol        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2143     Celine       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2144     Jacqueline   B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2145     Cathryn      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2146     Christine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2147     Rachel       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2148     Terri        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2149     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2150     Jodell       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2151     Lan          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2152     Cheryl       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2153     Joceline     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2154     Laura        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 45 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
   2155     Susan         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2156     Bessie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2157     Judith        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2158     Myra          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2159     Patricia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2160     Linda         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2161     Dayan         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2162     Patricia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2163     Jennette      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2164     Lorene        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2165     Teresa        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2166     Joetta        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2167     Cruzantnia    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2168     Mary          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2169     Charlotte     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2170     Carolyn       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2171     Melva         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2172     Charleta      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2173     Martha        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2174     Betty         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2175     Jan           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2176     Rhonda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2177     Irene         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2178     Evelyn        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2179     Helen         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2180     Norma         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2181     Melanie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2182     Shadez        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2183     Dianne        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2184     Edna          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2185     Barbara       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2186     Pamela        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2187     Betty         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2188     Dianna        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2189     Mildred       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2190     Pearl         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2191     Lucille       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2192     Betty         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2193     Charlesetta   B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2194     Nancy         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2195     Barbara       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2196     Darla         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2197     Jonell        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2198     Jeanie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2199     Shelly        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2200     Barbara       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2201     Karen         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2202     Anita         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2203     Linda         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 338 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 46 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   2204     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2205     Debra        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2206     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2207     Deborah      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2208     Melissa      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2209     Stephanie    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2210     Jacqueline   B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2211     Carol        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2212     Tammy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2213     Felicia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2214     Susan        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2215     Alma         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2216     Antonia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2217     Julia        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2218     Julia        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2219     Darlene      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2220     Wendy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2221     Wendy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2222     Judy         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2223     Arbresha     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2224     Marjorie     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2225     Sheila       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2226     Brenda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2227     Sheila       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2228     Jennifer     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2229     Anna         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2230     Geraldene    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2231     Valerie      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2232     Sarina       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2233     Ulessa       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2234     Crystal      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2235     Lue          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2236     Sheri        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2237     Alvesta      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2238     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2239     Rosalind     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2240     Alice        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2241     Jayne        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2242     Mewanda      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2243     Crystalyn    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2244     Adrianna     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2245     Letrice      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2246     Rachelle     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2247     Eleanor      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2248     Janet        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2249     Sharon       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2250     Shirley      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2251     Lillie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2252     Kari         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 339 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 47 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   2253     Karen        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2254     Janie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2255     Myra         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2256     Carolyn      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2257     Wyvonne      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2258     Terrie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2259     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2260     Tracy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2261     Joyce        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2262     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2263     Jennifer     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2264     Benjie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2265     Kristy       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2266     Susan        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2267     Silas        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2268     Valerie      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2269     Emily        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2270     Anita        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2271     Georgia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2272     Brenda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2273     MaryAnn      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2274     Avies        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2275     Vickie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2276     Dawn         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2277     Rachelle     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2278     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2279     Donna        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2280     Ina          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2281     Jennifer     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2282     Gloria       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2283     Annie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2284     Casandra     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2285     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2286     Rosie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2287     Karon        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2288     Patsy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2289     Joyce        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2290     Sandra       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2291     Evelyn       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2292     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2293     Tamara       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2294     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2295     Jacqueline   B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2296     Pamela       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2297     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2298     Sally        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2299     Gloria       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2300     Deborah      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2301     Amanda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 340 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 48 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   2302     Deborah      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2303     Beverly      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2304     Joyce        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2305     Roberta      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2306     Lori         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2307     Marie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2308     Penny        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2309     Ethel        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2310     Christy      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2311     Monica       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2312     Carole       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2313     Lynne        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2314     Folami       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2315     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2316     Angela       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2317     Lisa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2318     Ketsha       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2319     Jennifer     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2320     Helen        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2321     Terri        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2322     Ethel        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2323     Roseta       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2324     Tonya        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2325     Natalie      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2326     Nellie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2327     Bettie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2328     Tammy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2329     Dawn         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2330     Marilyn      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2331     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2332     Judith       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2333     Billie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2334     Sherice      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2335     Shannon      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2336     Andrea       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2337     Kimberlee    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2338     Hazel        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2339     Maybelline   B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2340     Rita         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2341     Tammy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2342     Tina         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2343     Marion       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2344     Amanda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2345     Betty        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2346     Nancy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2347     Debra        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2348     Icilda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2349     Cynthia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2350     Brittney     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 49 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   2351     Quintina     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2352     Sandra       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2353     Tammie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2354     Beverly      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2355     Abbie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2356     Anita        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2357     Doris        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2358     Doris        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2359     Dinah        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2360     Bonnie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2361     Audrey       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2362     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2363     Lenda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2364     Carolyn      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2365     Elizabeth    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2366     Lenora       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2367     Nykera       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2368     Shirley      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2369     Zelma        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2370     Bobbie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2371     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2372     Teresa       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2373     Jennifer     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2374     Shirley      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2375     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2376     Cynthia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2377     Brenda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2378     Jennie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2379     Stephanie    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2380     Thilita      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2381     Donna        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2382     Markesha     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2383     Gloria       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2384     Ida          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2385     Rosanna      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2386     Sheila       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2387     Wendy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2388     Joan         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2389     Ethel        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2390     Juanita      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2391     Gloria       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2392     Alice        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2393     Debra        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2394     Stacy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2395     Wendy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2396     Devota       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2397     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2398     Jill         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2399     Donna        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 342 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 50 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   2400     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2401     Yavonda      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2402     June         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2403     Vanessa      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2404     Kuen         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2405     Holly        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2406     Brown,       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2407     Ginger       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2408     Betty        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2409     Kathleen     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2410     Roberta      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2411     Elizabeth    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2412     Jamie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2413     Kathy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2414     Lilia        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2415     Palma        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2416     Lakiema      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2417     Jennifer     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2418     Samantha     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2419     Sandra       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2420     Vivian       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2421     Gina         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2422     Andrea       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2423     Lorraine     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2424     Teresa       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2425     Jennifer     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2426     Irene        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2427     Sara         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2428     Catherine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2429     Elizabeth    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2430     Nicole       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2431     Juanita      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2432     Margie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2433     Channel      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2434     Ruthena      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2435     Betty        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2436     Ida          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2437     Hilda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2438     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2439     Cynthia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2440     Colette      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2441     Irene        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2442     Carrie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2443     Lillie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2444     Aretha       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2445     Carol        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2446     Darlene      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2447     Angela       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2448     Rhonda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 343 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 51 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   2449     Gail         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2450     (Spirit),    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2451     LaTonya      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2452     Kathy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2453     Jewel        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2454     Ronnelle     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2455     Debra        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2456     Bambi        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2457     Eva          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2458     Cornell      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2459     Pansy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2460     Curtis       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2461     Laura        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2462     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2463     Martina      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2464     Pamela       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2465     Lisa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2466     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2467     Diane        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2468     Shelia       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2469     Sharon       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2470     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2471     Sonia        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2472     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2473     La Verne     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2474     Christeen    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2475     Malgorzata   B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2476     Elizabeth    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2477     Martha       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2478     Idalys       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2479     Ana          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2480     Louise       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2481     April        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2482     Sherry       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2483     Shirley      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2484     Jeannine     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2485     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2486     Helen        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2487     Linda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2488     Laraine      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2489     Darlene      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2490     Elisabel     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2491     Philis       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2492     Kathleen     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2493     Deborah      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2494     Natasha      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2495     Jackie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2496     Genett       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2497     Cynthia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                         Exhibit (s) A - Q Page 344 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 52 of 437
                  First
                            Last Name
 Claimant         Name                                                     Date of
                             (injured    Date of Birth
    No.         (injured                                       SSN        Death (if
                             person)
                person)                                      (last 4)    applicable)    Claim Type
   2498     ,              B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2499     Holly          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2500     Thelma         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2501     Jessica        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2502     Charise        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2503     Marilyn        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2504     Janice         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2505     Jaclyn         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2506     Katie          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2507     Knekisha       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2508     Filomena       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2509     Michelle       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2510     Vera           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2511     Kati           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2512     Erwinna        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2513     Ola            B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2514     Laura          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2515     Rhonda         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2516     Jennifer       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2517     Donna          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2518     Donna          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2519     Larene         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2520     Sue            B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2521     Cornelia       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2522     Dorothy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2523     Lauren         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2524     Sonia          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2525     Linda          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2526     Marianne       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2527     Donna          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2528     Terry          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2529     Bonnie         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2530     Mary           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2531     Patricia       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2532     Kathleen       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2533     Sherry         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2534     Gail           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2535     Natasha        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2536     Daphine        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2537     Virginia       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2538     Denise         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2539     Susan          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2540     Pamela         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2541     Mary           B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2542     Annette        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2543     Latonya        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2544     Kathy          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2545     Pamela         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2546     Carol          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 53 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   2547     Kristie      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2548     Shiloh       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2549     Sandra       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2550     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2551     Roxie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2552     Constance    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2553     Sheila       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2554     Edna         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2555     Julianne     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2556     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2557     Gloria       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2558     Nina         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2559     Rosia        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2560     Erica        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2561     Karin        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2562     Janie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2563     Lila         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2564     Carolyn      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2565     Margery      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2566     Lisa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2567     Pamela       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2568     Teresa       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2569     Michelle     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2570     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2571     Tiffany      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2572     Kimberly     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2573     Anna         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2574     Clara        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2575     Melissa      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2576     Robin        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2577     Tia          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2578     Jolaine      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2579     Dorothy      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2580     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2581     Evelyn       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2582     Karen        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2583     Ramona       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2584     Judy         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2585     Dee          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2586     Jerrye       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2587     Dianna       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2588     Toni         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2589     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2590     Beverly      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2591     Lori         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2592     Elvira       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2593     Thomasia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2594     Debra        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2595     Lisa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 346 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 54 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   2596     Gena         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2597     Sharon       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2598     Creadith     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2599     Bonnie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2600     Clarissa     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2601     Patricia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2602     Melanie      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2603     Marcia       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2604     Polly        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2605     Sandra       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2606     Katherine    B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2607     Tamara       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2608     Lillian      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2609     Kentoria     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2610     June         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2611     Ja'Nel       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2612     Delena       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2613     Denise       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2614     Margaret     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2615     Terri        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2616     Melanie      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2617     Jessie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2618     Elaine       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2619     Pamela       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2620     Ellen        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2621     Ann          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2622     LaWanda      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2623     Lelia        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2624     Kimberly     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2625     Keonya       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2626     Veronica     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2627     Gladys       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2628     Paula        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2629     Helen        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2630     Jammie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2631     Juanita      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2632     Sirena       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2633     Merlene      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2634     Virginia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2635     Carole       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2636     Monica       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2637     Pamela       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2638     Donna        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2639     Theresa      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2640     Barbara      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2641     Lavonda      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2642     Diana        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2643     West,        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2644     Tiffany      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 347 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 55 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   2645     Judith       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2646     Agnes        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2647     Yolanda      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2648     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2649     Roxanne      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2650     Geneva       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2651     Donna        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2652     Katie        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2653     Kathy        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2654     Tullulah     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2655     Sheryl       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2656     Nortine      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2657     Vivian       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2658     Amelia       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2659     Jennifer     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2660     Sheila       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2661     Joan         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2662     Verenda      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2663     Joe          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2664     Erica        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2665     Lisa         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2666     Cortney      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2667     Emily        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2668     Marguerite   B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2669     Kemuel       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2670     Sherri       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2671     Danielle     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2672     Wanda        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2673     Beverly      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2674     Pearlie      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2675     Jackie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2676     Virginia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2677     Ann          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2678     Mary         B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2679     Sheila       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2680     Vivian       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2681     Joyce        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2682     Grace        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2683     Patrica      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2684     Valerie      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2685     Shirley      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2686     Valencia     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2687     Marcia       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2688     Roylene      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2689     Marsha       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2690     Estelia      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2691     Brandy       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2692     Helen        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2693     Ervine       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 348 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 56 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   2694     Jennifer     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2695     Vickie       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2696     Lawana       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2697     Brenda       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2698     Karla        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2699     Donna        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2700     Norma        B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2701     Kristin      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2702     Frances      B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2703     Lorrania     B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2704     Eva          B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2705     Pamela       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2706     Angela       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2707     Edwina       B.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2708     Leticia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2709     Carolyn      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2710     Cathy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2711     Raffelina    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2712     Susan        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2713     Susan        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2714     Martha       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2715     Angela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2716     Elizabeth    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2717     Jacqueline   C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2718     Laurie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2719     Migole       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2720     Lisa         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2721     Bonnie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2722     Marlene      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2723     Alene        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2724     Gloria       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2725     Carmelita    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2726     Jessica      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2727     Adina        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2728     Anita        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2729     Melba        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2730     Susan        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2731     Rebecca      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2732     Virgenmina   C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2733     Cathy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2734     Tywanna      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2735     Mildred      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2736     Terri        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2737     Joy          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2738     Constance    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2739     Tama         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2740     Maria        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2741     Phyllis      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2742     Donna        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 349 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 57 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   2743     Sharonda     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2744     Tracey       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2745     Penny        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2746     Geraldine    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2747     Crystal      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2748     Nina         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2749     Rhonda       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2750     Sonya        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2751     Eunice       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2752     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2753     Geraldine    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2754     Becky        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2755     Barbara      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2756     Barbara      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2757     Robin        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2758     Pamela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2759     Anne         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2760     Gwendolyn    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2761     Gina         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2762     Rose         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2763     Katelyn      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2764     Betty        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2765     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2766     LaVerne      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2767     Patricia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2768     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2769     Franchesca   C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2770     Valerie      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2771     Susan        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2772     Autumn       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2773     Christine    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2774     Kimberly     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2775     Sherry       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2776     Debra        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2777     Anna         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2778     Virginia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2779     Jeannine     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2780     Maria        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2781     Kristin      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2782     Brenda       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2783     Vickie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2784     Camille      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2785     Pat          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2786     Joanne       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2787     Sharon       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2788     Elizabeth    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2789     Carmen       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2790     Ganley,      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2791     Latrecia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 58 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   2792     Lisa         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2793     Dianne       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2794     Kelly        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2795     Kelly        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2796     Donna        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2797     Margaret     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2798     Delphine     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2799     Deborah      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2800     Daisy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2801     Jennifer     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2802     Annette      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2803     Leona        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2804     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2805     Janet        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2806     Donna        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2807     Metoka       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2808     Valerie      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2809     Michelle     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2810     Carla        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2811     Bessie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2812     Helen        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2813     Caterina     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2814     Kathryn      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2815     Tonya        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2816     Connie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2817     Carrie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2818     Cynthia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2819     Lissa        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2820     Teresa       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2821     Juanita      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2822     Yvonne       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2823     Janet        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2824     Cheryl       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2825     Kathleen     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2826     Belinda      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2827     Kimberly     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2828     Opal         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2829     Kathleen     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2830     LaTandra     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2831     Dorothy      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2832     Patricia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2833     Cherlyn      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2834     Barbara      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2835     Kimberly     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2836     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2837     Rosetta      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2838     Veda         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2839     Michele      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2840     Le'Sha       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 351 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 59 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   2841     Ruby         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2842     Judith       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2843     Vera         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2844     Gina         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2845     Amie         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2846     Jennifer     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2847     Shanna       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2848     Victoria     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2849     Cynthia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2850     Nicole       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2851     Janet        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2852     Herlinda     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2853     Eliane       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2854     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2855     Teresa       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2856     Glinnie      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2857     Marilyn      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2858     Marie        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2859     Regina       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2860     Maria        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2861     Maria        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2862     Melissa      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2863     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2864     Harriet      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2865     Kathleen     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2866     Judy         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2867     Deborah      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2868     Candy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2869     Jenny        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2870     Penni        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2871     Janet        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2872     Bernice      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2873     Rebecca      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2874     Roxie        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2875     Tracy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2876     Anna         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2877     Anna         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2878     Jannie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2879     Isabel       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2880     Nora         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2881     Sandra       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2882     Susan        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2883     Michelle     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2884     Katrina      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2885     Kathy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2886     Shari        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2887     Joann        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2888     Denise       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2889     Tanya        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 352 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 60 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   2890     Teresa       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2891     Evangeline   C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2892     Carol        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2893     Gail         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2894     Florence     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2895     Josephine    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2896     Judy         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2897     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2898     Daisy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2899     Patricia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2900     Nancy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2901     Diana        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2902     Irene        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2903     Donna        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2904     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2905     Debra        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2906     Pamala       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2907     Ann          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2908     Sophie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2909     Minerva      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2910     Marisela     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2911     Katie        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2912     Kim          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2913     Margaret     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2914     Rosetta      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2915     Judith       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2916     Cay          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2917     Susan        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2918     Glenis       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2919     Donna        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2920     Elizabeth    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2921     Joanne       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2922     Barbara      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2923     Patricia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2924     Louise       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2925     Monique      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2926     Charlotte    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2927     Vanessia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2928     Jane         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2929     Melissa      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2930     Kathleen     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2931     Laura        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2932     Rolelian     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2933     Virginia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2934     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2935     Renee        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2936     Margaret     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2937     Candelaria   C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2938     Dorothy      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                        Exhibit (s) A - Q Page 353 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 61 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
   2939     Elaine        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2940     Delight       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2941     Nancy         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2942     Kay           C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2943     Laura         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2944     Rocklin       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2945     Ronda         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2946     Yvette        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2947     Dorothy       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2948     Yvette        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2949     Tracy         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2950     Dawn          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2951     Elizabeth     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2952     Carla         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2953     Aletha        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2954     Kathryn       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2955     Kim           C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2956     Eduviges      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2957     Betty         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2958     Debra         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2959     Anne          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2960     Pamela        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2961     Charmaine     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2962     Miriam        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2963     Brenda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2964     Mareta        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2965     Pennee        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2966     Jaquinta,     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2967     Barbara       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2968     Linda         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2969     Eunice        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2970     Mary          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2971     Rose          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2972     Carole        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2973     Shelly        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2974     Amber         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2975     Jean          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2976     Melanie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2977     Dolores       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2978     Jacqueline    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2979     Marisol       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2980     Carmen        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2981     Adela         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2982     Jennifer      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2983     Jenniferlynne C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2984     Loretta       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2985     Sherry        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2986     Lydia         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2987     Rashel        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 62 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   2988     Tammy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2989     Melissa      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2990     Tonya        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2991     Hilda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2992     Carmen       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2993     Antonia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2994     Tammy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2995     Lenae        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2996     Sandra       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2997     Carmen       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2998     Chatolette   C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   2999     Lynda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3000     San          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3001     Richshena    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3002     Sherry       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3003     Emily        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3004     Contina      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3005     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3006     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3007     Sharon       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3008     Tina         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3009     Sharon       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3010     Roxane       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3011     Ina          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3012     Melissa      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3013     Sandra       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3014     Elaine       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3015     Valerie      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3016     Kimberly     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3017     Rebecca      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3018     Peggy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3019     Alma         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3020     Robin        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3021     Loraine      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3022     Nancy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3023     Diana        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3024     Rhonda       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3025     Edna         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3026     Lisa         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3027     Kathy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3028     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3029     Blondine     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3030     Theester     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3031     Marguerite   C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3032     Patricia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3033     Barbara      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3034     Carol        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3035     Deborah      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3036     Lakisha      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 63 of 437
                First
                            Last Name
 Claimant       Name                                                       Date of
                             (injured    Date of Birth
    No.       (injured                                         SSN        Death (if
                             person)
              person)                                        (last 4)    applicable)    Claim Type
   3037     Felicia        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3038     Carmie         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3039     Kimberly       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3040     Linda          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3041     Lynette        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3042     Melissa        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3043     Mary           C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3044     Patricia       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3045     Anna           C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3046     Tyrene-Leigh   C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3047     Donna          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3048     Pauline        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3049     Patricia       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3050     Donna          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3051     Carol          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3052     Candice        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3053     Demetria       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3054     Shirley        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3055     Marjorie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3056     Ellabelle      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3057     Joann          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3058     Kathy          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3059     Norma          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3060     Patricia       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3061     Jacqueline     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3062     Terry          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3063     Laverna        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3064     Maxine         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3065     Kimberly       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3066     Elyse          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3067     Louise         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3068     Guadalupe      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3069     Adwanys        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3070     Sheila         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3071     Gabriela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3072     Solangel       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3073     Kathleen       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3074     Deborah        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3075     Dawn           C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3076     Sarah          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3077     Shirley        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3078     Judith         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3079     Grazyna        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3080     Xinia          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3081     Cindy          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3082     Sherri         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3083     Katherine      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3084     Candace        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3085     Melissa        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK           Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                        Exhibit (s) A - Q Page 356 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 64 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
   3086     Kenny         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3087     Patricia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3088     Regina        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3089     Tammy         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3090     Ashante       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3091     Kimberly      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3092     Angelita      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3093     Catherine     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3094     Linda         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3095     Marlene       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3096     Kathie        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3097     Casey         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3098     Margaret      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3099     Margaret      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3100     Lila          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3101     Tammy         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3102     Eva           C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3103     Mary          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3104     Diane         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3105     Hope          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3106     Gwendolyn     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3107     Lorena        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3108     Priscilla     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3109     Barbara       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3110     Stacey        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3111     Sarah         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3112     Rosalina      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3113     Monica        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3114     Angelita      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3115     Lunette       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3116     Edna          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3117     Faye          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3118     Shelby        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3119     Addie         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3120     Sadiacarolina C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3121     Valorie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3122     Jeanne        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3123     Elizabeth     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3124     Cinda         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3125     Lourdes       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3126     Vanessa       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3127     KeriJane      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3128     Miriam        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3129     Jennifer      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3130     Anne          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3131     Belia         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3132     Toby          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3133     Patricia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3134     Roseanne      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 357 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 65 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   3135     Imelda       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3136     Krystal      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3137     Carol        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3138     Judith       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3139     Cheryl       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3140     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3141     Toby         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3142     Lola         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3143     Bernice      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3144     Bernice      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3145     Marsha       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3146     Delores      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3147     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3148     Cindy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3149     Kimberly     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3150     Phyllis      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3151     Sherrish     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3152     Wendy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3153     Derenda      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3154     Sofia        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3155     Gloria       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3156     Terry        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3157     Samantha     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3158     Evette       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3159     Betty        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3160     Veronica     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3161     Connie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3162     Theressa     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3163     Rita         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3164     Jennifer     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3165     Denise       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3166     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3167     Donna        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3168     Helen        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3169     Cynthia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3170     Darlene      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3171     Renee        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3172     Kathryn      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3173     Jadira       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3174     Elsa         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3175     Lynette      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3176     Aline        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3177     Aimee        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3178     Robin        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3179     Maria        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3180     Claire       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3181     Alicia       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3182     Lorraine     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3183     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 66 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   3184     Maria        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3185     Ivone        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3186     Gabriela     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3187     Christine    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3188     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3189     Donna        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3190     Rhonda       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3191     Sophie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3192     Tammy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3193     Angela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3194     Debbie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3195     Chelsey      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3196     Joan         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3197     Doris        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3198     Camille      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3199     Lydia        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3200     Angela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3201     Ruth         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3202     Nancy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3203     Gail         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3204     Ruth         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3205     Brenda       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3206     Luretha      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3207     Ulissa       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3208     Joyce        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3209     Diane        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3210     Christie     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3211     Freddie      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3212     Frances      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3213     Helen        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3214     Hollie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3215     Hayley       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3216     Teresa       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3217     Tanya        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3218     Terri        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3219     Diane        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3220     Debra        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3221     Sheila       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3222     Virginia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3223     Melinda      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3224     Diane        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3225     Brenda       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3226     Lena         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3227     Lynanne      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3228     Toni         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3229     Jeannine     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3230     Venita       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3231     Laura        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3232     Paajyyeeb    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 67 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   3233     Gail         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3234     Myra         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3235     Ceil         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3236     Samantha     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3237     Gloria       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3238     Adriana      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3239     Maria        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3240     Sharon       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3241     Ginni        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3242     Lila         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3243     Crystal      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3244     Amanda       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3245     Barbara      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3246     Joann        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3247     LeAnn        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3248     Lisa         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3249     Catherine    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3250     Jackson,     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3251     Johnnie      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3252     Erma         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3253     Lillie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3254     Kimberley    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3255     Raeann       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3256     Pamela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3257     Tina         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3258     Deborah      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3259     Eleria       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3260     Elizabeth    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3261     Sadie        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3262     Sarah        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3263     Margie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3264     Geraldine    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3265     Melinda      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3266     Marsha       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3267     Melagreto    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3268     Genevieve    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3269     Cheryl       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3270     Rosemary     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3271     Kathy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3272     Maribel      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3273     Rebecca      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3274     Rosemary     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3275     Katherine    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3276     Ruth         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3277     Carrie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3278     Alana        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3279     Jonita       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3280     Rosa         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3281     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 360 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 68 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   3282     Rebecca      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3283     Charlotte    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3284     Sanjuanita   C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3285     Evangeline   C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3286     Patricia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3287     Julie        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3288     Jennifer     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3289     Barbara      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3290     Nicole       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3291     Laurie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3292     Irma         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3293     Cynthia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3294     Danessa      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3295     Raylene      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3296     Vonnie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3297     Diane        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3298     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3299     Rita         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3300     Maria        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3301     Ruth         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3302     Paula        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3303     Christine    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3304     Tracey       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3305     Marsha       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3306     Ethel        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3307     Shavon       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3308     Carol        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3309     Yvonne       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3310     Therese      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3311     Sandra       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3312     Sandra       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3313     Emma         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3314     Cassandra    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3315     Carla        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3316     Susan        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3317     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3318     Latonya      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3319     Tanya        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3320     Patricia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3321     Jean         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3322     Breanna      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3323     Eleonora     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3324     Kathleen     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3325     Tina         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3326     Tahnee       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3327     Martha       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3328     Tonya        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3329     Hylan        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3330     Antoinette   C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 361 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 69 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   3331     Cherrie      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3332     Twila        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3333     Annette      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3334     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3335     Melania      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3336     Connie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3337     Sunita       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3338     Karri        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3339     Merrie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3340     Donna        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3341     Angelique    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3342     Heidi        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3343     Willa        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3344     Mapile       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3345     Henrietta    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3346     Carlotta     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3347     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3348     Sandra       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3349     Carla        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3350     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3351     Jennifer     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3352     Deborah      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3353     Bundorn      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3354     Pamela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3355     Asima        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3356     Deborah      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3357     Husneara     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3358     Sarah        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3359     Vickie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3360     Pamela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3361     Marinda      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3362     Cynthia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3363     Velma        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3364     Michelle     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3365     Kimberly     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3366     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3367     Colleen      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3368     Karen        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3369     Tonya        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3370     Annabelle    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3371     Merina       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3372     Georgette    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3373     Cathy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3374     Judith       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3375     Rhonda       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3376     Rebecca      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3377     Christine    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3378     Myrna        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3379     Angela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 362 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 70 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   3380     Suzanne      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3381     Karen        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3382     Janice       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3383     Sherry       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3384     Elizabeth    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3385     Chiara       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3386     Kathryn      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3387     Patricia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3388     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3389     Donna        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3390     Irene        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3391     Barbara      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3392     Santina      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3393     Brenda       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3394     Regina       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3395     Geraldine    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3396     Liisa        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3397     Louise       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3398     Bobbi        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3399     Ruth         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3400     Mari         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3401     Brandy       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3402     Maria        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3403     Monserrate   C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3404     Maria        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3405     Carol        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3406     Kathleen     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3407     Cheryl       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3408     Nefide       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3409     Terri        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3410     Marilyn      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3411     Kathie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3412     Rosalyn      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3413     Fern         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3414     Lisa         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3415     Jean         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3416     Christie     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3417     Myra         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3418     Rosemarie    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3419     Tabitha      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3420     Joann        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3421     Debra        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3422     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3423     Renee        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3424     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3425     Lemco        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3426     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3427     Tammie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3428     Sophia       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 363 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 71 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   3429     Teaunna      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3430     Lori         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3431     Jeanne       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3432     Barbara      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3433     Helen        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3434     Margaret     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3435     Sara         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3436     Geneva       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3437     Annette      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3438     Barbara      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3439     Jacqueline   C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3440     Karen        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3441     Zelma        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3442     Wilma        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3443     Constance    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3444     Nikki        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3445     Maxine       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3446     Tori         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3447     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3448     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3449     Evelyn       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3450     Judy         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3451     Verlene      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3452     Pam          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3453     Jennifer     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3454     Donna        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3455     Christina    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3456     Doris        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3457     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3458     Shaketa      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3459     Evelyn       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3460     Kaylene      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3461     Jessica      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3462     Tahnisha     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3463     Sharon       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3464     Shirlene     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3465     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3466     Cathy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3467     Kathleen     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3468     Deborah      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3469     Joyce        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3470     Lacree       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3471     Kristen      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3472     Colleen      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3473     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3474     Robin        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3475     Laura        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3476     Denita       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3477     Wanda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 72 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   3478     Sharon       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3479     Catoya       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3480     Tammy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3481     Niki         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3482     Rosa         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3483     Christina    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3484     Jocelyne     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3485     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3486     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3487     Sharolyn     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3488     Marrietta    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3489     Deborah      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3490     Vera         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3491     Zealier      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3492     Bertha       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3493     Cristi       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3494     Patrice      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3495     Jennifer     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3496     Jean         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3497     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3498     Sandra       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3499     Edna         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3500     Shirley      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3501     Paige        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3502     Sheila       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3503     Paulie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3504     Socorro      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3505     Rosa         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3506     Donna        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3507     Amy          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3508     Karen        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3509     Cynthia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3510     Frankie      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3511     Tesa         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3512     Mandy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3513     Lois         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3514     Candice      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3515     Rose         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3516     Tamara       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3517     Delois       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3518     Barbara      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3519     Diann        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3520     Sharon       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3521     Verna        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3522     Patricia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3523     Vera         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3524     Bonnie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3525     Grace        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3526     Carol        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 365 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 73 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   3527     Diana        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3528     Toni         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3529     Pearl        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3530     Shirley      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3531     Gail         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3532     Abigale      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3533     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3534     Shala        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3535     Susan        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3536     Brenda       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3537     Shirley      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3538     Anjilla      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3539     Debra        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3540     Lynne        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3541     Blanche      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3542     Samantha     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3543     Marie        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3544     Kimberly     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3545     Elsa         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3546     Ashley       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3547     Marzell      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3548     Cynthia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3549     Wendy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3550     Gracie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3551     Sheila       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3552     Rebecca      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3553     Ethel        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3554     Bobbie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3555     Gloria       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3556     Shelly       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3557     Nancy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3558     Carol        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3559     Marzell      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3560     Carolyn      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3561     Myra         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3562     Jacqueline   C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3563     Lucuquis     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3564     Daisy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3565     Nichelle     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3566     Alexandra    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3567     Billiemae    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3568     Sharon       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3569     Suzanne      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3570     Shirley      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3571     Beth         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3572     Teresa       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3573     Wanda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3574     Patricia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3575     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 366 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 74 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   3576     Selma        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3577     Debra        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3578     Laurice      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3579     Martha       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3580     Jamie        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3581     Sharen       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3582     Judith       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3583     Ruth         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3584     Donna        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3585     Sheri        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3586     Judith       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3587     Michelle     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3588     JoAnn        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3589     Jennifer     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3590     JoAnn        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3591     Carolyn      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3592     Margaret     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3593     Tammy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3594     Carol        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3595     Michelle     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3596     TaRushajai   C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3597     Cynthia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3598     Elizabeth    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3599     Paula        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3600     Kimberly     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3601     Janet        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3602     Agnes        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3603     Jacqueline   C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3604     Arlyne       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3605     Alexandra    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3606     Lois         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3607     Florence     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3608     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3609     Sandra       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3610     Sera         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3611     Santos,      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3612     Roberta      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3613     Nancy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3614     Marlene      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3615     Willie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3616     Candace      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3617     Christine    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3618     Rita         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3619     Eugena       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3620     Kimberlie    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3621     Amy          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3622     Karen        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3623     Lwanda       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3624     April        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 75 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   3625     Seanette     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3626     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3627     Savannah     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3628     Latasha      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3629     Katherine    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3630     Perri        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3631     Charlene     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3632     Colette      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3633     Lugenia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3634     Kimberly     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3635     Freeda       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3636     Jolene       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3637     Jamie        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3638     Lisa         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3639     Rolena       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3640     Tammy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3641     Barbara      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3642     Amy          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3643     Wanda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3644     Tonya        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3645     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3646     Aisha        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3647     Sharon       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3648     Willie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3649     Beverly      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3650     Terry        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3651     Tachelle     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3652     Judith       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3653     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3654     Sarah        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3655     Lou          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3656     Brittany     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3657     Birdie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3658     Beverley     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3659     Aesha        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3660     Arletta      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3661     LaSonja      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3662     Melenie      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3663     Denise       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3664     Edna         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3665     Diane        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3666     Ann          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3667     Regena       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3668     Laura        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3669     Yvonne       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3670     Peggy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3671     Jean         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3672     Brandis      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3673     Sonya        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 76 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   3674     Rosalind     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3675     Joy          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3676     Barbara      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3677     Margaret     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3678     Cynthia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3679     Morela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3680     Angela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3681     Marilyn      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3682     Denise       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3683     Sue          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3684     Charlotte    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3685     Patricia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3686     Virginia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3687     Veronica     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3688     Willie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3689     Clara        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3690     Bernice      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3691     Ellen        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3692     Martha       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3693     Daphne       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3694     Jessica      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3695     Natasha      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3696     Tamara       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3697     Charlene     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3698     Kimberly     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3699     Trena        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3700     Cynthia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3701     Marie        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3702     Helen        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3703     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3704     Deloise      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3705     Jannell      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3706     Penny        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3707     Dawn         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3708     Brenda       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3709     Allean       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3710     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3711     Winnetta     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3712     Charlene     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3713     Clara        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3714     Marilyn      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3715     Irene        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3716     Shantell     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3717     Leslie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3718     Patricia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3719     Robin        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3720     Angelique    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3721     Katrice      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3722     Natalie      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 77 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   3723     Sherri       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3724     Maryland     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3725     Tiffanie     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3726     Chrstina     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3727     Deborah      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3728     Maria        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3729     Juanita      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3730     Myrna        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3731     Rosa         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3732     Vivian       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3733     Cynthia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3734     Margarita    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3735     Juanita      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3736     Lakisha      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3737     Leah         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3738     Mariela      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3739     Alma         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3740     Doris        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3741     Griselda     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3742     Suzanne      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3743     Trudy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3744     Roberta      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3745     Karen        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3746     Kathy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3747     Kayla        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3748     Felicia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3749     Sheilia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3750     Addie        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3751     Londa        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3752     Thelma       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3753     Margaret     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3754     Charlene     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3755     Dorothy      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3756     Angela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3757     Susan        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3758     Zipporah     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3759     Deborah      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3760     Patricia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3761     Thelma       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3762     Ann          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3763     Carolyn      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3764     Thelma       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3765     Cecilia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3766     Regema       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3767     Carol        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3768     Cierra       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3769     Susan        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3770     Teresa       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3771     Aloha        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK           Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                        Exhibit (s) A - Q Page 370 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 78 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
   3772     Tammy         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3773     Brandy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3774     Donna         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3775     Karen         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3776     Rose          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3777     Rose          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3778     Connie        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3779     Trina         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3780     Tonya         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3781     Karen         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3782     Judy          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3783     Annette       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3784     Carmen        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3785     Deborah       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3786     Wanda         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3787     Nancy         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3788     Zinaida       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3789     Cheryl        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3790     Terri         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3791     Diane         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3792     Judi          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3793     Catherine     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3794     Deborah       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3795     Loretta       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3796     Julie         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3797     Victoria      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3798     Carra         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3799     Zenobie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3800     Jewell        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3801     Karen         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3802     Bethany       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3803     Mary          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3804     Trish         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3805     Sandra        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3806     Rachel        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3807     Michelle      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3808     Jean          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3809     Mary          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3810     Lucie-Pearl   C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3811     Consuelo      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3812     Sharon        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3813     Judy          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3814     Vicki         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3815     Christie      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3816     Frances       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3817     Ann           C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3818     Debry         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3819     Becky         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3820     Sarah         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 371 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 79 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   3821     Susan        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3822     Wanda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3823     Marilaura    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3824     Rebecca      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3825     Carol        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3826     Xiomara      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3827     Betty        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3828     Hilary       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3829     Diane        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3830     Vanna        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3831     Wilma        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3832     Lupe         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3833     Peggy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3834     Dionne       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3835     Viola        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3836     Patrice      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3837     Reginae      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3838     Dena         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3839     Roberta      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3840     Toni         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3841     Bridgette    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3842     Stacey       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3843     Dolores      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3844     Kim          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3845     Latasha      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3846     Kathy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3847     Kalynn       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3848     Kynda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3849     Elizabeth    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3850     Shakira      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3851     Reshelia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3852     Gladys       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3853     Velma        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3854     Rose         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3855     Lisa         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3856     Daphne       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3857     Tamara       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3858     Kim          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3859     Tammy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3860     LaNell       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3861     Aleisha      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3862     Shirl        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3863     Pamela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3864     Cassie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3865     Rose         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3866     Pamela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3867     Carol        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3868     Cheri        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3869     Katrina      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK            Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 80 of 437
                  First
                            Last Name
 Claimant         Name                                                     Date of
                             (injured    Date of Birth
    No.         (injured                                       SSN        Death (if
                             person)
                person)                                      (last 4)    applicable)    Claim Type
   3870     ,              C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3871     Harriett       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3872     Denise         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3873     Carolyn        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3874     Monica         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3875     Cathy          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3876     Katelyn        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3877     Sharon         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3878     Sandra         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3879     Christine      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3880     Belinda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3881     Tabbitha       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3882     Shandreka      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3883     Sandra         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3884     Sandra         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3885     Jamie          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3886     Sasha          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3887     Asha           C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3888     Tiffany        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3889     Michele        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3890     Loretta        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3891     Cheryl         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3892     Penny          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3893     Cherish        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3894     Lauretta       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3895     Nancy          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3896     Andriece       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3897     Helen          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3898     Rebecca        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3899     Martha         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3900     Elizabeth      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3901     Linda          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3902     Virginia       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3903     Symantha       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3904     Ynes           C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3905     Cyndi          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3906     Janet          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3907     Nicole         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3908     Carrie         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3909     Angela         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3910     Ellen          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3911     Jean           C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3912     Sandy          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3913     Beth           C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3914     Annie          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3915     Natasha        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3916     Laurel         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3917     Robin          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3918     Carol          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 81 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   3919     Stacy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3920     Diana        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3921     Jill         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3922     Patricia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3923     Deborah      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3924     Cynthia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3925     Betsy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3926     Teena        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3927     Tina         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3928     Elizabeth    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3929     Pamela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3930     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3931     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3932     Benedicta    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3933     Rebecca      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3934     Earlene      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3935     Lynda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3936     Paulette     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3937     Dora         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3938     Sandra       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3939     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3940     Opal         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3941     Rebekah      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3942     Evelyn       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3943     Evelyn       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3944     Patty        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3945     Rebecca      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3946     Chrystine    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3947     Bee          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3948     Velma        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3949     Venora       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3950     Teresa       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3951     Amy          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3952     Rebecca      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3953     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3954     Carolyn      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3955     Lourdes      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3956     Judy         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3957     Felicia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3958     Elizabeth    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3959     Paulita      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3960     Maria        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3961     Rita         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3962     Elaine       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3963     Angela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3964     Carmen       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3965     Katie        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3966     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3967     Patty        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 82 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   3968     Zoraida      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3969     Irene        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3970     Ana          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3971     Gilda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3972     Theresa      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3973     Yolanda      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3974     Susan        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3975     Kathy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3976     Lameka       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3977     Shirley      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3978     Susan        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3979     Lois         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3980     Queen        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3981     Wilhemena    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3982     Valerie      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3983     Julie        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3984     Lindelia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3985     Sherri       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3986     Theresa      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3987     Susan        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3988     Sarah        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3989     Elizabeth    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3990     Barbara      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3991     Kathryn      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3992     Frances      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3993     Idella       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3994     Torri        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3995     Vanessa      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3996     Gayle        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3997     Carolyn      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3998     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   3999     Amanda       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4000     Connie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4001     Victoria     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4002     Bari         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4003     Megan        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4004     Kathleen     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4005     Louella      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4006     Sarah        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4007     Pamela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4008     Marilyn      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4009     Shannon      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4010     Shailee      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4011     Laura        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4012     Lois         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4013     Virgie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4014     Teresa       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4015     Erika        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4016     Tiffany      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
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                                       Exhibit (s) A - Q Page 375 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 83 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   4017     Susan        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4018     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4019     Neva         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4020     Sylvia       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4021     Lisa         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4022     Connie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4023     Valerie      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4024     Virginia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4025     Marilyn      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4026     Charlene     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4027     Lorene       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4028     Martha       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4029     Carol        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4030     Glenda       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4031     Teresa       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4032     Sharon       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4033     Kimberly     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4034     Deana        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4035     Dionne       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4036     Darlene      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4037     Tamiko       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4038     Tracy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4039     Lori         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4040     Kayla        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4041     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4042     Jolita       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4043     Priscilla    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4044     Sylvia       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4045     Latasia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4046     Marsha       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4047     Bethyl       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4048     Dolores      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4049     (Wilder),    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4050     Frances      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4051     Joyce        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4052     Janice       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4053     Cheryl       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4054     Melanie      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4055     Jazzmin      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4056     Stephanie    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4057     Martha       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4058     Lucinda      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4059     Jennifer     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4060     Donna        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4061     Norma        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4062     Marion       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4063     Kathy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4064     Lisa         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4065     Goldia       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
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                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   4066     Brandie      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4067     Susan        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4068     Joan         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4069     Renee        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4070     Brandi       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4071     Jessica      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4072     Diane        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4073     Rose         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4074     Ada          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4075     Janet        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4076     Virginia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4077     Jackie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4078     Willa        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4079     Sheila       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4080     Veronica     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4081     Patricia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4082     Carolyn      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4083     Pamela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4084     Clara        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4085     Bennie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4086     Rachel       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4087     Margaret     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4088     Annie        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4089     Beth         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4090     Tammie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4091     Cheryl       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4092     Victoria     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4093     Alice        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4094     Pamela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4095     Teena        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4096     Cecilia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4097     Candace      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4098     Brooke       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4099     Janice       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4100     Deborah      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4101     Jessie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4102     Beth         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4103     Rebecca      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4104     Lydia        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4105     Susan        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4106     Leslie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4107     Martha       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4108     Melvin       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4109     Shunda       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4110     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4111     Janie        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4112     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4113     Darlene      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4114     Jersey       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 85 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   4115     Celia        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4116     Morgan       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4117     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4118     Versie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4119     Ashley       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4120     Lucille      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4121     Jeannine     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4122     Lisa         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4123     Karla        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4124     Joyce        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4125     Lisa         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4126     Sharon       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4127     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4128     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4129     Darrelle     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4130     Kimberly     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4131     Sandra       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4132     Rhonda       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4133     Sheryl       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4134     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4135     Annie        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4136     Heidie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4137     Glannis      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4138     Christine    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4139     Alice        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4140     Leslie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4141     Helen        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4142     Patricia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4143     Sally        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4144     Cora         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4145     Sharon       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4146     Lakisha      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4147     Robin        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4148     Gussie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4149     Lorine       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4150     Velinda      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4151     Sharon       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4152     Lisa         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4153     Janette      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4154     Samantha     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4155     Judith       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4156     Sally        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4157     Carol        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4158     Candace      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4159     Patricia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4160     Yolanda      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4161     Irene        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4162     Debbie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4163     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
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                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   4164     Doreen       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4165     Lea          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4166     Gwendolyn    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4167     Leana        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4168     Bernetta     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4169     Lois         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4170     Demitra      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4171     Glenda       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4172     Susie        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4173     Jenette      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4174     Martha       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4175     Brenda       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4176     Katrina      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4177     Lorraine     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4178     Laura        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4179     Janet        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4180     Paula        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4181     Sherry       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4182     Miriam       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4183     Danastacia   C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4184     Sharon       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4185     Brianna      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4186     Diane        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4187     Sandra       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4188     Dolly        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4189     Marie        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4190     Robin        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4191     Brenda       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4192     Elizabeth    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4193     Deborah      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4194     Anita        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4195     Amanda       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4196     Joan         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4197     Reba         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4198     Karen        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4199     Kristy       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4200     Beverly      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4201     Anna         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4202     Carrie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4203     Dianna       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4204     Maureen      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4205     Helen        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4206     Kandace      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4207     Caroline     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4208     Cheryl       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4209     Angela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4210     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4211     Pichu        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4212     Betsy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 87 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   4213     Gail         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4214     Janet        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4215     Pamela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4216     Ruthann      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4217     Pamela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4218     Keae         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4219     Diana        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4220     Leah         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4221     Carla        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4222     Jena         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4223     Janice       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4224     Michele      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4225     Jan          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4226     Linnet       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4227     Dorothy      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4228     Deborah      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4229     Rebecca      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4230     Lisa         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4231     Tatanica     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4232     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4233     Laura        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4234     Diapril      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4235     Sandra       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4236     Carmen       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4237     Shanta       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4238     Tiffany      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4239     Awilda       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4240     Chasity      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4241     Renee        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4242     Dana         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4243     Virginia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4244     Laura        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4245     JoAnn        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4246     Raquel       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4247     Maritza      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4248     Michelle     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4249     Rosalinda    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4250     Zulema       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4251     Julie        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4252     Anna         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4253     Kali         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4254     Jennifer     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4255     Vivian       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4256     Socorro      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4257     Diane        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4258     Donna        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4259     Michelle     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4260     Patsy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4261     Evalyn       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 380 of 1377
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Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 88 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   4262     Janice       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4263     Lola         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4264     Tina         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4265     Kathy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4266     Robin        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4267     Sandra       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4268     Carolyn      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4269     Maureen      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4270     Edith        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4271     Ruth         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4272     Anna         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4273     Wanda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4274     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4275     Jennifer     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4276     Angela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4277     Ann          C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4278     Vivian       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4279     Patricia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4280     Diane        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4281     April        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4282     Diane        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4283     Patricia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4284     Elva         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4285     Pamela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4286     Darlene      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4287     Patricia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4288     Tina         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4289     Jennifer     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4290     Hazel        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4291     Marcia       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4292     Nancy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4293     Beverly      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4294     Elizabeth    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4295     Anjeanette   C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4296     Ruby         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4297     Deborah      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4298     Lisa         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4299     Jeanne       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4300     Teresa       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4301     Julie        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4302     Mary         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4303     Melissa      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4304     Donna        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4305     Elena        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4306     Yvonne       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4307     Kimberly     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4308     Maribel      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4309     Pamela       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4310     Amelia       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 89 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   4311     Cynthia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4312     Sharon       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4313     Anna         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4314     Shawna       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4315     Valentina    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4316     Tina         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4317     Lorinda      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4318     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4319     Charlene     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4320     Jeanette     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4321     Jennifer     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4322     Sarah        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4323     Connie       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4324     Debra        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4325     Cynthia      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4326     Alisa        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4327     Terri        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4328     Magdalena    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4329     Janice       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4330     Elizabeth    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4331     Javonda      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4332     Virginia     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4333     Melissa      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4334     Sheilla      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4335     Joyce        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4336     Brenda       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4337     Cherylene    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4338     Anita        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4339     Nancy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4340     Carol        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4341     Delores      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4342     Nelta        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4343     Sherry       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4344     Paulette     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4345     Alta         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4346     Evvie        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4347     Petra        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4348     Linda        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4349     Doris        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4350     Diana        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4351     Nancy        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4352     Norma        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4353     Bernita      C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4354     Karen        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4355     Donna        C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4356     Greschen     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4357     Althea       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4358     Xana         C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4359     Geneva       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 90 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   4360     Marybeth     C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4361     Elizabeth    C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4362     Marsha       C.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4363     Tammy        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4364     Karen        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4365     Lynn         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4366     Julia        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4367     Michele      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4368     Lori         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4369     Michelle     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4370     Deborah      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4371     Debra        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4372     Nanette      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4373     Stacey       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4374     Debra        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4375     Gwendolyn    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4376     Maryann      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4377     Michelle     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4378     Dorothy      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4379     Tina         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4380     Virginia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4381     Rhonda       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4382     Ladonna      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4383     Bettie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4384     Brenda       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4385     Carol        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4386     Liberty      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4387     Ravinder     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4388     Juliette     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4389     Mary         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4390     Arretta      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4391     Reese        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4392     Patricia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4393     Dale         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4394     DeShannon    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4395     Sharon       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4396     Gloriest     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4397     Mandi        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4398     Beverly      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4399     Barbara      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4400     Maria        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4401     Veronica     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4402     Susan        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4403     Helena       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4404     Linda        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4405     Sandi        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4406     Tina         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4407     Margarete    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4408     Laken        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 91 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   4409     Shirley      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4410     Lisa         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4411     Bertha       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4412     Lauralee     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4413     Linda        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4414     Linda        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4415     Jeanne       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4416     Annisa       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4417     Tamala       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4418     Megan        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4419     Lechia       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4420     Lula         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4421     Daisy        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4422     Ceolia       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4423     LaJoyce      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4424     Karen        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4425     Sheryl       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4426     Beatrice     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4427     Rebecca      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4428     Katherine    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4429     Jacquelyn    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4430     Sonya        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4431     Annie        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4432     Kathleen     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4433     Morie        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4434     Flora        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4435     Dollie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4436     Angela       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4437     Ora          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4438     Laura        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4439     Mary         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4440     Claudia      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4441     Bobbie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4442     Barbara      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4443     Retha        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4444     Melissa      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4445     Majorie      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4446     Maerushka    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4447     Tina         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4448     Shirley      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4449     Shari        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4450     Barbara      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4451     Ginnalee     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4452     Mila         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4453     Tamara       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4454     Lynetta      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4455     Aisha        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4456     Colleen      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4457     Donna        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 384 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 92 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   4458     April        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4459     Amanda       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4460     Jovine       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4461     Suzanne      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4462     Annie        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4463     Mary         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4464     Michelle     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4465     Jenice       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4466     Yvonne       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4467     Susan        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4468     Peggy        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4469     Diane        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4470     Ollie        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4471     Diane        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4472     Joycelyn     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4473     Noelle       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4474     Tricia       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4475     Pauline      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4476     Karen        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4477     Leila        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4478     Deborah      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4479     Tara         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4480     Tina         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4481     Teresa       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4482     Deidra       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4483     Ethel        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4484     Debra        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4485     Julie        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4486     Sandra       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4487     Shawn        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4488     Carrie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4489     Linda        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4490     Mary         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4491     Myra         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4492     Stephanie    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4493     Wanda        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4494     Stephanie    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4495     Esther       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4496     Anita        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4497     Sondra       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4498     Victoria     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4499     Roberta      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4500     Linda        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4501     Connie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4502     Rosalyn      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4503     Nellie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4504     Clara        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4505     Karen        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4506     Pearl        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 93 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   4507     Deborah      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4508     Barbara      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4509     Ann          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4510     Susannah     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4511     Sandy        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4512     Sharon       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4513     Diana        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4514     Grace        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4515     Beatrice     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4516     Betty        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4517     Joan         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4518     Elizabeth    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4519     Margarita    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4520     Timmie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4521     Otisha       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4522     Kellie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4523     Cindy        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4524     Dayna        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4525     Whitney      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4526     Kelly        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4527     Denise       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4528     Patricia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4529     Teresa       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4530     Kathleen     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4531     Della        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4532     Debora       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4533     Amanda       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4534     Rosia        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4535     Diane        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4536     Lisa         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4537     Ora          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4538     Patricia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4539     Nancy        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4540     Frances      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4541     Jennifer     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4542     Jessica      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4543     Loretta      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4544     Julia        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4545     Josephine    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4546     Amy          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4547     Marget       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4548     Sandra       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4549     Carrie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4550     Wendy        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4551     Sheila       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4552     Ruby         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4553     Rena         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4554     Leanna       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4555     Antoinette   D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 94 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   4556     Linda        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4557     Lucille      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4558     Delores      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4559     Leslie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4560     Kim          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4561     Earlene      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4562     Paula        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4563     Darlene      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4564     Robin        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4565     Monica       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4566     Valerie      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4567     Regina       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4568     Amanda       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4569     Jamila       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4570     Debra        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4571     Denise       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4572     Shalanda     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4573     Amy          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4574     Benita       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4575     Lynae        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4576     Alice        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4577     Melvia       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4578     Carla        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4579     Blase,       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4580     Mary         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4581     Bridget      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4582     Launa        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4583     Marie        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4584     Tammy        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4585     Karen        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4586     Mechele      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4587     Kimberly     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4588     Laretta      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4589     Zenina       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4590     Lillian      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4591     Regina       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4592     Sandra       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4593     Tammy        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4594     Beverly      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4595     Melisa       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4596     Margaret     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4597     Grace        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4598     Renee        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4599     Colmin       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4600     Pamela       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4601     Connie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4602     Gwendolyn    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4603     Dolores      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4604     Theresa      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 95 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   4605     Diana        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4606     Ulrike       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4607     Chardonnay   D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4608     Judy         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4609     Melinda      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4610     Donna        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4611     Teria        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4612     Clara        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4613     Konnie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4614     Joan         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4615     Noreen       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4616     Betty        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4617     Helen        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4618     Susan        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4619     Melony       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4620     Virginia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4621     Christiane   D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4622     Jane         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4623     Janell       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4624     Faye         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4625     Sherine      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4626     Stachia      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4627     Kay          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4628     Gwendolyn    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4629     Linda        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4630     Melanie      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4631     Paula        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4632     Beverly      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4633     Jacqueline   D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4634     Leticia      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4635     Shaunda      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4636     Sharolyn     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4637     Sharon       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4638     Marilyn      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4639     Mable        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4640     Robin        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4641     Jewel        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4642     Carol        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4643     Charlotte    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4644     Ethel        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4645     Jody         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4646     Florence     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4647     Annette      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4648     Beth         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4649     Angela       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4650     Reanna       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4651     Elvira       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4652     Lisa         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4653     Sandra       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 96 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   4654     Tina         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4655     Dena         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4656     Cynthia      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4657     Jamie        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4658     Dorothy      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4659     Laura        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4660     Deborah      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4661     Clark,       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4662     Diana        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4663     Tammy        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4664     Leonora      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4665     Felissia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4666     Paris        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4667     Kathy        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4668     Stefanie     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4669     Sharon       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4670     Scottie      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4671     Donna        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4672     Debra        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4673     Patricia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4674     Kaye         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4675     Sarah        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4676     Joy          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4677     Etta         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4678     Patricia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4679     Louise       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4680     LeNora       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4681     Roseanne     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4682     Teralyn      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4683     La           D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4684     La           D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4685     Leon,        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4686     Leon,        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4687     Los          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4688     Jesus,       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4689     Marco        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4690     Luca,        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4691     Evanildes    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4692     Shivonne     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4693     Marta        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4694     Deborah      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4695     Jennifer     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4696     Shanna       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4697     Africia      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4698     Patricia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4699     Tamela       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4700     Teresa       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4701     Jennifer     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4702     Lora         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 389 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 97 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   4703     Kathleen     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4704     Carmen       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4705     Denise       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4706     Wendy        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4707     Rosie        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4708     Mary         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4709     Dora         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4710     Diane        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4711     Dawn         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4712     Kathleen     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4713     Gail         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4714     Debra        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4715     Marlynn      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4716     Karen        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4717     Diane        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4718     Sally        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4719     Shelly       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4720     April        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4721     Lea          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4722     Margo        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4723     Tina         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4724     Veronica     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4725     Penny        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4726     Roseanne     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4727     Sarah        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4728     Justine      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4729     Blondenia    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4730     Morrlis      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4731     Jeanne       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4732     Mary         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4733     Yvonne       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4734     Rita         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4735     Patricia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4736     Patricia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4737     Leann        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4738     Mavis        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4739     Katherine    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4740     Pamela       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4741     Carolyn      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4742     Lori         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4743     Sonia        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4744     Janet        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4745     Jodi         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4746     Jodi         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4747     Garnet       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4748     Betty        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4749     Betty        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4750     Patricia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4751     Consuelo     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 390 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 98 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   4752     Samantha     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4753     Barbara      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4754     Lacausa      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4755     Joyce        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4756     Jones,       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4757     Theresa      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4758     Violet       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4759     Theresa      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4760     Amelia       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4761     Lynn         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4762     Ann          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4763     Susan        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4764     Vivian       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4765     Nancy        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4766     Carol-Anne   D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4767     Rose         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4768     Athielia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4769     Janice       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4770     Virginia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4771     Sherri       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4772     Brenda       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4773     Juliana      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4774     Margaret     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4775     Kathleen     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4776     Pamela       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4777     Marcella     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4778     Janet        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4779     Sherry       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4780     Adelina      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4781     Marti        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4782     Yvonne       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4783     Grosso,      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4784     Valle,       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4785     Bemadac      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4786     Sylvia       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4787     Leticia      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4788     Caitlyn      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4789     Deborah      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4790     Margarita    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4791     Mina         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4792     Mary         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4793     Melody       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4794     Diane        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4795     Elsie        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4796     Amy          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4797     Roberta      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4798     Angelica     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4799     Melissa      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4800     Stephanie    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 99 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   4801     Linda        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4802     Maria        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4803     Argelis      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4804     Norma        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4805     Herlinda     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4806     Rebecca      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4807     Mary         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4808     Lynn         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4809     Nola         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4810     Dawn         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4811     Vickie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4812     Braetta      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4813     Tonya        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4814     Terra        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4815     Joan         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4816     Marlene      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4817     Shirley      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4818     Meagan       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4819     Ruth         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4820     Kaarina      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4821     Terri        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4822     Dorothy      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4823     Selena       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4824     Laura        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4825     Adriennie    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4826     Kori         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4827     Mary         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4828     Carol        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4829     Carol        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4830     Denise       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4831     Syreeta      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4832     Allana       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4833     Dora         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4834     Paula        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4835     Dianna       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4836     Patricia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4837     Marianne     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4838     Francina     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4839     Donella      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4840     Pamela       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4841     Virginia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4842     Aundreya     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4843     Anita        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4844     Leslie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4845     Barbara      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4846     Hannah       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4847     Pamela       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4848     Johanna      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4849     Tanya        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 100 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   4850     Carol        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4851     Tracey       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4852     Robin        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4853     Sarah        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4854     Annie        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4855     Joyce        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4856     Bonnie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4857     Barbara      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4858     Susan        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4859     Linda        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4860     Lisa         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4861     Gail         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4862     Angela       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4863     Judith       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4864     Tina         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4865     Nancy        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4866     Josita       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4867     Treva        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4868     Susan        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4869     Shirley      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4870     Sonya        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4871     Dolores      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4872     Theresa      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4873     Judith       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4874     Linda        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4875     Debra        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4876     Margie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4877     Robin        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4878     Cathy        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4879     Eva          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4880     Debra        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4881     Amy          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4882     Kimberly     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4883     Karen        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4884     Lalania      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4885     Marilyn      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4886     Annette      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4887     Debra        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4888     Roxanna      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4889     Leslie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4890     Lucille      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4891     Cheryl       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4892     Laurie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4893     Sondra       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4894     Nina         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4895     Tammy        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4896     Danielle     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4897     Anita        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4898     Laraine      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 393 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 101 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   4899     Beth         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4900     Josephine    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4901     Concetta     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4902     Sandra       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4903     Kelly        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4904     Elizabeth    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4905     Rita         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4906     Margaret     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4907     Carol        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4908     Carolinn     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4909     Linda        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4910     Elssye       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4911     Rita         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4912     Beverly      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4913     Jeanne       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4914     Bridget      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4915     Colette      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4916     Edna         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4917     Ellen        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4918     Tammy        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4919     Carol        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4920     Michelle     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4921     Cynthia      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4922     Trenisha     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4923     Robin        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4924     Patricia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4925     Sheila       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4926     Ann          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4927     Hope         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4928     Olivia       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4929     Maria        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4930     Mary         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4931     Cathryn      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4932     Elsie        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4933     Renee        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4934     Franco,      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4935     Rosa         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4936     Minerva      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4937     Eunice       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4938     Maria        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4939     Zaida        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4940     Shakia       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4941     Evelia       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4942     Dorothy      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4943     Leslie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4944     Stephanie    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4945     Patricia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4946     Sharon       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4947     Nancy        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 394 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 102 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   4948     Dorothy      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4949     Erma         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4950     Deborrah     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4951     Crystal      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4952     Belinda      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4953     Ricki        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4954     Charlene     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4955     Gloria       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4956     Ratdow       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4957     Lucille      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4958     Berniece     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4959     Anna         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4960     Ruby         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4961     Brenda       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4962     Glenda       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4963     Wanda        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4964     Macy         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4965     Michele      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4966     Jacqueline   D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4967     Jeanne       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4968     Margaret     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4969     Belinda      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4970     Marion       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4971     Loretta      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4972     Susan        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4973     Christina    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4974     Nancy        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4975     Lou Ann      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4976     Belinda      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4977     Lori         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4978     Brianna      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4979     Jean         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4980     Christine    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4981     Roberta      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4982     Luz          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4983     Susan        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4984     Betty        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4985     Honorine     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4986     Rabett       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4987     Barbara      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4988     Dorothy      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4989     Ruth         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4990     Caroll       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4991     Shirley      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4992     Emma         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4993     Catherine    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4994     Mildred      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4995     Ramona       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4996     Lydia        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 103 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   4997     Fay          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4998     Deidre       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   4999     Catherine    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5000     Hattie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5001     Tina         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5002     Erlene       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5003     Lauren       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5004     Gretchen     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5005     Barbara      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5006     Alice        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5007     MaryKate     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5008     Angeline     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5009     Lisa         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5010     Joan         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5011     Kimberly     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5012     May          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5013     Loquator     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5014     Janet        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5015     Patricia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5016     Laurie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5017     Eleanor      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5018     Rebecca      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5019     Linda        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5020     Michele      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5021     Mary         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5022     Susan        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5023     MaryAnn      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5024     Terry        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5025     Mary         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5026     Connie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5027     Ellen        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5028     Deborah      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5029     Mary         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5030     Donna        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5031     Magdalena    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5032     Karen        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5033     Shirley      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5034     Vera         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5035     Lanita       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5036     Jo           D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5037     Rosa         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5038     Deborah      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5039     Gloria       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5040     Martha       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5041     Cynthia      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5042     Tamekia      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5043     Earlie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5044     Julia        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5045     Styler       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 104 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   5046     Shirley      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5047     Amber        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5048     Patricia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5049     Chantel      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5050     Wyona        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5051     Elizabeth    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5052     Kozetta      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5053     Marva        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5054     Beatrice     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5055     Eleanor      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5056     Donna        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5057     Cathey       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5058     Judith       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5059     Lynne        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5060     Susan        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5061     Theresa      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5062     Mary         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5063     Evelyn       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5064     Bobbie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5065     Ida          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5066     Sherry       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5067     Stephannie   D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5068     Betty        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5069     Alexandra    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5070     Mary         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5071     Cynthia      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5072     Heidi        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5073     Dianna       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5074     Joyce        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5075     Donna        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5076     Dawn         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5077     Deborah      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5078     Virginia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5079     Sandra       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5080     Margaret     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5081     Dorothy      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5082     Kelly        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5083     Frankie      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5084     Linda        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5085     Kathleen     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5086     Linda        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5087     Sharon       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5088     Karen        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5089     Nadia        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5090     Kathleen     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5091     Paulette     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5092     Dawn         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5093     Wilma        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5094     Dailina      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 105 of 437
                  First
                            Last Name
 Claimant         Name                                                     Date of
                             (injured    Date of Birth
    No.         (injured                                       SSN        Death (if
                             person)
                person)                                      (last 4)    applicable)    Claim Type
   5095     Mary           D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5096     Tammy          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5097     -              D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5098     Stephanie      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5099     Kathleen       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5100     Alicia         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5101     Laureen        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5102     Alice          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5103     Ann            D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5104     Sami           D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5105     Carolyn        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5106     Karen          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5107     Diane          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5108     Mable          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5109     Debbie         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5110     Melanie        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5111     Shannon        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5112     Patricia       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5113     Deborah        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5114     Teresa         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5115     Cheryl         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5116     Margaret       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5117     Mary           D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5118     Pat            D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5119     Michelle       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5120     Arlene         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5121     Norma          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5122     Frances        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5123     Beverly        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5124     Regina         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5125     Gloria         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5126     Cynthia        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5127     Lydia          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5128     Anna           D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5129     Bonnie         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5130     Cathie         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5131     Annemarie      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5132     Andrea         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5133     Marion         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5134     Juanita        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5135     Diana          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5136     JoAnn          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5137     Victoria       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5138     Ellen          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5139     Tabbatha       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5140     Carmen         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5141     Nakecia        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5142     Sarah          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5143     Marion         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK            Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                         Exhibit (s) A - Q Page 398 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 106 of 437
                  First
                            Last Name
 Claimant         Name                                                     Date of
                             (injured    Date of Birth
    No.         (injured                                       SSN        Death (if
                             person)
                person)                                      (last 4)    applicable)    Claim Type
   5144     Patricia       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5145     Faith          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5146     Valerie        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5147     Margaret       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5148     Kathy          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5149     Arlene         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5150     Mary           D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5151     Irma           D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5152     Viola          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5153     Theresa        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5154     Augustine      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5155     Julie          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5156     Theressa       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5157     Tasha          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5158     Sandra         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5159     Connie         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5160     Brenda         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5161     Jane           D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5162     Amber          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5163     Rosemarie      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5164     Theresa        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5165     Lisa           D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5166     Ann            D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5167     Rebecca        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5168     Crystal        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5169     Marcee         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5170     Linda          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5171     Beatrice       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5172     Diane          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5173     Gloria         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5174     Annette        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5175     Monique        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5176     Lynne          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5177     Tracy          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5178     Monique        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5179     Margie         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5180     Charlotte      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5181     Dorothy        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5182     Katherine      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5183     Deborah        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5184     Catherine      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5185     Dora           D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5186     Linda          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5187     Nancy          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5188     Linda          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5189     ,              D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5190     Susan          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5191     Rebecca        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5192     Kazumi         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 107 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   5193     Roberta      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5194     Brenda       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5195     Michelle     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5196     Darlene      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5197     Yvone        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5198     Janet        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5199     Elrita       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5200     Ann          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5201     Jeri         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5202     Patricia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5203     Tina         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5204     Suzanne      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5205     Jane         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5206     Aristea      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5207     Glenda       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5208     Rachelle     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5209     Sharlotte    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5210     Danielle     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5211     Regina       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5212     Amy          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5213     Becky        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5214     Daniela      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5215     Maryann      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5216     Leeann       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5217     Chanell      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5218     Adrienne     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5219     Angelia      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5220     Melissa      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5221     Debbie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5222     Tina         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5223     Traci        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5224     Elizabeth    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5225     Rhonda       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5226     Rann         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5227     Sheri        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5228     Loretta      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5229     Cinda        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5230     Alice        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5231     Frances      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5232     Donna        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5233     Rebecca      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5234     Avis         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5235     Marilyn      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5236     Serena       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5237     Melissa      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5238     Annette      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5239     Roberta      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5240     Renee        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5241     Mary         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 108 of 437
                  First
                            Last Name
 Claimant         Name                                                     Date of
                             (injured    Date of Birth
    No.         (injured                                       SSN        Death (if
                             person)
                person)                                      (last 4)    applicable)    Claim Type
   5242     Katherine      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5243     Amanda         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5244     Willie         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5245     Lavina         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5246     Christine      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5247     Maryann        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5248     Carol          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5249     Glenda         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5250     Morgwn         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5251     (Davis),       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5252     Sandy          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5253     Maxine         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5254     Leila          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5255     Carol          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5256     Margaret       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5257     Mary           D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5258     Jean           D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5259     Janet          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5260     Ann            D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5261     Denise         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5262     Barbara        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5263     Denise         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5264     Anita          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5265     Lenora         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5266     Frances        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5267     Belinda        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5268     Paula          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5269     Susan          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5270     Paula          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5271     Billie-Jo      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5272     Georgia        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5273     Geedell        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5274     ,              D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5275     Sandra         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5276     Madaline       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5277     Adriana        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5278     Patricia       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5279     Elaine         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5280     Becky          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5281     Julia          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5282     Lonnette       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5283     Mercedes       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5284     Linda          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5285     Linda          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5286     Wendy          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5287     Darlene        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5288     Denise         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5289     Claudia        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5290     Mary           D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 109 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   5291     Pricila      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5292     Muriel       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5293     Dorothy      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5294     Miriam       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5295     Tulane       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5296     Barbara      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5297     Dorothy      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5298     Dolores      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5299     Melody       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5300     Kathleen     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5301     Sheila       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5302     Yolanda      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5303     Suzanne      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5304     Sherry       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5305     Theresa      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5306     Sandra       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5307     Debbie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5308     Tina         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5309     Mary         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5310     Marie        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5311     Lois         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5312     Takiyah      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5313     Kate         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5314     Glenda       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5315     Misty        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5316     Deborah      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5317     Sandra       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5318     Victoria     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5319     Linda        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5320     Deborah      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5321     Michelle     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5322     Raima        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5323     Patricia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5324     Linda        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5325     Heather      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5326     Tammie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5327     Roberta      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5328     Cloeata      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5329     Teresa       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5330     Becky        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5331     Mary         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5332     Myrashea     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5333     Teresa       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5334     Juanita      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5335     Peggy        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5336     Norma        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5337     Heidi        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5338     Margaret     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5339     Donna        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 110 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   5340     Katherine    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5341     Tammi        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5342     Kathryn      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5343     Beverley     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5344     Dramonda     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5345     Lucie        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5346     Colleen      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5347     Carol        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5348     Ida          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5349     Christine    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5350     Judy         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5351     Cynthia      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5352     Joyce        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5353     Louise       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5354     Dominique    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5355     Angel        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5356     Patricia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5357     Catherine    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5358     Carla        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5359     Sherry       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5360     Mary         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5361     Jessica      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5362     Jeanie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5363     Tylena       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5364     Deetra       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5365     Ruth         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5366     Judy         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5367     Angela       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5368     Tammy        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5369     Henrietta    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5370     Nikki        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5371     Patricia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5372     Mary         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5373     Cynthia      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5374     Jaime        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5375     Alice        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5376     Heather      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5377     Diana        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5378     Amanda       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5379     Sylvia       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5380     Sharon       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5381     Joyce        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5382     Amy          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5383     Karen        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5384     Amanda       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5385     Michele      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5386     Gayle        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5387     Jean         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5388     Sheila       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 403 of 1377
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 111 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   5389     Louise       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5390     Patricia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5391     Rosa         D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5392     Jackie       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5393     Darleen      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5394     Barbara      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5395     Norma        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5396     Patricia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5397     Janice       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5398     Amy          D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5399     Marion       D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5400     Veronica     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5401     Julia        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5402     Teggy        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5403     Patricia     D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5404     Geraldine    D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5405     Deborah      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5406     Yadviga      D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5407     Joyce        D.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5408     Rose         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5409     Anna         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5410     Cassandra    E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5411     Leona        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5412     Isabel       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5413     Kathleen     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5414     Kristina     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5415     Tammy        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5416     Tanya        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5417     Sarah        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5418     Christine    E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5419     Ruby         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5420     Vivian       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5421     Magnolia     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5422     Deborah      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5423     Grazelda     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5424     Kimberly     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5425     Barbara      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5426     Debra        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5427     Gloria       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5428     Christine    E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5429     Christenia   E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5430     Maria        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5431     Amanda       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5432     Rosa         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5433     Carol        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5434     Mary         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5435     Barbara      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5436     Dolores      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5437     Willie       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 404 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 112 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   5438     Shirley      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5439     Linda        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5440     Sandra       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5441     Allie        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5442     Jackie       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5443     Debbie       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5444     Susan        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5445     Meagan       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5446     Marie        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5447     Shirley      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5448     Mitzi        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5449     Ruby         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5450     Patricia     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5451     Gladys       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5452     Jacqueline   E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5453     Mela         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5454     Judy         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5455     Wilmarie     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5456     Margarita    E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5457     Gloria       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5458     Linda        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5459     Brenda       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5460     Barbara      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5461     Janice       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5462     Patricia     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5463     Jozel        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5464     Debbie       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5465     Carol        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5466     Janis        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5467     Darlene      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5468     Diane        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5469     Bobbie       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5470     Patricia     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5471     Devould,     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5472     Kary         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5473     Helen        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5474     Teri         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5475     Bonnie       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5476     Mona         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5477     Yvonne       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5478     Donna        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5479     Theresa      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5480     Tonya        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5481     Rita         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5482     Wilma        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5483     Marilyn      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5484     Annette      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5485     Anne         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5486     Linda        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 113 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   5487     Donna        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5488     Laurie       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5489     Mona         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5490     Janie        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5491     Juanita      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5492     Karen        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5493     Josephine    E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5494     Carie        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5495     Penny        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5496     Leone        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5497     Ruth         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5498     Rita         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5499     Connie       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5500     Betty        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5501     Beverly      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5502     Victoria     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5503     Cynthia      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5504     Patricia     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5505     Jessica      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5506     Gail         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5507     Tommie       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5508     Deborah      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5509     Denise       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5510     Barbara      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5511     Kimberly     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5512     Andrea       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5513     Tina         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5514     Grace        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5515     Dawn         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5516     Sherrice     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5517     Pamela       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5518     Catherine    E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5519     Shirley      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5520     Precious     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5521     Christiane   E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5522     Cynthia      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5523     Karen        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5524     Ronisha      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5525     Luann        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5526     Tamara       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5527     Terrina      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5528     Amy          E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5529     Penelope     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5530     Ann          E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5531     Ann          E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5532     Dorothy      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5533     Sherri       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5534     Sherry       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5535     Jennifer     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 114 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   5536     Brenda       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5537     Deborah      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5538     Judith       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5539     Kayla        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5540     Mary         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5541     Jeannette    E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5542     Kathy        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5543     Dolores      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5544     Sonia        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5545     Rochelle     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5546     Susan        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5547     Michelle     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5548     Carolyn      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5549     Rayschael    E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5550     Dorothy      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5551     Lyn          E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5552     Maura        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5553     Deborah      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5554     Aretha       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5555     Linda        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5556     (Nichols),   E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5557     Gayla        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5558     Teresa       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5559     Tina         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5560     Shirleyann   E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5561     Dorothy      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5562     Elaine       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5563     Kathryn      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5564     Sharon       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5565     Donna        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5566     Dorothy      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5567     Rosa         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5568     Lisa         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5569     Neyda        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5570     Christina    E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5571     Sherri       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5572     Rhonda       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5573     Velma        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5574     Cynthia      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5575     Deborah      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5576     Jacqueline   E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5577     Lakevia      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5578     Micheleen    E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5579     Diana        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5580     Carolyn      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5581     Mileah       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5582     Cynthia      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5583     Marlene      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5584     Delynn       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 115 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   5585     Lisa         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5586     Day          E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5587     Crystal      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5588     Judy         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5589     Jane         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5590     Sharlene     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5591     Lottie       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5592     Karen        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5593     Patricia     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5594     Kathy        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5595     Kathy        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5596     Lindsey      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5597     Antoinette   E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5598     Valarie      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5599     Nancy        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5600     Roberta      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5601     Patricia     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5602     Nancy        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5603     Phyllis      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5604     Maryann      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5605     Cordelia     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5606     Kayla        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5607     Ursel        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5608     Terry        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5609     Kathy        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5610     Tamara       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5611     Rebecca      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5612     Mary Ann     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5613     Charla       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5614     Tiffany      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5615     Florence     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5616     Caren        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5617     Meghan       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5618     Patrice      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5619     Tammie       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5620     Jacqueline   E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5621     Andrea       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5622     Mary         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5623     Lori         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5624     Kimberly     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5625     Amberdon     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5626     Joanna       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5627     Shirley      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5628     Leverna      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5629     Robyn        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5630     Robyn        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5631     Charlene     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5632     Naja         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5633     Mary         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK           Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                        Exhibit (s) A - Q Page 408 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 116 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
   5634     Martha        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5635     Naomi         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5636     Romayne       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5637     Laverne       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5638     Deborah       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5639     Ann           E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5640     LaDonna       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5641     Gail          E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5642     Svetlana      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5643     Brenda        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5644     Michele       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5645     Nina          E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5646     Lynette       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5647     Esmeralda     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5648     Diane         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5649     Georgiana     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5650     Courtney      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5651     Paulina       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5652     Sandra        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5653     Carol         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5654     Fatmata       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5655     Cynthia       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5656     Regina        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5657     Elli          E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5658     Connie        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5659     Chris         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5660     Iona          E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5661     Tamie         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5662     Patricia      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5663     Darnella      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5664     Lisa          E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5665     Katherine     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5666     Javonna       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5667     Brittany      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5668     Juliana       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5669     April         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5670     Mary          E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5671     Joye          E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5672     Jayne         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5673     Brenda        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5674     Corinthians   E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5675     Chantip       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5676     Joyce         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5677     Sharon        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5678     Nora          E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5679     Elizabeth     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5680     Bonny         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5681     Vidalia       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5682     Terrie        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 117 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   5683     Deborah      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5684     Diane        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5685     Carmen       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5686     Barbara      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5687     Sherri       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5688     Vera         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5689     Debbie       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5690     Donna        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5691     Sammie       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5692     Cynthia      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5693     Patricia     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5694     Scott,       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5695     Gladys       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5696     Beatriz      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5697     Paula        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5698     Christian    E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5699     Cindy        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5700     Joyce        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5701     Karen        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5702     Annette      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5703     Tami         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5704     Cynthia      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5705     Anna         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5706     Patricia     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5707     Darlene      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5708     Nadine       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5709     Rose         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5710     Karen        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5711     Loretta      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5712     Roseann      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5713     Martha       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5714     Corie        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5715     Victoria     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5716     Antoniette   E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5717     MaryAnn      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5718     Wilma        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5719     Brenda       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5720     Armandina    E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5721     Lorena       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5722     Juanita      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5723     Rachel       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5724     Lourdes      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5725     Maria        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5726     Elizabeth    E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5727     Gloria       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5728     Dontrice     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5729     Lessa        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5730     Cheteca      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5731     Elisa        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 118 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   5732     Jennie       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5733     Guadalupe    E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5734     Rose         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5735     Jennie       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5736     Crystal      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5737     Lesley       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5738     Yvette       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5739     Christina    E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5740     Yolanda      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5741     Amanda       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5742     Virginia     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5743     Ellen        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5744     Christine    E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5745     Lori         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5746     Angelina     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5747     Bertha       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5748     Anita        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5749     Bethany      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5750     Paula        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5751     Stephanie    E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5752     Mary         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5753     Mary         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5754     Carolyn      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5755     Maria        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5756     Elly         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5757     Lydia        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5758     Josefina     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5759     Stephanie    E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5760     Linda        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5761     Darlene      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5762     Sally        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5763     Reta         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5764     Glory        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5765     Barbara      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5766     MaryAnne     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5767     Debra        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5768     Dawn         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5769     Linda        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5770     Diane        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5771     Susan        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5772     Gwendolyn    E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5773     Suelyn       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5774     Ginger       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5775     Cynthia      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5776     Dorothy      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5777     Christina    E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5778     Kathy        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5779     Eron         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5780     Julia        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 119 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   5781     Ruby         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5782     Judy         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5783     Doreen       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5784     Mary         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5785     Whitney      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5786     Mary         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5787     Carolyn      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5788     Lenoel       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5789     Margie       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5790     Virginia     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5791     Sharon       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5792     Kathy        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5793     Mary         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5794     Cassandra    E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5795     Latoya       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5796     Sedillo      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5797     Lola         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5798     Emma         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5799     Patricia     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5800     Lisa         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5801     Pamela       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5802     Shamika      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5803     Eraldina     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5804     Marlene      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5805     Linda        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5806     Faith        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5807     Linda        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5808     Vicki        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5809     Patricia     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5810     Patricia     E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5811     Shayna       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5812     Yvonne       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5813     Lisa         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5814     Marcie       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5815     Carolyn      E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5816     Helen        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5817     Joy          E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5818     Fay          E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5819     Cheri        E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5820     Jimmie       E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5821     Azza         E.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5822     Susan        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5823     Doris        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5824     Hazel        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5825     Cindy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5826     Deborah      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5827     Karla        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5828     Sheryl       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5829     Kathleen     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 412 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 120 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   5830     Gina         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5831     Ruby         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5832     Gaye         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5833     Solmaz       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5834     Elsie        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5835     Jeanine      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5836     Cathy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5837     Lindsey      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5838     Cynthia      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5839     Lisa         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5840     Yuwanda      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5841     Laura        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5842     Rosemary     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5843     Sue          F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5844     Ramirez,     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5845     Marie        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5846     Tavai        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5847     Delania      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5848     Sarah        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5849     Terry        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5850     Shari        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5851     Norma        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5852     Mary         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5853     Donna        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5854     Jo-Ann       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5855     Sharon       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5856     Theresa      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5857     Rebecca      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5858     Dana         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5859     Sonja        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5860     Maria        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5861     Eileen       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5862     Sandra       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5863     Deborah      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5864     Rona         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5865     Lisa         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5866     Wynola       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5867     Kathleen     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5868     Janet        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5869     Dolly        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5870     Grettia      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5871     Shirley      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5872     Phyllis      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5873     Sharon       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5874     Carol        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5875     Virginia     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5876     Cynthia      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5877     Marilyn      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5878     Keisha       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
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                                       Exhibit (s) A - Q Page 413 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 121 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   5879     Katherine    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5880     Eileen       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5881     Marianne     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5882     Ava          F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5883     Christine    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5884     Penelope     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5885     Jacqueline   F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5886     Ruth         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5887     Annie        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5888     Roslynn      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5889     Kathleen     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5890     Marcia       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5891     Johanna      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5892     Josephine    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5893     Jamie        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5894     Adi          F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5895     Tiffany      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5896     Wendy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5897     Minnie       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5898     Lenore       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5899     Sharon       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5900     Camille      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5901     Susan        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5902     Paula        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5903     Janice       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5904     Anne         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5905     Sherrie      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5906     Blossom      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5907     Lorraine     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5908     Tonya        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5909     Madeline     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5910     Helen        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5911     Amira        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5912     Jana         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5913     Nettie       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5914     Sherry       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5915     Alice        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5916     Misti        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5917     Olga         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5918     Glenda       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5919     Deborah      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5920     Sandra       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5921     Adrienne     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5922     Kathryn      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5923     Alice        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5924     Debra        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5925     Anna         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5926     Rebecca      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5927     Janet        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 122 of 437
                  First
                            Last Name
 Claimant         Name                                                     Date of
                             (injured    Date of Birth
    No.         (injured                                       SSN        Death (if
                             person)
                person)                                      (last 4)    applicable)    Claim Type
   5928     Leonides       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5929     Deborah        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5930     Sara           F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5931     Bonnie         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5932     Tavia          F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5933     Ruby           F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5934     Doris          F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5935     Mary           F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5936     Erna           F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5937     Ashley         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5938     Zandra         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5939     ,              F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5940     Hannah         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5941     Rebecca        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5942     Tina           F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5943     Linda          F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5944     Judith         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5945     Marilyn        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5946     Ernestine      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5947     Loretta        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5948     Aletha         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5949     Tammy          F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5950     Emily          F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5951     Betty          F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5952     Alma           F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5953     Olivia         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5954     Rodneyta       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5955     Rashida        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5956     Ellen          F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5957     Cheryl         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5958     Michelle       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5959     Gladys         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5960     Cynthia        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5961     Pearl          F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5962     Kimberley      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5963     Mertis         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5964     Juana          F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5965     Briselda       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5966     Faviola        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5967     Linda          F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5968     Joseline       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5969     Brenda         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5970     Zenaida        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5971     Gloria         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5972     Selina         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5973     Selina         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5974     Maria          F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5975     Donna          F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5976     Christine      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 123 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   5977     Evangeline   F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5978     Jeanine      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5979     Diane        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5980     Virginia     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5981     Angela       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5982     Annie        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5983     Ronnita      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5984     Edith        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5985     Tamika       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5986     Barbara      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5987     Nicolette    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5988     Deborah      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5989     Emily        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5990     Melissa      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5991     Karen        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5992     Roxann       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5993     Carolyn      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5994     Ramona       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5995     Veronika     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5996     Kayleigh     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5997     Natalie      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5998     Karen        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   5999     Jeanie       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6000     Denise       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6001     Erica        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6002     Marsha       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6003     Constance    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6004     Amanda       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6005     Nancy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6006     Catherine    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6007     Cathy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6008     Donna        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6009     Aunitra      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6010     Korri        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6011     Evelyn       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6012     Nancy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6013     Susan        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6014     Cynthia      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6015     Angela       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6016     Vivian       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6017     Mary         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6018     Lanell       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6019     Gloria       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6020     Marcia       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6021     Katheryn     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6022     Nancy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6023     Vanessa      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6024     Nancy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6025     Bobbie       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 124 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   6026     Rasela       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6027     Anna         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6028     Verona       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6029     Liesel       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6030     Jill         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6031     Ruth         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6032     Nurys        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6033     Dawn         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6034     Crystal      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6035     Christine    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6036     Joanne       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6037     Michelle     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6038     Frock,       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6039     Sandra       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6040     Heidi        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6041     Carol        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6042     Judith       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6043     Doris        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6044     Mereith      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6045     Cathleen     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6046     Alvina       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6047     Lucille      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6048     Louise       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6049     Sheryl       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6050     Robin        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6051     Margaret     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6052     Jane         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6053     Valerie      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6054     Shevelle     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6055     Barbra       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6056     Marvalyn     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6057     Patsy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6058     Laurie       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6059     Virginia     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6060     Cynthia      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6061     Susan        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6062     Dorothy      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6063     Marilyn      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6064     Marilyn      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6065     Janice       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6066     Marilyn      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6067     Estelle      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6068     Lisa         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6069     Kathy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6070     Emma         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6071     Alta         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6072     Sheila       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6073     Sharon       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6074     Lori         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 417 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 125 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   6075     Pamela       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6076     Janet        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6077     Annette      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6078     Lynne        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6079     Linda        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6080     Irene        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6081     Aulbrey      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6082     Barbara      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6083     Kathryn      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6084     Donna        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6085     Goldia       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6086     Carla        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6087     Vivian       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6088     Lynn         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6089     Michele      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6090     Johna        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6091     Hilda        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6092     Rae          F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6093     Diane        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6094     Pamela       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6095     Wanda        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6096     Hismarian    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6097     Ruth         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6098     Shirley      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6099     Antonia      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6100     Deborah      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6101     Willie       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6102     Loreen       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6103     Linda        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6104     Candace      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6105     Frances      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6106     Donna        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6107     Roxie        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6108     Diana        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6109     Jillaine     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6110     Sandra       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6111     Laura        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6112     Elizabeth    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6113     Jennifer     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6114     Helen        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6115     Geraldine    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6116     Marge        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6117     Cheryl       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6118     Rosa         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6119     Jennifer     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6120     Bettie       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6121     Patricia     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6122     Hilda        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6123     Slyvia       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 418 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 126 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   6124     Tamatha      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6125     Natalie      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6126     Lezlie       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6127     Deanna       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6128     Miranda      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6129     Joanne       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6130     Josephine    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6131     Catherine    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6132     Patricia     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6133     Joan         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6134     Kay          F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6135     Mary         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6136     January      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6137     Phyllis      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6138     Elizabeth    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6139     Michelle     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6140     Helen        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6141     Ana          F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6142     Helen        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6143     Janie        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6144     Dixie        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6145     Jennifer     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6146     Alma         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6147     Patricia     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6148     Yrania       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6149     Juanita      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6150     Debra        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6151     Estrellita   F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6152     Thelma       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6153     Rose         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6154     Anita        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6155     Melissa      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6156     Julia        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6157     Aleshia      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6158     Gloria       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6159     Lilly        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6160     Donna        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6161     Belinda      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6162     Gladys       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6163     Mary         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6164     Mary         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6165     Jocelyn      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6166     Yolanda      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6167     Toshi        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6168     Shirley      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6169     Patricia     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6170     Belinda      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6171     Diana        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6172     Mary         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 419 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 127 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   6173     Sandra       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6174     Barbara      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6175     Marie        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6176     Sylvia       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6177     Deborah      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6178     Marilyn      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6179     Angela       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6180     Nicole       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6181     Nicole       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6182     Susan        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6183     Joan         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6184     Edna         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6185     Wanda        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6186     Beverly      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6187     Colette      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6188     Sylvia       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6189     Anna         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6190     Randa        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6191     Donna        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6192     Leslie       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6193     Carmina      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6194     Nancy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6195     Diane        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6196     Donna        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6197     Debra        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6198     Rose         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6199     Linda        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6200     Jaqueline    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6201     Ruth         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6202     Lori         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6203     Lenda        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6204     Maria        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6205     Maryanne     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6206     Angela       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6207     Jenny        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6208     Lorrie       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6209     Crystal      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6210     Nellie       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6211     Hope         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6212     Heather      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6213     Melissa      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6214     Ruth         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6215     Geraldine    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6216     Danielle     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6217     Shirley      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6218     Thelma       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6219     Ann          F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6220     Gloria       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6221     Mary         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 128 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   6222     Priscilla    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6223     Valeria      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6224     Tamyka       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6225     Lavanda      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6226     Anna         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6227     Lynda        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6228     Carmen       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6229     Tina         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6230     Sarah        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6231     Debbie       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6232     Anna         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6233     Dortha       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6234     Anita        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6235     Ellen        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6236     Hammond      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6237     Georganna    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6238     Rhonda       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6239     Cynthia      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6240     Rebecca      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6241     Judy         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6242     Phyllis      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6243     Lisa         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6244     Toni         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6245     Evelyn       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6246     Fern         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6247     Alice        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6248     Peggy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6249     JoAnne       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6250     Kathy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6251     Christine    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6252     Carolyn      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6253     Zulma        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6254     Patricia     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6255     Donna        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6256     Sonya        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6257     Linda        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6258     Linda        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6259     Carmen       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6260     Dorothy      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6261     Ernestina    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6262     Doris        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6263     Dawn         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6264     Pamela       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6265     Karen        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6266     Hortencia    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6267     Cathy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6268     Nancy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6269     Bertha       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6270     Brandy       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 129 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   6271     Janet        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6272     Karen        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6273     Eva          F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6274     Desiree      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6275     Geraldine    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6276     Ronda        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6277     Mabel        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6278     Lizzie       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6279     Geleigha     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6280     Cynthia      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6281     Joyce        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6282     Carla        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6283     Shanda       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6284     Rhonda       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6285     Christine    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6286     Florence     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6287     Linda        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6288     Tammy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6289     Janice       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6290     Nadia        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6291     Wanda        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6292     Cora         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6293     Lisa         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6294     Dianna       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6295     Karen        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6296     Diane        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6297     Barbara      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6298     Sansei       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6299     Rebecca      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6300     Sherri       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6301     Carol        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6302     Cheryl       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6303     Linda        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6304     Vickie       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6305     Jacqueline   F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6306     Mary         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6307     Bernadette   F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6308     Anita        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6309     Cynthia      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6310     Brenda       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6311     Azaziah      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6312     Lisa         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6313     Dawn         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6314     Sarah        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6315     Christa      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6316     Sheila       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6317     Jennifer     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6318     Debra        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6319     Carol        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 422 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 130 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   6320     Debra        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6321     Lorraine     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6322     Mary         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6323     Pamela       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6324     Sherry       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6325     Patricia     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6326     Yvette       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6327     Dixie        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6328     Megan        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6329     Raylette     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6330     Theresa      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6331     Angela       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6332     Kathy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6333     Angela       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6334     Clara        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6335     Carrie       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6336     Cathaleen    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6337     Phyllis      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6338     Francesca    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6339     Ashley       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6340     Dodie        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6341     Carolyn      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6342     Florence     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6343     Georgiana    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6344     Morgan       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6345     Nenita       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6346     Anita        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6347     Rebecca      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6348     Sharon       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6349     Rachael      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6350     Karlyn       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6351     Beverly      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6352     Shirley      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6353     Teresa       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6354     Lyna         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6355     Ruth         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6356     Pamela       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6357     Rose         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6358     Sally        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6359     Kristine     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6360     Judy         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6361     Jean         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6362     Teresa       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6363     Eloise       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6364     Diana        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6365     Lena         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6366     Tammy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6367     Cynthia      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6368     Jessie       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 423 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 131 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   6369     Robin        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6370     Janice       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6371     Judy         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6372     Sherri       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6373     Leanani      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6374     Quanda       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6375     Janyce       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6376     Candee       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6377     Nancy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6378     Frances      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6379     Heathere     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6380     Michelle     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6381     Beatriz      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6382     Fonda        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6383     Katrina      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6384     Khadija      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6385     Jeannie      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6386     Agnes        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6387     Betty        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6388     Esther       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6389     Judith       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6390     Kelly        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6391     Ella         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6392     Dona         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6393     Cynthia      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6394     Leonora      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6395     Sonja        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6396     Martha       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6397     Mary         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6398     Brenda       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6399     Cassandra    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6400     Juanita      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6401     Donna        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6402     Shirley      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6403     Lisa         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6404     Anita        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6405     Shaun        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6406     Donna        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6407     Terrez       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6408     Jeanette     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6409     Virginia     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6410     Kim          F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6411     Christine    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6412     Judy         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6413     Blanche      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6414     Carmen       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6415     Aletha       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6416     Laurie       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6417     Emerald      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 132 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   6418     Betty        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6419     Dana         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6420     Belinda      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6421     Melanie      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6422     Deborah      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6423     Sandra       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6424     Wilhemina    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6425     Krystal      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6426     Tammie       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6427     Christine    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6428     Beverly      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6429     Cicily       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6430     Annamarie    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6431     Latoria      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6432     Mary         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6433     Phyllis      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6434     Ann          F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6435     Merry        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6436     Rosalyn      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6437     Cyndee       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6438     Jill         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6439     Dorinda      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6440     Sharon       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6441     Cindy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6442     Vivian       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6443     Melissa      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6444     Regina       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6445     Cheryl       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6446     Kristie      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6447     Shirley      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6448     Janice       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6449     Joyce        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6450     Karen        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6451     Anna         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6452     Leslie       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6453     Nancy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6454     JoAnn        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6455     Nancy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6456     Elizabeth    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6457     Darlene      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6458     Cheryl       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6459     Virgie       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6460     Ruby         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6461     Clara        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6462     Anna         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6463     Michelle     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6464     Patricia     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6465     Lillian      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6466     Mary         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 133 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   6467     Sheila       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6468     Tanya        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6469     Dorothy      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6470     Cheree       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6471     Frances      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6472     Lorraine     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6473     Julie        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6474     Cheryl       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6475     Sharon       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6476     Eva          F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6477     Ameila       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6478     Christine    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6479     Glenda       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6480     Elizabeth    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6481     Gayle        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6482     Patricia     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6483     Sally        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6484     Patricia     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6485     Joan         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6486     Karen        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6487     Jessica      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6488     Lana         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6489     Sandra       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6490     Lisa         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6491     Sandra       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6492     Margaret     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6493     Loya         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6494     Maria        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6495     Kathleen     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6496     Christina    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6497     Maria        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6498     Anita        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6499     Fouaimalo    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6500     Bonny        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6501     Wanda        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6502     Lupe         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6503     Sonya        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6504     Rayette      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6505     Phoebe       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6506     Lori         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6507     Gloria       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6508     Mary         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6509     Deborah      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6510     Shirley      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6511     Carlen       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6512     Freda        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6513     Kathy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6514     Crystal      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6515     Pearl        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 134 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   6516     Linda        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6517     Shirley      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6518     Christy      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6519     Judy         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6520     Judith       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6521     Betty        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6522     Dawna        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6523     Patricia     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6524     Debra        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6525     Jacqueline   F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6526     Charlene     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6527     Tamara       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6528     Linda        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6529     Judith       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6530     Betzy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6531     Lisa         F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6532     Karen        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6533     Maria        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6534     Janice       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6535     Betsy        F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6536     Verala       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6537     Judith       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6538     Jacqueline   F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6539     Josephine    F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6540     Yolanda      F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6541     Lateka       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6542     Marion       F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6543     Kimberly     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6544     Patricia     F.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6545     Sally        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6546     Laurie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6547     Jade         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6548     Mary         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6549     Susan        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6550     Carmela      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6551     Nancy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6552     Rosalina     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6553     Brenda       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6554     Monique      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6555     Renee        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6556     Thelma       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6557     Carolyn      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6558     Octavia      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6559     Christine    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6560     Denise       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6561     Ellisa       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6562     Debbie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6563     Carol        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6564     Maria        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 427 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 135 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   6565     Patricia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6566     Sarah        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6567     Christine    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6568     Helen        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6569     Vella        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6570     Paula        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6571     Agnes        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6572     Kelli        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6573     Ronda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6574     Julie        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6575     Kathleen     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6576     Jessica      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6577     Teddi        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6578     Linda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6579     Sylvia       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6580     Mary         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6581     Cheryl       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6582     Irma         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6583     Diane        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6584     Latonya      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6585     Angela       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6586     Debra        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6587     Julie        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6588     Patricia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6589     Barbara      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6590     Kimberly     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6591     Cailin       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6592     Sherri       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6593     Clare        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6594     Beverly      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6595     Anna         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6596     Patricia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6597     Rene         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6598     Gabrielle    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6599     Josefina     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6600     Cynthia      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6601     Barbara      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6602     Mary         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6603     Marcelle     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6604     Beverly      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6605     Roxie        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6606     Kathy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6607     Antonia      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6608     Melany       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6609     Connie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6610     Nelly        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6611     Linda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6612     Joanne       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6613     Suzanne      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 136 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
   6614     Antonia       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6615     Francine      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6616     Tamisha       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6617     Tabitha       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6618     Tamatha       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6619     Mildred       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6620     Sandra        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6621     Susie         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6622     Frances       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6623     Indrewettie   G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6624     Annmarie      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6625     Theresa       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6626     Donna         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6627     Jennifer      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6628     Linda         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6629     Star'         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6630     Harriet       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6631     Wanda         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6632     Nancy         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6633     Sylvia        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6634     Dale          G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6635     Jessica       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6636     Olga          G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6637     Sandra        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6638     Elida         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6639     Santa         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6640     Eve           G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6641     Jennifer      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6642     Olivia        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6643     Sol           G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6644     Guadalupe     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6645     Mayra         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6646     Dinah         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6647     Connie        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6648     Connie        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6649     Dolores       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6650     Blanca        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6651     Patricia      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6652     Gracie        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6653     Sherra        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6654     Lesvia        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6655     Vera          G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6656     Mercedes      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6657     Patricia      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6658     Maria         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6659     Betsy         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6660     Dee           G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6661     Maria         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6662     Amanda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 137 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   6663     Georgiana    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6664     Desirae      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6665     Justine      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6666     Rebecca      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6667     Virginia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6668     Blanca       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6669     Sheila       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6670     Rocio        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6671     Diana        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6672     Bertha       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6673     Martha       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6674     Mary         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6675     Marlene      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6676     Rosario,     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6677     Dawn         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6678     Veronica     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6679     Genica       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6680     Kimberly     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6681     Laura        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6682     Marla        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6683     Marcia       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6684     Lupe         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6685     Lourie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6686     Delia        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6687     Annette      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6688     Angelica     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6689     Noli         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6690     Syria        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6691     Monica       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6692     Donna        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6693     Diana        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6694     Mildred      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6695     Jo           G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6696     Wanda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6697     Anna         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6698     M'Lissa      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6699     Althea       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6700     Danielle     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6701     Joan         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6702     Cheryl       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6703     Kelly        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6704     Caroline     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6705     Vanessa      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6706     Maria        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6707     Cynthia      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6708     Felice       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6709     Mary         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6710     Janice       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6711     Letty        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 138 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   6712     Jackie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6713     Charlotte    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6714     Vera         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6715     Daryllea     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6716     Elizabeth    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6717     Crystal      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6718     Lawanda      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6719     Linda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6720     Debra        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6721     Emily        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6722     Tina         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6723     Mary         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6724     Jenifer      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6725     Denise       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6726     Yvonne       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6727     Dorthey      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6728     Stacey       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6729     Heidi        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6730     Diane        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6731     Kimberly     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6732     Geraldine    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6733     Robyn        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6734     Connie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6735     Shawnta      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6736     Billie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6737     Joyce        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6738     Juanita      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6739     Crystal      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6740     Ruth         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6741     Renee        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6742     Mary         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6743     Deborah      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6744     Vickie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6745     Jill         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6746     Brenda       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6747     Eldora       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6748     Angela       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6749     Kathleen     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6750     Joan         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6751     Georga       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6752     Ruth         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6753     Cheryl       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6754     Denise       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6755     Angelina     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6756     Myesha       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6757     Patricia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6758     Nicole       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6759     Annie        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6760     Guadalupe    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 431 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 139 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   6761     Sandra       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6762     Marjorie     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6763     Linda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6764     Laura        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6765     Frances      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6766     Diana        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6767     Brenda       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6768     Sandra       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6769     Elaine       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6770     Cheryl       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6771     Cynthia      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6772     Erna         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6773     Geertruida   G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6774     Angela       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6775     Barbara      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6776     Barbara      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6777     Regina       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6778     Melissa      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6779     Shirley      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6780     Emma         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6781     Elizabeth    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6782     Ronmunda     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6783     Mary         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6784     Darlene      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6785     Margaret     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6786     Patricia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6787     Peggy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6788     Diana        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6789     Johna        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6790     Albertine    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6791     Lynn         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6792     Gabrielle    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6793     Vlady        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6794     Rosalyn      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6795     Krista       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6796     Lisa         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6797     Rachel       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6798     Karen        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6799     Suzanne      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6800     Christy      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6801     Janelle      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6802     Mozelle      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6803     Donna        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6804     Norine       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6805     Sharon       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6806     Joyce        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6807     Marla        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6808     Jacqueline   G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6809     Janet        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 432 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 140 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   6810     Beverly      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6811     Renee        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6812     Elizabeth    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6813     Vilma        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6814     Donna        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6815     Julianne     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6816     Patricia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6817     Bonnie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6818     Peg          G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6819     Eleanor      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6820     Marilyn      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6821     Charla       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6822     Paula        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6823     Sheri        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6824     Debra        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6825     Carol        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6826     Mary         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6827     Cynthia      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6828     Anita        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6829     Kathryn      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6830     La           G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6831     Kathryn      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6832     Callie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6833     Theodora     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6834     Metrina      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6835     Janis        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6836     Glenora      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6837     Valencia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6838     Doris        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6839     Reba         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6840     Darla        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6841     Dora         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6842     Dian         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6843     Debbie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6844     Roberta      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6845     Diane        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6846     Terry        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6847     Vanessa      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6848     Catherine    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6849     Ambra        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6850     Paula        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6851     Thelma       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6852     Patricia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6853     Jessica      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6854     Michelle     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6855     Shirley      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6856     Israel       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6857     Donna        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6858     Linda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 433 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 141 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   6859     Juanita      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6860     Sonya        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6861     Althea       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6862     Kerry        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6863     Valerie      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6864     Alisha       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6865     Suzanne      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6866     Robin        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6867     Barbara      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6868     Marjorie     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6869     Angela       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6870     Elaine       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6871     Charlene     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6872     Virginia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6873     Brenda       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6874     Doris        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6875     Kendra       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6876     Mary         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6877     Melissa      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6878     Shari        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6879     Maria        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6880     Devin        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6881     Anna         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6882     Angela       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6883     Jennifer     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6884     Lorraine     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6885     Nora         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6886     Roxie        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6887     Bernette     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6888     Carmen       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6889     Linda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6890     Rhys         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6891     Sharon       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6892     Doris        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6893     Gerry        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6894     Cindy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6895     Brenda       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6896     Helene       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6897     Alecia       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6898     Shannon      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6899     Sandra       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6900     Mildred      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6901     Lisa         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6902     Nancy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6903     Ruthie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6904     Norma        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6905     Ana          G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6906     Penny        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6907     Twila        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 142 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   6908     Gina         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6909     Dawn         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6910     Cathy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6911     Janet        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6912     Nicole       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6913     Kathy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6914     Elizabeth    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6915     Elaine       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6916     Sandra       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6917     Diane        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6918     Susan        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6919     Gina         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6920     Maria        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6921     Gail         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6922     Virginia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6923     Jeanette     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6924     Cherry       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6925     Susan        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6926     Barbara      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6927     Joanna       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6928     Donna        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6929     Marecia      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6930     Hazel        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6931     Sheila       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6932     Tina         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6933     Vanessa      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6934     Krista       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6935     Ramlah       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6936     Cheryl       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6937     Debora       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6938     Guidline     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6939     Kathleen     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6940     Diana        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6941     Susan        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6942     Rosalynne    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6943     Janean       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6944     Pixie        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6945     Lysonja      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6946     Dottie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6947     Wanda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6948     Catherine    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6949     Cindy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6950     Alberta      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6951     Cindy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6952     Tiyana       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6953     Nora         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6954     Ann          G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6955     Helen        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6956     Yolanda      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 435 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 143 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   6957     Karen        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6958     Nora         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6959     Cora         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6960     Donna        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6961     Mattie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6962     Ruby         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6963     Betty        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6964     Jawanika     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6965     Wilma        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6966     Constance    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6967     Elysa        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6968     Lavita       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6969     Berdine      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6970     Monica       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6971     Carla        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6972     Marisa       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6973     Estelle      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6974     Annamaria    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6975     Angelica     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6976     Sally        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6977     Wanda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6978     Toni         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6979     Patricia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6980     Marta        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6981     Linda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6982     Elizabeth    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6983     Elli         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6984     Jeannette    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6985     Linda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6986     Dominique    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6987     JoAnn        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6988     Bonnie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6989     Deborah      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6990     Kathleen     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6991     Cheryl       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6992     Sheila       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6993     Kimberly     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6994     Jane         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6995     Vicki        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6996     Debra        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6997     Mary         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6998     Darlene      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   6999     Jamie        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7000     Nancy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7001     Loretta      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7002     Brenda       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7003     Mary         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7004     Marilyn      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7005     Debra        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 436 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 144 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   7006     Robin        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7007     Holly        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7008     Karen        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7009     Gretchen     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7010     Patricia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7011     Diane        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7012     Catherine    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7013     Melanie      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7014     Christine    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7015     Malinda      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7016     Dollie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7017     Viola        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7018     Brenda       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7019     Linda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7020     Elizabeth    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7021     Bonnie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7022     Betty        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7023     Margaret     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7024     Connie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7025     Lyrae        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7026     Pamela       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7027     Marie        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7028     Maggie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7029     Ely,         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7030     Melissa      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7031     Deborah      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7032     Kathy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7033     Katherine    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7034     Felicia      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7035     Robyn        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7036     Marion       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7037     Rose         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7038     Tammy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7039     Janet        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7040     Amy          G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7041     Linda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7042     Mary         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7043     Darlene      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7044     Wendy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7045     Rebecca      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7046     Elyse        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7047     Michelle     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7048     Richele      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7049     Stacey       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7050     Terry        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7051     Marianne     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7052     Arlene       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7053     Angela       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7054     Robin        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 145 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   7055     Barbara      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7056     Cassy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7057     Cassy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7058     Sheller      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7059     Kim          G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7060     Helen        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7061     Butchino,    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7062     Carol        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7063     Gail         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7064     Beverly      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7065     Rebecca      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7066     Heather      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7067     Rosemary     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7068     Rhonda       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7069     Judith       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7070     Jeannie      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7071     TIna         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7072     Charlene     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7073     Dolores      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7074     Elaine       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7075     Dawn         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7076     Linda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7077     Michele      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7078     Marianne     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7079     Dolly        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7080     Janet        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7081     Donna        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7082     DeAna        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7083     Sue          G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7084     Patricia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7085     Marquetta    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7086     Jolly        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7087     Barbara      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7088     Jennifer     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7089     Estela       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7090     Petra        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7091     Rita         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7092     Lida         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7093     Teena        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7094     Margaret     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7095     Angie        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7096     Rose         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7097     Elva         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7098     Annette      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7099     Frances      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7100     Carmen       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7101     Debra        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7102     Eileen       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7103     Jamie        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 146 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
   7104     Siria         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7105     Gracila       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7106     Christine     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7107     Maria         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7108     Deborah       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7109     Susan         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7110     Eva           G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7111     Charlotte     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7112     Dessaray      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7113     Mari          G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7114     Ana           G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7115     Sylvia        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7116     Deborah       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7117     Brandy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7118     Jeanne        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7119     Jamie         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7120     Kelly         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7121     Rebecca       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7122     Delia         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7123     Nannetta      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7124     Carmen        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7125     Barbara       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7126     Mayra         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7127     Kim           G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7128     Denise        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7129     Sanjuana      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7130     Jennie        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7131     Alicia        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7132     Maria         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7133     Elena         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7134     Sonia         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7135     Rose          G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7136     Carmen        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7137     Seneca        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7138     Olinda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7139     Anntoinette   G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7140     Patricia      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7141     Nancy         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7142     Barbara       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7143     Elizabeth     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7144     Anita         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7145     Cassaundra    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7146     Janis         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7147     Betty         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7148     Angela        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7149     Olivia        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7150     Paula         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7151     Hattie        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7152     Wendy         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 147 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   7153     Cindy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7154     Diane        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7155     Genea        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7156     Cindy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7157     Nova         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7158     Samika       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7159     Rebecca      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7160     Dorothy      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7161     Clemmie      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7162     Michele      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7163     Cathy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7164     Billie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7165     Mitzie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7166     Ruth         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7167     Elizabeth    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7168     Gail         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7169     Renee        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7170     Kelly        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7171     Gayle        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7172     Rita         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7173     Sonya        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7174     Jasmine      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7175     Billie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7176     Theresa      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7177     June         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7178     Natalie      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7179     Kathleen     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7180     Emma         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7181     Patricia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7182     Antionia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7183     Barbara      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7184     Christy      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7185     Jeanne       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7186     Carrie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7187     Wendi        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7188     Harriet      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7189     Inessa       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7190     Maria        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7191     Earnestine   G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7192     Margaret     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7193     Therese      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7194     Candace      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7195     Yushika      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7196     Odessa       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7197     Cherie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7198     Sharon       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7199     Latece       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7200     Juanita      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7201     Dana         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 148 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   7202     Emma         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7203     Theodora     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7204     Edith        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7205     Andrea       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7206     Kathleen     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7207     Christine    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7208     Anita        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7209     Kathleen     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7210     Rebecca      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7211     Leah         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7212     Helen        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7213     Erin         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7214     Annamarie    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7215     Leah         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7216     Jessie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7217     Josephine    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7218     Elvia        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7219     Laura        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7220     Dawn         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7221     Sandra       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7222     Susan        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7223     Sandra       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7224     Donna        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7225     Reta         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7226     Michelle     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7227     Jennifer     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7228     Lois         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7229     Rebecca      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7230     Tiffiny      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7231     Ruth         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7232     Lisa         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7233     Carol        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7234     Olivia       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7235     Victoria     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7236     Doreen       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7237     Leonora      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7238     Diane        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7239     Staci        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7240     Dorothy      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7241     Robyn        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7242     Maria        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7243     Mary         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7244     Victoria     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7245     Sadie        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7246     Deborah      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7247     Runell       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7248     Nimnon       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7249     Eula         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7250     Jennifer     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 441 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 149 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   7251     Lucille      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7252     Tamme        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7253     Constance    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7254     Julie        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7255     Jodi         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7256     Terri        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7257     Joan         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7258     Margaret     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7259     Elizabeth    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7260     Mary         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7261     Pamela       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7262     Likeesha     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7263     Lydia        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7264     Angela       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7265     Betty        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7266     Donetta      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7267     Norma        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7268     Barbara      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7269     Sayra        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7270     Margaret     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7271     Barbara      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7272     Laurel       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7273     Jennifer     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7274     Robin        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7275     Erika        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7276     Ivanna       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7277     Boby         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7278     Bridget      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7279     Patricia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7280     Ruby         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7281     Brenda       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7282     Melanie      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7283     Leana        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7284     Sylvia       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7285     Gwendolyn    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7286     Angela       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7287     Lee          G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7288     Dorte        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7289     Deborah      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7290     Vada         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7291     Mary         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7292     Renee        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7293     Melinda      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7294     Brenda       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7295     Muriel       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7296     Beverly      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7297     Virginia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7298     Diane        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7299     Yolanda      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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Page 150 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   7300     Julia        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7301     Maryann      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7302     Angela       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7303     Benay        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7304     Katina       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7305     Deborah      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7306     Norma        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7307     Kristie      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7308     Ashley       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7309     Carole       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7310     Monica       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7311     Jo           G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7312     Katherine    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7313     Brenda       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7314     Janet        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7315     Lorene       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7316     Rosa         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7317     Sarah        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7318     Ada          G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7319     Wanda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7320     Diane        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7321     Yolanda      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7322     Jacqueline   G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7323     Nicoll       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7324     Velma        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7325     Nancy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7326     Roberta      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7327     Judith       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7328     Susan        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7329     Brenda       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7330     Earnestine   G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7331     Antoinette   G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7332     Lasundria    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7333     Della        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7334     Dona         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7335     Mable        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7336     Delores      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7337     Kathy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7338     Shelby       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7339     Connie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7340     Patricia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7341     Sharron      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7342     Karen        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7343     Freddie      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7344     Kathryn      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7345     Tammy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7346     Christina    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7347     Linda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7348     Judith       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 151 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   7349     Patricia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7350     Virginia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7351     Devonna      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7352     Gertrude     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7353     Virginia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7354     Linda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7355     Vera         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7356     Deborah      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7357     Beverly      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7358     Jayme        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7359     Evamarie     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7360     Tonya        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7361     Traci        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7362     Carolyn      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7363     Denise       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7364     Shayanna     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7365     Melissa      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7366     Susan        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7367     Elizabeth    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7368     Twana        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7369     Betty        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7370     Wilma        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7371     Janet        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7372     Dolores      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7373     Annette      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7374     Gladys       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7375     Ruth         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7376     Shawna       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7377     Debra        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7378     Susan        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7379     Sue          G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7380     Terri        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7381     Lynette      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7382     Linda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7383     Ivy          G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7384     Melissa      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7385     Paula        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7386     Tara         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7387     Cheryl       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7388     Marian       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7389     Alease       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7390     Barbara      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7391     Sandra       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7392     Felicia      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7393     Maxine       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7394     Ina          G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7395     Janice       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7396     Sheila       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7397     Staci        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 152 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   7398     Karen        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7399     Regenia      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7400     Angela       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7401     Ethel        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7402     Elizabeth    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7403     Judith       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7404     Pamela       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7405     Judith       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7406     Yolanda      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7407     Dori-Anne    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7408     Barbara      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7409     Kim          G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7410     Rhonda       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7411     Vanessa      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7412     Mary         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7413     Dana         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7414     Patricia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7415     Susan        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7416     Sandra       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7417     Patty        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7418     Patricia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7419     Helen        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7420     Tonya        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7421     Patricia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7422     Mary Jane    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7423     Patricia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7424     Teresa       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7425     Maria        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7426     Sarah        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7427     Sherry       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7428     Cacilia      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7429     Vicki        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7430     Sharon       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7431     Gaylle       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7432     Katherine    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7433     Shauniea     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7434     Tammy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7435     Brenda       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7436     Margaret     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7437     Diane        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7438     Annette      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7439     Renee        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7440     Lula         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7441     Sandra       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7442     Mary         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7443     Nancy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7444     Miriam       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7445     Janice       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7446     Michelle     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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Page 153 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   7447     Cecile       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7448     Sandra       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7449     Mary         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7450     Nicole       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7451     Debra        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7452     Jeanette     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7453     Lynne        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7454     Ellen        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7455     Darci        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7456     Monica       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7457     Annette      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7458     Dawn         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7459     Patti        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7460     Sheila       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7461     Linda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7462     Patricia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7463     Carresal     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7464     Pamela       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7465     Austeen      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7466     Thelma       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7467     Rachel       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7468     Jean         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7469     Kay          G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7470     Dorothy      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7471     Patricia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7472     Sharon       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7473     Patricia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7474     Julia        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7475     Sandra       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7476     Paulette     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7477     Pamela       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7478     Patricia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7479     Debbra       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7480     LaFrancis    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7481     Kathryn      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7482     Julia        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7483     Chandra      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7484     Maryann      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7485     Judy         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7486     Alice        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7487     Brenda       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7488     Faith        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7489     Sandra       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7490     Rita         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7491     Priscilla    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7492     Priscilla    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7493     Charlene     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7494     Lauren       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7495     Patricia     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 446 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 154 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   7496     Debrah       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7497     Ashley       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7498     Maria        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7499     Sharon       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7500     Norma        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7501     Debra        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7502     Linda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7503     Tammie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7504     Tonika       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7505     Kristen      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7506     Laura        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7507     Felicia      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7508     Holly        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7509     Alice        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7510     Aykanoush    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7511     Melinda      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7512     Laurel       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7513     Deborah      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7514     Julie        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7515     Melissa      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7516     Gloria       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7517     Lee          G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7518     Tera         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7519     Sharon       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7520     Teresa       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7521     Tamara       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7522     Katie        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7523     Abbe         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7524     Sonia        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7525     Christine    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7526     Betty        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7527     Edith        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7528     Joan         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7529     Bridget      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7530     Katherine    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7531     Lakita       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7532     Shontane     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7533     Dorothy      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7534     Gloria       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7535     Carol        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7536     Donna        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7537     Violette     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7538     Julie        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7539     Sharon       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7540     Donna        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7541     Cathy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7542     Dorothy      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7543     Susan        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7544     Melinda      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 155 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   7545     Fronnie      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7546     Cathryn      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7547     Martha       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7548     Wanda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7549     Karen        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7550     Deanna       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7551     Lisa         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7552     April        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7553     Louisa       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7554     Monica       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7555     Shelley      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7556     Victoria     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7557     Alaina       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7558     Beverly      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7559     Delores      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7560     Frances      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7561     Jane         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7562     Concepcion   G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7563     Carmela      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7564     Betty        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7565     Dolores      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7566     Graciela     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7567     Mayda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7568     Margarita    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7569     Melinda      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7570     Juana        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7571     Crystal      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7572     Donna        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7573     Debra        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7574     Heather      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7575     Lillian      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7576     Veronica     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7577     Kathleen     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7578     Hillary      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7579     Phyllis      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7580     Sarita       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7581     Carmencita   G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7582     Rosa         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7583     Winona       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7584     Keishawn     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7585     Candace      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7586     Elida        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7587     Shaniqua     G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7588     Pearl        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7589     Cheryl       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7590     Susan        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7591     Lisa         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7592     Ivette       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7593     Kathy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 156 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   7594     Yolanda      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7595     Barbara      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7596     Crystal      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7597     Elizabeth    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7598     Sara         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7599     Connie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7600     Verna        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7601     Sheila       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7602     Lezlie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7603     Judy         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7604     Paulene      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7605     Linda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7606     Madge        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7607     Frances      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7608     Linda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7609     Tonya        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7610     Stephanie    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7611     Marilyn      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7612     Edna         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7613     Earline      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7614     Mary         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7615     Margarita    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7616     Carol        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7617     Kelly        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7618     Marsha       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7619     Alwina       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7620     Susan        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7621     Lucy         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7622     Ehlis        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7623     Jeri         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7624     Linda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7625     Melina       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7626     Christine    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7627     Irene        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7628     Espie        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7629     Teresa       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7630     Natalie      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7631     Beth         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7632     Nancy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7633     Nancy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7634     Kathy        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7635     Tressa       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7636     Teresa       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7637     Bernice      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7638     Eileen       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7639     Krista       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7640     Maria        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7641     Barbara      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7642     Figueroa,    G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 157 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   7643     Judy         G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7644     Joann        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7645     Jessica      G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7646     Hilda        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7647     Maria        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7648     Sherie       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7649     Ester        G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7650     Elaine       G.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7651     Deborah      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7652     Nancy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7653     Joanne       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7654     Rose         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7655     Julie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7656     Barbara      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7657     Eileen       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7658     JoEllen      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7659     Fatme        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7660     Barbara      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7661     Veola        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7662     Clara        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7663     Angela       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7664     Gladys       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7665     Jyostna      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7666     Georgette    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7667     Maureen      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7668     Dana         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7669     Susan        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7670     Doris        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7671     Michelle     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7672     Santina      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7673     Jennifer     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7674     Karen        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7675     Karen        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7676     Theresa      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7677     Etta         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7678     Leona        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7679     Coreen       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7680     Debra        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7681     Joan         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7682     Stacie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7683     Kerrin       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7684     Alice        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7685     Suzanne      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7686     Cody         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7687     Joan         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7688     Isabel       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7689     Denise       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7690     Maria        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7691     Jean         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 450 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 158 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   7692     Dawn         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7693     Diana        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7694     Lydia        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7695     Sheila       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7696     Harolyn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7697     Grace        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7698     Linda        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7699     Leticia      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7700     Renee        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7701     Virginia     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7702     Virginia     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7703     Renee        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7704     Sandra       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7705     Sandra       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7706     Esther       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7707     Betty        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7708     Imojean      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7709     Pamela       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7710     Ethel        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7711     Patti        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7712     Roberta      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7713     Sheila       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7714     Carol        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7715     Judy         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7716     Janice       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7717     Susan        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7718     Kelly        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7719     Christine    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7720     Ashley       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7721     Tonya        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7722     Samantha     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7723     Nadine       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7724     Linda        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7725     Mable        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7726     Erica        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7727     Patricia     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7728     Diana        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7729     Glenda       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7730     Heather      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7731     Helen        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7732     Gwendolyn    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7733     Eddie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7734     Sherry       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7735     Candice      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7736     Debra        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7737     Ruby         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7738     Audrey       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7739     Teresa       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7740     Patricia     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                         Exhibit (s) A - Q Page 451 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 159 of 437
                  First
                            Last Name
 Claimant         Name                                                     Date of
                             (injured    Date of Birth
    No.         (injured                                       SSN        Death (if
                             person)
                person)                                      (last 4)    applicable)    Claim Type
   7741     June           H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7742     Shandee        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7743     Cathy          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7744     Mary           H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7745     Brenda         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7746     Elizabeth      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7747     Karen          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7748     Anitra         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7749     ,              H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7750     Nancy          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7751     Kathy          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7752     Barbara        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7753     Angelita       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7754     Debbie         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7755     Deborah        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7756     Marian         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7757     Valeda         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7758     Athene         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7759     Kathy          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7760     Palma          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7761     Connie         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7762     Brenda         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7763     Deborah        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7764     Sharon         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7765     Jennifer       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7766     Kimberly       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7767     Shirley        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7768     Darlene        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7769     Linda          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7770     Mildred        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7771     Janet          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7772     Angela         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7773     Diane          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7774     Wanda          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7775     Sherrie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7776     Grace          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7777     Marianne       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7778     Clorine        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7779     Deborah        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7780     Narcisa        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7781     Frankie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7782     Laura          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7783     Linda          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7784     Rochelle       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7785     Shirley        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7786     June           H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7787     Amada          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7788     Dorthy         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7789     Sheilah        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 160 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   7790     Betty        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7791     Debra        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7792     Teresa       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7793     Diane        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7794     Yvonne       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7795     Ola          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7796     Pamela       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7797     Carolyna     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7798     Alice        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7799     Karin        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7800     Katharine    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7801     Alleyne      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7802     Anne         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7803     Beth         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7804     Arabella     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7805     Margaret     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7806     Linda        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7807     Jessica      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7808     Hople        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7809     Ursula       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7810     Lisa         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7811     Martha       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7812     Cynthia      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7813     Kristi       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7814     Gail         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7815     Deanne       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7816     Barbara      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7817     Brenda       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7818     Betty        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7819     Betty        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7820     Donna        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7821     Nancy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7822     Ella         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7823     Amy          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7824     Debbie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7825     Lisa         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7826     Leona        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7827     Elizabeth    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7828     Nancy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7829     Christy      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7830     Shirley      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7831     Ethelene     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7832     Lashundra    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7833     Sabrina      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7834     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7835     Jurlean      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7836     Diana        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7837     Marsha       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7838     Barbara      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 161 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   7839     Tammy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7840     Gloria       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7841     Sandy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7842     Sherie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7843     Judy         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7844     Sherie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7845     Anne         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7846     Kim          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7847     Kitty        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7848     Wanda        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7849     Annis        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7850     Marlain      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7851     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7852     Shirley      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7853     Cynthia      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7854     Stephanie    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7855     Susan        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7856     Zelatrica    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7857     Patricia     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7858     Tracy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7859     Juanita      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7860     Joyce        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7861     Vanessa      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7862     Edna         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7863     Beverly      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7864     Ellen        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7865     Diane        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7866     Edna         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7867     Sandra       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7868     Jan          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7869     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7870     Charlene     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7871     Brenda       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7872     Kathy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7873     Emerald      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7874     Crystal      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7875     Nanci        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7876     Lisa         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7877     Erickson,    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7878     Laura        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7879     Cindy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7880     Kathie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7881     Elsie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7882     June         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7883     Rebecca      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7884     Kylin        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7885     Patricia     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7886     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7887     Jacquelyn    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 162 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   7888     Kristin      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7889     Elaine       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7890     Cindy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7891     Mayone       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7892     Connie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7893     Linda        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7894     Deborah      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7895     Madeline     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7896     Madeline     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7897     Brenda       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7898     Susan        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7899     Donna        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7900     Patricia     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7901     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7902     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7903     Ruth         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7904     Deborah      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7905     Marie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7906     Christine    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7907     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7908     Sharon       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7909     Stacey       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7910     Charlotte    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7911     Jennifer     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7912     Rebecca      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7913     Carolyn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7914     Vivian       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7915     Wanda        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7916     Betty        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7917     Vernice      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7918     Opal         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7919     Concetta     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7920     Robin        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7921     Susan        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7922     Shawntrice   H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7923     Kathleen     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7924     Joan         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7925     Elizabeth    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7926     Vickie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7927     Toni         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7928     Ida          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7929     Melissa      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7930     Kathleen     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7931     Tina         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7932     Kathryn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7933     Eloise       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7934     Mindy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7935     Judyth       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7936     Helen        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
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                                        Exhibit (s) A - Q Page 455 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
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                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
   7937     Jacqueline    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7938     Karen         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7939     Connie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7940     Wendy         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7941     Carolyn       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7942     Walker,       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7943     Brenda        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7944     Christiania   H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7945     Jolinda       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7946     Anita         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7947     Michele       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7948     Lois          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7949     Crystal       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7950     Theresa       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7951     Constance     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7952     Kim           H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7953     Robyn         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7954     Patti         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7955     Samaria       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7956     Annette       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7957     Chasity       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7958     Brenda        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7959     Taionne       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7960     Pamela        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7961     Sarah         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7962     Mary          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7963     Denise        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7964     Nichole       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7965     Irene         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7966     Julia         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7967     Annette       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7968     Pearlie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7969     Brenda        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7970     Margaret      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7971     Audreygail    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7972     Lydia         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7973     Victoria      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7974     Janice        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7975     Delores       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7976     Catherine     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7977     Oweida        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7978     Vicky         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7979     Michelle      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7980     Pamela        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7981     Sherry        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7982     Juanita       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7983     Tammy         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7984     Robin         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7985     Janet         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 456 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 164 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   7986     Teresa       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7987     Sandra       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7988     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7989     Rose         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7990     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7991     Alicia       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7992     Judith       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7993     Janet        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7994     Shannon      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7995     Debbie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7996     Rebecca      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7997     Daphne       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7998     Carolyn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   7999     Nordeen      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8000     Betty        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8001     Edna         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8002     Angela       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8003     Vernette     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8004     Michelle     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8005     Angela       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8006     Debra        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8007     Lisa         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8008     Judy         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8009     Jennifer     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8010     Lou          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8011     Donna        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8012     Deborah      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8013     Rachael      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8014     Marion       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8015     Mildred      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8016     Lisa         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8017     Sharon       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8018     Joan         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8019     Jenese       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8020     Creola       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8021     Gloria       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8022     Stephanie    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8023     Gillie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8024     Shanna       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8025     Joyce        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8026     JoAnn        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8027     Beverly      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8028     Laura        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8029     Toccara      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8030     Jacquelyn    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8031     Crystal      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8032     Diane        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8033     Joan         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8034     Stephanie    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 165 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   8035     Dorris       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8036     Robin        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8037     Jarnell      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8038     YoushawnenoneH.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8039     Rhonda       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8040     Elaine       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8041     Patricia     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8042     Stephanie    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8043     Patricia     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8044     Desiree      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8045     Annette      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8046     Natasha      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8047     Joyce        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8048     Ayesha       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8049     Jaylynn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8050     Sandra       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8051     Rosie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8052     Linda        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8053     Brenda       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8054     Lachisa      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8055     Esther       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8056     Jean         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8057     Judith       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8058     Carolyn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8059     Joyce        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8060     Torra        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8061     Lisa         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8062     Donna        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8063     Linda        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8064     Elizabeth    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8065     Tyneshia     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8066     Linda        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8067     Elizabeth    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8068     Joanne       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8069     Elaine       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8070     Iesha        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8071     Dominique    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8072     Joan         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8073     Dorothy      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8074     Alicia       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8075     Sheree       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8076     Frances      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8077     Evelyn       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8078     Kathy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8079     Donna        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8080     Katie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8081     Michelle     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8082     Annette      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8083     Marcia       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 166 of 437
                  First
                            Last Name
 Claimant         Name                                                     Date of
                             (injured    Date of Birth
    No.         (injured                                       SSN        Death (if
                             person)
                person)                                      (last 4)    applicable)    Claim Type
   8084     Jane           H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8085     Sarah          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8086     Sheila         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8087     Beatrice       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8088     Carmen         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8089     Elizabeth      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8090     Marion         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8091     Nicolette      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8092     Anne           H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8093     Jacqueline     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8094     Theresa        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8095     Darcy          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8096     Janet          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8097     Deborah        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8098     Marisa         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8099     Tammy          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8100     Sandra         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8101     Ollie          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8102     Cassandra      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8103     Queen          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8104     Angela         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8105     Sahaja         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8106     Stacey         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8107     Elizabeth      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8108     Marjorie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8109     Lisa           H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8110     Sherry         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8111     Kelli          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8112     Lynn           H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8113     Cornelia       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8114     ,              H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8115     Janet          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8116     Rhonda         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8117     Janet          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8118     Mary           H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8119     Jane           H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8120     Kelly          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8121     Georgia        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8122     Pamela         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8123     Darlene        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8124     Patti          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8125     Kimberly       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8126     Eileen         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8127     Tammy          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8128     Kimberly       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8129     Brenda         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8130     Martha         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8131     Amy            H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8132     Virginia       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 459 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 167 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   8133     Marcella     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8134     Katherine    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8135     Alta         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8136     Dorothy      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8137     Lora         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8138     Ismay        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8139     Isabel       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8140     Teresa       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8141     Celamise     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8142     Christina    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8143     Gloria       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8144     Kathleen     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8145     Vera         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8146     Gloria       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8147     Janis        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8148     Aracelia     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8149     Margaret     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8150     Nova         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8151     Yasera       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8152     Sherrie      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8153     Judith       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8154     Erma         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8155     Diana        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8156     Brenda       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8157     Oneita       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8158     Rachel       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8159     Edith        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8160     Jill         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8161     Y-Vonnie     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8162     Y-Vonnie     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8163     Diana        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8164     Gwendolyn    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8165     Amanda       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8166     Janis        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8167     Asefa        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8168     Hope         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8169     Willie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8170     Melissa      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8171     Nannette     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8172     Rosalind     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8173     Donna        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8174     Christy      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8175     Loretta      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8176     Jasmine      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8177     Eileen       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8178     Trudy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8179     Helen        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8180     Norma        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8181     Barbara      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 460 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 168 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   8182     Eileen       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8183     Mae          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8184     Brittany     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8185     Sandra       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8186     Janet        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8187     Nan          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8188     Eleanor      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8189     Raiona       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8190     Jo-Anne      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8191     Donna        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8192     Wendy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8193     Mable        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8194     Linda        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8195     Denise       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8196     Molly        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8197     Dorothy      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8198     Helen        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8199     Twilla       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8200     Sharon       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8201     Endeler      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8202     Susan        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8203     Doris        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8204     Doris        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8205     Erica        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8206     Magalene     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8207     Linda        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8208     Betty        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8209     Emelita      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8210     Kathleen     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8211     Joyce        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8212     Lisa         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8213     Geraldine    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8214     Anna         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8215     Carol        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8216     Carol        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8217     Melanie      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8218     Serena       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8219     Kathryn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8220     Sharon       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8221     Judith       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8222     Brandy       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8223     Johnnie      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8224     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8225     Cynthia      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8226     Danette      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8227     Cindy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8228     Denitra      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8229     Tammy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8230     Rene         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 461 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 169 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   8231     Susan        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8232     Jacklyn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8233     Jo           H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8234     Sharon       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8235     Regina       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8236     Synt         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8237     Carolyn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8238     Surretta     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8239     Pandora      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8240     Peggy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8241     Joyce        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8242     Barbara      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8243     Arnetta      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8244     Brandilyn    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8245     Shanna       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8246     Carolyn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8247     Sharon       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8248     Beverly      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8249     Cordelia     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8250     Emma         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8251     Elaine       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8252     Mattie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8253     Carol        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8254     Yolanda      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8255     Alma         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8256     Georgeanna   H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8257     Kristi       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8258     Betty        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8259     Carrie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8260     Nichole      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8261     Marjorie     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8262     Barbara      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8263     Victoria     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8264     Annie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8265     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8266     Shirley      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8267     Amber        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8268     Clara        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8269     Edwina       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8270     Sharon       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8271     Carleen      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8272     Miriam       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8273     Lillie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8274     Deborah      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8275     Debra        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8276     Joy          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8277     Dorthy       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8278     Kathy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8279     Renee        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 170 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
   8280     Leonara       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8281     Patricia      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8282     Deborah       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8283     Emma          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8284     Helen         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8285     Jodi          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8286     Barbara       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8287     Judy          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8288     Mary          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8289     Jacquelyn     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8290     Marilynn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8291     Denice        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8292     Tanika        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8293     Lucy          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8294     Jennifer      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8295     Ardyth        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8296     Marion        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8297     Tomaro        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8298     Sally         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8299     Charlotte     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8300     Barbara       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8301     Francis       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8302     Janie         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8303     Kathrynn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8304     Dianna        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8305     Peggy         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8306     Theresa       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8307     Joan          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8308     Deborah       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8309     Debra         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8310     Irene         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8311     Kimberly      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8312     Melissa       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8313     Michelle      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8314     Gail          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8315     Marlene       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8316     Regina        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8317     Keri          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8318     Davinderjit   H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8319     Shirley       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8320     Paula         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8321     Amy           H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8322     Kimberly      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8323     Barbara       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8324     Margaret      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8325     Georgia       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8326     Nancy         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8327     Nanette       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8328     Tina          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 463 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 171 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   8329     Charise      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8330     Patricia     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8331     Kelley       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8332     Katie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8333     Betty        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8334     Deborah      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8335     Heather      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8336     Luann        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8337     Antonietta   H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8338     Melissa      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8339     Teresa       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8340     Eileen       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8341     Lola         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8342     Lillian      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8343     Courtney     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8344     Karen        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8345     Lesley       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8346     Vicky        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8347     Karen        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8348     Cheryl       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8349     Jennifer     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8350     Penny        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8351     Helen        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8352     Rose         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8353     Rose         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8354     Rose         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8355     Christine    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8356     Martha       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8357     Martha       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8358     Georgia      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8359     Gloria       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8360     Marta        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8361     Joyce        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8362     Brenda       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8363     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8364     Phyllis      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8365     Brenda       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8366     Jennie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8367     Joanne       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8368     Delia        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8369     Ketkeo       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8370     Teresa       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8371     Gayle        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8372     Tracie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8373     Marsha       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8374     Jerri        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8375     Frankie      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8376     Mattie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8377     Carla        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 464 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 172 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   8378     Mona         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8379     Shirley      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8380     Amber        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8381     Elizabeth    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8382     Carolyn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8383     Vicki        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8384     Jamie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8385     Annette      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8386     Dorinda      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8387     Cynthia      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8388     Deborah      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8389     Marilyn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8390     Laurie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8391     Ellen        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8392     Teri         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8393     Vanessa      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8394     Rosemary     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8395     Rosemary     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8396     Marie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8397     Charlotte    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8398     Candice      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8399     Shawna       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8400     Lynda        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8401     Martha       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8402     Helen        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8403     Donna        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8404     Doreen       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8405     Evelyn       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8406     Annette      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8407     Laurie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8408     Tami         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8409     Nancy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8410     April        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8411     Kathleen     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8412     Sandra       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8413     Tina         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8414     Katie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8415     Elaine       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8416     Doris        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8417     Theresa      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8418     Robin        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8419     Nancy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8420     Beverly      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8421     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8422     Linda        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8423     Jeanne       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8424     Mari-Grace   H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8425     Amber        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8426     Florine      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 465 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 173 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   8427     Denise       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8428     Anna         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8429     Radina       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8430     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8431     Jill-Marie   H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8432     Marilyn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8433     Carla        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8434     Angela       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8435     Ann          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8436     Rhonda       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8437     Darlene      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8438     Tonia        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8439     Rita         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8440     Sandra       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8441     Connie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8442     Andrea       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8443     Paula        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8444     Robin        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8445     Nancy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8446     Debra        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8447     Avis         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8448     Suzette      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8449     Judith       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8450     Lois         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8451     Silvia       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8452     Esperanza    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8453     Anna         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8454     Lithz        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8455     Joann        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8456     Otilia       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8457     Julia        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8458     Anita        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8459     Alicia       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8460     Juliana      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8461     Noris        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8462     April        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8463     Carmen       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8464     Elizabeth    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8465     Panfilita    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8466     Janet        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8467     Abett        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8468     Evelyn       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8469     Maria        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8470     Herlinda     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8471     Margarita    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8472     Sharon       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8473     Teresa       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8474     Mirta        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8475     Deborah      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 466 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 174 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   8476     Dornita      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8477     Donna        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8478     Joyce        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8479     Irma         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8480     Wendy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8481     Sara         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8482     Maryoris     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8483     Traci        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8484     Myra         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8485     Maria        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8486     Nancy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8487     Susan        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8488     Evonne       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8489     Oranzel      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8490     Barbara      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8491     Candis       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8492     Betty        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8493     Heffernan,   H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8494     Phillis      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8495     Heidi        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8496     Patricia     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8497     Kristen      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8498     Sherrie      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8499     Pam          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8500     Barbara      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8501     Susan        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8502     Ann          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8503     Rita         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8504     Irene        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8505     Brandi       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8506     Amanda       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8507     Ann          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8508     Susan        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8509     Charlaine    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8510     Faye         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8511     Delores      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8512     Linda        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8513     Shelly       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8514     Mie          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8515     Dawn         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8516     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8517     Thlisa       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8518     Diane        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8519     Sandra       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8520     Shirley      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8521     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8522     Carolyn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8523     Annette      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8524     Patricia     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 175 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   8525     Jill         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8526     Jennifer     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8527     Azline       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8528     Cathleen     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8529     Sandra       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8530     Shelia       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8531     Helen        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8532     Heidi        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8533     Karen        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8534     Heidi        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8535     Reaver       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8536     Sara         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8537     Thelma       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8538     Jackie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8539     Doraleen     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8540     Michelle     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8541     Christine    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8542     Diana        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8543     Willie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8544     Bobbie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8545     Stephanie    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8546     Carmelia     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8547     Stella       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8548     Nancy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8549     Carol        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8550     Laurie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8551     Karen        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8552     Corinne      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8553     Martha       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8554     Donna        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8555     Tai          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8556     Dianna       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8557     Carol        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8558     Tina         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8559     Josephine    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8560     Rebecca      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8561     Levonne      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8562     Arma         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8563     Helen        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8564     Valerie      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8565     Judy         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8566     Martha       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8567     Alice        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8568     Danielle     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8569     Julie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8570     Kathleen     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8571     Debra        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8572     Daisy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8573     Jane         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK           Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                        Exhibit (s) A - Q Page 468 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 176 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
   8574     Kelly         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8575     Estella       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8576     Glenetta      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8577     Irene         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8578     Stephanie     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8579     Charlotte     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8580     Edith         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8581     Jennifer      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8582     Rosa          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8583     Theresa       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8584     Almarie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8585     Chau          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8586     Ellen         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8587     Jeannine      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8588     Sandra        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8589     Juanita       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8590     Christine     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8591     Janet         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8592     Lillian       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8593     Susan         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8594     Cheryl        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8595     Vicki         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8596     Kasity        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8597     Tina          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8598     Mathilda      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8599     Natesa        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8600     Melissa       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8601     Mildred       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8602     Pamela        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8603     Joy           H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8604     Regina        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8605     Sandra        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8606     Ann           H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8607     Loiran        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8608     Deborah       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8609     Charlesetta   H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8610     Sylvia        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8611     Michelle      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8612     Jacqueline    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8613     Sandra        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8614     Ava           H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8615     Linda         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8616     Ruth          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8617     Angelina      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8618     Anna          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8619     Brenda        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8620     Catherine     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8621     Lynda         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8622     Joyce         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 469 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 177 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   8623     Janet        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8624     Nancy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8625     Ethel        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8626     Toni         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8627     Rachel       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8628     Brenda       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8629     Allison      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8630     Lisa         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8631     Kathy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8632     Lois         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8633     Sharon       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8634     Brenda       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8635     Gail         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8636     Michelle     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8637     Dawn         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8638     Donna        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8639     Lashawn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8640     Neatha       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8641     Angelina     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8642     Lori         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8643     Beryl        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8644     Kelley       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8645     Julia        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8646     Frances      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8647     Bessie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8648     Nancy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8649     Ella         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8650     Tina         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8651     Pamela       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8652     Robin        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8653     Judieth      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8654     Kristy       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8655     Paulette     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8656     Lisa         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8657     Joan         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8658     Maggie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8659     Allison      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8660     Lori         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8661     Mariel       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8662     Valinda      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8663     Gina         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8664     Megan        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8665     Pamela       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8666     Honda        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8667     Jeanette     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8668     Jackie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8669     Lilia        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8670     Susan        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8671     Barbara      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 470 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 178 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   8672     Elizabeth    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8673     Shawna       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8674     Shantina     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8675     Lisa         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8676     Shalenta     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8677     Betty        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8678     Cindy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8679     Bobbie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8680     Jacquelyn    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8681     Janice       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8682     Carol        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8683     Rosalyn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8684     Fannie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8685     Sheila       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8686     Courtney     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8687     Laurie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8688     Christa      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8689     Leslie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8690     Debbie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8691     Joanne       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8692     Georgia      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8693     Lisa         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8694     Carol        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8695     Dawn         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8696     Michelle     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8697     Barbara      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8698     Joyce        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8699     Valerie      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8700     Sondra       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8701     Shirley      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8702     Genevieve    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8703     Julie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8704     Julie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8705     Cordella     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8706     Christa      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8707     Bessie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8708     Marcia       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8709     Tammie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8710     Stephenie    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8711     Perlie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8712     Lynn         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8713     Corine       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8714     Laquisa      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8715     Joyce        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8716     Michelle     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8717     MaryAnn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8718     Penny        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8719     Johnnetta    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8720     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 471 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 179 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   8721     Pamela       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8722     Linda        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8723     Felicia      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8724     Joyce        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8725     Barbara      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8726     Grace        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8727     Marie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8728     Goldie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8729     Veda         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8730     Samantha     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8731     Joan         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8732     Laura        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8733     Peggy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8734     Michele      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8735     Ann          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8736     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8737     Marion       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8738     Karen        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8739     Barbara      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8740     Christine    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8741     Jill         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8742     Kathya       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8743     Sheila       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8744     Dawn         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8745     Muriel       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8746     Rosemary     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8747     Lana         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8748     Bonnie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8749     Elaine       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8750     Patricia     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8751     Hattie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8752     Marchette    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8753     Patricia     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8754     Polly        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8755     Tiffany      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8756     Lisa         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8757     Judith       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8758     Dorothy      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8759     Hollie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8760     Minerva      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8761     Ashley       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8762     Kelly        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8763     Dawn         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8764     Terri        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8765     Arie         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8766     Helen        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8767     Susan        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8768     Diane        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8769     Janis        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK            Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 180 of 437
                First
                            Last Name
 Claimant       Name                                                       Date of
                             (injured    Date of Birth
    No.       (injured                                         SSN        Death (if
                             person)
              person)                                        (last 4)    applicable)    Claim Type
   8770     Judy           H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8771     Lakisa         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8772     Clara          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8773     Donna          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8774     Dorothy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8775     Annie          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8776     Courtney       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8777     Christine      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8778     Staci          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8779     Velia          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8780     Angela         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8781     Romana         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8782     Jennifer       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8783     Evelyn         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8784     Mary           H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8785     Charlotte      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8786     Becky          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8787     Rasheeda       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8788     Lexi           H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8789     Samantha       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8790     Stephanie      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8791     Jennifer       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8792     Brenda         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8793     Janice         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8794     Angela         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8795     Gloria         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8796     Barbara        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8797     Jane           H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8798     Karen          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8799     Brandi         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8800     Kimberly       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8801     Erica          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8802     Angela         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8803     Shakia         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8804     Joy            H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8805     (Jefferson),   H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8806     Tiffany        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8807     April          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8808     Michele        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8809     Ava            H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8810     Lyra           H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8811     Tammy          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8812     Lillian        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8813     Tynia          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8814     Gwendolyn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8815     Barbara        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8816     Gwendolyn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8817     Cynthia        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8818     Michelle       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 473 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 181 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   8819     Kathleen     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8820     Janice       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8821     Janet        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8822     Cathy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8823     Joanne       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8824     Annie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8825     Lisa         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8826     Amber        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8827     Bobbijo      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8828     Lorraine     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8829     Sharon       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8830     Natalie      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8831     Lillie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8832     Alice        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8833     Sherra       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8834     Linda        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8835     Meredith     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8836     Regina       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8837     Gussie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8838     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8839     Anita        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8840     Marilyn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8841     Alicia       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8842     Elaine       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8843     Olha         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8844     Edna         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8845     Helen        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8846     Robin        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8847     Jonesa       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8848     Tracie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8849     Donna        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8850     Patricia     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8851     Catherine    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8852     Delores      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8853     Cynthia      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8854     Benedicta    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8855     Kimberly     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8856     Tammy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8857     Bonnie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8858     Gabriele     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8859     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8860     Laura        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8861     Patricia     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8862     Dorothy      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8863     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8864     Barbara      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8865     Dorothy      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8866     Tomica       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8867     Gloria       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 474 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 182 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   8868     Frank,       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8869     Diedra       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8870     Martha       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8871     Valarie      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8872     Nancy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8873     Bertha       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8874     Elizabeth    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8875     Dellia       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8876     Jane         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8877     Jill         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8878     Jeanne       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8879     Marilyn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8880     Melissa      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8881     Sebrna       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8882     Kay          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8883     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8884     Sharon       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8885     Norah        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8886     Janie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8887     Bessie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8888     Martha       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8889     Tommye       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8890     Cheryl       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8891     Jessie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8892     Sandra       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8893     Teresa       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8894     Amanda       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8895     Carolyn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8896     Marcie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8897     Glenda       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8898     Denise       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8899     Barbara      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8900     Beatrice     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8901     Megan        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8902     Lisa         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8903     Ella         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8904     Geraldine    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8905     Teresa       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8906     Rita         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8907     Thelma       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8908     Sheena       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8909     Annie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8910     Deborah      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8911     Teryka       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8912     Emily        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8913     Maria        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8914     Paula        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8915     Yvonne       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8916     Tiffany      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 475 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 183 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   8917     Fariyal      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8918     Andrea       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8919     Matrechia    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8920     Ruth         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8921     Lily         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8922     Katharine    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8923     Kathy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8924     Kathryn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8925     Sharon       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8926     Elizabeth    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8927     Laura        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8928     Dawn         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8929     Carol        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8930     Robin        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8931     Aybar,       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8932     Dawn         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8933     Christina    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8934     Jacqueline   H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8935     Kathy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8936     Wilma        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8937     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8938     Donna        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8939     Sandra       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8940     Letha        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8941     Cynthia      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8942     Phyllis      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8943     Carrie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8944     Sarah        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8945     Elizabeth    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8946     Anslea       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8947     Ida          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8948     Melissa      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8949     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8950     Linda        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8951     Darlene      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8952     Judith       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8953     Luanna       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8954     Judy         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8955     Goldie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8956     Elizabeth    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8957     Rebecca      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8958     Yvonne       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8959     Brenda       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8960     Evelyn       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8961     Carolyn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8962     Karla        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8963     Julia        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8964     Hallie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8965     Tina         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                        Exhibit (s) A - Q Page 476 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 184 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
   8966     Cynthia       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8967     Bertha        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8968     Irene         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8969     Pearlee       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8970     Patricia      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8971     Dorothy       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8972     Tasia         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8973     Linnea        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8974     Patty         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8975     Evaugn        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8976     Cheryl-Anne   H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8977     Bernadine     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8978     Sheila        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8979     Catherine     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8980     Ellen         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8981     Gwendolyn     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8982     Debbie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8983     Sharon        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8984     Gail          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8985     Grace         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8986     La'Shaundra   H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8987     Virginia      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8988     Beverly       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8989     Vanika        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8990     Jessie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8991     Jeanne        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8992     Sondra        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8993     Maria         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8994     Rebecca       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8995     Kathleen      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8996     Dorothy       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8997     Traschell     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8998     Debra         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   8999     Laura         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9000     Doris         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9001     Cristan       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9002     Joyce         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9003     Ruth          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9004     Lula          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9005     Carol         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9006     Janet         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9007     Rosemary      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9008     Diane         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9009     Lavonne       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9010     Dawn          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9011     Margaret      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9012     Betty         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9013     Shannon       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9014     Susan         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                        Exhibit (s) A - Q Page 477 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 185 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
   9015     Lori          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9016     Donna         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9017     Bridget       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9018     Wanda         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9019     Wanda         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9020     Linda         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9021     Patricia      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9022     Tammie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9023     Barbara       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9024     Jennifer      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9025     Kanaria       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9026     Mildred       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9027     Devonia       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9028     Rose          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9029     Niata         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9030     Carolyn       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9031     Arlene        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9032     Leila         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9033     Darlene       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9034     Helen         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9035     Paula         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9036     Cheryl        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9037     Marie         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9038     Maribel       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9039     Carmen        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9040     Zereana       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9041     Sasha         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9042     Latrica       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9043     Cristy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9044     Kelly         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9045     Chequitta     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9046     Karen         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9047     Susan         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9048     Maureen       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9049     Norma         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9050     Karen         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9051     Barbara       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9052     Genneievese   H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9053     Donna         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9054     Connie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9055     Janet         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9056     Cheryl        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9057     Easter        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9058     Sharon        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9059     Melissa       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9060     Jacqueline    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9061     Savanna       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9062     Cynthia       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9063     Judy          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 478 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 186 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   9064     Joanna       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9065     Margo        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9066     Glenda       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9067     Tara         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9068     Karol        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9069     Tanya        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9070     Cathelene    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9071     Billie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9072     Barbara      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9073     Arkimble     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9074     Nancy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9075     Tiffany      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9076     Nancy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9077     Bobbie       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9078     Cheryl       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9079     Adriane      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9080     Valerie      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9081     Donna        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9082     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9083     Lorraine     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9084     Dillina      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9085     Susan        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9086     Rose         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9087     Donna        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9088     Shirey       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9089     Patricia     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9090     Linda        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9091     Maria        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9092     Heather      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9093     Vicky        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9094     Denise       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9095     Brenda       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9096     Kathleen     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9097     Magda        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9098     Neva         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9099     Latanya      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9100     Abigail      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9101     Annie        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9102     Michelle     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9103     Marilyn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9104     Joy          H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9105     Lisa         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9106     Georgenna    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9107     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9108     Valeria      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9109     Priscilla    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9110     Evelyn       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9111     Jennifer     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9112     Jones,       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 479 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 187 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
   9113     Malinda      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9114     Gloria       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9115     DeAngila     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9116     Brenda       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9117     Cindy        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9118     Valerie      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9119     (Kittle),    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9120     Katherine    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9121     Aniqua       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9122     Louella      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9123     Valerie      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9124     Carolyn      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9125     Dorothy      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9126     Jacqueline   H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9127     Pamela       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9128     Betty        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9129     Flora        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9130     Kathleen     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9131     Juanita      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9132     Felicia      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9133     Roberta      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9134     Jeanine      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9135     Grace        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9136     Anita        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9137     Louise       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9138     Justine      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9139     Patricia     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9140     Lisa         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9141     Nina         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9142     Amanda       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9143     Danielle     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9144     Cynthia      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9145     Karen        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9146     Elizabeth    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9147     Susan        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9148     Judith       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9149     Nicole       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9150     Patricia     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9151     Elizabeth    H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9152     Patricia     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9153     Lora         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9154     Shirley      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9155     Sarah        H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9156     Theresa      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9157     Sandra       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9158     Rubina       H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9159     Chandra      H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9160     Mary         H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9161     Kimberly     H.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 188 of 437
                First
                              Last Name
 Claimant       Name                                                         Date of
                               (injured    Date of Birth
    No.       (injured                                           SSN        Death (if
                               person)
              person)                                          (last 4)    applicable)    Claim Type
   9162     Karen        H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9163     Sallie       H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9164     Cheryl       H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9165     Charlene     H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9166     Charmaine    H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9167     Kanesha      H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9168     Cleomae      H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9169     Veronica     H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9170     Lisa         H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9171     Florence     H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9172     Berna        H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9173     Jennifer     H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9174     Veronica     H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9175     Cindy        H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9176     Susan        H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9177     Jean         H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9178     Heidi        H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9179     Camtam       H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9180     Janice       H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9181     Betty        H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9182     Jami         H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9183     Patricia     H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9184     Debbie       H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9185     Shanity      H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9186     Laquawn      H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9187     Leona        H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9188     Althea       H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9189     Hilary       H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9190     Anna         H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9191     Joyce        H.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9192     Margaret     I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9193     Failelei     I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9194     JoAnn        I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9195     Sharon       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9196     Serina       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9197     Melanie      I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9198     Wendy        I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9199     Sheila       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9200     Maria        I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9201     Carol        I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9202     Martha       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9203     Betty        I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9204     Olivia       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9205     Francina     I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9206     Karen        I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9207     Athalene     I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9208     Barbara      I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9209     Dea          I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9210     Gillian      I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 189 of 437
                First
                              Last Name
 Claimant       Name                                                         Date of
                               (injured    Date of Birth
    No.       (injured                                           SSN        Death (if
                               person)
              person)                                          (last 4)    applicable)    Claim Type
   9211     Olivia       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9212     Deborah      I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9213     Rebecca      I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9214     Tia          I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9215     Gloria       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9216     Linda        I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9217     Juanita      I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9218     Ebony        I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9219     Susan        I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9220     Minerva      I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9221     Sandra       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9222     Roddie       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9223     Mattie       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9224     Linda        I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9225     Manusiu      I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9226     Carolyn      I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9227     Jacqueline   I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9228     Cheryl       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9229     Karen        I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9230     Ann          I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9231     Mary         I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9232     Patricia     I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9233     Tatiana      I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9234     Jian         I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9235     Dorothy      I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9236     Dorothy      I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9237     Monika       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9238     Carmen       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9239     Nilsa        I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9240     Yvonne       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9241     Sandra       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9242     Jacqueline   I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9243     Doris        I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9244     Renae        I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9245     Barbara      I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9246     Teresa       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9247     Carletta     I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9248     Aysha        I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9249     Melanie      I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9250     Theresa      I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9251     Sheila       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9252     Charleen     I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9253     Virginia     I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9254     Lakeisha     I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9255     Diane        I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9256     Cynthia      I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9257     Twilla       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9258     April        I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9259     Martha       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                           Exhibit (s) A - Q Page 482 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 190 of 437
                First
                              Last Name
 Claimant       Name                                                         Date of
                               (injured    Date of Birth
    No.       (injured                                           SSN        Death (if
                               person)
              person)                                          (last 4)    applicable)    Claim Type
   9260     Rosemarie    I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9261     Lyudmila     I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9262     Francine     I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9263     Heather      I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9264     Reem         I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9265     Judy         I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9266     Amanda       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9267     Susan        I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9268     Celena       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9269     Andrea       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9270     Judy         I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9271     Louise       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9272     Margart      I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9273     Mishelle     I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9274     Reba         I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9275     Annie        I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9276     Barbara      I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9277     Yumeka       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9278     Sandra       I.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9279     Lynn         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9280     Miriam       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9281     Trish        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9282     Ramona       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9283     Alice        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9284     LaRae        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9285     Brenda       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9286     Tracy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9287     Nancy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9288     Hilda        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9289     Bertha       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9290     Mary         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9291     Fonda        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9292     Sophia       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9293     Lita         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9294     Belinda      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9295     Colesta      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9296     Donna        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9297     Shirley      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9298     Lillian      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9299     Aletha       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9300     Melody       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9301     Debra        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9302     Olive        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9303     Joan         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9304     Sheila       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9305     Chantell     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9306     Cynthia      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9307     Norlishia    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9308     Deborah      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                           Exhibit (s) A - Q Page 483 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 191 of 437
                First
                              Last Name
 Claimant       Name                                                         Date of
                               (injured    Date of Birth
    No.       (injured                                           SSN        Death (if
                               person)
              person)                                          (last 4)    applicable)    Claim Type
   9309     Linda        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9310     Sharon       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9311     Margaret     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9312     Faythe       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9313     Sequoya      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9314     Helen        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9315     Emma         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9316     Roeaner      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9317     Verletta     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9318     Karen        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9319     Cheri        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9320     Linda        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9321     Donna        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9322     Gwendolyn    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9323     Bridgette    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9324     Georgia      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9325     Diain        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9326     Katie        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9327     Anna         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9328     Shirley      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9329     (Wise),      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9330     Janet        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9331     Kathleen     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9332     Joyce        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9333     Gustien      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9334     Martha       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9335     Ellen        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9336     Veronica     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9337     Rhonda       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9338     Alicestine   J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9339     Glenda       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9340     Joyce        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9341     Oja          J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9342     Henrietta    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9343     Ophelia      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9344     Georgia      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9345     Aline        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9346     Betsy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9347     Gwendolyn    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9348     Margaret     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9349     Veronica     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9350     Alberta      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9351     Geraldine    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9352     Bobbie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9353     Sandra       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9354     Laverne      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9355     Eleanor      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9356     Sonya        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9357     Rachel       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK              Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                           Exhibit (s) A - Q Page 484 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 192 of 437
                First
                              Last Name
 Claimant       Name                                                         Date of
                               (injured    Date of Birth
    No.       (injured                                           SSN        Death (if
                               person)
              person)                                          (last 4)    applicable)    Claim Type
   9358     Clara        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9359     Marilyn      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9360     Shawanda     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9361     Nakia        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9362     Sharon       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9363     Arneta       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9364     Monica       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9365     Shanta       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9366     Denise       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9367     Erin         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9368     Abbie        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9369     Geri         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9370     Jacqueline   J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9371     Roberta      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9372     Kristie      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9373     Nancy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9374     Karen        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9375     Mary         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9376     Kimberly     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9377     Phyllis      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9378     Janet        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9379     Julie        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9380     Nancy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9381     Judith       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9382     Denise       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9383     Mimi         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9384     Alana        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9385     Hanan        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9386     Ilona        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9387     Naomi        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9388     Melanie      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9389     Herminia     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9390     Linda        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9391     Latoria      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9392     Patricia     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9393     Kathy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9394     Rebecca      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9395     Brandy       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9396     Joyce        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9397     Sandra       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9398     Jacqueline   J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9399     January      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9400     Sheila       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9401     Nonia        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9402     Len          J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9403     Deborah      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9404     Nitza        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9405     Barbara      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9406     Marsha       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 193 of 437
                First
                              Last Name
 Claimant       Name                                                         Date of
                               (injured    Date of Birth
    No.       (injured                                           SSN        Death (if
                               person)
              person)                                          (last 4)    applicable)    Claim Type
   9407     Jennifer     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9408     Tharon       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9409     Vicky        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9410     Sherrion     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9411     Kathy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9412     Debra        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9413     Doris        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9414     Kathy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9415     Jimmie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9416     Linda        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9417     Lottie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9418     Regina       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9419     Gwendolyn    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9420     Althea       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9421     Tureena      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9422     Babette      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9423     Brandi       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9424     Julie        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9425     Carole       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9426     Doreen       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9427     Patricia     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9428     Ellaine      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9429     Catherine    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9430     JoAnn        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9431     Denise       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9432     Wynonia      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9433     Therese      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9434     Dollie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9435     Melissa      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9436     Michele      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9437     Alice        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9438     Alice        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9439     Virginia     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9440     Sherry       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9441     Marianne     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9442     Treva        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9443     June         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9444     Teranita     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9445     Tanya        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9446     Mary         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9447     Stephney     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9448     Bessie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9449     Orlagh       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9450     Helen        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9451     Mary         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9452     Jennifer     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9453     Laurie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9454     Jessie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9455     Consuelo     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 194 of 437
                First
                              Last Name
 Claimant       Name                                                         Date of
                               (injured    Date of Birth
    No.       (injured                                           SSN        Death (if
                               person)
              person)                                          (last 4)    applicable)    Claim Type
   9456     JoAnn        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9457     Brittney     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9458     Janice       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9459     Pierre,      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9460     Diane        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9461     Golda        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9462     Celestene    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9463     Dorothy      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9464     Anita        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9465     Ruby         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9466     Derrika      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9467     Shahzaadee   J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9468     Demetria     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9469     Doris        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9470     Shamika      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9471     Brenda       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9472     MaryAnn      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9473     JoAnn        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9474     Mattie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9475     Donna        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9476     Debbie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9477     Lajuan       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9478     Nora         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9479     Janise       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9480     Kay          J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9481     Cynthia      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9482     Anietra      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9483     Constance    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9484     Denise       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9485     Kathleen     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9486     Ada          J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9487     Stephanie    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9488     Donna        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9489     Elizabeth    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9490     Jacqueline   J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9491     Surenthia    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9492     Catherine    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9493     Latanya      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9494     Tabetha      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9495     Pamela       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9496     Nicole       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9497     Karen        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9498     Lynn         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9499     Emma         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9500     Tmara        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9501     Victoria     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9502     Elizabeth    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9503     Jacqueline   J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9504     Kathy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK              Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                           Exhibit (s) A - Q Page 487 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 195 of 437
                First
                              Last Name
 Claimant       Name                                                         Date of
                               (injured    Date of Birth
    No.       (injured                                           SSN        Death (if
                               person)
              person)                                          (last 4)    applicable)    Claim Type
   9505     Cora         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9506     Judith       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9507     Donna        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9508     Deborah      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9509     Dalene       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9510     Coma         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9511     Rhoda        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9512     Christina    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9513     Patsy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9514     Tomeka       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9515     Barbara      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9516     Cynthia      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9517     Robin        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9518     Tammy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9519     Virginia     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9520     Marcia       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9521     Marveen      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9522     Annie        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9523     Brenda       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9524     Kimberly     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9525     Karen        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9526     Melissa      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9527     Constance    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9528     April        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9529     Darlene      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9530     Rose-Marie   J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9531     Tecora       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9532     Carol        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9533     Cruz         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9534     Rosita       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9535     Lily         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9536     Frances      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9537     Maria        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9538     Beverly      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9539     Bessie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9540     Romekeia     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9541     Tricia       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9542     Marsha       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9543     Jacqueline   J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9544     Betty        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9545     Janet        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9546     Carmen       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9547     Carolyn      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9548     Diane        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9549     Brendolynn   J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9550     Nancy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9551     Joyce        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9552     Lisa         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9553     Dana         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                           Exhibit (s) A - Q Page 488 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 196 of 437
                First
                              Last Name
 Claimant       Name                                                         Date of
                               (injured    Date of Birth
    No.       (injured                                           SSN        Death (if
                               person)
              person)                                          (last 4)    applicable)    Claim Type
   9554     Marie        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9555     Denise       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9556     Cheryln      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9557     Manya        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9558     Wanda        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9559     Georgia      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9560     LaShan       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9561     Sara         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9562     Caldonia     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9563     Tina         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9564     Dorothy      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9565     LaShon       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9566     Virgie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9567     Latonya      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9568     Glenice      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9569     Janice       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9570     Anita        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9571     Jean         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9572     Debra        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9573     Faith        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9574     Crystal      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9575     Janice       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9576     Lolitta      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9577     Ollie        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9578     Donna        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9579     Judi         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9580     Mattie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9581     Jayna        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9582     Joyce        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9583     Jennifer     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9584     Crystal      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9585     Dorothy      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9586     Nikia        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9587     Patear       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9588     Kristi       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9589     Connie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9590     Lauren       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9591     Brenda       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9592     Heraldean    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9593     Deborah      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9594     Josephine    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9595     Mary         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9596     Carol        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9597     Carolyn      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9598     Margaretta   J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9599     Martha       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9600     Cindy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9601     LaSwanya     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9602     Barbara      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 197 of 437
                First
                              Last Name
 Claimant       Name                                                         Date of
                               (injured    Date of Birth
    No.       (injured                                           SSN        Death (if
                               person)
              person)                                          (last 4)    applicable)    Claim Type
   9603     Constance    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9604     Antoinette   J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9605     Teresa       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9606     Trenette     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9607     Joanetta     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9608     Marchelle    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9609     Lois         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9610     Amber        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9611     Julie        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9612     Ocie         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9613     Edna         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9614     Danita       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9615     Elaine       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9616     Clantha      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9617     Alison       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9618     Patrice      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9619     Maxine       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9620     Tashauna     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9621     Irene        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9622     Laquita      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9623     Diana        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9624     Catherine    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9625     Giggett      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9626     Janice       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9627     Goldie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9628     Mary         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9629     Joyce        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9630     Kimberly     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9631     Chantelle    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9632     Mary         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9633     Helen        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9634     Ann          J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9635     Danita       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9636     Latysha      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9637     Amy          J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9638     Denise       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9639     Bernice      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9640     Kamari       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9641     Angela       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9642     Arlene       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9643     Imandra      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9644     Janelle      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9645     Christy      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9646     Hilda        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9647     Claudia      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9648     Michelle     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9649     Willie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9650     Dolly        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9651     Charlene     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 198 of 437
                First
                              Last Name
 Claimant       Name                                                         Date of
                               (injured    Date of Birth
    No.       (injured                                           SSN        Death (if
                               person)
              person)                                          (last 4)    applicable)    Claim Type
   9652     Kathleen     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9653     Debbie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9654     Sheila       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9655     Sheila       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9656     Francine     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9657     Valencia     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9658     Joyce        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9659     Darlene      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9660     Tracey       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9661     Martha       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9662     Margaretta   J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9663     Ann          J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9664     Winifred     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9665     Linda        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9666     Betty        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9667     Beverly      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9668     Eileen       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9669     Cynthia      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9670     Judith       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9671     Nadine       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9672     Barbara      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9673     Betty        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9674     Judy         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9675     Cathy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9676     Gloria       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9677     Lorna        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9678     Jerri        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9679     April        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9680     Connie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9681     Linda        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9682     Sheila       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9683     Cynthia      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9684     Lorraine     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9685     Marian       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9686     Jayme        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9687     Amy          J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9688     Sonia        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9689     Glennda      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9690     Nadine       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9691     Alice        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9692     Kathleen     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9693     Janet        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9694     Christina    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9695     Kathy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9696     Eloise       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9697     Joan         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9698     Denise       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9699     Evelyn       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9700     Lucille      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 199 of 437
                First
                              Last Name
 Claimant       Name                                                         Date of
                               (injured    Date of Birth
    No.       (injured                                           SSN        Death (if
                               person)
              person)                                          (last 4)    applicable)    Claim Type
   9701     Mildred      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9702     Joanne       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9703     Stacie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9704     Gail         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9705     Brandi       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9706     Mary         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9707     Wanda        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9708     Mary         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9709     Jackie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9710     Tammy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9711     Bonnie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9712     Mattie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9713     Emandolia    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9714     Rory         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9715     Denise       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9716     Crystal      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9717     Bertha       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9718     Catherine    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9719     Beverly      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9720     Denise       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9721     Crytal       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9722     Sara         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9723     Yolanda      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9724     Tamara       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9725     Michelle     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9726     Sharon       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9727     Michelle     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9728     Margaret     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9729     Sheila       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9730     Janice       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9731     Flora        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9732     Maurine      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9733     Maurine      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9734     Barbara      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9735     Simone       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9736     Annie        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9737     Daisy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9738     Adrianne     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9739     Vickie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9740     Theresa      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9741     Brenda       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9742     Shirley      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9743     Angela       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9744     Linda        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9745     Kaye         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9746     Debi         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9747     Sally        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9748     Lee          J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9749     Delphine     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                           Exhibit (s) A - Q Page 492 of 1377
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 200 of 437
                First
                              Last Name
 Claimant       Name                                                         Date of
                               (injured    Date of Birth
    No.       (injured                                           SSN        Death (if
                               person)
              person)                                          (last 4)    applicable)    Claim Type
   9750     Christal     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9751     Rebecca      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9752     Elner        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9753     Mary         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9754     Nancy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9755     Mary         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9756     Dorothy      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9757     Peggy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9758     Florence     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9759     Veronica     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9760     Alvertha     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9761     Jimmy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9762     Sheila       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9763     Diata        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9764     Cynthia      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9765     Tondra       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9766     Deborah      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9767     Christine    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9768     Judy         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9769     Tracy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9770     Nikki        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9771     Bonnie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9772     Lois         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9773     Rebecca      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9774     Cheryl       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9775     Corneila     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9776     Naila        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9777     Faye         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9778     Robin        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9779     Debby        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9780     Kathy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9781     Ruth         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9782     Roberta      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9783     Cagney       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9784     Karen        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9785     Antoinette   J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9786     Wilhemina    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9787     Barbara      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9788     Heather      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9789     Amanda       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9790     Jayda        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9791     Autrey       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9792     Shirley      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9793     Susan        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9794     Kimberly     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9795     Diane        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9796     Gail         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9797     Thella       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9798     Joyce        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 201 of 437
                First
                               Last Name
 Claimant       Name                                                          Date of
                                (injured    Date of Birth
    No.       (injured                                            SSN        Death (if
                                person)
              person)                                           (last 4)    applicable)    Claim Type
   9799     Sharion       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9800     Sally         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9801     Christielou   J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9802     Mary          J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9803     Mona          J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9804     Diane         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9805     Pamela        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9806     Maude         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9807     Valorie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9808     Bobbie        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9809     Ruth          J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9810     Heather       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9811     Betty         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9812     Juanita       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9813     Kwana         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9814     Brenda        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9815     Audrey        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9816     Andrea        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9817     Annie         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9818     Rose          J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9819     Kathy         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9820     Celeste       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9821     Deanna        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9822     Emma          J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9823     Jonee         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9824     Chamayne      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9825     Nellie        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9826     Barbara       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9827     Diane         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9828     Cora          J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9829     Lorrie        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9830     Mary          J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9831     Mabel         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9832     Madeline      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9833     Connie        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9834     Jeanette      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9835     Glenda        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9836     Mary          J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9837     Lakeyah       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9838     Anita         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9839     Marcy         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9840     Alisha        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9841     Cole,         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9842     Christine     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9843     Frances       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9844     Jennifer      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9845     Rosann        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9846     Orgneta       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9847     Rebecca       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 202 of 437
                First
                              Last Name
 Claimant       Name                                                         Date of
                               (injured    Date of Birth
    No.       (injured                                           SSN        Death (if
                               person)
              person)                                          (last 4)    applicable)    Claim Type
   9848     Diane        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9849     Lula         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9850     Yonina       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9851     Lakyda       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9852     Sandra       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9853     Nicole       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9854     Willie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9855     Mary         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9856     Debra        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9857     Charmian     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9858     Sherry       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9859     Vestina      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9860     Janet        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9861     Ramona       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9862     Carole       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9863     Sharon       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9864     Kyle         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9865     Melissa      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9866     Emma         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9867     Renee        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9868     Brynna       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9869     Wanda        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9870     Gertie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9871     Margaret     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9872     Cheree       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9873     Kimberly     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9874     Fannie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9875     Annette      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9876     Nancy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9877     Dawn         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9878     Doris        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9879     Venia        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9880     Tennille     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9881     Vivian       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9882     Margaret     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9883     Aleta        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9884     Julie        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9885     Floretta     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9886     Nancy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9887     Monalisa     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9888     Patricia     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9889     Anika        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9890     Kathleen     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9891     Patricia     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9892     Betty        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9893     Gail         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9894     Mary         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9895     Sophie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9896     Marianne     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 203 of 437
                First
                              Last Name
 Claimant       Name                                                         Date of
                               (injured    Date of Birth
    No.       (injured                                           SSN        Death (if
                               person)
              person)                                          (last 4)    applicable)    Claim Type
   9897     Gwendolyn    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9898     Loni         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9899     Hope         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9900     Lori         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9901     Sherry       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9902     Dolores      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9903     Vivian       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9904     Donna        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9905     Sandi        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9906     Darnell      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9907     Cynthia      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9908     Carlene      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9909     Jean         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9910     Barbara      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9911     Gretchen     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9912     Penelope     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9913     Sharon       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9914     Cynthia      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9915     Gail         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9916     Angela       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9917     Marvie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9918     Bernice      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9919     Chelise      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9920     Geraldine    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9921     Johinnie     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9922     Terri        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9923     Dawn         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9924     Rosie        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9925     Victoria     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9926     Ellie        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9927     Gertrude     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9928     Dawn         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9929     Gwendolyn    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9930     Margaret     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9931     Elsie        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9932     Evie         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9933     Brenda       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9934     Surverler    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9935     Judith       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9936     Terry        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9937     Tanya        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9938     Sandra       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9939     Diana        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9940     Kristina     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9941     Violet       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9942     Gloria       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9943     Rosie        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9944     Laura        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9945     Kewanna      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 204 of 437
                First
                              Last Name
 Claimant       Name                                                         Date of
                               (injured    Date of Birth
    No.       (injured                                           SSN        Death (if
                               person)
              person)                                          (last 4)    applicable)    Claim Type
   9946     Lou          J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9947     Marcel       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9948     Patricia     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9949     Terri        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9950     Gloria       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9951     Cheryl       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9952     Jeannette    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9953     Kristin      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9954     Shirley      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9955     Juanita      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9956     Betty        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9957     Janet        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9958     Valerie      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9959     Chiquita     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9960     Dorphine     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9961     Donna        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9962     Sabrina      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9963     Rosie        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9964     Jaylessa     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9965     Beverly      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9966     Betty        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9967     Patricia     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9968     Joellen      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9969     Shirley      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9970     Eunice       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9971     Kathryn      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9972     Rosetta      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9973     Peggy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9974     Eva          J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9975     Annie        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9976     Glenda       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9977     Patricia     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9978     Georgette    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9979     Jennifer     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9980     Fay          J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9981     Patricia     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9982     Erika        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9983     Louise       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9984     Lourdes      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9985     Alma         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9986     Theresa      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9987     Angela       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9988     Amy          J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9989     Tracy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9990     Shayna       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9991     Margaret     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9992     Fitzgerald   J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9993     Tara         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
   9994     Puanani      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                           Exhibit (s) A - Q Page 497 of 1377
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 205 of 437
                First
                              Last Name
 Claimant       Name                                                         Date of
                               (injured    Date of Birth
    No.       (injured                                           SSN        Death (if
                               person)
              person)                                          (last 4)    applicable)    Claim Type
  9995      Marie        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  9996      Anita        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  9997      Susan        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  9998      Shirley      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  9999      Jana         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10000     Marie        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10001     Dale         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10002     Mary         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10003     Virginia     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10004     Betty        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10005     Paula        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10006     Barbara      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10007     Teresa       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10008     Felecia      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10009     Onie         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10010     Sharnice     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10011     Katherine    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10012     Micheline    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10013     Letricia     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10014     Ginger       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10015     Danielle     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10016     Maryellen    J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10017     Rose         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10018     Virginia     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10019     Wilma        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10020     Nancy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10021     Sharon       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10022     Sheryl       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10023     Edna         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10024     Misty        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10025     Brittney     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10026     Assunta      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10027     Vickie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10028     Jeannine     J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10029     Ashley       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10030     Lillian      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10031     Pauline      J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10032     Betsy        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10033     Leslie       J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10034     Anne         J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10035     Linda        J.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10036     Margie       K.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10037     Joan         K.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10038     Deborah      K.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10039     Colene       K.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10040     Juanita      K.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10041     Ruth         K.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10042     Sally        K.               [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10043     Sally        K.               [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK            Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                         Exhibit (s) A - Q Page 498 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 206 of 437
                First
                            Last Name
 Claimant       Name                                                       Date of
                             (injured    Date of Birth
    No.       (injured                                         SSN        Death (if
                             person)
              person)                                        (last 4)    applicable)    Claim Type
  10044     Martha         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10045     (Dickerman),   K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10046     Janis          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10047     Elsie          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10048     Mary           K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10049     Patricia       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10050     Mariana        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10051     Beverly        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10052     Antonina       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10053     Barbara        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10054     Sandra         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10055     Lauretta       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10056     Phyllis        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10057     Brenda         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10058     Rhonda         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10059     Matilda        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10060     Asdghig        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10061     Camillia       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10062     Vickie         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10063     Leslie         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10064     Sharon         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10065     Diane          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10066     Naomi          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10067     Sandra         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10068     Peggy          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10069     Patricia       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10070     Anna           K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10071     Beverly        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10072     Barbara        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10073     Anna           K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10074     Barinder       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10075     Jonelle        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10076     Cynthia        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10077     Janice         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10078     Servina        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10079     Joy            K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10080     Iris           K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10081     (Higashi),     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10082     Salua          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10083     Renee          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10084     Phyllis        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10085     Linda          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10086     Barbara        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10087     Suzanne        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10088     Susan          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10089     Nancy          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10090     Mary           K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10091     Patricia       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10092     Nancy          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 207 of 437
                  First
                            Last Name
 Claimant         Name                                                     Date of
                             (injured    Date of Birth
    No.         (injured                                       SSN        Death (if
                             person)
                person)                                      (last 4)    applicable)    Claim Type
  10093     Teresa         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10094     Janina         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10095     Carrie         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10096     Lula           K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10097     Mary           K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10098     Diana          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10099     Catherine      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10100     Boyd,          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10101     Kimberly       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10102     Regina         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10103     Carol          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10104     Diana          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10105     Ann            K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10106     Sandra         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10107     Siosiana       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10108     Kimberley      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10109     Ellen          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10110     Nellie         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10111     Kathleen       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10112     Leslie         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10113     Israela        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10114     Ilene          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10115     ,              K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10116     Lois           K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10117     Judith         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10118     Jonalyn        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10119     Sidney         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10120     Paula          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10121     Balvinder      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10122     Suzanne        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10123     Spurrier,      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10124     Brenda         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10125     April          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10126     Lynn           K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10127     Lori           K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10128     Patricia       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10129     Mary           K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10130     Rebecca        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10131     Bessie         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10132     Helen          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10133     Katherine      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10134     Darla          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10135     Lisa           K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10136     Donna          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10137     Patti          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10138     Pamela         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10139     Janice         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10140     Betty          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10141     Patricia       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 208 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  10142     Bonnie       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10143     Cynthia      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10144     Kathleen     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10145     Melvin,      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10146     Barbara      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10147     Sheri        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10148     Betty        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10149     Patricia     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10150     Mildred      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10151     Nancy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10152     Sandra       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10153     Angela       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10154     Barbara      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10155     Juanita      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10156     Thelma       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10157     Nancy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10158     Diedre       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10159     Lisa         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10160     Lisa         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10161     Jody         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10162     Sherry       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10163     Dianna       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10164     Christina    K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10165     Amelia       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10166     Bernadine    K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10167     Angela       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10168     Katie        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10169     Tammy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10170     Dolores      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10171     Marie        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10172     Gail         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10173     Esther       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10174     Veronica     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10175     Beth         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10176     Jacqueline   K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10177     Brenda       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10178     Nancy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10179     Robin        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10180     Brenda       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10181     Valerie      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10182     Roxanne      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10183     Sandra       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10184     Marilynn     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10185     Phyllis      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10186     Judy         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10187     Eilene       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10188     Barbara      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10189     Erma         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10190     Laurie       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 501 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 209 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  10191     Corrine      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10192     Marilyn      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10193     Margaret     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10194     Cheryl       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10195     Patricia     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10196     Linda        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10197     Trinity      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10198     Tracy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10199     Marie        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10200     Karen        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10201     Dawn         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10202     Sheila       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10203     Katha        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10204     Nancy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10205     Briana       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10206     Kathryn      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10207     Bunnie       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10208     Sharon       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10209     Arlena       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10210     Taylor       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10211     Thelma       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10212     Kimberly     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10213     Carol        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10214     Cathy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10215     Adelaide     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10216     Mary         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10217     Gail         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10218     Charleen     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10219     Madeline     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10220     Nancy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10221     Janice       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10222     Eliza        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10223     Shelly       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10224     Danielle     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10225     Delores      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10226     Heather      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10227     Amber        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10228     Tonia        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10229     Amy          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10230     Laura        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10231     Pamela       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10232     Nancy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10233     Margaret     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10234     Patricia     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10235     Varie        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10236     Judy         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10237     Tracie       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10238     Kathy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10239     Janet        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 502 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 210 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  10240     Catherine    K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10241     Stacy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10242     Patricia     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10243     Lisa         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10244     Jodie        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10245     Tina         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10246     Lisa         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10247     Shannon      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10248     Kimberly     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10249     Tanya        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10250     Renie        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10251     Mary         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10252     Lola         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10253     Tiffany      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10254     Edith        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10255     Rachael      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10256     Judith       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10257     Lorine       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10258     Virginia     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10259     Katanya      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10260     Susan        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10261     Naomi        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10262     Amy          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10263     Gloria       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10264     Dorothy      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10265     Bertha       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10266     Phyllis      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10267     Linda        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10268     Rhonda       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10269     Carol        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10270     Sherry       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10271     Trinidad     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10272     Trina        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10273     Catherine    K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10274     Mingyon      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10275     Sandra       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10276     Becky        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10277     Deborah      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10278     Sandra       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10279     Hannah       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10280     Kathleen     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10281     Mary         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10282     Loretta      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10283     Tammy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10284     Amanda       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10285     Cathy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10286     Rita         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10287     Barbara      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10288     Marlyn       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 503 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 211 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  10289     Pamela       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10290     Diane        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10291     Mary         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10292     Alice        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10293     Sue          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10294     Billie       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10295     Michelle     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10296     Ruth         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10297     Reba         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10298     Patricia     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10299     Debra        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10300     Charlotte    K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10301     Carol        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10302     Susan        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10303     Angela       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10304     Candice      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10305     Susan        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10306     Jody         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10307     Barbara      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10308     Joyce        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10309     Karen        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10310     Lisa         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10311     Michelle     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10312     Jessica      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10313     Kate         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10314     Kristi       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10315     Shakeita     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10316     Tasha        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10317     Barbara      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10318     Freda        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10319     Carrie       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10320     Joan         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10321     Carla        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10322     Karen        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10323     June         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10324     Blondell     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10325     Janet        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10326     Bella        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10327     Shannon      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10328     Lilly        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10329     Lilly        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10330     Evoda        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10331     Charlene     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10332     Sheila       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10333     Vickie       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10334     Dawn         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10335     Debrann      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10336     Marsha       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10337     Marion       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 212 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  10338     Crystal      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10339     Norma        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10340     Jonnia       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10341     Ysleta       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10342     Cindi        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10343     Suzanne      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10344     Merri        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10345     Kathleen     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10346     Charlett     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10347     Jennie       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10348     Selena       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10349     Sandra       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10350     Mary         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10351     Kathleen     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10352     Donna        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10353     Robin        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10354     Rhonda       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10355     Amy          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10356     Karen        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10357     Kelley       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10358     Junghyun     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10359     Taesun       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10360     Julie        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10361     Karen        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10362     Dana         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10363     Chainice     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10364     Eleanor      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10365     Sheena       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10366     Cindy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10367     Johnnie      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10368     Theresa      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10369     Barbara      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10370     Patricia     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10371     Tiffany      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10372     Della        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10373     Eva          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10374     Debra        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10375     Tammy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10376     Debbie       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10377     Sharalyn     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10378     Betty        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10379     Jennifer     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10380     Lorraine     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10381     Grace        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10382     Lesley       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10383     Joyce        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10384     Christiana   K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10385     Kathryn      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10386     Sheila       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 213 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  10387     Equilla      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10388     Dina         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10389     Kimberly     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10390     Susan        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10391     Mary         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10392     Cheryl       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10393     Vivian       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10394     Linda        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10395     Nevarrah     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10396     Suzette      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10397     Anna         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10398     Debra        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10399     Genette      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10400     Ashley       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10401     Alleen       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10402     Latrice      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10403     Barbara      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10404     Stacey       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10405     Deborah      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10406     Debra        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10407     Kathy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10408     Faustine     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10409     Gloria       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10410     Kimbra       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10411     Bonny        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10412     Cindy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10413     Terryle      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10414     Karen        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10415     Krystal      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10416     Melissa      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10417     Tanya        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10418     Mattie       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10419     Toni         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10420     Diane        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10421     Coreen       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10422     Mickell      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10423     Donna        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10424     Kathie       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10425     Judith       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10426     Brenda       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10427     Susan        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10428     Pamela       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10429     Linda        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10430     Judith       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10431     Etta         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10432     Nanette      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10433     Valerie      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10434     Sara         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10435     Sharon       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 506 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 214 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  10436     Louise       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10437     Jenanne      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10438     Catherine    K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10439     Rosalie      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10440     Deborah      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10441     Bessie       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10442     Veronica     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10443     Kathleen     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10444     Lisa         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10445     Lisa         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10446     Juanita      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10447     Laneita      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10448     Crystal      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10449     Shawna       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10450     Joyce        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10451     Sharon       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10452     Barbara      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10453     Regina       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10454     Alison       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10455     Jennie       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10456     Wendy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10457     Ruth         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10458     Kirkey       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10459     Peggy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10460     Donna        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10461     Mary         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10462     Kacy         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10463     Suzette      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10464     Lisa         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10465     Deborah      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10466     Tammy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10467     Crystal      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10468     Debra        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10469     Phyllis      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10470     Janet        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10471     Locke,       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10472     Pam          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10473     Randa        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10474     Beverly      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10475     Rita         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10476     Constance    K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10477     Francine     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10478     Erma         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10479     Carole       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10480     Judith       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10481     Judith       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10482     Debora       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10483     Donna        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10484     Donna        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 507 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 215 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  10485     Amanda       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10486     Debra        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10487     Rodora       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10488     Gerri        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10489     Karen        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10490     Katherine    K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10491     Ivy          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10492     Melanie      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10493     Sandra       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10494     Jerri        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10495     Shawna       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10496     Billy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10497     Kylene       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10498     Shannon      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10499     Beverly      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10500     Denise       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10501     Elaine       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10502     Karen        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10503     Carol        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10504     Nancy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10505     Barbara      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10506     Veronica     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10507     Cindy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10508     Patty        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10509     Thera        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10510     Loretta      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10511     Janet        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10512     Kathryn      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10513     Nicole       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10514     Danielle     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10515     Plassie      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10516     Martha       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10517     Dorothy      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10518     Carol        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10519     Voncel       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10520     Miriam       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10521     Paulette     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10522     Kathryn      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10523     Ignacia      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10524     Doris        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10525     Amelia       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10526     Johanne      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10527     Kristina     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10528     Catrice      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10529     Jeanette     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10530     Marchelle    K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10531     Diane        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10532     Catherine    K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10533     Esonia       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 508 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 216 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  10534     Linda        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10535     Joyce        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10536     Miriam       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10537     Edna         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10538     Marlene      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10539     Linda        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10540     Arlene       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10541     Donna        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10542     Tanya        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10543     Patricia     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10544     Ilona        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10545     Jean         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10546     Lindsay      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10547     Paula        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10548     Frieda       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10549     Sandra       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10550     Danielle     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10551     Jennifer     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10552     Mary         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10553     Sandra       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10554     Sandy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10555     Jennifer     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10556     Sara         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10557     Mindy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10558     Lynda        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10559     Deanna       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10560     Margaret     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10561     Rona         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10562     Judith       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10563     Susan        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10564     Danette      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10565     Kathy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10566     Linda        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10567     Linda        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10568     Elizabeth    K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10569     Salvacion    K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10570     Sonya        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10571     Cindy        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10572     Noreen       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10573     Danielle     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10574     Joanne       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10575     Joan         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10576     Jessica      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10577     Margaret     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10578     Frances      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10579     Melissa      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10580     Judith       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10581     Kasandra     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10582     Jane         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 217 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
  10583     Alyce         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10584     Carla         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10585     Karen         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10586     Chrisayus     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10587     Leigh         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10588     Gemma         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10589     Rosalind      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10590     Janet         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10591     Summer        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10592     Judith        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10593     Franziska     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10594     Cheryal       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10595     Roberta       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10596     Susan         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10597     Emma          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10598     Alisha        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10599     Patricia      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10600     Terry         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10601     Linda         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10602     Jana          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10603     Betty         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10604     Mary          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10605     Danuta        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10606     Marjorie      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10607     Catherine     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10608     Nicole        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10609     Joyce         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10610     Cheryl        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10611     Marilou       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10612     Carla         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10613     Gail          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10614     Aurora        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10615     Ada           K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10616     Irena         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10617     Shawun        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10618     Marlene       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10619     Marina        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10620     Judith        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10621     Linda         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10622     Judith        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10623     Cathy-Alice   K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10624     Evelyn        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10625     Jackie        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10626     Elzbieta      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10627     Deborah       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10628     Cassie        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10629     Carolyn       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10630     Joyce         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10631     Stella        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK           Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 218 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
  10632     Galadrialle   K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10633     Cathy         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10634     Jennifer      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10635     Valerie       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10636     Tresha        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10637     Elizabeth     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10638     Marsha        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10639     Mary          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10640     Mary          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10641     Phyllis       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10642     Judy          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10643     Susanne       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10644     Helen         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10645     Laura         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10646     Nina          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10647     Barbara       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10648     Jennifer      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10649     Alice         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10650     Antoinette    K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10651     Elizabeth     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10652     Deborah       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10653     Sharon        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10654     Charlotte     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10655     Julia         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10656     Tina          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10657     Denise        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10658     Candy         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10659     Nancy         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10660     Bonnie        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10661     Kathleen      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10662     Susan         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10663     Heidi         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10664     Elizabeth     K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10665     Lelah         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10666     Sandra        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10667     Marylou       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10668     Sharon        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10669     Cynthia       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10670     Cynthia       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10671     Ellen         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10672     Jean          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10673     Lori          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10674     Darcy         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10675     Maryjane      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10676     Darlys        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10677     Donna         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10678     Debbie        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10679     Shirley       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10680     Wanda         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK            Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                         Exhibit (s) A - Q Page 511 of 1377
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 219 of 437
                  First
                            Last Name
 Claimant         Name                                                     Date of
                             (injured    Date of Birth
    No.         (injured                                       SSN        Death (if
                             person)
                person)                                      (last 4)    applicable)    Claim Type
  10681     Danuta         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10682     Rebecca        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10683     Carol          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10684     Debra          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10685     Doreen         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10686     Christina      K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10687     Donna          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10688     Heath,         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10689     Rebecca        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10690     Deborah        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10691     Victoria       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10692     Donna          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10693     Deborah        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10694     Kathryn        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10695     Sandra         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10696     A              K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10697     Ronita         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10698     Patricia       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10699     Judith         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10700     Gerianne       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10701     Helen          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10702     Barbara        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10703     Lynn           K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10704     Frances        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10705     Kathryn        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10706     Susan          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10707     Brenda         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10708     Sanela         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10709     Camela         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10710     Whitney        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10711     Kathy          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10712     Janet          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10713     Belle          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10714     Patricia       K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10715     Shirley        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10716     Jean           K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10717     Kaye           K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10718     Lucyna         K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10719     Norma          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10720     Julie          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10721     Cynthia        K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10722     Doris          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10723     Debra          K.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10724     Ferney,        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10725     Fleur,         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10726     Pointe,        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10727     Colleen        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10728     Carol          L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10729     Desiree        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 512 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 220 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  10730     Yvonne       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10731     Pearlie      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10732     Denise       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10733     Eva          L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10734     Julie        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10735     Anita        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10736     Sue          L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10737     Dedria       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10738     Sonya        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10739     Tonia        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10740     Nanell       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10741     Barbara      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10742     Donna        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10743     Deena        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10744     Nellie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10745     Katrina      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10746     Beverly      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10747     Mariah       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10748     Jean         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10749     Verbenia     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10750     Maureen      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10751     Mary         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10752     Francine     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10753     Cynthia      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10754     Elaine       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10755     Gina         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10756     Lola         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10757     Stephanie    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10758     Suzanne      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10759     Susan        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10760     Celines      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10761     Emma         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10762     Janela       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10763     Helen        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10764     Terri        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10765     Roberta      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10766     Kelly        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10767     Patricia     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10768     Mary         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10769     Ruby         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10770     Stacey       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10771     Hanh         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10772     Jamie        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10773     Birdie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10774     Kathy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10775     Flossie      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10776     Gail         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10777     Amica        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10778     Bette        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 221 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  10779     Chastity     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10780     Janice       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10781     Nancy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10782     Rebecca      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10783     Lisa         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10784     Deborah      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10785     Lynne        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10786     Amber        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10787     Deborah      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10788     Amanda       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10789     Louise       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10790     Beth         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10791     Janice       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10792     Denise       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10793     Stephanie    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10794     Audrey       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10795     Anna         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10796     Nancy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10797     Cheryl       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10798     Linda        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10799     Michelle     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10800     Andrea       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10801     Dianne       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10802     Melissa      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10803     Sharon       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10804     Linda        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10805     Carol        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10806     Darlene      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10807     Christina    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10808     Joyce        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10809     Mildred      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10810     Lee          L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10811     Latrika      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10812     Anna         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10813     Barbara      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10814     Vicki        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10815     Cherina      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10816     Margaret     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10817     Mary         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10818     Jennifer     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10819     Suetta       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10820     Staci        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10821     Dorothy      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10822     Donna        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10823     Jamie        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10824     Lanome       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10825     Eileen       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10826     Lori         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10827     Dorothy      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 222 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  10828     Lisa         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10829     Linda        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10830     Frances      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10831     Gladys       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10832     Judith       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10833     Velma        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10834     Elitteon     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10835     Lisa         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10836     Krystal      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10837     Cynthia      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10838     Frances      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10839     Deborah      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10840     Jamie        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10841     Anjanette    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10842     Lora         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10843     Roberta      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10844     Jill         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10845     Lisa         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10846     Stacy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10847     Felicia      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10848     Wendy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10849     Jane         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10850     Amanda       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10851     Carole       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10852     Loretta      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10853     Lynnda       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10854     Brigitte     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10855     Nanci        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10856     Kathleen     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10857     Julie        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10858     Charlotte    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10859     Hilda        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10860     Christine    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10861     Laurna       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10862     Venus        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10863     Marie        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10864     Sonia        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10865     Edelmira     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10866     Aimee        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10867     Roberta      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10868     Clara        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10869     Stephanie    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10870     Christy      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10871     Muriel       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10872     Jaclyn       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10873     Suzanne      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10874     Cynthia      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10875     Cynthia      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10876     Rosemary     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 515 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 223 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  10877     Melissa      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10878     Mildred      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10879     Kandi        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10880     Nancy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10881     Ernestine    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10882     Dian         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10883     Lynnae       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10884     Diane        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10885     Karin        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10886     Martha       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10887     Tina         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10888     Kathleen     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10889     Lynne        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10890     Rhonda       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10891     Eileen       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10892     Kristin      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10893     Sheila       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10894     Patricia     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10895     Debbie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10896     Agnes        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10897     Amy          L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10898     Iris         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10899     Delia        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10900     Charlotte    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10901     Carmen       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10902     Lauren       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10903     Karen        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10904     Roberta      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10905     Carol        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10906     Christine    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10907     Sandra       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10908     Cynthia      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10909     Lois         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10910     Edna         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10911     Sally        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10912     Sarah        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10913     Shirley      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10914     Pattie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10915     Bonnie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10916     Mauralesa    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10917     Danielle     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10918     Yvonne       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10919     Lisa         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10920     Tawana       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10921     Dorothy      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10922     Deborah      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10923     Pat          L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10924     Karen        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10925     Adele        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 516 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 224 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  10926     Elizabeth    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10927     Shari        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10928     Margaret     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10929     Mary         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10930     Susan        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10931     Patricia     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10932     Vera         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10933     Karen        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10934     Laurie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10935     Lynn         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10936     Ruth         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10937     Mary         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10938     Karen        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10939     Mary         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10940     Debra        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10941     Phyllis      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10942     Jennifer     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10943     Pamela       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10944     Elizabeth    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10945     Glenda       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10946     Amy          L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10947     Chevelle     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10948     Kimberly     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10949     Patricia     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10950     Denise       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10951     Christine    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10952     Paula        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10953     Sandra       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10954     June         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10955     Karen        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10956     Joanne       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10957     Lisa         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10958     Martha       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10959     Sally        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10960     Jo           L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10961     Chantay      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10962     Kristi       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10963     Lillie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10964     Barbara      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10965     Cherlyn      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10966     Florence     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10967     Jessica      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10968     Valeria      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10969     Jennifer     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10970     Linda        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10971     Marcia       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10972     Emily        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10973     Ethel        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10974     Jenna        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 225 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  10975     Donna        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10976     Linda        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10977     Cynthia      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10978     Melissa      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10979     Pamela       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10980     Nettie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10981     Melvina      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10982     Patricia     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10983     Stephanie    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10984     Laurie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10985     Linda        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10986     Logan        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10987     Jean         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10988     Georgia      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10989     Teresa       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10990     Teresa       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10991     Mercedes     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10992     Gale         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10993     Lillie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10994     Geraldine    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10995     Maria        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10996     Gina         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10997     Doyen,       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10998     Blanc,       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  10999     Blanc,       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11000     Letha        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11001     Ann          L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11002     Evelyn       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11003     Lisa         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11004     Ethel        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11005     Bridget      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11006     Cassandra    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11007     Karen        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11008     Marina       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11009     Nancy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11010     Marguerite   L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11011     Mary         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11012     Aleene       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11013     Cynthia      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11014     Memoree      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11015     Taira        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11016     Marie        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11017     Nancy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11018     Ashley       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11019     Jean         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11020     Phyllis      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11021     Donna        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11022     Margaret     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11023     Melinda      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 226 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  11024     Susan        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11025     Christine    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11026     Ora          L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11027     Offir        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11028     Josephine    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11029     Sandra       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11030     Erica        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11031     Patricia     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11032     Yau          L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11033     Teresa       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11034     Hellena      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11035     Patricia     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11036     Terrie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11037     Peggy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11038     Gloria       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11039     Doris        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11040     Deanna       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11041     Monica       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11042     Dorothy      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11043     Deann        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11044     Kathleen     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11045     Carolyn      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11046     Ada          L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11047     Lacoya       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11048     Kimberly     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11049     Theresa      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11050     Sara         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11051     Darlene      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11052     Etta         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11053     Linda        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11054     Deborah      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11055     Idella       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11056     Cita         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11057     Sharon       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11058     Essie        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11059     Robin        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11060     Cathy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11061     Leslie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11062     Peggy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11063     Susan        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11064     Laura        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11065     Margareth    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11066     Melinda      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11067     Janice       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11068     Pamela       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11069     Karen        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11070     Keuannya     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11071     Brenda       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11072     Shannon      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 519 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 227 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  11073     Deborah      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11074     Mary         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11075     Rosa         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11076     Beverly      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11077     Ciniqua      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11078     Tara         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11079     Gail         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11080     Polly        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11081     LaCharra     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11082     Jakarta      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11083     Leila        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11084     Kay          L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11085     Shannon      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11086     Jane         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11087     Brenda       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11088     Ellisa       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11089     Virginia     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11090     Jane         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11091     Christine    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11092     Kathleen     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11093     Vivian       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11094     Kathryn      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11095     Sharon       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11096     Christine    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11097     Barbara      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11098     Gayle        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11099     Wendy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11100     Rosarita     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11101     Carrie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11102     Debra        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11103     Terri        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11104     Cathy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11105     Debbie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11106     Janice       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11107     Rhonda       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11108     Gabrielle    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11109     Marlene      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11110     Annie        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11111     Denise       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11112     Patricia     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11113     Angela       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11114     Leticia      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11115     Jean         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11116     Jeannine     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11117     Sylvia       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11118     Susan        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11119     Nunda        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11120     Ashley       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11121     Rosemary     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 520 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 228 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  11122     Michelle     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11123     Crystalee    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11124     Barbara      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11125     Irene        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11126     Windy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11127     Latanya      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11128     Jacqueline   L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11129     Lauren       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11130     Loreine      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11131     Carolyn      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11132     Stephanie    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11133     Teresa       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11134     Tammy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11135     Bonnie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11136     Annairis     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11137     Elise        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11138     Donna        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11139     Marlene      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11140     Mercedes     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11141     Lisa         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11142     Jacqueline   L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11143     Katherine    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11144     Katrina      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11145     Mary         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11146     Denise       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11147     Leola        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11148     Jewell       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11149     Tammy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11150     Theresa      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11151     Debra        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11152     Lorraine     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11153     Diana        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11154     Patsy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11155     Amber        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11156     Deborah      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11157     Barbara      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11158     Val          L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11159     Jonie        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11160     Susan        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11161     Constance    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11162     Dorothy      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11163     Carol        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11164     Barbara      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11165     Deborah      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11166     Dorene       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11167     Babia        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11168     Barbara      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11169     Ramona       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11170     Dina         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 521 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 229 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  11171     Tammie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11172     Carlessa     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11173     Bonnie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11174     Donna        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11175     Patricia     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11176     Lisa         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11177     Emily        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11178     Tammy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11179     Malinda      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11180     Leticia      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11181     Benita       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11182     Berlene      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11183     Danita       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11184     Susan        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11185     Lena         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11186     Debbie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11187     Urachel      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11188     Terri        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11189     Penny        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11190     Jocelya      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11191     Carole       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11192     Lea          L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11193     Andrea       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11194     Madonna      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11195     Susan        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11196     Takela       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11197     Wanda        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11198     Linda        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11199     Clara        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11200     Joan         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11201     Ann          L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11202     Patricia     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11203     Laura        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11204     Jackie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11205     Melissa      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11206     Vera         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11207     Valerie      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11208     Erna         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11209     Lajoya       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11210     Ruthie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11211     Lillia       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11212     Mary         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11213     Sedena       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11214     Charlie      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11215     Jo Ann       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11216     Vanessa      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11217     Deanna       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11218     Nannell      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11219     Sonya        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 522 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 230 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  11220     Meredith     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11221     Deborah      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11222     Kimberly     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11223     Barbara      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11224     Kelley       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11225     Janet        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11226     Sharron      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11227     Lauren       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11228     Maria        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11229     Tina-Marie   L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11230     Colista      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11231     Janet        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11232     Bernadine    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11233     Gwendolyn    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11234     Kathleen     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11235     Rita         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11236     Diane        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11237     Cathryn      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11238     Marcia       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11239     Clara        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11240     Adrienne     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11241     Janis        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11242     Janet        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11243     Sarah        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11244     Maria        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11245     Vicky        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11246     Ryrchelle    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11247     Nicole       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11248     Christine    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11249     Sherry       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11250     Eileen       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11251     Mary         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11252     Veronica     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11253     Dona         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11254     Carolyn      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11255     Leslie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11256     Brandy       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11257     Jacqueline   L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11258     Tanya        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11259     Dana         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11260     Janet        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11261     Patricia     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11262     Claudia      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11263     Jessica      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11264     Denise       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11265     Cindy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11266     Laura        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11267     Katherine    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11268     Kari         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 231 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  11269     Carol        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11270     Julie        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11271     Dianna       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11272     Heather      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11273     Ida          L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11274     Breeann      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11275     LaRayne      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11276     Maribel      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11277     Brenda       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11278     Olif         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11279     Lakisha      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11280     Lydia        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11281     Kathrine     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11282     Jessie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11283     Isabell      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11284     Marianne     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11285     Amy          L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11286     Beverly      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11287     Ona          L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11288     Alexes       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11289     Maxine       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11290     Bertha       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11291     Carla        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11292     Belinda      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11293     Joni         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11294     Wilda        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11295     Carol        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11296     Nancy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11297     Donna        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11298     Joi          L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11299     Silene       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11300     Rosa         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11301     Rita         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11302     Ruth         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11303     Jessie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11304     Jerilyn      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11305     Yolanda      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11306     Bertha       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11307     Mary         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11308     Anita        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11309     Patricia     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11310     Grace        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11311     Irma         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11312     Janet        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11313     Cynthia      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11314     Nellie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11315     Josephine    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11316     Brenda       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11317     Shalana      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 232 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  11318     Roshawnda    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11319     Lisa         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11320     Christel     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11321     Tiffany      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11322     Debra        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11323     Kalesita     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11324     Stephanie    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11325     Wilma        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11326     Weslie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11327     Janice       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11328     Margie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11329     Brooke       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11330     Crystal      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11331     Sharon       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11332     Shelly       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11333     Kathyrn      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11334     Anne         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11335     Debra        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11336     Cynthia      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11337     Emma         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11338     Pamela       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11339     Sandra       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11340     Jeanne       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11341     Alma         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11342     Rosa         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11343     Linda        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11344     Debra        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11345     Janice       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11346     Brittany     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11347     Joyce        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11348     April        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11349     Stephanie    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11350     Belinda      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11351     Katherine    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11352     Pinky        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11353     Barbara      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11354     Ashley       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11355     Tammie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11356     Gladys       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11357     Juanita      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11358     Faye         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11359     Tove         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11360     Linda        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11361     Brandi       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11362     Betsy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11363     Eileen       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11364     Frances      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11365     Patrice      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11366     Francine     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
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                                       Exhibit (s) A - Q Page 525 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 233 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  11367     Terrie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11368     Paige        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11369     Bebem        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11370     Claire       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11371     Jane         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11372     Shirley      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11373     Victor       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11374     Jo           L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11375     Cheryl       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11376     Jennifer     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11377     Anitamarie   L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11378     Tina         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11379     Dorothy      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11380     Mary         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11381     Roberta      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11382     Maranda      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11383     Linda        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11384     Marta        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11385     Angel        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11386     Betty        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11387     Kathleen     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11388     Sonya        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11389     Bettye       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11390     Faye         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11391     Lisa         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11392     Bridget      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11393     Bonita       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11394     Dorothy      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11395     Amanda       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11396     Susan        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11397     Pamela       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11398     Janet        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11399     Gloria       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11400     Marie        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11401     Nancy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11402     Larissa      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11403     Gail         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11404     Bernadette   L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11405     Mary         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11406     Marti        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11407     Lana         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11408     Denise       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11409     Tammy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11410     Patricia     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11411     Sandra       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11412     Ruth         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11413     Bridgette    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11414     Dale         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11415     Crystal      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 526 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 234 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  11416     Nancye       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11417     Rona         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11418     Carolyn      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11419     Ruth         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11420     Jamanda      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11421     Holly        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11422     Anita        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11423     Calandra     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11424     Carolyn      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11425     Joella       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11426     Victoria     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11427     Alma         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11428     Maria        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11429     Manuela      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11430     Margaret     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11431     Sonia        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11432     Diane        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11433     Maureen      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11434     Mary         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11435     Rosanne      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11436     Margaret     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11437     Janet        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11438     Joan         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11439     Carmen       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11440     Natasha      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11441     Marta        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11442     Kim          L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11443     Carolina     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11444     Oriana       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11445     Mindi        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11446     Martha       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11447     Delores      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11448     Margaret     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11449     Aurora       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11450     Lourdes      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11451     Debra        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11452     Susan        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11453     Sylvia       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11454     Maria        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11455     Olga         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11456     Lisa         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11457     Angela       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11458     Greta        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11459     Martha       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11460     Elicia       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11461     Melissa      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11462     Veronica     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11463     Flora        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11464     Oriana       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK           Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 235 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
  11465     Melva         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11466     Alice         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11467     Maria         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11468     Geraldine     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11469     Ana           L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11470     Providencia   L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11471     America       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11472     Sally         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11473     Elizabeth     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11474     Gloria        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11475     Sonia         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11476     Shirley       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11477     Donna         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11478     Carrie        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11479     Rita          L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11480     Cathy         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11481     Antoinette    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11482     Susan         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11483     Geraldine     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11484     Linda         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11485     Sharmaine     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11486     Mable         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11487     Brenda        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11488     Desiree       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11489     Patricia      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11490     Emily         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11491     Rosal         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11492     Toji          L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11493     Linda         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11494     Nancee        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11495     Marilyn       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11496     Regina        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11497     Barbara       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11498     Carole        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11499     Terri         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11500     Hazel         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11501     Brandy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11502     Zenobia       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11503     April         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11504     Dixie         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11505     Elizabeth     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11506     Nancy         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11507     Nashata       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11508     Cheryl        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11509     Linda         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11510     Lizabeth      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11511     Minnie        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11512     Sandra        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11513     Glinda        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 528 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 236 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  11514     Diane        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11515     Linda        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11516     Tammy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11517     Chelsea      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11518     Shirley      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11519     Linda        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11520     Lori         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11521     Marie        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11522     Pamela       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11523     Jennifer     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11524     Camisha      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11525     Rebecca      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11526     Kathleen     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11527     Linda        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11528     Marie        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11529     Beverley     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11530     Sharyn       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11531     Pamela       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11532     Yvonne       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11533     Mildred      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11534     Patricia     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11535     Teresa       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11536     Dawn         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11537     Allison      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11538     Angela       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11539     Rita         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11540     Paris        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11541     Karen        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11542     Pamela       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11543     Atoyia       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11544     Elvera       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11545     Cynthia      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11546     Caroline     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11547     Kathleen     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11548     Carletta     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11549     Anne         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11550     Chamnan      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11551     Sandra       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11552     Dianne       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11553     Leaurel      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11554     Donna        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11555     Brenda       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11556     Margaret     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11557     Wanda        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11558     Dianna       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11559     Vivian       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11560     Sandi        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11561     Rita         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11562     Julie        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 529 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 237 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  11563     Sharon       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11564     Karie        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11565     Amber        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11566     Jenny        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11567     Sharon       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11568     Crystal      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11569     Franchesca   L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11570     Natalie      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11571     Yolanda      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11572     Margaret     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11573     Ashinikko    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11574     Claudia      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11575     Juanita      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11576     Rose         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11577     Josephine    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11578     Katie        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11579     Linda        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11580     Cheryl       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11581     Anna         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11582     Maureen      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11583     Michelle     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11584     Sonia        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11585     Dawn         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11586     Denise       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11587     Ruth         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11588     Amelia       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11589     Carmen       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11590     Gayle        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11591     Dolores      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11592     Ruth         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11593     Regina       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11594     Julie        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11595     Jenny        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11596     Gloria       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11597     Daisy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11598     Josie        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11599     Minerva      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11600     Noemi        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11601     Jennie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11602     Dorothy      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11603     Mary         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11604     Patricia     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11605     Pamela       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11606     Helen        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11607     Kathleen     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11608     Kristine     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11609     Priscilla    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11610     Deborah      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11611     Brooke       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 530 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 238 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  11612     Frankie      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11613     Tracy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11614     Denise       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11615     Sallie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11616     Ta           L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11617     Jessica      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11618     Christene    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11619     Shannon      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11620     Geraldine    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11621     Deborah      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11622     Kathy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11623     Leslie       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11624     Christina    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11625     Dorraine     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11626     Katherine    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11627     Peggy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11628     Nancy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11629     Christina    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11630     Barbara      L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11631     Kathleen     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11632     Chernicia    L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11633     Jennifer     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11634     Kelly        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11635     Mary         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11636     Vikki        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11637     Joan         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11638     Sandy        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11639     Jennifer     L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11640     Martha       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11641     Linda        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11642     Anna         L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11643     Marie        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11644     Alice        L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11645     Dianne       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11646     Iva          L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11647     Alicia       L.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11648     Chris        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11649     Janet        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11650     Marilyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11651     Jane         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11652     Sally        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11653     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11654     Wendy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11655     Eileen       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11656     Audrey       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11657     Amy          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11658     Evelyn       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11659     Amanda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11660     Cheryl       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 531 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 239 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  11661     Candace      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11662     Susan        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11663     Debra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11664     Ashley       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11665     Madeleine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11666     Josephine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11667     Hilda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11668     Rosalinda    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11669     Janell       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11670     Elizabeth    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11671     Rosemary     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11672     Pamela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11673     Bonnie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11674     Shirley      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11675     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11676     Gwendolyn    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11677     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11678     Lynda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11679     Martha       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11680     Margaret     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11681     Lesa         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11682     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11683     Lucille      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11684     Sharon       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11685     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11686     Ruth         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11687     Janet        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11688     Sandra       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11689     Susan        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11690     Priscilla    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11691     Joanne       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11692     Josephine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11693     Lorraine     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11694     Jones,       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11695     Joan         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11696     Nancy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11697     Jean         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11698     Paula        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11699     Joyce        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11700     Miracle      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11701     Kareen       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11702     Lena         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11703     Debbie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11704     Ella         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11705     Jennifer     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11706     Shelina      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11707     Candy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11708     Margaret     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11709     O'Riordan,   M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 240 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  11710     Shelley      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11711     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11712     Pamela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11713     Pamela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11714     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11715     Katherine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11716     Tanya        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11717     Anita        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11718     Frances      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11719     Shawna       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11720     Belencita    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11721     Pearl        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11722     Camille      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11723     Karen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11724     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11725     Maria        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11726     Aquanetta    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11727     Roberta      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11728     Jeannette    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11729     Angel        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11730     Tammy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11731     Nikki        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11732     Teresa       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11733     Michelle     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11734     Denee        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11735     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11736     Angel'       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11737     Carolyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11738     Kathleen     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11739     Theresa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11740     Joanne       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11741     Krupa        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11742     Denise       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11743     Carolyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11744     Salamatu     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11745     Elizabeth    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11746     Louise       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11747     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11748     Natasha      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11749     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11750     Maria        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11751     Debra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11752     Constance    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11753     Alecia       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11754     (Britt),     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11755     Shoba        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11756     Dawn         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11757     Jean         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11758     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 533 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 241 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  11759     Carolyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11760     Susan        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11761     Kim          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11762     Carrie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11763     Elba         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11764     Eloise       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11765     Deborah      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11766     Judith       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11767     Melissa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11768     Nagla        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11769     Selepa       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11770     Delia        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11771     Elfreda      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11772     Roberta      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11773     Susan        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11774     Priscilla    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11775     Suzanne      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11776     Wanda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11777     Elsa         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11778     Maria        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11779     Rita         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11780     Margaret     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11781     Magdalena    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11782     Irma         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11783     Brunilda     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11784     Angela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11785     Christina    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11786     Kimberly     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11787     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11788     Monica       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11789     Jennifer     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11790     Lou          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11791     Ranjit       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11792     Shashi       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11793     Diana        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11794     Karen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11795     Carolyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11796     Jaqueline    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11797     Jenna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11798     Shirley      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11799     Christine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11800     Amanda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11801     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11802     Jana         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11803     Arwyn        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11804     Lisa         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11805     Hazel        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11806     Terri        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11807     Sarah        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 534 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 242 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  11808     Elizabeth    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11809     Gracie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11810     Milreace     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11811     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11812     Dorothy      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11813     Joann        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11814     Jody         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11815     Diane        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11816     Muriel       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11817     Janie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11818     Loriemle     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11819     Catherine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11820     Jenna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11821     Audrey       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11822     Judith       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11823     Kimberly     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11824     Nynoaka      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11825     Joanne       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11826     Cathleen     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11827     Rosemary     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11828     Melody       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11829     Retta        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11830     Audrey       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11831     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11832     Arlene       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11833     Yvette       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11834     Cassandra    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11835     Viola        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11836     Diane        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11837     Kimberlie    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11838     Sheila       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11839     Ruby         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11840     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11841     Joanna       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11842     Krisie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11843     Nellie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11844     Kathe        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11845     Erin         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11846     Maureen      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11847     Louise       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11848     Lucy         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11849     Sanna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11850     June         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11851     Glenda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11852     Angela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11853     Jasmine      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11854     Shirley      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11855     Doris        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11856     Melissa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 535 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 243 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  11857     Kaneisha     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11858     Mattie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11859     Cherylin     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11860     Nancy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11861     Martha       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11862     Amparo       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11863     Beth         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11864     Marjorie     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11865     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11866     Hedieh       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11867     Mildred      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11868     (Michaelson), M.          [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11869     Drucilla     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11870     Diana        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11871     Ethel        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11872     Shirley      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11873     Rosanna      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11874     Ruth         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11875     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11876     Kaye         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11877     Fern         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11878     Margaret     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11879     Alice        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11880     Judy         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11881     Catherine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11882     Geneva       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11883     Christine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11884     Tracy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11885     Jeannie      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11886     Sonja        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11887     Donna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11888     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11889     Anne         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11890     Marlene      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11891     Pamela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11892     Frances      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11893     Maruska      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11894     Deborah      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11895     Rachael      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11896     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11897     Darsha       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11898     Darsha       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11899     Darsha       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11900     Chris        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11901     Candice      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11902     Teresa       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11903     Shirley      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11904     Dale         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11905     Kimberly     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 244 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  11906     Janie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11907     Teri         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11908     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11909     Christina    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11910     Ursula       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11911     Rosario      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11912     Margaret     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11913     Sarah        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11914     Debbie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11915     Vivian       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11916     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11917     Veronica     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11918     Debra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11919     Lisa         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11920     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11921     Heather      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11922     Joanna       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11923     Montez       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11924     Della        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11925     Dianna       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11926     Leigh        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11927     Laurel       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11928     Danijela     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11929     Nellie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11930     Brenda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11931     Tina         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11932     Jane         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11933     Julia        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11934     Rhonda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11935     Pamela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11936     Vickie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11937     Elizabeth    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11938     Brandi       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11939     Dolores      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11940     aka          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11941     Eduvijes     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11942     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11943     Christina    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11944     Isabel       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11945     Jospehine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11946     Maria        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11947     Irene        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11948     Donna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11949     Denise       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11950     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11951     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11952     Gloria       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11953     Julie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11954     Chrisie      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 245 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  11955     Elisa        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11956     Bonnie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11957     Rhonda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11958     Loretta      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11959     Terri        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11960     Mozella      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11961     Gloria       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11962     Janette      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11963     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11964     Che          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11965     Lytashe      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11966     Lacey        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11967     Katina       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11968     Matricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11969     Angela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11970     Tammy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11971     Robin        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11972     Jennifer     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11973     Kaithern     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11974     JoDee        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11975     Cecelia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11976     Gwendolyn    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11977     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11978     Virginia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11979     Latrecia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11980     Donna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11981     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11982     Karen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11983     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11984     Diane        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11985     Lucy         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11986     Cheryl       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11987     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11988     Carolann     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11989     Judith       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11990     Sharon       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11991     Jaqueline    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11992     Jennie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11993     Margaret     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11994     LaVerne      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11995     Rosario      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11996     Loretta      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11997     Theresa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11998     Katherine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  11999     Cheryl       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12000     Sandra       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12001     Veronica     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12002     Alison       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12003     Lorraine     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 538 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 246 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  12004     Tammy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12005     Lynda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12006     Alison       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12007     Dianna       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12008     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12009     Shawanda     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12010     Germaine     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12011     Donna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12012     Howell,      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12013     Jamie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12014     Joanne       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12015     Sherrie      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12016     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12017     Anna         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12018     Marilyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12019     Lisa         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12020     Kendra       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12021     Gail         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12022     Opal         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12023     Judy         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12024     Tammy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12025     Betty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12026     Nora         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12027     Sybil        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12028     Annette      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12029     Frances      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12030     Andrea       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12031     Rosie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12032     Rhonda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12033     Katie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12034     Sandra       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12035     Sandra       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12036     Sherri       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12037     Jenifer      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12038     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12039     Nancy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12040     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12041     Cindy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12042     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12043     Eve          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12044     Darcell      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12045     Rosalie      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12046     Lori         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12047     Brenda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12048     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12049     Tempie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12050     Sophia       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12051     Sandra       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12052     Janice       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 539 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 247 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  12053     Vanesia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12054     Sharon       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12055     Dorothy      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12056     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12057     Helda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12058     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12059     Anita        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12060     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12061     Catalina     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12062     Yolanda      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12063     Cecilia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12064     Lynda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12065     Martha       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12066     Sally        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12067     Yvette       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12068     Corinne      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12069     Lori         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12070     Nicole       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12071     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12072     Rosa         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12073     Julie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12074     Rosabelle    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12075     Norma        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12076     Connie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12077     Velma        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12078     Pamela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12079     Rosa         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12080     Guadalupe    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12081     Maria        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12082     Kathryn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12083     Beatrice     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12084     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12085     Camille      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12086     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12087     Santos       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12088     Marry        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12089     Alice        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12090     Clorisa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12091     de           M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12092     Liliana      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12093     Ruth         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12094     Diana        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12095     Mirta        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12096     Lillian      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12097     Teresa       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12098     Angel        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12099     Leonora      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12100     Angelina     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12101     Mildred      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 540 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 248 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  12102     Carmen       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12103     Jamie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12104     Olga         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12105     Cecilia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12106     Yolanda      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12107     Elizabeth    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12108     Norma        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12109     Nancy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12110     Oleta        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12111     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12112     Janet        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12113     Charlene     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12114     Terri        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12115     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12116     Janet        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12117     Doreen       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12118     Darla        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12119     Richa        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12120     Lynda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12121     Taryn        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12122     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12123     Deborah      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12124     Dana         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12125     Lisa         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12126     Helen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12127     Elizabeth    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12128     Karen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12129     Eugenia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12130     Eugenia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12131     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12132     Carmelita    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12133     Carole       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12134     Janet        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12135     Polly        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12136     Euline       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12137     Christina    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12138     Sarah        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12139     Peggy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12140     Joan         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12141     Nellie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12142     Marsha       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12143     Chastidy     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12144     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12145     Brenda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12146     Valerie      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12147     Karen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12148     Florence     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12149     McKenzie     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12150     Shazia       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 249 of 437
                  First
                            Last Name
 Claimant         Name                                                     Date of
                             (injured    Date of Birth
    No.         (injured                                       SSN        Death (if
                             person)
                person)                                      (last 4)    applicable)    Claim Type
  12151     Barbara        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12152     Otila          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12153     Carol          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12154     Gloria         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12155     Kim            M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12156     Jennifer       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12157     Phyllis        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12158     Effie          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12159     Cynthia        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12160     Bonita         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12161     Sue            M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12162     Candice        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12163     Jennifer       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12164     Diane          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12165     Pamela         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12166     Minnie         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12167     Monique        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12168     Katelynn       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12169     Helene         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12170     Araceli        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12171     Maria          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12172     Margaret       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12173     Janice         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12174     Judy           M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12175     Jacqueline     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12176     Varsha         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12177     Nola           M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12178     Claudell       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12179     Melinda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12180     Kimberly       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12181     Patricia       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12182     Bobbie         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12183     Jacqueline     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12184     Terri          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12185     Joycelyn       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12186     Dolores        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12187     Elnora         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12188     Patricia       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12189     Blanche        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12190     Phyllis        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12191     Linda          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12192     Marcella       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12193     Dawn           M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12194     Sandra         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12195     Jane           M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12196     ,              M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12197     Lilian         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12198     Lydia          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12199     Anita          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 250 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  12200     Beverly      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12201     Taisha       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12202     Sonia        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12203     Nicole       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12204     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12205     Misty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12206     Chana        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12207     Deborah      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12208     Jessica      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12209     Pamela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12210     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12211     Annice       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12212     Jessie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12213     Michell      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12214     Delores      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12215     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12216     Janie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12217     Jo           M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12218     Gina         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12219     Betty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12220     Deborah      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12221     Donna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12222     Candance     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12223     Joanna       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12224     Stephanie    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12225     Marilyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12226     LaVonne      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12227     Anna         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12228     Raisa        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12229     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12230     Colleen      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12231     Florine      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12232     Kathryn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12233     Ann          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12234     Susan        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12235     Holly        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12236     Hannah       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12237     Connie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12238     Dolores      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12239     Schumann     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12240     Anna         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12241     Sandy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12242     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12243     Melissa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12244     Geraldine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12245     Deirdre      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12246     Christine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12247     Sharon       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12248     Janice       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 543 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 251 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  12249     Paula        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12250     Talithia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12251     Laura        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12252     Marilyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12253     Jennifer     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12254     MaryLou      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12255     Susan        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12256     Leslie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12257     Betty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12258     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12259     Sharon       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12260     Diana        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12261     Aileen       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12262     Andrea       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12263     Katie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12264     Teresa       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12265     Constance    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12266     Lynn         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12267     Jody         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12268     Hazel        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12269     Raitza       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12270     Maria        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12271     Linnette     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12272     Pattie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12273     Trena        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12274     Aloma        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12275     Theodora     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12276     Margot       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12277     Cindy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12278     Mathilda     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12279     Kimberly     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12280     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12281     Darlene      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12282     Yvette       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12283     Karen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12284     Karen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12285     Shanette     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12286     Catherine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12287     Jennifer     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12288     Orr          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12289     Kelley       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12290     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12291     Rhonda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12292     Tracy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12293     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12294     Marilyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12295     Ileana       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12296     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12297     Dianna       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 544 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 252 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  12298     Rebecca      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12299     Ada          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12300     Susan        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12301     Karla        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12302     Maryann      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12303     Donna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12304     Kathleen     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12305     Frances      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12306     Susan        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12307     Lisa         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12308     Marilyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12309     Heather      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12310     Genoveva     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12311     Nancy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12312     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12313     Sarah        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12314     Sandra       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12315     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12316     Sharon       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12317     Darlene      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12318     June         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12319     June         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12320     Matilda      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12321     Bertha       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12322     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12323     Alma         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12324     Direne       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12325     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12326     German,      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12327     Nancy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12328     Angela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12329     Debra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12330     Wanda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12331     Theresa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12332     Deborah      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12333     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12334     Maureen      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12335     Sharon       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12336     Anita        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12337     Debra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12338     Sharon       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12339     Viola        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12340     Stacey       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12341     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12342     Heather      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12343     Melissa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12344     Sandra       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12345     Susan        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12346     Susan        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 253 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  12347     Dorothy      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12348     Marilyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12349     Kristine     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12350     Megan        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12351     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12352     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12353     Elizabeth    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12354     Virginia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12355     Tammie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12356     Sandra       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12357     Yvonne       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12358     Brendolyn    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12359     Judith       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12360     Jill         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12361     Sherron      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12362     Charo        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12363     Karen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12364     Thelma       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12365     Florence     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12366     Rhonda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12367     Martha       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12368     Jacqueline   M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12369     Sharon       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12370     Gwendolyn    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12371     Gayle        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12372     Diane        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12373     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12374     Remona       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12375     Nancy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12376     Belinda      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12377     Cora         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12378     Fashoda      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12379     Sonya        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12380     Rhonda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12381     Laurel       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12382     Sharon       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12383     Carolyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12384     Pamela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12385     Marion       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12386     Karen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12387     Marilyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12388     Janice       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12389     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12390     Sherrie      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12391     Katherine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12392     Sylvia       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12393     Florence     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12394     Betty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12395     Betty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 254 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  12396     Jorlene      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12397     Michelle     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12398     Dianna       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12399     Sheila       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12400     Whitney      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12401     Margaret     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12402     Laura        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12403     Maureen      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12404     Agnes        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12405     Tammi        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12406     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12407     Debra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12408     Kimberly     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12409     Tawnya       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12410     Kimberly     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12411     Joan         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12412     Tresa        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12413     Marie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12414     Laurie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12415     Rebecca      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12416     Deborah      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12417     Heather      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12418     Rachael      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12419     Melissa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12420     Betty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12421     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12422     Judy         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12423     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12424     Sam          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12425     Kathy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12426     Dianna       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12427     Robin        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12428     June         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12429     Luberta      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12430     Ana          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12431     Ina          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12432     Awilda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12433     Jamiee       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12434     Shirley      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12435     Alice        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12436     Helen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12437     Misty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12438     Tonya        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12439     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12440     Brittney     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12441     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12442     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12443     Priscilla    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12444     Susie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 547 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 255 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  12445     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12446     Rachel       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12447     Jessica      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12448     Tammy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12449     Julie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12450     Latrice      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12451     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12452     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12453     Rita         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12454     Candace      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12455     Joanna       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12456     Michelle     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12457     Tina         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12458     Cordelia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12459     Rose         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12460     Rose         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12461     Willa        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12462     Lindsay      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12463     Javannah     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12464     Anita        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12465     Cathryn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12466     Rita         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12467     Melody       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12468     Louise       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12469     Karon        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12470     Erica        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12471     Margaret     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12472     Cheryl       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12473     Melissa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12474     Marcia       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12475     Deborah      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12476     Michelle     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12477     Shirley      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12478     Janet        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12479     Edith        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12480     Laura        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12481     Lori         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12482     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12483     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12484     Alfreida     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12485     Ruth         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12486     Sharon       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12487     Jean         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12488     Brittany     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12489     Toni         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12490     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12491     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12492     Sharon       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12493     Jayd         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 548 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 256 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  12494     Ruby         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12495     Brenda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12496     Christine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12497     Kathleen     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12498     Cathy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12499     Judy         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12500     Kim          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12501     Cheryl       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12502     Crystal      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12503     Katurah      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12504     Stacy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12505     Sara         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12506     Nancy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12507     Marsha       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12508     Nancy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12509     Joy          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12510     Betty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12511     Melba        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12512     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12513     Robin        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12514     Darla        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12515     Vera         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12516     Betty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12517     Angela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12518     Antoinette   M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12519     Jeannie      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12520     Ingria       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12521     Muriel       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12522     Margaret     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12523     Bethany      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12524     Denise       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12525     Kathleen     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12526     April        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12527     Connie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12528     Janey        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12529     Lori         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12530     Marika       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12531     Lois         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12532     Janie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12533     Shanna       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12534     Shelia       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12535     Katherine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12536     Teresa       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12537     Frances      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12538     Brenda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12539     Rosalyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12540     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12541     Cheryl       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12542     Terry        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 549 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 257 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  12543     Clara        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12544     Chiquita     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12545     Dianne       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12546     Stephanie    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12547     Barbe        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12548     Nicole       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12549     Sherry       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12550     Renae        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12551     Gwendolyn    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12552     Enid         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12553     Johnnie      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12554     Theresa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12555     Dottie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12556     Florie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12557     Deborah      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12558     Sherry       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12559     Carmela      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12560     Paulette     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12561     Kimberly     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12562     Agnes        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12563     Brenda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12564     Angela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12565     Delethia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12566     Loretta      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12567     Renee        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12568     Lauren       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12569     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12570     Donna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12571     Debra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12572     Nichole      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12573     Betty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12574     Kennethe     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12575     Elizabeth    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12576     Andrea       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12577     Cathy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12578     Deborah      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12579     Shirley      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12580     Karen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12581     Debra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12582     Leticia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12583     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12584     Carolyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12585     Dorothy      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12586     Dawn         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12587     Delena       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12588     April        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12589     Dixie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12590     Karen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12591     Lora         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 550 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 258 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  12592     Stacy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12593     Sandra       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12594     Doreen       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12595     Helen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12596     Regina       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12597     Bonnie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12598     Dorothy      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12599     Carolyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12600     Donna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12601     Dolores      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12602     Kathleen     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12603     Karen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12604     Karen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12605     MaryAnn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12606     Emer         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12607     Yvonne       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12608     Sherry       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12609     Mamie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12610     Peggy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12611     Jacqueline   M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12612     Connie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12613     Sherry       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12614     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12615     Cora         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12616     Hattie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12617     Cindy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12618     Joan         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12619     Elizabeth    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12620     Debra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12621     JoAnne       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12622     Crystal      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12623     Susan        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12624     Sakina       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12625     Marjorie     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12626     Cheryl       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12627     Ann          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12628     Pat          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12629     Debra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12630     Christine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12631     Shanee       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12632     Nilcia       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12633     Ernestine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12634     Judith       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12635     Wendy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12636     Sherry       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12637     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12638     Maria        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12639     Opal         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12640     Betty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 551 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 259 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  12641     Christine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12642     Florence     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12643     Camela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12644     Michelle     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12645     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12646     Terrisa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12647     Schuwonda    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12648     Maggie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12649     Janie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12650     Tana         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12651     Derlyn       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12652     Pearlean     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12653     Jennifer     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12654     Susan        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12655     Adi          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12656     Donna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12657     Kyiah        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12658     Bobie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12659     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12660     Carmelita    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12661     Clarissa     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12662     Pamela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12663     Paula        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12664     Frances      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12665     Naomia       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12666     Cheryl       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12667     Paula        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12668     Maura        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12669     Donna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12670     Helena       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12671     Katherine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12672     Audrey       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12673     Cindy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12674     Jennifer     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12675     Vickie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12676     Jacqueline   M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12677     Majestia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12678     Alma         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12679     Jill         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12680     Glenna       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12681     Robbie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12682     Patty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12683     Jamemika     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12684     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12685     Kathleen     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12686     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12687     Betty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12688     Rosie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12689     Kimberly     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 552 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 260 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  12690     Kathy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12691     Annie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12692     LaDru        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12693     Kimberly     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12694     Doris        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12695     Leona        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12696     Susan        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12697     Jen          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12698     Gloria       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12699     Megan        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12700     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12701     Virginia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12702     Opal         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12703     Cristie      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12704     Tiffany      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12705     Debra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12706     Lori         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12707     Katrina      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12708     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12709     Queen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12710     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12711     Ella         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12712     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12713     Angela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12714     Kimberly     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12715     Laura        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12716     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12717     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12718     Sandra       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12719     Shanna       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12720     Brenda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12721     Maria        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12722     Deidre       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12723     Lois         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12724     Tasha        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12725     Tonya        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12726     Gwendolyn    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12727     Darla        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12728     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12729     Joann        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12730     Sarah        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12731     Robin        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12732     Annie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12733     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12734     Elissa       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12735     Donna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12736     Michaela     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12737     Sally        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12738     Jacqueline   M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 553 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 261 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  12739     Robin        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12740     Sharon       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12741     Kim          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12742     Katrina      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12743     Rita         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12744     Tracy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12745     Yvonne       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12746     Karen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12747     Valerie      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12748     Nicholette   M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12749     Diane        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12750     Christine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12751     Rosemary     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12752     Rosina       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12753     Deanna       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12754     Jacqueline   M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12755     Lauralee     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12756     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12757     Pamela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12758     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12759     Lois         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12760     Judith       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12761     Catherine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12762     Anissa       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12763     Stanley      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12764     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12765     Deborah      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12766     Susan        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12767     Sharon       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12768     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12769     Doreen       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12770     Jennifer     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12771     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12772     Ashley       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12773     Phyllis      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12774     Cheryl       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12775     Sydney       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12776     Audrey       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12777     Thelma       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12778     Vicki        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12779     Kimberly     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12780     Tracy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12781     Francis      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12782     Margaret     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12783     Lisa         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12784     Amanda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12785     Velda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12786     Michelle     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12787     Graciela     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 554 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 262 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  12788     Jana         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12789     Margaret     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12790     Jody         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12791     Francisca    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12792     Thelma       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12793     Alice        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12794     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12795     Lissette     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12796     Viengxay     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12797     Gladys       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12798     Cheryl       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12799     Ruth         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12800     Emelie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12801     Alice        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12802     Molly        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12803     Susan        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12804     Irma         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12805     Sandra       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12806     Judy         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12807     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12808     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12809     Telisha      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12810     Brittany     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12811     Lillian      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12812     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12813     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12814     Angela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12815     Sharvat      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12816     Sandra       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12817     Joyce        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12818     Arlene       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12819     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12820     Dorothy      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12821     Rosemary     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12822     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12823     Lana         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12824     Aurora       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12825     Annette      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12826     Betty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12827     Carmen       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12828     Doris        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12829     Andrea       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12830     Astrid       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12831     Connie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12832     Gladys       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12833     Ana          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12834     Alida        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12835     Irina        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12836     Rose         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 263 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  12837     Landy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12838     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12839     Dolores      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12840     Margaret     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12841     Gale         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12842     Rita         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12843     Teresa       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12844     Gail         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12845     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12846     Inell        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12847     Belinda      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12848     Constancia   M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12849     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12850     Michelle     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12851     Yvette       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12852     Deborah      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12853     Jenny        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12854     Kimberly     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12855     Teresa       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12856     Theresa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12857     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12858     Angela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12859     Julie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12860     Debra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12861     Delia        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12862     Tasha        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12863     Rose         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12864     Lisa         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12865     Yvette       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12866     Lori         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12867     Irma         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12868     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12869     Krista       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12870     Jane         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12871     Frances      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12872     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12873     Rose         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12874     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12875     Elvia        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12876     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12877     Mariah       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12878     Sherry       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12879     Diane        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12880     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12881     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12882     Carolyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12883     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12884     Kristine     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12885     Elizabeth    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 264 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  12886     Eufemia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12887     Kathryn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12888     Janet        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12889     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12890     Teresa       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12891     Aleta        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12892     Helen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12893     Alethia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12894     Tara         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12895     (Holte),     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12896     Karen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12897     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12898     Aisha        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12899     Erika        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12900     Janyce       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12901     Tina         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12902     Maria        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12903     Anna         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12904     Carolyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12905     Roberta      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12906     Tiffany      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12907     Shirley      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12908     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12909     Lori         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12910     Tina         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12911     Janet        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12912     Dawn         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12913     Peretha      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12914     Vanessa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12915     Yvonne       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12916     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12917     Eboney       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12918     Teresa       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12919     Tajuana      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12920     Sue          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12921     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12922     Rachel       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12923     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12924     Rachel       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12925     Drema        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12926     DeAnna       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12927     Marcy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12928     Jill         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12929     Jeannie      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12930     Maria        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12931     Croce,       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12932     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12933     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12934     Dawn         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK           Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                        Exhibit (s) A - Q Page 557 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 265 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
  12935     Kathy         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12936     Michelle      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12937     Shelia        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12938     Jeanne        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12939     Dorothy       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12940     Scherry       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12941     Gloria        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12942     Barbara       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12943     Diane         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12944     Debra         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12945     Mae           M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12946     Kimberly      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12947     Carol         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12948     Michelle      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12949     June          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12950     Linda         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12951     Dianna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12952     Chared        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12953     Alene         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12954     Florine       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12955     Tiffany       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12956     Jolene        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12957     Carol         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12958     Carlene       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12959     Gail          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12960     Geraldine     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12961     Deirdre       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12962     Judy          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12963     Marianne      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12964     Sharon        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12965     Tasha         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12966     Mary          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12967     Michele       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12968     (Charlton),   M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12969     Lynette       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12970     Caroljo       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12971     Laurie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12972     Janice        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12973     Maria         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12974     Hilda         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12975     Carol         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12976     Valentina     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12977     Robin         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12978     Juanita       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12979     Hilda         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12980     Saundra       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12981     Michelle      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12982     Lena          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12983     Virginia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 558 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 266 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  12984     Felice       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12985     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12986     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12987     Micheline    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12988     Janna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12989     Betty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12990     Melissa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12991     Virginia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12992     Christine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12993     Gloria       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12994     Carolyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12995     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12996     Gladys       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12997     Cheryl       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12998     Dianne       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  12999     Cheryl       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13000     Judith       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13001     Hazel        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13002     Lorice       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13003     Aponda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13004     Nancy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13005     Deborah      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13006     Betty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13007     Brenda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13008     Shirley      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13009     Edna         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13010     Maria        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13011     Melissa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13012     Vicky        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13013     Teresa       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13014     Joann        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13015     Lilya        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13016     Teresa       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13017     Angela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13018     Shirlene     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13019     Jacquelyn    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13020     Erica        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13021     Iris         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13022     Theresa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13023     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13024     Alice        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13025     Margo        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13026     Charlene     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13027     Donna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13028     Rosa         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13029     Marlo        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13030     Courtney     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13031     Shanta       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13032     Bettygen     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 559 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 267 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  13033     Roberta      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13034     Stephanie    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13035     Elsa         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13036     Darla        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13037     Martha       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13038     Niria        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13039     Rosemary     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13040     Tina         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13041     Janice       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13042     Elizabeth    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13043     Eve          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13044     Elizabeth    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13045     Paula        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13046     Renate       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13047     Betty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13048     Shelley      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13049     Lori         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13050     Betty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13051     Debra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13052     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13053     Elizabeth    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13054     Tierney      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13055     Sheila       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13056     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13057     Jennifer     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13058     Danya        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13059     Monica       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13060     Gayla        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13061     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13062     Marilyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13063     Bronwyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13064     Nannie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13065     Tamera       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13066     Joan         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13067     Marquita     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13068     Marge        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13069     Pamela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13070     Pearl        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13071     Karen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13072     Margaret     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13073     Darlene      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13074     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13075     Joyce        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13076     Justine      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13077     Sherry       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13078     Kimberly     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13079     Lorraine     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13080     Deborah      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13081     Elaine       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 560 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 268 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  13082     Wanda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13083     Sonja        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13084     Judith       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13085     Carolann     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13086     Ellen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13087     Prudence     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13088     Terry        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13089     Margery      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13090     Lee          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13091     Susann       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13092     Lynn         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13093     Elizabeth    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13094     Shirley      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13095     Carolyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13096     Heather      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13097     Sheila       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13098     Tamia        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13099     Rayann       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13100     Tami         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13101     Arlene       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13102     Terry        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13103     Nancy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13104     Lorri        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13105     Margaret     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13106     Vivian       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13107     Silvia       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13108     Rebecca      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13109     Deborah      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13110     Robin        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13111     Robin        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13112     Cheryl       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13113     Sharon       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13114     MeLissa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13115     Leann        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13116     Betsy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13117     Connie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13118     Lilian       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13119     Tamra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13120     Theresa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13121     Jennifer     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13122     Martha       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13123     Carrie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13124     Tiffany      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13125     Cindy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13126     Charlena     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13127     Kalisha      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13128     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13129     Jean         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13130     Sabrina      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 561 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 269 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  13131     Shirley      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13132     Shirley      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13133     Debroah      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13134     Deborah      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13135     Beth         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13136     Susan        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13137     Wendy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13138     Deneka       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13139     Norma        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13140     Beverly      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13141     Tracy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13142     Charlotte    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13143     Vickey       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13144     Kelly        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13145     Joyce        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13146     Shannon      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13147     Julie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13148     Lisa         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13149     Maria        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13150     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13151     Amy          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13152     Merilyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13153     Carole       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13154     Josie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13155     Kristy       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13156     Lidia        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13157     Frances      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13158     Debora       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13159     Christine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13160     Brenda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13161     Donna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13162     JoAnn        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13163     Laura        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13164     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13165     Donna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13166     Helen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13167     Bertha       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13168     Jeanna       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13169     Erika        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13170     Nancy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13171     Tommie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13172     Neresa       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13173     Barreto,     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13174     Georgia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13175     Gina         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13176     Jamie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13177     Dina         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13178     Angela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13179     Theresa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 562 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 270 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  13180     Shirley      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13181     Joann        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13182     Jeanne       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13183     Juanita      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13184     Tanya        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13185     Stephanie    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13186     Chanda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13187     Virginia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13188     Brenda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13189     Tonya        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13190     Deborah      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13191     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13192     Josephine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13193     Sarah        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13194     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13195     Angie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13196     Rita         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13197     Marianne     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13198     Nancy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13199     Kerry        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13200     Nadyne       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13201     Rose         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13202     Caroline     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13203     Lisa         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13204     Joyce        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13205     Claricea     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13206     Letitia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13207     Tammy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13208     Alice        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13209     Dianne       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13210     Patrica      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13211     Juliet       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13212     Claudine     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13213     Myrtle       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13214     Judy         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13215     Rita         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13216     Dorothy      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13217     Kathy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13218     Calista      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13219     Shirley      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13220     Evetta       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13221     Essie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13222     Jeannine     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13223     Olga         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13224     Josette      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13225     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13226     Carolyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13227     Sherry       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13228     Darlene      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 563 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 271 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  13229     Dorothy      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13230     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13231     Ernestine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13232     Regina       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13233     Katherine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13234     Gerri        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13235     Melody       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13236     Roxana       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13237     Aretha       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13238     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13239     Helen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13240     Bernadette   M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13241     Sheryl       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13242     Michelle     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13243     Vanessa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13244     Bonnie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13245     Vanessa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13246     Lillian      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13247     Nola         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13248     Teresa       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13249     Louise       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13250     Yvonne       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13251     Ronetta      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13252     Elizabeth    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13253     Brieta       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13254     Yolanda      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13255     Martha       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13256     Cristie      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13257     Lisa         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13258     Inez         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13259     Laura        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13260     Earliece     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13261     Carletta     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13262     Susan        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13263     Asha         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13264     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13265     Neva         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13266     Gloria       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13267     Gloria       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13268     Ruby         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13269     Beverly      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13270     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13271     Debra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13272     Janice       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13273     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13274     Jodi         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13275     Dora         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13276     Sharon       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13277     Stacey       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 564 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 272 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  13278     Sharon       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13279     Eileen       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13280     Tahira       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13281     Kelsey       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13282     Shannon      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13283     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13284     Allana       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13285     Ann          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13286     Marlene      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13287     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13288     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13289     Maria        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13290     Cara         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13291     Valerie      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13292     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13293     Tiffany      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13294     Jolie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13295     Sharon       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13296     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13297     Kala         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13298     Maria        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13299     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13300     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13301     Arlene       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13302     Karen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13303     Georgena     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13304     Janet        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13305     Amie         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13306     Charlene     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13307     Alice        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13308     Olivia       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13309     Marcia       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13310     Jackie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13311     Michael      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13312     Lacretia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13313     Lisa         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13314     Marie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13315     Pauline      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13316     Nicole       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13317     Lillian      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13318     Isabella     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13319     Diane        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13320     Maureen      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13321     Tamela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13322     Tamela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13323     Jerrilyn     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13324     Melanie      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13325     Susan        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13326     Hayward      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 565 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 273 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  13327     Ashli        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13328     Earline      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13329     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13330     Cathryn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13331     Naomi        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13332     Jamie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13333     Carla        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13334     Heidi        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13335     Amy          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13336     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13337     Dianna       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13338     Norma        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13339     Anna         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13340     Evangelina   M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13341     Paula        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13342     Tracey       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13343     Janet        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13344     Brenda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13345     Marlo        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13346     Rochelle     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13347     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13348     Deldean      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13349     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13350     Marlene      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13351     Cindy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13352     Maria        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13353     Lisa         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13354     Margarita    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13355     Rochelle     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13356     Bonita       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13357     Christine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13358     Dawn         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13359     Mable        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13360     Lolita       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13361     Vester       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13362     Karen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13363     Kourtney     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13364     Christina    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13365     Rainna       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13366     Wanda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13367     Malissa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13368     Kathleen     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13369     Christina    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13370     Brenda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13371     Pamela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13372     Jeanne       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13373     Drelinda     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13374     Myrna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13375     Marie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 566 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 274 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  13376     Lisa         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13377     Kimberly     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13378     Tiffany      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13379     Brayail      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13380     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13381     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13382     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13383     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13384     Diana        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13385     Gail         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13386     Helen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13387     Catherine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13388     Sandra       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13389     Donna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13390     Debra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13391     Donna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13392     Jennifer     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13393     Kathryn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13394     Jacqueline   M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13395     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13396     Audra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13397     Kathleen     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13398     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13399     Sheryl       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13400     Vickie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13401     Veronica     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13402     Lysonia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13403     Alice        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13404     Sandra       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13405     Nancy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13406     Karen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13407     Erika        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13408     Erika        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13409     Rhonda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13410     Chanin       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13411     Lesa         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13412     Shantalena   M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13413     Pamela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13414     Tammy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13415     Deborah      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13416     Corinne      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13417     Phyllis      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13418     Catherine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13419     Gay          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13420     Charlie      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13421     Deborah      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13422     Tameca       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13423     Karma        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13424     Adrienne     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 567 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 275 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  13425     Ola          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13426     Amber        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13427     Rebecca      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13428     Michelle     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13429     Genevieve    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13430     Oleta        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13431     Stacy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13432     Willa        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13433     Jacqueline   M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13434     Carolyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13435     Robin        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13436     Judy         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13437     Jacqueline   M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13438     Doretha      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13439     Juanita      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13440     Jacqueline   M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13441     Dale         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13442     Darlene      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13443     Jacqueline   M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13444     Tracy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13445     Brunetta     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13446     Latasha      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13447     Latasha      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13448     Sonja        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13449     Elizabeth    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13450     Olga         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13451     Lloana       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13452     Xinina       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13453     Cathy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13454     Lorena       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13455     Danielle     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13456     Federika     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13457     Paula        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13458     Silvia       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13459     Omayra       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13460     Sandra       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13461     Sheri        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13462     Ellie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13463     Rosemarie    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13464     Susan        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13465     Lenora       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13466     Karen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13467     Olga         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13468     Shawna       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13469     Lori         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13470     Leticia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13471     Carmen       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13472     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13473     Clare        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 568 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 276 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  13474     Betty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13475     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13476     Evelyn       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13477     Sara         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13478     Stephanie    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13479     Cecilia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13480     Alexndra     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13481     Victoria     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13482     Sandra       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13483     Irene        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13484     Orelia       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13485     Anita        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13486     Dawn         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13487     Rosa         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13488     Esperanza    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13489     Gloria       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13490     Donna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13491     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13492     Melinda      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13493     Teri         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13494     Jessie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13495     Stephany     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13496     Jennifer     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13497     Valerie      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13498     Madonna      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13499     Deloris      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13500     Marie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13501     Keither      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13502     Cindy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13503     Kristi       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13504     Sara-Faye    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13505     Crystal      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13506     Wanda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13507     Betty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13508     Lora         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13509     Martha       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13510     Debra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13511     Charlotte    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13512     Montrella    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13513     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13514     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13515     Betty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13516     Kathryn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13517     Maxine       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13518     Penny        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13519     Sumiyo       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13520     Debra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13521     Marie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13522     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 277 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  13523     Debra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13524     Mildred      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13525     Donna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13526     Faith        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13527     Irene        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13528     Marcia       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13529     Judy         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13530     Grace        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13531     Stephanie    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13532     Brenda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13533     Tracy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13534     Sylvia       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13535     Monet        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13536     Theresa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13537     Rhonda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13538     Jessica      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13539     Doris        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13540     Gladys       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13541     Christina    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13542     Sharon       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13543     Laura        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13544     Betty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13545     Beverly      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13546     Denise       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13547     Yolanda      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13548     Jessica      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13549     Cherise      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13550     Shanna       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13551     Debra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13552     Betty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13553     Lois         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13554     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13555     Kimberly     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13556     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13557     Angela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13558     Nancy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13559     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13560     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13561     Susan        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13562     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13563     Ruby         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13564     Carolyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13565     Darlene      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13566     Helen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13567     Tammy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13568     Keneshie     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13569     Dolly        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13570     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13571     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 278 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  13572     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13573     Melissa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13574     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13575     Dana         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13576     Ida          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13577     Keshia       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13578     Bertha       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13579     Latisha      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13580     Kathy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13581     Deborah      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13582     Susan        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13583     Mitra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13584     Catherine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13585     Inger        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13586     Carson       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13587     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13588     Judith       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13589     Vickie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13590     Darlene      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13591     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13592     Angie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13593     Rhonda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13594     Aida         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13595     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13596     Nancy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13597     Vera         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13598     Casey        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13599     Marla        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13600     Janet        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13601     Latasha      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13602     Joslyn       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13603     Tammy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13604     Dale         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13605     Emily        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13606     Casey        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13607     Lydia        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13608     Hazel        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13609     Irene        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13610     Maria        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13611     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13612     Sharon       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13613     Brenda       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13614     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13615     Michele      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13616     Lisa         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13617     Tonaya       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13618     Delzal       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13619     Ann          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13620     Catherine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
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                                       Exhibit (s) A - Q Page 571 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 279 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  13621     Conallee     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13622     Vicie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13623     Pamela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13624     Anastasia    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13625     Dinah        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13626     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13627     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13628     Denna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13629     Joanne       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13630     Mina         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13631     Anna         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13632     Juanita      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13633     Billye       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13634     Diane        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13635     Amie         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13636     Laurie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13637     Violet       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13638     Erika        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13639     Maidelys     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13640     Diana        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13641     Cecelia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13642     Jean         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13643     Pamela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13644     Kelly        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13645     Phyllis      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13646     Joanne       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13647     Annette      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13648     Mishaun      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13649     Marsha       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13650     Helen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13651     Charlotte    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13652     Polly        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13653     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13654     Lucy         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13655     Theresa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13656     Lorraine     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13657     Kathryn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13658     (Hansen),    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13659     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13660     Etta         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13661     Allesia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13662     Molina,      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13663     Connie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13664     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13665     Mason,       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13666     Sharon       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13667     Sandra       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13668     Sharon       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13669     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 572 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 280 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  13670     Tammy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13671     Melissa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13672     Jennifer     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13673     Sally        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13674     Janet        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13675     Peggy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13676     Kathleen     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13677     Linda        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13678     Sandhya      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13679     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13680     Nancy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13681     Margaret     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13682     Kim          M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13683     Diona        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13684     Viola        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13685     Marcella     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13686     Kathryn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13687     Rose         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13688     Mayra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13689     Nicole       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13690     Maribel      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13691     Maria        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13692     Sandra       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13693     Sandra       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13694     Jennifer     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13695     Tomasina     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13696     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13697     Martha       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13698     Vanessa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13699     Maureen      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13700     Cathy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13701     Dawn         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13702     Kandace      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13703     Shelley      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13704     Mariann      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13705     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13706     Tara         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13707     Marilyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13708     Sharon       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13709     Nancy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13710     Betty        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13711     Melanie      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13712     Linnie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13713     Caroline     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13714     Robin        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13715     Martha       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13716     Jannie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13717     Paulette     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13718     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 573 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 281 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  13719     Debra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13720     Joyce        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13721     Kimberly     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13722     Marilyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13723     Gina         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13724     Jannell      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13725     Debra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13726     Trudy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13727     Robin        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13728     Lavonne      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13729     Jacquelyn    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13730     Sharon       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13731     Donna        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13732     Therese      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13733     Connie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13734     Berdia       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13735     Lorraine     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13736     Sharla       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13737     Lela         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13738     Carolyn      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13739     Debra        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13740     Evelyn       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13741     Judith       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13742     Diane        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13743     Lois         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13744     Roxsan       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13745     Verta        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13746     Melanie      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13747     Faye         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13748     Elaine       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13749     Lisa         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13750     Eleanor      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13751     Gwendolyn    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13752     Hattie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13753     Valerie      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13754     Valerie      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13755     Marsha       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13756     Adra         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13757     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13758     Dushka       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13759     Sandra       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13760     Barbara      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13761     Rabab        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13762     Christine    M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13763     Marcia       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13764     Martha       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13765     Annie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13766     Georgianna   M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13767     Arabella     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 282 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  13768     Jeanne       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13769     Fredrene     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13770     Helen        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13771     Janice       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13772     Theresa      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13773     Cynthia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13774     Patricia     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13775     Elaine       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13776     LouAnn       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13777     Christy      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13778     Willie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13779     Georgia      M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13780     Carol        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13781     Billy        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13782     Diane        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13783     Vicki        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13784     Susan        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13785     Willie       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13786     Charlene     M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13787     Mary         M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13788     Eileen       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13789     Angela       M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13790     Katie        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13791     Paula        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13792     Janet        M.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13793     Eleanor      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13794     Wanda        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13795     Eldora       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13796     Ellen        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13797     Bettylou     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13798     Linda        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13799     Margaret     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13800     Leshia       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13801     Kimberly     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13802     Kamlesh      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13803     Sheila       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13804     Sarah        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13805     Shireen      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13806     Christine    N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13807     Marilyn      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13808     Mary         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13809     Janet        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13810     Melonie      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13811     Dorene       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13812     Tracey       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13813     Vivian       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13814     Nina         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13815     Frances      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13816     Debra        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 575 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 283 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  13817     Jo           N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13818     Terrilee     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13819     Lynne        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13820     Fay          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13821     Adelfa       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13822     Yvette       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13823     Karen        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13824     Barbara      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13825     Carol        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13826     Pei          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13827     Lacreshia    N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13828     Julia        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13829     Linda        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13830     Margaret     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13831     Theresa      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13832     Lynn         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13833     Deborah      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13834     Patricia     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13835     Donna        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13836     Inge         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13837     Donna        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13838     Leona        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13839     Chiquita     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13840     Lori         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13841     Laura        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13842     Maria        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13843     Adela        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13844     Peggy        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13845     Yvette       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13846     Senaida      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13847     Kimberly     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13848     Diane        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13849     Eva          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13850     Leticia      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13851     Nenita       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13852     Genevieve    N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13853     Rachel       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13854     Romolice     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13855     Nancy        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13856     Peggy        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13857     Lanis        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13858     Monica       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13859     Stephanie    N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13860     Yvette       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13861     Lola         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13862     Ruth         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13863     Cheryl       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13864     Robin        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13865     Tamara       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 576 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 284 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  13866     Beverly      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13867     Deborah      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13868     Sabra        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13869     Genesis      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13870     Marisa       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13871     Jessica      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13872     Patricia     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13873     Christine    N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13874     Shelia       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13875     Donna        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13876     Elizabeth    N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13877     Susan        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13878     Tracy        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13879     Ollie        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13880     Lora         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13881     Angela       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13882     Andrea       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13883     Elizabeth    N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13884     Ninfa        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13885     Johany       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13886     Ana          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13887     Cathy        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13888     Cindy        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13889     Martha       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13890     Amanda       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13891     Paula        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13892     Starla       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13893     Janice       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13894     Ann          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13895     Brenda       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13896     Tracey       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13897     Melissa      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13898     Sharon       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13899     Katie        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13900     Trina        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13901     Karen        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13902     Rosa         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13903     Michelle     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13904     Joanne       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13905     Rosemarie    N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13906     Debora       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13907     Meco         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13908     Lisa         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13909     Barbara      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13910     Adris        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13911     Lauren       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13912     Marsha       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13913     Angelika     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13914     Carolyn      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 577 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 285 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  13915     Brown,       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13916     Stacy        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13917     JoAnne       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13918     Sandra       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13919     Olive        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13920     Tracy        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13921     Jane         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13922     Jeanna       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13923     Artis        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13924     Sandra       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13925     Lisa         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13926     Pauline      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13927     Carol        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13928     Marylou      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13929     Betsy        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13930     Pamela       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13931     Mary         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13932     Elizabeth    N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13933     Linda        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13934     Karen        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13935     Sandi        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13936     Victoria     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13937     Roxanne      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13938     Kalani       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13939     Doris        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13940     Sue          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13941     Jamie        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13942     Joanne       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13943     Kathryn      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13944     Terri        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13945     Maryann      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13946     Mary         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13947     Nancy        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13948     Pamelia      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13949     Kelly        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13950     Carol        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13951     Carmen       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13952     Peggy        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13953     Robin        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13954     Linda        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13955     Linda        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13956     Crystal      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13957     Barbara      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13958     Percilla     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13959     Murline      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13960     Lena         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13961     Andrea       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13962     Kirsten      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13963     Laura        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 578 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 286 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  13964     Jennifer     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13965     Teresa       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13966     Theresa      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13967     Mary         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13968     Tonya        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13969     Barbara      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13970     Patsy        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13971     Noelia       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13972     Francis      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13973     Mary         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13974     Tracy        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13975     Claudia      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13976     Joyce        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13977     Mabel        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13978     Nancy        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13979     Jamie        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13980     Eve          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13981     Susette      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13982     Rita         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13983     Angela       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13984     Anita        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13985     Ester        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13986     Afton        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13987     Tiarca       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13988     Beverly      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13989     Alicia       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13990     Charlene     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13991     Josie        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13992     Thu          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13993     Deborah      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13994     Rosie        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13995     Kathleen     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13996     Barbara      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13997     Susan        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13998     Tonetta      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  13999     Shelly       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14000     Sandra       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14001     Marlene      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14002     Jenny        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14003     Ann          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14004     Bridgett     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14005     Josephine    N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14006     Barbara      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14007     Michelle     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14008     Diane        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14009     Lillian      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14010     Carey        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14011     Lorraine     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14012     Karen        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 579 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 287 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  14013     Rosemary     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14014     Emily        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14015     Kristan      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14016     Doris        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14017     Claire       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14018     Christine    N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14019     Alethea      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14020     Cynthia      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14021     Deborah      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14022     Vaciliki     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14023     Judith       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14024     Cindy        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14025     Stacey       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14026     Dana         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14027     Kathleen     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14028     Alberta      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14029     Shellie      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14030     Amy          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14031     Denise       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14032     Karin        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14033     Lisabeth     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14034     Josephine    N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14035     Valerie      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14036     Nadya        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14037     Anna         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14038     Tonia        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14039     Brenda       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14040     Amina        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14041     Belmar       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14042     Lydia        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14043     Sharon       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14044     Faufau       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14045     Joyce        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14046     Gloria       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14047     Kathleen     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14048     Barbara      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14049     Bettye       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14050     Kristine     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14051     Cynthia      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14052     Sara         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14053     Ursula       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14054     Amber        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14055     Dorothea     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14056     Joyce        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14057     Frances      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14058     Charlotte    N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14059     Alease       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14060     Sophia       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14061     Jewel        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 580 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 288 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  14062     Violet       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14063     Vivian       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14064     Sally        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14065     Sandra       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14066     Debra        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14067     Kathleen     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14068     Stephanie    N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14069     Wanda        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14070     Jennifer     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14071     Mary         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14072     Gisela       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14073     Julie        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14074     Juliana      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14075     Kindra       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14076     Carole       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14077     Ollie        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14078     Deborah      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14079     Aubrey       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14080     Loretha      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14081     Lynette      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14082     Betty        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14083     Sheila       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14084     Delores      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14085     Amanda       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14086     Kim          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14087     Theresa      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14088     Coleen       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14089     Susan        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14090     Doris        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14091     Tansy        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14092     Mary         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14093     Jacqueline   N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14094     Joy          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14095     Cindy        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14096     Rita         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14097     Robin        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14098     Carlene      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14099     Julie        N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14100     Sharon       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14101     Jacquelyn    N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14102     Beverly      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14103     Stefanie     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14104     Lucretia     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14105     Dorothy      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14106     Gladys       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14107     Laquita      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14108     Lillian      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14109     Margaret     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14110     Kathleen     N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK            Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                         Exhibit (s) A - Q Page 581 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 289 of 437
                  First
                            Last Name
 Claimant         Name                                                     Date of
                             (injured    Date of Birth
    No.         (injured                                       SSN        Death (if
                             person)
                person)                                      (last 4)    applicable)    Claim Type
  14111     Mary           N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14112     Peggy          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14113     Denice         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14114     Rosemarie      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14115     Diane          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14116     Linda          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14117     Susan          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14118     Sharon         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14119     Sharon         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14120     Lynne          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14121     Hall,          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14122     Peggy          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14123     Grace          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14124     Karen          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14125     Linda          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14126     Christine      N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14127     Minnie         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14128     Elicia         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14129     Emma           N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14130     Debbie         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14131     Patricia       N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14132     Cicely         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14133     Marsha         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14134     Roxann         N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14135     Janet          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14136     Donna          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14137     Carol          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14138     Nyla           N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14139     Megan          N.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14140     ,              O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14141     Marianne       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14142     Martha         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14143     Lisa           O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14144     Lori           O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14145     Mary           O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14146     Barbara        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14147     Angela         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14148     Melanie        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14149     Cheryl         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14150     Kathy          O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14151     Elaine         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14152     Ofelia         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14153     Elizabeth      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14154     Geraldine      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14155     Judith         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14156     Brenda         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14157     Monica         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14158     Wendy          O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14159     Irma           O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 582 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 290 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  14160     Kathleen     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14161     Patricia     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14162     Linda        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14163     Traci        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14164     Aileen       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14165     Ilene        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14166     Ecko         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14167     Christina    O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14168     Connie       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14169     Kathleen     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14170     Vickie       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14171     Lenore       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14172     Jacqueline   O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14173     Marianne     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14174     Alean        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14175     Vera         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14176     Audrey       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14177     Debra        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14178     Karen        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14179     Cynthia      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14180     Katherine    O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14181     Ruthann      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14182     Christina    O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14183     Kerry        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14184     Yvonne       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14185     Teresa       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14186     Dorothy      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14187     Deborah      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14188     Peggy        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14189     Michelle     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14190     Sylvia       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14191     Louise       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14192     Ethel        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14193     Lauralea     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14194     Sesilia      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14195     Reiko        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14196     Lorena       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14197     Donna        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14198     Pamela       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14199     Michelle     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14200     Betty        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14201     Barbara      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14202     Sheila       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14203     Anita        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14204     Doreen       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14205     Roseann      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14206     Phyllis      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14207     Julie        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14208     Maria        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 583 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 291 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  14209     Nichole      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14210     Barbara      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14211     Lillie       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14212     Cynthia      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14213     Carolyn      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14214     Martha       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14215     Jean         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14216     Kathleen     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14217     Karen        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14218     Mary         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14219     Erin         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14220     Aletha       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14221     Joyce        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14222     Daisy        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14223     Jennifer     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14224     Rosemary     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14225     Shirley      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14226     Charline     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14227     Ella         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14228     Ellen        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14229     Renee        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14230     Freda        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14231     Deborah      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14232     Jacqueline   O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14233     Ingeborg     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14234     Alice        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14235     Ramona       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14236     Ashli        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14237     Dorothy      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14238     Casey        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14239     Margaret     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14240     Predeitha    O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14241     Mary         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14242     Joy          O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14243     Christine    O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14244     Victoria     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14245     Sheila       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14246     Anita        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14247     Debra        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14248     Irene        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14249     Aleta        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14250     Charlene     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14251     Margaret     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14252     Adella       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14253     Mary         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14254     Sandra       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14255     Louise       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14256     Kari         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14257     Kathleen     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 584 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 292 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  14258     Darlene      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14259     Joyce        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14260     Kelly        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14261     Diana        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14262     Marlene      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14263     Kimberly     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14264     Beverly      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14265     Sharon       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14266     Jaci         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14267     Tameeka      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14268     Laura        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14269     Linda        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14270     Karen        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14271     Joyce        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14272     Denise       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14273     Katie        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14274     Ganette      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14275     Julia        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14276     Julia        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14277     Ladonna      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14278     Kathryn      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14279     Ida          O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14280     Vickie       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14281     Linda        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14282     Floare       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14283     Mindy        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14284     Mindy        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14285     Jimmie       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14286     Melinda      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14287     Gisele       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14288     Nannette     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14289     Joyce        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14290     Irene        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14291     Delores      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14292     Patricia     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14293     Louretta     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14294     Marion       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14295     Margaret     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14296     Mary         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14297     Marsha       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14298     Janet        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14299     Valerie      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14300     Eleanor      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14301     Margaret     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14302     Michaela     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14303     Rosalba      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14304     Christine    O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14305     Colleen      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14306     Joy          O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 585 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 293 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  14307     Lilia        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14308     Tonya        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14309     Vicky        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14310     Marilyn      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14311     Marilynn     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14312     Coleen       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14313     Ashley       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14314     Elizabeth    O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14315     Jennifer     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14316     Elia         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14317     Racquel      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14318     Rhonda       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14319     Janet        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14320     Bobbie       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14321     Shelly       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14322     Debra        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14323     Ingrid       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14324     Maria        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14325     Natalie      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14326     Francisca    O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14327     Stephanie    O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14328     Almodovar,   O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14329     Connie       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14330     Sandra       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14331     Elena        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14332     Annette      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14333     Maria        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14334     Pamela       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14335     Leann        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14336     Janet        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14337     Antonia      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14338     Denise       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14339     Kelly        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14340     Diane        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14341     Joan         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14342     Claudette    O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14343     Deanna       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14344     Barbara      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14345     Joann        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14346     Linda        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14347     Katherine    O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14348     Kristi       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14349     Betty        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14350     Marcelina    O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14351     Nancy        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14352     Kristy       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14353     Susan        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14354     Luisa        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14355     Dee          O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 586 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 294 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  14356     Kimberly     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14357     Lucille      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14358     Laura        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14359     LuAnn        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14360     Andrea       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14361     Norma        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14362     Margaret     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14363     Joan         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14364     Tammi        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14365     Gloria       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14366     Mary         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14367     Paciencia    O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14368     Jacqueline   O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14369     Maree        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14370     Denise       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14371     Annmarie     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14372     Janie        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14373     Lesley       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14374     Gloria       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14375     Nelda        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14376     Myrna        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14377     Lauren       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14378     Diana        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14379     Regina       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14380     Alicia       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14381     Paulette     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14382     Judith       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14383     Iris         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14384     Rita         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14385     Angie        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14386     Angela       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14387     Janice       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14388     Ramona       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14389     Patricia     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14390     Trikyna      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14391     Hilda        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14392     Darnelle     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14393     Irene        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14394     Rebecca      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14395     Jill         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14396     Desirae      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14397     Lisa         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14398     Deborah      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14399     Santana      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14400     Holly        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14401     Lena         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14402     Karla        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14403     Veda         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14404     Donna        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 587 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 295 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  14405     Elma         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14406     Lisa         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14407     Michelle     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14408     Sandra       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14409     Toni         O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14410     Bonnie       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14411     Karen        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14412     Dishannon    O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14413     Susan        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14414     Rhonda       O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14415     Clara        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14416     Pansy        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14417     Elizabeth    O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14418     Yolanda      O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14419     Consuelo     O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14420     Carol        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14421     Clara        O.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14422     Margaret     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14423     Gladys       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14424     Zemina       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14425     Janet        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14426     Robin        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14427     Lesia        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14428     Michelle     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14429     Bonita       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14430     Annette      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14431     Rose         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14432     Racheal      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14433     Alice        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14434     Crystal      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14435     Elizabeth    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14436     Christina    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14437     Rita         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14438     Roberta      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14439     Ida          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14440     Hisako       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14441     Donette      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14442     Bethrese     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14443     Frankie      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14444     Charlene     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14445     Claudia      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14446     Kathy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14447     Shirley      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14448     Lorraine     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14449     Yolanda      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14450     Jeannette    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14451     Christine    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14452     Lorie        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14453     Rose         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 296 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  14454     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14455     Andrea       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14456     Rebecca      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14457     Christina    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14458     Silvia       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14459     Lillian      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14460     Lisa         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14461     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14462     Vivian       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14463     Donna        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14464     Debra        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14465     Linda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14466     Anna         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14467     Susan        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14468     Jasmine      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14469     Barbara      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14470     Sylvia       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14471     Corinne      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14472     Earnestine   P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14473     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14474     Laurinda     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14475     Deborah      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14476     Jenny        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14477     Sharri       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14478     Zola         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14479     Diane        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14480     Marlette     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14481     Gina         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14482     Susan        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14483     Trudy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14484     Tamara       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14485     Dik          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14486     Carlotta     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14487     Patricia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14488     Taci         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14489     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14490     Debra        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14491     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14492     Marsha       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14493     Louise       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14494     Olive        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14495     Sally        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14496     Pamela       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14497     Carol        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14498     Divina       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14499     Liling       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14500     Evanthia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14501     Christine    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14502     Elaine       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 297 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  14503     Erica        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14504     Jynelle      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14505     Rosa         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14506     Annie        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14507     Antonella    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14508     Lois         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14509     Susann       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14510     Ashley       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14511     Donna        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14512     Cynthia      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14513     Dolly        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14514     Andrea       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14515     Barbara      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14516     Virginia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14517     Mama         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14518     Debbie       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14519     Vidya        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14520     Ardis        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14521     Jeanette     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14522     Connie       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14523     Nichole      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14524     Pamela       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14525     Shirley      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14526     Roberta      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14527     Lenora       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14528     Amanda       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14529     Laura        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14530     Dorothy      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14531     Kitty        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14532     Lynda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14533     Irene        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14534     Crystal      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14535     Jennifer     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14536     Gloria       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14537     Phyllis      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14538     Judith       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14539     Patricia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14540     Gayle        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14541     Patricia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14542     Elizabeth    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14543     Peggy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14544     Barbara      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14545     Katie        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14546     Dominique    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14547     Phyllis      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14548     Catherine    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14549     Sara         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14550     Dorothy      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14551     June         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 590 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 298 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  14552     Williams,    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14553     Helen        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14554     Debra        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14555     Diana        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14556     Juanita      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14557     Jami         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14558     Naomi        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14559     Vanessa      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14560     Doris        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14561     Judy         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14562     Cynthia      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14563     Gail         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14564     Helen        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14565     Jenifer      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14566     Verla        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14567     Susan        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14568     Janece       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14569     Sharon       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14570     Kathleen     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14571     Christine    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14572     Laurie       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14573     Wyvone       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14574     Brenda       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14575     Kim          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14576     Carolyn      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14577     Ella         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14578     Ella         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14579     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14580     Linda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14581     Deven        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14582     Heidi        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14583     Diane        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14584     Janet        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14585     Joyce        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14586     Marilynn     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14587     Angelina     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14588     Judy         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14589     Barbara      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14590     Evangelina   P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14591     Melissa      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14592     Kendra       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14593     Bonnie       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14594     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14595     Veronica     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14596     Marla        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14597     Darnecha     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14598     Modessa      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14599     Christine    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14600     Debra        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 591 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 299 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  14601     Marilyn      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14602     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14603     Donna        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14604     Carol        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14605     Linda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14606     Laura        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14607     Deborah      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14608     Dora         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14609     Nickie       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14610     Chastity     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14611     Shirley      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14612     Norma        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14613     Birdie       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14614     Pamela       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14615     Teresa       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14616     Kathryn      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14617     Ruthanne     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14618     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14619     Carla        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14620     Frances      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14621     Elizabeth    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14622     Sharon       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14623     Antoinette   P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14624     Bernadine    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14625     Carol        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14626     Geralynn     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14627     Kay          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14628     Margo        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14629     Joyce        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14630     Dorothy      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14631     Virginia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14632     Millie       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14633     Linda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14634     Zelma        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14635     Regina       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14636     Rose         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14637     Veronique    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14638     Magda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14639     Cherie       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14640     Tina         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14641     Christine    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14642     Ruby         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14643     Sudha        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14644     Jaina        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14645     Chandrklekha P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14646     Dora         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14647     Terry        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14648     Roberta      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14649     Patricia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 592 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 300 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  14650     Alicestine   P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14651     Clara        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14652     Joleen       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14653     Mickey       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14654     Augustine    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14655     Linda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14656     Veronica     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14657     Leann        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14658     Stephanie    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14659     Sherrill     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14660     Suzanne      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14661     Jewellene    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14662     Shannon      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14663     Karen        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14664     Penelope     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14665     Susan        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14666     Donna        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14667     Ashly        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14668     Vickie       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14669     Bertha       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14670     Linda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14671     Beth         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14672     Martha       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14673     Shirley      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14674     Shirley      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14675     Patricia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14676     Jessie       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14677     Calvet       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14678     Marcelena    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14679     Amanda       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14680     Faye         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14681     Diane        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14682     Una          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14683     Sheila       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14684     Bernice      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14685     Virginia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14686     Eva          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14687     Anne         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14688     Ann          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14689     Carolyn      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14690     Donna        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14691     Rosemary     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14692     Florence     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14693     Teresa       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14694     Shirley      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14695     Karen        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14696     Reina        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14697     Toni         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14698     Nancy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 593 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 301 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  14699     Jennifer     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14700     Barbara      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14701     Sarah        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14702     Debra        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14703     Cynthia      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14704     Kathy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14705     Layla        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14706     Lynda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14707     Betty        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14708     Sandra       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14709     Jeanette     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14710     Gabriele     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14711     Gina         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14712     Margaret     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14713     Carolyn      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14714     Darlene      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14715     Lois         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14716     Donna        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14717     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14718     Bevelyn      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14719     Amanda       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14720     Elizabeth    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14721     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14722     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14723     Frances      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14724     Latia        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14725     Virginia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14726     Anna         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14727     Lorie        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14728     Malissa      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14729     Cynthia      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14730     Cynthia      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14731     Andrea       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14732     Shameka      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14733     Chantel      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14734     Brenda       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14735     Thea         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14736     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14737     Cynthia      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14738     Sheila       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14739     Charlene     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14740     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14741     Robbin       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14742     Melinda      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14743     Diane        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14744     Kathleen     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14745     Patricia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14746     Maria        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14747     Kelly        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 594 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 302 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  14748     Eugenia      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14749     Jennifer     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14750     Elsie        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14751     Sharon       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14752     Jowanda      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14753     Eva          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14754     Rosemarie    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14755     Bonnie       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14756     Joyal        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14757     Carol        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14758     Roberta      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14759     Cara         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14760     Linda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14761     Laurie       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14762     Kathleen     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14763     Betty        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14764     Kim          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14765     Cindy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14766     Katherine    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14767     Lorraine     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14768     Gloria       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14769     Claraomin    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14770     Patricia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14771     Elizabeth    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14772     Valerie      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14773     Donna        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14774     Lilia        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14775     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14776     Cynthia      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14777     Charlotte    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14778     Carol        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14779     Katherine    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14780     Babe         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14781     Eva          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14782     Lilliam      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14783     Marguerite   P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14784     Brenda       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14785     Jones,       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14786     Paula        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14787     Leah         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14788     Robin        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14789     Bertha       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14790     Gail         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14791     Katerine     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14792     Barbara      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14793     Diane        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14794     Seandra      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14795     Rosa         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14796     Jane         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 595 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 303 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  14797     Shelii       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14798     Sandra       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14799     Anna         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14800     Anglia       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14801     Alice        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14802     Loretta      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14803     Madeline     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14804     Darnetta     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14805     Deborah      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14806     Shirley      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14807     Stephanie    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14808     Ana          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14809     Dolores      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14810     Pamela       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14811     Carol        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14812     Kinsey       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14813     Linda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14814     Penny        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14815     Noreen       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14816     Rochelle     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14817     Pauline      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14818     Belinda      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14819     Elizabeth    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14820     Margarita    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14821     Maria        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14822     Cynthia      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14823     Marizol      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14824     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14825     Dajon        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14826     Nilda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14827     Vanessa      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14828     Delores      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14829     Sophia       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14830     Nancy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14831     Flores,      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14832     Migdalia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14833     Diana        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14834     Angelita     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14835     Elizabeth    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14836     Herlinda     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14837     Elizabeth    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14838     Adrianne     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14839     Gabriela     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14840     Linda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14841     Dolores      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14842     Kathleen     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14843     Janice       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14844     Amanda       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14845     Marianne     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 596 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 304 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  14846     Barbara      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14847     Edna         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14848     Nancy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14849     Ruth         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14850     Brenda       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14851     Nadine       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14852     Dawn         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14853     Charlene     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14854     Carolyn      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14855     Gail         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14856     Alyse        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14857     Rita         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14858     Joann        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14859     Meghan       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14860     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14861     Jovonne      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14862     Joquayla     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14863     Wendy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14864     Nancy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14865     Linda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14866     Shannon      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14867     Almetra      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14868     Earnestine   P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14869     Karen        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14870     Julia        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14871     Treva        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14872     Veronica     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14873     Elizabeth    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14874     Beverly      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14875     Dorothy      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14876     Deborah      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14877     Betty        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14878     Cathy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14879     Briggette    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14880     Adlaine      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14881     Janet        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14882     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14883     Cynthia      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14884     Judith       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14885     Diane        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14886     Lisa         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14887     Jewell       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14888     Nina         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14889     Athena       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14890     Edna         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14891     Tranetta     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14892     Karen        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14893     Joyce        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14894     Patricia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 305 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  14895     Patricia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14896     Yordanka     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14897     Jennifer     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14898     Lorraine     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14899     Carol        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14900     Arlene       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14901     Suzanne      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14902     Brenda       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14903     Cynthia      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14904     Jana         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14905     Joanne       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14906     Inhta        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14907     Stacey       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14908     Patricia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14909     Lisa         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14910     Karin        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14911     Cheryl       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14912     Catherine    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14913     Delores      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14914     Patricia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14915     Sandra       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14916     Lillian      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14917     Naomi        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14918     Nikitta      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14919     Pam          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14920     Kerry        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14921     Anne         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14922     Patricia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14923     Beverly      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14924     Christina    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14925     Norma        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14926     Brown,       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14927     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14928     Nicola       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14929     Jamie        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14930     Avis         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14931     Sharon       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14932     Dezba        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14933     Betty        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14934     Judith       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14935     Virginia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14936     Sandra       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14937     Ruby         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14938     Misty        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14939     Lavonne      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14940     Martha       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14941     JoAnn        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14942     Kayla        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14943     Doreen       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 306 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  14944     Joan         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14945     Tammy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14946     Danielle     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14947     Teresa       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14948     Hilda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14949     Harriet      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14950     Sarie        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14951     Lou          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14952     Patricia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14953     Pamela       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14954     Ronda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14955     Brenda       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14956     Jessica      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14957     Deborah      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14958     Crystal      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14959     Melda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14960     Sharon       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14961     Meshi        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14962     Carol        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14963     Faye         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14964     Louise       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14965     Marilyn      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14966     Jamie        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14967     Brianna      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14968     Diana        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14969     Carol        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14970     Tina         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14971     Irene        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14972     Araina       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14973     Irene        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14974     Emy          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14975     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14976     Joyce        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14977     Barbara      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14978     Cherie       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14979     Wilma        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14980     Ann          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14981     Destini      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14982     Robyn        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14983     Brenda       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14984     Geraldine    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14985     Connie       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14986     Tami         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14987     Patricia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14988     Joann        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14989     Carol        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14990     Anna         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14991     Linda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14992     Nancy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 599 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 307 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  14993     Patricia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14994     Lorin        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14995     Eroletta     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14996     Carol        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14997     Florence     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14998     Sandra       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  14999     Pitts,       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15000     Kari         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15001     Frances      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15002     Cathy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15003     Nichole      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15004     Maria        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15005     Jerrilyn     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15006     Dorothy      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15007     Eileen       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15008     Renay        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15009     Esther       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15010     Arlett       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15011     Rosemary     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15012     Judy         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15013     Dorcas       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15014     Kelly        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15015     Mae          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15016     Deanna       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15017     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15018     Sharyn       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15019     Luella       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15020     Norma        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15021     Rebecca      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15022     Carol        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15023     Patsy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15024     Deborah      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15025     Bettye       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15026     Georgina     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15027     Marie        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15028     Ghislaine    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15029     Audrey       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15030     Marta        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15031     Kathleen     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15032     Cheryl       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15033     Virginia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15034     Jocelyn      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15035     Diane        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15036     Janet        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15037     Denise       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15038     Cynthia      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15039     Monica       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15040     Norma        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15041     Angela       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 600 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 308 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  15042     Rubi         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15043     Pamela       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15044     Kelly        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15045     Anita        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15046     Isidora      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15047     Sandria      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15048     Johanna      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15049     Adrienne     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15050     Shemekia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15051     Gerri        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15052     Andrea       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15053     Bonnie       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15054     Joanne       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15055     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15056     Juanadyne    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15057     Kim          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15058     Evelyn       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15059     Nancy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15060     Delores      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15061     Toya         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15062     Felice       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15063     Cathy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15064     Gloria       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15065     Calley       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15066     Colette      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15067     Kimberly     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15068     Kristi       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15069     Vickie       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15070     Nicole       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15071     Leslie       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15072     Penny        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15073     Jean         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15074     Brenda       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15075     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15076     Marsha       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15077     Dorothy      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15078     Lizzie       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15079     Teresa       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15080     Kaloni       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15081     Maureen      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15082     Laura        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15083     Edna         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15084     Robin        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15085     Sheila       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15086     Mildred      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15087     Chiquita     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15088     Debra        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15089     Linda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15090     Hasata       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                        Exhibit (s) A - Q Page 601 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 309 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
  15091     Domenica      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15092     Traci         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15093     Alyce         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15094     Marta         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15095     Karen         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15096     Andrea        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15097     Nancy         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15098     Betty         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15099     Malamateria   P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15100     Jennifer      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15101     Cynthia       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15102     Carol         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15103     Claire        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15104     Heather       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15105     Veronica      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15106     Patience      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15107     Judy          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15108     Dorothy       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15109     Carol         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15110     Dwyer,        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15111     Sabrina       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15112     Lora          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15113     Jana          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15114     Helen         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15115     Donita        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15116     Diane         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15117     Pamela        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15118     Barbara       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15119     Michelle      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15120     Diane         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15121     Billie        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15122     Denise        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15123     Lynda         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15124     Kathleen      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15125     Theodora      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15126     Sonya         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15127     Marlene       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15128     Brandy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15129     Doris         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15130     Wendy         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15131     Sally         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15132     Cheryl        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15133     Kathleen      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15134     Joan          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15135     Cheryl        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15136     Lisa          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15137     Joyce         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15138     Cheryl        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15139     Judy          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 310 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  15140     Darcelle     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15141     Deborah      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15142     Venessa      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15143     Karen        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15144     Miya         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15145     Carolyn      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15146     Patricia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15147     Isabele      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15148     Christina    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15149     Pat          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15150     Linda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15151     Rosaria      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15152     Kimberly     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15153     Barbara      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15154     Arittie      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15155     Jemika       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15156     Cassandra    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15157     Arlene       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15158     Theresa      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15159     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15160     Geneva       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15161     Audrea       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15162     Jacqueline   P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15163     Nancy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15164     Nancy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15165     Pamela       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15166     Christina    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15167     Elizabeth    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15168     Patsy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15169     Helene       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15170     Nell         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15171     Annmarie     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15172     Ann          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15173     Oralia       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15174     Ashley       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15175     Maria        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15176     Agnes        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15177     Diana        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15178     Ginny        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15179     Ruth         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15180     Alicia       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15181     Carolyn      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15182     Lumto        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15183     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15184     Daisy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15185     Barbara      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15186     Betty        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15187     Rosan        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15188     Virginia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 311 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  15189     Cynthia      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15190     Keitha       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15191     Theresa      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15192     Eileen       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15193     Joan         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15194     Irene        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15195     Heidi        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15196     Shandron     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15197     Jacquline    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15198     Ruby         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15199     Misty        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15200     Sara         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15201     Carolyn      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15202     Jane         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15203     Sarah        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15204     Betty        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15205     Gwendolyn    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15206     Gaylene      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15207     Rosemary     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15208     Sharon       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15209     Marion       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15210     Monserrate   P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15211     Yolanda      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15212     Annette      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15213     Robbie       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15214     Sandra       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15215     Jeannie      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15216     Tanya        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15217     Diane        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15218     Barbara      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15219     Marjorie     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15220     Linda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15221     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15222     Tessa        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15223     Jodie        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15224     Sue          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15225     Minnie       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15226     Darlene      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15227     Brenda       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15228     Joann        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15229     Deborah      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15230     Annette      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15231     Chiquitta    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15232     Kimberlee    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15233     Francile     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15234     Carol        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15235     Debra        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15236     Debra        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15237     Teresa       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 604 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 312 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  15238     Dorothy      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15239     Julia        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15240     Judith       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15241     Sandra       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15242     Deborah      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15243     Georgina     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15244     Karen        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15245     Christine    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15246     Renee        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15247     Johnqunell   P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15248     Betty        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15249     Kathy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15250     Nurline      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15251     Charlene     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15252     Dawn         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15253     Alice        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15254     Joanna       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15255     Karen        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15256     Nancy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15257     Geneva       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15258     Angelique    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15259     Shirley      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15260     Tara         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15261     Wanda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15262     Beverly      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15263     Carolyn      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15264     Carolyn      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15265     Gwenevere    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15266     Erika        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15267     Estell       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15268     Eloise       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15269     Sonda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15270     Christina    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15271     Stacy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15272     Jean         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15273     Kathleen     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15274     Margaret     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15275     Joann        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15276     Reba         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15277     Belinda      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15278     Melinda      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15279     Cheryl       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15280     Margaret     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15281     Robin        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15282     Victoria     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15283     Barbara      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15284     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15285     Susan        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15286     Lisa         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 605 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 313 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  15287     Lillie       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15288     Rita         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15289     Dianne       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15290     Alida        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15291     Rebecca      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15292     Stephanie    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15293     Regina       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15294     Frances      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15295     Gale         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15296     Lillian      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15297     Kourtney     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15298     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15299     Carol        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15300     Iesha        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15301     Paula        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15302     Dionne       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15303     Susan        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15304     Logan        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15305     Ollie        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15306     Cynthia      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15307     Carolyn      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15308     Brandy       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15309     Linda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15310     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15311     Nedra        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15312     Diana        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15313     Emily        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15314     Jessica      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15315     Chloe        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15316     Martha       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15317     Ruby         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15318     Anu          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15319     Paula        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15320     Lori         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15321     Felecia      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15322     Felecia      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15323     Janice       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15324     Yvette       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15325     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15326     Ginger       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15327     La'Shawn     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15328     Marjorie     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15329     Diane        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15330     Tondaleon    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15331     Paula        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15332     Inez         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15333     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15334     Erika        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15335     Kathy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 606 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 314 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  15336     Estella      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15337     Roxanna      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15338     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15339     Sharron      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15340     Jennifer     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15341     Carol        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15342     Betty        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15343     Linda        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15344     Aretha       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15345     Helen        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15346     Andy         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15347     Angela       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15348     Ruth         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15349     Toni         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15350     Laura        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15351     Jeannette    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15352     Nancy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15353     Patti        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15354     Brenda       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15355     Bettye       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15356     Patricia     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15357     Debra        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15358     Sarena       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15359     Ruth         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15360     Brenda       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15361     Tameika      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15362     Barbara      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15363     Lorraine     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15364     Josephine    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15365     Tania        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15366     Annette      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15367     Jessica      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15368     Avelina      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15369     Alana        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15370     Darby        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15371     Janice       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15372     Lillian      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15373     Holly        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15374     Judy         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15375     Debbie       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15376     Nikkishia    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15377     Lori         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15378     Deloris      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15379     Karla        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15380     Pamela       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15381     Michell      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15382     Kathy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15383     Michelle     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15384     Sandra       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 315 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  15385     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15386     Carolyn      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15387     Nancy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15388     Barbara      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15389     Beth         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15390     Nanamae      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15391     Ashley       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15392     Pamela       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15393     JoEllen      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15394     Patsy        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15395     Michele      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15396     Gloria       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15397     Rosetta      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15398     Keela        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15399     Barbara      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15400     Lynn         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15401     Donna        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15402     Sandra       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15403     Dorothy      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15404     Terri        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15405     Barbara      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15406     Kathleen     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15407     Emily        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15408     Barbara      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15409     Lenore       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15410     Velma        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15411     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15412     Marjorie     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15413     Catherine    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15414     Carissa      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15415     Heather      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15416     Cecilia      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15417     Melissa      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15418     Mary         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15419     Janice       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15420     Judy         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15421     Gail         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15422     Valene       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15423     Victoria     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15424     Sandra       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15425     Dora         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15426     Annie        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15427     Angela       P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15428     Barbara      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15429     Shelley      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15430     Georgia      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15431     Charlene     P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15432     Geraldine    P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15433     April        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK           Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                        Exhibit (s) A - Q Page 608 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 316 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
  15434     Joelle        P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15435     Joann         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15436     Lori          P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15437     Tonia         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15438     Wilma         P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15439     Kimberly      P.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15440     Nadia         Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15441     Billie        Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15442     Amelia        Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15443     Delores       Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15444     Frances       Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15445     Debra         Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15446     Rita          Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15447     Cynthia       Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15448     Celeste       Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15449     Marialouisa   Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15450     Marie         Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15451     Erika         Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15452     Sally         Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15453     Pacita        Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15454     Elizabeth     Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15455     Jacqueline    Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15456     Casandra      Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15457     Lisa          Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15458     Vickie        Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15459     Diane         Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15460     Jenine        Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15461     Tekela        Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15462     Mary          Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15463     Joanette      Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15464     Maria         Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15465     Georgina      Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15466     Yolanda       Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15467     Amelia        Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15468     Lisa          Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15469     Angie         Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15470     Elizabeth     Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15471     Angela        Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15472     Sara          Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15473     Amanda        Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15474     Jessica       Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15475     Alice         Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15476     Dora          Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15477     Corina        Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15478     Theresa       Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15479     Maria         Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15480     Rosario       Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15481     Paula         Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15482     Theresa       Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 609 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 317 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  15483     Aida         Q.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15484     Robyn        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15485     Dottie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15486     Cheryl       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15487     Linda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15488     Lynne        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15489     Jane         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15490     Nan          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15491     Carol        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15492     Giannina     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15493     Valgean      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15494     Anne         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15495     Noel         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15496     Tracy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15497     Mildred      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15498     Brenda       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15499     Bridget      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15500     Joyce        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15501     Elizabeth    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15502     Karen        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15503     Carol        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15504     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15505     Felecia      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15506     Lisa         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15507     Gina         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15508     Lottie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15509     Lana         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15510     Donna        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15511     Donna        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15512     Kristina     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15513     Barbara      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15514     Nancy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15515     Phyllis      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15516     Micheale     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15517     Khalilah     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15518     Deborah      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15519     Linda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15520     Mande        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15521     Kim          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15522     Dawn         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15523     Martha       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15524     Stephanie    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15525     Latoyia      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15526     Beatrice     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15527     Virginia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15528     Linda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15529     Patsy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15530     Lori         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15531     Lynne        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 318 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  15532     Sandra       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15533     Victoria     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15534     Laura        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15535     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15536     Latrese      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15537     Cindy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15538     Denise       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15539     Anita        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15540     Nancy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15541     Irene        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15542     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15543     Tatiana      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15544     Luz          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15545     Jesusita     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15546     Sylvia       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15547     Norma        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15548     Sara         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15549     Laura        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15550     Chanmattie   R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15551     Lisa         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15552     Lisa         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15553     Helyette     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15554     Carmelita    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15555     Manuela      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15556     Margarita    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15557     Gladys       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15558     Silvey       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15559     Susan        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15560     Shannon      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15561     Debra        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15562     Melissa      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15563     Patricia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15564     Nakisha      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15565     Alva         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15566     Barbara      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15567     Joan         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15568     Frances      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15569     Gina         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15570     Lillie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15571     Henrietta    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15572     Camilla      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15573     Jill         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15574     Carol        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15575     Shirley      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15576     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15577     Sandra       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15578     Gloria       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15579     Alvina       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15580     Nanette      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 319 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  15581     Pamela       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15582     Edna         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15583     Peggy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15584     Joyce        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15585     Esther       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15586     Josephine    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15587     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15588     Rosemarie    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15589     Darlene      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15590     Yolanda      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15591     Rosa         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15592     Catherine    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15593     Reymunda     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15594     Paula        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15595     Merline      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15596     Sandra       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15597     Shari        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15598     Sheila       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15599     Linda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15600     Marilyn      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15601     Cecelia      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15602     Dolores      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15603     Deborah      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15604     Fariba       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15605     Marlene      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15606     Kathy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15607     Sarah        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15608     Frances      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15609     Emlily       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15610     Kim          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15611     Judith       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15612     Saldana,     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15613     Loretta      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15614     Sylvia       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15615     April        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15616     Carol        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15617     Karen        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15618     Lisa         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15619     Vickie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15620     Tamara       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15621     Leslie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15622     Susan        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15623     Nicole       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15624     Kathryn      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15625     Pauline      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15626     Amber        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15627     Jan          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15628     Betty        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15629     Robyn        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 320 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  15630     Tondia       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15631     Debra        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15632     Diane        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15633     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15634     Elyse        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15635     Brandy       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15636     Tiffany      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15637     Pooja        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15638     Velva        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15639     Stella       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15640     Janice       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15641     Sally        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15642     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15643     Deborah      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15644     Caitlyn      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15645     Cari         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15646     Brandy       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15647     Dianne       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15648     Saddelle     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15649     Amanda       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15650     Barbara      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15651     Crystal      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15652     Susan        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15653     Lamona       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15654     Carol        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15655     Angela       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15656     Laura        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15657     Kenyada      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15658     Kaneisha     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15659     Shelia       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15660     Rose         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15661     Debra        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15662     Linda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15663     Esperanza    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15664     Linda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15665     Sharon       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15666     Deborah      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15667     Jennifer     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15668     Debra        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15669     Catina       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15670     Donetta      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15671     Irene        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15672     Esperance    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15673     Debbie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15674     Debbie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15675     Martha       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15676     Victoria     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15677     Sherri       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15678     Donna        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 613 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 321 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  15679     Shirley      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15680     Kathryn      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15681     Gina         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15682     Cynthia      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15683     Wendy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15684     Patricia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15685     Annie        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15686     Caroline     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15687     Nancy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15688     Ruthann      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15689     Honey        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15690     Ann          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15691     Nicole       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15692     Lucille      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15693     Ethel        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15694     Teresa       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15695     Gail         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15696     Bernadine    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15697     Yvonne       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15698     Nettie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15699     E.           R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15700     Rosalie      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15701     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15702     Misty        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15703     Julia        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15704     Betty        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15705     Hazel        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15706     Gloria       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15707     Norma        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15708     Virgie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15709     Teresa       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15710     Adrienne     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15711     Donna        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15712     Carol        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15713     Rebecca      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15714     Pinkie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15715     Ida          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15716     Susan        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15717     Kimberly     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15718     Madelyne     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15719     Bettye       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15720     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15721     Cardelia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15722     Shirley      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15723     Harris,      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15724     Susanne      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15725     Sharon       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15726     Amber        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15727     Rvonne       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 322 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  15728     Linda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15729     Cathee       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15730     Debra        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15731     Ruby         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15732     Victoria     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15733     Donna        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15734     Stacy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15735     Dorothy      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15736     Gwendolyn    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15737     Judith       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15738     Kristi       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15739     Beverly      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15740     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15741     Madelyne     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15742     Patricia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15743     Joyce        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15744     Joanie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15745     Christine    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15746     Wanda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15747     Constance    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15748     Carol        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15749     Vickie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15750     Angela       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15751     Millicent    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15752     Neva         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15753     Monica       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15754     Lenora       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15755     Donna        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15756     Deborah      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15757     Nancy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15758     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15759     Pearlie      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15760     Denise       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15761     Tina         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15762     Carolyn      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15763     Delia        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15764     Edna         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15765     Tonya        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15766     Sharon       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15767     Denise       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15768     Karen        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15769     Betty        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15770     Colleen      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15771     Kathleen     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15772     Barbara      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15773     Renee        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15774     Melissa      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15775     Misty        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15776     Helen        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 615 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 323 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  15777     Maureen      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15778     Diane        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15779     Barbara      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15780     Nicole       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15781     Virdie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15782     Christine    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15783     Linda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15784     Debbie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15785     Barbara      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15786     Tracey       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15787     Cornelia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15788     Kim          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15789     Juanita      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15790     Lisa         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15791     Martha       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15792     Iris         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15793     Christine    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15794     Evelyn       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15795     Loretta      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15796     Virginia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15797     Debbie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15798     Susanne      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15799     Synthia      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15800     Leslie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15801     Teresa       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15802     Ilene        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15803     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15804     Tommie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15805     Penelope     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15806     Marietta     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15807     Barbara      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15808     Catherine    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15809     Patricia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15810     Susan        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15811     Christine    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15812     Dawn         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15813     Dawn         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15814     Jill         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15815     Cynthia      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15816     Detra        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15817     Kitty        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15818     Sueanne      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15819     Sherry       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15820     Cheryl       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15821     Kathleen     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15822     Barbara      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15823     Patricia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15824     Christina    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15825     Sabina       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 324 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  15826     Brenda       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15827     Genevieve    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15828     Barbara      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15829     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15830     Hilde        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15831     Rene         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15832     Megan        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15833     Sonia        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15834     Christina    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15835     Dianne       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15836     Brenda       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15837     Sheila       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15838     Sharon       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15839     Kesha        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15840     Adriana      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15841     Victoria     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15842     Shawn        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15843     Karen        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15844     Cheryl       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15845     Dina         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15846     Rebecca      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15847     Shelia       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15848     Rhonda       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15849     Betty        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15850     Kathleen     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15851     Kathy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15852     Ruth         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15853     Martha       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15854     Rachel       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15855     Irene        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15856     Julia        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15857     Laura        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15858     Elisa        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15859     Jessica      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15860     Betty        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15861     Adaliz       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15862     Velma        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15863     Rosa         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15864     Wanda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15865     Silvia       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15866     Candida      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15867     Elba         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15868     Bessie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15869     Doris        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15870     San          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15871     Koshella     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15872     Elvira       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15873     Angela       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15874     Judy         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 325 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  15875     Monica       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15876     Sandra       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15877     Sally        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15878     Patricia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15879     Dorothy      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15880     Judith       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15881     Harlow       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15882     Theresa      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15883     Vernell      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15884     Rebecca      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15885     Carol        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15886     Tammi        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15887     Terri        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15888     Michelle     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15889     Kiersten     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15890     Pansy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15891     Cindy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15892     Stacy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15893     Tammy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15894     Patricia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15895     Cara         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15896     Heather      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15897     Delores      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15898     Lynn         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15899     Lynn         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15900     Robin        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15901     Robin        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15902     Jacqueline   R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15903     Patricia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15904     Lynda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15905     Michelle     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15906     Krystal      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15907     Rita         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15908     Suzy         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15909     Tamara       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15910     Carla        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15911     Mercedes     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15912     Alice        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15913     Sybil        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15914     Jasmine      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15915     Nina         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15916     Peggy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15917     Dorothy      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15918     Stephanie    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15919     Helen        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15920     Athena       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15921     Marlene      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15922     Aida         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15923     Kelly        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 618 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 326 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  15924     Marcia       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15925     Victoria     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15926     Audra        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15927     Eileen       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15928     Elizabeth    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15929     Michelle     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15930     JoAnn        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15931     Georgia      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15932     Lela         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15933     Margaret     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15934     Gail         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15935     Sharon       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15936     Anglea       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15937     Sharon       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15938     Theola       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15939     Wendy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15940     Karen        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15941     Sue          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15942     Clementine   R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15943     Sharon       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15944     Carolyn      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15945     Gwendolyn    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15946     Connie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15947     Kathy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15948     Juanita      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15949     Virginia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15950     Valerie      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15951     Tasha        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15952     Soyini       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15953     Pamela       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15954     Ardeth       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15955     Ardeth       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15956     Carmeleete   R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15957     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15958     Alice        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15959     Veronica     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15960     Jerry        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15961     Lisa         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15962     Barbara      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15963     Evelyn       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15964     Pam          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15965     Alicia       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15966     Catherine    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15967     Geneva       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15968     Natasha      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15969     Susan        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15970     Janet        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15971     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15972     Audrey       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 619 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 327 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  15973     Barbara      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15974     Juanita      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15975     Sandra       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15976     Norma        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15977     Martha       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15978     Christina    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15979     Shelly       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15980     Donna        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15981     Lisa         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15982     Lisa         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15983     Alise        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15984     Gloria       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15985     Judith       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15986     Joy          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15987     Desha        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15988     Susan        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15989     Sylvia       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15990     Cindy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15991     Debra        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15992     Ressie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15993     Talissa      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15994     Angela       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15995     Kathryn      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15996     Aymie        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15997     Nancy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15998     Valerie      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  15999     Rebecca      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16000     Colleen      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16001     Karen        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16002     Rosalyn      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16003     Jane         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16004     Janis        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16005     Elizabeth    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16006     Trudy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16007     Janet        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16008     Cami         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16009     Carolyn      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16010     Joy          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16011     Marilyn      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16012     Rosemari     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16013     Jane         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16014     Magnolia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16015     Betty        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16016     Yvonne       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16017     Bonnie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16018     Vicki        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16019     Renona       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16020     Christina    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16021     Christine    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 620 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 328 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  16022     Dawn         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16023     Faidra       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16024     Sharon       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16025     Jodi         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16026     Jeannette    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16027     Alicia       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16028     Jennifer     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16029     Threase      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16030     Emily        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16031     Maria        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16032     Alice        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16033     Doris        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16034     Usha         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16035     Patricia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16036     Denise       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16037     Ava          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16038     Ila          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16039     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16040     Loretta      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16041     Polly        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16042     Debbie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16043     Marjorie     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16044     Patricia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16045     Cynthia      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16046     Sheldon      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16047     Catherine    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16048     Rosie        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16049     Connie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16050     Sherry       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16051     Patricia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16052     Kathleen     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16053     Dolores      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16054     Elizabeth    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16055     Thea         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16056     Audrey       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16057     Lillian      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16058     Nancy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16059     Karen        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16060     Lacey        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16061     Maria        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16062     Susan        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16063     Cheryl       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16064     Dawn         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16065     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16066     Suzanne      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16067     Teresa       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16068     Kathy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16069     Rosario      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16070     Lorraine     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 621 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 329 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  16071     Carol        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16072     Nancy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16073     Stephanie    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16074     Tina         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16075     Lisa         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16076     Jody         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16077     Olivia       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16078     Nelda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16079     Regina       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16080     Carmen       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16081     Amelia       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16082     Anna         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16083     Margarita    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16084     Jacqueline   R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16085     Maria        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16086     Donna        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16087     Maria        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16088     Elizabeth    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16089     Aurea        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16090     Maria        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16091     Elizabeth    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16092     Kerri        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16093     Juanita      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16094     Patricia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16095     Lydia        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16096     Julia        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16097     Maria        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16098     Migdalia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16099     Medina,      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16100     Ana          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16101     Ana          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16102     Maria        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16103     Myrna        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16104     Natasha      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16105     Kathleen     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16106     Caritza      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16107     Zenaida      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16108     Edna         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16109     Sheila       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16110     Vetress      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16111     Billie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16112     Joan         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16113     Margie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16114     Margie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16115     Yolanda      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16116     Lana         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16117     Heidi        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16118     Danielle     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16119     Michele      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 622 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 330 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  16120     Dorothy      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16121     Hyung        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16122     Martha       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16123     Denise       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16124     April        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16125     Beth         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16126     Kimberlee    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16127     Linda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16128     Lori         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16129     Belinda      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16130     Deborah      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16131     Pergresher   R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16132     Connie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16133     Serena       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16134     Betty        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16135     Barbara      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16136     Gerry        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16137     Greta        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16138     Christie     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16139     Rita         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16140     Kimberlee    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16141     Margaret     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16142     Phyllis      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16143     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16144     Helen        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16145     Michele      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16146     Irene        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16147     Deborah      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16148     Toni         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16149     Ramonia      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16150     Pauline      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16151     Loula        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16152     Loula        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16153     Shereighn    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16154     Susan        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16155     Irma         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16156     Jane         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16157     Linda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16158     Shameca      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16159     Latisha      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16160     Pattie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16161     Carol        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16162     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16163     Karen        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16164     Elsie        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16165     Linda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16166     Jessica      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16167     Peggy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16168     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
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                                       Exhibit (s) A - Q Page 623 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 331 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  16169     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16170     Stephanie    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16171     Pamela       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16172     Cynthia      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16173     Marilyn      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16174     Rhonda       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16175     Shirlan      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16176     Cherie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16177     Armenta      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16178     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16179     Kathy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16180     Chasity      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16181     Conya        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16182     Janis        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16183     Tina         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16184     Nancy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16185     Diane        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16186     Beverly      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16187     Cathy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16188     Linda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16189     Marydee      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16190     Cynthia      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16191     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16192     Pamela       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16193     Judy         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16194     Diane        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16195     Bianca       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16196     Mitzi        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16197     Bonijene     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16198     Thelma       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16199     Vanessa      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16200     Dominique    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16201     Vanessa      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16202     Latoya       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16203     Cheryl       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16204     Amanda       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16205     Annie        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16206     Joyce        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16207     Susan        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16208     Sallie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16209     Gracita      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16210     Felisha      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16211     Felicia      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16212     Diantha      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16213     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16214     Antonia      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16215     Antoinette   R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16216     Lucy         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16217     Mildred      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 624 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 332 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  16218     Gloria       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16219     Cherylee     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16220     Kathy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16221     Telisha      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16222     Teresa       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16223     Serena       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16224     Pamela       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16225     Beverly      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16226     Earline      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16227     Loretta      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16228     Fabiola      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16229     Bridget      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16230     Jennifer     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16231     Marsha       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16232     Elisa        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16233     Fatima       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16234     Leah         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16235     Nancy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16236     Deborah      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16237     Brandy       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16238     Carol        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16239     Sandra       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16240     Nancy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16241     Carol        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16242     Marguerite   R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16243     Verna        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16244     Dolores      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16245     Jeannie      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16246     Sharon       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16247     Ronda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16248     Barbara      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16249     Verita       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16250     Winnie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16251     Shaherarzade R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16252     Marlene      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16253     Sheila       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16254     Julia        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16255     Kelly        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16256     Vicki        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16257     Manirva      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16258     Ramona       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16259     Diana        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16260     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16261     Dymphna      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16262     Rosa         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16263     Jean         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16264     Jeanmarie    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16265     Kimberly     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16266     Betty        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 625 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 333 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  16267     LaVerne      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16268     Pamela       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16269     Sharron      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16270     Connie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16271     Sandra       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16272     Shonda       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16273     Lynn         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16274     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16275     Jacqulin     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16276     Lorretta     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16277     Etta         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16278     Theresa      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16279     Linda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16280     Arlean       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16281     Paula        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16282     Linda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16283     Dena         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16284     Carol        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16285     Cecilia      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16286     Kathleen     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16287     Elizabeth    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16288     Claudia      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16289     (Fuentes),   R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16290     Elizabeth    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16291     Artavia      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16292     Emelly       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16293     Bruna        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16294     Brandy       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16295     Bertha       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16296     Maritza      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16297     Patresia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16298     Carmen       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16299     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16300     Lucy         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16301     Idaniz       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16302     Maribel      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16303     Angelina     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16304     Michelle     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16305     Nilda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16306     Monica       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16307     Lilia        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16308     Nenita       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16309     Teresa       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16310     Maryjane     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16311     Denise       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16312     Lizabeth     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16313     Cecilia      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16314     Claire       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16315     Monica       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 334 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  16316     Shannon      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16317     Blanca       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16318     Priscilla    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16319     Zulma        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16320     Carmen       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16321     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16322     Erika        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16323     Vivian       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16324     Mayra        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16325     Yolanda      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16326     Melissa      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16327     Rosanne      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16328     April        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16329     Carmen       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16330     Rafaelina    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16331     Eunice       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16332     Anna         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16333     Sheri        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16334     Allison      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16335     Nancy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16336     Judith       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16337     Brittany     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16338     Anna         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16339     JoAnn        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16340     Susan        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16341     Martha       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16342     Frankie      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16343     Janice       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16344     Phyllis      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16345     Sandra       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16346     Segal,       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16347     Allison      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16348     Vallerie     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16349     Latricia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16350     Marie        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16351     Sallie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16352     Charlotte    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16353     Shenita      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16354     Donna        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16355     Lindsay      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16356     Vickie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16357     Bobbie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16358     Gloria       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16359     Stacy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16360     Karen        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16361     Laura        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16362     Margaret     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16363     Susan        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16364     Cheryl       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
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                                         Exhibit (s) A - Q Page 627 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 335 of 437
                  First
                            Last Name
 Claimant         Name                                                     Date of
                             (injured    Date of Birth
    No.         (injured                                       SSN        Death (if
                             person)
                person)                                      (last 4)    applicable)    Claim Type
  16365     Myrtle         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16366     Kimberly       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16367     Patricia       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16368     Delores        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16369     Vicki          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16370     Laurie         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16371     Bonnie         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16372     Rosemarie      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16373     Teresa         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16374     Diana          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16375     Gloria         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16376     Mary           R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16377     Karen          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16378     Yolanda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16379     Beth           R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16380     Arlene         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16381     Mary           R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16382     Cynthia        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16383     Karen          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16384     Jannette       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16385     Lashana        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16386     Edith          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16387     Stephanie      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16388     Annamarie      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16389     Eleanor        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16390     Bernice        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16391     Ramona         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16392     Norma          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16393     Marcell        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16394     Donne          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16395     Cheryl         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16396     Bonnie         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16397     Kara           R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16398     Virginia       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16399     Kellie         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16400     Laquita        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16401     Tamina         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16402     Mary           R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16403     Christina      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16404     Charlotte      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16405     Maggie         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16406     Maryann        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16407     Margarite      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16408     Soraya         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16409     Marisol        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16410     Doris          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16411     Maria          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16412     Evelyn         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16413     ,              R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 628 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 336 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  16414     Virginia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16415     Doreen       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16416     Gigi         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16417     Heather      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16418     Lora         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16419     Vidosava     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16420     Barb         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16421     Teresa       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16422     Michele      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16423     Glendis      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16424     Ida          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16425     Noreen       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16426     Arlene       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16427     Lisa         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16428     Raquel       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16429     Angela       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16430     Julia        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16431     Lorine       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16432     Dorothy      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16433     Isabel       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16434     Elsie        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16435     Cynthia      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16436     Lee Ann      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16437     Elizabeth    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16438     Deborah      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16439     Sandra       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16440     Karen        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16441     Carolyn      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16442     Mellisa      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16443     Korri        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16444     Esme         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16445     Angela       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16446     Patricia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16447     Elizabeth    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16448     Vatin,       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16449     Bianca       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16450     Norma        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16451     Elizabeth    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16452     Diane        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16453     Graciela     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16454     Ming         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16455     Mirta        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16456     Joyce        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16457     Christine    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16458     Benigna      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16459     Samantha     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16460     Norma        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16461     Marilyn      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16462     Jacqueline   R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 629 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 337 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  16463     Melinda      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16464     Frances      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16465     Eileen       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16466     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16467     Linda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16468     Rebecca      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16469     Jamie        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16470     Lizzie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16471     Debbie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16472     Cherae       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16473     Tina         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16474     Alecia       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16475     Ashley       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16476     Karen        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16477     Karen        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16478     Vicky        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16479     Loretta      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16480     Megan        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16481     Candy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16482     Irene        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16483     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16484     Theresa      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16485     Elizabeth    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16486     Debra        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16487     Eileen       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16488     Suzanne      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16489     Malka        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16490     Margaret     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16491     Laura        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16492     Lacy         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16493     Carmen       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16494     Robin        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16495     Cathy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16496     Maribel      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16497     Joyce        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16498     Susan        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16499     Rose         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16500     Shirlee      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16501     Belinda      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16502     Susie        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16503     Bertha       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16504     Helen        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16505     Judy         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16506     Dorothy      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16507     Idella       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16508     Esther       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16509     LaMeasia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16510     Keele        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16511     Rosemary     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 338 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  16512     Anissa       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16513     Sandra       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16514     Myrtis       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16515     Ada          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16516     Helen        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16517     Lillian      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16518     Ida          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16519     Angela       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16520     Danielle     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16521     Janeen       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16522     Tina         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16523     Florence     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16524     Barbi        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16525     Connie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16526     Donna        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16527     Lenora       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16528     Kayla        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16529     Christine    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16530     Caron        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16531     Rosa         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16532     Sheila       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16533     Chandra      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16534     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16535     Randi        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16536     Elizabeth    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16537     Sherryann    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16538     Grace        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16539     Sharon       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16540     Kennitha     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16541     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16542     Else         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16543     Yolanta      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16544     Aya          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16545     Eileen       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16546     Irma         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16547     Linda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16548     Cynthia      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16549     Raquel       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16550     Rosemary     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16551     Louanne      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16552     Becky        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16553     Brianna      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16554     Josephine    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16555     Jessica      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16556     Cheryl       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16557     Tamala       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16558     Rebecca      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16559     Krystal      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16560     Shellie      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 339 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  16561     Lynne        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16562     Laurie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16563     Laurie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16564     Janice       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16565     Angelia      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16566     Patricia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16567     Frezena      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16568     Sydney       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16569     Claire       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16570     Angela       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16571     Sheila       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16572     Linda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16573     Debra        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16574     Sheila       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16575     Marie        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16576     Louise       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16577     Wendy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16578     Brenda       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16579     Tracy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16580     Rodrigues,   R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16581     Julia        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16582     Latonya      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16583     Nona         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16584     de           R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16585     Sue          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16586     Sharon       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16587     Anne         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16588     Connie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16589     Carla        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16590     Patricia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16591     Karen        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16592     Delia        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16593     Lorraine     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16594     Veronica     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16595     Arlene       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16596     Patricia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16597     Carla        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16598     Jeanette     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16599     Willanna     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16600     Doris        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16601     Angela       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16602     Linda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16603     Anka         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16604     Christine    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16605     Mollie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16606     Allison      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16607     Regina       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16608     Loretta      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16609     Ruth         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 632 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 340 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  16610     Terri        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16611     Betty        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16612     Pamela       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16613     Teresa       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16614     Gloria       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16615     Adina        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16616     Alicia       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16617     Emma         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16618     Maria        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16619     Analydia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16620     Maria        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16621     Gloria       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16622     Catherine    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16623     Fern         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16624     Betty        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16625     Sharon       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16626     Patricia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16627     Evette       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16628     Kevin        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16629     Karen        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16630     Penny        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16631     Shirley      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16632     Rory         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16633     Maria        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16634     Frances      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16635     Angela       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16636     Leah         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16637     Perley       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16638     Irene        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16639     Birgitta     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16640     Ruby         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16641     Twila        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16642     Barbara      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16643     Cheryl       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16644     Martha       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16645     Amy          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16646     Jody         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16647     Tammy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16648     Pamela       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16649     Barbara      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16650     Yvonne       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16651     Aishah       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16652     Florence     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16653     Karen        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16654     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16655     Kathleen     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16656     Dana         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16657     Susie        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16658     Betty        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 633 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 341 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  16659     Laurie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16660     Judi         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16661     Betsy        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16662     Linda        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16663     Josephine    R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16664     Pamela       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16665     Janet        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16666     Virginia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16667     Bobbie       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16668     Jo Ann       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16669     Carol        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16670     Barbara      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16671     Sharon       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16672     Kay          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16673     Brenda       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16674     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16675     Crystal      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16676     Netti        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16677     Faith        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16678     Michaela     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16679     Georgia      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16680     Joy          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16681     Ellen        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16682     Julie        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16683     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16684     Joanne       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16685     Mary         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16686     Eula         R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16687     Joy          R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16688     Carol        R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16689     Rosina       R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16690     Carolyn      R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16691     Christel     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16692     Patricia     R.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16693     Sonia        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16694     Sabarah      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16695     Julie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16696     Kerri        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16697     Yasmin       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16698     Claire       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16699     Amanda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16700     Bonnie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16701     Carol        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16702     Stephanie    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16703     Marlene      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16704     Gina         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16705     Nancy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16706     Karen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16707     Sandra       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 634 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 342 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  16708     Mindy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16709     Noutsarinh   S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16710     Rosa         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16711     Tatiana      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16712     Susan        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16713     Sandra       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16714     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16715     Rochelle     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16716     Michelle     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16717     Pam          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16718     Kristin      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16719     Virginia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16720     Dilys        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16721     Antoinetta   S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16722     Carolyn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16723     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16724     Anna         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16725     San          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16726     Deena        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16727     Holly        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16728     Julia        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16729     Elizabeth    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16730     Micayla      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16731     Nora         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16732     Lori         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16733     Mireya       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16734     Lissette     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16735     Gloria       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16736     Ruth         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16737     Uballe,      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16738     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16739     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16740     Charlotte    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16741     Cindy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16742     Lizeth       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16743     Enriqueta    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16744     Yessenia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16745     Judith       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16746     Ruth         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16747     Brenda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16748     Jacqueline   S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16749     Wilma        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16750     April        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16751     Gillian      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16752     Alberta      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16753     Lynda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16754     Allene       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16755     Lynnae       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16756     Joyce        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 635 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 343 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  16757     Willie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16758     Ruby         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16759     Mylove       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16760     Karen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16761     Imani        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16762     Lakeysha     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16763     Adelina      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16764     Jacqueline   S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16765     Teresita     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16766     Denise       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16767     Liza         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16768     Laura        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16769     Sarah        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16770     Shelia       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16771     Helen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16772     Brenda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16773     Kindle       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16774     Ramonda      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16775     Fregeania    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16776     Doreen       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16777     Betty        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16778     Dorothy      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16779     Philana      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16780     Ann          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16781     Pendora      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16782     Anette       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16783     Karen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16784     Carla        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16785     Dawn         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16786     Vergie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16787     Lesia        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16788     Rachael      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16789     Deborah      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16790     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16791     Koya         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16792     Filippo,     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16793     Miguel,      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16794     Diana        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16795     Gladys       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16796     Eneida       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16797     Theone       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16798     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16799     Sandra       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16800     Concepcion   S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16801     Ana          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16802     Maria        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16803     Suyapa       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16804     Maryann      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16805     Irene        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                         Exhibit (s) A - Q Page 636 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 344 of 437
                First
                            Last Name
 Claimant       Name                                                       Date of
                             (injured    Date of Birth
    No.       (injured                                         SSN        Death (if
                             person)
              person)                                        (last 4)    applicable)    Claim Type
  16806     Shirley        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16807     Margaret       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16808     Florencia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16809     Purificacion   S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16810     Lena           S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16811     Linda          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16812     Yaneth         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16813     Laura          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16814     Cleofas        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16815     Rebecca        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16816     Rebecca        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16817     Norma          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16818     Dilia          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16819     Sandra         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16820     Maria          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16821     Cindy          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16822     Leona          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16823     Lucy           S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16824     Carrie         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16825     Joyce          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16826     Dorothy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16827     Linda          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16828     Tammy          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16829     Jamie          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16830     Rose           S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16831     Debra          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16832     Barbara        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16833     Kristal        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16834     Deborah        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16835     Karen          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16836     Barbara        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16837     Patty          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16838     Valerie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16839     Willie         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16840     Lee,           S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16841     Louise         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16842     Loleta         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16843     Taunya         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16844     Melica         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16845     Audrianna      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16846     Erica          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16847     Jacquelyn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16848     Yvonne         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16849     Lisa           S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16850     Mary           S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16851     Gloria         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16852     Mary           S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16853     Janice         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16854     Julie          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
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                                       Exhibit (s) A - Q Page 637 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 345 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  16855     Yvonne       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16856     Dolores      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16857     Shirley      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16858     Swanna       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16859     Anita        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16860     Carmen       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16861     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16862     Donna        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16863     Villa        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16864     Jennifer     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16865     Deborah      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16866     Elsie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16867     Maria        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16868     Delia        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16869     Dale         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16870     Minerva      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16871     Rene         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16872     Lesly        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16873     Sandra       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16874     Paulita      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16875     Patrece      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16876     Lynda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16877     Haydee       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16878     Yvonne       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16879     Castro,      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16880     Diane        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16881     Frances      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16882     Dorothy      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16883     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16884     Stephanie    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16885     Debra        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16886     Analexis     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16887     Louise       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16888     Lillian      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16889     Sonia        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16890     Monserrate   S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16891     Gina         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16892     Helen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16893     Raffaela     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16894     Francesca    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16895     Joyce        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16896     Jasmine      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16897     Elaine       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16898     Sandra       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16899     Marie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16900     Esther       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16901     Rebecca      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16902     Deanna       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16903     Gwennette    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 638 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 346 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  16904     Amber        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16905     Karen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16906     Melanie      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16907     Cathy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16908     Betty        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16909     Donna        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16910     Rebecca      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16911     Susan        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16912     Vera         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16913     Patrica      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16914     Karen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16915     Elvira       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16916     Yolanda      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16917     Delfina      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16918     Clara        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16919     Angelina     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16920     Scottye      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16921     Melissa      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16922     Peggy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16923     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16924     Leah         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16925     Tammy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16926     Mildred      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16927     Anna         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16928     Ebony        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16929     Teresa       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16930     Antonette    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16931     Shannon      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16932     Shirley      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16933     Daniela      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16934     Dawn         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16935     Laurie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16936     Joyce        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16937     JoJean       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16938     Tracy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16939     Loretta      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16940     Charlene     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16941     Bethany      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16942     Catherine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16943     Cassandra    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16944     Angela       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16945     Frances      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16946     Susan        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16947     Victoria     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16948     Brooke       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16949     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16950     Lee          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16951     Elizabeth    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16952     Jamie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 639 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 347 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  16953     Lorrie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16954     Kandis       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16955     Elizabeth    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16956     Christina    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16957     Joy          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16958     Karen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16959     Ruth         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16960     Ruth         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16961     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16962     Jacqueline   S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16963     Annette      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16964     Stephanie    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16965     Kristine     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16966     Teresa       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16967     Georgia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16968     Paula        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16969     Leah         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16970     Carlene      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16971     Joan         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16972     Marilyn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16973     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16974     Janet        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16975     Christine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16976     Cleodus      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16977     Tonya        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16978     Donna        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16979     Peggy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16980     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16981     Sandra       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16982     Caroline     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16983     Beatrice     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16984     Sheryl       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16985     Shauna       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16986     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16987     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16988     Desseree     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16989     Janet        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16990     Jeanne       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16991     Laura        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16992     Donna        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16993     Frances      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16994     Jacqueline   S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16995     Margaret     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16996     Ginger       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16997     Donna        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16998     Janeen       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  16999     Nancy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17000     Joan         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17001     Lorraine     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 348 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  17002     Kathryn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17003     Joanne       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17004     Natalie      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17005     Leslie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17006     Jane         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17007     Cynthia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17008     Ernestine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17009     Erica        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17010     Bonnie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17011     Karen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17012     Earlene      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17013     Penny        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17014     Harriet      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17015     Marjorie     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17016     Judith       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17017     Alisi        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17018     Trudy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17019     Christine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17020     Ellen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17021     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17022     Tammy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17023     Carol        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17024     Lori         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17025     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17026     Martha       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17027     Nancy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17028     Judith       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17029     Nidia        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17030     Kellie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17031     Marlene      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17032     Evalyn       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17033     JoAnne       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17034     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17035     Stacie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17036     Domenica     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17037     Dolores      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17038     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17039     Amora        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17040     Lisa         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17041     Sheryl       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17042     Stephanie    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17043     Meradean     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17044     Vicki        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17045     Sharon       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17046     Judy         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17047     Susan        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17048     Carolyn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17049     Kathleen     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17050     Terry        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 349 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  17051     Joan         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17052     Cynthia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17053     Megan        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17054     Megan        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17055     Donna        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17056     Ann          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17057     Judy         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17058     Ann          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17059     Cathy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17060     Dawn         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17061     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17062     Rhonda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17063     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17064     Emma         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17065     Noreen       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17066     Pamela       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17067     Kathy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17068     Elsa         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17069     Brenda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17070     Audra        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17071     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17072     Ethel        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17073     Teresa       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17074     Joanne       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17075     Carol        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17076     Carol        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17077     Pamela       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17078     Natalie      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17079     Joyland      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17080     Debra        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17081     Michele      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17082     Elaine       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17083     Karen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17084     Sandra       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17085     Claire       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17086     Tiffany      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17087     Amanda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17088     Julie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17089     Judith       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17090     Angela       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17091     Karen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17092     Dawn         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17093     Kay          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17094     Edna         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17095     Melanie      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17096     Virginia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17097     Sandra       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17098     Christen     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17099     Dian         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 642 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 350 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  17100     Paula        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17101     Marzella     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17102     Elizabeth    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17103     Kathleen     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17104     Louise       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17105     Joanne       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17106     Lois         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17107     Robin        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17108     Dorothy      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17109     Julia        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17110     Carla        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17111     Paula        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17112     Ann          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17113     Geraldine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17114     Tina-Marie   S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17115     Lisa         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17116     Connie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17117     Marcia       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17118     Debra        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17119     Fredericka   S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17120     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17121     Betty        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17122     Cathy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17123     Cathleen     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17124     Felicia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17125     Mindy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17126     Beverly      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17127     Rosalind     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17128     MaryLou      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17129     Debra        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17130     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17131     Annie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17132     Maribel      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17133     Shirley      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17134     Elizabeth    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17135     Virginia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17136     Ruby         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17137     Bettie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17138     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17139     Rhonda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17140     Jennifer     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17141     Latrell      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17142     Crystal      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17143     Odessa       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17144     Daisy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17145     Nancy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17146     Kim          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17147     Deborah      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17148     Dora         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 643 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 351 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  17149     Juanita      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17150     Dorothy      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17151     Helen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17152     Patsy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17153     Shannon      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17154     Kathleen     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17155     Pebble       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17156     Tammy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17157     Annette      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17158     Marcia       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17159     Laura        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17160     Kelley       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17161     Catherine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17162     Naomi        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17163     Rosemary     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17164     Deane        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17165     Lori         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17166     Dawn         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17167     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17168     Jamesetta    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17169     Rosemary     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17170     Dana         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17171     Brenda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17172     Carolyn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17173     Emma         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17174     Charlene     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17175     Nancy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17176     Anita        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17177     Shirley      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17178     Emily        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17179     Debra        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17180     Pauline      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17181     Carol        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17182     Taneshia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17183     Gloria       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17184     Lynn         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17185     Shirley      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17186     Ilectra      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17187     Melissa      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17188     Marcella     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17189     Peggy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17190     Tammi        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17191     Cynthia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17192     Danielle     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17193     Luvina       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17194     Regina       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17195     Breeana      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17196     Gracie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17197     Paula        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 644 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 352 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  17198     Amy          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17199     Tamara       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17200     Cathy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17201     Marie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17202     Tanya        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17203     Cynthia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17204     Carolyn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17205     Annie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17206     Hazel        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17207     Lisa         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17208     Brandi       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17209     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17210     Evelyn       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17211     DeBorah      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17212     Donna        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17213     Kristie      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17214     Beverly      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17215     Dawn         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17216     Gloria       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17217     Louise       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17218     Tisha        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17219     Krissa       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17220     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17221     Judith       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17222     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17223     Ramona       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17224     Eileen       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17225     Joyce        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17226     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17227     Theresa      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17228     Janice       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17229     Laverne      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17230     Wilma        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17231     Virginia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17232     Carrie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17233     Pauletta     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17234     Tamatha      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17235     Harriet      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17236     Susan        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17237     Shirley      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17238     May          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17239     Joann        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17240     Elizabeth    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17241     Michelle     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17242     Caryn        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17243     Martha       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17244     Stephanie    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17245     Marilyn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17246     Jeanette     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 645 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 353 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  17247     Margaret     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17248     Sandra       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17249     Pamela       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17250     Stacie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17251     Amanda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17252     Norma        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17253     Norvice      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17254     Sandra       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17255     Lorraine     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17256     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17257     Shannon      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17258     Jeanette     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17259     Kelly        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17260     Rachel       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17261     Judith       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17262     Rosemary     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17263     Monica       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17264     Susan        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17265     Vilma        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17266     Karen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17267     Dale         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17268     Sharon       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17269     Crystal      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17270     Dorothy      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17271     Yurilane     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17272     Tamara       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17273     Kathryn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17274     Peggy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17275     Juliana      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17276     Maricela     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17277     Gloria       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17278     Whitney      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17279     Carmen       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17280     Connie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17281     Maria        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17282     Ellen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17283     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17284     Sylvia       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17285     Judy         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17286     Holly        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17287     Constance    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17288     Nicole       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17289     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17290     Debra        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17291     Erin         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17292     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17293     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17294     Kalowtie     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17295     Jill         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
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                                       Exhibit (s) A - Q Page 646 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 354 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  17296     Sandra       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17297     Carole       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17298     Cheryl       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17299     Skylar       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17300     Sang         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17301     Edna         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17302     Samantha     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17303     Monique      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17304     Edith        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17305     Michele      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17306     Betty        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17307     Brenda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17308     Janene       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17309     Kathy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17310     Sandra       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17311     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17312     Zubeda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17313     Valerie      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17314     Ruby         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17315     Charlene     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17316     Christine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17317     Jessica      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17318     Marilyn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17319     Jennifer     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17320     LaRie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17321     Paula        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17322     Tammy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17323     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17324     Susan        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17325     Karen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17326     Laura        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17327     Eugenia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17328     Caroline     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17329     Ellen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17330     Holley       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17331     Cassondra    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17332     Savita       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17333     Bhagyawati   S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17334     Donna        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17335     Doril        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17336     Carolyn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17337     Dollee       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17338     Vicky        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17339     Martha       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17340     Sakeya       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17341     Janet        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17342     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17343     Melissa      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17344     Darla        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 647 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 355 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  17345     Bertha       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17346     Lisa         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17347     Jeanette     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17348     Tiffany      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17349     Vicki        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17350     Theresa      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17351     Peggy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17352     Amber        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17353     Vedette      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17354     Carol        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17355     Jeanie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17356     Rebecca      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17357     Rose         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17358     Dorothy      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17359     Jacqueline   S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17360     Leslie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17361     Joyce        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17362     Sharon       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17363     Joanie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17364     Debarah      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17365     Donna        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17366     Therese      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17367     Colleen      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17368     Tracy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17369     Shannon      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17370     Dorothy      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17371     Jaime        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17372     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17373     Anne         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17374     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17375     Maureen      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17376     Shirley      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17377     Sally        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17378     Rochelle     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17379     Charlene     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17380     Adriana      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17381     Amanda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17382     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17383     Michelle     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17384     Amy          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17385     Lauren       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17386     Shawnee      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17387     Kendra       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17388     Jennifer     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17389     Xana         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17390     Regina       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17391     Bertha       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17392     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17393     Doris        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 648 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 356 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  17394     Connie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17395     Nora         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17396     Kathy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17397     Joy          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17398     Cynthia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17399     Demetrius    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17400     Marsha       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17401     Sherri       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17402     Louise       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17403     Nancy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17404     Gail         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17405     Summer       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17406     Markita      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17407     Gwendolyn    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17408     Debra        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17409     Christine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17410     Annmarie     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17411     Elizabeth    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17412     Martha       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17413     Cathy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17414     Tammy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17415     Susan        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17416     Sheila       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17417     Christina    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17418     Dulcie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17419     Nancy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17420     Laura        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17421     Glenda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17422     Pamela       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17423     Catherine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17424     Gilda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17425     Charine      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17426     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17427     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17428     Carol        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17429     Mindy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17430     Ann          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17431     Hollie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17432     Katina       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17433     Katherine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17434     Marcia       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17435     Christi      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17436     Karla        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17437     Sandra       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17438     Rena         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17439     Brenda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17440     Kimberly     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17441     Geneva       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17442     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 649 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 357 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  17443     Mattie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17444     Judith       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17445     Margie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17446     Yvonne       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17447     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17448     Marie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17449     Crystal      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17450     Anita        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17451     Judy         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17452     Dorothy      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17453     Marcia       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17454     Jan          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17455     Debra        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17456     Ellen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17457     Pauline      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17458     Eura         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17459     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17460     Sandra       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17461     Essie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17462     Dreama       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17463     Susan        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17464     Karmisha     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17465     Dorothy      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17466     Schirille    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17467     Stephanie    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17468     Rene         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17469     Lisa         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17470     Kathryn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17471     Karla        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17472     Crystal      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17473     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17474     Gladys       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17475     Peggy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17476     Elizabeth    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17477     Elizabeth    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17478     Jewell       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17479     Madonna      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17480     Carole       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17481     Tanisha      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17482     Carol        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17483     Janet        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17484     Judy         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17485     Sundaye      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17486     Rose         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17487     Trina        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17488     Pamela       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17489     Gwen         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17490     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17491     Cynthia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 650 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 358 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  17492     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17493     Jo           S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17494     Bobette      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17495     Marguerite   S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17496     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17497     Tara         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17498     Elizabeth    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17499     Christine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17500     Diane        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17501     Suzan        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17502     Polly        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17503     Olga         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17504     Christine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17505     Victoria     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17506     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17507     Rhonda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17508     Pamela       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17509     Shameem      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17510     Lucille      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17511     Laura        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17512     Byllye       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17513     Carmen       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17514     Marsha       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17515     Milagros     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17516     Arlene       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17517     Willie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17518     Katherine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17519     Manichanh    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17520     Heather      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17521     Tammy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17522     Linnea       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17523     Carol        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17524     Cynthia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17525     Rachel       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17526     Antionette   S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17527     Maria        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17528     Leilani      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17529     Diane        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17530     Ruth         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17531     Renee        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17532     Deborah      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17533     Jennifer     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17534     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17535     Lydia        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17536     Florence     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17537     Sheila       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17538     Marion       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17539     Helene       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17540     Joan         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
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                                         Exhibit (s) A - Q Page 651 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 359 of 437
                First
                            Last Name
 Claimant       Name                                                       Date of
                             (injured    Date of Birth
    No.       (injured                                         SSN        Death (if
                             person)
              person)                                        (last 4)    applicable)    Claim Type
  17541     Michaela       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17542     Kathy          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17543     Julieta        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17544     Rita           S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17545     Jo             S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17546     Lakesha        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17547     Darlene        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17548     Destaree       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17549     Brandy         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17550     Judith         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17551     Diana          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17552     Emma           S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17553     Emma           S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17554     Carrie         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17555     Sinise         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17556     Kathy          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17557     Kenlisha       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17558     Janice         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17559     Catherine      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17560     Elizabeth      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17561     Elinor         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17562     Donna          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17563     Candace        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17564     Lillian        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17565     Denise         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17566     Janet          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17567     Renee          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17568     Wanda          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17569     Michelle       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17570     Selesia        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17571     Janice-Marie   S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17572     Laura          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17573     Linda          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17574     Laura          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17575     Adeline        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17576     Carrie         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17577     Dorothy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17578     Cheryl         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17579     Lucy           S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17580     Jennifer       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17581     Joann          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17582     Marilyn        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17583     Marie          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17584     Sheila         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17585     Dawnyel        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17586     Tysha          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17587     Dianne         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17588     Karen          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17589     Sharon         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 652 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 360 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  17590     Lanette      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17591     Lakiesha     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17592     Shellenia    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17593     Brenda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17594     Cynthia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17595     Donna        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17596     Carlene      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17597     Jeanette     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17598     Shelby       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17599     Rachel       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17600     Shirley      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17601     Joyce        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17602     Dawn         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17603     Cecily       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17604     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17605     Joyce        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17606     Julie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17607     Pamela       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17608     Guadalupe    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17609     Rose         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17610     Lola         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17611     Bertha       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17612     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17613     Phyllis      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17614     Janet        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17615     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17616     Norma        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17617     Patsy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17618     Michele      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17619     Tanya        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17620     Sardama      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17621     Savitri      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17622     Kumari       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17623     Jean         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17624     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17625     Marie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17626     Elizabeth    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17627     Dora         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17628     Deborah      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17629     Amarylus     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17630     Stacy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17631     Daeosionae   S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17632     Milagros     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17633     Graciela     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17634     Vonderlita   S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17635     Andrea       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17636     Kimmberli    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17637     Janice       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17638     Chrystine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
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                                       Exhibit (s) A - Q Page 653 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 361 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  17639     Kathleen     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17640     Glenda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17641     Margaret     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17642     Glada        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17643     Donna        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17644     Joyce        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17645     Pamela       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17646     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17647     Kathy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17648     Patti        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17649     Pamela       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17650     Yolanda      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17651     Shawn        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17652     Sally        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17653     Nancy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17654     Judith       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17655     Janice       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17656     Yvonne       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17657     Violet       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17658     Diana        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17659     Crystal      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17660     Cynthia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17661     Peggy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17662     Jael         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17663     Shirley      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17664     Charlene     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17665     Chyu         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17666     Una          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17667     Victoria     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17668     Jacci        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17669     Karen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17670     Gloria       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17671     Sherry       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17672     Marie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17673     Lelia        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17674     Sonia        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17675     Loraine      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17676     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17677     Sylvia       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17678     Nelsa        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17679     Leinora      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17680     Bonnie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17681     Cathy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17682     Emily        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17683     Karen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17684     Robin        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17685     Maxine       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17686     Darcie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17687     Kimberle     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 654 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 362 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  17688     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17689     Crystal      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17690     Janet        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17691     Lorraine     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17692     Lorraine     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17693     Tessa        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17694     Jennie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17695     Lisa         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17696     Sophia       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17697     Kathy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17698     Annetta      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17699     Betty        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17700     Lori         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17701     Maureen      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17702     Vivian       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17703     Shawn        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17704     Claudette    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17705     Darline      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17706     Bernice      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17707     Melanie      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17708     Bobbie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17709     Cherlynn     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17710     Kimberly     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17711     Debra        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17712     Janelle      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17713     Roselynn     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17714     Marie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17715     Gina         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17716     Jerrilyn     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17717     Regina       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17718     Nicole       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17719     Sally        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17720     Justine      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17721     Alnita       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17722     Denice       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17723     Venus        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17724     Beverly      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17725     Lynn         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17726     Janet        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17727     Geraldine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17728     Shirley      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17729     Deborah      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17730     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17731     Elizabeth    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17732     Arneta       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17733     Cheri        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17734     Jeannette    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17735     Christine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17736     Shirley      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 655 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 363 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  17737     Machelle     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17738     Beverly      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17739     Susan        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17740     Jessie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17741     Priscilla    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17742     Brittney     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17743     Deborah      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17744     Sharon       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17745     Rosa         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17746     Edna         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17747     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17748     Verda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17749     Brenda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17750     Adelle       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17751     Debra        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17752     Carolyn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17753     Jocelyn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17754     Connie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17755     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17756     Melena       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17757     Elizabeth    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17758     Janet        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17759     Nancy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17760     Starr        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17761     Christine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17762     Teresa       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17763     Diana        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17764     Leah         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17765     Frankie      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17766     Gloria       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17767     Rachel       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17768     Vera         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17769     Corby        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17770     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17771     Janet        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17772     Dorothy      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17773     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17774     Julie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17775     Cheryl       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17776     Iris         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17777     Regina       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17778     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17779     Valerie      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17780     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17781     Melody       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17782     Lillian      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17783     Susan        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17784     Conswello    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17785     Sharon       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 656 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 364 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  17786     Rochelle     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17787     Cynthia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17788     Nicoli       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17789     Lori         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17790     Ariel        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17791     Beaulah      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17792     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17793     Joyce        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17794     Marjorie     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17795     Brittni      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17796     Glenda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17797     Donna        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17798     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17799     Christina    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17800     Tyshe        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17801     Rita         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17802     Bonnie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17803     Karla        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17804     Fannie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17805     Macy         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17806     Jessica      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17807     Marian       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17808     Quannah      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17809     Judith       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17810     Cammy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17811     Patsy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17812     Donna        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17813     Sherrie      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17814     Dorothy      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17815     Brown,       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17816     Jamatha      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17817     Deloris      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17818     Sharon       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17819     Sherrie      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17820     Brittany     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17821     Wanda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17822     Mildred      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17823     Stacy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17824     Valerie      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17825     Deborah      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17826     Kim          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17827     Stacey       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17828     Claudette    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17829     Asalay       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17830     Joanne       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17831     Wanda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17832     Karen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17833     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17834     Ann          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 657 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 365 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  17835     Julie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17836     Nancy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17837     Sharon       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17838     Candice      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17839     Margaret     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17840     Traci        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17841     Darla        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17842     Diane        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17843     Charlotte    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17844     Robyn        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17845     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17846     Martha       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17847     Judy         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17848     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17849     Teresa       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17850     Tarji        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17851     Desiree      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17852     Larita       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17853     Carolyn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17854     Ruth         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17855     Dorothy      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17856     Lorraine     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17857     Janet        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17858     Andrea       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17859     Vanessa      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17860     Julie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17861     Shirley      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17862     Wanda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17863     Tawnya       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17864     Precious     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17865     Pernecia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17866     Willie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17867     Clara        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17868     Sally        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17869     Bernice      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17870     Kathy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17871     LaKesia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17872     Lois         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17873     Paula        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17874     Jacqueline   S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17875     Lona         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17876     Marilyn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17877     Margaret     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17878     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17879     Kelli        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17880     Teresa       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17881     Jennifer     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17882     Tina         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17883     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 658 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 366 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  17884     Nancy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17885     Marjorie     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17886     Brenda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17887     Elizabeth    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17888     Katherine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17889     Louise       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17890     Marsha       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17891     Rochelle     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17892     Mae          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17893     Clara        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17894     Dorothy      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17895     Timika       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17896     Sarah        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17897     Viola        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17898     Lula         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17899     Elaine       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17900     Jill         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17901     Louise       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17902     Debbie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17903     Tunya        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17904     Heidi        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17905     Tina         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17906     Ruth         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17907     Rebecca      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17908     Yvonne       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17909     Leticia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17910     Lee          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17911     Stacey       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17912     Helen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17913     Donna        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17914     Natasha      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17915     Ann          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17916     Jennie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17917     Candice      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17918     Lynn         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17919     Deborah      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17920     Batista      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17921     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17922     Skye         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17923     Jennifer     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17924     Angela       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17925     Carolyn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17926     Lisa         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17927     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17928     Amanda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17929     Diana        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17930     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17931     Sharon       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17932     Diana        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 659 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 367 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  17933     Louida       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17934     Joyce        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17935     Lauren       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17936     Lucille      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17937     Kathlene     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17938     Tanya        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17939     Sharhonda    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17940     Janet        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17941     Helen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17942     Martha       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17943     Wendy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17944     Lisa         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17945     Elizabeth    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17946     Sharon       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17947     Nancy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17948     Rosalie      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17949     Karen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17950     Madeline     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17951     Shireen      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17952     Lynda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17953     Monta        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17954     Kristie      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17955     Martha       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17956     Carol        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17957     Sandra       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17958     Karen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17959     Marie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17960     Bessie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17961     Robin        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17962     Claudia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17963     Ruth         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17964     Amanda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17965     Darlene      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17966     Sheela       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17967     Juana        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17968     Irma         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17969     Esther       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17970     Donna        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17971     Souzan       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17972     Yvonne       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17973     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17974     Norma        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17975     Maryann      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17976     Carol        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17977     Deborah      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17978     Sarah        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17979     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17980     Becky        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17981     Renee        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK           Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                        Exhibit (s) A - Q Page 660 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 368 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
  17982     Veronica      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17983     Annie         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17984     Jennifer      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17985     Cherie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17986     Liliana       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17987     Bernardette   S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17988     Lisa          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17989     Vicky         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17990     Debbie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17991     Karen         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17992     Shanna        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17993     Eileen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17994     Rosario       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17995     Brenda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17996     Bessie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17997     Franka        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17998     Anselma       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  17999     Maria         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18000     Lisa          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18001     Dina          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18002     Dawn          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18003     Gale          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18004     Valerie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18005     Crystal       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18006     Beverlee      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18007     Patricia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18008     Martha        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18009     Mary          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18010     Maria         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18011     Virginia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18012     Gayle         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18013     Theresa       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18014     Maria         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18015     Shirley       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18016     Patricia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18017     Teresa        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18018     Robin         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18019     Kiara         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18020     Elizabeth     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18021     Beverly       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18022     Mary          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18023     Gwendoline    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18024     Delores       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18025     Celestine     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18026     Sharon        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18027     Salome        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18028     Josephine     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18029     Fay           S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18030     Marietta      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 661 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 369 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  18031     Doris        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18032     Brenda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18033     Cynthia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18034     Laurie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18035     Grace        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18036     Terry        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18037     Margaret     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18038     Stacey       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18039     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18040     Melisa       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18041     Cinnamon     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18042     Kathryn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18043     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18044     Debra        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18045     Rose         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18046     Lisa         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18047     Lauren       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18048     Cecilia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18049     Holly        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18050     Susan        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18051     Michelle     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18052     Jacquelyn    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18053     Angela       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18054     Erica        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18055     Tanisha      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18056     Loretta      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18057     Betty        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18058     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18059     Kimberly     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18060     Angeline     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18061     Arlene       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18062     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18063     Karen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18064     Sophronia    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18065     Kimberly     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18066     Maryanne     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18067     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18068     Dianne       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18069     Chantel      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18070     Regina       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18071     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18072     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18073     Rosemary     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18074     Ella         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18075     Beverly      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18076     Dora         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18077     Amy          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18078     Hester       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18079     Moxley,      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 662 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 370 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  18080     Corianna     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18081     Martha       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18082     Tracy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18083     Amanda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18084     Dorothy      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18085     Susan        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18086     Joanna       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18087     Melissa      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18088     Marylou      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18089     Terry        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18090     Lora         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18091     Priscilla    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18092     Laverne      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18093     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18094     Virginia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18095     Betty        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18096     Jacqueline   S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18097     Evelyn       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18098     Amanda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18099     Ruth         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18100     Yaffa        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18101     Laura        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18102     Brenda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18103     Nona         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18104     Jessica      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18105     Gail         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18106     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18107     Elizabeth    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18108     Judy         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18109     Jill         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18110     Marilynn     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18111     Rosie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18112     Deborah      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18113     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18114     Kathleen     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18115     Debra        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18116     Grace        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18117     Eagle,       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18118     Carolyn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18119     Alishia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18120     Carol        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18121     Faye         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18122     Annie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18123     Herta        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18124     Susan        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18125     Betty        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18126     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18127     Joyce        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18128     Paula        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 663 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 371 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  18129     Jamie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18130     Brenda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18131     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18132     Joni         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18133     Jodene       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18134     Julia        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18135     Lucille      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18136     Clair,       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18137     Louis,       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18138     John,        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18139     Debra        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18140     Gail         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18141     Ann          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18142     Joyce        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18143     Kimberly     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18144     Christel     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18145     Patsy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18146     Jennifer     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18147     Donna        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18148     Terri        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18149     Leslie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18150     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18151     Anna         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18152     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18153     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18154     Debra        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18155     Jaxine       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18156     Shelby       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18157     Rita         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18158     Marilyn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18159     Lyndell      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18160     Stacy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18161     Belinda      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18162     Geraldine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18163     Mikayla      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18164     Emma         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18165     Sabrina      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18166     Christine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18167     Lu           S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18168     Patty        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18169     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18170     Conswella    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18171     Elizabeth    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18172     Roseann      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18173     Jennifer     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18174     Elizabeth    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18175     Christina    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18176     Terry        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18177     Sharon       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 664 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 372 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  18178     Lois         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18179     Rutha        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18180     Gena         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18181     Connie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18182     Janet        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18183     Genevieve    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18184     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18185     Carol        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18186     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18187     Tammy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18188     Diane        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18189     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18190     Ashley       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18191     Beverly      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18192     Annette      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18193     Jeanne       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18194     Vanessa      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18195     Elaine       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18196     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18197     Madeline     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18198     Bonnie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18199     Terri        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18200     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18201     Suzanne      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18202     Lawanda      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18203     Jacqueline   S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18204     Mona         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18205     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18206     Tamyra       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18207     Deon         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18208     Kathy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18209     Lois         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18210     Marie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18211     Cynthia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18212     Beverly      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18213     Marie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18214     Marquita     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18215     Adrienne     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18216     Cindy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18217     Alecia       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18218     Lisa         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18219     Debbie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18220     Victoria     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18221     Kyleen       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18222     Norma        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18223     Felicia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18224     Katherine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18225     Susan        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18226     Tamika       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 665 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 373 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  18227     Pauline      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18228     Carmela      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18229     Jessica      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18230     Rosemarie    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18231     Cassandra    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18232     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18233     Laverne      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18234     Leanda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18235     Heather      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18236     Melinda      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18237     Judy         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18238     La           S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18239     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18240     Donna        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18241     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18242     Pamela       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18243     Eddie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18244     Zarah        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18245     Teddie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18246     Glenda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18247     Andrea       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18248     Ellen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18249     Rochelle     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18250     Julie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18251     Julianne     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18252     Janet        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18253     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18254     Harriet      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18255     Ruth         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18256     Karen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18257     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18258     Miriam       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18259     Lucia        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18260     Laura        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18261     Gail         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18262     Theresa      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18263     Janice       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18264     Amanda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18265     Kathryn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18266     Dorothy      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18267     Shadee       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18268     Eleanor      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18269     Belinda      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18270     Kathy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18271     Joyce        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18272     Stephanie    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18273     Amber        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18274     Ramona       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18275     Chrystal     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 666 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 374 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  18276     Crystal      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18277     Sharon       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18278     Rhonda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18279     Jessica      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18280     Carmen       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18281     Shirley      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18282     Lisa         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18283     Angela       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18284     Jane         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18285     Jacquelyn    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18286     Sheri        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18287     Eunice       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18288     Helen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18289     Gail         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18290     Vera         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18291     Florence     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18292     Connie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18293     Marie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18294     Magdalena    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18295     Penny        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18296     Georgia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18297     Jewel        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18298     Angel        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18299     Maria        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18300     Angela       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18301     Terri        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18302     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18303     Josephine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18304     Teresa       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18305     Kimberly     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18306     Betty        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18307     Jeanette     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18308     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18309     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18310     Janet        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18311     Michelle     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18312     Lisa         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18313     Pamela       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18314     Nancianne    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18315     Deborah      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18316     Frances      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18317     Sandra       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18318     Joann        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18319     Annette      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18320     Cindy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18321     Olivia       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18322     Jo           S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18323     KayDee       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18324     Dorothy      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 375 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  18325     Alma         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18326     Helen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18327     Maya         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18328     Shirley      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18329     Holly        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18330     Sabrina      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18331     Judy         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18332     Sandy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18333     Gretchen     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18334     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18335     Joyce        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18336     Rose         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18337     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18338     Rachel       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18339     D'Adrian     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18340     Jennifer     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18341     Deena        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18342     June         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18343     Diane        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18344     Rosalind     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18345     Alene        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18346     Esther       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18347     Norma        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18348     Bernadette   S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18349     Susan        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18350     Frances      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18351     Edna         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18352     Cynthia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18353     Cynthia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18354     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18355     Sheila       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18356     Janet        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18357     Frances      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18358     Vicki        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18359     Frances      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18360     Sherri       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18361     Kathy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18362     Loistine     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18363     Krista       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18364     Jane         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18365     Dorothea     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18366     Virginia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18367     Jean         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18368     Golda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18369     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18370     Marva        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18371     Norma        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18372     Judith       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18373     Shannon      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 376 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  18374     JoDora       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18375     Sharon       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18376     Margaret     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18377     Diane        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18378     Rhonda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18379     Rebecca      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18380     Valerie      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18381     Jennifer     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18382     Meredith     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18383     Dorothy      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18384     Cathy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18385     Anna         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18386     Janice       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18387     Ellen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18388     Tina         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18389     Dolores      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18390     Diane        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18391     Marilyn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18392     Sandra       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18393     Tonya        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18394     Tamalyn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18395     Sharon       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18396     Sharon       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18397     Margaret     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18398     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18399     Ryonna       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18400     Jennifer     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18401     Vickie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18402     Destine      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18403     Rhonda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18404     Teresa       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18405     Cleo         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18406     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18407     Pat          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18408     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18409     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18410     Tonya        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18411     Kathleen     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18412     Danielle     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18413     Willa        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18414     Tina         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18415     Helen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18416     Amy          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18417     Juanita      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18418     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18419     Rita         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18420     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18421     Yvonne       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18422     Joan         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
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                                       Exhibit (s) A - Q Page 669 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 377 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  18423     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18424     Cheryl       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18425     Lisa         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18426     Gayla        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18427     Vickie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18428     Janelle      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18429     Debra        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18430     Frances      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18431     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18432     Shirley      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18433     Monica       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18434     Cheryl       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18435     Gladys       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18436     Lou          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18437     Lena         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18438     Yvonne       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18439     Lanarma      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18440     Pamela       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18441     Kathryn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18442     Joyce        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18443     Robin        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18444     Donna        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18445     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18446     Jeanne       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18447     Monique      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18448     Jill         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18449     Cynthia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18450     Freda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18451     Janice       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18452     Beverly      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18453     Theresa      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18454     Bonnie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18455     Erin         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18456     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18457     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18458     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18459     Kimlee       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18460     Marie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18461     Stefanie     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18462     Sally        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18463     Martha       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18464     Lanora       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18465     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18466     Donna        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18467     Tamika       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18468     Glenda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18469     Sharon       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18470     Cynthia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18471     Susan        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 670 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 378 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  18472     Lisa         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18473     Glenda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18474     Susan        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18475     Helen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18476     Judith       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18477     Francine     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18478     Kristy       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18479     Susie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18480     Joan         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18481     Vonda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18482     Elizabeth    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18483     Rena         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18484     Calandria    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18485     Bertha       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18486     Alicia       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18487     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18488     Coretta      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18489     Dorothy      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18490     Katherine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18491     Martha       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18492     Moesha       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18493     Barbara      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18494     Alison       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18495     Diane        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18496     Jane         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18497     Brandy       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18498     Rebecca      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18499     Ruth         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18500     Loretta      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18501     Gail         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18502     Gloria       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18503     Patti        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18504     Nicoletta    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18505     Beverly      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18506     Anna         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18507     Unni         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18508     Helen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18509     Doretha      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18510     Deborah      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18511     Sabrina      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18512     Terri        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18513     Sandra       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18514     Donna        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18515     Darlene      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18516     Felicia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18517     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18518     Anna         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18519     Karen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18520     Laverne      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK            Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                         Exhibit (s) A - Q Page 671 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 379 of 437
                  First
                            Last Name
 Claimant         Name                                                     Date of
                             (injured    Date of Birth
    No.         (injured                                       SSN        Death (if
                             person)
                person)                                      (last 4)    applicable)    Claim Type
  18521     Nicole         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18522     Laurel         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18523     Martha         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18524     ,              S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18525     Suzette        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18526     Betty          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18527     Ella           S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18528     Joyce          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18529     Ana            S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18530     Sheila         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18531     Jillissa       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18532     Amanda         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18533     Malora         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18534     Kimberly       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18535     Sanna          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18536     Mary           S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18537     Parni          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18538     Deborah        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18539     Amie           S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18540     Patricia       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18541     Carrie         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18542     Elizabeth      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18543     Nancy          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18544     Priscilla      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18545     Flossie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18546     Linda          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18547     Jacquelyn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18548     Wanda          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18549     Miriam         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18550     Phyllis        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18551     Marilyn        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18552     Melanie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18553     Patricia       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18554     Diane          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18555     Beulah         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18556     Kelly          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18557     Barb           S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18558     Ingrid         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18559     Rebecca        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18560     Jeanette       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18561     Sharon         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18562     Sandra         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18563     Barbara        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18564     Debra          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18565     Charlotte      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18566     Angela         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18567     Marry          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18568     Tammy          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18569     Susan          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 672 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 380 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  18570     Tracy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18571     Wanda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18572     Dickie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18573     Julie        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18574     Catherine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18575     Deeanna      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18576     Frances      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18577     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18578     Joyce        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18579     Kimberly     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18580     Walda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18581     Theresa      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18582     Ruby         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18583     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18584     Jody         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18585     Jocelyn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18586     Berniece     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18587     Debra        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18588     Beverly      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18589     Brenda       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18590     Shenine      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18591     Diana        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18592     Ruby         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18593     Lorrie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18594     Lillian      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18595     Rebecca      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18596     Melissa      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18597     Suzanne      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18598     Danielle     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18599     Rosita       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18600     Geneva       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18601     Judy         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18602     Diana        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18603     Eleanor      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18604     Lisa         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18605     Jenny        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18606     Florence     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18607     Sandra       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18608     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18609     Cynthia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18610     Betty        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18611     Gloria       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18612     Valerie      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18613     Pauline      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18614     Dorothy      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18615     Alice        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18616     Jayme        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18617     Frances      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18618     Cherry       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 673 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 381 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  18619     Katherine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18620     Delia        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18621     Bonnie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18622     Lavena       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18623     Joyce        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18624     Patricia     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18625     Trisha       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18626     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18627     Jodi         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18628     Leslie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18629     Sherrill     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18630     Marilyn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18631     Carolyn      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18632     Louise       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18633     Tammy        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18634     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18635     Joyce        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18636     Lu           S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18637     Kimberly     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18638     Letitia      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18639     Leah         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18640     Sandra       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18641     Paula        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18642     Shelley      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18643     Jane         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18644     Dena         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18645     Johnnye      S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18646     Pamela       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18647     Susan        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18648     Elen         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18649     Robin        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18650     Agnes        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18651     Sandra       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18652     Yvonne       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18653     Bette        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18654     Freda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18655     Mary         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18656     JoAnn        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18657     Karen        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18658     Brandi       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18659     Aretha       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18660     Danita       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18661     Christine    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18662     Margaret     S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18663     Emma         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18664     Lorrie       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18665     Linda        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18666     Carlen       S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18667     Elizabeth    S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK            Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                         Exhibit (s) A - Q Page 674 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 382 of 437
                First
                            Last Name
 Claimant       Name                                                       Date of
                             (injured    Date of Birth
    No.       (injured                                         SSN        Death (if
                             person)
              person)                                        (last 4)    applicable)    Claim Type
  18668     Donna          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18669     Katrina        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18670     Nikeria        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18671     Barbara        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18672     Linda          S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18673     Mary           S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18674     Rebecca        S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18675     Lauren         S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18676     Mary           S.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18677     Enzil          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18678     Sherry         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18679     Sara           T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18680     Donna          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18681     Dawn           T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18682     Maha           T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18683     Lisa           T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18684     Ludmila        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18685     Barbara        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18686     Shannon        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18687     Geraldine      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18688     Bonita         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18689     Tricia         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18690     Robyn          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18691     Rola           T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18692     Amirghahari,   T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18693     Eilene         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18694     Kim            T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18695     Judy           T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18696     Mary           T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18697     Susan          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18698     Lovella        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18699     Naomi          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18700     Eleanor        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18701     Patricia       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18702     Barbara        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18703     Monica         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18704     Anna           T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18705     Maria          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18706     Sonia          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18707     Cheri          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18708     Kathleen       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18709     Rhonda         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18710     Patricia       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18711     April          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18712     Chrystel       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18713     Pamela         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18714     Becky          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18715     Ernestine      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18716     Virginia       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 675 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 383 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  18717     Lois         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18718     Carol        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18719     Kim          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18720     Sandra       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18721     Mamie        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18722     Julie        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18723     Lana         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18724     Kathy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18725     Angela       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18726     Elisha       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18727     Kadrina      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18728     Laura        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18729     Maryann      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18730     Tammy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18731     Helen        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18732     Nancy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18733     Carolene     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18734     Angela       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18735     Sheryl       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18736     Diane        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18737     Niktanza     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18738     Judith       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18739     Lisa         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18740     Emily        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18741     Lisa         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18742     Carrie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18743     Stephanie    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18744     Nancy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18745     Alexandria   T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18746     Tina         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18747     Ruby         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18748     Sharon       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18749     Sharon       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18750     Deborah      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18751     Karen        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18752     Vernetta     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18753     Vernetta     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18754     Vernetta     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18755     Betty        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18756     Lillie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18757     Barbara      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18758     Barbara      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18759     Penny        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18760     Serena       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18761     Marlene      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18762     Karen        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18763     Adrain       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18764     Linda        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18765     Gina         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 676 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 384 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  18766     Jessica      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18767     Frances      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18768     Annie        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18769     Jaimi        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18770     Carolyn      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18771     Annie        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18772     Diane        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18773     Jodi         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18774     Lynne        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18775     Dorene       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18776     Brentnee     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18777     Francis      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18778     Sandra       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18779     Coy          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18780     Barbara      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18781     Gabriela     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18782     Karen        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18783     Lillie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18784     Amber        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18785     Peggy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18786     Tracy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18787     Ann          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18788     Debra        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18789     Frances      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18790     Juanita      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18791     Christine    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18792     DeSionai     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18793     Liz          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18794     Anastasia    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18795     Vero         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18796     Callie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18797     Connie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18798     Amanda       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18799     Carolyn      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18800     Vivian       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18801     Sheila       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18802     Rosalind     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18803     Toni         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18804     Michelle     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18805     Shelby       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18806     Katie        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18807     Brenda       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18808     Niya         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18809     Annie        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18810     Annie        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18811     Charlene     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18812     Tracy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18813     Gloria       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18814     Yakeshia     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 677 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 385 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  18815     Diane        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18816     Jana         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18817     Trina        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18818     Dianne       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18819     Jamie        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18820     Nanatte      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18821     Hattie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18822     Mildred      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18823     Stephany     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18824     Markico      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18825     Susan        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18826     Savitri      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18827     Janet        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18828     Linda        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18829     Kim          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18830     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18831     Patricia     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18832     Cynthia      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18833     Deborah      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18834     Iva          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18835     Nicole       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18836     Doris        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18837     Jewell       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18838     Katherine    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18839     Sharon       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18840     Adrienne     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18841     Susan        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18842     Joyce        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18843     Sandra       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18844     Jennifer     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18845     Diane        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18846     Stephanie    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18847     Misty        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18848     Cherry       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18849     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18850     Esther       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18851     Linda        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18852     Carmen       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18853     Charlotte    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18854     Nancy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18855     Reneasha     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18856     Cassie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18857     Madeline     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18858     Sandra       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18859     Betty        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18860     Michelle     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18861     Donna        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18862     Connie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18863     Linda        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 678 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 386 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  18864     Anita        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18865     Marisa       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18866     Toni         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18867     Evelyn       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18868     Leticia      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18869     Debra        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18870     Audrey       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18871     Bonnie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18872     Keisha       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18873     Kristin      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18874     Sarah        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18875     Nancy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18876     Diana        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18877     Kristen      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18878     Cristina     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18879     Corrine      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18880     Amy          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18881     Victoria     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18882     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18883     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18884     Tammy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18885     Traci        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18886     Deborah      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18887     Carol        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18888     Cheryl       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18889     Melita       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18890     Susan        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18891     Charra       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18892     Lutretia     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18893     Seretha      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18894     Judy         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18895     Myrna        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18896     Sharon       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18897     Gladys       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18898     Pamela       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18899     Stephanie    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18900     Clara        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18901     Teresa       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18902     Edna         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18903     Theresa      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18904     Audrey       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18905     Judith       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18906     Dawniel      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18907     Vickie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18908     Christa      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18909     Bette        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18910     Deborah      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18911     Sandy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18912     Amanda       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 679 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 387 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  18913     Maggie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18914     LaTashia     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18915     Laurie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18916     Sandra       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18917     Kathleen     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18918     Almanique    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18919     Patricia     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18920     Terri        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18921     Anupum       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18922     Barbara      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18923     Joyce        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18924     Joyce        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18925     Angela       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18926     Marilyn      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18927     Sophie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18928     Patricia     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18929     Nicole       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18930     Marsha       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18931     Patiricia    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18932     Roseann      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18933     Lut          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18934     Mildred      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18935     Wendy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18936     Nelvin       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18937     Grace        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18938     Jo           T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18939     Donya        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18940     Brendia      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18941     Margaret     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18942     Jean         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18943     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18944     Mardee       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18945     Brigette     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18946     Smith,       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18947     Sandra       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18948     Sandra       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18949     Lydia        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18950     Caprice      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18951     Gillian      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18952     Ruby         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18953     Jacqueline   T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18954     Linda        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18955     Regina       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18956     Lillie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18957     Nellie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18958     Velma        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18959     Rhonda       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18960     Shanta       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18961     Joyce        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 680 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 388 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  18962     Emma         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18963     Crystal      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18964     Santonja     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18965     Linda        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18966     Cynthia      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18967     Whitney      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18968     Jettie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18969     Jodi         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18970     Elaine       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18971     Velina       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18972     Margaret     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18973     Zarria       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18974     Tarnesha     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18975     Sharla       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18976     Tonya        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18977     Linda        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18978     Patricia     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18979     Charlie      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18980     Stephanie    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18981     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18982     Sara         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18983     Danielle     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18984     Roberta      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18985     Pamela       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18986     Josephine    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18987     Kimela       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18988     Pamela       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18989     Jillondria   T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18990     Diane        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18991     Cheryl       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18992     Phyllis      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18993     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18994     Georgia      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18995     Hazel        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18996     Roseann      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18997     Dorothy      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18998     Vernerdean   T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  18999     Helen        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19000     Cheryl       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19001     Cathy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19002     Ima          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19003     Mardena      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19004     Jamilla      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19005     Vera         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19006     Carolyn      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19007     Krysta       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19008     Phyllis      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19009     Rosalyn      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19010     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 681 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 389 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  19011     Delores      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19012     Vicky        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19013     Carolyn      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19014     Sharon       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19015     Karen        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19016     Kimberly     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19017     Bonnie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19018     Rosemary     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19019     Kathy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19020     Shenica      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19021     Linda        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19022     Donna        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19023     Valerie      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19024     Judith       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19025     Carlin       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19026     Kimberly     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19027     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19028     Judith       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19029     Patricia     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19030     Michelle     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19031     Linda        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19032     Connie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19033     Sharonica    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19034     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19035     Tanny        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19036     Kim          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19037     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19038     Brenda       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19039     Cheryl       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19040     Sandra       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19041     Elizabeth    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19042     Judith       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19043     Crystal      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19044     Susan        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19045     Laura        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19046     Joan         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19047     Christine    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19048     Barbara      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19049     Lilian       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19050     Cleaster     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19051     Quandalyne   T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19052     Lisa         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19053     Rhonda       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19054     Debra        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19055     Sylvia       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19056     Veronica     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19057     Donna        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19058     Linda        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19059     Annette      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 682 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 390 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  19060     Sandra       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19061     Henrietta    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19062     Annie        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19063     Deborah      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19064     Andrea       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19065     Savannah     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19066     Janice       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19067     Betty        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19068     Cora         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19069     Gina         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19070     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19071     Frances      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19072     Dolores      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19073     Norma        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19074     Cheryl       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19075     Hilda        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19076     Teresa       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19077     Deborah      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19078     Jackquelyn   T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19079     Brenda       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19080     Carol        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19081     Kathleen     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19082     Kellly       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19083     Sheryl       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19084     Gail         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19085     Colleen      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19086     Linda        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19087     Janet        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19088     Shannon      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19089     Joanna       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19090     Linda        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19091     Glenda       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19092     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19093     Daysun       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19094     Ruby         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19095     Jo           T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19096     Patricia     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19097     Christine    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19098     Beryl        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19099     Imani        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19100     Martha       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19101     Dana         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19102     Evelyn       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19103     Jeanette     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19104     Rhonda       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19105     Cheryl       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19106     Connie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19107     Earlene      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19108     Patricia     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 683 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 391 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  19109     Tracey       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19110     Deborah      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19111     Marqueita    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19112     Kim          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19113     Sharon       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19114     Judith       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19115     Jessie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19116     Brenda       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19117     Gwendolyn    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19118     Yvette       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19119     Patty        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19120     Tommie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19121     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19122     Doris        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19123     Patricia     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19124     Carolyn      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19125     Angela       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19126     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19127     Kathy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19128     Gladys       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19129     Nancy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19130     Sheila       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19131     Phyllis      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19132     Minnie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19133     Marie        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19134     Yvonne       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19135     Dawn         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19136     Evelyn       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19137     Rhonda       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19138     Sue          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19139     Judith       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19140     Regina       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19141     Prim         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19142     Caroline     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19143     Deborah      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19144     Michelle     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19145     Marian       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19146     Ann          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19147     Sherri       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19148     Jill         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19149     Annette      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19150     Jessica      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19151     Polly        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19152     Guadalupe    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19153     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19154     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19155     Brittany     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19156     Sarah        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19157     Romona       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 684 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 392 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  19158     Delphine     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19159     Lillian      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19160     Chyrise      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19161     Frances      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19162     Denise       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19163     Christina    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19164     Teresa       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19165     Barbara      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19166     Patricia     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19167     Joyce        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19168     Bonita       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19169     Cleathel     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19170     Sonja        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19171     Sophia       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19172     Elaine       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19173     Stephanie    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19174     Felicia      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19175     Linda        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19176     Gayle        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19177     Linda        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19178     Veronica     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19179     Bridgett     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19180     Stacey       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19181     Sara         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19182     Suzanne      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19183     Camille      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19184     Virginia     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19185     Linda        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19186     Lula         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19187     Cynthia      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19188     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19189     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19190     Tawanna      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19191     Lula         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19192     Vera         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19193     Annette      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19194     Jodi         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19195     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19196     Denise       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19197     Regi         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19198     Tonya        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19199     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19200     Leilani      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19201     Leyla        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19202     Leyla        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19203     Francine     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19204     Charlene     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19205     Terry        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19206     Kimberly     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 685 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 393 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  19207     Concepcion   T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19208     Maria        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19209     Roxana       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19210     Renee        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19211     Margaret     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19212     Ligia        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19213     Rosalie      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19214     Maria        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19215     Renee        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19216     Nelda        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19217     Marcela      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19218     Miosoty      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19219     Delia        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19220     Ana          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19221     Johanna      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19222     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19223     Alicia       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19224     Heather      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19225     Catherine    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19226     Etta         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19227     Mildred      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19228     Kata         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19229     Susan        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19230     Debra        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19231     Monica       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19232     Celina       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19233     Juanita      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19234     April        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19235     Tracy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19236     Sadie        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19237     Beverly      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19238     Alice        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19239     Stella       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19240     Esther       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19241     Justine      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19242     Nancy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19243     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19244     Sherri       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19245     Meredith     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19246     Tannis       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19247     Edythe       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19248     Erica        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19249     Melody       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19250     Kimberley    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19251     Valarie      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19252     Patricia     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19253     Catalina     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19254     Leslie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19255     Melodie      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK           Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                        Exhibit (s) A - Q Page 686 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 394 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
  19256     Carylon       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19257     Pamela        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19258     Marjorie      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19259     Sandra        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19260     Chanh         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19261     Jeanne        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19262     Brenda        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19263     Sylvia        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19264     Deborah       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19265     Mary          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19266     Celeste       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19267     McCandless,   T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19268     Sandra        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19269     Amelia        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19270     Vicki         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19271     Paulette      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19272     Jeannie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19273     Linda         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19274     Lynn          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19275     Teri          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19276     Mary          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19277     Renata        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19278     Karen         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19279     Angie         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19280     Toni          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19281     Antonette     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19282     Marlene       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19283     Donna         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19284     Jennifer      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19285     Lori          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19286     Clara         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19287     Barbara       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19288     Sherry        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19289     Peggy         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19290     Barbara       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19291     Mildred       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19292     Barbara       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19293     Olivia        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19294     Linda         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19295     Jennifer      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19296     Aide          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19297     Pauline       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19298     Carmen        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19299     Mary          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19300     Veronica      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19301     Angela        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19302     Patricia      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19303     Tina          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19304     Norma         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 687 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 395 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  19305     Donna        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19306     Sharron      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19307     Victoria     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19308     Tanya        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19309     Priscilla    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19310     Gregnicca    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19311     Laura        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19312     Laura        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19313     Bonita       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19314     Patricia     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19315     Kathy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19316     Karla        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19317     Alison       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19318     Kitty        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19319     Joyce        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19320     Cynthia      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19321     Judy         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19322     Patsy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19323     Suk          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19324     Judith       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19325     Marisa       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19326     Carol        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19327     Janet        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19328     Barbara      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19329     Gayle        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19330     Dana         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19331     Julie        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19332     Theresa      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19333     Patricia     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19334     Patricia     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19335     Barbara      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19336     Vicki        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19337     Margaret     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19338     Ethel        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19339     Marna        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19340     Lisa         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19341     Angela       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19342     Melanie      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19343     Carol        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19344     Roberta      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19345     Amanda       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19346     Darcy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19347     Irene        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19348     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19349     Tiffany      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19350     Geraldine    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19351     Daisy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19352     Nancy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19353     Katherine    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
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                                        Exhibit (s) A - Q Page 688 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 396 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
  19354     Carol         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19355     Linda         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19356     Veda          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19357     Ellen         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19358     Patricia      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19359     Dawn          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19360     Loubirda      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19361     Francisca     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19362     Amy           T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19363     Barrie        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19364     Linda         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19365     Katie         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19366     Stephanie     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19367     Pamela        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19368     Theresa       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19369     Juanita       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19370     Mary          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19371     Mary          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19372     Mary          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19373     Grace         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19374     Yolanda       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19375     Paulletta     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19376     Tameaka       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19377     Wanda         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19378     Ellen         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19379     Vivian        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19380     Margaret      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19381     Dorthy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19382     Kathryn       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19383     Debra         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19384     Mary          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19385     Mary          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19386     Felicia       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19387     Juanita       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19388     Jenny         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19389     Dorothy       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19390     Kristin       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19391     Cheryl        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19392     Amy           T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19393     Sikuka        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19394     Earline       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19395     Mauvline      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19396     Suzanne-Marie T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19397     Dorothy       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19398     Kasee         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19399     Jennifer      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19400     Josephine     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19401     Jennifer      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19402     Lillie        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 689 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 397 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  19403     Jeannie      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19404     Sandra       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19405     Diane        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19406     Debra        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19407     Lisa         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19408     Sheila       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19409     Rhoda        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19410     Andrea       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19411     Bernice      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19412     Nancy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19413     Myrtle       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19414     Lyana        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19415     Anita        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19416     Patricia     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19417     Marilyn      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19418     Bette        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19419     Julia        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19420     Kristi       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19421     Marguerite   T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19422     Adgenda      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19423     Sammie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19424     Vanessa      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19425     Tori         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19426     Tina         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19427     Joyce        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19428     Charice      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19429     Veranna      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19430     Lula         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19431     Ardis        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19432     Louise       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19433     Robyn        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19434     Lynn         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19435     Francine     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19436     Maggie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19437     Donyell      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19438     Edna         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19439     Donna        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19440     Bonnie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19441     Wanda        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19442     Cecilia      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19443     Evelyn       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19444     Susan        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19445     Christy      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19446     Sammie       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19447     Vicki        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19448     Marie        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19449     Mae          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19450     Barbara      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19451     Sondra       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 690 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 398 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  19452     Diane        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19453     Joan         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19454     Sheila       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19455     Tina         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19456     Oneida       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19457     Debra        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19458     Veronica     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19459     Carolyn      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19460     Alice        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19461     Alice        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19462     Shannon      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19463     Brenda       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19464     Carolyn      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19465     Phyllis      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19466     Ida          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19467     Annie        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19468     April        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19469     Debra        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19470     Wanda        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19471     Melissa      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19472     Joy          T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19473     Edna         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19474     Pamela       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19475     Stephanie    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19476     Priscilla    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19477     Citholetta   T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19478     Sowatskey,   T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19479     Valerie      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19480     Mary         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19481     Patricia     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19482     Linda        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19483     Beverly      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19484     Lisa         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19485     Xiliary      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19486     Tara         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19487     Cindy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19488     Bernice      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19489     Loretta      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19490     Charlene     T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19491     Thea         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19492     Christine    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19493     Laura        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19494     Joyce        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19495     Ruby         T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19496     Allison      T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19497     Stephanie    T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19498     Debra        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19499     Judith       T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19500     Diana        U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 691 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 399 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  19501     Marcella     U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19502     Tamara       U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19503     Jolen        U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19504     Mary         U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19505     Carol        U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19506     Mozelle      U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19507     Kimberly     U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19508     Carisa       U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19509     Marsha       U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19510     Kristi       U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19511     April        U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19512     Lori         U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19513     Carol        U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19514     Rosemary     U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19515     Michelle     U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19516     Olga         U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19517     Corita       U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19518     Krista       U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19519     Pamela       U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19520     Edith        U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19521     Joanne       U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19522     Lillian      U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19523     Tina         U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19524     Bonnie       U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19525     Donna        U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19526     Blanca       U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19527     Nazime       U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19528     Elizabeth    U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19529     Patricia     U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19530     Mary         U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19531     Wagner,      U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19532     Annette      U.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19533     Cheryl       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19534     Rosalie      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19535     Stephanie    V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19536     Kilisitina   V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19537     Josephine    V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19538     Mercedes     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19539     Carol        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19540     Lynda        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19541     Mary         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19542     Teresa       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19543     Pamela       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19544     Georgina     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19545     Gabriela     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19546     Rosario      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19547     Amanda       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19548     Suzanna      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19549     Maria        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK            Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                         Exhibit (s) A - Q Page 692 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 400 of 437
                First
                            Last Name
 Claimant       Name                                                       Date of
                             (injured    Date of Birth
    No.       (injured                                         SSN        Death (if
                             person)
              person)                                        (last 4)    applicable)    Claim Type
  19550     Daniele        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19551     Ana            V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19552     Marie          V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19553     Laura          V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19554     Lisa           V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19555     Dawn           V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19556     Margarita      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19557     Juanita        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19558     Barbara        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19559     Kay            V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19560     Ruby           V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19561     Natalie        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19562     Monica         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19563     Penny          V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19564     DeAnna         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19565     Sasha          V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19566     Catherine      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19567     Linda          V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19568     Lois           V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19569     Antoinette     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19570     Maryanne       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19571     Angelina       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19572     Remortel,      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19573     Winkle,        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19574     Winkle,        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19575     Deuson,        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19576     Buren,         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19577     Reenan,        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19578     Haselen,       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19579     Gyzen,         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19580     Houten,        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19581     Wallinga,      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19582     Vivian         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19583     Dusen,         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19584     Horn,          V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19585     Dyke,          V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19586     Dermark,       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19587     Doren,         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19588     Gheem,         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19589     Zandt-Faulkner,V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19590     Carolan        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19591     Sandra         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19592     Carolyn        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19593     Nancy          V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19594     Marie          V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19595     Doreen         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19596     Priscilla      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19597     Nena           V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19598     Joyce          V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 693 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 401 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  19599     Ann          V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19600     Barbara      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19601     Anne         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19602     Deanna       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19603     Susan        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19604     Maria        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19605     Vicky        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19606     Shannon      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19607     Dawn         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19608     Leeta        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19609     Cheryl       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19610     Michelle     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19611     Bernadette   V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19612     Sharon       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19613     Lois         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19614     Linda        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19615     Donna        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19616     Michelle     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19617     Cynthia      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19618     Shirley      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19619     Nancy        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19620     Carol        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19621     Eva          V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19622     Kimberly     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19623     Nancy        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19624     Sharon       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19625     Tamara       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19626     Rita         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19627     Shirley      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19628     Corin        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19629     Carolyn      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19630     Rebecca      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19631     Margaretha   V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19632     Paula        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19633     Rosemarie    V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19634     Barbara      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19635     Ofelia       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19636     Ruth         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19637     Beverly      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19638     Carolina     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19639     Erica        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19640     Diana        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19641     Lydia        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19642     Minerva      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19643     Crystal      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19644     Dawn         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19645     Mary         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19646     Katrina      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19647     Leslie       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 402 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  19648     Ellen        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19649     Brenda       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19650     Tina         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19651     Marie        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19652     Mariah       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19653     Rosa         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19654     Elizabeth    V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19655     Alice        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19656     Joanne       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19657     Kerry        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19658     Barbara      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19659     Yolanda      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19660     Priscilla    V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19661     Taylor       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19662     Tracy        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19663     Marnetta     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19664     Pamela       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19665     Katelyn      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19666     Elizabeth    V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19667     Cathey       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19668     Dianne       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19669     April        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19670     Robin        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19671     Joyce        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19672     Ramona       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19673     Debbie       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19674     Ella         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19675     Susan        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19676     Kathleen     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19677     Jeanne       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19678     Lamonica     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19679     Eva          V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19680     Ella         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19681     Diane        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19682     RoShelle     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19683     Lori         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19684     Dianna       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19685     Valerie      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19686     Olga         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19687     Rebecca      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19688     Luz          V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19689     Aida         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19690     Maria        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19691     Kimberly     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19692     Lolanda      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19693     Cynthia      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19694     Leticia      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19695     Patricia     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19696     Natalie      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 403 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  19697     Marisela     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19698     Nitza        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19699     Terese       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19700     Mercedes     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19701     Mary         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19702     Maria        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19703     Victoria     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19704     Tamela       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19705     Gail         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19706     Virginia     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19707     Lucinda      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19708     Carol        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19709     Mary         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19710     Gloria       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19711     Sheri        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19712     Anna         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19713     Maria        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19714     Horencia     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19715     Anastasia    V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19716     Brenda       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19717     Rhonda       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19718     Carol        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19719     Eva          V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19720     Tracy        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19721     Robin        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19722     Bonnie       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19723     Darlene      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19724     Jennifer     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19725     Frances      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19726     Bonnie       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19727     Joy          V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19728     Almarree     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19729     Alison       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19730     Sueson       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19731     Christine    V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19732     Slavica      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19733     Kathy        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19734     Patricia     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19735     Deborah      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19736     Cathy        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19737     Cynthia      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19738     Catherine    V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19739     Selima       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19740     Barbara      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19741     Marilynn     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19742     Norinne      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19743     Marguerite   V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19744     Cynthia      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19745     Jazmine      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 404 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  19746     Rose         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19747     Judy         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19748     Lynn         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19749     Teresa       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19750     Glenda       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19751     Annette      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19752     Jessica      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19753     Angela       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19754     Linda        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19755     Sarah        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19756     Rosa         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19757     Anibal       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19758     Patricia     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19759     Patricia     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19760     Viviana      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19761     Yolanda      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19762     Natasha      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19763     Vilma        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19764     Lorinda      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19765     Maryann      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19766     Joycelyn     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19767     Olivia       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19768     Helen        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19769     Heidi        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19770     Linda        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19771     Ruth         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19772     Janet        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19773     Linda        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19774     Ernestine    V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19775     Linda        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19776     Shirley      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19777     Danell       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19778     Leona        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19779     Glenda       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19780     Johnnie      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19781     Dortha       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19782     Linda        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19783     Stacey       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19784     Alicia       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19785     Elizabeth    V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19786     Marlene      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19787     Charlotte    V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19788     Margaret     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19789     Denice       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19790     Jean         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19791     Annette      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19792     Phyllis      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19793     AnnaMaria    V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19794     Jennifer     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 405 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  19795     Anna         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19796     Carol        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19797     Sue          V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19798     Susan        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19799     Jennifer     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19800     Shirley      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19801     Diana        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19802     Mari         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19803     Glenda       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19804     Alla         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19805     Maureen      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19806     Waldner,     V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19807     Drasek,      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19808     Rebecca      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19809     Suzanne      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19810     Suzanne      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19811     Joann        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19812     Sarah        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19813     Lori         V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19814     Connie       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19815     Regina       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19816     Vicki        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19817     Frances      V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19818     Nancy        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19819     Joanne       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19820     Leona        V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19821     Denise       V.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19822     Nancy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19823     Ilean        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19824     Mariana      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19825     Brenda       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19826     Peggy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19827     Gayle        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19828     Toni         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19829     Brilla       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19830     Kanesha      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19831     Marilyn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19832     Cheree       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19833     Obara        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19834     Diane        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19835     Lois         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19836     Diane        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19837     Catherine    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19838     Mary         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19839     Phyllis      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19840     Annalisa     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19841     Lois         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19842     Cheryl       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19843     Lisa         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                        Exhibit (s) A - Q Page 698 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 406 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
  19844     Lisa          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19845     Janet         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19846     Khantrell     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19847     Eileen        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19848     Julia         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19849     Karen         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19850     Elizabeth     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19851     Susan         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19852     Shirley       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19853     Kathleen      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19854     Phyllis       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19855     Kathleen      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19856     Andrea        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19857     Linda         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19858     Ann           W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19859     Jeanine       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19860     Patricia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19861     Keashuana     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19862     Janet         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19863     Audrienne     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19864     Robin         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19865     Tiffany       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19866     Mary          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19867     Chaka         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19868     Gloria        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19869     Jeannie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19870     Barbara       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19871     Linda         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19872     Dwede         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19873     Sanquanetta   W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19874     Chinita       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19875     Marjorie      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19876     Patricia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19877     Vivian        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19878     Marilyn       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19879     Shawn         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19880     Michelle      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19881     Veronica      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19882     Tina          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19883     Carrie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19884     Alicia        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19885     Semerian      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19886     Rae           W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19887     Mechia        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19888     Violet        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19889     Veronica      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19890     Kathryn       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19891     Nancy         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19892     Freda         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 699 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 407 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  19893     Teresa       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19894     Viktoria     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19895     Judith       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19896     Bettie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19897     Janeen       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19898     Sheryl       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19899     Viola        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19900     Veronica     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19901     Lucy         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19902     Lenora       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19903     Sandra       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19904     Sabrina      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19905     Shirley      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19906     Loretta      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19907     Janet        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19908     Patricia     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19909     Angelia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19910     Tressa       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19911     Bobbie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19912     Kathey       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19913     Julie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19914     Cindy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19915     Wilma        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19916     Veronica     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19917     Vickie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19918     Brenda       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19919     Dorothy      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19920     Willie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19921     Nancy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19922     Brenda       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19923     Betty        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19924     Joy          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19925     Kimberly     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19926     Leonise      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19927     Over         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19928     Suzanne      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19929     Tina         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19930     Cathy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19931     Monica       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19932     Constance    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19933     Betty        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19934     Sherry       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19935     Charlene     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19936     Teresa       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19937     Dale         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19938     Dorothy      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19939     Ida          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19940     Shirley      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19941     Diane        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 408 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  19942     Ammie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19943     Jessie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19944     Diane        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19945     Karen        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19946     Tammy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19947     Chonita      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19948     Lee          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19949     Patricia     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19950     Linda        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19951     Pamela       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19952     Barbara      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19953     Judith       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19954     Melissa      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19955     Christi      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19956     Claudia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19957     Rose         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19958     Janette      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19959     Sandra       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19960     Patsy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19961     Penny        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19962     Nancylee     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19963     Lois         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19964     Carla        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19965     Charlene     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19966     Penny        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19967     Kathy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19968     Brenda       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19969     Marie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19970     Helen        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19971     Lerojua      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19972     Lisa         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19973     Elaine       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19974     Rita         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19975     Carrie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19976     Flora        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19977     Beverly      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19978     LaQunna      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19979     Lynda        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19980     Barbara      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19981     Marilyn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19982     Rosalie      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19983     Catherine    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19984     Brenda       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19985     Cynthia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19986     Paula        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19987     Bunny        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19988     Marlene      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19989     Susan        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19990     Karen        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 409 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  19991     Elizabeth    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19992     Rosalyn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19993     Laura        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19994     Terry        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19995     Mary         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19996     Barbara      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19997     Christa      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19998     Christina    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  19999     Jenni        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20000     Irma         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20001     Janet        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20002     Rebecca      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20003     Betty        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20004     Tina         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20005     Marva        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20006     Kimberly     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20007     Martha       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20008     Genie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20009     Christine    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20010     Emma         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20011     Jamara       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20012     Odette       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20013     Catina       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20014     Kathern      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20015     Kimberly     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20016     Loretta      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20017     Audrey       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20018     Cathy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20019     Deborah      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20020     Jennifer     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20021     America      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20022     Roza         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20023     Taiesha      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20024     Cecelia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20025     Janice       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20026     Patricia     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20027     Tammie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20028     Julia        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20029     Marla        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20030     Joann        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20031     Tonya        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20032     Jamie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20033     Martha       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20034     Rita         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20035     Veronica     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20036     Gail         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20037     Wendy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20038     Connie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20039     Pia          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 410 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  20040     Pamela       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20041     Michele      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20042     Brenda       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20043     Diane        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20044     Marilyn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20045     Diane        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20046     Kathryn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20047     Melvina      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20048     Pamela       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20049     Birdie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20050     Marie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20051     Gwendolyn    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20052     Joyce        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20053     Chinon       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20054     Clementine   W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20055     Valerie      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20056     Josie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20057     Sandra       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20058     Millie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20059     Rhonda       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20060     Chrisy       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20061     Cynthia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20062     Mayrene      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20063     Mildred      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20064     Mary         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20065     Mary         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20066     Cashanna     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20067     Bridget      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20068     Bernita      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20069     Rosie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20070     Mya          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20071     Barbara      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20072     Cathy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20073     Yvonne       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20074     Joan         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20075     Misty        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20076     Jewell       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20077     Barbara      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20078     Jill         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20079     Sandra       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20080     Barbara      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20081     Stacy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20082     Sheila       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20083     Andrea       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20084     Tamara       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20085     Jamie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20086     Gladys       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20087     Marlene      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20088     Kelli        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 703 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 411 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  20089     Judy         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20090     LaTasha      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20091     Mary         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20092     Debra        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20093     Fetina       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20094     Shinneka     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20095     Cynthia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20096     Gwendolyn    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20097     Mildred      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20098     Modia        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20099     Crystal      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20100     Tawana       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20101     Beverly      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20102     Tammy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20103     Roneisha     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20104     Lorraine     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20105     Tanya        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20106     Rebecca      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20107     Doris        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20108     Terri        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20109     Erika        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20110     Shawna       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20111     Rhonda       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20112     Sherry       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20113     Emma         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20114     Candace      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20115     Twyla        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20116     Dorothy      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20117     Joyce        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20118     Paula        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20119     Karen        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20120     Pamela       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20121     Joyce        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20122     Shannon      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20123     Vanessa      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20124     Cynthia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20125     Nancy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20126     Patricia     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20127     Carole       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20128     Geneva       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20129     Veronica     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20130     Kelsey       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20131     Donnie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20132     Hiedi        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20133     Mary         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20134     Abbie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20135     Debra        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20136     Jean         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20137     Juliet       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 704 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 412 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  20138     Marsha       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20139     Audrey       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20140     Tiffany      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20141     Michelle     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20142     Katherine    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20143     Sharon       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20144     Gloria       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20145     Yvonne       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20146     Lucinda      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20147     Amy          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20148     Melinda      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20149     Shirley      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20150     Betty        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20151     Pamela       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20152     Bettyjo      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20153     Christine    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20154     Christine    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20155     Phyllis      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20156     Lana         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20157     Beverly      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20158     Kelly        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20159     Anna         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20160     Gail         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20161     Jeanette     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20162     Cheril       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20163     Sarit        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20164     Cathy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20165     Angelique    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20166     Phyllis      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20167     Debbie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20168     Teresa       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20169     Valerie      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20170     Deborah      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20171     Edna         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20172     Denice       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20173     Deborah      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20174     Ronda        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20175     Wendy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20176     Virginia     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20177     Diane        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20178     Regina       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20179     Leah         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20180     Carolyn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20181     Jamie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20182     Christine    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20183     Shawnnessy   W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20184     Tracy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20185     Wendy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20186     Laurie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 705 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 413 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  20187     Susan        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20188     Irene        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20189     Michelle     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20190     Ellen        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20191     Carol        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20192     Teresa       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20193     Cynthia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20194     Louise       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20195     Tawanna      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20196     Vicki        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20197     Kathleen     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20198     Barbara      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20199     Christina    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20200     Denise       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20201     Pamela       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20202     Terri-Ann    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20203     Patricia     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20204     Cindy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20205     Susan        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20206     Margaret     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20207     Harriet      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20208     Jennifer     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20209     Julia        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20210     Joy          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20211     Debra        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20212     Genevieve    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20213     Katarina     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20214     Denise       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20215     Jean         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20216     Darlene      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20217     Laura        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20218     Carolyn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20219     Karen        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20220     Marva        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20221     Kimberly     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20222     Deanne       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20223     Lisa         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20224     Patricia     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20225     Janice       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20226     Deborah      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20227     Mairi        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20228     Lynn         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20229     Carolyn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20230     Valerie      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20231     Violet       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20232     Candy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20233     Florence     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20234     Martha       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20235     Christie     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 414 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  20236     Barbara      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20237     Patricia     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20238     Julie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20239     Donqusha     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20240     Elizabeth    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20241     Kelly        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20242     Robin        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20243     Mellony      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20244     Rachel       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20245     Shannon      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20246     Marcelle     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20247     Cathy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20248     April        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20249     Deborah      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20250     Ruth         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20251     Rhonda       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20252     Gayle        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20253     Belinda      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20254     Jeannie      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20255     Holley       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20256     Samantha     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20257     Temple       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20258     Eva          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20259     Kimberly     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20260     Nellie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20261     Deloris      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20262     Tiffini      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20263     Frances      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20264     Regina       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20265     Beverly      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20266     Margo        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20267     Mildred      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20268     Dana         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20269     Lynn         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20270     Patricia     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20271     Dianna       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20272     Carolyn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20273     Susan        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20274     Sandra       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20275     Ann          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20276     Bonnie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20277     Audrey       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20278     Olivia       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20279     Barbara      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20280     Marilyn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20281     Beatrice     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20282     Ida          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20283     Tracy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20284     Genevieve    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 707 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 415 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  20285     Haley        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20286     Latoya       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20287     Bonnie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20288     Lucille      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20289     Ethel        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20290     Wendy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20291     Julie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20292     Carole       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20293     Theresa      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20294     Janice       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20295     Marcia       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20296     Antionette   W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20297     Lucia        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20298     Patricia     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20299     Delores      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20300     Joan         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20301     Mary         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20302     Patricia     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20303     Heidi        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20304     Bessie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20305     Marcia       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20306     Debra        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20307     Melanie      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20308     Evelyn       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20309     Elizabeth    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20310     Teresa       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20311     Vicci        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20312     Doris        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20313     Sandra       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20314     Deborah      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20315     Alexandra    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20316     Tonya        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20317     Willene      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20318     Brenda       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20319     Kathleen     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20320     Nancy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20321     Nancy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20322     Shauntel     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20323     Cynthia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20324     Shelley      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20325     Kathleen     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20326     Dana         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20327     Tiffany      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20328     Alice        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20329     Diana        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20330     Marianne     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20331     Chanda       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20332     Michelle     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20333     Cynthia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 708 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 416 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  20334     Paula        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20335     Denna        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20336     Marion       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20337     Nancy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20338     Debbie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20339     Theresa      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20340     Deborah      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20341     Sandra       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20342     Debra        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20343     Stacy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20344     Darlene      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20345     Laura        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20346     Paula        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20347     Paula        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20348     Teresa       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20349     Twila        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20350     Carolyn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20351     Tiana        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20352     Linda        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20353     Kathryn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20354     Tracey       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20355     Lakesha      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20356     Bonnie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20357     Candi        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20358     Patti        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20359     Cheryl       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20360     Claudia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20361     Carmen       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20362     Raechel      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20363     Candace      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20364     Judith       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20365     Deborah      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20366     Joyce        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20367     Christina    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20368     Clara        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20369     Mary         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20370     Betty        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20371     Sue          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20372     Marlene      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20373     Merrie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20374     Pam          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20375     Camille      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20376     Angela       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20377     Rebecca      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20378     Jennifer     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20379     Kathleen     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20380     Charlotte    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20381     Yundell      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20382     Betty        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 709 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 417 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  20383     Oma          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20384     Jill         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20385     Lakeshia     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20386     Cynthia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20387     Gertie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20388     Janet        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20389     Scarlett     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20390     Emma         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20391     Marquita     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20392     Susan        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20393     Catherine    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20394     Rebecca      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20395     Tamica       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20396     Teresa       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20397     Janet        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20398     Shara        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20399     Karen        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20400     Caroline     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20401     Audrey       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20402     Annette      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20403     Kathleen     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20404     Melanie      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20405     Wanda        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20406     Sandy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20407     Donna        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20408     Carole       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20409     Michelle     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20410     Barbara      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20411     Karen        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20412     Lashondra    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20413     Emma         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20414     Eva          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20415     Teneille     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20416     Dorothy      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20417     Kristen      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20418     Frankie      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20419     Nancy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20420     Mary         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20421     Danielle     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20422     Edith        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20423     Tiffany      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20424     Elnora       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20425     Meranda      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20426     Alice        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20427     Debra        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20428     Flozella     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20429     Irvena       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20430     Vontella     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20431     Madeline     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 710 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 418 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  20432     Ellie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20433     Rikki        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20434     Kathryn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20435     Roselyn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20436     Susie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20437     Alicia       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20438     Karen        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20439     Cheryl       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20440     Marilyn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20441     Joyce        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20442     Joyce        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20443     Misty        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20444     Debbie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20445     Debra        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20446     Angelique    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20447     Denise       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20448     Carla        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20449     Amy          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20450     Rolanda      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20451     Sara         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20452     Bertha       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20453     Margaret     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20454     Lakinte      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20455     Charlotte    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20456     Cheryle      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20457     Suzanne      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20458     Marcia       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20459     Billie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20460     Lillian      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20461     Justine      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20462     Joan         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20463     Karen        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20464     Darlene      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20465     Kathleen     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20466     Michelle     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20467     Sonia        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20468     Sandra       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20469     Rachel       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20470     Icy          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20471     Darlene      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20472     Jovannie     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20473     Lorella      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20474     Julia        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20475     Jeannette    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20476     Priscilla    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20477     Kathyrine    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20478     Amy          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20479     Youlanda     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20480     Misty        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
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                                       Exhibit (s) A - Q Page 711 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 419 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  20481     Margaret     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20482     Tammy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20483     Carolyn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20484     Dorinda      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20485     Barbara      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20486     Deborah      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20487     Ruthlin      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20488     Jo Ann       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20489     Patricia     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20490     Nickole      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20491     Charlotte    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20492     Julie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20493     Kimberly     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20494     Linda        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20495     Juanita      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20496     Tiffany      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20497     Karla        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20498     Connie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20499     Michelle     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20500     Pamela       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20501     Rachel       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20502     Anita        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20503     Judy         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20504     Angela       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20505     Linda        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20506     Myrna        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20507     Beth         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20508     Jaqueline    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20509     April        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20510     Loretta      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20511     Ann          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20512     Shanna       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20513     Kittie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20514     Candacie     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20515     Lourdes      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20516     Ninnia       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20517     Bobbie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20518     Mattie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20519     Annette      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20520     Adele        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20521     Brigid       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20522     Gloria       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20523     Shirley      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20524     Kathleen     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20525     Juanita      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20526     Suzanne      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20527     Mary         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20528     JeAnne       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20529     Terri        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 712 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 420 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  20530     Julie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20531     Janet        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20532     Sandra       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20533     Luebertha    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20534     Brigitte     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20535     Melissa      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20536     Whitney      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20537     Doris        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20538     Cynthia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20539     Michelle     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20540     Rebecca      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20541     Christy      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20542     Joy          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20543     Lacey        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20544     Sherry       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20545     Jane         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20546     Donna        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20547     Jeanne       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20548     Elise        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20549     Altha        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20550     Deborah      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20551     Jenny        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20552     Katie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20553     Doris        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20554     Ivy          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20555     Nadolan      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20556     Evi          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20557     Ism          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20558     Ana          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20559     Eileen       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20560     Angela       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20561     Cheryl       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20562     Kathy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20563     Sabrona      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20564     Delane       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20565     Felicia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20566     Gloria       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20567     Paula        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20568     Angela       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20569     Katie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20570     Patricia     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20571     Cynthia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20572     Caroline     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20573     Ann          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20574     Rose         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20575     Debra        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20576     Dorothy      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20577     Leslie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20578     Jennifer     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 713 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 421 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  20579     Audrey       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20580     Therese      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20581     Sharon       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20582     Marilyn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20583     Barbara      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20584     Patreeta     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20585     Mildred      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20586     Peggy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20587     Georgia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20588     Starleeth    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20589     Carmine      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20590     Maudie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20591     Andrea       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20592     Ruby         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20593     Sherry       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20594     Khadeja      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20595     Phillis      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20596     Monica       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20597     Michelle     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20598     Margaret     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20599     Michele      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20600     Carrie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20601     Jacqueline   W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20602     Gloria       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20603     Betty        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20604     Joeann       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20605     Deborah      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20606     Louise       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20607     Jacquelene   W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20608     Tereon       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20609     Marquita     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20610     Lisa         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20611     Karen        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20612     Brenda       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20613     Brenda       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20614     Brittany     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20615     Patricia     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20616     Edna         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20617     Alfredia     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20618     Sharon       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20619     Shawntel     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20620     Helen        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20621     Katonia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20622     Diane        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20623     Willette     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20624     Maria        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20625     Mary         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20626     Regina       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20627     Raechell     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK           Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                        Exhibit (s) A - Q Page 714 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 422 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
  20628     Marylynn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20629     Geraldine     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20630     Neomia        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20631     NiBeebah      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20632     Lateefah      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20633     Kathleen      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20634     Tashmia       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20635     Wendy         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20636     Janice        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20637     Shirley       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20638     Komeshion     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20639     Darlene       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20640     Debra         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20641     Doris         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20642     Patricia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20643     Carol         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20644     Annie         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20645     Mary          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20646     Matilda       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20647     Kimberly      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20648     Kim           W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20649     Dominique     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20650     Vanessa       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20651     Johnnie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20652     Jessica       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20653     Elsie         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20654     Joyce         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20655     Eddie         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20656     Patricia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20657     Archenchala   W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20658     Sandy         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20659     Wilma         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20660     Gloria        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20661     Novlette      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20662     Joycelyn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20663     Brenda        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20664     Kelly         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20665     Pamela        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20666     Sandra        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20667     Katherine     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20668     Mary          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20669     Ruby          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20670     Shadriel      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20671     Melissa       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20672     Roneear       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20673     Natashia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20674     Mary          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20675     Mae           W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20676     Molly         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 715 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 423 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  20677     Mara         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20678     Debra        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20679     Rosie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20680     Kena         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20681     Monica       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20682     Cherryl      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20683     Cynthia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20684     Stacia       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20685     Rosie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20686     Christine    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20687     Carla        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20688     Charlene     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20689     Maria        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20690     Tonya        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20691     Alice        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20692     Irma         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20693     Charlotte    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20694     Donna        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20695     Abbie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20696     Robin        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20697     Marva        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20698     Lajeana      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20699     Jessica      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20700     Thelma       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20701     Lillie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20702     Darlene      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20703     Christine    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20704     Mary         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20705     Kimberly     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20706     Barbra       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20707     Ronda        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20708     Darnlen      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20709     Alma         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20710     Jessie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20711     Suzanne      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20712     Suzanne      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20713     Nechetta     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20714     Mary         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20715     Bonnie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20716     Tamara       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20717     DelEldra     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20718     Andrea       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20719     Jean         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20720     Teresa       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20721     Kathy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20722     Lorie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20723     Cynthia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20724     Rhonda       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20725     Ollie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 716 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 424 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  20726     Amirriya     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20727     Elaine       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20728     Charlene     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20729     Barbara      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20730     Christine    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20731     Tonya        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20732     Carolyn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20733     Domanique    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20734     Maude        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20735     Jocelyn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20736     Charlene     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20737     Anita        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20738     Jacqueline   W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20739     Margaret     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20740     Leola        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20741     Ruth         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20742     Crystal      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20743     Sammi        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20744     Josephine    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20745     Josephine    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20746     Mary         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20747     Rose         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20748     Annie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20749     Libby        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20750     Patricia     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20751     Antoinette   W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20752     Carol        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20753     Linda        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20754     Jill         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20755     Alecia       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20756     Karen        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20757     Juanita      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20758     Julianna     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20759     Melody       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20760     Sharon       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20761     Ruby         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20762     Carol        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20763     Lois         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20764     Carolyn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20765     Jeanita      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20766     Annie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20767     Anna         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20768     Kathleen     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20769     Gloria       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20770     Maggie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20771     Dorothy      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20772     Ana          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20773     Bessie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20774     Shelly       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 717 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 425 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  20775     Christa      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20776     Linda        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20777     Jadi         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20778     Tammy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20779     Joan         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20780     Martina      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20781     Alfair       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20782     Tammi        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20783     Brenda       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20784     Deborah      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20785     Sharon       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20786     Joanne       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20787     Syble        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20788     Susan        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20789     Cynthia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20790     Margie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20791     Crystal      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20792     Denise       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20793     Tonda        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20794     Angie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20795     Rhonda       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20796     Jodi         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20797     Sheila       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20798     Mattie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20799     Effie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20800     Patricia     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20801     Alma         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20802     Brandy       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20803     Sheila       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20804     Martha       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20805     Bernita      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20806     Joan         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20807     Alana        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20808     Pearlie      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20809     Dorothy      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20810     Wendy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20811     Stephanie    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20812     Stephanie    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20813     Cindy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20814     Laverne      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20815     Elisa        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20816     Lisa         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20817     Joyce        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20818     Alecia       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20819     Shelly       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20820     Phyllis      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20821     Tanya        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20822     Tanya        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20823     Karel        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK           Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                        Exhibit (s) A - Q Page 718 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 426 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
  20824     Jermarnisha   W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20825     Delphina      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20826     Frances       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20827     Jenny         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20828     Donna         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20829     Linda         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20830     Jennie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20831     Tasheta       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20832     Nancy         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20833     Melissa       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20834     Alice         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20835     Amanda        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20836     Arlene        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20837     Janet         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20838     Jodie         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20839     Shantell      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20840     Elaina        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20841     Marleen       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20842     Linda         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20843     Martha        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20844     Donna         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20845     Julie         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20846     Alicia        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20847     Sheretha      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20848     Mary          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20849     Keri          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20850     Elizabeth     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20851     Rhonda        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20852     Cynthia       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20853     Sherry        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20854     Mary          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20855     Alicia        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20856     Brenda        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20857     Darlene       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20858     Shirley       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20859     Mary          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20860     Sharon        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20861     Christina     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20862     Suzanne       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20863     Stephanie     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20864     Rita          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20865     Cherie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20866     Mentha        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20867     Tina          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20868     Rebecca       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20869     Maggie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20870     Nicole        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20871     Johnnell      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20872     Melanie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 719 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 427 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  20873     LaDonna      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20874     Shonattay    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20875     Dawn         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20876     Linda        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20877     Earshla      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20878     Sharon       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20879     Anne         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20880     Sandra       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20881     Mary         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20882     (Hoyle),     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20883     Kesisha      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20884     Roshon       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20885     Amy          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20886     Patricia     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20887     Laurie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20888     Sharon       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20889     Melissa      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20890     Trini        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20891     Le’Quisa     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20892     Margaret     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20893     Jeanette     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20894     Jarene       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20895     Paris        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20896     Charlotte    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20897     Susan        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20898     Cindy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20899     Cathy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20900     Frances      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20901     Kristine     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20902     Marian       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20903     Martha       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20904     Nellie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20905     Sandra       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20906     Laura        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20907     Tammy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20908     Marcia       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20909     Vanessa      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20910     Cecelia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20911     Tammie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20912     Carolyn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20913     Katherine    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20914     Jackie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20915     Angela       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20916     Alexis       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20917     Shelley      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20918     Donna        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20919     Donna        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20920     Brenda       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20921     Sharyn       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 720 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 428 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  20922     Leann        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20923     Connie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20924     Judy         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20925     Ruth         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20926     Jerry        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20927     Sandra       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20928     Priscilla    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20929     Bernice      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20930     Michelle     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20931     Wendy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20932     Floria       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20933     Mary         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20934     Judy         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20935     Arlene       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20936     Wanda        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20937     Claudette    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20938     Sahadria     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20939     Sheila       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20940     Mary         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20941     Martha       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20942     Stacey       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20943     Kathleen     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20944     Wanda        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20945     Sandra       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20946     Sonja        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20947     Margene      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20948     Angela       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20949     Carol        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20950     Clara        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20951     Carolyn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20952     Beverly      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20953     Frances      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20954     Sherry       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20955     Alicia       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20956     April        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20957     Donna        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20958     Gayle        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20959     (Ward),      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20960     Victoria     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20961     Nancy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20962     LeAnn        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20963     Crystal      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20964     Cindy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20965     Rosario      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20966     Deborah      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20967     Barbara      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20968     Jessica      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20969     Lonetta      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20970     Kathy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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                                       Exhibit (s) A - Q Page 721 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 429 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  20971     Debra        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20972     Pamela       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20973     Vickie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20974     Deborah      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20975     Patricia     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20976     Helga        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20977     Micki        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20978     Katrina      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20979     Ewa          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20980     Loretta      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20981     Mandy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20982     Deborah      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20983     Laurie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20984     Carolyn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20985     Nicole       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20986     Cheryl       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20987     Carolyn      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20988     Freda        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20989     Cecelia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20990     Cheryl       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20991     Brandi       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20992     Patricia     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20993     Diane        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20994     Donatta      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20995     Susie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20996     Irene        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20997     Lauren       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20998     Esther       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  20999     Linda        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21000     Charlie      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21001     Mary         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21002     Dianne       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21003     Tracey       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21004     Susan        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21005     Gayle        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21006     Stephanie    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21007     Sharon       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21008     Linda        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21009     Amanda       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21010     Angela       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21011     Lila         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21012     Fern         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21013     Sandra       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21014     Theodora     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21015     Patsy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21016     Terri        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21017     Maria        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21018     Jacqueline   W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21019     Sylvia       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 722 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 430 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  21020     Rachel       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21021     Regina       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21022     Barbara      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21023     Dawn         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21024     Cheryl       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21025     Vicki        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21026     Nancy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21027     Dianna       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21028     Juliana      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21029     Sally        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21030     Jennifer     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21031     Vivian       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21032     Judy         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21033     Cynthia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21034     Ruby         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21035     Eva          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21036     Francine     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21037     Darla        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21038     Mary         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21039     Linda        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21040     Shelley      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21041     Terry        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21042     Antonia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21043     Marcella     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21044     LaGuamya     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21045     Gwen         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21046     Kim          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21047     Donna        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21048     Patricia     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21049     Dolzette     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21050     Dollezatte   W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21051     Amy          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21052     Jean         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21053     Rita         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21054     Janean       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21055     Candace      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21056     Candace      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21057     Jolynn       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21058     Carol        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21059     Wendy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21060     Ann          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21061     Michelle     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21062     Lauren       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21063     Martha       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21064     Davella      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21065     Eleanor      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21066     Cynthia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21067     Brenda       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21068     Kersta       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


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            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 723 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 431 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  21069     Karen        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21070     Maria        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21071     Debra        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21072     Christine    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21073     Jodi         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21074     Jessica      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21075     Cecelia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21076     Belinda      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21077     Leeana       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21078     Lorraine     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21079     Robin        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21080     Lillie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21081     Sheree       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21082     Mary         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21083     Jerra        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21084     Misty        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21085     Judith       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21086     Lorna        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21087     Gwendolyn    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21088     Sherrii      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21089     Deddra       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21090     LaRue        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21091     Iris         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21092     Darlene      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21093     Nancy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21094     Jan          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21095     Denise       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21096     Jessica      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21097     Gweoldyn     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21098     Monica       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21099     Lanette      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21100     Katelynn     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21101     Karla        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21102     Sharon       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21103     Susan        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21104     Mary         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21105     Ruth         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21106     Barbara      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21107     Shirley      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21108     Tanya        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21109     Karen        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21110     Debbie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21111     April        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21112     Crystal      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21113     Mary         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21114     Tonja        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21115     Danita       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21116     Earnestine   W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21117     Deborah      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK           Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                        Exhibit (s) A - Q Page 724 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 432 of 437
                First
                           Last Name
 Claimant       Name                                                      Date of
                            (injured    Date of Birth
    No.       (injured                                        SSN        Death (if
                            person)
              person)                                       (last 4)    applicable)    Claim Type
  21118     Vanessa       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21119     Ruth          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21120     Misty         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21121     Heather       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21122     Cheryl        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21123     Katie         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21124     Barbara       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21125     Donna         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21126     Loreen        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21127     Judith        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21128     Tricia        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21129     Bonnie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21130     LaWanda       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21131     Diane         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21132     Brenda        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21133     Deborah       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21134     Kathleen      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21135     Katherine     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21136     Betty         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21137     Kelly         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21138     Catherine     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21139     Susan         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21140     Oveda         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21141     Nancy         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21142     Gail          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21143     Bessie        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21144     Elizabeth     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21145     Audrey        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21146     Charlotte     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21147     Elaine        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21148     Lola          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21149     Jean          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21150     Tina          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21151     Leola         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21152     Monica        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21153     Tiffany       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21154     Angieneckia   W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21155     Phyllis       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21156     Diana         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21157     Jones,        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21158     Marina        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21159     Jean          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21160     Lisa          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21161     Irene         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21162     Doris         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21163     Janet         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21164     Verndeen      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21165     Noreen        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21166     Debra         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 725 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 433 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  21167     Tangela      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21168     Helen        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21169     Patricia     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21170     Vernita      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21171     Yolanda      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21172     Phyllis      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21173     Sandra       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21174     Janice       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21175     Ina          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21176     Latonia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21177     Glenda       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21178     Marjorie     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21179     Sharon       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21180     Katrina      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21181     Wanda        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21182     Deborah      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21183     Michelina    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21184     Brenda       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21185     Martha       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21186     Edith        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21187     Margaret     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21188     Barbara      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21189     Debra        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21190     Carole       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21191     Judy         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21192     Gwendolyn    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21193     Theresa      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21194     Corinne      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21195     Verna        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21196     Sherry       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21197     Retta        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21198     Lesa         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21199     Janet        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21200     Janet        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21201     Nancy        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21202     Mary         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21203     Robbie       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21204     Florence     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21205     Robin        W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21206     Shavonne     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21207     Hope         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21208     Anne         W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21209     Eileen       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21210     Angela       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21211     Michelle     W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21212     Georgetta    W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21213     Tyrena       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21214     Barbara      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21215     Antoinette   W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 726 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 434 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  21216     Tyrena       W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21217     Kay          W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21218     Cynthia      W.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21219     Sandra       X.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21220     Sylvia       X.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21221     Ie           X.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21222     Shari        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21223     Doris        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21224     Zhiying      Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21225     Kathy        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21226     Lucille      Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21227     Kathleen     Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21228     Mary         Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21229     Delores      Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21230     Rose         Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21231     Billie       Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21232     Susan        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21233     Rena         Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21234     Roberta      Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21235     Linda        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21236     Carol        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21237     Linda        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21238     Donna        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21239     Jolynn       Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21240     Judith       Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21241     Marlo        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21242     Terry        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21243     Naomi        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21244     Hattie       Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21245     Donna        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21246     Jane         Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21247     Wanda        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21248     Teresa       Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21249     Sophia       Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21250     Dianna       Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21251     Shawna       Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21252     Stephanie    Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21253     Anious       Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21254     Mary         Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21255     Almena       Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21256     Jeane        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21257     Suzanne      Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21258     Cynthia      Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21259     Kathy        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21260     Betty        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21261     Lyubov       Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21262     Gene         Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21263     Priscilla    Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21264     Terry        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK            Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                         Exhibit (s) A - Q Page 727 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 435 of 437
                  First
                            Last Name
 Claimant         Name                                                     Date of
                             (injured    Date of Birth
    No.         (injured                                       SSN        Death (if
                             person)
                person)                                      (last 4)    applicable)    Claim Type
  21265     Marla          Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21266     Virginia       Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21267     Diana          Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21268     Patty          Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21269     Christy        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21270     Sharon         Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21271     Jeannine       Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21272     Rose           Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21273     Yolanda        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21274     Yuko           Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21275     Meejain        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21276     Jeanne         Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21277     Wanda          Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21278     Michele        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21279     Mary           Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21280     Vicki          Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21281     Catherine      Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21282     Juanita        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21283     Ottis          Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21284     Carolyn        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21285     Joanne         Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21286     Delores        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21287     Christina      Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21288     Marteria       Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21289     Lorna          Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21290     Josephine      Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21291     Dorothy        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21292     Donna          Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21293     Candace        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21294     Pamela         Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21295     Nancy          Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21296     Penny          Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21297     Donna          Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21298     Erica          Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21299     ,              Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21300     Janet          Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21301     Carolyn        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21302     April          Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21303     Joy            Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21304     Linda          Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21305     Morgan         Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21306     Sandra         Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21307     Glenda         Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21308     Carrie         Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21309     Alice          Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21310     Sherry         Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21311     Sherry         Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21312     Lori           Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21313     Bonnie         Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 728 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 436 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  21314     Sheila       Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21315     Cynthia      Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21316     Helen        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21317     Cassandra    Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21318     Loretta      Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21319     Jessica      Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21320     Krystal      Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21321     Heidi        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21322     Ronda        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21323     Barbara      Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21324     Kelly        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21325     Kittie       Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21326     Anne         Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21327     Lynda        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21328     Valerie      Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21329     Bertha       Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21330     Tamar        Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21331     Winnie       Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21332     Anna         Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21333     Schern       Y.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21334     Marjory      Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21335     Viesta       Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21336     Darlene      Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21337     Pauline      Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21338     Dolores      Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21339     Susanna      Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21340     Gabriela     Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21341     Rosa         Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21342     Bethany      Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21343     Sherry       Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21344     Hope         Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21345     Agnes        Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21346     Gloria       Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21347     Margaret     Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21348     Gina         Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21349     Della        Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21350     Esther       Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21351     Gudrun       Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21352     Ernestina    Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21353     Agnes        Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21354     Johanna      Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21355     Kay          Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21356     Susan        Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21357     Rozina       Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21358     Mary         Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21359     Judith       Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21360     Maureen      Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21361     Carol        Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21362     Patricia     Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
            Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04             Desc
                                       Exhibit (s) A - Q Page 729 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit I-1 – Onder Law LLC - Redacted Claimant Schedule
Page 437 of 437
                First
                          Last Name
 Claimant       Name                                                     Date of
                           (injured    Date of Birth
    No.       (injured                                       SSN        Death (if
                           person)
              person)                                      (last 4)    applicable)    Claim Type
  21363     Lori         Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21364     Mary         Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21365     Frances      Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21366     Jan          Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21367     Linda        Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21368     Yamit        Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21369     Diannah      Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21370     Bennie       Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21371     Valencia     Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21372     Leslie       Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21373     Laura        Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21374     Marion       Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21375     Louisa       Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21376     Laura        Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21377     Maria        Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21378     Norma        Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21379     Kathleen     Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21380     Lori         Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21381     Roberta      Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21382     Yvonne       Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21383     Karen        Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21384     Maryann      Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21385     Natalya      Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21386     Judy         Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21387     Lesia        Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21388     Alice        Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21389     Elizabeth    Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21390     Anna         Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21391     Teresa       Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21392     Doris        Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21393     Suzanne      Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21394     Dianne       Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21395     Tina         Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21396     Karen        Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21397     Doris        Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21398     Susan        Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21399     Rose         Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21400     Karen        Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21401     Clara        Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21402     Donna        Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21403     Wendy        Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21404     Terrie       Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21405     Shirley      Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21406     Lisha        Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21407     Gretchen     Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21408     Michelle     Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21409     Joyce        Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21410     Dorothy      Z.           [Redacted]       [Redacted]     [Redacted]     [Redacted]
  21411     Tammy        T.           [Redacted]       [Redacted]     [Redacted]     [Redacted]


40000/0600-45305451v1
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                                 Exhibit I-2


                    OnderLaw, LLC Form Retainer Agreement
Case 23-01092-MBK   Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04   Desc
                    Exhibit (s) A - Q Page 731 of 1377
Case 23-01092-MBK   Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04   Desc
                    Exhibit (s) A - Q Page 732 of 1377
Case 23-01092-MBK   Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04   Desc
                    Exhibit (s) A - Q Page 733 of 1377


                                Exhibit J-1


                              Paul LLP Claims
       Case 23-01092-MBK           Doc -1     Filed 05/09/23     Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                     Exhibit (s) A - Q Page 734 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit J-1 – Paul LLP - Redacted Claimant Schedule
Page 1 of 1

                             Exhibit J-1 - Paul LLP     [REDACTED VERSION]

               First Name    Last Name                                        Date of
 Claimant                                                        SSN         Death (if
                (injured      (injured       Date of Birth
    No.                                                        (last 4)     applicable)      Claim Type
                person)       person)
     1       Marilyn        B.                    [Redacted]   [Redacted]     [Redacted]       [Redacted]
     2       Delores        C.                    [Redacted]   [Redacted]     [Redacted]       [Redacted]
     3       Manuela        D.                    [Redacted]   [Redacted]     [Redacted]       [Redacted]
     4       Josefina       G.                    [Redacted]   [Redacted]     [Redacted]       [Redacted]
     5       Rebecca        H.                    [Redacted]   [Redacted]     [Redacted]       [Redacted]
     6       Ruby           H.                    [Redacted]   [Redacted]     [Redacted]       [Redacted]
     7       Lee Ann        J.                    [Redacted]   [Redacted]     [Redacted]       [Redacted]
     8       Judie          K.                    [Redacted]   [Redacted]     [Redacted]       [Redacted]
     9       Maria          L.                    [Redacted]   [Redacted]     [Redacted]       [Redacted]
    10       Laura          O.                    [Redacted]   [Redacted]     [Redacted]       [Redacted]
    11       Lesleyann      P.                    [Redacted]   [Redacted]     [Redacted]       [Redacted]
    12       Sonia          R.                    [Redacted]   [Redacted]     [Redacted]       [Redacted]
    13       Karen          R.                    [Redacted]   [Redacted]     [Redacted]       [Redacted]
    14       Vickie         S.                    [Redacted]   [Redacted]     [Redacted]       [Redacted]
    15       Overia         S.                    [Redacted]   [Redacted]     [Redacted]       [Redacted]
    16       Mary           Z.                    [Redacted]   [Redacted]     [Redacted]       [Redacted]
    17       Diane          Z.                    [Redacted]   [Redacted]     [Redacted]       [Redacted]




40000/0600-45308176v1
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                    Exhibit (s) A - Q Page 735 of 1377


                                Exhibit J-2


                      Paul LLP Form Retainer Agreement
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                       ATTORNEY REPRESENTATION AGREEMENT

   It is hereby agreed that the law firm of PAUL LLP shall represent ______________ (“Client”)
with regard to Client’s potential claims against Johnson & Johnson and potentially others arising
from her ovarian cancer caused by regular use of products containing talc (the “Agreement”). PAUL
LLP and Client agree to the following terms and conditions:

    1. PAUL LLP shall undertake and use its best efforts to investigate the facts and conduct
surrounding Client’s potential claims against Johnson & Johnson and potentially others. In the
event that PAUL LLP believes that Client has viable and potentially successful claims, PAUL LLP
agrees to continue investigation, filing, trial and appeal of those claims. In the event that PAUL
LLP believes that Client does not have viable and/or potentially successful claims, Client agrees
that PAUL LLP may, in its sole and exclusive discretion, terminate this Agreement.

    2. In consideration for PAUL LLP’s representation in connection with this matter, Client
agrees to pay PAUL LLP




   4. PAUL LLP maintains errors and omissions coverage applicable to the services to be
rendered under this Agreement.

    5. Client acknowledges that PAUL LLP has made no promises about the outcome of this action
and any opinion offered by PAUL LLP in the future will not constitute a guaranty about the outcome
of this action.

    6. The parties agree that this matter is undertaken based on the understanding to date of the
facts and the persons/entities from whom recovery may be sought. The client agrees to cooperate
fully with PAUL LLP, disclose all relevant facts and promptly advise PAUL LLP of any change in
address, telephone number, and contact information. Further, any of the parties may terminate this
Agreement at any time if disagreements arise concerning the handling of this matter or if PAUL

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LLP is precluded by applicable rules of professional conduct from continuing representation of
Client. If PAUL LLP is terminated, it will retain a lien on any proceeds from this matter in an
amount to be determined by an analysis of the amount and value of the work performed prior to
the day of termination or as more thoroughly defined by a quantum merit application. It is
understood that Client can ask the Court presiding over this matter to review the fees herein.

    7. This Agreement contains the entire agreement of the parties. No other agreement,
statement, or promise made on or before the effective date of this Agreement will be binding on
the parties. This Agreement may be modified only in a writing signed by the parties.

   8.

                Client agrees that these “additional lawyers” may act on Client’s behalf as Client’s
attorneys.




    11. Client has been advised that Missouri Rule of Professional Conduct 4-1.15 requires PAUL
LLP retain Client files for six (6) years after completion or termination of representation. Client
expressly waives this requirement and acknowledges that PAUL LLP’s practice is to retain files for
one (1) year after the representation is complete. Client has been advised of the material risks of
this waiver, including that not having his/her Client file may impede his/her ability to prosecute or
defend against future lawsuits; and the reasonably available alternatives to this waiver, including
PAUL LLP retaining files for six (6) years electronically or off-site. Client expressly understands
that if he/she wants his/her file, he/she must make arrangements to collect the records from the
Firm within one (1) year after the representation is complete.

    12. Client is advised that electronic mail (“email”) carries risks of interception of the message
as it travels through the internet as well as through any network to which the computer may be
connected. Also, there is potential for interception from the individual computer that Client will
                                                 2
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be using to send or receive email. Risk of interception includes the possibility that the message
could be randomly intercepted and disclosed by an otherwise disinterested person as well as by
someone specifically interested in the matter which is the subject of the communication. Having
been fully advised of such risks, Client knowingly and willingly consents to communication
between himself/herself and PAUL LLP via email.



CLIENT                                          PAUL LLP



By:                                             By:
                                                      Rick Paul


Date:_________________________                  Date:_____________________________




                                               3
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                                Exhibit K-1


                        Pulaski Kherkher, PLLC Claims
         Case 23-01092-MBK         Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 740 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 1 of 149

                           Exhibit K-1 - Pulaski Kherkher, PLLC [REDACTED VERSION]

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
    1        Darla         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    2        Betty         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    3        Kathy         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    4        Germaine      A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    5        Karen         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    6        Sheila        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    7        Victoria      A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    8        Lenda         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    9        Diane         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    10       Gloria        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    11       Martha        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    12       Rosa          A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    13       Felicita      A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    14       Teresa        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    15       Jovan         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    16       Shamika       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    17       D'asia        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    18       Teriyana      A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    19       Aleaa         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    20       Alice         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    21       Toneika       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    22       Mary-Ann      A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    23       Stephanie     A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    24       Barbara       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    25       Ashley        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    26       Eleanor       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    27       Elizabeth     A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    28       Janet         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    29       Margaret      A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    30       Maggie        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    31       Janet         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    32       Brenda        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    33       Jacqueline    A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    34       Cheryl        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    35       Tishawna      A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    36       Tanikia       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    37       Savona        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    38       Sylvia        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    39       Chastity      A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    40       Pamela        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
         Case 23-01092-MBK         Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 741 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 2 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
    41       Devanne       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    42       Fabiola       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    43       Bernadette    A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    44       Susana        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    45       Sarah         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    46       Jamoda        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    47       Jennifer      A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    48       Sandra        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    49       Kristin       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    50       Shatoya       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    51       Ailene        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    52       Patricia      A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    53       Ellen         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    54       Georgana      A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    55       Renee         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    56       Leslie        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    57       Stephanie     A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    58       Michell       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    59       Gloria        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    60       Betty         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    61       Audrey        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    62       Debra         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    63       Juanita       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    64       Valerie       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    65       Sherry        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    66       Malika        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    67       Zyairra       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    68       Kimesha       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    69       Dorine        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    70       Danielle      A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    71       Rakad         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    72       Stacey        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    73       Doraina       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    74       Lolisha       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    75       Rebecca       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    76       Jasmine       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    77       Mary          A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    78       Carolin       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    79       Letha         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    80       Sharon        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    81       Connie        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    82       Natasha       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 742 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 3 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
     83      Alicia Ann    A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
     84      Ola           A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
     85      Doris         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
     86      Faye          A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
     87      Dorothy       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
     88      Mary          A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
     89      Mary          A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
     90      Nyoka         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
     91      Joyce         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
     92      Wannette      A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
     93      Bambi         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
     94      Angela        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
     95      Norene        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
     96      Amanda        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
     97      Cach’e        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
     98      Hope          A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
     99      Barbara       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    100      Angela        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    101      Joann         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    102      Omayra        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    103      Joan          A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    104      Melissa       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    105      Jennifer      A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    106      Dawn          A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    107      Cindy         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    108      Felicia       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    109      Maria         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    110      Toni          A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    111      Fetaomi       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    112      Debra         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    113      Elaine        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    114      Grace         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    115      Brenda        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    116      Chakilia      A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    117      Annmarie      A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    118      Iesha         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    119      Linda         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    120      Gloria        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    121      Shaun         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    122      Christy       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    123      Tanya         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    124      Kerry         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 4 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
    125      Cynthia      A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    126      Lorrie       A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    127      Neoma Fannie A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    128      Angela       A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    129      Amanda       A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    130      Tammie       A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    131      Ziane        A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    132      Shaquinna    A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    133      Sharon       A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    134      Kothnia      A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    135      Shaquawndra A.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
    136      Charlene     A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    137      Kaye         A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    138      Donna        A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    139      Dashia       A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    140      Stephanie    A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    141      Donna        A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    142      Geraldine    A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    143      Jessica      A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    144      Marie        A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    145      Debora       A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    146      Nadine       A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    147      Betty        A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    148      Laura        A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    149      Cristina     A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    150      Patricia     A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    151      Angela       A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    152      Teresa       A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    153      Kathleen     A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    154      Queen        A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    155      Lauren       A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    156      Melissa      A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    157      Melissa      A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    158      Cathy        A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    159      Wendy        A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    160      Deborah      A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    161      Lorraine     A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    162      Gelia        A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    163      Genina       A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    164      Linda        A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    165      Darlene      A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
    166      Dana         A.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
    167      Eva           A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    168      Crystal       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    169      Norma         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    170      Shelli        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    171      Carlee        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    172      Jacquelyn     A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    173      Dorothy       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    174      Laura         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    175      Melissa       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    176      Erica         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    177      Robin         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    178      Melissa       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    179      Elizabeth     A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    180      Angelia       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    181      Patricia      A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    182      Mirta         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    183      Maria         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    184      Priscila      A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    185      Jacqueline    A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    186      Feliza        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    187      Denise        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    188      Candice       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    189      Patricia      A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    190      Thelma        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    191      Laura         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    192      Tanjia        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    193      Kathryn       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    194      Mikesha       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    195      Tara          A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    196      Ivy           A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    197      Karen         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    198      Barbara       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    199      Shelby        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    200      Dorothy       A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    201      Tracie        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    202      Judy          A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    203      Marie         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    204      Marcia        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    205      Robin         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    206      Blondine      A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    207      Trina         A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    208      Brenda        A.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 745 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 6 of 149

              First Name      Last Name
 Claimant                                                        SSN      Date of Death
               (injured        (injured     Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)         person)
    209      Olga            A.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    210      Sherry-Ann      A.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    211      Robin Lynn      A.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    212      Pamela          A.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    213      Gail            A.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    214      Alicia          A.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    215      Sherry          A.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    216      Virginia        A.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    217      Shirley         A.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    218      Shelly Denise   B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    219      Kristina        B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    220      Christine       B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    221      Judy Henry      B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    222      Rosie           B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    223      Valerie         B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    224      Emily           B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    225      Jennifer        B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    226      Sharon          B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    227      Susan           B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    228      Dortha          B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    229      Alma            B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    230      Toni            B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    231      Lakesha         B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    232      Mary            B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    233      Sharon          B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    234      Grace           B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    235      Rachel          B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    236      Daphne          B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    237      Janice          B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    238      Leila           B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    239      Dashanna        B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    240      Bernice         B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    241      Nittie          B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    242      Carmen          B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    243      Brenda          B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    244      Josephine       B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    245      Vivian          B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    246      Kelly           B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    247      Rosalyn         B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    248      Catherine       B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    249      Tatiana         B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
    250      Karla           B.             [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 746 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 7 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
    251      Lydia          B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    252      Mary           B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    253      Rachael        B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    254      Priscilla      B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    255      Adacilia       B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    256      Regina         B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    257      Lynette        B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    258      Brittany       B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    259      Yolanda        B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    260      Tabatha        B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    261      Julie          B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    262      Alma Lee       B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    263      Bernistine     B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    264      Maria          B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    265      Corrinne       B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    266      Shalisha       B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    267      Susan          B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    268      Alice          B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    269      Tonia          B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    270      Mary           B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    271      Iesha          B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    272      Diana          B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    273      Morgan         B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    274      Ethel          B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    275      Ashley         B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    276      Jeanette       B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    277      Zoe            B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    278      Joan           B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    279      Shirley        B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    280      Stephanie Inez B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    281      Shemika        B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    282      Julia          B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    283      Sonia          B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    284      Carol          B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    285      Brittany       B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    286      Janice         B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    287      Velda          B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    288      Guadalupe      B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    289      Nellie         B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    290      Ethel          B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    291      Reather        B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
    292      Noel           B.              [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 747 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 8 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
    293      Carolyn       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    294      Nancy         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    295      Betty         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    296      Azucena       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    297      Gisela        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    298      Blanca        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    299      Felicia       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    300      Kaitlin       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    301      Tonya         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    302      Meda          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    303      Sela          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    304      Rose Ruth     B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    305      Patricia      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    306      Susan         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    307      Carrie        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    308      Delores Ann   B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    309      Tatiana       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    310      Tera          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    311      Diane         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    312      Heather       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    313      Julie         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    314      Damia         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    315      Ginger        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    316      Sharley       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    317      Sandra        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    318      Eva           B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    319      Sharon        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    320      Barbara       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    321      Janie         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    322      Amanda        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    323      Brenda        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    324      Carolyn       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    325      Keona         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    326      Regina        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    327      Suzanne       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    328      Juanita       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    329      Carla         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    330      Marjorie      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    331      Tanya         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    332      Jacqueline    B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    333      Carolyn       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    334      Patricia      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 748 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 9 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
    335      Emmaretta     B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    336      Florinda      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    337      Shelia        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    338      Jojean        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    339      Kathy         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    340      Sandra        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    341      Queen         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    342      Robin         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    343      Donna         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    344      Brandy        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    345      Debbie        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    346      Brenda        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    347      Shaunase      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    348      Gail          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    349      Cinda         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    350      Hazel         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    351      Patricia      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    352      Carol         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    353      Anita         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    354      Deanna        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    355      Barbara       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    356      Sandra        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    357      Martha        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    358      C.J.          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    359      Barbara       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    360      Toni          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    361      Patricia      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    362      Laura         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    363      Shayla        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    364      Loretta       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    365      Marthenia     B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    366      Helen         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    367      Dorothy       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    368      Marjorie      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    369      Christy       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    370      Debra         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    371      Jamila        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    372      Terry         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    373      Ozella        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    374      Linda         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    375      Johnnie       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    376      Judith        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 749 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 10 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
    377      Tracie        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    378      Cynthia       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    379      Kelly         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    380      Ashante       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    381      Catherine     B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    382      Dorothy       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    383      Stacy         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    384      Rhodnicka     B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    385      Tanisha       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    386      Tabatha       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    387      Mary          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    388      Linda         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    389      Karen         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    390      Susan         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    391      Doretha       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    392      Suzan         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    393      Linda         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    394      Susie         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    395      Tressie       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    396      LaRosa        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    397      Cheryl        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    398      Herlinda      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    399      Jennifer      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    400      Brenda        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    401      Stephanie     B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    402      Julia         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    403      Lynn          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    404      Janet         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    405      Kathleen      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    406      Mary          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    407      Janice        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    408      Alexcia       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    409      Sherri        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    410      Mary          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    411      Carolyn       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    412      Linda         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    413      Stella        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    414      Michelle      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    415      Kimberly      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    416      Natalee       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    417      Amanda        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    418      Yaumiri       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 750 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 11 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
    419      Essence       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    420      Zena          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    421      Beverly       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    422      Barbara       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    423      Lynn          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    424      Sara          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    425      Dale          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    426      Shakuntala    B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    427      Chanta        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    428      Leola         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    429      Linda         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    430      Heather       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    431      Kately        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    432      Marlena       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    433      Gail          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    434      Idamae        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    435      Kalene        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    436      Connie        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    437      Lonye         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    438      Althea        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    439      Sade          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    440      Amber         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    441      Barbara       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    442      Lillian       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    443      Joyce         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    444      Chelsea       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    445      Karen         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    446      Lydia         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    447      Geneva        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    448      Tomar         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    449      Jennifer      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    450      Frances       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    451      Joyce         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    452      Natasha       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    453      Joyce         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    454      Alicia        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    455      Patrice       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    456      Brandi        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    457      Miranda       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    458      Lucretia      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    459      Donna         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    460      Samantha      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

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       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 751 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
    461      Glenda        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    462      Hazel         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    463      M Jo          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    464      Tandra        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    465      Jeanne        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    466      Mary          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    467      Lorene        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    468      Sandra        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    469      Winifred      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    470      Jennifer      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    471      Josephine     B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    472      Veron         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    473      Mary          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    474      Helen         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    475      Rosemary      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    476      Martha        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    477      Violet        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    478      Emma          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    479      Misti         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    480      Belinda       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    481      Donna         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    482      Marcia        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    483      Jeanne        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    484      Carolynn      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    485      Jan           B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    486      Victoria      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    487      Sonya         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    488      Lorene        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    489      Porsha        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    490      Adria         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    491      Karen         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    492      Josiephine    B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    493      Betty         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    494      Diane         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    495      Gail          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    496      Krista        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    497      Lillie        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    498      Kimberly      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    499      Lauren        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    500      Gwendolyn     B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    501      Patricia      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    502      Rene          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 752 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
    503      Delores       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    504      Rosemarie     B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    505      Roxanne       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    506      Beatrice      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    507      Katie         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    508      Lanis         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    509      Diamond       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    510      Constance     B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    511      Doris         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    512      Lashandra     B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    513      Gwendolyn     B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    514      Beverly       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    515      Virence       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    516      Kathy         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    517      Acoqunita     B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    518      Elizabeth     B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    519      Tatasha       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    520      Pam           B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    521      Shirley       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    522      Kadine        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    523      Unique        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    524      Elena         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    525      Eleanor       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    526      Kinder        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    527      Victoria      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    528      Ana           B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    529      Anneque       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    530      Amy           B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    531      Mary          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    532      Tamara        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    533      Rose          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    534      Jennifer      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    535      Kelly         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    536      Monica        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    537      Lisa          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    538      Levonda       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    539      Monika        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    540      Joyce         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    541      Amiee         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    542      Brenda        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    543      Cora          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    544      Lisa          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

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In re: LTL Management LLC, Case No.    23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 14 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
    545      Ann           B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    546      Mercedes      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    547      Katie         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    548      Rhoda         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    549      Angela        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    550      Kaleeta       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    551      Anne          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    552      Sheryl        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    553      Carrie        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    554      Brenda        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    555      Tasha         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    556      Tammy         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    557      Arrilla       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    558      Frances       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    559      Tiffany       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    560      Geneva        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    561      Michele       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    562      Verna         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    563      Lisa          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    564      Mary          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    565      Sheena        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    566      Angelle       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    567      Verna         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    568      Marjorie      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    569      Catherine     B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    570      Ethel Maria   B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    571      Krystal       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    572      Rebecca       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    573      Renee         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    574      Tiffany       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    575      Michelle      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    576      Judith        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    577      Lisa          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    578      Mercille      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    579      Salathia      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    580      Cleo          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    581      Bambi         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    582      Ethel         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    583      Myra          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    584      Nancy         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    585      Dolores       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    586      Diana         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 15 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
    587      Debra         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    588      Cornelia      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    589      Katharine     B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    590      Alysha        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    591      Catherine     B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    592      Terri         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    593      Patricia      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    594      Myrtle        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    595      Terri         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    596      Jamie         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    597      Lawanda       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    598      Rashanique    B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    599      Mattie        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    600      Bonnie        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    601      Ashley        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    602      Melissa       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    603      Jayvonia      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    604      Angie         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    605      Beverly       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    606      Sherry        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    607      Billie        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    608      Cecilia       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    609      Gladys        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    610      Carolyn       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    611      Amy           B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    612      Dana          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    613      Callie        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    614      Cathleen      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    615      Tyanah        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    616      Cynthia       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    617      Dorothy       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    618      Teresa        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    619      Patricia      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    620      Crystal       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    621      Bettye        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    622      Diana         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    623      Nicke         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    624      Delisa        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    625      Susan         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    626      Latonya       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    627      Rosiland      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    628      Victoria      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 755 of 1377
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Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
    629      Joyce         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    630      Veronica      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    631      Melissa       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    632      Annie         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    633      Avril         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    634      Jayna         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    635      Jennifer      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    636      Avies         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    637      Shalonda      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    638      Joan          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    639      LaKeisha      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    640      Brishaye      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    641      Amy           B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    642      Joyce         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    643      Latrisha      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    644      Gina          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    645      Margaret      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    646      Sharla        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    647      Ermastine     B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    648      Elizabeth     B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    649      Tammy         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    650      Kamisha       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    651      Jeannine      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    652      Mary          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    653      Denice        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    654      Trudie        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    655      Jessica Marie B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    656      Sarina        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    657      Johnnie       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    658      Micaela       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    659      Carla         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    660      Margaret      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    661      Abigail       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    662      Sonja         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    663      Shelene       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    664      Mary          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    665      Teresa        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    666      Shanta        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    667      Brittney      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    668      Quintina Rene B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    669      Angela        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    670      Linda         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 756 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 17 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
    671      Mandisa       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    672      Nell          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    673      Rosalee       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    674      Dolores       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    675      Seleatha      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    676      Casey         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    677      Jennifer      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    678      Esther        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    679      Cheryl        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    680      Ella May      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    681      Rena          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    682      Glenda        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    683      Cortesa       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    684      Sheryl        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    685      Henrietta     B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    686      Angela        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    687      Anne          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    688      Joyce         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    689      Trina         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    690      Carolyn       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    691      Heather       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    692      Yvonne        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    693      Susan         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    694      Karen         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    695      Aleshia       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    696      Crystal       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    697      Patricia      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    698      Lorene        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    699      Cheryl        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    700      Teresa        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    701      Sherry        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    702      Aprille       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    703      Esther        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    704      Judy          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    705      Rose          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    706      Tracy         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    707      Callean       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    708      Wanda         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    709      Patricia      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    710      Anne          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    711      Jahkeda       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    712      Melissa       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 757 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 18 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
    713      June          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    714      Dorothy       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    715      Johnnie       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    716      Jakerra       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    717      Lauren        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    718      Brenda        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    719      Maribeth      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    720      Barbara       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    721      Coriane       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    722      Tabatha       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    723      Mona          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    724      Susan         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    725      Stephanie     B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    726      Phyllis       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    727      Kathleen      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    728      Kristin       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    729      Brenda        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    730      Victoria      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    731      Mary          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    732      Linda         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    733      Susan         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    734      Candy         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    735      Yvonne        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    736      Valencia      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    737      Ashley        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    738      Carole        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    739      Agnes         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    740      Jane          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    741      Joaneva       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    742      Darla         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    743      Judith        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    744      Wanda         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    745      April         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    746      Joisey        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    747      Susan         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    748      Serita        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    749      Leeann        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    750      Donna         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    751      Mary          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    752      Michelle      B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    753      Sabrina       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    754      Janice        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 758 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 19 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
    755      Deborah       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    756      Tawanza       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    757      Nicole        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    758      Kemuel        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    759      June          B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    760      Peggy         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    761      Heather       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    762      Maria         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    763      Vivian        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    764      Yvonne        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    765      Kristi        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    766      Marcia        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    767      Elnora        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    768      Bashona       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    769      Shena         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    770      Linda         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    771      Amanda        B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    772      Peggy         B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    773      Georgia       B.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    774      Dannette      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    775      Piedad        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    776      Ana           C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    777      Sandra        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    778      Elizabeth     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    779      Dianne        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    780      Betty         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    781      Sondra        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    782      Carrie        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    783      Rosie         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    784      Maria-Katrina C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    785      Patricia      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    786      Janina        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    787      Evelyn        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    788      Meshell       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    789      Adelaida      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    790      Elizabeth     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    791      Terencia      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    792      Patricia      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    793      Esther        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    794      Wanda         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    795      Rebecca       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    796      Melinda       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 759 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 20 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
    797      Margaret      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    798      Doreen        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    799      Michelle      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    800      Brenda        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    801      Sherry        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    802      Rosalie       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    803      Mary          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    804      Gail          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    805      Carla         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    806      Carol         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    807      Nicole        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    808      Melissa       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    809      Amanda        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    810      Ashley        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    811      Melissa       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    812      Cynthia       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    813      Chasity       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    814      Brenda        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    815      Pauline       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    816      Shelia        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    817      Kema          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    818      Carlohita     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    819      Susan         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    820      Cynthia       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    821      Julie         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    822      Patricia      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    823      Elinor        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    824      Diane         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    825      Rosalinda     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    826      Mikki         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    827      Antoinette    C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    828      Alicia        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    829      Marjorie      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    830      Josephine     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    831      Silvia        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    832      Felecia       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    833      Lisa          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    834      Carrin        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    835      Dawn          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    836      Sabrina       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    837      Tahkeyshia    C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    838      Patricia      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 760 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 21 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
    839      Pamela        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    840      Pamela        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    841      Lisa          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    842      Maria         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    843      Sherita       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    844      Patrice       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    845      Catherine     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    846      Betty         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    847      Candy         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    848      Courtney      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    849      Angel         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    850      Irene         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    851      Bonnie        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    852      Diana         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    853      Doris         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    854      Melissa       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    855      Diane         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    856      Dorothy       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    857      Mirna         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    858      Jalonda       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    859      Bertha        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    860      Krystal       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    861      Jannie        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    862      Khanya        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    863      Tawanda       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    864      Demetria      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    865      Dana          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    866      Mittie        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    867      Tanika        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    868      Leisha        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    869      Mary          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    870      Melissa       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    871      Lakeijuh      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    872      Twilla        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    873      Lynn          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    874      Teresa        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    875      Rubi          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    876      Anna          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    877      Elizabeth     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    878      Jessica       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    879      Christine     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    880      Raelene       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 761 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 22 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
    881      Julie         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    882      Tina          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    883      Kathleen      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    884      Alamar        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    885      Jennifer      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    886      Crystal       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    887      Beckie        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    888      Sarah         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    889      Maria         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    890      Mirella       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    891      Marie         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    892      Maria         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    893      Laura         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    894      Barbara       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    895      Regina        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    896      Kassondra     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    897      Sherrish      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    898      Deborah       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    899      Jacquline     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    900      Gracie        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    901      Maria         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    902      Debbie        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    903      Yolanda       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    904      Maria         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    905      Linda         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    906      Alicia        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    907      Zamantha      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    908      Crystal       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    909      Ella          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    910      Deborah       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    911      Carmen        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    912      Corenthia     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    913      Noemi         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    914      Peggy         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    915      Tracy         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    916      Lyndsay       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    917      Susan         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    918      Tina          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    919      Shelby        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    920      Dawn          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    921      Rosa          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    922      Christine     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 762 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 23 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
    923      Alice         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    924      Yu            C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    925      Gloria        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    926      Susan         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    927      Stephanie     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    928      Gertrude      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    929      Barbara       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    930      Tawnya        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    931      Erma Jean     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    932      Comelia       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    933      Linda         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    934      Iona          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    935      Patricia      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    936      Lisa          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    937      Tara          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    938      Melanie       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    939      Kathleen      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    940      Sharon        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    941      Barbara       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    942      Imelda        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    943      Helen         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    944      Tinamarie     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    945      Yvonne        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    946      Ingrid        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    947      Patricia      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    948      CarmenLita    C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    949      Donna         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    950      Jennifer      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    951      Equilla       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    952      Carolyn       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    953      Teresa        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    954      Rajay         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    955      Censi         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    956      Michele       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    957      Jung          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    958      Barbara       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    959      Gloria        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    960      Twanequa      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    961      Katherine     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    962      Diane         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    963      Hanane        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
    964      Aschante      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 763 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 24 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   965       Tammie        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   966       Marian        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   967       Mary          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   968       Roxanne       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   969       Deborah       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   970       Teresa        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   971       Julie         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   972       Ashley        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   973       Vikki         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   974       Sina          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   975       Alice         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   976       Tonya         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   977       Patrizia      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   978       Elaine        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   979       Alessandra    C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   980       Paola         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   981       Elga          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   982       Andrea        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   983       Esmeralda     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   984       Dolores       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   985       Toni          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   986       Barbara       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   987       Tameka        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   988       Mary          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   989       Latrisha      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   990       Tammy         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   991       Decima        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   992       Amber         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   993       Sonya         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   994       Aliesha       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   995       Theresa       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   996       June          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   997       Deborah       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   998       Brenda        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   999       Zina          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1000      Casey         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1001      Sabrina       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1002      Dorothy       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1003      Marjorie      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1004      Ann           C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1005      Eulalyn       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1006      Sharolyn      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 764 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 25 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   1007      Barbara        C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1008      Mary           C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1009      Ashlei         C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1010      Julia          C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1011      Karen          C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1012      Velma          C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1013      Renita         C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1014      Melissa        C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1015      Bettye         C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1016      Ruth           C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1017      Queen ElizabethC.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1018      Patricia       C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1019      Claudia        C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1020      Georgina       C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1021      Zemira         C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1022      Ashley         C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1023      Lucuquis       C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1024      Henrietta      C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1025      Valerie        C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1026      Juli           C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1027      Virginia       C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1028      Molly          C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1029      Lavonia        C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1030      Dominique      C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1031      Kennedy        C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1032      Easter         C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1033      Lori           C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1034      Jennifer       C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1035      Vicky Branum C.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1036      Robin          C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1037      Latasha        C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1038      Jacqueline     C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1039      Marsha         C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1040      Lisa           C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1041      Glenna         C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1042      Bobby          C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1043      Linda          C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1044      Willie Mae     C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1045      Glennie        C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1046      Johnite        C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1047      Laura          C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1048      Patricia       C.              [Redacted]      [Redacted]    [Redacted]        [Redacted]

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       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 765 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 26 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   1049      Juanita       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1050      Jacqueline    C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1051      Doris         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1052      Tammy         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1053      Brandis       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1054      Sherida       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1055      Natalie       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1056      Regina        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1057      Maria         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1058      Rose          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1059      Yvonne        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1060      Porsche       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1061      Jennifer      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1062      Barbara       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1063      Angela        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1064      Crystal       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1065      Joyce         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1066      Melissa       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1067      Brandy        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1068      Rlexus        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1069      Haittia       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1070      Delores       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1071      Dianne        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1072      Johna         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1073      Mary          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1074      Patricia      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1075      Jannell       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1076      Norma         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1077      Juanita       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1078      Deborah       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1079      Destiny       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1080      Monica        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1081      Betty         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1082      Cathy         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1083      Amy           C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1084      Deborah       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1085      Christine     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1086      Teresa        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1087      Rosemarie     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1088      Salley        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1089      Sally         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1090      Lanik         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 766 of 1377
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Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 27 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   1091      Jessye        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1092      Kathy         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1093      Candace       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1094      Stephanie     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1095      Chacty        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1096      Sonia         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1097      Lisa          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1098      Sylvia        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1099      Kathleen      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1100      Johanna       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1101      Doris         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1102      Mary          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1103      Debora        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1104      Denise        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1105      Sara          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1106      Mary          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1107      Kelly         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1108      Tina          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1109      Phyllis       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1110      Terri         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1111      Michelle      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1112      Kathleen      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1113      Courtney      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1114      Kimberly      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1115      Yvonne        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1116      Carolyn       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1117      Tashea        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1118      Margaret      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1119      Linda         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1120      Dorothy       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1121      Tammy         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1122      Demetra       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1123      Tamala        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1124      Marie         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1125      Jacqueline    C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1126      Alicia        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1127      Milagros      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1128      Lucy          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1129      Benedicta     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1130      Alison        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1131      Rita          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1132      Azalia        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 767 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 28 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   1133      Kathleen      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1134      Lynette       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1135      Iris          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1136      Minnie        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1137      Trisha        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1138      Sylvia        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1139      Charlotte     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1140      Phyllis       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1141      Rachel        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1142      Annette       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1143      Shailee       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1144      Maureen       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1145      Suzanne       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1146      Jackie        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1147      Glenda        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1148      Marie         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1149      Maria         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1150      Peggy         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1151      Iona          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1152      Jerrolyn      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1153      Constance     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1154      Patricia      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1155      Tina          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1156      Jean          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1157      Beulah        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1158      Edwana        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1159      Laura         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1160      Lisa Ann      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1161      Nancy         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1162      Dorothy       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1163      Krista        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1164      Stephanie     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1165      Carol         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1166      Christine     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1167      April C       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1168      Lamern        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1169      Tammy Jo      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1170      Jessica       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1171      Paula         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1172      Debirah       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1173      Shawne        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1174      Tiffany       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 768 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 29 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   1175      Misty         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1176      Sharon        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1177      Stephanie     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1178      Stephanie     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1179      Felicia       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1180      Kara          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1181      Willette      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1182      Maria         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1183      Lydia         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1184      Nayslan       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1185      Kisha         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1186      Brenda        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1187      Sierra        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1188      Lajuana       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1189      Therese       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1190      Patrice       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1191      Jennifer      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1192      Martha        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1193      Patricia      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1194      Phyliss       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1195      Taryn         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1196      Angela        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1197      Doris         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1198      Rita          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1199      Shavonne      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1200      Yolanda       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1201      Loretta       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1202      Elizabeth     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1203      Patricia      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1204      Barbara       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1205      Daphne        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1206      Carolyn       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1207      Sheila        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1208      Michele       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1209      Cheryl        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1210      Clementine    C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1211      Haydee        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1212      Milagros      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1213      Jessica       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1214      Michelle      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1215      Amanda        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1216      Rosita        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 769 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 30 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   1217      Meligza       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1218      Cassandra     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1219      Martha        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1220      Elsa          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1221      Milagros      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1222      Milagros      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1223      Rosalinda     C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1224      Kali          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1225      Kali          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1226      Jennifer      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1227      Addie         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1228      Lola          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1229      Linda         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1230      Terrie        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1231      Karen         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1232      Debbie        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1233      Lisa          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1234      Janet         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1235      Susan         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1236      Debora        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1237      Susan         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1238      Regina        C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1239      Angelica      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1240      Tammy         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1241      Earla         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1242      Florence      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1243      Mary          C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1244      Anita         C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1245      Patricia      C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1246      Gordana       C.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1247      Rachel        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1248      Earlyn        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1249      Ana           D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1250      Ana           D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1251      Wanda         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1252      Linda         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1253      Jennifer      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1254      Linda         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1255      Natalie       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1256      Nancy         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1257      Waynetta      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1258      Sheila        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 770 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 31 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   1259      Gloriest       D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1260      Heather        D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1261      Ruthann        D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1262      Jo             D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1263      Jennifer       D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1264      Ydette         D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1265      Ola Linnita    D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1266      Erma           D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1267      Jerri          D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1268      Dealyer        D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1269      Katrina        D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1270      Artina         D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1271      Lorane         D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1272      Stephanie      D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1273      Diana          D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1274      Marjorie Adele D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1275      Eva            D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1276      Marguerite     D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1277      Nancy          D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1278      Barbara        D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1279      Agness         D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1280      Ann            D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1281      Kimberly       D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1282      Larecia        D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1283      Bertha         D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1284      Tabitha        D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1285      Esther         D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1286      Wendy          D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1287      Josette        D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1288      Theresa        D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1289      Helen          D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1290      Bertha         D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1291      Michele        D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1292      Mariah         D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1293      Jenifer        D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1294      Pamela         D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1295      Victoria       D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1296      Maureen        D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1297      Jamichelle     D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1298      Janet          D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1299      Jeanine        D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1300      Conetta        D.              [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 771 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 32 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   1301      Deborah       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1302      Minnie        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1303      Thelma        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1304      Cherron       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1305      Shelia        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1306      Sandra        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1307      Sharon        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1308      Epa           D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1309      Temperance    D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1310      Mercedes      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1311      Denesha       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1312      Donna         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1313      Shaunda       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1314      Victoria      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1315      Marys         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1316      Laura         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1317      Gaynelle      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1318      Charlene      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1319      Amber         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1320      Regina        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1321      Earnestine    D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1322      Montoya       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1323      Jackie        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1324      Tiffany       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1325      Sandra        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1326      Virginia      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1327      Willie        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1328      Tiffany       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1329      Bertha        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1330      Carole        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1331      Brenda        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1332      Levette       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1333      Teresa        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1334      Darcy         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1335      Wanda         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1336      Rita          D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1337      Kimberly      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1338      Jacquice      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1339      Bonnie        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1340      Leticia       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1341      Yolonda       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1342      Cynthia       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 772 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 33 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   1343      Scottie       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1344      Myrtle        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1345      Rita          D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1346      Frankie       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1347      Kristin       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1348      Redecca       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1349      Teresa        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1350      Olivia        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1351      Theresa       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1352      Guadalupe     D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1353      Dorothy       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1354      Carole        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1355      Cindy         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1356      Amy           D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1357      Carmen        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1358      Marlynn       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1359      Constance     D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1360      Nell          D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1361      Ramona        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1362      Willie        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1363      Delbernette   D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1364      Donna         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1365      Irene         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1366      Margaret      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1367      Maria         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1368      Suzanne       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1369      Maria         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1370      Anna          D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1371      Anna          D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1372      Vickie        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1373      Karen         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1374      Margaret      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1375      Monica        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1376      Patricia      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1377      Hazmine       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1378      Nohemi        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1379      Yvonne        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1380      Kizzy         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1381      Jennifer      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1382      Carolyn       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1383      Tereasa       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1384      Lonzetta      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 773 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 34 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   1385      Spring        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1386      Carol         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1387      Heather       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1388      Beverly       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1389      Ruth          D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1390      April         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1391      Laurie        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1392      Mary Jo       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1393      Sandra        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1394      Irene         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1395      Sonya         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1396      Elizabeth     D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1397      Nicole        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1398      Rhonda        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1399      Marie         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1400      Stephanie     D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1401      Sherry        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1402      Angie         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1403      Jammie        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1404      April         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1405      Marlaa        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1406      Bonnie        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1407      Pamela        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1408      Angela        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1409      Sandra        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1410      Latasha       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1411      Sarah         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1412      Linda         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1413      Robin         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1414      Elizabeth     D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1415      Ashley        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1416      Guinda Lahaie D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1417      Patricia      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1418      Vicky         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1419      Faith         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1420      Claricia      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1421      Roxana        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1422      Janice        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1423      Brittani      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1424      Constance     D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1425      Kelly         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1426      Jamie         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 774 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 35 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   1427      Rita          D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1428      Nirmala       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1429      Gloria        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1430      Margaret      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1431      Anna          D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1432      Liza          D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1433      Zoraida       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1434      Regina        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1435      Loretta       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1436      Olga          D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1437      Ekpoboaredo   D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1438      Betty         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1439      Dawnetta      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1440      Francis       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1441      Tina          D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1442      Sandra        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1443      Helen         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1444      Deborah       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1445      Debra         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1446      Amy           D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1447      Honorine      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1448      Jametheria    D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1449      Virginia      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1450      Telaestar     D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1451      Jeanne        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1452      Susan         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1453      May           D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1454      Jean          D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1455      Michele       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1456      Maria         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1457      Sheena        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1458      Frances       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1459      Denise        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1460      Deborah       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1461      Becky         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1462      Doris         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1463      Jeanette      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1464      Earliemae     D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1465      Dorothy       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1466      Claire        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1467      Darla         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1468      Susan         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 775 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 36 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   1469      Doris         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1470      Vida          D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1471      Eleanor       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1472      Monique       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1473      Terry         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1474      Michelle      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1475      Shantoyia     D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1476      Catrice       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1477      Debbie        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1478      Lori          D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1479      Sandra        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1480      Sheryl        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1481      Barbara       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1482      Kerry         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1483      Denise        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1484      Georgina      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1485      Debra         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1486      Rebecca       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1487      Marie         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1488      Karen         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1489      Patty         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1490      Lori          D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1491      Elizabeth     D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1492      Martha        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1493      Julianna      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1494      Stephanie     D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1495      Carmen        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1496      Terri         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1497      Melody        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1498      Lyndsey       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1499      Cindy         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1500      Elsie         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1501      Sheila        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1502      Sarah         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1503      Debora        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1504      Patsy         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1505      Misty         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1506      Verna         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1507      Crystal       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1508      Deborah       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1509      Stacey        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1510      Kristi        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
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Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 37 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   1511      Chastidy      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1512      Judith        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1513      Ethel         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1514      Ayanna        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1515      Patricia      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1516      Anita         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1517      Mary          D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1518      Grace         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1519      Annette       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1520      Alyson        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1521      Donna         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1522      Glenda        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1523      Mary          D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1524      Latoya        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1525      Frances       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1526      Tianna        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1527      Mary          D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1528      Phyllis       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1529      Pam           D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1530      Carole        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1531      Angernetta    D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1532      Sandra        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1533      Jeanne        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1534      Veronica      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1535      Nadine        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1536      Holly         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1537      Carrie        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1538      Ellen         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1539      Jennifer      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1540      Janet         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1541      Donna         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1542      Jeanette      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1543      Jessica       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1544      Crystal       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1545      Pamela        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1546      Tia           D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1547      Lasonya       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1548      Teresa        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1549      Penny         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1550      Fawn          D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1551      Kimberly      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1552      Edna          D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 777 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 38 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   1553      Patricia      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1554      Brenda        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1555      Pearline      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1556      Kathreina     D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1557      Brenda        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1558      Mary          D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1559      Tonya         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1560      Margaret      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1561      Breanna       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1562      Sharon        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1563      Susan         D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1564      Oneata        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1565      Uraina        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1566      Cecilia       D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1567      Lesa Gay      D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1568      Stacey        D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1569      Sara          D.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1570      Valorie       E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1571      Pamela        E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1572      Carol         E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1573      Gloria        E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1574      Kelly         E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1575      Shantelle     E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1576      Trenesse      E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1577      Donna         E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1578      Mildred       E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1579      Mary          E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1580      Joycelyn      E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1581      Evelyn        E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1582      Patricia      E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1583      Jane          E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1584      Catalina      E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1585      Kara          E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1586      Joan          E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1587      Kimberly      E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1588      Aubreon       E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1589      Rolonda       E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1590      Harlie        E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1591      Delores       E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1592      Willetta      E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1593      Adrienne      E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1594      Carolyn       E.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 778 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 39 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   1595      Jacqueline    E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1596      Gwendolyn     E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1597      Catherine     E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1598      Janice        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1599      Linda         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1600      Diana         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1601      Falicia       E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1602      Lisa          E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1603      Jodie         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1604      Karen         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1605      Beverly       E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1606      Arline        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1607      Ruth          E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1608      Tracy         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1609      Henrietta     E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1610      Lucille       E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1611      Carol         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1612      Loretta       E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1613      Ellen         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1614      Dorothy       E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1615      Jessica       E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1616      Tessa         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1617      Beatrice      E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1618      Tammie        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1619      Teri          E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1620      Carol         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1621      Jessie        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1622      Bonnie        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1623      Jennifer      E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1624      Denise        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1625      Sharon        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1626      Rhonda        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1627      Sidney        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1628      Anita         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1629      Brenda        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1630      Lisa          E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1631      Phyllis       E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1632      Lori          E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1633      Dorothy       E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1634      Bernell       E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1635      Pamela        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1636      Desiree       E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 779 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 40 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   1637      Susan         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1638      Shirley       E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1639      Nancy         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1640      Naomu         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1641      Ann           E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1642      Teresita      E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1643      Vivian        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1644      Ellen         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1645      Barbara       E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1646      Tara          E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1647      Olivia        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1648      Glynna        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1649      Lynne         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1650      Rhonda        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1651      Sheri         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1652      Coleen        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1653      Maria         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1654      Cynthia       E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1655      Kenyatta      E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1656      Blanca        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1657      Anna Mae      E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1658      Diane         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1659      Teresa        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1660      Kathleen      E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1661      Ashley        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1662      Judith        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1663      Lorena        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1664      Olga          E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1665      Linda         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1666      Rosa          E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1667      Denise        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1668      Isabel        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1669      Rosa          E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1670      Yvette        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1671      Yolanda       E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1672      Maria         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1673      June          E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1674      Ronda         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1675      Helene        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1676      Debra         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1677      Maria         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1678      Amy           E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 780 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 41 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   1679      Charlotte     E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1680      Lillie        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1681      Donna         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1682      Josephine     E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1683      Taylor        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1684      Marie         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1685      Stephanie     E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1686      Gracie        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1687      Delia         E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1688      Bobbie        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1689      Jackie        E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1690      Reba          E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1691      Courtney      E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1692      Teressa       E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1693      Del           E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1694      Shirley       E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1695      Justine       E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1696      Monique       E.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1697      Quadrella     F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1698      Jennifer      F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1699      Carol         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1700      Vineta        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1701      Marlene       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1702      Yuwanda       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1703      Bridget       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1704      Dorothy       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1705      Diane         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1706      Sharon        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1707      Cora          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1708      Vernadine     F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1709      Maria         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1710      Tonya         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1711      Stephanie     F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1712      Darleen       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1713      Constance     F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1714      Charmaine     F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1715      Annette       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1716      Peggy         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1717      Ashley        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1718      Connie        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1719      Amanda        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1720      Beth          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 781 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 42 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   1721      Anna          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1722      Dorothy       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1723      Nicole        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1724      Jerrica       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1725      Maika         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1726      Rena          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1727      Virginia      F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1728      Nafeesa       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1729      Sharron       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1730      Lisa          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1731      Ilsa          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1732      Karen         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1733      Nicole        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1734      Sharon        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1735      Victoria      F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1736      Levonia       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1737      Lois          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1738      Porshawn      F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1739      Lisa          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1740      Rashida       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1741      Teri          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1742      Loretta       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1743      Stacy         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1744      Yolanda       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1745      Angela        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1746      Crystal       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1747      Krystal       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1748      Faviola       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1749      Leslie        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1750      Kleopatra     F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1751      Mary          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1752      Sharon        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1753      Pamela        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1754      Teanika       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1755      Dorothy       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1756      Gabrielle     F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1757      Nuri          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1758      Mandy         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1759      Teresa        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1760      Reynee        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1761      Donna         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1762      Janice        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 782 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 43 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   1763      Donna         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1764      Jaqueline     F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1765      Constance     F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1766      Melonie       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1767      Marion        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1768      Tracee        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1769      Angela        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1770      Phoebe        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1771      Linda         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1772      Sylvia        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1773      Doris         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1774      Susan         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1775      Rasela        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1776      Andria        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1777      Ada           F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1778      Helena        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1779      Jacquelyn     F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1780      Rosemary      F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1781      Garnet        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1782      Lana          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1783      Patricia      F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1784      Mary          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1785      Gloria        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1786      Anna          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1787      Stacey        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1788      Mable         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1789      Tina          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1790      Cynthia       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1791      Denise        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1792      Susan         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1793      Rosalinda     F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1794      Marilyn       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1795      Christine     F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1796      Shirley       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1797      Elsie         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1798      Meagan        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1799      Tamar         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1800      Faith         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1801      Anne          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1802      Diana         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1803      Jada          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1804      Kim           F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 783 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   1805      Dionne        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1806      Elaine        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1807      Jennell       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1808      Shalonda      F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1809      Sharon        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1810      Shenitra      F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1811      Sharon        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1812      Tekisha       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1813      Aretha        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1814      Maria         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1815      Nancy         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1816      Amada         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1817      Julie         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1818      Helen         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1819      Delfina       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1820      Edna          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1821      Jennifer      F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1822      Anita         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1823      Destiny       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1824      Helen         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1825      Candy         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1826      Shirley       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1827      Lora          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1828      Tammy         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1829      Cynthia       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1830      Paula         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1831      Julie         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1832      Kathy         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1833      Vicky         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1834      Georgene      F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1835      Sandra        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1836      Bettie        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1837      Cierra        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1838      Anna          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1839      Cheryl        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1840      Jeannie       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1841      Tawnya        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1842      Lavonne       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1843      Patricia      F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1844      Penny         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1845      Irma          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1846      Lori          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

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       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 784 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   1847      Aretha        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1848      Gloria        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1849      Lucille       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1850      Deborah       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1851      Theresa       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1852      Katherine     F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1853      Judy          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1854      Cynthia       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1855      Karen         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1856      Patricia      F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1857      Angela        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1858      Jessica       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1859      Tameka        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1860      Tonia         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1861      Kathy         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1862      Ryan          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1863      Ordene        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1864      Janet         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1865      Mikki         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1866      Mary-Ellen    F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1867      Rhonda        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1868      Rose          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1869      Raycine       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1870      Lena          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1871      Natalie       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1872      Jennifer      F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1873      Huestella     F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1874      Lena          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1875      Katie         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1876      Gina          F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1877      Jennifer      F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1878      Jennine       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1879      Sherley       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1880      Tonia         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1881      Diane         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1882      Katrina       F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1883      Jeannene      F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1884      Linda         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1885      Kelli         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1886      Brandy        F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1887      Tosha         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1888      Tanya         F.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 785 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   1889      Cheryl         F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1890      Jacqueline     F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1891      Velinda        F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1892      Pearl          F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1893      Dana           F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1894      Cicily         F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1895      Ruth           F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1896      Debra          F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1897      Judy           F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1898      Stephanie      F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1899      Muriel         F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1900      Kay            F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1901      Dorra          F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1902      Leander        F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1903      Julie          F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1904      Deborah        F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1905      Bonnie         F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1906      Christine      F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1907      Susan          F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1908      Pearline       F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1909      Kathy          F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1910      Lena           F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1911      Linda          F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1912      Quincia        F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1913      Shandella      F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1914      Frances        F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1915      Ansicta        F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1916      Carolyn        F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1917      Theodora       F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1918      Alice          F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1919      Linda          F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1920      Maria          F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1921      Ebony          F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1922      Marilyn        F.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1923      Helen          G.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1924      Renee          G.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1925      Carrie         G.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1926      Shirley        G.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1927      Denise         G.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1928      Carol          G.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1929      Danielle       G.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1930      Sarah Nicole   G.              [Redacted]      [Redacted]    [Redacted]        [Redacted]

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       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 786 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 47 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   1931      Cherylnn      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1932      Helen         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1933      Dawn          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1934      Angelina      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1935      Alice         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1936      Rose          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1937      Karamaneh     G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1938      Sandra        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1939      Lynette       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1940      Sylvia        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1941      Constance     G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1942      Lorie         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1943      Joy           G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1944      Sherley       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1945      Allison       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1946      Linda         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1947      Suegene       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1948      Alana         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1949      LeAnna        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1950      Sheila        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1951      April         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1952      Jacqueline    G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1953      Wanda         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1954      Curtina       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1955      Brenda        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1956      Dorinda       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1957      Natasha       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1958      Rose          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1959      Delia         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1960      Virginia      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1961      SanJuana      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1962      Jennifer      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1963      Mary          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1964      Lourdes       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1965      Suzan         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1966      Betsy         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1967      Sharon        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1968      Alicia        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1969      Grace         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1970      Andrea        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1971      Feliciana     G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1972      Blanca        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

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       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 787 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 48 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   1973      Georgina      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1974      Sakee         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1975      Vanessa       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1976      Caroline      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1977      Barbara       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1978      Sinnia        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1979      Laura         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1980      Debra         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1981      Margaret      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1982      Tawana E.     G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1983      Coty          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1984      Tammy         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1985      Denise        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1986      Wanda         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1987      Pamela        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1988      Wanda         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1989      Ruth          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1990      Edna          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1991      Marcia        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1992      Christina     G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1993      Josie         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1994      Glenda        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1995      Deborah       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1996      Charley       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1997      Stephanie     G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1998      Jennifer      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   1999      Shirley       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2000      Jenny         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2001      Jill          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2002      Adenike       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2003      Susan         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2004      Sandra        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2005      Dianna        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2006      Elsa          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2007      Sharon        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2008      Vinianne      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2009      Laura         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2010      Josephine     G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2011      Lora          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2012      Kayla         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2013      Cecilia       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2014      Beverly       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   2015      Phyllis       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2016      Lois          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2017      Linda         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2018      Elissa        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2019      Yasmin        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2020      Marion        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2021      Elizabeth     G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2022      Jill          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2023      Tracy         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2024      Kelly         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2025      Christine     G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2026      Lorelle       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2027      Carolyn       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2028      Evie          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2029      Tanya         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2030      Shirley       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2031      Linda         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2032      Edna          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2033      Martha        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2034      Juliana       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2035      Terry         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2036      Carrie        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2037      Danielle      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2038      Maria         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2039      Tatiana       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2040      Sharai        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2041      Michelle      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2042      Roberta       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2043      Soujerne      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2044      Mary          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2045      Christina     G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2046      Nancy         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2047      Taleisha      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2048      Cheryl        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2049      Eleanor       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2050      Markita       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2051      Pamela        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2052      Ginger        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2053      Shannon       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2054      Jamie         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2055      Tiffany       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2056      Maureen       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 50 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   2057      Nicole        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2058      Heather       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2059      Tasha         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2060      Alicia        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2061      Janie         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2062      Badriyyah     G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2063      Pat           G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2064      Grace         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2065      Lolita        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2066      Mary          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2067      Eileen        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2068      Loretta       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2069      Tawana        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2070      Tabreal       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2071      Samica        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2072      Camila        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2073      Fern          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2074      Victoria      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2075      Shirley       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2076      Jennifer      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2077      Lisa          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2078      Iyesha        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2079      Billie        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2080      Yvonne        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2081      Tammy         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2082      Carolyn       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2083      Lilla         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2084      Lauren        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2085      Chanel        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2086      Bridgette     G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2087      Virginia      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2088      Eileen        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2089      Christine     G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2090      Kimberley     G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2091      Sandra        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2092      Eleonora      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2093      Carol         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2094      Catherine     G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2095      Barbara       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2096      Christina     G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2097      Yamaris       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2098      Michelle      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 790 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   2099      Mary          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2100      Kiley         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2101      Diana         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2102      Tina          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2103      Laura         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2104      Trish         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2105      Amber         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2106      Kathyrn       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2107      Pilar         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2108      Hilda         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2109      Andrea        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2110      Irma          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2111      Flora         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2112      Jeannie       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2113      Melissa       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2114      Kandi         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2115      Pearl         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2116      Deborah       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2117      Ramona        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2118      Joan          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2119      Alison        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2120      Isabella      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2121      Henrietta     G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2122      Tawny Lynn    G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2123      Donnita       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2124      Kathleen      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2125      Carol         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2126      Helen         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2127      Claudine      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2128      Debra         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2129      Barbara       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2130      Oletha        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2131      Katie         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2132      Letitia       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2133      Shirley       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2134      Chastidy      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2135      Anita         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2136      Peggie        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2137      Tammy         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2138      Marilyn       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2139      Ruby          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2140      Jessica       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name      Last Name
 Claimant                                                        SSN      Date of Death
               (injured        (injured     Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)         person)
   2141      Elena           G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2142      Rose            G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2143      Fonda           G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2144      Nancy           G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2145      Anna            G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2146      Lea             G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2147      Christin        G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2148      Emily           G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2149      Lavada          G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2150      Georgette       G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2151      Allyson         G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2152      Muriel          G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2153      Shatory         G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2154      Mildred         G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2155      Lolita          G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2156      Melissa         G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2157      Christena       G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2158      Nicole          G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2159      Nicoll          G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2160      Sieglinde       G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2161      Virginia Beth   G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2162      Wakina          G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2163      Sarah           G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2164      Sharon          G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2165      Carrie          G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2166      Earnestine      G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2167      Wendolyn        G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2168      Maritza         G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2169      Anne            G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2170      Kathy           G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2171      Loretta         G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2172      Elizabeth       G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2173      Lynn            G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2174      Angela          G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2175      Christina       G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2176      Tenesha         G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2177      Lucille         G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2178      Nicole          G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2179      Catherine       G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2180      Diane           G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2181      Glory           G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2182      Charmine        G.             [Redacted]      [Redacted]    [Redacted]        [Redacted]

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              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   2183      Camilla       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2184      Roberta       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2185      Glory         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2186      Carolyn       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2187      Rachel        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2188      Cynthia       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2189      Shaniece      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2190      Luella        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2191      Nancy         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2192      Anastasia     G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2193      Beverly       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2194      Julie         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2195      Tracy         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2196      Tammy         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2197      Maricris      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2198      Gaylle        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2199      Chaunte       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2200      Andrea        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2201      Patricia G    G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2202      Charlene      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2203      Teisha        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2204      Victoria      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2205      Nicole        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2206      Teresa        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2207      Bertie        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2208      Lenora        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2209      Alicia        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2210      Dawn          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2211      Helen         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2212      Austeen       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2213      Angela        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2214      Dolores       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2215      Shelley       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2216      Margaret      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2217      Beatriz       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2218      Lee           G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2219      Eileen        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2220      Angela        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2221      Lois          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2222      Hazel         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2223      Gwendolyn     G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2224      Alma          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 793 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 54 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   2225      Nathalia      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2226      Sam           G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2227      Elesia        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2228      Carol         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2229      Toni          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2230      Crystal       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2231      Elizabeth     G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2232      Nancy         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2233      Barbara       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2234      Sibel         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2235      Sharon        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2236      Kathryn       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2237      Shirley       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2238      Mary          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2239      Mary          G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2240      Rebecca       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2241      Mitzi         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2242      Brenda        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2243      Norma         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2244      Jacqueline    G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2245      Tatiana       G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2246      Mauricia      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2247      Margaret      G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2248      Nellie        G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2249      Laura         G.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2250      Michele       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2251      Anita         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2252      Gayle         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2253      Wendy         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2254      Lori          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2255      Felecia       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2256      Suzanne       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2257      Karen         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2258      Christine     H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2259      Olive         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2260      Cindy         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2261      Sharon        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2262      Jeannette     H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2263      Velma         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2264      Delajha       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2265      Latia         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2266      Sharon        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 794 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   2267      Alma          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2268      Mary          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2269      Kathleen      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2270      Barbara       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2271      Barbara       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2272      Eunice        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2273      Angel         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2274      Barbara       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2275      Kristy        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2276      Edna          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2277      Roberta       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2278      Valerie       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2279      Patricia      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2280      Anne          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2281      Cynthia       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2282      Yumiko        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2283      Julianna      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2284      Cynthia       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2285      Kimberley     H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2286      Loyzelle      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2287      Sharon        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2288      Cynthia       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2289      Sharon        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2290      Ann           H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2291      Cheryl        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2292      Linda         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2293      Brittany      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2294      Linda         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2295      Karla         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2296      Vickie        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2297      Sharon        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2298      Nicole        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2299      Thomasina     H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2300      Emilee        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2301      Donnie        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2302      Shirley       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2303      Kirri         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2304      Elizabeth     H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2305      Joyce         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2306      Juanita       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2307      Donna         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2308      Crystal       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 795 of 1377
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Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   2309      Betty         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2310      Patricia      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2311      Donna         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2312      Beverly       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2313      Brandi        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2314      Myeisha       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2315      Carrie        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2316      Rochelle      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2317      Yolanda       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2318      Judy          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2319      Gloria        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2320      Jessica       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2321      Margaret      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2322      Connie        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2323      Elaine        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2324      Floria        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2325      Patricia      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2326      Sherry        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2327      Anthony       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2328      Barbara       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2329      Lisa          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2330      Constance     H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2331      Camelia       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2332      Geraldine     H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2333      Anna          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2334      Ginger        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2335      Dessis        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2336      Elizabeth     H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2337      Susan         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2338      Melanie       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2339      Kyishia       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2340      Rowene        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2341      Caroline      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2342      Tara          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2343      Marilyn       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2344      Jessica       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2345      Joyce         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2346      Loretta       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2347      Selena        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2348      Venus         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2349      Rashananda    H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2350      Tonie         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
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                                    Exhibit  (s) A - Q Page 796 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 57 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   2351      Deborah       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2352      Jacklyn       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2353      Kathy         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2354      Theresa       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2355      Roxy          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2356      Carmen        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2357      Tiffanie      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2358      Patricia      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2359      Stephanie     H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2360      Catherine     H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2361      Brandi        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2362      Queen         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2363      Joyce         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2364      Kathleen      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2365      Monica        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2366      Barbara       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2367      Monica        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2368      Glenda        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2369      Jennifer      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2370      Waneta        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2371      Lashawn       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2372      Tishona       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2373      Vicky         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2374      Becky         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2375      Alicia        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2376      Rene          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2377      Shirley       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2378      Velma         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2379      Carolyn       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2380      Mary          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2381      Jonetta       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2382      Beverly       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2383      Kristie       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2384      Seong Ja      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2385      Kanethea      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2386      Christine     H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2387      Brandy        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2388      Frances       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2389      Mersadeis     H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2390      Cynthia       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2391      Melissa       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2392      Amber         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

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Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 58 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   2393      Jewel         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2394      Lisa          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2395      Eldoris       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2396      Carolyn       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2397      Caroline      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2398      Jennifer      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2399      Jillana       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2400      Norma         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2401      Victoria      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2402      Tiney         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2403      Rhiannon      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2404      Alice         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2405      Deborah       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2406      Tracy         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2407      Kovett        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2408      Ada           H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2409      Malka         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2410      Cheryl        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2411      Lillie        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2412      Naomi         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2413      Brenda        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2414      Wanda Jean    H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2415      Shannon       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2416      Tammy         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2417      Laura         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2418      Joyce         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2419      Tiffany       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2420      Elizabeth     H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2421      Pamela        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2422      Debra         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2423      Sharon        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2424      Judy          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2425      Marie         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2426      Robinann      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2427      Kay           H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2428      Amy           H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2429      Marion        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2430      Thyra         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2431      Virgie        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2432      Mary          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2433      Bernice       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2434      Mekea         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 798 of 1377
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Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 59 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   2435      Loretta       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2436      Mattie        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2437      Heather       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2438      Erica         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2439      Valerie       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2440      Rosemary      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2441      Alexis        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2442      Vickie        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2443      Theresa       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2444      Helen         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2445      Noveta        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2446      Lisa          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2447      Lenore        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2448      Laechia       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2449      Barbara       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2450      Katie         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2451      Patricia      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2452      Shaunda       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2453      Velma         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2454      Rose          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2455      Margaret      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2456      Kathryn       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2457      Kristi        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2458      Jennifer      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2459      Ada           H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2460      Crystal       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2461      Barbara       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2462      Maria         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2463      Frances       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2464      Lysette       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2465      Elaine        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2466      Liliana       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2467      Juanita       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2468      Emily         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2469      Gloria        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2470      Hilda         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2471      Rosalinda     H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2472      Cheri         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2473      Patricia      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2474      Dornita       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2475      Mickey        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2476      Wendy         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 799 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 60 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   2477      Irma           H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2478      Irene          H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2479      Laquanda       H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2480      Jennifer       H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2481      Charlaine      H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2482      Katherine      H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2483      Pamela         H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2484      Ruth           H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2485      Charla         H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2486      Marquia        H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2487      Desaray        H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2488      Dixie          H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2489      Yolanda        H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2490      Jamie          H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2491      Vicki          H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2492      Patricia       H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2493      Rita           H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2494      Marci          H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2495      Rebecca        H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2496      Jan            H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2497      Leanna         H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2498      Victoria       H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2499      Kama           H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2500      Brenda         H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2501      Queen Esther   H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2502      Dareatha       H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2503      Lonny          H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2504      Jennifer       H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2505      Sandra         H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2506      Pamala         H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2507      Angelene       H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2508      Shauntae       H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2509      Jeanette       H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2510      Georgia        H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2511      Brenda         H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2512      Carolyn        H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2513      Betty Jean     H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2514      Benita         H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2515      Annie          H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2516      Annette        H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2517      Therese        H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2518      Wanda          H.              [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 800 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 61 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   2519      Diane         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2520      Gail          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2521      Ruth          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2522      Ashley        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2523      Evelyn        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2524      Sharon        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2525      Deanna        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2526      Cathy         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2527      Diane         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2528      Sherry        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2529      Agnes         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2530      Christine     H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2531      Kapiza        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2532      Martha        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2533      Lessie        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2534      Tarita        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2535      Princella     H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2536      Connie        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2537      Cathy         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2538      Vanessa       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2539      Dominique     H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2540      Berkisha      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2541      Bernice       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2542      Mandy         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2543      Karen         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2544      Kimberly      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2545      Whittney      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2546      Goldie        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2547      Liz           H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2548      Virginia      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2549      Muriel        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2550      Patti         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2551      Minerva       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2552      Phyllis       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2553      Wendy         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2554      Diana         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2555      Carrie        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2556      Stephanie     H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2557      Courtney      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2558      Patricia      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2559      Linda         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2560      Amy           H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 801 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 62 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   2561      Patricia      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2562      Amanda        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2563      Connie        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2564      Lisa          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2565      Nellie        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2566      Sara          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2567      Cheryl        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2568      Mable         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2569      Evelean       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2570      Kianda        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2571      Latashia      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2572      Emma          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2573      Mazell        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2574      Sherry        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2575      Helena        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2576      Rebecca       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2577      Linda         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2578      JoAnn         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2579      Sally J       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2580      Andrea        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2581      Beverly       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2582      Jeanette      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2583      Rebecca       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2584      Carole        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2585      Kimberly      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2586      Jamie         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2587      Kayla         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2588      Kim           H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2589      Minnie        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2590      Nicole        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2591      Rylee         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2592      Melissa       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2593      Tracey        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2594      Joy           H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2595      Bernice       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2596      Patricia      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2597      Karen         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2598      Debra         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2599      Louise        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2600      Tawnya        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2601      Throssia      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2602      Gloria        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 802 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 63 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   2603      Donna         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2604      Ruth          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2605      April         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2606      Lilia         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2607      Diana         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2608      Sara          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2609      Vera          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2610      Florence      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2611      Ora           H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2612      Dorothy       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2613      Jeanna        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2614      Lilly         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2615      Wanda         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2616      Bonnie        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2617      Lavon         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2618      Latasha       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2619      Jennifer      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2620      Donna         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2621      Starleen      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2622      Tammy         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2623      Nichelle      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2624      Mary          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2625      Hsiuying      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2626      Christina     H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2627      Barbara       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2628      Michelle      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2629      Nancy         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2630      Wendy         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2631      Tina          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2632      Bobbie        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2633      Ruscell       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2634      Angela        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2635      Tracey        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2636      Paula         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2637      April         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2638      Christina     H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2639      Amiees        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2640      Tanya         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2641      Edwina        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2642      Loraine       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2643      Edith         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2644      Rachel        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 803 of 1377
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Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 64 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   2645      Karen         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2646      Tamela        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2647      Lisa          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2648      Amanda        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2649      Barbara       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2650      Wanda         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2651      Meibo         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2652      Debra         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2653      Nicole        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2654      Summer        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2655      Shannon       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2656      Rayma         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2657      Judith        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2658      Lisa          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2659      Karen         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2660      Venus         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2661      Shunette      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2662      Carolyn       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2663      Saundra       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2664      Charlene      H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2665      Nakia         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2666      Cova          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2667      Valerie       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2668      Brenda        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2669      Cindy         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2670      Lynn          H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2671      Louise        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2672      Debra         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2673      Cynthia       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2674      Jessie        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2675      Erica         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2676      Diane         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2677      Chandra       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2678      Kathy         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2679      Mildred       H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2680      Tracy         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2681      Young         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2682      Doris         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2683      Helen         H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2684      Glenda        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2685      Sherry        H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2686      Wladyflawa    H.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 804 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 65 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   2687      Diane         I.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2688      Kelli         I.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2689      Angela        I.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2690      Michelle      I.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2691      Geraldine     I.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2692      Joanne        I.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2693      Brenda        I.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2694      Corine        I.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2695      Anis          I.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2696      Elizabeth     I.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2697      Michelle      I.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2698      Laletha       I.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2699      Lavada        I.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2700      Dorcas        I.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2701      Kathy         I.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2702      Evelyn        I.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2703      Tammie        I.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2704      Paulette      I.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2705      Latonya       I.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2706      Darlene       I.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2707      Norma         I.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2708      Annette       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2709      Angela        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2710      Melissa       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2711      Stephanie     J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2712      Wanda         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2713      Mary          J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2714      DaNaria       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2715      Lisa          J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2716      Angela        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2717      Barbara       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2718      Bobbie        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2719      Sharon        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2720      Veronesa      J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2721      Inez          J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2722      Jerilyn       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2723      Ruby          J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2724      Tiffany       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2725      Kenise        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2726      Dottie        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2727      Barbara       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2728      Tonya         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 805 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 66 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   2729      Valorie       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2730      Della         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2731      Sarah         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2732      Lolita        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2733      Deborah       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2734      June          J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2735      Willie May    J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2736      Deanna        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2737      Kathy         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2738      Gina          J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2739      Norlishia     J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2740      Pamela        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2741      Dorothy       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2742      Lazynthia     J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2743      Della         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2744      Diana         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2745      Kristy        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2746      Mildred       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2747      Kassandra     J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2748      Cora          J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2749      Mary          J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2750      Robin         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2751      Hanan         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2752      Marguerite    J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2753      Mary          J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2754      Amber         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2755      Rhonda        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2756      Desiree       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2757      Robin         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2758      Cynthia       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2759      Yolanda       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2760      Debra         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2761      James         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2762      Kathryn       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2763      Brittany      J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2764      Tracy         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2765      Catherine     J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2766      Louise        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2767      Fatemeh       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2768      Sandra        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2769      Camille       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2770      Lillie        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 806 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 67 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   2771      Dorothy       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2772      Sandra        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2773      Carla         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2774      Twila         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2775      Cynthia       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2776      Charlene      J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2777      Lajuana       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2778      Retta         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2779      Leila         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2780      Betty         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2781      Debra         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2782      Stacy         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2783      Paula         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2784      Catherine     J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2785      Shirlene      J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2786      Donna         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2787      Linda         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2788      Precious      J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2789      Aimee         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2790      Norma         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2791      Krisanne      J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2792      Betty         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2793      Amanda        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2794      Roberta       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2795      Sandra        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2796      Regina        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2797      Tracey        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2798      Valinda       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2799      Maggie        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2800      Barbara       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2801      Elfreda       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2802      Lavon         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2803      Rhonda        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2804      Clarece       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2805      Adrika        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2806      Judith        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2807      Deena         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2808      Lillian       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2809      Kama          J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2810      Susie         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2811      Tonya         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2812      Hope          J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 807 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 68 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   2813      Angela        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2814      Sara          J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2815      Sarah         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2816      Ada           J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2817      Qulanda       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2818      Stephanie     J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2819      Bernice       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2820      Robyn         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2821      Jackie        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2822      Teri          J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2823      Carrie        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2824      Elaine        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2825      Shermeka      J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2826      Margaret      J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2827      Stephanie     J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2828      Brenda        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2829      Deloris       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2830      Pamela        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2831      Jewel         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2832      Janelle       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2833      Latijerica    J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2834      Alicia        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2835      Wanda         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2836      Nancy         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2837      Kassy         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2838      Cassaundra    J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2839      Jasmine       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2840      Sarah         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2841      Joyce         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2842      Audrey        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2843      Maxine        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2844      Mary          J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2845      Robinette     J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2846      Alma          J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2847      Cathy         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2848      Marilyn       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2849      Victoria      J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2850      Charlotte     J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2851      Jessica       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2852      Trenda        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2853      Janisha       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2854      Mary          J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 808 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 69 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   2855      Valerie       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2856      Tonya         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2857      LaSwanya      J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2858      Miyuki        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2859      Annie         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2860      Faydra        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2861      Jackie        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2862      Alicia        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2863      Carol         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2864      Bernice       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2865      Ayeola        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2866      Crystal       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2867      Patricia      J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2868      Sydney        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2869      Martha        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2870      Marie         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2871      Angela        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2872      Megan         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2873      Rosella       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2874      Linda         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2875      Maria         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2876      Kristelle     J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2877      Cristy        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2878      Brandy        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2879      Marquita      J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2880      Earline       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2881      Yvonne        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2882      Cheronique    J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2883      Patricia      J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2884      Ellen         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2885      Eileen        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2886      Nicole        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2887      Teresa        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2888      Nyoka         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2889      Natha         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2890      Maya          J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2891      Carlotta      J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2892      Zipporah      J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2893      Deira         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2894      Jennilee      J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2895      Angel         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2896      Brittni       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 809 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 70 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   2897      Diane         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2898      Lou           J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2899      Alice         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2900      Elizabeth     J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2901      Gloria        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2902      Pamela        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2903      Cherlyn       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2904      Gail          J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2905      Kellee        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2906      Brenda        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2907      Beverly       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2908      Jennifer      J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2909      Donna         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2910      Bridget       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2911      Marsha        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2912      Tammy         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2913      Mary          J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2914      Crystal       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2915      Kelly         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2916      Melinda       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2917      Joycelyn      J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2918      Karen         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2919      Cynthia       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2920      Dortha        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2921      Kathryn       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2922      Michelle      J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2923      Shameka       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2924      Diana         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2925      Dyanne        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2926      Lucinda       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2927      Virgie        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2928      Precious      J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2929      Samantha      J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2930      Celeste       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2931      Lena Mae      J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2932      Sandra        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2933      Shanda        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2934      Susanne       J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2935      Yvonne        J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2936      Angelique     J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2937      Erica         J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2938      Ella          J.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 810 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   2939      Joann         J.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2940      Dale          J.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2941      Mary          J.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2942      Susan         J.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2943      Claudette     J.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2944      Julia         J.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2945      Terri         J.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2946      Leslie        J.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2947      Karen         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2948      Kathleen      K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2949      Debbra        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2950      Elizabeth     K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2951      Debbie        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2952      Marie         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2953      Barbara       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2954      Diane         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2955      Doris         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2956      Donna         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2957      Wendi         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2958      Delphia       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2959      Krishna       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2960      Olivia        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2961      Yvonne        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2962      Jamie         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2963      Tiffany       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2964      Kristina      K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2965      Donna         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2966      Regina        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2967      Michealita    K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2968      Kimberly      K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2969      Amber         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2970      Willemma      K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2971      Patricia      K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2972      Jhaunee       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2973      Erma Jean     K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2974      Peggy         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2975      Cindy         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2976      Olivia        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2977      Karen         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2978      Antoinette    K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2979      Rebecca       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2980      Christina     K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 811 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   2981      Jennifer      K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2982      Lubelia       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2983      Susan         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2984      Barbara       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2985      Janis         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2986      Jennifer      K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2987      Leann         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2988      Christine     K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2989      Linda         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2990      Becky         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2991      Betty         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2992      Angela        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2993      Diane         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2994      Janice        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2995      Barbara       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2996      Tory          K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2997      Stacia        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2998      Billie        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   2999      Stephanie     K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3000      Joann         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3001      Melba         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3002      Barbara       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3003      Alenda        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3004      Catina        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3005      Rosie         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3006      Alyssa        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3007      Barcellena    K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3008      Leslie        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3009      Stacy         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3010      Judy          K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3011      Janice        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3012      Tamara        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3013      Lashounda     K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3014      Hannah        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3015      Rose          K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3016      Tomelle       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3017      Sandy         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3018      Dempsey       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3019      Anne          K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3020      Marjorie      K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3021      Kina          K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3022      Lanna         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 812 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   3023      Judy          K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3024      Chanta        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3025      Allison       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3026      Marian        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3027      Irena         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3028      Tammi         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3029      Katherine     K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3030      Dakina        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3031      Clara         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3032      Mary          K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3033      Christy       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3034      Genette       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3035      Denisia       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3036      Alzia         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3037      Kristin       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3038      Martha        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3039      Tammy         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3040      Annette       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3041      Kandi         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3042      Charlinda     K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3043      Patricia      K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3044      Asia          K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3045      Tina          K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3046      Lynn          K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3047      Robin         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3048      Sharon        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3049      Geraldine     K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3050      Kayla         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3051      Amanda        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3052      Teresa        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3053      Dorothy       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3054      Leslie        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3055      Martha        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3056      Sheniqua      K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3057      Tai           K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3058      Paulette      K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3059      Letitia       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3060      Donna         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3061      Rebecca       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3062      Lisa          K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3063      Shirley       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3064      Jerri         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
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In re: LTL Management LLC, Case No.    23-12825-MBK
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Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 74 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   3065      Stephanie     K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3066      Robin         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3067      Sandra        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3068      Kathleen      K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3069      Patricia      K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3070      Catherine     K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3071      Tiffany       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3072      Jody          K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3073      Natalya       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3074      Ellen         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3075      Misty         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3076      Kristal       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3077      Sherry        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3078      Deborah       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3079      Teresa        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3080      Kathryn       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3081      Kristi        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3082      Nellie        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3083      Jeanette      K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3084      Rose          K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3085      Alquisha      K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3086      Patricia      K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3087      Frieda        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3088      Lisa          K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3089      Elena         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3090      Ewa           K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3091      Jessica       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3092      Brittany      K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3093      Nicole        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3094      Vanessa       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3095      Katherine     K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3096      Trudie        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3097      Beverley      K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3098      Mary          K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3099      Andria        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3100      Ellen         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3101      Christina     K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3102      Annette       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3103      Ruth          K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3104      Emily         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3105      Janet         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3106      Debra         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
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In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 814 of 1377
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Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 75 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   3107      Delores       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3108      Cheryl        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3109      Judy          K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3110      Dalyn         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3111      Jody          K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3112      Christina     K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3113      Julia         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3114      Melisa        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3115      Rita          K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3116      Sandra        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3117      Marlene       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3118      Deniz         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3119      Nancy         K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3120      Brenda        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3121      Natalie       K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3122      Samantha      K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3123      Pamela        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3124      Andrea        K.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3125      Debra         L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3126      Ursula        L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3127      Brandy        L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3128      Jennifer      L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3129      Shameka       L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3130      Joyce         L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3131      Lasheba       L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3132      Chantel       L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3133      Diane         L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3134      Belinda       L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3135      Barbara       L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3136      Perita        L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3137      Brittney      L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3138      Laura         L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3139      Maryjane      L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3140      Zaquia        L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3141      Lona          L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3142      Eleanor       L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3143      Ruth          L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3144      Jean          L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3145      Deena         L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3146      Evelyn        L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3147      Helen         L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3148      Darcey        L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

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       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 815 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name      Last Name
 Claimant                                                        SSN      Date of Death
               (injured        (injured     Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)         person)
   3149      Ann         L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3150      Julie       L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3151      Gloria      L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3152      Janice      L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3153      Janice      L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3154      Frances     L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3155      Denise      L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3156      Cynthia     L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3157      Shanequa    L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3158      Sheila      L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3159      Marquita    L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3160      Emma MarleneL.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3161      Lorie       L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3162      Chiquita    L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3163      Tosha       L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3164      Christina   L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3165      Patricia    L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3166      Florence    L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3167      Patricia    L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3168      Donna       L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3169      Melinda     L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3170      Rebecca     L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3171      Debra       L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3172      Deborah     L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3173      Gwendolynn L.                  [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3174      Savannah    L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3175      Carol J.    L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3176      Sandra      L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3177      Brigitte    L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3178      Nibree      L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3179      Darican     L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3180      Dorothy     L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3181      Irene       L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3182      Jeanette    L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3183      Joletta     L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3184      Ara         L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3185      Rebecca     L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3186      Helen       L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3187      Korina      L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3188      Larinell    L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3189      Yolande     L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3190      Wanda       L.                 [Redacted]      [Redacted]    [Redacted]        [Redacted]

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       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 816 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   3191      Rochelle      L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3192      Janarda       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3193      Yolonda       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3194      Donna         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3195      Ann           L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3196      Carrie        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3197      Mary          L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3198      Ana           L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3199      Barbara       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3200      Buffy         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3201      Patsy         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3202      Rosalyn       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3203      Angie         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3204      Penny         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3205      Susan         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3206      Linda         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3207      Michelle      L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3208      Kathleen      L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3209      Linda         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3210      Marilyn       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3211      Elizabeth     L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3212      Susan         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3213      Idella        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3214      Melody        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3215      Laura         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3216      Betty         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3217      Cammi         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3218      Kristina      L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3219      Kristina      L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3220      Paula         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3221      Tamara        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3222      Joanne        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3223      Frances       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3224      Erin          L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3225      Tamarra       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3226      Ofelia        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3227      Susan         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3228      Janice        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3229      Genetha       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3230      Tina          L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3231      Sarah         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3232      Susan         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

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       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 817 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 78 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   3233      Kathleen      L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3234      Elizabeth     L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3235      Rebecca       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3236      Jane          L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3237      Patricia      L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3238      Laurie        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3239      Diane         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3240      Marie         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3241      Connie        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3242      Rolanda       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3243      Mykka         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3244      Eldon         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3245      Susan         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3246      Rita Marie    L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3247      Constance     L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3248      Sandra        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3249      Virginia      L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3250      Janice        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3251      Bettie        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3252      Shirley       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3253      Joyce         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3254      Shelia        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3255      Amel          L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3256      Tiffany       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3257      Versa         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3258      Anna          L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3259      Nettie        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3260      Racheal       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3261      Menessilee    L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3262      Milcent       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3263      Tina          L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3264      Cheryll       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3265      Georgia       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3266      Lydrea        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3267      Shirley       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3268      Lisa          L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3269      Kimberly      L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3270      Jazzman       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3271      Barbara       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3272      Ruby          L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3273      Kristie       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3274      Mitzi         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

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       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 818 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   3275      Melissa       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3276      Loretta       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3277      Deborah       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3278      Tracy         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3279      Paula         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3280      Christine     L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3281      April         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3282      Jasma         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3283      Sherry        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3284      Melissa       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3285      Kristyna      L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3286      Ottissa       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3287      Michelle      L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3288      Claudia       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3289      Evelyn        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3290      Angel         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3291      Estella       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3292      Khin          L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3293      Paula         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3294      Venus         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3295      Barbara       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3296      Melanie       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3297      Martha        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3298      Amber         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3299      Janet         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3300      Jana          L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3301      Hollen        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3302      Glenda        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3303      Bertha        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3304      Jeri          L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3305      Amanda        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3306      Meagan        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3307      Barbara       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3308      Tammy         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3309      Louise        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3310      Ginger        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3311      Lindsay       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3312      Fetema        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3313      Tonya         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3314      Felicia       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3315      Wilma         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3316      Maria         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

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       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   3317      Alyssa        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3318      Kelley        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3319      Margaret      L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3320      Julie         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3321      Wendy         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3322      Joan          L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3323      Deavera       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3324      Karen         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3325      Donna         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3326      Thelma        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3327      Misty         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3328      Roberta       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3329      Loretha       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3330      Deborah       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3331      Deretha       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3332      Josephine     L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3333      Elizabeth     L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3334      Lillia        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3335      Sylvia        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3336      Lynette       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3337      Jazmin        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3338      Tanya         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3339      Loretta       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3340      Heather       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3341      Patricia      L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3342      Carol         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3343      Sandra        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3344      LaToya        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3345      Tina          L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3346      Lorna         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3347      Sandra        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3348      Yvonne        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3349      Judith        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3350      Serena        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3351      Helen         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3352      Ana           L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3353      Brenda        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3354      Carla         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3355      Hilda         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3356      Michelle      L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3357      Shakeema      L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3358      Deborah       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 820 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 81 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   3359      Coretha       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3360      Juanita       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3361      Tomoka        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3362      Cristie       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3363      Kristi        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3364      Candis        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3365      Linda         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3366      Petra         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3367      Gerri         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3368      Kimberley     L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3369      Liberty       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3370      Terry         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3371      Yolanda       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3372      Donna         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3373      Marta         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3374      Marie         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3375      Karie         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3376      Meshay        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3377      Daejanae      L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3378      Dominica      L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3379      Dorginia      L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3380      Edna          L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3381      Sharla        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3382      Amelia        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3383      Norma         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3384      Krystal       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3385      Andra         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3386      Tanashiska    L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3387      Kimberly      L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3388      Elizabeth     L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3389      Carolyn       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3390      Daisy         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3391      Josie         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3392      Yamilet       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3393      Rosalie       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3394      Jessi         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3395      Kathryn       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3396      Carolynn      L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3397      Thu-Thuyen    L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3398      Patsy         L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3399      Phyllis       L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3400      Nicole        L.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 821 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 82 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   3401      Dameshia      L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3402      Jeniffer      L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3403      Margaret      L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3404      Betty         L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3405      Laura         L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3406      Dolores       L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3407      Melody        L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3408      Debra         L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3409      Jennifer      L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3410      Mary          L.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3411      Sandy         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3412      Candace       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3413      Debra         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3414      Magaly        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3415      Claudia       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3416      Stephanie     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3417      Queena        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3418      Tina          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3419      Mary          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3420      Janeen        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3421      Shelly        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3422      Karen         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3423      Tisa          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3424      Janet         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3425      Lisa          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3426      Dona          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3427      Barbara       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3428      Monica        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3429      Evette        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3430      Jovy          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3431      Alisa         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3432      Marina        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3433      Nikki         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3434      Peggy         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3435      Xiomara       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3436      Lisa          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3437      Neila         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3438      Akash         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3439      Hannah        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3440      Mary          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3441      Ashley        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3442      Panama        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 822 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 83 of 149

              First Name      Last Name
 Claimant                                                        SSN      Date of Death
               (injured        (injured     Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)         person)
   3443      Marilyn         M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3444      Clara           M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3445      Rita            M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3446      Carmen          M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3447      Heather         M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3448      Linda           M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3449      Latonya         M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3450      Voncina         M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3451      Joeanna         M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3452      JoAnn           M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3453      Twana           M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3454      Linda           M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3455      Christine       M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3456      Rachel          M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3457      Pamela          M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3458      Anna            M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3459      Hirut           M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3460      Coleen          M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3461      Mickey          M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3462      Latrice         M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3463      Kamisha         M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3464      Sarah           M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3465      Cherlin         M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3466      Iona            M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3467      Marlana         M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3468      Martha Alicia   M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3469      Marian          M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3470      Heather         M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3471      Patricia        M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3472      Chiquita        M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3473      Amy             M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3474      Earlean         M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3475      Hannah          M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3476      Neva            M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3477      Sandra          M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3478      Debra           M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3479      Donna           M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3480      Patricia        M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3481      Mindi           M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3482      Doreen          M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3483      Tammy           M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3484      Lisa            M.             [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 823 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 84 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   3485      Susan         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3486      Bertha        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3487      Dorothy       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3488      Elizabeth     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3489      Carolyn       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3490      Tawanna       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3491      Janice        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3492      Joyce         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3493      Coleen        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3494      Thais         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3495      Mozella       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3496      Brandi        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3497      Gwendolyn     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3498      Valarie       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3499      Wilma         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3500      Pauline       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3501      Janis         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3502      Carolann      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3503      Dannielle     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3504      Rhonda        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3505      Frances       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3506      Kelly         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3507      Linda         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3508      Billie Jean   M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3509      Patricia      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3510      Barbara       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3511      Yolanda       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3512      Zakiya        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3513      Felicia       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3514      Sahara        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3515      Ciara         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3516      Veronicia     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3517      Denise        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3518      Eloise        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3519      Jane          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3520      Jane          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3521      Edith         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3522      Maridanny     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3523      Mary          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3524      Annette       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3525      Rosa          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3526      Janie         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 824 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 85 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   3527      Carillon      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3528      Evelyn        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3529      Anita         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3530      Mildred       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3531      Brandi        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3532      Sharon        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3533      Estrella      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3534      Francisca     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3535      Kaia          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3536      Mary          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3537      Karen         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3538      Stacey        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3539      Latoya        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3540      Carol         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3541      Carol         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3542      Edna          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3543      Deborah       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3544      Malia         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3545      Trenice       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3546      Sally         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3547      Theresa       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3548      Gail          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3549      Roberta       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3550      Claudia       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3551      Roberta       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3552      Sharon        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3553      Tiffany       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3554      Lavette       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3555      Ashley        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3556      Phyllis       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3557      Dekidria      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3558      Grace         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3559      Jerrica       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3560      Mesheal       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3561      Jennifer      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3562      Kelly         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3563      Linda         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3564      Gwendolyn     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3565      Barbara       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3566      Elanor        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3567      Anna          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3568      Cheryl        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 825 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   3569      Paula         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3570      Gemrose       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3571      Donna         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3572      Linda         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3573      Jamie         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3574      Clare         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3575      Willie        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3576      Nora          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3577      Elena         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3578      Christine     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3579      Virginia      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3580      Shereen       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3581      Ginny         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3582      Venita        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3583      Janice        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3584      Sukai         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3585      Knenika       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3586      Vickiy        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3587      Mattie        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3588      Alfreda       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3589      Shantell      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3590      Michelle      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3591      Cheryl        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3592      Vivien        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3593      Michelle      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3594      Laqunida      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3595      Rhonda        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3596      Denise        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3597      Vera          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3598      Lynn          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3599      Colleen       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3600      Belinda       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3601      Kizzy         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3602      Faith         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3603      Nayetta       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3604      Patsy         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3605      Robyn         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3606      Kathi         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3607      Linda         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3608      Franki        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3609      Tammi         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3610      Carolyn       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 826 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   3611      Clotillya     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3612      Selena        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3613      Kendra        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3614      Crystal       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3615      Rosa Lee      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3616      Rita          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3617      Stephanie     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3618      Rebecca       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3619      Peggy         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3620      Sarah         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3621      Sylvia        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3622      Rachel        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3623      Patricia      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3624      Sylenia       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3625      Mary          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3626      Nicole        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3627      Nancy         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3628      Harriett      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3629      Diane         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3630      Denise        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3631      Keshawn       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3632      Mattie        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3633      Karen         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3634      Bonnie        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3635      Peggy         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3636      Stephaine     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3637      Stacia        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3638      Laverne       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3639      Tina          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3640      Diane         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3641      Josie         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3642      Jill          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3643      Tiesha        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3644      Jacquelyn     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3645      Abbagail      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3646      Dortha        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3647      Mattie        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3648      Constance     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3649      Jennifer      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3650      Joann         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3651      Sarah         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3652      Nancy         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 827 of 1377
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Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   3653      Linda         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3654      Dona          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3655      Jazzi         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3656      Ernestine     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3657      Mary          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3658      Kimberly      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3659      Lemuette      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3660      Debra         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3661      Jannie        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3662      Cynthia       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3663      Deborah       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3664      Searena       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3665      Tracey        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3666      Maureen       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3667      Cindy         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3668      Earline       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3669      Jazmine       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3670      Cheryl        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3671      Elizabeth     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3672      Gail          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3673      Dorothy       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3674      Isceia        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3675      Yolanda       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3676      Gorgeous      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3677      LaVerne       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3678      Mary          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3679      Diane         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3680      Jacqueline    M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3681      Dana          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3682      Susan         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3683      Lue           M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3684      Anissa        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3685      Donna         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3686      Vivian        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3687      Stanley       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3688      Leslie        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3689      Dorian        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3690      Cleo          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3691      Lena          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3692      Kathryn       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3693      Andrea        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3694      Lasonya       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
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In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 828 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   3695      Lupe          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3696      Josephine     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3697      Sonda         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3698      Deloris       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3699      Haydi         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3700      Tammie        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3701      Patricia      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3702      Melissa       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3703      Zoila         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3704      Lorrie        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3705      Teresita      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3706      Laskara       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3707      Monica        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3708      Marylin       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3709      Gloria        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3710      Erica         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3711      Jolene        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3712      Diane         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3713      Elissa        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3714      Kathleen      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3715      Mary-Esther   M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3716      Maria         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3717      Evelia        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3718      Sara          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3719      Josephine     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3720      Lynnette      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3721      Lilian        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3722      Sandra        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3723      Luanne        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3724      Susan         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3725      Marianne      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3726      Janie         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3727      Cynthia       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3728      Opal          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3729      Mary          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3730      Roberta       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3731      Teresa        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3732      Karla         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3733      Beth          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3734      Bethney       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3735      Phyllis       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3736      Cindy         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
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Page 90 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   3737      Pauline       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3738      Sandra        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3739      Sheryl        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3740      Janice        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3741      Deborah       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3742      Juanita       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3743      Sarah         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3744      Barbara       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3745      Staci         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3746      Nancy         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3747      Mary Agnes    M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3748      Melissa       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3749      Helen         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3750      Patricia      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3751      Marion        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3752      Jennifer      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3753      Carla         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3754      Erica         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3755      Lisa          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3756      Febra         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3757      Margaret      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3758      Holly         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3759      Ashley        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3760      Loretta       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3761      Belinda       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3762      Beverly       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3763      Annetta       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3764      Shaneese      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3765      Kiarah        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3766      Laura         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3767      Leona         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3768      Suzan         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3769      Nyanza        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3770      Christine     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3771      Melissa       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3772      Helen         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3773      Rosalind      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3774      Sabrina       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3775      Tammy         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3776      Daisy         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3777      Patricia      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3778      Brenda        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
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                                    Exhibit  (s) A - Q Page 830 of 1377
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Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 91 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   3779      Rosa          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3780      Josie         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3781      Erma          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3782      Lisa          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3783      Florence      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3784      Lisa          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3785      Kamira        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3786      Rita          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3787      Kelly         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3788      Kimbela       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3789      Cynthia       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3790      Lannayh       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3791      Patricia      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3792      Patricia      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3793      Kathleen      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3794      Myrna         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3795      Sharon        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3796      Deanna        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3797      Angel         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3798      Raegene       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3799      Kimberly      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3800      Marie         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3801      Gwenda        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3802      Lisa          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3803      Laura         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3804      Letitia       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3805      Bettie        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3806      Mary          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3807      Latricia      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3808      Jaqueline     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3809      Barbara       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3810      Cindi         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3811      Melverine     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3812      Linda         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3813      Claudia       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3814      Cathie        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3815      Lee Ann       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3816      Mindy         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3817      Jetayonna     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3818      Pamela        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3819      Diann         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3820      Laurie        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 831 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 92 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   3821      Jennifer      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3822      Linda         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3823      Faezeh        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3824      Lisa          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3825      Barbara       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3826      Eufemia       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3827      Diane         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3828      Stacy         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3829      Dianne        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3830      Florine       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3831      Delia         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3832      Teresa        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3833      Sylvia        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3834      Alicia        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3835      Katherine     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3836      Annie         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3837      Erma          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3838      Larita        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3839      Chiquita      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3840      Chaquita      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3841      Alitia        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3842      Lisa          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3843      Willie        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3844      Mechele       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3845      Vickie        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3846      Mitzie        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3847      Patricia      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3848      Elizabeth     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3849      Deborah       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3850      Ira           M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3851      Tangela       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3852      Brenda        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3853      Deborah       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3854      Susan         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3855      Shirley       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3856      Barbara       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3857      Kay           M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3858      Jacqueline    M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3859      Paulette      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3860      Susan         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3861      Toni          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3862      Brenda        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 832 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 93 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   3863      Terry         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3864      Kendra        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3865      Karen         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3866      Donna         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3867      Beverly       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3868      Christina     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3869      Rita          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3870      Lessie        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3871      Karen         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3872      Willette      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3873      Brayail       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3874      Pamela        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3875      Diana         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3876      Elizabeth     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3877      Carla         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3878      Sandra        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3879      Shery         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3880      Doris         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3881      Dorothy       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3882      Jo Ann        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3883      Karla         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3884      Luz           M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3885      Angela        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3886      Jackeline     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3887      Serenia       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3888      Nancy         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3889      Rosa          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3890      Maria         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3891      Nitzia        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3892      Diamond       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3893      Diana         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3894      Cathy         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3895      Terry         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3896      Carolyn       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3897      Susan         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3898      Alice         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3899      Shelly        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3900      Kimberly      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3901      Elease        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3902      Tequila       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3903      Paulette      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3904      Dzsanee       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

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       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 833 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 94 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   3905      Chatima       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3906      Phyllis       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3907      Simone        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3908      Dawn          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3909      Charolette    M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3910      Linda         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3911      Ella          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3912      Angela        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3913      Helen         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3914      Janet         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3915      Heather       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3916      Luz           M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3917      Elizabeth     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3918      JoAnn         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3919      Barbara       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3920      Norma         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3921      Janet         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3922      Jervonne      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3923      Quinisha      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3924      Jessie        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3925      Lula          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3926      Keshia        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3927      Ella          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3928      Dawn          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3929      Peggy         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3930      Joyce         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3931      Racine        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3932      Beatrice      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3933      Marina        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3934      Barbara       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3935      Janet         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3936      Delores       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3937      Susan         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3938      Beatrice      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3939      Angelia       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3940      Elizabeth     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3941      Linda         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3942      Eleanor       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3943      Rasheedah     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3944      Ruth          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3945      Tina          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3946      Francis       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

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       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 834 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 95 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   3947      Georgette     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3948      Jennifer      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3949      Julie         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3950      Lillian       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3951      Regina        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3952      Patricia Anne M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3953      Penny         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3954      Linda         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3955      Bertha        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3956      Mina          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3957      Kimberly      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3958      Frances       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3959      Doreen        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3960      Janet         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3961      Martha        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3962      Joyce         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3963      Marlene       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3964      Caroline      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3965      Jill          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3966      Marie         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3967      Kimberly      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3968      Mary          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3969      Christina     M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3970      Sharon        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3971      Gloria        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3972      Briana        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3973      Karen         M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3974      Cierra        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3975      Chyrell       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3976      Lois          M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3977      Tashlena      M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3978      Deniece       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3979      Monica        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3980      Stacey        M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3981      Willie Annie M.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3982      Ramesha       M.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3983      Kirsti        N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3984      Angela Denise N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3985      Shirley       N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3986      Dovie         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3987      Imara         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3988      Kathleen      N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 835 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 96 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   3989      Mary          N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3990      Tracey        N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3991      Eden          N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3992      Kathryn       N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3993      Cynthia       N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3994      Patricia      N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3995      Joyce         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3996      Rachel        N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3997      Carmel        N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3998      Freedom       N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   3999      Stephanie     N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4000      Angelica      N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4001      Rachel        N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4002      Betty         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4003      Nneka         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4004      Harrisha      N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4005      Kandyce       N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4006      Leta          N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4007      Kimberly      N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4008      Emma          N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4009      Sheri         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4010      Rose          N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4011      Linda         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4012      Constance     N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4013      Roberta       N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4014      Artis         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4015      Cheryl        N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4016      Cheryl        N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4017      Tajjah        N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4018      Patricia      N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4019      Phyllis       N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4020      Rosa Lee      N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4021      Patricia      N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4022      Trina         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4023      Melinda       N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4024      Karen         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4025      Gail          N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4026      Christine     N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4027      Geneva        N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4028      Doris Jean    N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4029      Kathy         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4030      Letisha       N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 836 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 97 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   4031      Angela        N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4032      Melisa        N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4033      Diane         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4034      Jennifer      N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4035      Jennifer      N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4036      Janet         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4037      Solina        N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4038      Debora        N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4039      Hue           N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4040      Cherilyn      N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4041      Beth          N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4042      Joyce         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4043      Annette       N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4044      Juliette      N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4045      Deborah       N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4046      Mary          N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4047      Chelseya      N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4048      Sharon        N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4049      Patricia      N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4050      Shelly        N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4051      Jean          N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4052      Juanita       N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4053      Carolyn       N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4054      Thomas        N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4055      Maria         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4056      Michelle      N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4057      Amy           N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4058      Annette       N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4059      Evangely      N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4060      Suzanne       N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4061      Ellavita      N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4062      Jill          N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4063      Valerie       N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4064      Patricia      N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4065      Sandra        N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4066      Rosa          N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4067      Deadra        N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4068      Tabitha       N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4069      Monica        N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4070      Latora        N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4071      Sulia         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4072      Collette      N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

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       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 837 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 98 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   4073      Pamela        N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4074      Gail          N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4075      Bertha        N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4076      Mariam        N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4077      Mary-Ann      N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4078      Ravonda       N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4079      Latonya       N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4080      Betty         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4081      Ruth          N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4082      Mary          N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4083      Terry         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4084      Misty         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4085      Alice         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4086      Kodylee       N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4087      Sarah         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4088      Rebecca       N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4089      Jennifer      N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4090      Nancy         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4091      Marilyn       N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4092      Loretta       N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4093      Daisy         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4094      Lane          N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4095      Pili          N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4096      Roxanne       N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4097      Kelly         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4098      Janet         N.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4099      Elizabeth     O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4100      Tara          O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4101      Kimberly      O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4102      Deanna        O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4103      Lillia        O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4104      Angela        O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4105      Tracy         O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4106      Katie         O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4107      Stacy         O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4108      Christine     O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4109      Njerrica      O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4110      Wanda         O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4111      Amanda        O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4112      Rose          O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4113      Judith        O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4114      Dora          O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 838 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 99 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   4115      Lauralea      O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4116      Samantha      O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4117      Kathryn       O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4118      Helen         O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4119      Barbara       O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4120      Marcella      O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4121      Anneka        O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4122      Cherie        O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4123      Theresa       O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4124      Julia         O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4125      Louella       O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4126      Ericka        O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4127      Kathleen      O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4128      Tammy         O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4129      Barbara       O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4130      Jeanne        O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4131      Maria         O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4132      Rosie         O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4133      Ana           O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4134      Sheila        O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4135      Iris          O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4136      Patricia      O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4137      Belinda       O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4138      Sandra        O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4139      Desiree       O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4140      Pamela        O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4141      Patricia      O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4142      Leah          O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4143      Shelley       O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4144      Oreal         O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4145      Misty         O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4146      Jo Lee        O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4147      Dorothy       O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4148      Valerie       O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4149      Roylene       O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4150      Rita          O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4151      Talia         O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4152      Rosalinda     O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4153      Donna         O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4154      Angelica      O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4155      Maria         O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4156      Leticia       O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 839 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 100 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   4157      Edna          O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4158      Frances       O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4159      Cammie        O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4160      Kimberly      O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4161      Linda         O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4162      Candice       O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4163      Lena          O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4164      Lena          O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4165      Wendy         O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4166      Maritza       O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4167      Mary          O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4168      Carole        O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4169      Angela        O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4170      Susan         O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4171      Veronica      O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4172      June          O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4173      Ruth          O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4174      Lois          O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4175      Wasan         O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4176      Sylvia        O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4177      Lora          O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4178      Joyce         O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4179      Robin         O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4180      Glenda        O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4181      Linda         O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4182      Tara          O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4183      Eileen        O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4184      Jennifer      O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4185      Johnnie       O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4186      Bernadette    O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4187      Chrisa        O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4188      Peggy         O.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4189      Gwendolyn     P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4190      Kimberly      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4191      Irene         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4192      Dorothy       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4193      Angelia       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4194      Christina     P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4195      Laura         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4196      Alexia        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4197      Kathy         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4198      Lorraine      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 840 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 101 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   4199      Socorro       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4200      Mary          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4201      Barbara       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4202      Faye          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4203      Maritza       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4204      Maria         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4205      Joann         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4206      Sherry        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4207      Marie         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4208      Sabrina       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4209      Marcia        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4210      Charnell      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4211      Elynor        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4212      Ashley        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4213      Alma          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4214      Victoria      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4215      Rita          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4216      Lula          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4217      Tonita        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4218      Ella          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4219      Rose          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4220      Japorie       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4221      Carolyn       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4222      Darlissi      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4223      Trinity       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4224      Regina        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4225      Sherry        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4226      Raquitda      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4227      Beryl         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4228      Laurie        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4229      Amanda        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4230      Margaret      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4231      Kathryn       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4232      Victoria      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4233      Frances       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4234      Charlotte     P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4235      Kristin       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4236      Ekta          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4237      Diana         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4238      Dawn          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4239      Mahalla       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4240      Tanisha       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 841 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 102 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   4241      Lynette       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4242      Micheale      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4243      Annettie      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4244      Michelle      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4245      Delores       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4246      Connie        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4247      Tanya         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4248      Lynn          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4249      Calinda       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4250      Tamika        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4251      Betty         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4252      Delois        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4253      Germany       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4254      Sandra        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4255      Dolores       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4256      Theresa       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4257      Sara          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4258      Susan         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4259      Randi         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4260      Debra         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4261      Terri         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4262      Jacquelyn     P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4263      Sandra        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4264      Hester        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4265      Rose          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4266      Joyce         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4267      Carol         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4268      Sylvia        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4269      Catherine     P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4270      Jenna         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4271      Sabrina       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4272      Brittini      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4273      Claraomin     P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4274      Belgica       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4275      Yolanda       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4276      Quanata       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4277      Guadalupe     P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4278      Jeanne        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4279      Theafern      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4280      Amanda        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4281      Marvecie      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4282      Misty         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 842 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   4283      Ashley        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4284      Victoria      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4285      Carrie        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4286      Kimberly      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4287      Loretta       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4288      Charity       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4289      Bertha        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4290      Vincenza      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4291      Wendy         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4292      Clara         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4293      Eleana        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4294      Cheri         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4295      Amanda        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4296      Theresa       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4297      Edna          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4298      Yacaira       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4299      Elizabeth     P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4300      Angie         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4301      Martha        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4302      Annette       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4303      Felicia       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4304      Amy           P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4305      Margarita     P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4306      Sonya Marta   P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4307      Sylvia        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4308      Joy           P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4309      Nancy         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4310      Bryan         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4311      Breana        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4312      Wilma         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4313      Lyubov        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4314      Yvonne        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4315      Cheryl        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4316      Carlesha      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4317      Shelva        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4318      Mary          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4319      Neta          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4320      Beverly       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4321      Sarah         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4322      Leelawatie    P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4323      Denise        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4324      Cristy        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 843 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 104 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   4325      Ruth          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4326      Melissa       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4327      Tritia        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4328      Patsy         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4329      Gloria        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4330      Christina     P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4331      Margaret      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4332      Roger         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4333      Cristin       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4334      Bonnie        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4335      Gertrude      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4336      Diane         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4337      Anjel         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4338      Patsy         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4339      Lawanda       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4340      Carol         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4341      Tuythuy       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4342      Sophia        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4343      Helen         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4344      Debbie        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4345      Maddalenna    P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4346      Stacia        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4347      Linda         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4348      Penny         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4349      Zenisha       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4350      Carolyn       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4351      Amanda        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4352      Early         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4353      Sharon        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4354      Lois          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4355      Theresa       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4356      Lelani        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4357      Elsa Lyda     P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4358      Jeanine       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4359      Prisicilla    P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4360      Patsy         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4361      Jodie         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4362      Shena         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4363      Kesha         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4364      Barbara       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4365      Robbie        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4366      Dorothy       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 844 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 105 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   4367      Alexandra     P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4368      Margaret      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4369      Debbie        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4370      Judith        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4371      Freddie       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4372      Dawnmarie     P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4373      Corine        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4374      Marie         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4375      Tangela       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4376      Dominique     P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4377      Nancy         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4378      Annie         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4379      Barbara       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4380      Tricia        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4381      Linder        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4382      Karoline      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4383      Cheryl        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4384      Suzanne       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4385      Jessica       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4386      Sharenthia    P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4387      Betty Jean    P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4388      Mary          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4389      Elizabeth     P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4390      Holly         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4391      Christy       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4392      Brandy        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4393      Fellicia      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4394      Lindsey       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4395      Lori          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4396      Juana         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4397      Rosie         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4398      Krishana      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4399      Sokhom        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4400      Loretta       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4401      Jana          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4402      Iunise        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4403      Christie      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4404      Lucille       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4405      Dekeishia     P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4406      Deborah       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4407      Sarah         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4408      Patricia      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
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Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 106 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   4409      Amy           P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4410      Lavada        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4411      Michelle      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4412      Tammy         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4413      Anita         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4414      Mary          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4415      Sharon        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4416      Dorothy       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4417      Gigi          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4418      Trellany      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4419      Susan         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4420      Margaret      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4421      Darlene       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4422      Theresa       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4423      Ruby          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4424      Lynette       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4425      Delores       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4426      Eileen        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4427      Sheryl        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4428      Trennetta     P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4429      Mary          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4430      Cynthia       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4431      Joan          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4432      Barbra        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4433      Teresa        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4434      Minnie        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4435      Connie        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4436      Clercie       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4437      Holly         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4438      Faih          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4439      Brandy        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4440      Linda         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4441      Mary          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4442      Carolyn       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4443      Diana         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4444      Paula         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4445      April         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4446      Renee         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4447      Angie         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4448      Margaret      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4449      Brenda        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4450      Chevanni      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 846 of 1377
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Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 107 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   4451      Crystal       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4452      Brenda        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4453      Annette       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4454      Debbie        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4455      Moneesha      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4456      Yvonne        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4457      Rosalind      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4458      Lisa          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4459      Lisa          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4460      Hope          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4461      Audra         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4462      Dorothea      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4463      Felicia       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4464      Theresa       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4465      Eva           P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4466      Dorothy       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4467      Vanissa       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4468      Latonya       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4469      Thelma        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4470      Betty         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4471      Donna         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4472      Diane         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4473      Susan         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4474      Nicole        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4475      Hanna         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4476      Shelia        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4477      Gina          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4478      Gail          P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4479      Julie         P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4480      Darlene       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4481      Juanita       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4482      Airrion       P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4483      Victoria      P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4484      Shelly        P.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4485      Elizabeth     Q.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4486      Theola        Q.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4487      Lacey         Q.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4488      Mary          Q.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4489      Summer        Q.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4490      Corine        Q.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4491      Marcellina    Q.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4492      Casandra      Q.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 847 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 108 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   4493      Joyce         Q.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4494      Erica         Q.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4495      Mary          Q.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4496      Martha        Q.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4497      Nettie        Q.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4498      Amanda        Q.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4499      Jayne         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4500      Shannon       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4501      Danielle      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4502      Irene         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4503      Nancy         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4504      Laurie        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4505      Darla         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4506      Misty         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4507      Jacqueline    R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4508      Sandra        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4509      Sondra        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4510      Brenda        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4511      Sue           R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4512      Tiffany       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4513      Aayaat        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4514      Sheryl        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4515      Denise        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4516      Linda         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4517      Edith         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4518      Ashley        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4519      Chanda        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4520      Bridget       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4521      Becky         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4522      Yvonne        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4523      Cecilia       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4524      Ileana        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4525      Annette       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4526      Amanda        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4527      Arlene        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4528      Betty         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4529      Stephanie     R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4530      Leandrea      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4531      Alika         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4532      Brenda        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4533      Michelle      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4534      Zaida         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 848 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 109 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   4535      Tracy         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4536      Michelle      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4537      Carol         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4538      Amy           R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4539      Marcie        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4540      Lauren        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4541      Doris         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4542      Carolynn      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4543      Sherry        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4544      Karen         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4545      Kim           R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4546      Shirley       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4547      Jennifer      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4548      Rose          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4549      Trivelene     R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4550      Dwikesheia    R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4551      Selina        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4552      Eugenia       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4553      Deborah       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4554      Donna         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4555      Lila          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4556      Terry         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4557      Janie Bell    R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4558      Donna         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4559      Linda         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4560      Illona        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4561      Leslie        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4562      Reesha        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4563      Angie         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4564      Linda         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4565      Sherrie       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4566      Sonjia        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4567      Elsie         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4568      Keva          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4569      Cheryl        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4570      Imogene       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4571      Sonia         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4572      Tamara        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4573      Rose          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4574      Mary          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4575      Lekesha       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4576      Jacqueline    R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 849 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 110 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   4577      Amy           R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4578      Nolean        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4579      Quatana       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4580      Bobbie        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4581      Jacqueline    R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4582      Vera          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4583      Luane         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4584      Dionne        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4585      Rosa          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4586      Angie         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4587      Lori          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4588      Elouise       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4589      Mildred       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4590      Susan         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4591      Pauline       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4592      Marguerite    R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4593      Laurie        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4594      Tamara        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4595      Edith         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4596      Adelaide      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4597      Jennifer      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4598      Cheryl        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4599      Michelle      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4600      Janet         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4601      Ashley        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4602      Orga          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4603      Lisa          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4604      Esther        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4605      Sylvia        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4606      Annamarie     R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4607      Juanita       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4608      Andrea        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4609      Shantel       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4610      Deborah       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4611      Rebecca       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4612      Marion        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4613      Monica M.     R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4614      Brenda        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4615      Stephanie     R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4616      Linda         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4617      Kati          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4618      Michele       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 850 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 111 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   4619      Dominic       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4620      Andrea        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4621      Donna         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4622      Velona        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4623      Geraldine     R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4624      Shirley       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4625      Sandra        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4626      Lakrisha      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4627      Nichole       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4628      Mary          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4629      Katherine     R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4630      Joy           R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4631      Dolly         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4632      Brittney      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4633      Felisa        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4634      Evelina       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4635      Jessica       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4636      Annette       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4637      Yolanda       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4638      Christina     R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4639      Chrystal      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4640      Maria         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4641      Cassandra     R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4642      Dawn          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4643      Betty         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4644      Cheri         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4645      Akivia        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4646      Erika         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4647      Christle      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4648      Jessica       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4649      Cletis        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4650      Karen         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4651      Sharron       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4652      Marion        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4653      Cynthia       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4654      Elisabeth     R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4655      Sheila        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4656      Cindy         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4657      Hazel         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4658      Jill          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4659      Jana          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4660      Nancy         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 851 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 112 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   4661      Sarah          R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4662      Olga           R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4663      Kathleen       R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4664      Sandra         R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4665      Alba           R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4666      Jessica        R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4667      Stephanie      R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4668      Ollie          R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4669      Jody           R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4670      Connie         R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4671      Luz            R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4672      Elizabeth      R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4673      Maria          R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4674      Julia          R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4675      Maria          R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4676      Myrna          R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4677      Rosa           R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4678      Connie         R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4679      Janice         R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4680      Kathryn        R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4681      Mary           R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4682      Diane          R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4683      Pamela         R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4684      Elisa          R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4685      Jane           R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4686      Vivian Marie   R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4687      Sonya          R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4688      Amanda         R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4689      Stephanie      R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4690      Dorothy        R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4691      Patricia       R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4692      Margaret       R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4693      Constance      R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4694      Caroline       R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4695      Trinity        R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4696      Betty          R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4697      Conya          R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4698      Janet          R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4699      Heidi          R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4700      Bernice        R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4701      Gloria         R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4702      Barbara        R.              [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 852 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 113 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   4703      Angeline      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4704      Shapearl      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4705      Lajean        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4706      Linda         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4707      Donia         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4708      Rita          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4709      Verita        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4710      Jennifer      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4711      Dixie         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4712      Sandria       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4713      Beverly       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4714      Wendy         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4715      Anna          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4716      Margaret      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4717      Socorro       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4718      Virginia      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4719      Susan         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4720      Kathlenn      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4721      Lindsay       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4722      Helen         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4723      Janet         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4724      Tracy         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4725      Kisha         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4726      Joanie        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4727      Linda         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4728      Amanda        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4729      Mary Ann      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4730      Celeste       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4731      Josephine     R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4732      Elba          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4733      Zulma         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4734      Celeste       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4735      Guadalupe     R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4736      Arlene        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4737      Guillermina   R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4738      Roberta       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4739      Nora          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4740      Madeline      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4741      Yolanda       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4742      Jillian       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4743      Luz           R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4744      Francisca     R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 853 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 114 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   4745      Alisa         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4746      Milisa        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4747      Esmeralda     R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4748      Jennifer      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4749      Linda         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4750      Madeline      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4751      Jean          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4752      Cynthia       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4753      Carolyn       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4754      Laurann       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4755      Gricelda      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4756      Helen         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4757      Stephanie     R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4758      Tracy         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4759      Memory        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4760      Annie         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4761      Kimberly      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4762      Jacqueline    R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4763      Evelyn        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4764      Mary          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4765      Diana         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4766      Linda         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4767      Aixa          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4768      Mary          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4769      Diana         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4770      Jipsea        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4771      Lisa          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4772      Mary          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4773      Esme          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4774      Jocylan       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4775      Evelyn        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4776      Carrie        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4777      Colleen       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4778      Stephanie     R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4779      Sierra        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4780      Stephany      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4781      Mary          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4782      Christeen     R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4783      Latora        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4784      Ann           R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4785      Diane         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4786      Marion        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 854 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 115 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   4787      Tiara         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4788      Patricia      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4789      Gloria        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4790      Chrystal      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4791      Charlotte     R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4792      Shanta        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4793      Rosemary      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4794      Rose          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4795      Lindora       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4796      Lynette       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4797      Seanell       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4798      Diana         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4799      Rhonda        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4800      June          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4801      Mary          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4802      Laura         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4803      Janet         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4804      Adrienne      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4805      Renee         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4806      Linda         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4807      Cheri         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4808      Peggy         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4809      Roxanne       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4810      Patricia      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4811      Heather       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4812      Eva           R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4813      Jamie         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4814      Diana         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4815      Melissa       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4816      Eleanor       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4817      Karla         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4818      Arlene        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4819      Olivia        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4820      Gloria        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4821      Polly         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4822      Vicki         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4823      Demarcus      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4824      Jacqueline    R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4825      Alana         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4826      Elaina        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4827      Rachel        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4828      Esmeralda     R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 855 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 116 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   4829      Karen         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4830      Margaret      R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4831      Zuzana        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4832      Glenn         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4833      Carrie        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4834      Eloise        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4835      Barbara       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4836      Joan          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4837      Vickie        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4838      Shamara       R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4839      Mary          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4840      Mary          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4841      Diana         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4842      Lisa          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4843      Angel         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4844      Tameka        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4845      Sally         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4846      Meagan        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4847      Nicole        R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4848      Mary          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4849      Clare         R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4850      Gail          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4851      Lisa          R.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4852      Stephanie     S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4853      Laloifi       S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4854      Joanna        S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4855      Marcia        S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4856      Kiran         S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4857      Sheila        S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4858      Barbara       S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4859      Valerie       S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4860      Montaha       S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4861      Jondra        S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4862      Tilly         S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4863      Monica        S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4864      Sharon        S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4865      Erica         S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4866      Karen         S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4867      Eileen        S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4868      Rebecca       S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4869      Lori          S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4870      Hillari       S.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

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       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 856 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 117 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   4871      Robin         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4872      Brenda        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4873      Belinda       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4874      Winifred      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4875      Jamie         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4876      Nellie        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4877      Jeannette     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4878      Tammy         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4879      Maria         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4880      Cecilia       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4881      Heather       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4882      Ophelia       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4883      Tammy         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4884      Jacqueline    S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4885      Lisa          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4886      Angela        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4887      Ethelree      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4888      Fatima        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4889      Evelyn        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4890      Donna         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4891      Vernetha      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4892      Marsha        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4893      Johnnie       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4894      Patricia      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4895      Debra         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4896      Dorothy       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4897      Tanya         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4898      Misty         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4899      Corina        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4900      Mary          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4901      Sheila        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4902      Sharon        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4903      Maria         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4904      Madelin       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4905      Gricel        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4906      Faith         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4907      Patricia      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4908      Rhoda         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4909      Annasheril    S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4910      Joanne        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4911      Frances       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4912      Wanda         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 857 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 118 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   4913      Mindy         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4914      Russell       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4915      Jessie        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4916      Rendie        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4917      Vaunda        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4918      Brenda        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4919      Beverly       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4920      Andrea        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4921      Theresa       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4922      Sheryl        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4923      Ruby          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4924      Stephanie     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4925      Hope          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4926      Sheryl        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4927      Kathy         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4928      Zoe           S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4929      Ruth          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4930      Sherry        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4931      Norma         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4932      Vicky         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4933      Ashley        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4934      Marie         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4935      Norma         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4936      Teresa        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4937      Tarene        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4938      Beth          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4939      Susan         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4940      Sharon        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4941      Kathleen      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4942      Helen Marie   S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4943      Johni         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4944      Renee         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4945      Loretta       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4946      Susan         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4947      Christine     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4948      Donna         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4949      Melissa Ann   S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4950      Mary          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4951      Koby          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4952      Paula         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4953      Pat           S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4954      Gladys        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 858 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   4955      Bonnie        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4956      Kimberly      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4957      Rita          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4958      Karen         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4959      Lorraine      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4960      Denice        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4961      Angela        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4962      Nannette      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4963      Deborah       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4964      Roberta       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4965      Diane         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4966      Susan         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4967      Karin         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4968      Karen         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4969      Jasmine       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4970      Erica         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4971      Alta          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4972      Anastasia     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4973      Sarah         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4974      Brenda        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4975      Jackie        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4976      Patti         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4977      Dorothy       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4978      Audrey        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4979      Anita         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4980      Irish         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4981      Dartha        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4982      Ceola         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4983      Margorie      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4984      Regina        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4985      Dorothy       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4986      Ricardia      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4987      Travis        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4988      Eileen        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4989      Kathy         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4990      Bonnie        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4991      Laura         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4992      Mary          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4993      Barbara       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4994      Darra         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4995      Angela        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4996      Wendy         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 859 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   4997      Enid          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4998      Carol         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   4999      Jennifer      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5000      Gertrude      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5001      Yurilane      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5002      Luz           S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5003      Angela        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5004      Haley         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5005      Katrina       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5006      Esco          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5007      Latisha       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5008      Cynthia       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5009      Valarie       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5010      Elizabeth     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5011      Jacquelle     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5012      Patricia      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5013      Mary          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5014      Patricia      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5015      Coury         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5016      Lindsay       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5017      Bobbie        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5018      Tonya         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5019      Rene          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5020      Cassondra     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5021      Ginger        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5022      Dollee        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5023      Ann           S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5024      Mary          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5025      Charlotte     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5026      Martha        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5027      Sarah         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5028      Amber         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5029      Brenda        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5030      Cyndy         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5031      Jennifer      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5032      Andrea        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5033      Anne          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5034      Dawn          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5035      Bobbie        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5036      Jean          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5037      Jennifer      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5038      Cindy         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 860 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 121 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   5039      Christine     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5040      Sheri         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5041      Borntakesha   S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5042      Joyce         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5043      Ashly         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5044      Tiffany       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5045      Jojean        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5046      Shirley       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5047      Jennifer      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5048      Pamela        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5049      Dorothy       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5050      Leah          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5051      Betty         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5052      Crystal       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5053      Diedra        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5054      Lisa          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5055      Mindy         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5056      Tanya         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5057      Britney       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5058      Nicole        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5059      Angelene      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5060      Belinda       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5061      Linda         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5062      Tammy         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5063      Marguerite    S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5064      Sarah         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5065      Regina        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5066      Anna          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5067      Toby          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5068      Sharon        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5069      Tamara        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5070      Yvette        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5071      Tami          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5072      Artees        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5073      Vangela       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5074      Sekeitha      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5075      April         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5076      Lela          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5077      Winter        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5078      Denise        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5079      Ruth          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5080      Grace         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 861 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 122 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   5081      Dawn          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5082      Stella        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5083      Elizabeth     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5084      Laura         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5085      Jean          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5086      Marcia        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5087      Cheryl        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5088      Kary          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5089      Kimberley     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5090      Paula         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5091      Bernice       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5092      Pamela        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5093      Monica        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5094      Jean          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5095      Ronda         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5096      Michon        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5097      Lanisha       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5098      Kieosha       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5099      Evelyn        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5100      Myra          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5101      Ritha         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5102      Leigh         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5103      Michele       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5104      Marsha        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5105      Rajmattie     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5106      Karen         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5107      Cecelia       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5108      Chunese       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5109      Beverly       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5110      Heather       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5111      Michelle      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5112      Marjorie      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5113      Luiceal       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5114      Desirree      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5115      Alana         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5116      Ann Marie     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5117      Cora          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5118      Emily         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5119      Gwendolyn     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5120      Pamela        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5121      Roberta       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5122      Carletha      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 862 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 123 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   5123      Enola         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5124      Tequira       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5125      IKesha        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5126      Desiree       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5127      Dorothy       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5128      Janet         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5129      Yolanda       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5130      Jovanka       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5131      Eleanor       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5132      Pearl         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5133      Nataile       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5134      Crystal       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5135      Jamie         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5136      Sara          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5137      Leticia       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5138      Kimberly      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5139      Roxanna       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5140      Bonilu        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5141      Ashley        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5142      Candice       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5143      Wilma         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5144      Deshay        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5145      Elizabeth     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5146      Geraldine     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5147      Norma         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5148      Cynthia       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5149      Lakysha       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5150      Farlona       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5151      Wanda         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5152      Debbie        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5153      Alkeisha      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5154      Nashand       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5155      Brenda        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5156      Machelle      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5157      Cherry        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5158      Lilibea       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5159      Nashay        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5160      Toni          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5161      Linda         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5162      Gisele        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5163      Sharleen      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5164      Sharon        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 863 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 124 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   5165      Sue           S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5166      Shae          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5167      Nekishia      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5168      Precious      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5169      Alfreda       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5170      Brittney      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5171      Shaquita      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5172      Susan         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5173      Shirley       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5174      Jocelyn       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5175      Cassandra     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5176      Stephanie     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5177      Lois          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5178      Tracy         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5179      Sheryl        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5180      Helen         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5181      Jessie        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5182      Alberta       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5183      Marguerite    S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5184      Roketha       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5185      Barbara       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5186      Jeanette      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5187      Jeanette      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5188      Sherry        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5189      Eleanoria     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5190      Sharon        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5191      Laurie        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5192      Margaret      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5193      Lori          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5194      Brea          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5195      Sally         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5196      Carol         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5197      Doris         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5198      Judith        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5199      Elaine        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5200      Millicent     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5201      Esther        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5202      Jennifer      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5203      Karen         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5204      Martha        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5205      Myrtle        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5206      Anna          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 864 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 125 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   5207      Renee         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5208      Mary          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5209      Maria         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5210      Mirta         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5211      Laura         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5212      Helen         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5213      Teresa        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5214      Maria         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5215      Linda         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5216      Janelle       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5217      Sharon        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5218      Brenda        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5219      Annette       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5220      Melanie       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5221      Rachel        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5222      Anna          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5223      Trudy         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5224      Darlene       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5225      Marlecia      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5226      Cynthia       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5227      Rebecca       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5228      Virginia      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5229      Linda         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5230      Tina          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5231      Cathy         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5232      Priscilla     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5233      Tiwanna       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5234      Renee         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5235      Nelda         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5236      Tammy         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5237      Mary          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5238      Mona          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5239      Mary          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5240      Ludmila       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5241      Octavia       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5242      Dolorese      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5243      Anne          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5244      Deneshia      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5245      Rosie         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5246      Karla         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5247      Brenda        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5248      Donna         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 865 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 126 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   5249      Christine     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5250      Deborah       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5251      Linda         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5252      Karyn         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5253      Susan         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5254      Betty         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5255      Jessica       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5256      Sarahphine    S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5257      Cathie        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5258      Penny         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5259      Daphne        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5260      Coplyn        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5261      Ruby          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5262      Linda         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5263      Jennifer      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5264      Warene        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5265      Lisa Marie    S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5266      Leslie        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5267      Cynthia       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5268      Katherine     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5269      Wendy         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5270      Beverly       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5271      Valerie       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5272      Adrienne      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5273      Jona          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5274      Paula         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5275      Rosie         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5276      Ebony         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5277      Mattie        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5278      Bettina       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5279      Stacey        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5280      Pamela        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5281      Lawana        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5282      Kimberly      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5283      Janet         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5284      Sylvia        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5285      Donna         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5286      Nola          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5287      China         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5288      Rose          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5289      Kayla         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5290      April         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

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       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 866 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 127 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   5291      Senaida       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5292      Sheila        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5293      Dorothy       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5294      Rhoda         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5295      Ashley        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5296      Karen         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5297      Cathy         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5298      Mary          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5299      Robyn         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5300      Connie        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5301      Juanita       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5302      Alicia        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5303      Carolyn       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5304      Patricia      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5305      Mary          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5306      Storme        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5307      Donna         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5308      Dorothy       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5309      Linda         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5310      Ellen         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5311      Pat           S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5312      Sabrina       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5313      Angela        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5314      Charla        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5315      Joan          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5316      Susan         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5317      Amelia        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5318      Martha        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5319      Karen         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5320      Virginia      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5321      Frances       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5322      Guendolina    S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5323      Joyce         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5324      Meghan        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5325      Esther        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5326      Shamekia      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5327      Samantha      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5328      Julie         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5329      Keena         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5330      Constance     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5331      Liwanda       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5332      Maria         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

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       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 867 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 128 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   5333      Tikea         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5334      Dorothy       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5335      Donna         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5336      Shannon       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5337      Penny         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5338      Barbara       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5339      Martha        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5340      Tina          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5341      Brandy        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5342      Kathy         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5343      Lucille       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5344      Betheny       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5345      Anne          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5346      Jennifer      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5347      Terry         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5348      Deborah       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5349      Denise        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5350      Jackie        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5351      Lois          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5352      Birdie        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5353      Norma         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5354      Elizabeth     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5355      Sonya         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5356      Amber         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5357      Linda         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5358      Danna         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5359      Katry         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5360      Dana          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5361      Helen         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5362      Lashonda      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5363      Alana         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5364      Judy          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5365      Karen         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5366      Tara          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5367      Karrie        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5368      Lisa          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5369      Sandra        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5370      Emma          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5371      Ladisha       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5372      Lisa          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5373      Christy       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5374      Myranda       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 868 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 129 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   5375      Mary          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5376      Ardelia       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5377      Lori          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5378      Rosa          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5379      Virginia      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5380      Ruheyyah      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5381      Rebecca       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5382      Connie        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5383      Kelly         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5384      Malysha       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5385      April         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5386      Tristin       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5387      Cheryl        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5388      Sharon        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5389      Catherine     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5390      Rochelle      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5391      Susan         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5392      Myrtle        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5393      Pamela        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5394      Theresa       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5395      Linda         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5396      Bonnie        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5397      Danielle      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5398      Theresa       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5399      Tani          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5400      Juanita       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5401      Doris         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5402      Brandy        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5403      Christina     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5404      Joni          S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5405      Tracey        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5406      Phyllis       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5407      Patricia      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5408      Debra         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5409      Lorraine      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5410      Elizabeth     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5411      Catherine     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5412      Carolyn       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5413      Jenaiah       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5414      Elizabeth     S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5415      Cathy         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5416      Shauna        S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 869 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 130 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   5417      Jennifer      S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5418      Katrina       S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5419      Lesia         S.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5420      Stacy         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5421      Virginia      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5422      Christie      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5423      Marilyn       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5424      Jennifer      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5425      Tamara        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5426      Nona          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5427      Lisa          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5428      Sandra C      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5429      Lynette       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5430      Joyce         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5431      Gail          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5432      Olga          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5433      Patricia      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5434      Velma         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5435      Heather       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5436      Jennifer      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5437      Margie        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5438      April         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5439      Cindy         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5440      Esther        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5441      Sheryl        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5442      Lecille       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5443      Bethany       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5444      Gina          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5445      Margret       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5446      Shannon       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5447      Pamela        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5448      Lasandra      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5449      Phyllis       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5450      Tanika        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5451      Brenda        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5452      Kathy         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5453      Jolanda       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5454      Eneequa       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5455      Tanya         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5456      Terry         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5457      Vivian        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5458      Denika        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 870 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 131 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   5459      Tammy         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5460      Deborah       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5461      Demica        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5462      Essiey        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5463      Tracie        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5464      Casey         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5465      Jeannie       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5466      Nancy         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5467      Savitri       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5468      Joyce         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5469      Courtney      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5470      Joan          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5471      Lula          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5472      Alice         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5473      Patricia L    T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5474      Pamela        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5475      Kathryn       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5476      Susan         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5477      Nearneshka    T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5478      Rose          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5479      Kelly         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5480      Toni          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5481      Carrie        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5482      Linda         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5483      Merry         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5484      Susan         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5485      Becki         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5486      Angelie       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5487      Ann           T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5488      April         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5489      Anna          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5490      Joy           T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5491      Rebecca       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5492      Susan         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5493      Charlene      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5494      Sidney        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5495      Shirley       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5496      Sharon        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5497      Bernice       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5498      Yolanda       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5499      Shakeidra     T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5500      Kershena      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 871 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 132 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   5501      Loretta       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5502      Fatima        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5503      Gail          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5504      Frances       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5505      Bertha        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5506      Della         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5507      Sadie         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5508      Mellessa      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5509      Donnah        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5510      Carol         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5511      Jasmine       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5512      Toya          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5513      Judith        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5514      Jacqueline    T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5515      Judy          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5516      Lucretia      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5517      Cynthia       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5518      Amanda        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5519      Lenora        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5520      Rhonda        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5521      Kathy         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5522      Shirley       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5523      Alexandra     T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5524      Ima           T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5525      Crystal       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5526      Barbara       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5527      Delories      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5528      Elizabeth     T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5529      Samatha       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5530      Ona           T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5531      Tasha         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5532      Belinda       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5533      Erica         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5534      Catherine     T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5535      Cathy         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5536      Vanita        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5537      Aloha         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5538      Judith Ann    T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5539      Mildred       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5540      Dana          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5541      Latonia       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5542      Mindy         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 872 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 133 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   5543      Natasha       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5544      Kathleen      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5545      Laura         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5546      Donna         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5547      Lisa          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5548      Billie        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5549      Dianna        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5550      Nith          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5551      Carol         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5552      Anette        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5553      Susanne       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5554      Miracle       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5555      Patricia      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5556      Tyronda       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5557      Latrika       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5558      Gladys        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5559      Aruna         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5560      Gail          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5561      Debra         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5562      Julie         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5563      Melissa       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5564      Cheryl        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5565      Brittney      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5566      Anh           T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5567      Mallerie      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5568      Mona          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5569      Frances       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5570      Billie        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5571      Sandra        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5572      Rita          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5573      Mayola        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5574      Kimberli      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5575      Catherine     T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5576      Willye        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5577      Karen         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5578      Janite        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5579      Regina        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5580      Bettyann      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5581      Beverly       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5582      Joyce         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5583      Lacressa      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5584      Marie         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 873 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 134 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   5585      Nancy         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5586      Debra         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5587      Janet         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5588      Norma         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5589      Kristin       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5590      Teri          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5591      Maryann       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5592      Patricia      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5593      Angela        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5594      Margaret      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5595      Joan          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5596      Sashema       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5597      Amy           T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5598      Terry         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5599      Julianne      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5600      Lois          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5601      Daisy         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5602      Mary          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5603      Andrea        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5604      Johanna       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5605      Isabelle      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5606      Gaudalupe     T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5607      Pixie         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5608      Charlene      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5609      Susan         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5610      Cheryl        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5611      Tonya         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5612      Maureen       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5613      Mary          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5614      Karen         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5615      Antonette     T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5616      Amanda        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5617      Glenda        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5618      Jessica       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5619      Jaclyn        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5620      Audrey        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5621      Elease        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5622      Peggy         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5623      Sundina       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5624      Donna         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5625      Leona         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5626      Lisa          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 874 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 135 of 149

              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   5627      Francis       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5628      Kerrie        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5629      Emma          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5630      Cheryl        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5631      Amy           T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5632      Janice        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5633      Judy          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5634      Amber         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5635      Lalonnie      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5636      Samantha      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5637      Lona          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5638      Aida          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5639      Coralee       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5640      Luvlee        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5641      Kimberly      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5642      Garthena      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5643      Tina          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5644      Cythia        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5645      Stephanie     T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5646      Laqona        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5647      Tammy         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5648      Eleanor       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5649      Diane         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5650      Sheila        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5651      Cecilia       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5652      Marilyn       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5653      Deborah       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5654      Loretta       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5655      Sharolynn     T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5656      Angel         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5657      Rhonda        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5658      Gina          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5659      Ernestine     T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5660      Jacqueline    T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5661      Mamie         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5662      Joyce         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5663      Emma Jean     T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5664      Danielle      T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5665      Betty         T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5666      Barbara       T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5667      Debrah        T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5668      Mary          T.                [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 875 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 136 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   5669      Susan         T.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5670      Antoinette    T.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5671      Susanna       T.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5672      Pauline       T.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5673      Elaine        T.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5674      Essie         T.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5675      Aja           T.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5676      Aqueena       T.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5677      Cynthia       T.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5678      Sherry        T.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5679      Patricia      U.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5680      Olotauatia    U.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5681      Gina          U.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5682      Penny         U.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5683      Marsha        U.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5684      Paula         U.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5685      Unknown       U.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5686      Mary          U.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5687      Brenda MollereU.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5688      Lydia         U.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5689      Esther        U.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5690      Aline         U.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5691      Delfa         U.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5692      Peaches       U.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5693      Annette       U.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5694      Sabine        V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5695      Carole        V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5696      Guadalupe     V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5697      Michelle      V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5698      Maglina       V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5699      Rosa          V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5700      Nancy         V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5701      Mariateresita V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5702      Gina          V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5703      Carol         V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5704      Suzanne       V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5705      Debra         V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5706      Karen         V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5707      Summer        V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5708      Lori          V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5709      Joanna        V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5710      Brittany      V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 876 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 137 of 149

              First Name      Last Name
 Claimant                                                        SSN      Date of Death
               (injured        (injured     Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)         person)
   5711      Carolyn         V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5712      Elis            V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5713      Candace         V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5714      Yvonne          V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5715      Dorothy         V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5716      Beth            V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5717      Barbara Jean V.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5718      Vanessa         V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5719      April           V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5720      Susanne         V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5721      Patricia        V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5722      Barbara         V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5723      Margaret        V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5724      Robin           V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5725      Criniya         V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5726      Kaimana         V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5727      Heather         V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5728      Cristy          V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5729      Robin           V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5730      Latasha         V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5731      Christy         V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5732      Wynisha         V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5733      Lori            V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5734      Shimery         V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5735      Bernice         V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5736      Rosa            V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5737      Linda           V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5738      Adelsa          V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5739      Iolanda         V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5740      Glenda          V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5741      Socorro         V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5742      Oslaida         V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5743      Marlene         V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5744      Marina          V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5745      Sanjuanita      V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5746      Maria           V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5747      Enes            V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5748      Tracy           V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5749      Dawn            V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5750      Lynne           V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5751      Wanda           V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5752      Gloria Ivelisse V.             [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 877 of 1377
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Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 138 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   5753      Glenda        V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5754      Kathryn       V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5755      Patricia      V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5756      Miriam        V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5757      Vivian        V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5758      Dianna        V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5759      Senora        V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5760      Annette       V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5761      Rose          V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5762      Elizabeth     V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5763      Eddeana       V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5764      Anna          V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5765      Susan         V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5766      Brandy        V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5767      Doris         V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5768      Maria         V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5769      Bonnie        V.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5770      Carolyn       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5771      Tammy         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5772      Carolyn       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5773      Susan         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5774      Judith        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5775      Nickko        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5776      Kathryn       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5777      Bonnie        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5778      Carolyn       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5779      Margaret      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5780      Alexandria    W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5781      Jasmine       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5782      Julia         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5783      Bertha        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5784      Samantha      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5785      Takila        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5786      Joanne        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5787      Charlcene     W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5788      Janada        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5789      Jenna         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5790      Delinda       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5791      Erma          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5792      Mindi         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5793      Diane         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5794      Angela        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 878 of 1377
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Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 139 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   5795      Ora           W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5796      Diane         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5797      Jenal         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5798      Sheridy       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5799      Deborah       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5800      Kawana        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5801      Veronica      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5802      Sally         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5803      Virginia      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5804      Laurie        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5805      Dorothy       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5806      Sidelle       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5807      Airica        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5808      Miranda       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5809      Catherine     W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5810      April         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5811      Evelyn        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5812      Lacy          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5813      Adele         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5814      Priscilla     W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5815      Mary          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5816      Thomascene    W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5817      Shirley       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5818      Coralinda     W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5819      Michelle      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5820      Diane         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5821      Sharon        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5822      Carol         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5823      Chantay       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5824      Carolyn       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5825      Dorothy       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5826      December      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5827      Jessica       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5828      Charlene      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5829      Marie         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5830      Tonya         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5831      Leandra       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5832      Joyce         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5833      Bonnie        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5834      Charne        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5835      Gina          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5836      Bertha        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 879 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 140 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   5837      Miakka        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5838      Barbara       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5839      Shari         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5840      Daphanie      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5841      Elnora        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5842      Mary          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5843      Dominique     W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5844      Felica        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5845      Paula         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5846      Doris         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5847      Donna         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5848      Elizabeth     W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5849      Cheryl        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5850      Dianne        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5851      Shaunque      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5852      Juanita       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5853      Courtney      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5854      Brenda        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5855      Kimberly      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5856      Brenda        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5857      Cleo          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5858      Mildred       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5859      Jennifer      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5860      LaTonia       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5861      Trina         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5862      Erika         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5863      Sylvia        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5864      Caroline      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5865      Amber         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5866      Tina          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5867      Pauline       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5868      Jessica       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5869      Francies      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5870      Gerlien       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5871      LeEtta        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5872      Melanie       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5873      Kenisha       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5874      Jeannette     W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5875      Carol         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5876      Christina     W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5877      Tezra         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5878      Kelly         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 880 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 141 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   5879      Jill          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5880      Jacqueline    W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5881      Tina          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5882      Barbara       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5883      Noella        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5884      Michele       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5885      Kathy         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5886      Tjuana        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5887      Joy           W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5888      Bertha        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5889      Tabatha       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5890      Angela        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5891      Sharla        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5892      Debbie        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5893      Mailyn        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5894      Cindie        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5895      Pam           W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5896      Lisa          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5897      Frances       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5898      Margaret      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5899      Frances       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5900      Wendy         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5901      Elevera       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5902      Annette       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5903      Donna         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5904      Bonnie        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5905      Valerie       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5906      Shirley       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5907      Alma          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5908      Patricia      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5909      Carrie        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5910      Yulanda       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5911      Susan         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5912      Dana          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5913      Diana         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5914      Jacqueline    W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5915      Sharon        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5916      Deborah       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5917      Olga          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5918      Deanna        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5919      Rosemary      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5920      Robin         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 881 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 142 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   5921      Antoinette    W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5922      Trenica       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5923      Karon         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5924      Tammy         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5925      Alesha        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5926      Martha        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5927      Amanda        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5928      Betty         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5929      Alicia        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5930      Gloria        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5931      Lynn          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5932      Ila           W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5933      Apral         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5934      Annie         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5935      Cheryl        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5936      Robyn         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5937      Karen         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5938      Eloise        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5939      Vallie        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5940      Ginger        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5941      Xkeona        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5942      Patricia      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5943      Teresa        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5944      Etta          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5945      Barbara       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5946      Sharon        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5947      Donna         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5948      Tammy         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5949      Crystal       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5950      Janice        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5951      Myresha       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5952      Eboni         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5953      Ashley        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5954      Sierra        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5955      Carolyn       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5956      Margaret      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5957      Tiffany       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5958      Katherine     W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5959      Runda         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5960      Gertrude A.   W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5961      Irene         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5962      Glenda        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 882 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   5963      Joan           W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5964      Jacqueline     W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5965      Panda          W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5966      Blanche        W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5967      Greta          W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5968      Sharon         W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5969      Niqua          W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5970      Katharine      W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5971      Marcia         W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5972      Caroline       W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5973      Tiffany        W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5974      Adjoa          W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5975      Michelle       W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5976      Sherry         W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5977      Sara           W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5978      Valicia        W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5979      Valerie        W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5980      Davitta        W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5981      Grace          W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5982      Deborah        W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5983      Donna          W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5984      Beverly        W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5985      Annie          W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5986      Danielle       W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5987      Tonya          W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5988      Marilyn        W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5989      Phyllis        W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5990      Geraldine      W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5991      Geraldine      W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5992      Kenyetta       W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5993      LaShawn        W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5994      Alicia         W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5995      Tammy          W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5996      Tiffanie       W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5997      Shirley        W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5998      Sherell        W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   5999      Crystal        W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6000      Sharde         W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6001      Christina ReaneW.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6002      Tanyelle       W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6003      Cheryl         W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6004      Jeaneen        W.              [Redacted]      [Redacted]    [Redacted]        [Redacted]

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       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 883 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
Page 144 of 149

              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   6005      Stephanie     W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6006      Kathini       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6007      Kyla          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6008      Claudia       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6009      Donna         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6010      Yvonne        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6011      Shamara       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6012      Rita          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6013      Betty         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6014      Carol         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6015      Lisa          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6016      Linda         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6017      Christine     W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6018      Tamrus        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6019      Carmen        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6020      Ruth          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6021      Chastity      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6022      Sierra        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6023      Anitra        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6024      Sherry        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6025      Morgan        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6026      Kenetra       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6027      Shirley       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6028      Andrea        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6029      Pamela        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6030      Sheila        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6031      Bertha        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6032      Nettie        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6033      Louise        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6034      Sandra        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6035      Tyanna        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6036      Danesha       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6037      Velma         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6038      Carylon       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6039      Barbara       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6040      Rena          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6041      Debra         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6042      Pearline      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6043      Mona Lisa     W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6044      Lana          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6045      Martha        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6046      Christine     W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

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       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   6047      Carolyn       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6048      Juanita       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6049      Hazel         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6050      Melissa       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6051      Suzanne       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6052      Shavontae     W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6053      Josephine MaryW.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6054      Vanessa       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6055      Dora          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6056      Tracey        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6057      Yulonda       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6058      Gloria        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6059      Sabrina       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6060      Dorothy       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6061      Lena          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6062      Anita         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6063      Dorothy       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6064      Marie         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6065      Frankie       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6066      Marian        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6067      Chante        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6068      Brenda        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6069      Gwendolyn     W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6070      Arwelder      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6071      Beverly       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6072      Janice        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6073      Ginger        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6074      Angela        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6075      Wanda         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6076      Rhonda        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6077      Jayne         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6078      Elizabeth     W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6079      Dyann         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6080      Eboni         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6081      Barbara       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6082      Vanikka       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6083      Tiffany       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6084      Marie         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6085      Shentoevia    W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6086      Candace       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6087      Bettye        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6088      Annette       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

40000/0600-45312933v1
       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 885 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   6089      Linda         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6090      Tiffany       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6091      Teresa        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6092      Janna         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6093      Nancy         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6094      Jameeka       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6095      Margaret      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6096      Nellie        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6097      Candance      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6098      Margaret      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6099      Vanessa       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6100      Dorothy       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6101      Joyce         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6102      Phyllis       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6103      Anne Marie    W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6104      Susie         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6105      Tracy         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6106      Sabrina       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6107      Barbara       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6108      Lorraine      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6109      Jennifer      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6110      Valerie       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6111      Monica        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6112      Lakeeya       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6113      Theresa       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6114      Tampsin       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6115      Dawn          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6116      Debra         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6117      Kathy         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6118      Daneya        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6119      Donna         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6120      Carol         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6121      Cheryl        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6122      Stormey       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6123      Rebecca       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6124      Velma         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6125      Denise        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6126      Sharon        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6127      Trina         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6128      Dorothy       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6129      Nancy         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6130      Cheryl        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

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       Case 23-01092-MBK           Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
In re: LTL Management LLC, Case No.    23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   6131      Eva           W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6132      Trenetta      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6133      Jacklyn       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6134      Cheri         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6135      Benny         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6136      Rachelle      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6137      Linda         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6138      Cindy         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6139      Gloria        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6140      Tangela       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6141      Mildred       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6142      Robin         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6143      Letha         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6144      Allayne       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6145      Richardine    W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6146      Roilynn       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6147      Linda         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6148      Linda         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6149      Anita         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6150      Cynthia       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6151      Marcia        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6152      Qieta         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6153      Barbara       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6154      Phyllis       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6155      Nicole        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6156      Tricia        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6157      Jacqueline    W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6158      Leeann        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6159      Susan         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6160      Jacqueline    W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6161      Joanna        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6162      Dionne        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6163      Tracey        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6164      Sonya         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6165      Aubrey        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6166      Mary          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6167      Niesha        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6168      Annie         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6169      Candace       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6170      Tasha         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6171      Jamie         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6172      April         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

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In re: LTL Management LLC, Case No.    23-12825-MBK
                                    Exhibit  (s) A - Q Page 887 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name     Last Name
 Claimant                                                        SSN      Date of Death
               (injured       (injured      Date of Birth
    No.                                                        (last 4)   (if applicable)       Claim Type
               person)        person)
   6173      Hattie        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6174      Sheila        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6175      Dorothy       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6176      Barbara       W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6177      May           W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6178      Staria        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6179      Janet         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6180      Robin         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6181      Toni          W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6182      Patti         W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6183      Jennifer      W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6184      Imelda        W.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6185      Karen         Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6186      Carmen        Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6187      Betty         Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6188      Nikki         Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6189      Shawndra      Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6190      Shelia        Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6191      Kwi Im        Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6192      Rachel        Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6193      Janet         Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6194      Doris         Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6195      Consuelo      Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6196      Patty         Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6197      Mona          Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6198      Linda         Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6199      Nora          Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6200      Hughdell      Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6201      Marcia        Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6202      Alferteen     Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6203      Tanya         Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6204      Bettye        Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6205      Carol         Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6206      Delores       Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6207      Johnny        Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6208      Kittie        Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6209      Dashiaoa      Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6210      Melissa       Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6211      Princess      Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6212      E Ursula      Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6213      Janis         Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6214      Susan         Y.               [Redacted]      [Redacted]    [Redacted]        [Redacted]

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       Case 23-01092-MBK            Doc -1     Filed 05/09/23       Entered 05/09/23 03:22:04         Desc
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit K-1 – Pulaski Kherkher, PLLC - Redacted Claimant Schedule
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              First Name        Last Name
 Claimant                                                         SSN      Date of Death
               (injured          (injured    Date of Birth
    No.                                                         (last 4)   (if applicable)       Claim Type
               person)           person)
   6215      Lina          Y.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6216      Nancy Lee     Z.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6217      Shelia        Z.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6218      Brytny        Z.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6219      Andria        Z.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6220      Edna          Z.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6221      Pamela        Z.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6222      Diana         Z.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6223      Mandy Jo      Z.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6224      Regina        Z.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6225      Valencia      Z.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6226      Victoria      Z.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6227      Linda         Z.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6228      Irene         Z.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6229      Kim           Z.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6230      Lillian       Z.                [Redacted]      [Redacted]    [Redacted]        [Redacted]
   6231      Marialisa     Z.                [Redacted]      [Redacted]    [Redacted]        [Redacted]




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                                 Exhibit K-2


                Pulaski Kherkher, PLLC Form Retainer Agreement
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Case 23-01092-MBK   Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04   Desc
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Case 23-01092-MBK   Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04   Desc
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                                 Exhibit L-1


                          Rueb Stoller Daniel Claims
                Case 23-01092-MBK          Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
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                               Exhibit L-1 Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP)
                                                  REDACTED VERSION
              First Name
 Claimant                   Last Name
               (injured                   Date of Birth             SSN         Date of Death (if
    No.                  (injured person)
               person)                                            (last 4)        applicable)           Claim Type
    1        Jacqueline   A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    2        Susan        A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    3        Jean         A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    4        Barbie       A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    5        Kerri        A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    6        Ilse         A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    7        Kelene       A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    8        Angelique    A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    9        Barbara      A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    10       Mary Jane    A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    11       Darlene      A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    12       Ivette       A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    13       Julie        A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    14       Faye         A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    15       Vinnie       A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    16       Milagros     A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    17       Mary         A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    18       Bernice      A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    19       Carolyn      A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    20       Mary         A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    21       Monica       A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    22       Terrie       A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    23       Orvella      A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    24       Mary         A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    25       Maria        A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    26       Zubaida      A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    27       Natalie      A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    28       Sue          A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    29       Iris         A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    30       Iris         A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    31       Clarice      A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    32       Minnie       A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    33       Brenda       A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    34       Michelle     A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    35       Yvette       A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    36       Jayne        A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    37       Nona         A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    38       Emma         A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    39       Mary         A.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
    40       Annis        B.                 [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 894 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 2 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
    41       Lou          B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    42       Martha       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    43       Zora         B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    44       Angela       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    45       Nelda        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    46       Shelba       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    47       Rebecca      B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    48       Angela       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    49       Christina    B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    50       Mable        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    51       Mildred      B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    52       Michelle     B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    53       Michele      B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    54       Elizabeth    B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    55       Latricia     B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    56       Goldie       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    57       Donna        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    58       Susan        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    59       Gloria       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    60       Constance    B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    61       Josephine    B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    62       Rosalind     B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    63       Karen        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    64       Cortney      B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    65       Lauramise    B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    66       Lawanna      B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    67       Michelle     B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    68       Niarobia     B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    69       Frances      B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    70       Patricia     B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    71       Tamie        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    72       Edna         B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    73       Patricia     B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    74       Mildred      B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    75       Jean         B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    76       Susan        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    77       Janet        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    78       Alka         B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    79       Heidi        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    80       Edith        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    81       Carol        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    82       Juanita      B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 895 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 3 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
     83      Shirley      B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
     84      Denise       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
     85      Belinda      B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
     86      Janice       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
     87      Suzanne      B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
     88      Nancy        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
     89      Wendy        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
     90      Mary         B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
     91      Frederica    B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
     92      Marilynn     B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
     93      Edna         B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
     94      Bernoct      B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
     95      Patricia     B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
     96      Sharon       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
     97      Bettie       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
     98      Marlyn       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
     99      Louis        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    100      Earlene      B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    101      Mary         B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    102      Marie        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    103      Victoria     B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    104      Sarah        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    105      Marlena      B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    106      Angelia      B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    107      Charlene     B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    108      Jeanette     B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    109      Keitha       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    110      Janice       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    111      Betty        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    112      Lynn         B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    113      Donna        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    114      Jami Lynn    B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    115      Teresa       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    116      Linda        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    117      Monica       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    118      Peggy        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    119      Ada          B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    120      Alvesta      B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    121      Daphine      B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    122      Evelyn       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    123      Jacqueline   B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    124      Jessie       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 896 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 4 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
    125      Pamela       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    126      Sandra       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    127      Willstene    B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    128      Mary         B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    129      Dona         B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    130      Nancy        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    131      Annie        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    132      Annie        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    133      Edith        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    134      Vonda        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    135      Joan         B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    136      Diane        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    137      Sylvia       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    138      Karael       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    139      Alice        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    140      Pamela       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    141      Teal         B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    142      Juda         B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    143      Darla        B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    144      Claudia      B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    145      Loretta      B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    146      Jackie       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    147      Sandra       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    148      Eileen       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    149      Shiquita     B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    150      Carletha     B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    151      Joanne       B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    152      Ola          B.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    153      Rosemarie    C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    154      Catherine    C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    155      Madelyn      C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    156      Robin        C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    157      Patricia     C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    158      Dorothy      C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    159      Maria        C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    160      Barbara      C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    161      Brenda       C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    162      Brenda       C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    163      Esther       C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    164      Joyce        C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    165      Patricia     C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    166      Shirley      C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 897 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 5 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
    167      Phyllis      C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    168      Lucile       C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    169      Anabel       C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    170      Olga         C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    171      Mary         C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    172      Guadalupe    C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    173      Jean         C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    174      Jennifer     C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    175      Genevieve    C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
     1       Lita         C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    177      Delores      C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    178      Crystal      C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    179      Marichia     C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    180      Vincenza     C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    181      Dora         C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    182      Lorraine     C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    183      Brenda       C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    184      Marjorie     C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    185      Cheryl       C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    186      Lynne        C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    187      Sandra       C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    188      Mozelle      C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    189      Peggy        C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    190      Shirley      C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    191      Kindry       C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    192      Mattie       C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    193      Elsie        C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    194      Brilt        C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    195      Diane        C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    196      Almease      C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    197      Annie        C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    198      Cherrie      C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    199      Inez         C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    200      Linda        C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    201      Olivia       C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    202      Phyllis      C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    203      Kathyrn      C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    204      Pattie       C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    205      Candice      C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    206      Johna        C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    207      Theresa      C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    208      Nancy        C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 898 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 6 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
    209      Cheryl       C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    210      Emma         C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    211      Rosa         C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    212      Elaine       C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    213      Susan        C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    214      Brenda       C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    215      Karon        C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    216      Holly        C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    217      Debra        C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    218      Cindy        C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    219      Jo-Ann       C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    220      Jewel        C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    221      Ramonita     C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    222      Grace        C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    223      Iris         C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    224      Theresa      C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    225      Carol        C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    226      Virginia     C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    227      Ann          C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    228      Dorothy      C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    229      Joyce        C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    230      Karen        C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    231      Wanda        C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    232      Sharon       C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    233      Machelle     C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    234      Bedonna      C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    235      Eloise       C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    236      Ernestine    C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    237      Johnanna     C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    238      Joan         C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    239      Donna        C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    240      Elizabeth    C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    241      Sharon       C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    242      Lavada       C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    243      Bonnie       C.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    244      Johanna      D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    245      Nina         D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    246      Kathleen     D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    247      Lucy         D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    248      Marion       D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    249      Edna         D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    250      Jeanie       D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 899 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 7 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
    251      Cynthia      D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    252      Pamela       D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    253      Mila         D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    254      Kay          D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    255      Anita        D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    256      Alice        D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    257      Annie        D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    258      Betty        D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    259      Carolyn      D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    260      Debra        D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    261      Mary         D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    262      Nancy        D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    263      Phyllis      D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    264      Theresa      D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    265      Jacqaline    D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    266      Mary         D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    267      Carolyn      D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    268      Rosie        D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    269      Delma        D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    270      Roberta      D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    271      Bonnie       D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    272      Marilyn      D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    273      Rosa         D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    274      Patricia     D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    275      Eleanora     D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    276      Stacey       D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    277      Barbara      D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    278      Priscilla    D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    279      Betty        D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    280      Joyce        D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    281      Barbara      D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    282      Betty        D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    283      Lia          D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    284      Jennifer     D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    285      Sharon       D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    286      Magdalena    D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    287      Rosael       D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    288      Cathy        D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    289      Peola        D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    290      Antoniette   D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    291      Barbara      D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    292      Ora          D.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 900 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 8 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
    293      Natalia        D.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    294      Virginia       D.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    295      Janet          D.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    296      Hilda          D.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    297      Renee          D.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    298      Dora           D.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    299      Joy            D.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    300      Karin          D.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    301      Margaret       D.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    302      Patricia       D.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    303      Carol          D.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    304      Michelle       D.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    305      Debra          D.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    306      Anna           D.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    307      Donna          D.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    308      Amanda         D.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    309      Anita          E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    310      Judith         E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    311      Mervalene      E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    312      Pamela         E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    313      Carolyn        E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    314      Beverly        E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    315      Rosalyne       E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    316      Stephanie      E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    317      Emma           E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    318      Beatrice       E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    319      Janice         E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    320      Michele        E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    321      Alice          E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    322      Mary           E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    323      Beverly        E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    324      Helen          E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    325      Deliacorazon   E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    326      Delia          E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    327      Pearl          E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    328      Shirley        E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    329      Ivy            E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    330      Catalina       E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    331      Mary           E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    332      Betty          E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    333      Ursla          E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
    334      Cynthia        E.              [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 901 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 9 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
    335      Pamela        E.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    336      Patricia      E.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    337      Dina          E.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    338      Ethel         F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    339      Linda         F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    340      Maria         F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    341      Sharon        F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    342      Marsha        F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    343      Florence      F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    344      Betty         F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    345      Marlene       F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    346      Doris         F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    347      Carolyn       F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    348      Debra         F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    349      Michell       F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    350      Sandy         F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    351      Trena         F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    352      Carol         F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    353      Vicky         F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    354      Janet         F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    355      Amy           F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    356      Dana          F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    357      Pamela        F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    358      Connie        F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    359      Alice         F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    360      Mary          F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    361      Barbara       F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    362      Elesa         F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    363      Leska         F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    364      Maria         F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    365      Yolanda       F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    366      Marvis        F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    367      Patricia      F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    368      Debra         F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    369      Mary          F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    370      Shirley       F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    371      Dianne        F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    372      Linda         F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    373      Marie-Alice   F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    374      Patricia      F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    375      Martha        F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    376      Marvel        F.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 902 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 10 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
    377      Glenda       F.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    378      Glenda       F.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    379      Elizabeth    F.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    380      Mary         F.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    381      Mary         F.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    382      Blondell     G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    383      Diane        G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    384      Margaret     G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    385      Elizabeth    G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    386      Sharon       G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    387      Mirjana      G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    388      Vivian       G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    389      Patricia     G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    390      Lois         G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    391      Norma        G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    392      Zaida        G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    393      Barbara      G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    394      Gertha       G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    395      Mary         G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    396      Melody       G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    397      Velma        G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    398      Sherry       G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    399      Jimmie       G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    400      Denise       G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    401      Sarah Ann    G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    402      Carol        G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    403      Cynthia      G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    404      Carol        G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    405      Claudia      G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    406      Deborah      G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    407      Faye         G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    408      Goldie       G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    409      Alicia       G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    410      Starlene     G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    411      Patricia     G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    412      Andrena      G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    413      Doris        G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    414      Martha       G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    415      Rita         G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    416      Alla         G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    417      Kimberly     G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    418      Patricia     G.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 903 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 11 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
    419      Charlene      G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    420      Nancy         G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    421      Frances       G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    422      Carolyn       G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    423      Mable         G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    424      Nancy         G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    425      Elaine        G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    426      Frances       G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    427      Charlene      G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    428      Christina     G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    429      Nicole        G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    430      Elaine        G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    431      Fay           G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    432      Rebecca       G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    433      Nimnon        G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    434      Betty         G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    435      Joann         G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    436      Leslee        G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    437      Jannie        G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    438      Marsha        G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    439      Susan         G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    440      Nancy         G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    441      Nicole        G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    442      Donna         G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    443      Cynthia       G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    444      Mandy         G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    445      Robin         G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    446      Karen         G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    447      Valerie       G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    448      Terri         G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    449      Joan          G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    450      Nancy         G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    451      Larry         G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    452      Jacqueline    G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    453      Ileea         G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    454      San Juanita   G.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    455      Jane          H.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    456      Daisy         H.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    457      Karen         H.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    458      Jackie        H.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    459      Tony          H.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    460      Angelea       H.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 904 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 12 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
    461      Juanita      H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    462      Alma         H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    463      Andrea       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    464      Dianne       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    465      Linda        H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    466      Martha       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    467      Michelle     H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    468      Mary         H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    469      Lisa         H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    470      Katharine    H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    471      Marshia      H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    472      Sharon       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    473      Juanita      H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    474      Frances      H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    475      Mayone       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    476      Linda        H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    477      Betty        H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    478      Jennifer     H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    479      Jonnet       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    480      Mary         H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    481      Carol        H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    482      Cheryl       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    483      Mamie        H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    484      Mary         H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    485      Anna         H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    486      Cartha       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    487      Margaret     H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    488      Paula        H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    489      Janet        H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    490      Suzanne      H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    491      Michon       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    492      Lue          H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    493      Linda        H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    494      Sharon       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    495      Endeler      H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    496      Flora        H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    497      Geraldine    H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    498      Lisa         H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    499      Minnie       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    500      Minnie       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    501      Barbara      H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    502      Frances      H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 905 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 13 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
    503      Lisa         H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    504      Martha       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    505      Sandra       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    506      Rachael      H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    507      Lola         H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    508      Ethel        H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    509      Patricia     H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    510      Peggy        H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    511      Anna         H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    512      Brenda       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    513      Norma        H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    514      Helena       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    515      Ana          H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    516      Barbara      H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    517      Joan         H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    518      Sharron      H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    519      Mariann      H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    520      Leslie       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    521      Creola       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    522      Darlene      H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    523      Katherine    H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    524      Connie       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    525      Beverly      H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    526      Brenda       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    527      Pamela       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    528      Adell        H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    529      Altoria      H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    530      Mary         H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    531      Melanie      H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    532      Michele      H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    533      Laraine      H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    534      Minerva      H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    535      Janice       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    536      Annette      H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    537      Angela       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    538      Lavola       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    539      Della        H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    540      Fay          H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    541      Kathryn      H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    542      Tensie       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    543      Deborah      H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    544      Marsha       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 906 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 14 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
    545      Veronica     H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    546      Vera         H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    547      Hilda        H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    548      Lillie       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    549      Sally        H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    550      Shirley      H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    551      Erica        H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    552      Kimberly     H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    553      Glenda       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    554      Laura        H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    555      Sandra       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    556      Antoinett    H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    557      Erinn        H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    558      Violet       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    559      JoAnne       H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    560      Carol        H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    561      Felicia      H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    562      Francine     H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    563      Stephanie    H.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    564      Eileen       I.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    565      Lourdes      I.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    566      Sharon       I.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    567      Angel        I.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    568      Rachel       I.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    569      Marsha       I.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    570      Jeri         J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    571      Helen        J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    572      Helen        J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    573      Latisha      J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    574      Lois         J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    575      Mary         J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    576      Shirley      J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    577      Ruth         J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    578      Verna        J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    579      Deborah      J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    580      Emma         J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    581      Judith       J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    582      Angela       J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    583      Lisa         J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    584      Ruth         J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    585      Kimberly     J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    586      Shirley      J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 907 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 15 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
    587      Sherie       J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    588      Angela       J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    589      Beverly      J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    590      Catherine    J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    591      Darinell     J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    592      Diana        J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    593      Donna        J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    594      Dora         J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    595      Jacqueline   J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    596      Patricia     J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    597      Rachel       J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    598      Regina       J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    599      Willie       J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    600      Jane         J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    601      Wilhemina    J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    602      Delores      J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    603      Laura        J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    604      Mary         J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    605      Miriam       J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    606      Sheryl       J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    607      Anita        J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    608      Marcia       J.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    609      Susan        K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    610      Rita         K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    611      Natalie      K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    612      Bonnie       K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    613      Eula         K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    614      Adriane      K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    615      Annie        K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    616      Linda        K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    617      Sally        K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    618      Marlo        K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    619      Sylvia       K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    620      Daisy        K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    621      Lisa         K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    622      Carol        K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    623      Christine    K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    624      Cynthia      K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    625      Ellen        K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    626      Jennifer     K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    627      Tammy        K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    628      Katherine    K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 908 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 16 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
    629      Andrea       K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    630      Carol        K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    631      Joan         K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    632      Tracy        K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    633      Anne         K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    634      Darla        K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    635      Joanne       K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    636      Karin        K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    637      Mary         K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    638      Shirley      K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    639      Georgetta    K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    640      Annette      K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    641      Mary         K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    642      Mawarty      K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    643      Gertrude     K.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    644      Janet        L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    645      Sheryl       L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    646      Donna        L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    647      Lori         L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    648      Kathleen     L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    649      Barbara      L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    650      Beverly      L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    651      Sharon       L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    652      Patricia     L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    653      Rosemarie    L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    654      Marsha       L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    655      Chantay      L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    656      Jamesetta    L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    657      Gloria       L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    658      Pamela       L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    659      Martha       L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    660      Joan         L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    661      Jeannett     L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    662      Adelaide     L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    663      Betty        L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    664      Colleen      L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    665      Grace        L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    666      Linda        L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    667      Rebecca      L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    668      Edith        L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    669      Denise       L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    670      Anna         L.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 909 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 17 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
    671      Sharon     L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    672      Anne       L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    673      Karen      L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    674      Miriam     L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    675      Brenda     L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    676      Sarah      L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    677      Jane       L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    678      Venus      L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    679      Lynn       L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    680      Brenda     L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    681      Gloria     L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    682      Debra      L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    683      Rachel     L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    684      Rosemary   L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    685      Susan      L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    686      Fay        L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    687      Darlene    L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    688      Elisa      L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    689      Rita       L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    690      Maria      L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    691      Rhoda      L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    692      Erlene     L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    693      Naida      L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    694      Norma      L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    695      Bissoondai L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    696      Susan      L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    697      Margie     L.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    698      Sheryl     M.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    699      Rebecca    M.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    700      Patricia   M.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    701      Sue        M.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    702      Angela     M.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    703      MaRemedios M.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    704      Paula      M.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    705      Gladys     M.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    706      Lori       M.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    707      Maria      M.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    708      Patricia   M.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    709      Lorraine   M.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    710      Connie     M.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    711      Bertha     M.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
    712      Ada        M.                  [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 910 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 18 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
    713      Fannie       M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    714      Hattie       M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    715      JoDee        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    716      Kathleen     M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    717      Elizabeth    M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    718      Lela         M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    719      Deborah      M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    720      Sandra       M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    721      Keisha       M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    722      Ethel        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    723      Claudette    M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    724      Ossie        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    725      Jennifer     M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    726      Pamela       M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    727      June         M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    728      Phyllis      M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    729      Sharon       M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    730      Lynda        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    731      Jacquelyn    M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    732      Edna         M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    733      Vivian       M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    734      Wanda        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    735      Deanna       M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    736      Carol        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    737      Estell       M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    738      Tiajuana     M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    739      Jerry        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    740      Lillie       M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    741      Linda        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    742      Dewana       M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    743      Stacy        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    744      Annette      M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    745      Dorothy      M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    746      Laura        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    747      Alice        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    748      Clarice      M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    749      Sarah        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    750      Shannon      M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    751      Frances      M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    752      Maggie       M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    753      LaDru        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    754      Dawn         M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 911 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 19 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
    755      Anna         M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    756      Phyllis      M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    757      Connie       M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    758      Phyllis      M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    759      Karlla       M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    760      Paula        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    761      Linda        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    762      Vivian       M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    763      Christina    M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    764      Patricia     M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    765      Mary         M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    766      Betty        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    767      Deborah      M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    768      Marilyn      M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    769      June         M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    770      Frances      M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    771      Karen        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    772      Marilyn      M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    773      Melinda      M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    774      Teresa       M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    775      Sandra       M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    776      Jacqueline   M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    777      Tracy        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    778      Gloria       M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    779      Darlene      M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    780      Frances      M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    781      Willie       M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    782      Barbara      M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    783      Olevia       M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    784      Tammy        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    785      Amy          M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    786      Barbara      M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    787      Betty        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    788      Catherine    M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    789      Mary         M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    790      Mary         M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    791      Patricia     M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    792      Linda        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    793      Anita        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    794      Serenia      M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    795      Frances      M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    796      Jane         M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 912 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 20 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
    797      Lola         M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    798      Marlene      M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    799      Linda        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    800      Shirley      M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    801      Shirley      M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    802      Mary         M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    803      Lois         M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    804      Margaret     M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    805      Jaite        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    806      Kristi       M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    807      Irene        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    808      Vicki        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    809      Stella       M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    810      Marizela     M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    811      Ruby Ann     M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    812      Jamie        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    813      Cheryl       M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    814      Joyce        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    815      Theresa      M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    816      Katie        M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    817      Marion       M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    818      Michelle     M.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    819      Margaret     N.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    820      Aurea        N.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    821      Marie        N.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    822      Rhonda       N.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    823      Carole       N.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    824      June         N.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    825      Trinnie      N.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    826      Janet        N.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    827      Sandra       N.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    828      Sandra       N.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    829      Florence     N.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    830      Lillie       N.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    831      Mary         N.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    832      Georgene     N.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    833      Patricia     N.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    834      Vivian       N.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    835      Loretha      N.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    836      Marie        N.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    837      Gloria       N.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    838      Sharlene     N.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 913 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 21 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
    839      Laura        N.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    840      Phyllus      N.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    841      Rebecca      O.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    842      Sharon       O.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    843      Sherrel      O.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    844      Peggy        O.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    845      Moneera      O.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    846      Jean         O.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    847      Sylvia       O.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    848      Nancy        O.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    849      Judy         O.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    850      Angela       O.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    851      Donna        O.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    852      Carmen       O.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    853      Sarah        O.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    854      Heidi        O.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    855      Yvonne       O.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    856      Jasmine      O.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    857      Bettye       P.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    858      Christine    P.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    859      Sabrina      P.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    860      Alexandra    P.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    861      Annabelle    P.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    862      Patricia     P.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    863      Linda        P.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    864      Kimberly     P.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    865      Rosa         P.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    866      Kathryn      P.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    867      Helen        P.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    868      Ida          P.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    869      Sarena       P.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    870      Laura        P.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    871      Tennie       P.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    872      Connie       P.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    873      Josephine    P.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    874      Mary         P.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    875      Louise       P.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    876      Mary         P.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    877      Christine    P.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    878      Lynn         P.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    879      Joan         P.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    880      Denise       P.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 914 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 22 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
    881      Belinda       P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    882      Carol         P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    883      Chunawattie   P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    884      Susan         P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    885      Shevella      P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    886      April         P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    887      Martha        P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    888      Patricia      P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    889      Connie        P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    890      Melissa       P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    891      Nancy         P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    892      Betty         P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    893      Cora          P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    894      Sharyn        P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    895      Carol         P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    896      Vivian        P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    897      Shari         P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    898      Peggy         P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    899      Nicole        P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    900      Loretta       P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    901      Rosie         P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    902      Donna         P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    903      Alma          P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    904      Ruth          P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    905      Johnnie       P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    906      Sandra        P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    907      Rebecca       P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    908      Margaret      P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    909      Lorraine      P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    910      Karen         P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    911      Judy          P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    912      Gwendolyn     P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    913      Judith        P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    914      Priscilla     P.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    915      Phyllis       Q.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    916      Vera          Q.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    917      Elaine        R.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    918      Ana           R.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    919      Maria         R.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    920      Susana        R.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    921      Camla         R.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
    922      Paula         R.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 915 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 23 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
    923      Debra        R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    924      Stephanie    R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    925      Phyllis      R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    926      Geraldine    R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    927      Bernice      R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    928      Jillvonda    R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    929      Margaret     R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    930      Merry        R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    931      Judith       R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    932      Evelyn       R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    933      Jean         R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    934      Cheryl       R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    935      Linda        R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    936      Renee        R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    937      Sandra       R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    938      Beverly      R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    939      Lowis        R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    940      Diane        R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    941      Teresa       R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    942      Carol        R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    943      Helga        R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    944      Ana          R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    945      Johnnie      R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    946      Sulma        R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    947      Theresa      R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    948      Laura        R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    949      Cindy        R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    950      Martha       R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    951      Janice       R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    952      Loula        R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    953      Odusco       R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    954      JoClaire     R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    955      Lillian      R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    956      Marlene      R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    957      Ofelia       R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    958      Mary         R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    959      Rita         R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    960      Alisa        R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    961      Maria        R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    962      Olga         R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    963      Alice        R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
    964      Nannie       R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 916 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 24 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
   965       Stephanie    R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   966       Maylee       R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   967       Ann          R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   968       Carol        R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   969       Cindy        R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   970       Rose         R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   971       Bobbie       R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   972       Carol        R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   973       Tiffany      R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   974       Diana        R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   975       Brunilda     R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   976       Beverly      R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   977       Mildred      R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   978       Naomi        R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   979       Trudy        R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   980       Nadine       R.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   981       Maria        S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   982       Mary         S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   983       Francis      S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   984       Estelle      S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   985       Robin        S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   986       Martha       S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   987       Tserendash   S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   988       Rendie       S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   989       Jacqueline   S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   990       Stella       S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   991       Kathy        S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   992       Nellie       S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   993       Donna        S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   994       Carri        S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   995       Catherine    S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   996       Diane        S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   997       Clybette     S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   998       Schelly      S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   999       Mary         S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1000      Constance    S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1001      Doris        S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1002      Tracy        S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1003      Mary         S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1004      Velma        S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1005      Laura        S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1006      Marietta     S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 917 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 25 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
   1007      Sherryl       S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1008      Terry         S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1009      MaryAnn       S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1010      Alice         S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1011      Claudia       S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1012      Yvonne        S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1013      Rhonda        S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1014      Celia         S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1015      Alana         S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1016      Linda         S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1017      Ruth          S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1018      Joan          S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1019      Melinda       S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1020      Terrie        S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1021      Cheryl        S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1022      Jenny         S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1023      Margereitte   S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1024      Blanche       S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1025      Aleathia      S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1026      Alice         S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1027      Teresa        S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1028      Sari          S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1029      Philomena     S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1030      Gene          S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1031      Glenda        S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1032      Luanne        S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1033      Patsy         S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1034      Amanda        S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1035      Judy          S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1036      Kristine      S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1037      Edna          S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1038      Terriceta     S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1039      Beverly       S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1040      Anettra       S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1041      Anna          S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1042      Barbara       S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1043      Helen         S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1044      Irma          S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1045      Isabelle      S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1046      Jeri          S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1047      Laura         S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1048      Katherine     S.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 918 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 26 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
   1049      Jo Ann       S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1050      Marschelle   S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1051      Debrah       S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1052      Cynthia      S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1053      Irene        S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1054      April        S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1055      Maria        S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1056      Kelly        S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1057      Ilse         S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1058      Cassey       S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1059      Elnora       S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1060      Ramona       S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1061      Annette      S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1062      Miriam       S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1063      Theresa      S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1064      Maree        S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1065      Melissa      S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1066      Mary         S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1067      Mammie       S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1068      Betty        S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1069      Shirley      S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1070      Elsie        S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1071      Shirley      S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1072      Angela       S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1073      Jeanette     S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1074      Christine    S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1075      Lucia        S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1076      Alicia       S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1077      Joline       S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1078      Christine    S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1079      Melissa      S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1080      Agnes        S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1081      Barbara      S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1082      Stacy        S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1083      Paulette     S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1084      Adrienne     S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1085      June         S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1086      Michelle     S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1087      Jacqueline   S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1088      Barbara      S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1089      Tammy        S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1090      Alice        S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 919 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 27 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
   1091      Siobhan      S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1092      Ruby         S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1093      Opal         S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1094      Sally        S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1095      Deborah      S.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1096      Rosie        T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1097      Lisa         T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1098      Ellen        T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1099      Lynda        T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1100      Veronica     T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1101      Deshonda     T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1102      Nancy        T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1103      Deborah      T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1104      Kelly        T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1105      Barbara      T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1106      Elizabeth    T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1107      Telana       T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1108      Flores       T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1109      Laurie       T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1110      Jessiemae    T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1111      Katrina      T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1112      Kowanya      T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1113      Patricia     T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1114      Sara         T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1115      Annette      T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1116      Bettie       T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1117      Loretta      T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1118      Rachel       T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1119      Sandra       T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1120      Shannon      T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1121      Laurie       T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1122      Aruna        T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1123      Kelly        T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1124      Linda        T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1125      Lola         T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1126      Theresa      T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1127      Christina    T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1128      Glenda       T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1129      Maggie       T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1130      Anne         T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1131      Trudie       T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1132      Hervette     T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 920 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 28 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
   1133      Margarita    T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1134      Elease       T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1135      Lisa         T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1136      Nora         T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1137      Emily        T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1138      Betty        T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1139      Tammy        T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1140      Patricia     T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1141      Jeanettda    T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1142      Rosanna      T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1143      Allison      T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1144      Alexandra    T.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1145      Doreen       U.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1146      Yasmin       U.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1147      Glenda       U.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1148      Tanesha      V.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1149      Esperanza    V.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1150      Maria        V.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1151      Tammy        V.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1152      June         V.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1153      Dorothy      V.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1154      Sandra       V.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1155      Melinda      V.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1156      Estela       V.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1157      Enes         V.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1158      Carmen       V.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1159      Beverley     V.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1160      Kathleen     V.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1161      Virginia     V.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1162      Eleni        V.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1163      Bianca       W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1164      Nicole       W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1165      Cindy        W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1166      Cecelia      W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1167      Gwendolyn    W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1168      Jane         W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1169      Sandy        W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1170      Sheridy      W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1171      Bobbie       W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1172      Sadie        W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1173      Bunny        W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1174      Beverly      W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 921 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 29 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
   1175      Ethelyn      W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1176      Rebecca      W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1177      Debra        W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1178      Mechell      W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1179      Ora          W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1180      Shirley      W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1181      Dawn         W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1182      Gloria       W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1183      Tamela       W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1184      Barbara      W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1185      Jessie       W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1186      Rutha        W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1187      Tawanna      W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1188      Rose         W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1189      Jane         W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1190      Kathleen     W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1191      Dorothy      W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1192      Sandra       W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1193      Sandra       W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1194      Marcia       W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1195      Deborah      W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1196      Norma        W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1197      Iva          W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1198      Sheila       W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1199      Margaret     W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1200      Carolyn      W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1201      Cecille      W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1202      Cheryl       W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1203      Linda        W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1204      Patricia     W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1205      Amanda       W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1206      Marsha       W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1207      Lucy         W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1208      Amanda       W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1209      Silvia       W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1210      Charmaine    W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1211      Claudia      W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1212      Eldora       W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1213      Elouise      W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1214      Henrine      W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1215      Janet        W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1216      Monica       W.                [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04           Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 922 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 30 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)           Claim Type
   1217      Nobie         W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1218      Peggy         W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1219      Ronda         W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1220      Billie        W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1221      Carolyn       W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1222      Gay           W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1223      Tenneh        W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1224      Barbara       W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1225      Julia         W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1226      Lilly         W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1227      Turkessa      W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1228      Wanda         W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1229      Janice        W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1230      Geraldine     W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1231      Barbara       W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1232      Agnes         W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1233      Arlene        W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1234      Nancy         W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1235      Laurel        W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1236      Mary          W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1237      Cora          W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1238      Joy           W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1239      Bobbie        W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1240      Kathy         W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1241      Madeleine     W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1242      Debra         W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1243      Mary          W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1244      Naomi         W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1245      Cassandra     W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1246      Mary          W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1247      Kirsten       W.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1248      Teresa        Y.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1249      Vivian        Y.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1250      Salpy         Y.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1251      Lucien        Y.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1252      Ruth          Y.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1253      Wanda         Y.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1254      Helen         Z.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1255      Elizarraras   Z.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1256      Josephine     Z.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1257      Patricia      Z.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
   1258      Julianna      Z.               [Redacted]      [Redacted]         [Redacted]          [Redacted]
40000/0600-45307305v1
                Case 23-01092-MBK         Doc -1     Filed 05/09/23         Entered 05/09/23 03:22:04   Desc
In re: LTL Management LLC, Case No. 23-12825-MBK
                                              Exhibit (s) A - Q Page 923 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit L-1 – Rueb Stoller Daniel (f/k/a Dalimonte Rueb, LLP) - Redacted Claimant Schedule
Page 31 of 31

              First Name
 Claimant                   Last Name
               (injured                   Date of Birth            SSN         Date of Death (if
    No.                  (injured person)
               person)                                           (last 4)        applicable)       Claim Type




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                                   Exhibit L-2


                    Rueb Stoller Daniel Form Retainer Agreement
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                        AGREEMENT TO RETAIN COUNSEL
                                        PARTIES
        I, ______________________, of ____________________, _________________, ________
__________, telephone number ___________________, email: ___________________________
(hereafter Client), hereby retain                     LLP, 5790 Fleet Street, Suite 200,
Carlsbad, CA 92008, 1.8               to represent me in my claim against any and all
defendants for damages and personal injuries (and in a death claim for death) sustained
by me or anyone else through whom I am claiming or who is claiming through me,
as a result of the conduct of the Defendant(s) in the manufacture and sale of Talcum
Powder.

                                                 FEES
        It is Agreed that if Attorneys recover any sum on Client's behalf from the Defendant(s), Client
shall pay a fee for their services of                     of the gross amount collected if the case is
settled or judgment is obtained which will be shared among the Attorneys.
                                                                 The Attorneys are also authorized to
hire or associate with attorneys from other firms to assist with the case. The participation
of additional attorneys will not result in any additional attorney's fee.


                                              EXPENSES
        Except as provided herein, Client understands and agrees that during the term of
representation the Attorneys will advance or seek financing for all litigation expenses incurred on
the Client's behalf in this action, including but not limited to, filing fees, service of process fees,
medical records fees, lien resolution fees, administration fees related to record retrieval, case
management by third parties, court reporter expenses, investigation expenses, photographs and
photo-reproduction expenses, expert witness fees, reasonable travel expenses, financing costs and
interest on any financing, but that those expenses will be deducted from Client's net recovery of any
settlement or recovered proceeds.
                                     In the event that there is no recovery after trial, the Client will not
be responsible for any expenses incurred.


                     SETTLEMENT DISCUSSIONS/GROUP SETTLEMENT
       The Client will have authority to accept or reject any final settlement amount after receiving
the advice of the Attorneys. Client understands that this suit may be handled as a part of a larger
number of cases, which may be aggregated for settlement and/or trial preparation. Client authorizes
the Attorneys to enter into aggregate settlement negotiations and to disclose the amount of the
proposed settlement, the nature of Client's damages, and other factors relevant to evaluation of
settlement values to the other clients whose cases are included in the aggregate of cases. Client also
understands that certain expenses will be incurred in a joint effort to handle all cases. Client
authorizes the Attorneys to prorate expenses among all the cases in the settlement group.
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                             Exhibit (s) A - Q Page 926 of 1377



                          TERMINATION OF REPRESENTATION
        The Client further agrees that in the event the Attorneys' services are terminated by the
Client for any reason or that the client unreasonably rejects a settlement offer against the
            advice causing Attorneys to terminate representation, the Attorneys shall be entitled to
the reasonable value of their services, plus all outstanding expenses advanced or incurred to
date. In the event that representation is terminated, the Client hereby assigns and grants to the
Attorneys a lien on any settlement, judgment or recovery for their fee and expenses. This lien
may be secured by notifying the insurance carrier for the defendant or the defendant's attorneys
and authorizes the firm to provide the defense attorney or insurance carrier a copy of this retainer
agreement.




ATTORNEY                              DATE




CLIENT                                DATE
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                                Exhibit M-1


                          Singleton Schreiber Claims
           Case 23-01092-MBK
In re: LTL Management   LLC, Case No. Doc   -1 Filed 05/09/23 Entered 05/09/23 03:22:04
                                       23-12825-MBK                                             Desc
                                       Exhibit (s) A - Q Page 928 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit M-1 – Singleton Schreiber - Redacted Claimant Schedule
Page 1 of 4


                           Exhibit M-1   Singleton Schreiber Claims [REDACTED VERSION]

              First Name
Claimant                   Last Name (injured                     SSN      Date of Death (if   Claim Type
               (injured                         Date of Birth
   No.                          person)                         (last 4)     applicable)        (disease)
               person)
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40000/0600-45313255v1
           Case 23-01092-MBK
In re: LTL Management   LLC, Case No. Doc   -1 Filed 05/09/23 Entered 05/09/23 03:22:04
                                       23-12825-MBK                                             Desc
                                       Exhibit (s) A - Q Page 929 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit M-1 – Singleton Schreiber - Redacted Claimant Schedule
Page 2 of 4


              First Name
Claimant                   Last Name (injured                     SSN      Date of Death (if   Claim Type
               (injured                         Date of Birth
   No.                          person)                         (last 4)     applicable)        (disease)
               person)
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    82
    83
    84      Frances

40000/0600-45313255v1
           Case 23-01092-MBK
In re: LTL Management   LLC, Case No. Doc   -1 Filed 05/09/23 Entered 05/09/23 03:22:04
                                       23-12825-MBK                                             Desc
                                       Exhibit (s) A - Q Page 930 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit M-1 – Singleton Schreiber - Redacted Claimant Schedule
Page 3 of 4


              First Name
Claimant                   Last Name (injured                     SSN      Date of Death (if   Claim Type
               (injured                         Date of Birth
   No.                          person)                         (last 4)     applicable)        (disease)
               person)
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40000/0600-45313255v1
           Case 23-01092-MBK
In re: LTL Management   LLC, Case No. Doc   -1 Filed 05/09/23 Entered 05/09/23 03:22:04
                                       23-12825-MBK                                             Desc
                                       Exhibit (s) A - Q Page 931 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit M-1 – Singleton Schreiber - Redacted Claimant Schedule
Page 4 of 4


              First Name
Claimant                   Last Name (injured                     SSN      Date of Death (if   Claim Type
               (injured                         Date of Birth
   No.                          person)                         (last 4)     applicable)        (disease)
               person)
   128
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40000/0600-45313255v1
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Case 23-01092-MBK   Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04   Desc
                    Exhibit (s) A - Q Page 933 of 1377
Case 23-01092-MBK   Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04   Desc
                    Exhibit (s) A - Q Page 934 of 1377
Case 23-01092-MBK   Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04   Desc
                    Exhibit (s) A - Q Page 935 of 1377
Case 23-01092-MBK   Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04   Desc
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Case 23-01092-MBK   Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04   Desc
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Case 23-01092-MBK   Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04   Desc
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Case 23-01092-MBK   Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04   Desc
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                                 Exhibit N-1


                       Slater Slater Schulman LLP Claims
           Case 23-01092-MBK
In re: LTL Management    LLC, Case No. Doc  -1 Filed 05/09/23 Entered 05/09/23 03:22:04
                                       23-12825-MBK                                             Desc
                                       Exhibit (s) A - Q Page 940 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit N-1 – Slater Slater Schulman LLP - Redacted Claimant Schedule
Page 1 of 8


                              Exhibit N-1 - Slater Slater Schulman LLP [REDACTED VERSION]


Claimant    First Name           Last Name                          SSN       Date of Death
                                                 Date of Birth                                  Claim Type
   No.   (injured person)     (injured person)                    (last 4)    (if applicable)
    1               Suasy            A.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    2               Janet            A.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    3             Barbara            A.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    4              Virginia          A.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    5             Elizabeth          A.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    6                Julia           A.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    7               Linda            A.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    8              Donna             A.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    9              Belinda           A.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    10              Janet            A.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    11            Christine          A.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    12            Barbara            A.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    13             Teana             A.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    14              Linda            B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    15              Carie            B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    16            Lisa Rae           B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    17           Constance           B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    18            Gleneita           B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    19               Judy            B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    20           Sara Marie          B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    21               Lisa            B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    22            Millicent          B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    23             Patricia          B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    24              Carol            B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    25              Susie            B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    26             Denise            B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    27             Debbie            B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    28             Angelia           B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    29             Alyssa            B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    30            Shannon            B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    31             Jennah            B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    32               Amy             B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    33               Tara            B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    34            Pauline            B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    35             Bessie            B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    36             Angela            B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    37              Susie            B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    38             Christie          B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    39            Kimberly           B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    40           Catherine           B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    41                Joy            B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    42              Mona             B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    43              Karen            B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    44            Kimberly           B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    45            Carletha           B.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    46             Sharon            C.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    47            Henrietta          C.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
    48             Tasha             C.           [Redacted]     [Redacted]    [Redacted]       [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit N-1 – Slater Slater Schulman LLP - Redacted Claimant Schedule
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Claimant    First Name            Last Name                          SSN       Date of Death
                                                  Date of Birth                                  Claim Type
   No.   (injured person)      (injured person)                    (last 4)    (if applicable)
    49            Barbara            C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    50             Linda             C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    51             Estela            C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    52             Tonda             C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    53            Heather            C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    54             Jamie             C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    55           Jeanette            C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    56            Melina             C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    57             Ebony             C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    58             Linda             C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    59             Joyce             C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    60            Allyson            C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    61             Kristy            C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    62            Brenda             C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    63             Sarah             C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    64            Ashley             C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    65           Debbie S            C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    66          Cynthia Gale         C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    67              Mary             C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    68           Charlene            C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    69            Kaylee             C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    70            Emma               C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    71           Courtney            C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    72             Diane             C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    73            Felecia            C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    74                               C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    75              Mary             C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    76             Denise            C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    77              Linda            C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    78             Kendra            C.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    79             Esther            D.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    80             Virginia          D.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    81             Leticia           D.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    82              Eva              D.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    83             Victoria          D.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    84                               D.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    85             Taylor            D.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    86             Becky             D.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    87           Stephanie           D.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    88            Sherria            D.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    89            Leah V.            D.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    90             Helen             D.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    91           Deborah             E.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    92            Teresa             E.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    93            Michelle           E.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    94            Connie             E.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    95           Kathleen            E.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    96           Elizabeth           E.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    97            Melanie            E.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    98            Sharon             F.            [Redacted]     [Redacted]    [Redacted]       [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit N-1 – Slater Slater Schulman LLP - Redacted Claimant Schedule
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Claimant    First Name           Last Name                          SSN       Date of Death
                                                 Date of Birth                                  Claim Type
   No.   (injured person)     (injured person)                    (last 4)    (if applicable)
    99             Patricia         F.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   100             Crystal          F.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   101              Doris           F.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   102            Anamaria          F.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   103             Lucille          F.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   104              Lori            G.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   105              Kelli           G.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   106                              G.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   107        Sonya Rachela         G.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   108            Telicia           G.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   109           Jennifer           G.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   110             Joyce            G.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   111             Linda            G.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   112         Barbara Ann          G.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   113          Mary Kay            G.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   114            Felicia           G.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   115             Karen            G.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   116             Annie            G.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   117           Dorothy            G.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   118             Lynea            H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   119             Erika            H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   120          Josephine           H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   121           Startina           H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   122           Patricia           H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   123           Kimberly           H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   124            Beverly           H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   125             Joan             H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   126           Katheryn           H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   127            Shirley           H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   128            Brenda            H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   129            Amber             H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   130           Patricia           H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   131              Lisa            H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   132           Melanie            H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   133             Sherri           H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   134            Sherry            H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   135             Karla            H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   136          Donna Lee           H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   137            Denise            H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   138           Terry R.           H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   139            Wendy             H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   140            Joanne            H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   141           Jennifer           H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   142          Annabelle           H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   143             Rose             H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   144          Cinnamon            H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   145           Colleen            H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   146          Karamma             H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   147           Tanisha            H.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   148          Donnesha            I.            [Redacted]     [Redacted]    [Redacted]       [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit N-1 – Slater Slater Schulman LLP - Redacted Claimant Schedule
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Claimant    First Name             Last Name                          SSN       Date of Death
                                                   Date of Birth                                  Claim Type
   No.   (injured person)       (injured person)                    (last 4)    (if applicable)
   149               Tara              I.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   150             Jessica             I.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   151               Alice             J.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   152              Sarah              J.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   153             Siakiva             J.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   154              Dawn               J.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   155             Denise              J.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   156             Debbie              J.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   157              Mattie             J.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   158            Shannon              J.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   159             Tyyetta             J.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   160            Gabrielle            J.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   161          Elizabeth D.           J.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   162              Gloria             J.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   163              Betty              K.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   164            Melanie              K.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   165           Jacqueline            K.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   166              Dawn               K.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   167           Angela D.             K.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   168               Kerri             K.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   169            Denisua              K.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   170               Lisa              K.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   171              Susan              K.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   172              Staci              K.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   173             Martha              K.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   174            Sandra               K.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   175            Deborah              K.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   176             Jessica             K.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
   177               Eula              L.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
                 Sarina aka
   178                                 L.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
                  Sabrina
   179             Regina             L.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   180          Jewell Elaine         L.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   181             Pamela             L.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   182              Clara             L.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   183              Cheryl            L.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   184             Lauren             L.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   185            Mary Ann            L.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   186            Desiree             L.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   187            Therese             L.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   188              Mattie            L.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   189            Jeannie             L.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   190              Sylvia            L.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   191             Donna              L.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   192               Dora             L.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   193               Tara             M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   194            Tavia O.            M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   195              Palma             M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   196            Barbara             M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   197               Kari             M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit N-1 – Slater Slater Schulman LLP - Redacted Claimant Schedule
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Claimant    First Name           Last Name                          SSN       Date of Death
                                                 Date of Birth                                  Claim Type
   No.   (injured person)     (injured person)                    (last 4)    (if applicable)
   198            Carmen            M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   199             Janet            M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   200             Ossie            M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   201            Monica            M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   202            Sandra            M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   203             Tonya            M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   204            Belinda           M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   205              Julie           M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   206              Gina            M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   207            Rhonda            M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   208            Christine         M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   209            Patricia          M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   210            Patricia          M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   211            Melissa           M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   212             Krystal          M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   213             Susie            M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   214            Maureen           M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   215             Linda            M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
    1                               M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   217             Susan            M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   218              Mary            M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   219              Billie          M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   220             Debby            M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   221            Michelle          M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   222            Lori Ann          M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   223             Velkys           M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   224            Roseann           M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   225             Susan            M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   226             Donna            M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   227             Myrna            M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   228             Krystal          M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   229             Janice           M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   230              Emily           M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   231              Tina            M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   232            Wendall           M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   233             Tonya            M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   234              Tracy           M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   235             Glenda           M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   236            Margaret          M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   237              Ellen           M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   238              Dawn            M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   239              Dean            M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   240              Ruby            M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   241            Deborah           M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   242            Dianne            M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   243            Michele           M.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   244             Glenna           N.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   245            Melissa           N.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   246             Juanita          N.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   247            Bridgett          N.            [Redacted]     [Redacted]    [Redacted]       [Redacted]

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Exhibit N-1 – Slater Slater Schulman LLP - Redacted Claimant Schedule
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Claimant    First Name           Last Name                          SSN       Date of Death
                                                 Date of Birth                                  Claim Type
   No.   (injured person)     (injured person)                    (last 4)    (if applicable)
   248           Amanda             N.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   249            April J.          N.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   250              Amy             N.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   251              Joan            O.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   252              Mary            O.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   253            Eileen            O.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   254             Debra            O.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   255            Carolyn           O.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   256              Ana             O.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   257           Caroline           O.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   258             Ingrid           O.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   259            Janice            P.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   260           Elizabeth          P.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   261            Claudia           P.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   262          Mary Anne           P.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   263          Gwendolyn           P.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   264           Deborah            P.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   265           Jesenia            P.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   266              Lisa            P.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   267            Donna             P.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   268              Gail            P.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   269           Carolann           P.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   270           Margaret           P.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   271          George W.           P.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   272            Sherrie           P.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   273            Pamela            P.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   274             Ethel            P.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   275            Norma             P.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   276           Amanda             Q.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   277             Debra            R.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   278         Gwendolyn V.         R.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   279             Betty            R.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   280             Annie            R.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   281                              R.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   282              Anna            R.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   283              Doris           R.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   284            Deborah           R.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   285            Frances           R.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   286             Debbie           R.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   287             Fatima           R.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   288              Trini           R.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   289           Jeanette L         R.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   290             Sheryl           R.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   291              Marie           S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   292              Maria           S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   293            Damekia           S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   294            Danielle          S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   295            Tammy             S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   296              Maria           S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   297             Teresa           S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit N-1 – Slater Slater Schulman LLP - Redacted Claimant Schedule
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Claimant    First Name            Last Name                          SSN       Date of Death
                                                  Date of Birth                                  Claim Type
   No.   (injured person)      (injured person)                    (last 4)    (if applicable)
   298             Linda             S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   299             Carol             S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   300             Karen             S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   301          Jamesetta            S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   302             Nikki             S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   303             Kristy            S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   304            Tamra              S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   305             Cheryl            S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   306             Amy               S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   307            Barbara            S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   308             Emily             S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   309            Marcia             S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   310         Barbara Lynn          S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   311              Lula             S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   312            Melanie            S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   313            Shanay             S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   314            Michele            S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   315             Rosa              S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   316              Vicki            S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   317            Rosaria            S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   318           Destiny             S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   319             Linda             S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   320             Robin             S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   321           Jennifer            S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   322            Shirley            S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   323            Sharon             S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   324         Chandrawattie         S.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   325              Tina             T.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   326          Kimberlyn            T.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   327            Sharon             T.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   328            Patricia           T.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   329           Sarah J.            T.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   330             Paula             T.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   331           Claudette           T.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   332              Gail             T.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   333              Amy              T.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   334           Margaret            T.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   335             Vataja            T.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   336          Samantha             U.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   337           Rachele             V.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   338             Maria             V.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   339            Juanita            V.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
               Angelo (prev.
   340                                V.           [Redacted]     [Redacted]    [Redacted]       [Redacted]
                 Angela)
   341           Margaret            V.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   342           Sanjanee            V.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   343           Elizabeth           V.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   344             Mary              W.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   345           Kimberly            W.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   346           Tashava             W.            [Redacted]     [Redacted]    [Redacted]       [Redacted]

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Exhibit N-1 – Slater Slater Schulman LLP - Redacted Claimant Schedule
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Claimant    First Name           Last Name                          SSN       Date of Death
                                                 Date of Birth                                  Claim Type
   No.   (injured person)     (injured person)                    (last 4)    (if applicable)
   347            Brenda            W.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   348            Latonia           W.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   349              Betty           W.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   350             Liberty          W.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   351             Linda            W.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   352             Dawn             W.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   353           Dorothy J.         W.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   354             Tonya            W.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   355            Chanel            W.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   356             Ashley           W.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   357              Mary            W.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   358            Jo Ann            W.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   359            Sherrice          W.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   360             Sheryl           Y.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   361              Lisa            Y.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   362             Eunice           Y.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   363             Elaine           Y.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   364             Elena            Y.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   365              Mary            Z.            [Redacted]     [Redacted]    [Redacted]       [Redacted]
   366            Pamela            Z.            [Redacted]     [Redacted]    [Redacted]       [Redacted]




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expires, those claims are forever barred. Law Firm are not taking any position on the merits or
availability of the claims which are not being brought and are not discouraging Client from
pursuing these claims. Client should seek other legal counsel immediately regarding this issue
if Client intends to pursue these types of claims.

This Agreement does not cover any legal advice or other counseling with respect to the
investment or other application of any monetary recovery, whether by way of settlement or
judgment following a trial.

      7. NO GUARANTEE AS TO RESULT: Client acknowledges that Law Firm have
made no guarantees as to the outcome or the amounts recoverable in connection with Client's
claim(s).

      8. STATUTE OF LIMITATIONS: Although Law Firm have agreed to represent Client
                        laim(s), Client understands that there are strict statutes of

against Defendants before the statute of limitations expires, Client will be forever prevented
from bringing a claim against Defendants. Client understands that Defendants may attempt to
                                                                . Client understands that the
                                                                               r contacted Law
Firm, or that the statute of limitations may expire in the very near future. Client agrees
and understands that Law Firm will not be able to determine whether or not to file a lawsuit on
                                                   (1) definitive proof of injuries related to the

also understands that it will take Law Firm a minimum of ninety (90) days after receipt of such
information to e
applicable deadlines including but not limited to class registration deadlines, expire prior to or
during the aforesaid ninety (90) day period, Client agrees not to hold Law Firm, or its associate
counsel, responsible for any consequence related to the expiration of that deadline. Client
understands and agrees that Law Firm are under no obligation to file a Complaint should
Law Firm conclude after reasonable investigation that there is no legal basis for
commencing an action.

      9.                                                      It is agreed that Law Firm are
                                        to its investigation of the facts and that if Law Firm
determine in their
purpose; are not warranted by existing law or by a non-frivolous argument for the extension,
modification, or reversal of existing law or the establishment of new law; do not have or are not

is                                                             are authorized to discontinue the

regular mail.

    10. APPEALS: The above Contingency Fee does not contemplate any appeal. The
Law Firm are under no duty to perfect or prosecute an appeal until a satisfactory fee


      11. FINANCING OF CASE: If the Law Firm borrows money from a lending institution
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of prosecuting or defending a claim or action or otherwise protecting or promoting the Client's
interest will bear interest at the highest lawful rate allowed by applicable law. In no event will
the interest be greater than the amount paid by the Law Firm to the lending institution.

      12. RESULTS NOT GUARANTEED: No attorney can accurately predict the outcome
of any legal matter. Accordingly, no representations are made, either expressly or impliedly, as
to the final outcome of this matter. The Client further understands that any changes in
residence, telephone number or health condition, must be reported to the Law Firm. The Client
understands that this Retainer Agreement is a binding legal contract. The Client expressly
agrees that s/he will fully and freely cooperate with the Law Firm in all aspects required for the
prosecution of this legal matter and that the Client will take no actions that frustrate or impair
the success of this action. _________ (initials)

       13. APPROVAL NECESSARY FOR SETTLEMENT: The Law Firm are hereby
granted power of attorney so that it may have full authority to prepare, sign and file all legal
instruments, pleadings, drafts, authorizations, and papers as shall be reasonably necessary to
conclude this representation, including settlement and/or reducing to possession any and all
monies or other things of value due to the Client under the claim as fully as the Client could do
so in person. The Law Firm is
any and all negotiations concerning the subject of this Agreement.

      14. ASSOCIATION OF OTHER ATTORNEYS: The Law Firm may, at their own
expense, use or associate other attorneys in the representation of the aforesaid claim(s) of the
Client. Various attorneys, including partners, associates, or per diem attorneys, may provide


       15. ASSOCIATE COUNSEL: The Law Firm may participate in the division of fees and
assume joint responsibility for the representation of the Client either in the event that the Law
Firm retains associate counsel or that the Client later chooses new counsel, provided that the
total fee to the Client does not increase as a result of the division of fees and that the attorneys
involved have agreed to the division of fees and assumption of joint responsibility.

       16. ARBITRATION: Any and all disputes, controversies, claims or demands arising
out of or relating to (1) this Agreement or (2) any provision hereof or (3) the providing of
services by the Law Firm to the Client or (4) the relationship between the Law Firm and Client,
whether in contract, tort or otherwise, at law or in equity, for damages or any other relief, shall
be resolved by binding arbitration pursuant to the Federal Arbitration Act in accordance with
the Commercial Arbitration Rules then in effect with the American Arbitration Association.
The Client shall not file a class action against the Law Firm or seek to assert any claims or
demands against the Law Firm by or through a class action, either as the named plaintiff or as
a member of the class, but rather shall submit his/her claims or demands to binding arbitration
pursuant to the provisions of this Paragraph. Any such arbitration proceeding shall be
conducted in the Southern District of New York. This arbitration provision shall be enforceable
in either federal or state court in the Southern District of New York, pursuant to the substantive
federal laws established by the Federal Arbitration Act.

I have read the above paragraph 16, understand its content and agree to the terms and
conditions stated therein. _____________ (initials)
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        17. PARTIES BOUND: This Agreement shall be binding upon and inure to the benefit
 of the parties, hereto, and their respective heirs, executors, administrators, legal representative,
 successors, guardians and assigns.

       18. LEGAL CONSTRUCTION: In the event that any one or more of the provisions
 contained in this Agreement shall for any reason be held invalid, illegal or unenforceable in any
 respect, such invalidity, illegality, or unenforceability shall not affect any other provisions
 thereof and this Agreement shall be construed as if such invalid, illegal, or unenforceable
 provision had never been contained herein.

        19. PENNSYLVANIA LAW TO APPLY: This Agreement shall be considered and
 construed under and in accordance with the laws of the Commonwealth of Pennsylvania and
 the rights, duties and obligations of Client and of the Law Firm regarding representation of the
 Client and regarding anything covered by this Agreement shall be governed by the laws of the
 Commonwealth of Pennsylvania.

        20. PRIOR AGREEMENTS SUPERSEDED: This Agreement constitutes the sole and
 exclusive Agreement of the parties hereto and supersedes any prior understandings or written
 or oral agreement between the parties respecting the within subject matter.

 I certify and acknowledge that I have had the opportunity to read this Agreement and have
 received answers to any questions pertaining thereto. I further state that I have voluntarily
 entered into this Agreement fully aware of the terms and conditions.

Date:                  __________________________

Client Name:           __________________________


Client Signature:      ___________________________

Address:               __________________________________________________

Phone Number:          _____________________ (cell) _____________________(home)

Email Address:         ___________________________________________________

Attorney Name:         _____________________ Attorney Signature: ________________
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                                Exhibit O-1


                            Trammell LLP Claims
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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                           Exhibit O-1 - Trammell LLP        [REDACTED VERSION]

Claimant      First Name      Last Name                           SSN      Date of Death
                                             Date of Birth                                   Claim Type
   No.         (injured        (injured                         (last 4)   (if applicable)
    1            Tracy             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
    2            Maria             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
    3            Leaha             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
    4           Beverly            A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
    5           Michelle           A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
    6           Connie             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
    7           Wendy              A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
    8           Brenda             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
    9            Kathy             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   10            Betty             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   11            Wilma             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   12                              A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   13          Cynthia             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   14            Heidi             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   15          Loriann             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   16          Patricia            A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   17           Kristen            A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   18           Lillian            A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   19           Dorine             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   20          Kimberly            A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   21          Shaneita            A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   22                              A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   23             Irene            A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   24         Jessie Joe           A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   25           Jessica            A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   26           Dianne             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   27          Jacquline           A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   28              Ann             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   29          Charlotte           A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   30           Barbara            A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   31           Geneva             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   32              Rita            A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   33             Ellen            A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   34             Dana             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   35            Janine            A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   36            Elaine            A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   37          Christina           A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   38             Mary             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   39             Joan             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   40             Beth             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   41            Nicole            A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   42           Natasha            A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   43          Roxanne             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   44           Kareen             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   45             Mary             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   46            Danna             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   47           Emmile             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   48           Annette            A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]
   49           Yvonne             A.         [Redacted]      [Redacted]      [Redacted]     [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant      First Name   Last Name                         SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.         (injured     (injured                       (last 4)   (if applicable)
   50            Maria          A.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   51            Marie          A.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   52             Lucy          A.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   53            Alesia         A.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   54            Angie          A.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   55            Robin          A.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   56            Mary           B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   57            Linda          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   58            Katie          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   59                           B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   60             Lucy          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   61           Shinika         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   62           Melissa         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   63            Cathy          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   64           Sandra          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   65            Linda          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   66            Nettie         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   67             Amy           B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   68          Kandice          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   69         Jacquline         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   70            Alice          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   71          Vanessa          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   72          Elizabeth        B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   73           Eunice          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   74             Julia         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   75           Connie          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   76            Cindy          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   77            Janet          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   78            Karon          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   79          Charlotte        B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   80             Alla          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   81          Darlene          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   82           Juanita         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   83           Teresa          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   84           Shanaz          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   85          Milagros         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   86          Margaret         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   87           Angela          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   88           Chasidi         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   89         Gwendolyn         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   90            Joan           B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   91           Sandra          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   92           Bessie          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   93            Dawn           B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   94                           B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   95           Debra           B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   96          Patricia         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   97           Louise          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   98          Patricia         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   99         Khyenhyah         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   100         Shannon          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant      First Name   Last Name                         SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.         (injured     (injured                       (last 4)   (if applicable)
   101          Patricia        B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   102         Vandana          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   103         Elizabeth        B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   104            Gail          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   105          Melanie         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   106         Candace          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   107          Dianna          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   108            Elsa          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   109           Donna          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   110          Wanda           B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   111           Karen          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   112          Victoria        B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   113          Theresa         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   114        Schevonne         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   115          Virginia        B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   116          Brenda          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   117         Shantain         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   118         Kimberly         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   119           Debra          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   120           Cheryl         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   121           Vesta          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   122            Ruth          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   123          Pamela          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   124          Bridget         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   125            Mary          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   126           Sheryl         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   127         Christine        B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   128           Candy          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   129        Cassondra         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   130          Romita          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   131          Ayesha          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   132          Bernice         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   133           Phyllis        B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   134           Anne           B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   135           Gloria         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   136           Maria          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   137            Jane          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   138            Mary          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   139           Judith         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   140          Belinda         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   141          Virginia        B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   142                          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   143          Denise          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   144          Evelyn          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   145           Kerry          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   146           Lois           B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   147         Roxanne          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   148           Carol          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   149         Jennifer         B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   150          Glenda          B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   151           Rose           B.        [Redacted]     [Redacted]      [Redacted]     [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant      First Name    Last Name                        SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.          (injured     (injured                      (last 4)   (if applicable)
   152            Marie          B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   153          Dorothy          B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   154           Lionda          B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   155           Naomi           B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   156            Linda          B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   157            Shelia         B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   158             Terri         B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   159           Patricia        B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   160            Sheila         B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   161           Angela          B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   162             Amy           B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   163           Jaylee          B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   164         Muzzeyen          B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   165            Mary           B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   166           Susan           B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   167           Valerie         B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   168           Melissa         B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   169          Jeanette         B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   170           Nancy           B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   171             Ruth          B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   172            Karen          B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   173           Sandra          B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   174            Linda          B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   175           Patricia        B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   176           Cynthia         B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   177            Birgit         B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   178         Teirralynn        B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   179           Martha          B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   180           Latonia         B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   181         Nastassja         B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   182            Cindy          B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   183          Darcene          B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   184           Yvonne          B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   185            Paula          B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   186            Trina          B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   187            Janey          B.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   188          Machalia         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   189           Mandy           C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   190          Julianne         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   191           Joanne          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   192         Josephine         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   193          Kathleen         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   194           Sherry          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   195           Brenda          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   196             Joy           C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   197          Shanese          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   198           Lauren          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   199           Jessie          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   200            Cindy          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   201           Regina          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   202            Joyce          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant      First Name    Last Name                        SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.          (injured     (injured                      (last 4)   (if applicable)
   203         Antoinette        C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   204           Venus           C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   205          Frances          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   206          Pamela           C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   207         Kimberly          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   208         Christina         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   209            Marva          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   210          Dasena           C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   211            Mariol         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   212         Latangela         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   213          Dorethia         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   214         Katherine         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   215            Mattie         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   216           Patricia        C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   217           Sandra          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   218            Joyce          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   219           Martha          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   220             Gina          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   221            Joann          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   222           Brenda          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   223           Cassie          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   224            Debra          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   225            Karen          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   226            Betty          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   227          Michelle         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   228         Charlotte         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   229         Jeanette          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   230         Geraldine         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   231             Joni          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   232          Georgia          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   233           Patricia        C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   234           Shirley         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   235          Therese          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   236        Chrisandra         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   237         Kathleen          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   238          Bridgett         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   239           Susan           C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   240           Trisha          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   241           Martha          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   242             Julia         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   243          Temeka           C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   244          Heather          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   245         Rebekah           C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   246           Natalie         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   247           Naomi           C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   248           Ronnie          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   249            Lillian        C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   250           Norma           C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   251          Georgia          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   252           Jamela          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   253           Martha          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]

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In re: LTL Management   LLC, Case No. Doc  -1 Filed 05/09/23 Entered 05/09/23 03:22:04
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant      First Name    Last Name                        SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.          (injured     (injured                      (last 4)   (if applicable)
   254          Coronia          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   255           Rachel          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   256          Dorothy          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   257            Clara          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   258           Patricia        C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   259           Rachel          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   260            Nettie         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   261            Diana          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   262              Lisa         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   263             Amy           C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   264            Arliss         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   265             Julia         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   266            Lillian        C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   267              Rita         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   268           Belinda         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   269          Kimberly         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   270            Helen          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   271             Leah          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   272             Joan          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   273            Laura          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   274             Julie         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   275           Shirley         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   276          Amanda           C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   277           Patricia        C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   278          Jerrelyn         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   279            Laura          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   280           Susan           C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   281            Sarah          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   282           Glenda          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   283             Julia         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   284           Patricia        C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   285         Josephine         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   286         Celestine         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   287         Sharman           C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   288             Jean          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   289            Karen          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   290           Connie          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   291           Angela          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   292            Misty          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   293          Deborah          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   294             Mary          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   295         Crisandra         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   296            Annie          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   297             Ivory         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   298            Luella         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   299            Elaine         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   300            Lindsi         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   301            Gloria         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   302           Aletha          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   303          Chastine         C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   304            Joann          C.       [Redacted]     [Redacted]      [Redacted]     [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant     First Name    Last Name                         SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.        (injured      (injured                       (last 4)   (if applicable)
   305           Ann            C.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   306          Karen           C.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   307       Charlie Mae        C.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   308         Sandra           C.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   309           Ruth           C.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   310        Florencia         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   311         Lynette          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   312          Joyce           D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   313           Anne           D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   314          Ashley          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   315         Virginia         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   316          Tiblte          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   317           Leila          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   318         Bonnie           D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   319          Evelyn          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   320        Christine         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   321           Joni           D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   322           Ruby           D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   323          Linda           D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   324         Gladys           D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   325          Carol           D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   326          Debra           D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   327       Deborahlyn         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   328         Pauletta         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   329           Sue            D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   330        Elizabeth         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   331          Lillian         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   332        Winnifred         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   333          Bessie          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   334          Karen           D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   335        Deborah           D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   336        Margaret          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   337         Cynthia          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   338          Norma           D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   339          Debra           D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   340          Kathy           D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   341          Laura           D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   342           Jean           D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   343        Margaret          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   344          Jamie           D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   345           Lisa           D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   346          Cathy           D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   347         Brenda           D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   348            Pia           D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   349          Debra           D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   350        Vrndarani         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   351         Angela           D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   352         Barbara          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   353          Cheryl          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   354          Nicole          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   355           Mary           D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant      First Name   Last Name                         SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.         (injured     (injured                       (last 4)   (if applicable)
   356            Misty         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   357          Victoria        D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   358           Daisy          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   359            Terri         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   360           Linda          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   361           Eileen         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   362        Charmaine         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   363           Lucille        D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   364            Irene         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   365             Keri         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   366         Angelina         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   367             Jodi         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   368           Marry          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   369         Courtney         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   370           Gloria         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   371            Julia         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   372           Louise         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   373            Mary          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   374        Jacqueline        D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   375           Tracy          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   376          Bonnie          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   377           Judith         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   378           Tania          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   379          Crystal         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   380              Bill        D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   381            Terri         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   382           Frona          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   383           Kristin        D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   384           Louise         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   385           Alexis         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   386            Mary          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   387            Joye          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   388         Charlotte        D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   389           Linda          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   390          Chinhui         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   391           Shaba          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   392           Elena          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   393          Rosalva         D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   394             Ima          D.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   395           Shirley        E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   396          Audrey          E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   397         Elizabeth        E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   398           Cecilia        E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   399           Janice         E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   400          Carolyn         E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   401            Mary          E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   402           Linda          E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   403           Roben          E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   404          Bernice         E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   405          Carolyn         E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   406          Marjorie        E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant      First Name   Last Name                         SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.         (injured     (injured                       (last 4)   (if applicable)
   407            Betty         E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   408          Katrina         E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   409              Jill        E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   410           Cathy          E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   411           Renee          E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   412            Doris         E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   413          Georgia         E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   414        Cassandra         E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   415           Bonnie         E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   416           Janell         E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   417           Judith         E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   418          Marietta        E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   419            Kelli         E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   420           Callie         E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   421         Ramona           E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   422         Christine        E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   423              Jill        E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   424          Jaronda         E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   425           Joyce          E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   426         Maureen          E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   427          Carolyn         E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   428            Tina          E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   429           Susan          E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   430          Tammy           E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   431          Emona           E.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   432            Carol         F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   433           Robin          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   434         Christina        F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   435           Paula          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   436            Janis         F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   437          Theresa         F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   438            Rona          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   439           Angela         F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   440         Christine        F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   441           Annie          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   442           Gloria         F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   443          Patricia        F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   444           Linda          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   445          Meghan          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   446          Jennifer        F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   447          Daphne          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   448            Lydia         F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   449            Amy           F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   450          Kristine        F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   451          Earlena         F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   452           Norma          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   453           Linda          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   454           Allison        F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   455           Martha         F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   456             Lisa         F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   457           Aimee          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant      First Name   Last Name                         SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.         (injured     (injured                       (last 4)   (if applicable)
   458          Margot          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   459          Jocelyn         F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   460          LaDawn          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   461          Wanda           F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   462          Glenda          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   463          Melissa         F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   464           Linda          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   465          Patricia        F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   466         Maryann          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   467           Rosie          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   468           Catina         F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   469        Bernadette        F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   470           Joann          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   471         Rebecca          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   472          Glenda          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   473            Gina          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   474            Erin          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   475           Stacey         F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   476           Maria          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   477           Olevia         F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   478           Bettye         F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   479          Tammy           F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   480         Suzanne          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   481            Nina          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   482            Pearl         F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   483           Megan          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   484          Martha          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   485          Crystal         F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   486          Nichole         F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   487           Linda          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   488            Lisa          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   489            Ethel         F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   490           Betsy          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   491         Johanna          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   492           Gloria         F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   493           Minnie         F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   494            Lillie        F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   495            Mary          F.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   496           Erma          G.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   497           Cheryl        G.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   498           Maria         G.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   499            Edith        G.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   500           Linda         G.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   501            Kim          G.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   502         Casandra        G.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   503           Luella        G.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   504          Michelle       G.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   505            Elisa        G.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   506            Mary         G.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   507          Dolores        G.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   508          Teresa         G.         [Redacted]     [Redacted]      [Redacted]     [Redacted]

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           Case 23-01092-MBK
In re: LTL Management   LLC, Case No. Doc  -1 Filed 05/09/23 Entered 05/09/23 03:22:04
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant      First Name    Last Name                        SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.         (injured      (injured                      (last 4)   (if applicable)
   509           Maria          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   510         Elizabeth        G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   511           Lillian        G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   512            Lynn          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   513          Patricia        G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   514           Amber          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   515          Lorena          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   516            Dolly         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   517            Greg          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   518           Adaire         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   519           Maria          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   520          Beverly         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   521          Melinda         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   522           Nancy          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   523             Joy          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   524          Teresa          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   525            Joan          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   526            Joan          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   527           Alisha         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   528           Sonia          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   529           Linda          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   530           Robin          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   531          Theresa         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   532          Patricia        G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   533             Lori         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   534           Judith         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   535           Debra          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   536          Barbara         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   537         Margaret         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   538           Luella         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   539         Vanessa          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   540        Frankiettia       G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   541           Nellie         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   542           Cheryl         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   543          Rachael         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   544          Patricia        G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   545            Lillie        G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   546          Brenda          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   547            Joan          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   548           Karen          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   549          Brenda          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   550           Linda          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   551           Marie          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   552           Jerilyn        G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   553          Lindsey         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   554          Denise          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   555            Suzy          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   556         Mercedes         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   557           Ladon          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   558          Brenda          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   559            Gail          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant      First Name    Last Name                        SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.          (injured     (injured                      (last 4)   (if applicable)
   560            Elma          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   561         Margaret         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   562          Barbara         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   563          Tyronza         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   564            Kelly         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   565             Lillie       G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   566            Kathy         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   567           Victoria       G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   568         Demetrice        G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   569           Melody         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   570           Thelma         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   571         Margaret         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   572            Gloria        G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   573             Rae          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   574         Elizabeth        G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   575           Teresa         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   576            Lynn          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   577            Terri         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   578          Graciela        G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   579           Brenda         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   580            Mary          G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   581           Claudia        G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   582            Bettie        G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   583             Lori         G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   584           Valeria        G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   585           Cynthia        G.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   586          Deborah          H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   587         Trinesha          H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   588           Sharon          H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   589          Amanda           H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   590           Tamela          H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   591          Tamara           H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   592             Erin          H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   593            Robin          H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   594           Nayon           H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   595          Melodie          H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   596          Dorothy          H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   597          Sheena           H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   598           Trisha          H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   599           Beverly         H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   600           Jo-Ann          H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   601            Laura          H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   602            Jane           H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   603         Jenavisa          H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   604         Catherine         H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   605              Ila          H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   606            Elisa          H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   607              Jill         H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   608            Terry          H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   609           Cynthia         H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   610            Annie          H.       [Redacted]     [Redacted]      [Redacted]     [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant      First Name   Last Name                         SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.         (injured     (injured                       (last 4)   (if applicable)
   611          Carolyn         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   612          Natalie         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   613          Sharon          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   614        Nettie Mae        H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   615          Barbara         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   616           Daisy          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   617          Tamara          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   618           Lynne          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   619            Patty         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   620           Janice         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   621         Kathleen         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   622         Gwethlyn         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   623          Barbara         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   624           Marion         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   625          Clarkie         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   626          Alberta         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   627            Hilda         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   628           Lucille        H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   629          Rachael         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   630         Deborah          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   631            Dora          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   632          Amy Jo          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   633            Betty         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   634          Marilyn         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   635          Mannie          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   636            Letta         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   637           Hanna          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   638           Grace          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   639            Heidi         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   640           Sheila         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   641           Christi        H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   642           Donna          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   643         Catherine        H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   644           Emma           H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   645         Candace          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   646          Brigitte        H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   647           Paula          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   648          Pauline         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   649          Crystal         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   650           Janice         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   651          Wendy           H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   652           Tebra          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   653          Cynthia         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   654          Belinda         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   655            Fern          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   656            Mary          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   657            Lesa          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   658          Hannah          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   659          Yolanda         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   660            Mary          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   661            Vana          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant      First Name   Last Name                         SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.         (injured     (injured                       (last 4)   (if applicable)
   662            Ruth          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   663            Patti         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   664          Sacotta         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   665            Lyda          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   666         Maryellen        H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   667          Barbara         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   668          Rachell         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   669          Barbara         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   670          Barbara         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   671           Emily          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   672           Tonja          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   673          Yukana          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   674          Brandie         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   675         Kimberly         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   676          Natasha         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   677          Jazmin          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   678          Martha          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   679          Carmen          H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   680          Crystal         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   681          Scarlet         H.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   682         Deborah          I.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   683          Candice         I.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   684         Kimberly         I.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   685          RoeAnn          I.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   686          Barbara         I.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   687           Sherri         I.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   688          Debora          J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   689           Alvina         J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   690           Susan          J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   691            Mary          J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   692           Janet          J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   693         Maureen          J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   694          Barbara         J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   695           Luana          J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   696            Noel          J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   697          Elfriede        J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   698           Marie          J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   699            Tina          J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   700           Karen          J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   701         Maryann          J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   702           Emma           J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   703        Malgorzata        J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   704           Paula          J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   705          Rebbie          J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   706            Amy           J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   707           Sarah          J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   708           Helen          J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   709          Barbara         J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   710          LouVel          J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   711            Amy           J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   712         Tanishia         J.        [Redacted]     [Redacted]      [Redacted]     [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant      First Name    Last Name                        SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.          (injured     (injured                      (last 4)   (if applicable)
   713          Kathren          J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   714           Sharon          J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   715         Geraldine         J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   716            Doris          J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   717            Mary           J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   718           Aquria          J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   719             Gail          J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   720           Teresa          J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   721            Marita         J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   722            Hilma          J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   723           Sharon          J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   724           Miriam          J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   725           Wanda           J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   726            Jodell         J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   727          Ella Sue         J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   728           Yvette          J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   729          Carolyn          J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   730           Christa         J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   731           Wilma           J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   732           Patricia        J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   733            Alma           J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   734            Mary           J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   735            Carla          J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   736            Robin          J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   737            Carol          J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   738             San           J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   739             Lilia         J.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   740          Barbara          K.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   741           Donna           K.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   742            Cheri          K.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   743           Sharon          K.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   744            Joyce          K.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   745            Najah          K.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   746            Hasel          K.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   747           Trassa          K.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   748           Debbie          K.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   749           Cynthia         K.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   750           Shelby          K.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   751            Karen          K.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   752           Robyn           K.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   753          Jennifer         K.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   754         Stephanie         K.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   755         Elizabeth         K.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   756            Ardue          K.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   757         Shannon           K.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   758            Betty          K.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   759             Joy           K.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   760            Janel          K.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   761           Dianna          K.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   762           Victoria        K.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   763         Christine         K.       [Redacted]     [Redacted]      [Redacted]     [Redacted]

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           Case 23-01092-MBK
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant      First Name   Last Name                         SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.         (injured     (injured                       (last 4)   (if applicable)
   764           Anita          K.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   765           Linda          K.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   766          Mildred         K.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   767          Patricia        K.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   768            Sally         K.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   769           Edna           K.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   770         Catherine        K.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   771           Karen          K.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   772          Pamela          K.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   773         Elizabeth        K.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   774          Wanda           K.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   775          Sherley         K.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   776         Charlene         K.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   777          Surujdai        K.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   778         Caressa          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   779           Paula          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   780           Marcia         L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   781           Helda          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   782           Marie          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   783          Patricia        L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   784          Maribel         L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   785            Lisa          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   786           Linda          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   787           Donna          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   788          Cecelia         L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   789         Charlotte        L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   790           Linda          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   791         Christina        L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   792           Maria          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   793           Margie         L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   794          Dianna          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   795          Barbara         L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   796          Candice         L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   797           Diane          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   798            Jean          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   799          Brenda          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   800            Lois          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   801          Chelsea         L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   802         Candace          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   803          Wanda           L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   804          Sharon          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   805          Phyliss         L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   806          Teresa          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   807           Linda          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   808           Diana          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   809          Richard         L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   810            Ruth          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   811          Taraha          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   812         Deborah          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   813          Jo-Ellen        L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   814          Brenda          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant     First Name    Last Name                         SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.         (injured     (injured                       (last 4)   (if applicable)
   815           Hattie         L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   816           Beth           L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   817         Latanya          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   818           Linda          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   819           Jean           L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   820          Rachel          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   821            Adia          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   822        Catherine         L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   823         Beaulah          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   824          Colleen         L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   825          Karyen          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   826        Josephine         L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   827         Tammie           L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   828          Crystal         L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   829           Sarah          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   830           Mary           L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   831         Melinda          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   832            Lillie        L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   833         Courtney         L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   834          Evelyn          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   835           Judy           L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   836         Carlena          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   837          Christie        L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   838           Ethel          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   839       Bernadette         L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   840         Kathryn          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   841           Lillian        L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   842          Martha          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   843          Cynthia         L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   844           Janet          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   845            Lisa          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   846           Patsy          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   847           Anna           L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   848           Mary           L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   849         Lizabeth         L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   850           Laura          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   851           Paula          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   852           Mary           L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   853         Barbara          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   854           Mary           L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   855           Tillie         L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   856          Teresa          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   857            April         L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   858          Sandra          L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   859           Leslie         L.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   860          Felecia        M.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   861          Lucritia       M.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   862           Dovie         M.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   863           Lana          M.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   864            Gay          M.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   865       Tammyleigh        M.         [Redacted]     [Redacted]      [Redacted]     [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant      First Name    Last Name                        SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.         (injured      (injured                      (last 4)   (if applicable)
   866           Mamie          M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   867          Nohelia         M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   868          Jocelyn         M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   869           Dawn           M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   870           Rhina          M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   871         Kathleen         M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   872           Susan          M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   873           Kellie         M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   874            Mary          M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   875         Margaret         M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   876          Angela          M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   877          Rachael         M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   878          Susana          M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   879          Darsha          M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   880           Annita         M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   881          Flossie         M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   882          Starlette       M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   883         Jennone          M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   884          Patricia        M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   885          Debbie          M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   886           Marry          M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   887           Floyda         M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   888           Grace          M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   889           Dana           M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   890          Brenda          M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   891         Pandora          M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   892          Caroline        M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   893           Carol          M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   894          Garland         M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   895           Linda          M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   896           Roslyn         M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   897            Pearl         M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   898           Norma          M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   899           Vernia         M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   900           Torrie         M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   901             Eva          M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   902         Elizabeth        M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   903         Maryellen        M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   904          Heather         M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   905          Monica          M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   906         Sue-Ellen        M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   907           Willie         M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   908          Latasha         M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   909              Jill        M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   910          Sylenia         M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   911            Irene         M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   912           Sarah          M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   913           Bambi          M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   914          Melinda         M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   915         Shannon          M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
   916           Ruthie         M.        [Redacted]     [Redacted]      [Redacted]     [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant      First Name     Last Name                       SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.          (injured      (injured                     (last 4)   (if applicable)
   917          Georgia          M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   918            Karen          M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   919             Patt          M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   920            Mary           M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   921        Marguerite         M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   922          Jennifer         M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   923           Sandra          M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   924          Saranda          M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   925           Fonda           M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   926              Iris         M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   927            Mary           M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   928           Destiny         M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   929         Angelina          M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   930            Helen          M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   931           Evelyn          M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   932             Judy          M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   933            Jared          M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   934          Ahuilitzli       M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   935           Lyubov          M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   936           Candy           M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   937            Maria          M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   938         Kimberly          M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   939             Terri         M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   940            Lillian        M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   941          Deborah          M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   942            Janet          M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   943           Brenda          M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   944           Mildred         M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   945            Linda          M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   946         Kimberlee         M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   947          Pamela           M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   948            Jean           M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   949           Justine         M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   950            Joyce          M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   951           Donna           M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   952           Donna           M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   953          Angelica         M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   954          Clarissa         M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   955          Kathryn          M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   956           Naomi           M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   957          Cosette          M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   958             Kitty         M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   959         Rosemary          M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   960           Carolle         M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   961           Shirlee         M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   962         Roxanne           M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   963            Doris          M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   964             Gary          M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   965         Themika           M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   966            Janie          M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
   967            Judith         M.       [Redacted]     [Redacted]      [Redacted]     [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant First Name       Last Name                          SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.      (injured       (injured                        (last 4)   (if applicable)
   968        Jamie           M.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
   969         Ruth           M.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
   970         Lisa           M.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
   971     Christine          M.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
   972       Teresa           M.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
   973        Vickie          M.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
   974   Teazu-Tatiana        M.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
   975        Anne            M.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
   976       Marsha           M.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
   977         Lisa           M.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
   978        Lynda           M.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
   979        Mary            M.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
   980         Lora           M.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
   981       Beverly          M.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
   982         Alisa          M.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
   983       Deidre           M.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
   984      Heather           M.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
   985       Shirley          M.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
   986         Judy           M.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
   987        Stella          M.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
   988     Stephanie           N.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   989       Cecilia           N.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   990     Kimberly            N.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   991          Jo             N.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   992      Carolyn            N.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   993        Pearl            N.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   994        Alexis           N.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   995         Alice           N.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   996         Lisa            N.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   997        Alicia           N.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   998       Stacey            N.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
   999         Cyril           N.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1000     Kimberly            N.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1001         Billie          N.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1002     Elizabeth           N.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1003       Phyllis           N.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1004      Michelle           N.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1005       Regina            N.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1006       Melody            N.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1007        Carol           O.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1008         Gina           O.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1009        Tracy           O.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1010      Jennifer          O.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1011       Nancy            O.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1012         Vera           O.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1013         Holly          O.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1014       Donna            O.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1015       Mildred          O.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1016       Patricia         O.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1017       Jayden           O.          [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1018         Lidia          O.          [Redacted]     [Redacted]      [Redacted]     [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant      First Name   Last Name                         SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.         (injured     (injured                       (last 4)   (if applicable)
  1019           Lency         O.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1020          Rhonda         O.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1021           Diana         O.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1022          Brenda         O.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1023           Clare         O.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1024         Catherine       O.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1025           Eileen        O.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1026           Maria         O.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1027          Marilyn        O.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1028           Shellie       O.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1029          Loretta        O.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1030          Lewana         O.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1031          Glenna         O.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1032           Anna          O.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1033          Wanda          O.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1034           Silvia         P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1035           Robin          P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1036          Sharon          P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1037         Deborah          P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1038         Elizabeth        P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1039            April         P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1040         Kimberly         P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1041           Cheryl         P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1042         Maryann          P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1043          Barbara         P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1044          Juanita         P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1045         Amanda           P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1046           Dana           P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1047           Susan          P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1048           Eloise         P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1049          Sandra          P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1050          Martha          P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1051          Kenneth         P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1052        Jacqueline        P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1053           Terrie         P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1054           Joyce          P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1055        Tommsina          P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1056          Sandra          P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1057           Karan          P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1058          Martha          P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1059           Linda          P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1060          Stefanie        P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1061        Jacqueline        P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1062          Angelita        P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1063           Evelyn         P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1064          Melissa         P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1065        Jacqueline        P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1066          Sharon          P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1067         Deborah          P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1068           Lillian        P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1069          Lamayi          P.        [Redacted]     [Redacted]      [Redacted]     [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant      First Name    Last Name                        SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.          (injured     (injured                      (last 4)   (if applicable)
  1070            Tonya          P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1071         Geraldine         P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1072          Joelene          P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1073          Pamela           P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1074           Sandra          P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1075           Dianne          P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1076           Melissa         P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1077            Glynis         P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1078           Kristen         P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1079           Joanne          P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1080            Annie          P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1081            Judith         P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1082           Donna           P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1083             Sue           P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1084          Graciela         P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1085         Deborah           P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1086            Mary           P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1087           Starya          P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1088            Doris          P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1089             Lyn           P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1090           Ronald          P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1091         Margaret          P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1092             Lola          P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1093             Lula          P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1094           Susan           P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1095           Lucille         P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1096           Sharon          P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1097           Patricia        P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1098            Linda          P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1099            Altha          P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1100          Darlene          P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1101            Dawn           P.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1102          Darlene         Q.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1103        Joyce Ann         Q.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1104           Lakyia         Q.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1105          Dorothy         Q.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1106          Tahnee           R.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1107         Youlandia         R.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1108            Anna           R.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1109            Darla          R.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1110            Maria          R.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1111            Luisa          R.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1112             Gala          R.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1113             Reta          R.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1114         Geraldine         R.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1115            Jones          R.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1116             Dale          R.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1117            Laura          R.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1118           Angela          R.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1119            Leslie         R.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1120             Terri         R.       [Redacted]     [Redacted]      [Redacted]     [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant      First Name   Last Name                         SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.         (injured     (injured                       (last 4)   (if applicable)
  1121           Dawn           R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1122            Anna          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1123          Jennifer        R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1124         Deborah          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1125           Janice         R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1126            Lisa          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1127           Janet          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1128           Kevin          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1129          Brenda          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1130            Ruth          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1131            Ellis         R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1132            Tina          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1133         Madeline         R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1134          Paulette        R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1135          Bobbie          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1136           Nancy          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1137           Lucille        R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1138            Rita          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1139         Maryann          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1140           Lynda          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1141         Christina        R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1142          Heather         R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1143            Tina          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1144             Luz          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1145             Luz          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1146            Anita         R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1147           Tracy          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1148         Katherine        R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1149         Elizabeth        R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1150            Erika         R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1151            Mary          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1152           Aileen         R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1153          Twanna          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1154           Tracy          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1155          Roberta         R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1156            Carol         R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1157           Stacie         R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1158          Jennifer        R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1159           Maria          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1160          Amparo          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1161            Lilia         R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1162          Cynthia         R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1163        Gwendolyn         R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1164           Carrie         R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1165        Mary Alice        R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1166          Laverne         R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1167            Anna          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1168            Lucy          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1169         Elizabeth        R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1170          Chrystal        R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1171           Karen          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]

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                                      23-12825-MBK                                           Desc
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
Page 24 of 30


Claimant     First Name    Last Name                         SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.         (injured     (injured                       (last 4)   (if applicable)
  1172            Sue           R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1173          Donna           R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1174        Deborah           R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1175           Louis          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1176       Mary-Louise        R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1177           Diane          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1178           Joann          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1179           Diane          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1180            Billie        R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1181         Damaris          R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1182        Christine         R.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1183           Cindy          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1184           Maria          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1185         Georgia          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1186           Linda          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1187          Donna           S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1188          Janice          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1189          Cynthia         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1190           Rosie          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1191          Reisha          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1192            Kim           S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1193            Ann           S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1194          Sharyn          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1195            Sara          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1196           Janet          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1197           Kathy          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1198          Rachel          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1199          Monica          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1200            Julia         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1201           Kristin        S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1202           Joyce          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1203         Frances          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1204          Arlene          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1205        Stephanie         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1206        Charlotte         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1207          Melissa         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1208            Jean          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1209          Joanne          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1210           Karen          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1211         Rhonda           S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1212          Norma           S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1213        Patience          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1214         Carolyn          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1215          Destiny         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1216          Janice          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1217          Eleano          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1218            Holly         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1219          Tiffany         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1220          Connie          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1221           Paula          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1222            Julie         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]

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In re: LTL Management   LLC, Case No. Doc  -1 Filed 05/09/23 Entered 05/09/23 03:22:04
                                      23-12825-MBK                                           Desc
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant      First Name    Last Name                        SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.          (injured     (injured                      (last 4)   (if applicable)
  1223           Donna           S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1224            Sherri         S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1225        Gwendolyn          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1226            Joyce          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1227           Melissa         S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1228             Joan          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1229             Lois          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1230         Catherine         S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1231             Nikki         S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1232             Mary          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1233            Renia          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1234          Dennita          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1235           Janice          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1236         Kimberly          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1237          Carolyn          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1238            Linda          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1239        Andromeda          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1240            Janis          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1241            Sherri         S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1242           Patricia        S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1243             Jean          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1244            Joann          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1245             Nikki         S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1246         Katherine         S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1247           Teresa          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1248         Kimberly          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1249          Markitta         S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1250            Traci          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1251          Eleanor          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1252             Lisa          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1253             Gail          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1254             Ellen         S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1255           Brandi          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1256         Charlotte         S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1257             Tina          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1258           Brittany        S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1259           Terisha         S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1260             Joan          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1261         Laquanya          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1262         Catherine         S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1263            Janet          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1264             Lisa          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1265            Diane          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1266            Patsy          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1267           Angela          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1268           Susan           S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1269         Charlotte         S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1270           Penny           S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1271          Desiree          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1272           Teresa          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1273            Diane          S.       [Redacted]     [Redacted]      [Redacted]     [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant      First Name   Last Name                         SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.         (injured     (injured                       (last 4)   (if applicable)
  1274          Barbara         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1275          Patricia        S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1276           Willie         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1277         Maryann          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1278            Mary          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1279          Cynthia         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1280           Tania          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1281           Nancy          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1282          Glenna          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1283        Cassandra         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1284          Christy         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1285           Stacy          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1286           Robin          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1287          Jennifer        S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1288           Sherry         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1289          Beverly         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1290         Luwanda          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1291          Dorothy         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1292          Carolyn         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1293           Cindy          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1294          Toinette        S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1295         Katherine        S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1296          Teresa          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1297         Margaret         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1298          Frances         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1299            Julie         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1300          Patricia        S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1301         Deborah          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1302          Sheena          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1303            June          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1304           Melba          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1305           Becky          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1306          Barbara         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1307           Shana          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1308          Michelle        S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1309           Nancy          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1310            Mary          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1311            Judy          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1312          Crystal         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1313           Wilva          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1314           Leticia        S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1315          Barbara         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1316        Esmeralda         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1317           Marion         S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1318          Brenda          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1319            Mary          S.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1320        Jacqueline        T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1321         Anastasia        T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1322           Toma           T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1323          Barbara         T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1324          Dolores         T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant      First Name   Last Name                         SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.         (injured     (injured                       (last 4)   (if applicable)
  1325          Sandra          T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1326          Sharion         T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1327           Judith         T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1328          Talana          T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1329           Joann          T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1330           Alexia         T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1331          Jessica         T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1332          Melinda         T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1333            Jane          T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1334           Carol          T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1335           Christi        T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1336         Veronica         T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1337           Emiko          T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1338           Joyce          T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1339           Dilsie         T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1340          Cecelia         T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1341          Darrine         T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1342          Brenda          T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1343         Elizabeth        T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1344            Karla         T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1345           Karen          T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1346          Colleen         T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1347          Patricia        T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1348          Deborra         T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1349           Laurie         T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1350           Susan          T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1351          Marlene         T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1352          Odessia         T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1353            Joan          T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1354            Leyla         T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1355         Kimberly         T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1356           Jamie          T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1357           Donna          T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1358          Barbara         T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1359           Louise         T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1360         Suzanne          T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1361           Carol          T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1362           Diann          T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1363            Lisa          T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1364            Anita         T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1365           Roslyn         T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1366           Cheri          T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1367            Mary          T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1368            Anne          T.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1369           Nancy          U.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1370         Christina        U.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1371          Valerie         U.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1372         Margaret         U.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1373          Patricia        U.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1374            Betty         U.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1375         Catherine        V.        [Redacted]     [Redacted]      [Redacted]     [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant      First Name   Last Name                         SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.          (injured    (injured                       (last 4)   (if applicable)
  1376           Andrea         V.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1377            Anna          V.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1378         Ramona           V.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1379          Georgie         V.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1380          Theresa         V.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1381             Mary         V.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1382           Bonnie         V.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1383            Janet         V.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1384         Christine        V.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1385            Gloria        V.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1386           Denise         V.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1387           Mamie          V.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1388             Mary         V.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1389          Braylina        V.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1390          Meleray         V.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1391            Vama         W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1392         Suzanne         W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1393          Pamela         W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1394           Donna         W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1395             Terri       W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1396          Darlene        W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1397         TaWanna         W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1398             Amy         W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1399            Diana        W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1400            Lorrie       W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1401            Janna        W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1402           Cynthia       W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1403            Susan        W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1404            Carla        W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1405         Kimberly        W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1406         Christine       W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1407            Penny        W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1408          Sharron        W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1409           JoAnne        W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1410            David        W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1411         Geraldine       W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1412             Vera        W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1413           Jessica       W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1414             Dora        W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1415            Grace        W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1416           Beverly       W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1417            Karie        W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1418             Lori        W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1419           Katrina       W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1420            Kristy       W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1421           Angela        W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1422          Carolyn        W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1423          Michelle       W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1424          Merrilyn       W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1425            Sarah        W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1426           Connie        W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]

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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
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Claimant     First Name     Last Name                        SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.        (injured       (injured                      (last 4)   (if applicable)
  1427           Sara           W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1428         Theresa          W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1429          Scelita         W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1430          Janet           W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1431           Nell           W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1432         Monica           W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1433         Annette          W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1434        Charlotte         W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1435           Tara           W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1436           Judy           W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1437         Rolanda          W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1438          Mamie           W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1439          Carol           W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1440          Joyce           W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1441         Corrine          W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1442          Sherry          W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1443        Vanessa           W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1444         Betty Jo         W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1445           Kelly          W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1446        Delyndria         W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1447          Shirley         W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1448          Jillian         W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1449          La Va'          W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1450         Laverne          W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1451          Mable           W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1452          Joyce           W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1453          Clara           W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1454          Linda           W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1455          Jelani          W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1456         Kawana           W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1457          Vivian          W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1458         Dianne           W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1459         Vinetta          W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1460           Kristi         W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1461           Billye         W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1462          Kandi           W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1463            Luz           W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
    1          Joanne           W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1465         Annette          W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1466         Rosario          W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1467          Carol           W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1468           Lelia          W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1469       Michele Sue        W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1470        Kimberly          W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1471          Nicole          W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1472         Latrisha         W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1473          Patsy           W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1474        Amanda            W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1475         Patricia         W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1476       Patricia Ann       W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1477           Betty          W.        [Redacted]     [Redacted]      [Redacted]     [Redacted]

40000/0600-45308797v1
           Case 23-01092-MBK
In re: LTL Management   LLC, Case No. Doc  -1 Filed 05/09/23 Entered 05/09/23 03:22:04
                                      23-12825-MBK                                           Desc
                                      Exhibit  (s) A - Q Page 984 of 1377
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit O-1 – Trammell LLP - Redacted Claimant Schedule
Page 30 of 30


Claimant      First Name   Last Name                         SSN      Date of Death
                                         Date of Birth                                  Claim Type
   No.         (injured     (injured                       (last 4)   (if applicable)
  1478         Jhomeyr         W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1479           Susan         W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1480         Meredith        W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1481          Lovada         W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1482           Linda         W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1483         Charlotte       W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1484           Helen         W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1485         Candace         W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1486           Sadie         W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1487          Adriana        W.         [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1488         Johanna          Y.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1489          Kaylynn         Y.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1490            Eva           Y.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1491           Linda          Y.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1492            Lula          Y.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1493          Hersha          Y.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1494            Jana          Y.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1495           Jeane          Y.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1496           Sherril        Y.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1497          Alberta         Y.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1498          Cecelia         Y.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1499           Cecilia        Y.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1500           Stacey         Y.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1501            Lois          Y.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1502           Donna          Z.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1503          Brenda          Z.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1504           Karen          Z.        [Redacted]     [Redacted]      [Redacted]     [Redacted]
  1505         Rebecca          Z.        [Redacted]     [Redacted]      [Redacted]     [Redacted]




40000/0600-45308797v1
Case 23-01092-MBK   Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04   Desc
                    Exhibit (s) A - Q Page 985 of 1377
Case 23-01092-MBK   Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04   Desc
                    Exhibit (s) A - Q Page 986 of 1377
Case 23-01092-MBK   Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04   Desc
                    Exhibit (s) A - Q Page 987 of 1377
Case 23-01092-MBK   Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04   Desc
                    Exhibit (s) A - Q Page 988 of 1377
Case 23-01092-MBK   Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04   Desc
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                                Exhibit P-1


                          Watts Guerra LLP Claims
      Case 23-01092-MBK           Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                Desc
                                  Exhibit (s) A - Q Page 990 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 1 of 369
                             Exhibit P-1 - Watts Guerra LLP [REDACTED VERSION]


           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
    1      Glenda       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    2      Wyinnetka    A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    3      Tiffany      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    4      Regina       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    5      Dana         A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    6      Rita         A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    7      Stephanie    A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    8      Hadiyah      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    9      Hasana       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    10     Eiliyah      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    11     Sakina       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    12     Veronica     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    13     Tatiana      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    14     Chrystal     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    15     Christine    A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    16     Renda        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    17     Teresa       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    18     Frankie      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    19     Barbarieka   A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    20     Joyce        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    21     Kaytrina     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    22     Tymesha      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    23     Sylvia       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    24     Shanika      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    25     Darnetta     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    26     Tiffanie     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    27     Raven        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    28     Karmen       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    29     Tikara       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    30     Sandra       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    31     Tracie       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    32     Tramise      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    33     Nadia        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    34     Zalette      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    35     Hillarie     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    36     Lee          A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    37     Jamekka      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    38     Kristal      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    39     Peggy        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    40     Emma         A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    41     Crystal      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    42     Sara         A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    43     Kourtney     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    44     Sofia        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 991 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 2 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
    45     Andrea       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    46     Kimberly     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    47     Elisha       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    48     Donyelle     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    49     Porshia      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    50     Margaret     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    51     Teresa       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    52     Juliet       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    53     Tamika       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    54     Debbie       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    55     Stacey       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    56     Connie       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    57     Yakshica     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    58     Cherise      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    59     Sparkles     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    60     Wanda        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    61     Helen        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    62     Shamika      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    63     Shelene      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    64     Jkeyia       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    65     Gail         A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    66     Jacqquitta   A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    67     Lynnette     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    68     Darnika      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    69     Janice       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    70     Krystle      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    71     Katrina      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    72     Latunya      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    73     Kenisha      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    74     Kasheena     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    75     Jasmin       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    76     Valerie      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    77     June         A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    78     Starlita     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    79     Annette      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    80     Kimberly     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    81     Carla        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    82     Lesley       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    83     Yolonda      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    84     Yolanda M    A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    85     Roslyn       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    86     Kamesha      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    87     Brandi       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    88     Brianna      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    89     Ashley       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
    90     Domonishe    A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 992 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 3 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
    91     Kelonda    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
    92     Tiffany    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
    93     Diane      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
    94     Priscilla  A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
    95     Tasheena A.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
    96     Mary       A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
    97     Sophia     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
    98     Glenda     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
    99     Shajuana   A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   100     Rachel     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   101     Barbara    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   102     Ashlee     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   103     Yetunde    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   104     Mabel      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   105     Bisoye     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   106     Bernadette A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   107     Laura      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   108     Brittany   A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   109     Cheryl     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   110     Kimberly   A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   111     Janice     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   112     T Le       A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   113     Tiaga      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   114     Teresa     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   115     Bobbi      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   116     Latasha    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   117     Oline      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   118     Mary       A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   119     Diona      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   120     Shirin     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   121     Grace      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   122     Oluwmatemi A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   123     Ashlee     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   124     Teresa     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   125     Donna      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   126     Magda      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   127     Kimberly   A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   128     Shanica    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   129     Cory       A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   130     Evelyn     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   131     Erika      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   132     Ebony      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   133     Cory       A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   134     Sonia      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   135     Watasha    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   136     Piedad     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 993 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 4 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   137     Skye         A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   138     Jackie       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   139     Barbara      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   140     Deshaunta    A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   141     Mercy        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   142     Misrat       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   143     Laylah       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   144     Teyosha      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   145     Titilayo     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   146     Kim          A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   147     Donna        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   148     Balques      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   149     Mary         A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   150     Assia Bibi   A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   151     Thelma       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   152     Brenda       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   153     Dominga      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   154     Juanita      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   155     Judy         A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   156     Marjorie     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   157     Leola        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   158     Gienee       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   159     Devyn        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   160     Amanda       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   161     Kathleen     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   162     Briana       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   163     Denise       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   164     Lolita       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   165     Madelyn      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   166     Lisa         A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   167     Ramona       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   168     Sarina       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   169     Annie        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   170     Judith       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   171     Shauneka     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   172     Stasheka     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   173     Tina         A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   174     Dache        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   175     Charmaine    A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   176     Jacqueline   A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   177     Arielle      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   178     Allyson      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   179     Cassandra    A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   180     Latisha      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   181     Sabrna       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   182     Tyesha       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 994 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 5 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   183     Carrie     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   184     Daphne     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   185     Cassandra A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   186     Dorine     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   187     Jamie      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   188     Krystal    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   189     Bennetta   A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   190     Alicia     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   191     Kandace    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   192     Shaqualla A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   193     Teneka     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   194     Aisha      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   195     Netra      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   196     Kourtaney A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   197     Shemika    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   198     Alexandria A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   199     Stephanie A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   200     Jermika    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   201     Latasha    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   202     Kiano      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   203     Shantrice  A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   204     Shannon    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   205     Regina     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   206     LaRicha    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   207     Sabrina    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   208     Maxine     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   209     Hanifah    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   210     Ameenah A.                      [Redacted]       [Redacted]    [Redacted]     [Redacted]
   211     Tre        A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   212     Michelle   A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   213     Jane       A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   214     Shante     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   215     Assatta    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   216     Tari       A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   217     Syreeta    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   218     Dezerie    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   219     Shavae     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   220     Raickiel   A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   221     Kendra     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   222     Dawn       A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   223     Lakisha    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   224     Jakiyah    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   225     Dianna     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   226     Hylisha    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   227     Naporshae A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   228     Lashawnda A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 995 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 6 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   229     Minnie       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   230     Jasmine      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   231     Anastasia    A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   232     Lisa         A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   233     Jackieanna   A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   234     Cassandra    A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   235     Aunetra      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   236     Brandy       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   237     Sparkle      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   238     Deidre       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   239     Patricia     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   240     Maxine       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   241     Keisha       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   242     Shakita      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   243     Sade         A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   244     Lyneish      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   245     Vonnie       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   246     Rebecca      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   247     Carolyn      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   248     Glenetta     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   249     Sheila       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   250     Susie        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   251     Rosetta      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   252     Lowola       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   253     Lossie       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   254     Sharon E     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   255     Natasha      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   256     Leveshia     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   257     Kristina     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   258     Toya         A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   259     Cheryl       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   260     Ryan         A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   261     Alexandria   A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   262     Kimberlee    A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   263     Jilliane     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   264     Torrie       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   265     Cachet       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   266     Nisana       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   267     Shimyka      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   268     Tiffany      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   269     Raynesha     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   270     Crystal      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   271     Felisha      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   272     Raquel       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   273     Kabreena     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   274     Tavonna      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 996 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 7 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   275     Christal    A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   276     Shirley     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   277     Monique     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   278     Dominique A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   279     Tiffanye    A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   280     Salina      A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   281     Unyque MarieA.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   282     Tuesian     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   283     Christy     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   284     Engla       A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   285     Tacarrah    A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   286     Melanie     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   287     Keenya      A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   288     Lawanda     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   289     Tonya       A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   290     Teresa      A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   291     Kimberly    A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   292     Venita      A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   293     Brandi      A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   294     Michele     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   295     Kristy      A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   296     Danielle    A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   297     Jessica     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   298     Debroah     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   299     Christina   A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   300     Angelene    A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   301     Iveth       A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   302     Laverne     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   303     Sofia       A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   304     Beatrice    A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   305     Latoya      A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   306     Lakeiah     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   307     Delia       A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   308     Ijeoma      A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   309     Michelle    A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   310     Nasma       A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   311     Jennifer    A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   312     Cecilla     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   313     Tavanya     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   314     Danetha     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   315     Shequita    A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   316     Helen       A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   317     Felicia     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   318     Jessica     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   319     Rachel      A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   320     Daphne      A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 997 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 8 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   321     Ayesha       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   322     Sylvia       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   323     Asia         A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   324     Beatrice     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   325     Regina       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   326     Tabitha      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   327     Ashley       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   328     Lashawn      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   329     Charoletta   A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   330     Tanesha      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   331     Brenda       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   332     Debb         A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   333     Irene        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   334     Kelli        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   335     Kethmany     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   336     April        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   337     Lanika       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   338     Cherise      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   339     Maranda      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   340     Dionne       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   341     Jamiko       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   342     Alecia       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   343     Laquette     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   344     Rachel       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   345     Aliecia      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   346     Alexis       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   347     Sandra       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   348     Shonbreka    A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   349     Shannon      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   350     Geraldine    A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   351     Maudell      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   352     Angela       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   353     Pamela       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   354     Patrice      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   355     Olyvia       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   356     Loni         A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   357     Sherrie      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   358     Nakia        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   359     Minnie       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   360     Christyal    A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   361     Cynthia      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   362     Andrea       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   363     Lorna        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   364     Cheryl       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   365     Carolyn      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   366     Marvina      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 998 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 9 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   367     Bethany    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   368     Lakeisha   A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   369     Markaija   A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   370     Phernita   A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   371     Angelica   A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   372     Tawny      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   373     Ecola      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   374     Lois       A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   375     Lillie     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   376     Theresa    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   377     Kim        A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   378     Shanita    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   379     Tonya      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   380     Chaunteau A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   381                A.
           Nyshecka Nicole                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   382     Tamicha    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   383     Regina     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   384     Stacy      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   385     Sondra     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   386     Damikka    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   387     LaTiffany  A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   388     Tatiana    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   389     Amber      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   390     Channe     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   391     Shauna     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   392     Amanda     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   393     Tiondala   A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   394     Keeshawn A.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   395     Yvette     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   396     Lisa       A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   397     Ronny      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   398     Camisha    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   399     Kyna       A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   400     June       A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   401     Doris      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   402     Kinasha    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   403     Eureka     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   404     Jamilla    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   405     Mary       A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   406     Ireon      A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   407     Kashiya    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   408     Venessa    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   409     Ashley     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   410     Rachel     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   411     Nina       A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   412     Brittany   A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 999 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
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Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 10 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   413     Courtney  A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   414     Dayna     A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   415     Rochelle  A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   416     Candida   A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   417     Lisa      A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   418     Marie     A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   419     Ariel     A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   420     Trashawn A.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   421     Donneisha A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   422     Astrid    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   423     Shannon   A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   424     Heidi     A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   425     Precious  A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   426     Tierra    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   427     Yvette    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   428     Ursula    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   429     Shondala  A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   430     Elisa     A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   431     Shatisha  A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   432     Temekia   A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   433     Shanae    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   434     Angel     A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   435     Kellie    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   436     Carmela   A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   437     Renae     A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   438     Anika     A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   439     Sarah     A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   440     Sonia     A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   441     Cathy     A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   442     Carolyn   A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   443     Simone    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   444     Dominique A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   445     Arkasha   A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   446     Priscilla A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   447     Patrice   A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   448     Micah     A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   449     Adell     A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   450     Danielle  A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   451     Terri     A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   452     Tiffany   A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   453     RayshawndaA.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   454     Shana     A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   455     April     A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   456     Heidi     A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   457     Nicole    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   458     Ana       A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1000 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 11 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   459     Erlinda   A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   460     Erica     A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   461     Laverne   A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   462     Tracie    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   463     Kasheva   A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   464     April     A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   465     Teresa    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   466     Monica    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   467     Trecia    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   468     Alexis    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   469     Cammie    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   470     Fanta     A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   471     Tameka    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   472     Mineshi   A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   473     Aletha    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   474     Charmayne A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   475     Francine  A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   476     Helen     A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   477     Wanda     A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   478     Latosa    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   479     Ashley    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   480     Brandi    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   481     Ashley    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   482     Eyris     A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   483     Barbara   A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   484     Denissa   A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   485     Rose Anna A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   486     Sharon    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   487     Victoria  A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   488     Tequelia  A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   489     Carrie    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   490     Angelia   A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   491     Mary      A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   492     Deborah   A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   493     Marcia    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   494     Aisha     A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   495     Rachel    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   496     Starlean  A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   497     Ashley    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   498     Lesley    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   499     Angela    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   500     Thelma    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   501     Tamera    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   502     Denise    A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   503     Carolyn   A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   504     Jessica   A.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1001 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 12 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   505     Lakenya     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   506     Daniella    A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   507     Felicia D   A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   508     Maria       A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   509     Delores     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   510     Demetra     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   511     Curtisha    A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   512     Judith      A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   513     Juanisha    A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   514     Karen       A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   515     Jianhong    A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   516     Connie      A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   517     Teana       A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   518     Dameka      A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   519     Kathleen    A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   520     Susan       A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   521     Rena        A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   522     Dawnyle     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   523     Bridget     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   524     Shioban     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   525     Bailee      A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   526     Taresa      A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   527     Monique     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   528     Samone      A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   529     Natasha     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   530     Misty       A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   531     Timetria    A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   532     Reba        A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   533     Marita      A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   534     Juanita     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   535     Valencia    A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   536     Andrea      A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   537     Ayanna      A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   538     Shelby      A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   539     Brittany    A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   540     Laquita     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   541     Pamela      A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   542     Lydia       A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   543     Tracie      A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   544     Rita Fay    A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   545     Tonya       A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   546     Steffany    A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   547     Kalisha     A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   548     Allana      A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   549     Judy        A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   550     Hettie      A.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1002 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   551     Sahna        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   552     Kizzy        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   553     Alysha       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   554     Sonya        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   555     Shaani       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   556     Makebra      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   557     Tonyua       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   558     Shelley      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   559     Debra        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   560     Catina       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   561     Nuakeyta     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   562     Leslie       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   563     Roslyn       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   564     Rebecca      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   565     Rene         A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   566     Yolanda      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   567     Mysheda      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   568     Victoria     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   569     Olivia       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   570     Lydia        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   571     Tifanny      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   572     Ella         A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   573     Glenda       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   574     Olivia       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   575     Hannah       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   576     Sonya        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   577     Antoinette   A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   578     Nicole       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   579     Javenna      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   580     Shemaiah     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   581     Charlie      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   582     Maria        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   583     Crystal      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   584     Muyinat      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   585     Twilaina     A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   586     Monique      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   587     Karen        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   588     Stefani      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   589     Sharlin      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   590     Linda        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   591     Tresia       A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   592     Betty        A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   593     Mary         A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   594     Calbriana    A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   595     Latasha      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   596     Melvina      A.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1003 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 14 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   597     Lareena    A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   598     Brenda     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   599     Serena     A.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   600     Kellie     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   601     Lovilla    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   602     Rebecca    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   603     Waltraud   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   604     Kay        B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   605     Shameka    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   606     Elizabeth  B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   607     Andrea     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   608     Sharonda B.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   609     Jamisha    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   610     Topeka     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   611     Ida        B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   612     Morgan     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   613     Joycelyn   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   614     Britini    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   615     Lashauntae B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   616     Debra      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   617     Kadiatou   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   618     Aqueelah   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   619     Sabrina    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   620     Katrina    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   621     Melanie    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   622     Melanie    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   623     Candese    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   624     Christina  B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   625     Tia        B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   626     Kandice    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   627     Lisa       B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   628     Porshia    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   629     Ordelia    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   630     Shondra    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   631     Jasimine   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   632     Stephanie B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   633     Kimberly   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   634     Barbara    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   635     Shandell   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   636     Linda      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   637     Cynthia    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   638     Gracie     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   639     Mary       B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   640     Tammie     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   641     Anita      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   642     Alesha     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1004 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 15 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   643     Karen        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   644     Jacqueline   B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   645     Robbie       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   646     Sheron A     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   647     Mya          B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   648     Daniesha     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   649     Precious     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   650     Shawntel     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   651     Shanikwa     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   652     Brittany     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   653     Jasmine      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   654     Jasmine      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   655     Jamie        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   656     Patricia     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   657     Cathy        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   658     Kelly        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   659     Wykesha      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   660     Schante      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   661     Mekcole      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   662     Mya          B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   663     Jenall       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   664     Hasana       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   665     Starkeisha   B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   666     Leila        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   667     Sharon       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   668     Aleisha      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   669     Dashanna     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   670     Sandra       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   671     Octavia      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   672     Tajha        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   673     Denia        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   674     Diana        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   675     Cassandra    B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   676     Riletta      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   677     Mable        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   678     Daniyel      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   679     Billie       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   680     Kiana        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   681     Patricia     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   682     Jamika       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   683     Carrie       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   684     Robin        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   685     Sharon       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   686     Glenda       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   687     Malissa      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   688     Tamisty      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1005 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 16 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   689     Sandra       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   690     Christina    B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   691     Moneshia     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   692     Denettie     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   693     Christina    B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   694     Melisha      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   695     Marie        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   696     Lashonda     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   697     Katreena     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   698     Terry        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   699     Elena        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   700     Agnes        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   701     Amanda       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   702     Marqell      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   703     Shawnisha    B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   704     Shontol      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   705     Daphne       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   706     Stephanie    B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   707     Teryl        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   708     Erica        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   709     Misitura     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   710     Bosun        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   711     Paige        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   712     Rosemary     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   713     Janeann      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   714     Deangela     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   715     Paula        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   716     Jessica      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   717     Shaqueria    B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   718     Marian       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   719     Jacqueline   B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   720     Jasmine      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   721     Navia        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   722     Carmella     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   723     Monshia      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   724     Veronica     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   725     Jacquari     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   726     Nakeshia     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   727     Barbara      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   728     Tamika       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   729     Victoria     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   730     Regina       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   731     Marcianna    B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   732     Alexis       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   733     Marie        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   734     Cheryl       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1006 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 17 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   735     Leslie     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   736     Tasha      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   737     Christelle B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   738     Tamara     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   739     Laquita    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   740     Nikira     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   741     Demetria   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   742     Vanyell    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   743     Tammy      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   744     Rhonda     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   745     Danny      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   746     Melissa    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   747     Melissa    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   748     Jacquiline B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   749     Rochelle   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   750     Virginia   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   751     Candace    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   752     Debroa     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   753     Mary       B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   754     Phyllis    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   755     Shavonda S B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   756     Erika      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   757     Evon       B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   758     Patricia   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   759     Felicia    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   760     Yvonne     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   761     Summer     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   762     Maria      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   763     Precious   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   764     Juliana    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   765     Eduvijes   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   766     Nakeddia   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   767     Laura      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   768     Trinette   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   769     Corynn     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   770     Brianna    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   771     Susan      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   772     Kartina    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   773     Justice    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   774     Amy        B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   775     Shevonyeh B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   776     Patricia   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   777     Shumia     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   778     Sharon     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   779     Denietriel B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   780     Dominique B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1007 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   781     Dianna      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   782     Judy        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   783     Jane        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   784     Vere        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   785     Thia        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   786     Virginia    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   787     Bonita      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   788     Joanmonet   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   789     Breann      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   790     Janean      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   791     Clara       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   792     Betty       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   793     Angela      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   794     Trevecia    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   795     Shavonne    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   796     Gwinda      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   797     Betraiz     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   798     Roselyn     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   799     Tanisha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   800     Ramona      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   801     Iris        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   802     Nina        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   803     Imani       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   804     Edmignon    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   805     Stacey      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   806     Yolanda     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   807     Roshonda    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   808     Shenique    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   809     April       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   810     Patricia    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   811     Shanell     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   812     Natasha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   813     Briget      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   814     Arone       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   815     Yvonne      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   816     Tanya       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   817     Lashonda    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   818     Shawana     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   819     Judy        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   820     Danielle    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   821     Miracle     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   822     Coby        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   823     Ladrina     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   824     Melisa      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   825     Jonee       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   826     Jennifer    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1008 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 19 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   827     Sterlina   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   828     Wendy      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   829     QuaahshaneeB.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   830     Coffee     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   831     Salena     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   832     Glenda     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   833     Sharonda B.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   834     Sue        B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   835     Natasha    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   836     Adrienne   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   837     Michelle   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   838     Marialena B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   839     Linda      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   840     Mia        B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   841     Elbana     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   842     Jamese     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   843     Edna       B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   844     Elizabeth  B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   845     Maily      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   846     Amanda     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   847     Blanca     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   848     Shaneka    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   849     Dana       B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   850     Tiffany    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   851     Shalonda   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   852     Edrielle   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   853     Debra      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   854     Lakyia     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   855     Asia       B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   856     Donnita    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   857     Thelma     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   858     Sela       B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   859     Cashay     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   860     Shashauna B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   861     Brenda     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   862     Martha     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   863     Sharon     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   864     Becky      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   865     Paula      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   866     Joan       B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   867     Kelly      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   868     Pia        B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   869     Kelly      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   870     Taliah     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   871     Linda      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   872     Denee      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1009 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 20 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   873     Devin     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   874     Medea     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   875     Rasheedah B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   876     Mary      B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   877     Jasmine   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   878     Sharon    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   879     Zsaneika  B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   880     Lawanda   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   881     Zsaneika  B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   882     Tiffany   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   883     Marquetta B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   884     Ayanna    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   885     Sharrell  B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   886     Marsha    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   887     Shaniqual B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   888     Brittini  B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   889     Wanda     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   890     Hermania B.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   891     Tamara    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   892     Tichicia  B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   893     Deidra    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   894     Ockisha   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   895     Beatrice  B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   896     Ramona    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   897     Shamira   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   898     Denesha   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   899     Shawanica B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   900     Jasmine   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   901     Tydricia  B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   902     Raven     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   903     Teresa    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   904     Vickie    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   905     Erika     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   906     Tavanda   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   907     Denisha   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   908     Essie     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   909     China     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   910     Bianca    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   911     Hardesica B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   912     Lucinda   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   913     Larrian   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   914     Dache     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   915     Tammy     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   916     Keonya    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   917     Tracie    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   918     Amanda    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1010 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   919     Sharon      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   920     Joketa      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   921     Karen       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   922     Tammy       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   923     Jakeri      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   924     Tiffany     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   925     Mina        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   926     Tammy       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   927     Moneisha    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   928     Sonnae      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   929     Reneisha    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   930     Brooke      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   931     Sandra      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   932     Rachelle    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   933     Margrell    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   934     Chemerry    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   935     Kelly       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   936     Carisha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   937     Crystal     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   938     Michelle    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   939     Tiffany     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   940     Regina      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   941     Taelore     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   942     Indica      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   943     Sarah       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   944     Precious    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   945     Dawn M.     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   946     Suedenia    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   947     Shana       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   948     Meika       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   949     April J     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   950     Kimberly    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   951     Tanika      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   952     Patricia    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   953     Hamisia     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   954     Kenisha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   955     Diane       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   956     Terri       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   957     Monica      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   958     Kastarya    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   959     Jasmine     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   960     Sylane      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   961     Tangela     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   962     Tonihsa     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   963     Sharon      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   964     Maricia     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1011 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
    965    Barbara     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    966    Nikkia      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    967    Conella     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    968    Marisa      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    969    Elizabeth   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    970    Shawnta     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    971    Chantanice B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
    972    Virginia    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    973    Canada      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    974    Rebecaa     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    975    Phyllis     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    976    Mischelle   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    977    Debra       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    978    Beth        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    979    Jeantreaire B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    980    Nancy       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    981    Angelique B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
    982    Janae       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    983    Brianna     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    984    Maijah      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    985    Thereasa    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    986    Susan       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    987    Adrienne    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    988    Inozia      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    989    Latoya      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    990    Virginia    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    991    Natasha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    992    Hattie      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    993    Angela      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    994    Alicia      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    995    Shaqueena B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
    996    Caitlin     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    997    Tracy       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    998    Kokeitha    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
    999    Shandrika B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1000    Jeanette    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1001    Samatra     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1002    Merlaina    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1003    Alecia ReneeB.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1004    Peggy       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1005    Shantall    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1006    Marie       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1007    Alexis      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1008    Latisha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1009    Clara       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1010    Bertha T    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1012 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   1011    Mieka       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1012    Keyonna     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1013    Danyell     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1014    Deanna      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1015    Catherine   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1016    Marsha      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1017    Kishma      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1018    Shaquoya    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1019    Sara        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1020    Hiheshia    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1021    Diane       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1022    Michelle    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1023    Deandre     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1024    Tonga       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1025    Diane       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1026    Kizzie      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1027    Destiny     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1028    Keisha      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1029    Melonie     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1030    Roberta     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1031    Betty       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1032    Joy         B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1033    Ruth        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1034    Asia        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1035    Lillie      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1036    Atraiu      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1037    Nichelle    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1038    Keontia     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1039    Deborah     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1040    Hasana      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1041    Candace     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1042    Casey       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1043    Shonta      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1044    Kimberly    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1045    Yina        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1046    Sicretia    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1047    Michelle    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1048    Flora       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1049    Rose        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1050    Charlotte   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1051    Dara        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1052    Ena         B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1053    Anita       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1054    Tonya       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1055    Jennifer    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1056    Meliba      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1013 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 24 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   1057    Sharon      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1058    Eumeka      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1059    Bridget     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1060    Monique     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1061    Kay-Yosha   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1062    Netanya     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1063    Shalinda    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1064    Casie       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1065    Porche      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1066    Shyterria   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1067    Jamilda     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1068    Tanisha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1069    Jasmin      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1070    Dezeria     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1071    Denell L    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1072    Sherrell    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1073    Whinisha    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1074    Jeanette    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1075    Malinda     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1076    Hazel       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1077    Janae       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1078    Adrienne    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1079    Tyanna      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1080    Tiffany     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1081    Laricka     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1082    Irma        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1083    Latrise     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1084    Sherri      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1085    Precious    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1086    Evie        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1087    Roselyn     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1088    Leslie      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1089    Christina   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1090    Tarika      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1091    Latisha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1092    Rocio       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1093    Rachel      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1094    Sharon      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1095    Laquana     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1096    Malissa     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1097    Candace     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1098    Victoria    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1099    Blankson    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1100    Rachelle    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1101    Sekia       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1102    Keneefa     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1014 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 25 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   1103    Shilaya     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1104    Jalisa      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1105    Lisa        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1106    Ayisha      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1107    Ranika      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1108    Charmaine B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1109    Eugenia     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1110    Rose        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1111    Andrianette B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1112    Daphne      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1113    Chianti     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1114    Tawana      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1115    Stephanie B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1116    Sandra      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1117    Wyntress    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1118    Apriel      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1119    Ciera       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1120    Lori        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1121    Cynthia     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1122    Kimberly    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1123    Monique     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1124    Brittney    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1125    Kim         B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1126    Tiffany     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1127    Fonteshia B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1128    Veronica    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1129    Takiua      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1130    Patricia    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1131    Daisy       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1132    Tina        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1133    Angelique B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1134    Ra'Sheenya B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1135    Khadajah    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1136    Teresa      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1137    Christine   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1138    Yvette      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1139    Patricia    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1140    Rosemarie B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1141    Kiandra     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1142    Eva         B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1143    Mimi        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1144    Latasha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1145    Ashley D    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1146    Jerresha    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1147    Michelle    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1148    Julita      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1015 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   1149    Paris        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1150    Antoinette   B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1151    Alys         B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1152    Estella      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1153    Tyese        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1154    Courtney     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1155    Aaisha       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1156    Junte        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1157    Malinda      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1158    Leona        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1159    Stephanie    B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1160    Kristie      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1161    Kimberly     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1162    Robin        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1163    Mernesha     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1164    Joycelyn     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1165    Merica       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1166    Marjorie     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1167    Aleshia      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1168    Nakia        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1169    Brittany     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1170    Helese       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1171    Tasha        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1172    Ykisha       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1173    April        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1174    Latoya       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1175    Erschelle    B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1176    Jeresha      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1177    Sonya        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1178    Demetria     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1179    Charlotte    B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1180    Tyran        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1181    Tyeisha      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1182    Linda        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1183    Tekia        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1184    Mieka        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1185    Patricia     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1186    Cinnamon     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1187    Donna        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1188    Devion       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1189    Lily         B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1190    Amy          B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1191    Titice       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1192    Gloria       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1193    Jasmine      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1194    Donna        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1016 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 27 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   1195    Christina   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1196    Sheikess    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1197    Sherron     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1198    Mauneerah   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1199    Deborah     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1200    Leyonna     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1201    Chelsea     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1202    Marilyn     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1203    Malinda     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1204    Jessica     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1205    Chala       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1206    Peggy       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1207    Moriliat    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1208    Ameedat     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1209    Janae       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1210    Age         B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1211    Fatiyyah    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1212    Daria       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1213    Paula       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1214    Carolyn     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1215    Dana        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1216    Bridget     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1217    Lakishia    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1218    Tonia       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1219    Kiyoshi     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1220    Rita        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1221    Jasmin      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1222    Aris        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1223    Deborah     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1224    Latrina     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1225    Andrea      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1226    Sharonda    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1227    Janee       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1228    Gale        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1229    Shirley     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1230    Lisa        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1231    Hermisha    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1232    Donna       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1233    Mary        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1234    Armeni      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1235    Carolyn     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1236    Chasalzn    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1237    Sakkina     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1238    Irene       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1239    Nitosha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1240    Tapestry    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1017 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 28 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   1241    Shuvonne    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1242    Toyin B     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1243    Ashley      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1244    Kewana      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1245    Winter      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1246    Chantay     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1247    Felecia     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1248    Judith      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1249    Kimberly    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1250    Betty       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1251    Ann         B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1252    Mary        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1253    Verenda     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1254    Tenisha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1255    Mamie       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1256    Bonita      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1257    Alice       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1258    Valena      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1259    Krysten     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1260    Aisha       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1261    Christine   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1262    Breion      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1263    Justice     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1264    Taqueilla   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1265    Patience    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1266    Perris      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1267    Brandy      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1268    Cassandra   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1269    Chyna       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1270    Mercedes    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1271    Donisha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1272    Ciara       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1273    Breashia    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1274    Jannise     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1275    Tracey      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1276    LaCharity   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1277    Veronica    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1278    Dajsia      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1279    Cecelia     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1280    Adrian      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1281    Anita       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1282    Quiera      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1283    Tonicka     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1284    Nichelle    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1285    Dominique   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1286    Satori      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1018 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 29 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   1287    Aisha       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1288    Willie      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1289    Brittney    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1290    Felecia     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1291    Janet       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1292    Telesha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1293    Chinese     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1294    Carmen      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1295    Berenetta B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1296    Erica       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1297    Charlotte   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1298    Celeste     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1299    Dorothy     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1300    Andrea      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1301    Yolanda     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1302    Gwenique B.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1303    Janine      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1304    Laquisha    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1305    Brietta     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1306    Phyliss     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1307    Shonda      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1308    Nia         B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1309    CherparadiseB.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1310    Kimberly    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1311    Christina   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1312    Teleah      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1313    Ayana       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1314    Lakeisha    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1315    Kyla        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1316    Helen       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1317    Charlene    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1318    Kathy       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1319    Stasha      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1320    Shuma       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1321    Kasey       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1322    Robin       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1323    Aranya      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1324    Cristal     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1325    Rosezelia B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1326    Latasha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1327    Toledia     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1328    Latasha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1329    Tonas       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1330    Shelethea B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1331    Amelia      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1332    Caleshia    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1019 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 30 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   1333    Kanglia     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1334    Janice      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1335    Anita       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1336    Chareta     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1337    Sparkle     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1338    Annie       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1339    Tina        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1340    Shameka     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1341    Kira        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1342    Kaita       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1343    Michaela    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1344    Keana       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1345    Felecia     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1346    Clara       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1347    Noni        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1348    Lavesha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1349    Paris       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1350    Patricia    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1351    Jennifer    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1352    Sherry      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1353    Deanne      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1354    Darlene     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1355    Yvette      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1356    Genisha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1357    Pamela      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1358    Shandrea    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1359    Nakia       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1360    Yhasmin     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1361    Shalonda    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1362    Jacquelyn   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1363    Krystle     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1364    Tequana     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1365    Joan        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1366    Angela      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1367    Debbie      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1368    Melvina     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1369    Icolee      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1370    Pamela      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1371    Tammy       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1372    Mynette     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1373    Lamonica    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1374    Victoria    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1375    Jasmaine    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1376    Gwendolyn   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1377    Sandra      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1378    Gwendolyn   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1020 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   1379    Shadeenah B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1380    Shameka     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1381    Holly       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1382    Shannon     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1383    Susan       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1384    Kim         B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1385    Mitra       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1386    Raquel      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1387    Linda       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1388    Jennifer    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1389    Loyce       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1390    Shamonee B.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1391    Jacques     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1392    Brandy      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1393    Sherry      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1394    Keena       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1395    Melissa     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1396    Latiausha B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1397    Elgina      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1398    Latrina     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1399    Glory       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1400    Beverly     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1401    Shonketitha B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1402    DeyonjhanaeB.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1403    Aga         B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1404    Mertissa    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1405    Nicole      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1406    Shaneece B.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1407    Ira         B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1408    Charlene    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1409    Tawana      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1410    Gabrielle   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1411    Amber       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1412    Delia       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1413    Acoqunita B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1414    Aaliyah     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1415    Catina      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1416    Yolanda     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1417    Jane        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1418    Kiewanada B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1419    Tara        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1420    Allyson     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1421    Shaquelia B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1422    Donna       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1423    Yashica     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1424    Shirell     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1021 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   1425    Aeisha      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1426    Naioa       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1427    Jessica     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1428    Martha      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1429    Sherry      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1430    Marie       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1431    Rochelle    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1432    Victoria    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1433    Latonia     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1434    Evelyn      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1435    Lois        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1436    Sharon      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1437    Jennifer    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1438    Carol       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1439    Kiaira      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1440    Pamela      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1441    Alesia      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1442    Renada      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1443    Joycelyn    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1444    Nia         B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1445    Bobbi       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1446    Brihanna    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1447    Shamina     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1448    Alicia      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1449    Tia         B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1450    Kiana       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1451    Laquita     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1452    Vickie      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1453    Shayonna    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1454    Tomeeka     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1455    Shelisha    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1456    Denise      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1457    Kristine    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1458    Elizabeth   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1459    Tamesha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1460    Tammy       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1461    Tamarra     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1462    Sabrana     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1463    Sierra      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1464    Letha       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1465    Sharmaine   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1466    Lashawna    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1467    Bobbie      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1468    Shawana     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1469    Cathy       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1470    Cherokee    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1022 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   1471    Jonell      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1472    Jasmine     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1473    Stacy       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1474    Chantil     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1475    Shakedria   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1476    Shannon     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1477    Akeisha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1478    Kaiesha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1479    Gloria      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1480    Akiesha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1481    Mishalei    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1482    La Dawn     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1483    Jasmine     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1484    Kavani      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1485    Shwundra    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1486    Shemane     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1487    Odyssey     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1488    Temekia     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1489    Desiree     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1490    Candance    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1491    Desron      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1492    Rokiesha    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1493    Tricia      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1494    Latoya      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1495    Simone      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1496    Tosheda     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1497    Crystal     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1498    Kelli D     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1499    Mary        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1500    Sharia      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1501    Ebony       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1502    Shannon     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1503    Tanisha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1504    Lerise      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1505    Chassler    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1506    Rena        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1507    Jennean     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1508    Mercedes    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1509    Brianna     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1510    Janet       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1511    Geraldine   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1512    Anna        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1513    Ashley      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1514    Beatrice    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1515    Kimerlen    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1516    Kiayla      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1023 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 34 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   1517    Jacqueline B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1518    Daniesha    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1519    Autumn      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1520    Ashley      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1521    Linda       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1522    Elena       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1523    Deja        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1524    Tamashia B.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1525    Ebone       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1526    Khadijah    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1527    Taiasha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1528    Charlzett   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1529    Makeba      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1530    Tosca       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1531    Bridgette   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1532    Estrellita  B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1533    Takiesha    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1534    Jana        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1535    Yvonne      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1536    Kiara       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1537    Renorda     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1538    Denyse      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1539    Leslie      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1540    Rayshawn B.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1541    April       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1542    Tatiana     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1543    Latasha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1544    Michelle    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1545    Kanysha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1546    Lakeisha    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1547    Sharron     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1548    Ashley      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1549    Kyrene      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1550    Molly       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1551    Katrina     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1552    Letitcia    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1553    Bernardine B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1554    Taraneika B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1555    Erica       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1556    Nicola A    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1557    Felicia     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1558    Endanicha K B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1559    Alexius     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1560    Lawnet      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1561    Julia       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1562    Taisha      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1024 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 35 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   1563    Vanessa     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1564    Amber       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1565    Angela      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1566    Shaquanda B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1567    Tiffany     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1568    Chaquanna B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1569    Tina        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1570    Jameelah B.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1571    Peggy       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1572    Kourtney    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1573    Teresa      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1574    Ronyae      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1575    Mary        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1576    Brenda      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1577    Erica       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1578    Kimberly    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1579    Jackson     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1580    Brittney    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1581    Alvina Lisa B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1582    Lakeisha    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1583    Eirlean     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1584    Shana       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1585    Patricia    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1586    Brooke      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1587    Rochelle    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1588    Michelle    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1589    Dianne      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1590    Avery       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1591    Amanda      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1592    Joyce       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1593    Marylin     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1594    Lateashia B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1595    Lakisha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1596    Simone      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1597    Summer      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1598    Daneka      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1599    Elaine      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1600    Moranda     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1601    Naomi       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1602    Gwendolyn B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1603    Genney      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1604    Sharde      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1605    Lois        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1606    Lois        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1607    Jeanette    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1608    Margaret    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1025 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   1609    Katie       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1610    Tamika      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1611    Beyanka     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1612    Tiona       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1613    Chiquita    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1614    Sherita     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1615    Shawna      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1616    Shawanda    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1617    Paige       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1618    Erika       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1619    Belinda     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1620    Latifa      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1621    Briana      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1622    Leslie      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1623    Rita        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1624    Sandra      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1625    Tiera       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1626    Blaun-Eva   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1627    Kimberly    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1628    Angela      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1629    Markisa     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1630    Christina   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1631    Maria       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1632    Crystal     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1633    Michelle    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1634    Shakila     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1635    Minyon      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1636    Brittany    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1637    Myeisha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1638    Renae       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1639    Valencia    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1640    Sageh       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1641    Nekayl      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1642    Charmaine   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1643    Sharee      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1644    Laurie      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1645    Cheryl      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1646    Tekisha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1647    Donna       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1648    Ebonique    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1649    Jasmine     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1650    Allyshia    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1651    Keeara      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1652    Jamela      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1653    Esneasa     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1654    Shacoya     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1026 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   1655    Brianesha B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1656    Fareater  B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1657    Sylvia    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1658    FRANCESCAB.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1659    Aly       B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1660    Tracy     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1661    Alejandra B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1662    Valerie   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1663    Ezola     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1664    Valencia  B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1665    Katherine B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1666    Karyn     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1667    Krislyn   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1668    Kimberly  B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1669    Starlina  B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1670    Andromeda B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1671    Nandi     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1672    Nicole    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1673    Megan     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1674    Venice    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1675    Pamela    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1676    Ne' Kia   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1677    Fantasta  B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1678    Lakkrra   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1679    Maria     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1680    Alicia    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1681    Tamara    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1682    Ramona    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1683    Tiketa    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1684    Dorothine B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1685    Patricia  B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1686    Johnnie   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1687    Clematha B.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1688    Felieca   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1689    Johnetta  B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1690    Misty     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1691    Teresia   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1692    Artiste   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1693    Teresa    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1694    April     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1695    Dwan      B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1696    Shaleta   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1697    Patricia  B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1698    Nakeisha  B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1699    Ebony     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1700    Emerald   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1027 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   1701    Shavon       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1702    Jashaundra B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1703    Biancia      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1704    Kiana        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1705    Casandra B.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1706    Veranda      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1707    Glynis       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1708    Johnnitha B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1709    Ebony        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1710    Terressa     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1711    Jasmin       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1712    Pearley      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1713    Teresa       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1714    Raquel       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1715    Mysoline     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1716    Renette      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1717    Persephani B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1718    Kenya        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1719    Nicole       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1720    Helen        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1721    Wanda        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1722    Tarkisha     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1723    Arvelita     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1724    Tamiko       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1725    Alana        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1726    Martina      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1727    Carla DeniseB.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1728    Natasha      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1729    Mary ArteishaB.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1730    Shavonda B.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1731    Deneisha     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1732    Shelly       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1733    Jordan       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1734    Lakisha      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1735    Rema         B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1736    Shanique     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1737    Katie        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1738    Linda        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1739    Dionna       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1740    Emily        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1741    Sian         B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1742    Tabatha      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1743    Charmell     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1744    Lavada       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1745    Sharon       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1746    Venus        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1028 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 39 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   1747    Marielda   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1748    Jacqueline B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1749    Shawnta    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1750    Devin      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1751    Tammy      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1752    Phyliss    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1753    Cynthia    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1754    Luerene    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1755    Frances    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1756    Latoya     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1757    Antone     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1758    Brishaye   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1759    Nena       B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1760    Shanedra B.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1761    Grunsunka B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1762    Laura      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1763    Umeko      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1764    Deborah    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1765    Shaneka    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1766    Diane      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1767    JoAnn      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1768    Tanesha    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1769    Angel      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1770    Cassandrae B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1771    Ilene      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1772    Dawn       B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1773    Christine  B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1774    Latasha    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1775    Qiana      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1776    Delores    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1777    Lametrice B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1778    Latressa   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1779    Glynnis    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1780    Chanlyn    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1781    Shimira    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1782    Ashley     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1783    Gabrielle  B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1784    Yolanda    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1785    Emani      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1786    Doniesha   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1787    Leslie     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1788    Tammy      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1789    Titeanna   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1790    Barbara    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1791    Deanna     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1792    Dashonna B.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1029 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 40 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   1793    Alexandria   B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1794    Tasha        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1795    Rockell      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1796    Rella        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1797    Lajamia      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1798    Jessica      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1799    Brianna      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1800    Dora         B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1801    Jacques      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1802    Natalie      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1803    Jeanette     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1804    Sherry       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1805    Crystal      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1806    Shaterrika   B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1807    Salawn       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1808    Traibiyah    B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1809    August       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1810    Erika        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1811    Peggy        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1812    Tricia       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1813    Devin        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1814    Antonia      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1815    Mylana       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1816    Janet        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1817    Lakesha      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1818    Sandy        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1819    Jade         B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1820    Chanitra     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1821    Jennifer     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1822    Natashsa     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1823    Tankeria     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1824    Kimberly     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1825    Elizabeth    B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1826    Lakeshia     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1827    Natrevia     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1828    Sharon       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1829    Galicia      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1830    La Wanda     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1831    Jennifer     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1832    LaQuresha    B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1833    Crystal      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1834    Janell       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1835    Nicole       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1836    Alaycia      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1837    Patrice      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1838    LaJoy        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1030 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   1839    Linda     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1840    Lakeisha  B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1841    Ladaria   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1842    Keeley    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1843    Linda     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1844    Stephanie B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1845    Reyon     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1846    Denise    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1847    Desma     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1848    Brender   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1849    Tatyana   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1850    Elena     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1851    Stephanie B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1852    Leslie    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1853    Rashawnga B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1854    Mona      B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1855    Danieka   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1856    Jasmine   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1857    Brianna   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1858    Jasmine   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1859    Cynthia   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1860    Jessica   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1861    Treshawn B.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1862    Shelise   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1863    Joanne    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1864    Benniesha B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1865    Cherell   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1866    Nyesha    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1867    Anita     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1868    Michalei  B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1869    Nycole    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1870    Talonda   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1871    Sharon    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1872    April     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1873    Nannie    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1874    Shelia    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1875    Brenda    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1876    Revia     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1877    Shanesha B.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1878    Carolyn   B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1879    Avery     B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1880    Christina B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1881    Jakira    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1882    Mikyla    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1883    Alesia    B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1884    Danyelle  B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1031 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   1885    Shawnta     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1886    Latonya     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1887    Shuvonda    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1888    Kenya       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1889    Letha       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1890    Shanta      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1891    Jasmine     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1892    Angela      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1893    Leanor      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1894    Latricia    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1895    Pamela      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1896    Ebonie      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1897    Lauren      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1898    Sade        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1899    Danielle    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1900    Deborah     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1901    Sherry      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1902    Sinetra     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1903    Monica      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1904    Tawana      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1905    Keyana      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1906    Rhian       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1907    Nalia       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1908    Carol       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1909    Delores     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1910    Jessica     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1911    Demetrice   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1912    Katara      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1913    Enisha      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1914    Johnnie     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1915    Crystal     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1916    Jeanette    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1917    Yolanda     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1918    Shirley     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1919    Barbara     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1920    Shari       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1921    Edna        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1922    Valencia    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1923    Betty       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1924    Donna Dee   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1925    Kim         B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1926    Rena        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1927    Choice      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1928    Gillian     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1929    Kenya       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1930    Sabrina     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1032 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   1931    Shannon     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1932    Ashlee      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1933    Lakesha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1934    Aquamaine   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1935    Dawn        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1936    Stephanie   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1937    Kimyada     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1938    Ebony       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1939    Tasha       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1940    Sherlita    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1941    Myevia      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1942    Veronica    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1943    Silverine   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1944    Tamika      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1945    Michelle    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1946    Shenika     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1947    Starlett    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1948    Tashara     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1949    Avadale     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1950    Belma       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1951    Jennifer    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1952    Crystyl     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1953    Akosua D    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1954    Ebony       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1955    Laresha     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1956    Lasheila    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1957    Samantha    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1958    Markesha    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1959    Keleni      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1960    Chene       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1961    Timara      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1962    Lamica      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1963    Regine      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1964    Meyana      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1965    Danyelle    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1966    Shaneka     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1967    Kernisha    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1968    Dawanda     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1969    Robyn       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1970    Donyell     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1971    Naomi       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1972    Ebony       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1973    Fanny       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1974    Queen       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1975    Amethyst    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1976    Betty       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1033 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   1977    Keenya       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1978    Taisha       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1979    Laceita      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1980    Natasha      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1981    Shannon      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1982    Monique      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1983    Meronca      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1984    Desma        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1985    Petrina      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1986                 B.
           Christina Kerri                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1987    Neicee       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1988    Amanda       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1989    Lisa         B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1990    Lanesha      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1991    Aldora       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1992    Glynnisha B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1993    Taisha       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1994    Iesha        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1995    Ethel        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1996    Ethel        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1997    Brenda       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1998    Krystal      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   1999    Deborah      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2000    Nyesha       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2001    June         B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2002    Lisa         B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2003    Barbara      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2004    Dionne       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2005    Danielle     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2006    Takeya       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2007    Diana        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2008    Tarasha      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2009    Chaneka      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2010    Lupe         B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2011    Sheila       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2012    Tarcia       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2013    Preshae      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2014    Keyana       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2015    Christine    B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2016    Wilhelmina B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2017    Susan        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2018    Chauntenay B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2019    Virginia     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2020    Tiffany      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2021    Candice      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2022    Tasha        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1034 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 45 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   2023    Lashun       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2024    Leonnna      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2025    Toni         B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2026    Cynthia      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2027    Tonisha      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2028    Tiana        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2029    Donna        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2030    Karen        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2031    Andrea       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2032    Sharafette   B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2033    Janit M.     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2034    Tameko       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2035    Kishara      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2036    Ashley       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2037    Arielle      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2038    Florence     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2039    Labresha     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2040    Ami          B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2041    Alma         B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2042    Felicia      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2043    Ivory        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2044    Susan        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2045    Virginia     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2046    Kateva       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2047    Miesha       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2048    Jessica      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2049    Treasure     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2050    Desiree      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2051    Alexious     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2052    Rochelle     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2053    Erica        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2054    Mary         B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2055    Caroline     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2056    Shauna       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2057    Tamar        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2058    Gabrielle    B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2059    Aaron        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2060    Lynette      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2061    Angelnette   B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2062    Roslyn       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2063    Arianna      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2064    Gralyn       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2065    Adrian       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2066    Stephanie    B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2067    Lashonda     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2068    Aven         B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1035 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   2069    Jacquline    B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2070    Victoria     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2071    Ashley       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2072    Claude       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2073    Dawn         B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2074    Gail         B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2075    Sydney       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2076    Kimberly     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2077    Rachel       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2078    Asha         B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2079    Cynthia      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2080    Leonna       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2081    Rochelle     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2082    Pamela       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2083    Mary         B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2084    Andrea       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2085    Damara       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2086    Theresa      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2087    Sylvia       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2088    Rako         B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2089    Suzanne      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2090    Vanessa      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2091    Shanika      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2092    Miko         B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2093    Tiffany      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2094    Rhonda       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2095    Joan         B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2096    Bianca       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2097    Sharmeley    B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2098    Taquana      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2099    Stephanie    B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2100    Antionette   B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2101    Margaret     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2102    Tekesha      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2103    Khrystina    B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2104    Michelle D   B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2105    Trashell     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2106    Deirdra Y    B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2107    Fiordaliza   B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2108    Bria         B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2109    Lorrie       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2110    Morgan       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2111    Cammie       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2112    Virginia     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2113    Kizzi        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2114    Lillie       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1036 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 47 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   2115    Roshira    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2116    Sharee     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2117    Kuniko     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2118    Kimela     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2119    Latrena    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2120    Shaunte    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2121    Latisha    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2122    Nona       B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2123    Micah      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2124    Kinu       B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2125    Brushana   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2126    Lois       B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2127    Celestine  B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2128    Billie     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2129    Emma       B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2130    Wendy      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2131    April      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2132    Kendra     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2133    Anita      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2134    Allegra    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2135    Julie      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2136    Sherica    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2137    Gabrielle  B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2138    Carolyn    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2139    Crystal    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2140    Shenequa B.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2141    Denise     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2142    Rickeal    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2143    Khlilah L  B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2144    Luzlee     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2145    Kaitlyn    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2146    Dawsolene MB.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2147    Gayle      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2148    Amber      B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2149    Sydney     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2150    Jamine     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2151    Kayleigh   B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2152    Porsha     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2153    Alaini     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2154    Patrice    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2155    Yolanda    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2156    Nafeesa    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2157    Vernae     B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2158    Lucinda    B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2159    Lisa       B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2160    Nora       B.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1037 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   2161    Casey       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2162    Katrice     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2163    Porsche     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2164    Mia         B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2165    Martha      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2166    Kai         B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2167    Susan       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2168    Donna       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2169    Ethelyn     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2170    Shauntel    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2171    Carla       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2172    Loretta     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2173    Crystal     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2174    Rowan       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2175    Kenya       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2176    Natalie     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2177    Shineka     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2178    Shanice     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2179    Karina      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2180    Sherena     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2181    Jeannette   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2182    Toni        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2183    Alice       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2184    Angela      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2185    Mary        B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2186    Bernita     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2187    Rosalind    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2188    Williemae   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2189    Jessica     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2190    Candace     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2191    Nakia       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2192    Laquisha    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2193    Catrina     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2194    Alison      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2195    Kecia       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2196    Mercedes    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2197    Andrea      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2198    Annabell    B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2199    Natalie     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2200    Julie       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2201    Shanina     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2202    Rebecca     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2203    Bridget     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2204    Cathy       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2205    Tamika      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2206    Susan       B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1038 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 49 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   2207    Bonita       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2208    Shaminica B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2209    Delisha      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2210    Ronisha      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2211    Deatrice     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2212    Kenya        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2213    Karen        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2214    Fannie       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2215    Valerie      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2216    Tammy        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2217    Tarsha B     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2218    Alexes       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2219    Deidra       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2220    Shanida      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2221    Keira        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2222    Frances      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2223    Christan     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2224    Denise       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2225    Chyna        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2226    Janet        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2227    Velma        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2228    Keambra      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2229    Margaret     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2230    Charlene     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2231    Takeysha B.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2232    Sharon       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2233    Mary         B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2234    Francessa B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2235    Shelia       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2236    Tranell      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2237    Latasha      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2238    Shalon       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2239    Carmen       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2240    Dominique B.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2241    Ronnise      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2242    Latisha      B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2243    Dewonica B.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2244    Brandi       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2245    Nakeisha     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2246    Carmen       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2247    Kenya        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2248    Fretisha     B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2249    Brandy       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2250    Renee        B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2251    Reatta       B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2252    Lastacion M. B.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1039 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 50 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   2253    Alegra      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2254    Naisha      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2255    Jackie      B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2256    Kleodis     B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2257    Stephanie   B.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2258    Crystal     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2259    Linda       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2260    Bianca      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2261    Sherri      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2262    Cherise     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2263    Joy         C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2264    Ayanna      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2265    Monique     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2266    Daphne      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2267    Crystal     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2268    Shamara     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2269    Lori        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2270    Dana        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2271    Sharon      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2272    Rosa        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2273    Patricia    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2274    Robin       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2275    Tanya       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2276    Rosie       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2277    Donajean    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2278    Christina   C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2279    Patricia    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2280    Daenesha    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2281    Natasha     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2282    Raquel      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2283    Ernestine   C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2284    Royanda     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2285    Nina        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2286    Rhonda      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2287    Lizzie      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2288    Reonna      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2289    Juristine   C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2290    Daphne      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2291    Katrice     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2292    Donna       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2293    Quienteta   C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2294    Rashunda    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2295    Staci       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2296    Shanika     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2297    Edith       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2298    Romonia     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1040 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   2299    Thyra      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2300    Dominique C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2301    Sally      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2302    Cheryl     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2303    Mae        C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2304    Ivy        C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2305    Tondayala C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2306    TraumoniqueC.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2307    Pat        C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2308    Nicole     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2309    Constance C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2310    Nicole     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2311    Lynette    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2312    Tiffany    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2313    Sandra     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2314    Miya       C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2315    Tracie     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2316    Racee      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2317    Chalice    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2318    Theresa    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2319    Ana        C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2320    Hope       C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2321    Carmen     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2322    Byanca     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2323    Tiesha     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2324    Eamela     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2325    Rosa       C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2326    Maya       C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2327    Brittney   C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2328    Janece     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2329    Renae      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2330    Ayesha     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2331    Krystal    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2332    Toni       C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2333    Sharon     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2334    Sharonda C.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2335    Rashawn    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2336    Sherry     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2337    Fallon     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2338    Tatiana    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2339    Carly      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2340    Sasha      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2341    Lashawn    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2342    Mary       C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2343    Jamesha    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2344    Barbara    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1041 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   2345    Kisha          C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2346    Barbara        C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2347    Vicky          C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2348    Yvette         C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2349    Kimberly       C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2350    Tracie         C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2351    Frankye        C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2352    Kimeko         C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2353    Shakisha       C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2354    Kimberly       C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2355    Sharrie        C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2356    Michelle       C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2357    Kawanee        C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2358    Fetisa         C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2359    Tahirah        C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2360    Ikita Divine   C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2361    Oletha         C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2362    Lashaunda      C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2363    Wanda          C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2364    Jacquelyn      C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2365    Kema           C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2366    Felicidad      C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2367    Alice          C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2368    Kimberly       C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2369    Rickitia       C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2370    Rebecca        C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2371    Cynthia        C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2372    Donna          C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2373    Aprel          C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2374    Donyelle       C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2375    Ziara          C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2376    April          C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2377    Essence        C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2378    Vaquita        C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2379    Carla          C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2380    Charisse       C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2381    Alisha         C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2382    Diyonnia       C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2383    Ajanique M     C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2384    Cheryl         C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2385    Wyvonne        C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2386    Anetra M       C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2387    Alice G        C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2388    Kimberly       C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2389    Sharina        C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2390    Yalonda        C.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1042 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   2391    Evelyn       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2392    Jessica      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2393    Rose         C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2394    Sharina      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2395    Saundra      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2396    Patricia     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2397    Luz          C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2398    Aida         C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2399    Wilma        C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2400    Jazmin       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2401    Sabrina      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2402    Lashawn      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2403    Shakiara     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2404    Christina    C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2405    Juneau       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2406    Danielle     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2407    Mikeisha     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2408    Lashanae     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2409    Kema         C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2410    Patrion      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2411    Tawana       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2412    Sabrina      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2413    Gloria       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2414    Kemyion      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2415    Debra        C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2416    Jerree       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2417    Candace      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2418    Dedijona     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2419    Patricia     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2420    Pamela       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2421    Tia          C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2422    Ann          C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2423    Ebony        C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2424    Topeka       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2425    Christina    C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2426    Camecia      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2427    Shantelle    C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2428    Lisa         C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2429    Alice        C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2430    Alysha       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2431    Shamyra      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2432    Jasayla      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2433    Angelena     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2434    Alexandria   C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2435    Ankum        C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2436    Maquecca     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1043 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 54 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   2437    Sharon        C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2438    Da Shunna C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2439    Lanetra       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2440    Zammorria C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2441    Sonia         C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2442    Raychel       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2443    Kedra         C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2444    Darlissa      C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2445    Mgazi         C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2446    Alicia        C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2447    Monique       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2448    Deborah       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2449    Deidre        C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2450    Junitper      C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2451    Jessica       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2452    Kimala        C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2453    Terricka      C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2454    Delaina       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2455    Maria Mirelis C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2456    Edna          C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2457    Cezanne       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2458    Megan         C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2459    Joanne        C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2460    Linda         C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2461    Denise        C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2462    Crystal       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2463    Rosalinda C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2464    Natalie       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2465    Adriane       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2466    Cecily        C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2467    Yakira        C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2468    Bennia        C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2469    Lashonda C.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2470    Debbie        C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2471    Arie          C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2472    Demetria      C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2473    Crystal       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2474    Equana        C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2475    Edera         C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2476    Brittany      C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2477    Alberta       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2478    Kimberly      C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2479    Savannah C.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2480    Renita        C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2481    Charlisa      C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2482    Valecia       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1044 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 55 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   2483    Keisha       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2484    Leslie       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2485    Adryan       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2486    Nancy        C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2487    Taleah       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2488    Esther       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2489    Dana         C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2490    Myrna        C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2491    Rebecca      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2492    LaKeishia C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2493    Sandra       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2494    Deana        C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2495    Myrtis       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2496    Terry        C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2497    Lavonne      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2498    Rosie        C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2499    Shena        C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2500    Lakeshai     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2501    Leslie       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2502    Donnetta     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2503    Janie        C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2504    Sue          C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2505    Tami         C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2506    Stephanie C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2507    Deborah      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2508    Elonshiree C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2509    Dierdrechire C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2510    Latrisha     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2511    Serica       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2512    Thesia       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2513    Kala         C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2514    Melissa      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2515    Leslie       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2516    Danielle     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2517    Leatika      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2518    Christina    C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2519    Arlene       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2520    Tenesah      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2521    Shiayvonne C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2522    Ashley       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2523    Candance C.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2524    Sondra       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2525    Supora       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2526    Rekeba       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2527    Shawnice C.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2528    Angela       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1045 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 56 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   2529    Jenevia     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2530    Destiny     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2531    Wykena      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2532    Katrina     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2533    Tanya       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2534    Michelle    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2535    Denetris    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2536    fofreca     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2537    Karen Lynn C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2538    Joan        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2539    Cassandra C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2540    Moieshai S. C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2541    Tory        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2542    Tyra        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2543    Crystal     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2544    Shanera     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2545    Janei       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2546    Andrea      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2547    Amani       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2548    Kristal D.  C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2549    Denise      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2550    Johnikka    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2551    Ciara       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2552    Lenei       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2553    Victoria    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2554    Rachel      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2555    Heather     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2556    Janeen      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2557    Jacqueline C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2558    Angel       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2559    Ebony       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2560    Carmen      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2561    Kathleen    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2562    Shaka Kahn C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2563    Lashanta    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2564    Veronica    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2565    Corina      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2566    Belinda     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2567    Tawana      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2568    Elizabeth   C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2569    Regina      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2570    Jessica     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2571    Crystal     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2572    Sharese     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2573    Elicia      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2574    Orion       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1046 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 57 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   2575    Teresa      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2576    Dawnn       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2577    Terri       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2578    Chalerria   C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2579    Tammy       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2580    Yolenda     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2581    Kanishia    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2582    Benita      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2583    Leah        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2584    Hattie      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2585    Caroline    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2586    Keana       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2587    Olga        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2588    Yzadora     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2589    Nicole      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2590    Marya       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2591    Beverly     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2592    Brittany    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2593    Tamara      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2594    Pamela      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2595    Laochia     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2596    Nora        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2597    Tosha       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2598    Stefani     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2599    Mirella     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2600    Betty       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2601    Eleni       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2602    April       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2603    Stephanie   C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2604    Halena      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2605    Michelle    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2606    David       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2607    Rainnie     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2608    Stacey      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2609    Carol       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2610    Nikia       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2611    Corissa     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2612    Kathleen    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2613    Kimberly    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2614    William     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2615    Jemika      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2616    Kenyatta    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2617    Rebecca     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2618    Ashley      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2619    Tangelyn    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2620    Tairrie     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1047 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 58 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   2621    Aretha     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2622    Gina       C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2623    Karen      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2624    Linzy      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2625    Tangea     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2626    Jessica    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2627    Maria      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2628    Judith     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2629    Kathryn    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2630    Gina       C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2631    Tarsha     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2632    Calvinique C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2633    Anishia    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2634    Janice     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2635    Lisa       C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2636    Felicia    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2637    Shirley    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2638    Nichole    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2639    Gayla      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2640    Loria      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2641    Christine  C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2642    Aarica     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2643    Franchesca C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2644    Shawn      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2645    Lakendra   C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2646    Gwendolyn C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2647    Kelley     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2648    Nina L     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2649    Tracie     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2650    Renette    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2651    Symentha C.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2652    Zena       C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2653    Anita      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2654    Olga       C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2655    Dominique C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2656    Jacqueline C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2657    Rikeshia   C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2658    Marilyn    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2659    Melanie    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2660    Kierston   C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2661    Patricia   C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2662    Brenda     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2663    Jade       C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2664    Rochelle   C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2665    Darian     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2666    Shannon    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1048 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 59 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   2667    Samantha    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2668    Amber       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2669    Stephanie   C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2670    Sydney      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2671    Brenda      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2672    Windi       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2673    Diana       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2674    Lisa        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2675    Unique      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2676    Kiwanna     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2677    Carmella    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2678    Keyosha     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2679    Deborah     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2680    Trezlyn     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2681    Linda       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2682    Lenia       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2683    Bianca      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2684    Debra       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2685    Dieucila    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2686    Kenyatta    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2687    Angela      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2688    Brittani    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2689    Dnyshyia    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2690    Nancy       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2691    Takisha     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2692    Jenelle     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2693    Michelle    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2694    Judith      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2695    Shondra     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2696    Teryne      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2697    Jessica     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2698    Phillane    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2699    Lucretia    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2700    Lametris    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2701    Kenya       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2702    Tomika      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2703    Judy        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2704    Lisa        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2705    Josette     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2706    Leilani     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2707    Letticia    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2708    Sylvia      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2709    Judith      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2710    Sandy       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2711    Tamar       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2712    Asia        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1049 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 60 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   2713    Norma       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2714    Sandra      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2715    Angela      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2716    Cassandra   C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2717    Sallie      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2718    Kenya       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2719    Winsome     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2720    Angela      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2721    Annie       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2722    Lauren      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2723    Josalynn    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2724    Shamekia    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2725    Shanel      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2726    Keanna      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2727    Latoya      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2728    Jennifer    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2729    Linda       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2730    Nicolette   C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2731    Tracy       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2732    Darlene     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2733    Teresa      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2734    Cheryl      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2735    Tiffany     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2736    Linzy M     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2737    Martricia   C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2738    Jermene     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2739    Venisha     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2740    Arletia     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2741    Christy     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2742    Leticia     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2743    Tierney     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2744    Tiffany     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2745    Danielle    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2746    Lawanda     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2747    Camille     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2748    Brittany    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2749    Chidinma    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2750    Garneth     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2751    Pamela      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2752    Marilyn     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2753    Lawon       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2754    Lois        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2755    Phyllis     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2756    Aryelle     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2757    Juanita     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2758    Danielle    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1050 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 61 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   2759    Kaetie      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2760    Virginia    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2761    Carolyn     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2762    Tammie      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2763    Shemariae   C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2764    Sheena      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2765    Tenisha     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2766    Tasha       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2767    Debra       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2768    Laura       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2769    Susan       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2770    Felicia     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2771    Ciara       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2772    Kiesha      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2773    Telleisse   C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2774    Nikita      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2775    Sandra      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2776    Amanda      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2777    Carol       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2778    Latae       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2779    Kelly       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2780    Alisha      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2781    Stacy       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2782    Ashley      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2783    Trinetta    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2784    Adelfa      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2785    Tina        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2786    Eboni       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2787    Latonya     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2788    Channelle   C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2789    Laura       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2790    Denise      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2791    Sherquae    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2792    Ashanti     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2793    Clara       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2794    Shelley     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2795    Ieshia      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2796    Latrice     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2797    Megan       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2798    Tava        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2799    Veronica    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2800    Nancy       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2801    Tyease      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2802    Marie       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2803    Kayla       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2804    Sherie      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1051 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   2805    Ikesha       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2806    Patricia     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2807    Sharia       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2808    Lisa         C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2809    Willa        C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2810    Carrie       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2811    Ruthelen     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2812    Benilisa     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2813    Monnarika    C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2814    Lorena       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2815    Shawna       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2816    Shantica     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2817    Sandra       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2818    Sylvia       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2819    Claretta     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2820    Salena       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2821    Christina    C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2822    Keesha       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2823    Laquiesha    C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2824    Takina       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2825    Nikia        C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2826    Sharee       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2827    Kelly        C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2828    Shawntae     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2829    Marva        C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2830    Shawanda     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2831    Beverly      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2832    Dawn         C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2833    Allene       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2834    Maggie       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2835    Jasmine      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2836    Asia         C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2837    Bianca       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2838    Chante       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2839    Adedolapo    C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2840    Nello        C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2841    Jacqueline   C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2842    Angelle      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2843    Hurime       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2844    Stacia       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2845    Stacy        C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2846    Kelly        C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2847    Natalie      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2848    Margarita    C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2849    Venisha      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2850    Sherann      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1052 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 63 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   2851    Chekesha C.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2852    Patricia   C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2853    Shante     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2854    Leontine   C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2855    Gatheia    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2856    Kellye     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2857    Latanya    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2858    Ebony      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2859    Barb       C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2860    Racquel    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2861    Bridget    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2862    Tiffanie   C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2863    Tia        C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2864    Gail       C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2865    Crystal    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2866    Tieshia    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2867    JoAnn      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2868    Sherri     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2869    Coco       C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2870    Tracy      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2871    Marcise    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2872    Dionne     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2873    Monica     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2874    Paulette   C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2875    Lenai      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2876    Betty      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2877    Marlene    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2878    Nicole     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2879    Renola B   C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2880    Delesha    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2881    Latonya    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2882    Brandi     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2883    Sade       C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2884    Shoshanah C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2885    Leshaniece C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2886    Joyce      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2887    Alasha     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2888    Demetrice C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2889    Tynae      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2890    Barbara    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2891    JoAnn      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2892    Latrice    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2893    Gwendaleon C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2894    Ronesha    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2895    Deandrea C.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2896    April      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1053 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 64 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   2897    April       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2898    Pauline     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2899    Danielle    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2900    Bonnie      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2901    Sherrie     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2902    Jami        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2903    Yolanda     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2904    Susan       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2905    Starlisha   C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2906    Deanna      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2907    Brenda      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2908    Sirena      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2909    Evelyn      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2910    Chakesha C.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2911    Kanitra     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2912    Rhonda      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2913    Leighandrea C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2914    Tamika      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2915    Patricia    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2916    Alicia      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2917    Tamanika C.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2918    Brittney    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2919    Taliya      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2920    Angela      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2921    Juanita     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2922    Latosha     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2923    Latoya      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2924    Brittney    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2925    Channa      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2926    Shirelle    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2927    Arhonda     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2928    Thomeesha C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2929    Roshonna C.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2930    Latoyyia    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2931    Nichole     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2932    Berda       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2933    Dedrel      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2934    Lashonna C.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2935    Donese      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2936    Clifetta    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2937    Annette     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2938    Ruthy       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2939    Niesha      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2940    Melissa     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2941    Marilyn     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2942    Charleen    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1054 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 65 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   2943    Megan       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2944    Jamela      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2945    Rachel      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2946    Nelissa     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2947    Sherral     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2948    Sheretta    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2949    Tanae       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2950    Lucia       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2951    Maria       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2952    Kastina     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2953    Sharon      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2954    Aissa       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2955    Marva       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2956    Jacqueline MC.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2957    Jaynae      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2958    Shamika     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2959    Shashonna C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2960    Yolanda     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2961    Latovia     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2962    Cassie      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2963    Chiquita    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2964    Samantha C.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2965    Kandi       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2966    Marijke     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2967    Dasmine     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2968    Tyra        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2969    Deloris     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2970    Kimberly    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2971    Deneatra    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2972    Diandra     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2973    Marion      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2974    Myrlie      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2975    Romona      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2976    Jessica     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2977    Monae       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2978    Kimberly    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2979    Stacy       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2980    Erica       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2981    Satina      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2982    Deandrea C.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2983    Keisha      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2984    Laneisha    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2985    Lakesha     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2986    Shermika    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2987    Reshema C.                      [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2988    Veronica    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1055 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 66 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   2989    Genieva     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2990    LaDonna     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2991    Aramona     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2992    Sharon      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2993    Sandra      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2994    Kathleen    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2995    Rachelle    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2996    Laquana     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2997    Brenda      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2998    Sydney      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   2999    Luwon       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3000    Quiyana J   C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3001    Quiana      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3002    Laneisha    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3003    Tyniecia    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3004    Shiniece    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3005    Tasha       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3006    Tina        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3007    Theresa     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3008    Talisha     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3009    Lanesha     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3010    Mary        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3011    Shikita     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3012    Latoya      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3013    Cora        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3014    Christy     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3015    Sonia       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3016    Susana      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3017    Laurie      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3018    Julia       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3019    Patricia    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3020    Erika       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3021    Du Juana    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3022    Bridgett    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3023    Tonnette    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3024    Sandra      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3025    Pebbles     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3026    Nicole      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3027    Vailaiza    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3028    Marilyn     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3029    Mechelle    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3030    Elexis      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3031    Tyra        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3032    Jeneen      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3033    Markita     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3034    Bernice     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1056 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 67 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   3035    Edwina      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3036    Anita       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3037    Danyelle    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3038    Lachara     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3039    Phyllis     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3040    Necole      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3041    Jewelene    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3042    Juanita     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3043    Tracey      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3044    Letrice     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3045    Kimberly    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3046    Charlene    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3047    Winnetka    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3048    Chrisshonda C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3049    Stephanie C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3050    Janice      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3051    Lashenda C.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3052    Avis        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3053    Alexandria C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3054    Charlene    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3055    Barbara     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3056    Latricia    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3057    Lavonnda C.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3058    Aundreal    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3059    Nikita      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3060    Tylicia     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3061    Porscha     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3062    Ajailon     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3063    Toni        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3064    Tara        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3065    Vanessa     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3066    Stephanie C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3067    Niresha     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3068    Valaria     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3069    Ashley      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3070    Carmen      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3071    Maria       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3072    Rose        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3073    Blanca      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3074    Regina      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3075    James       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3076    TeenAnn     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3077    Rachelle    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3078    Melissa     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3079    Kalimah     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3080    Jaquitta    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1057 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 68 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   3081    Crystal     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3082    Alisha      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3083    Jillian     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3084    Branden     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3085    Jessica     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3086    Armika      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3087    Deborah     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3088    Andrea      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3089    Tony        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3090    Nakeisha    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3091    Marcus      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3092    Daja        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3093    Angel       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3094    Lauren      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3095    Sharnai     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3096    Sue         C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3097    Yolanda     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3098    Kelly       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3099    Fallon      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3100    Jamie       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3101    Myesha      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3102    Cindie      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3103    Tina        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3104    Jovan       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3105    Ronee       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3106    Mary        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3107    Carol       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3108    Amy         C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3109    Varonica    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3110    Judith      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3111    Vanda       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3112    Victoria    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3113    Angel       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3114    Fawn        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3115    Sandra      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3116    Michelle    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3117    Dannesha    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3118    Danielle    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3119    Jessica     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3120    Shanira     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3121    Tauryn      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3122    Sharday     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3123    Shanissia   C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3124    Katina      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3125    Lamonica    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3126    Ieshia      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1058 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 69 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   3127    Tamika     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3128    Tamera     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3129    Cyneth     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3130    Stephanie C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3131    Tasha      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3132    Cherise    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3133    Kalika     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3134    Dejanee    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3135    Inetta     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3136    Janice     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3137    Minnie     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3138    Teneka     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3139    Dana       C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3140    Jamesia    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3141    Valerie    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3142    Brianna    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3143    Jonnie     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3144    Biannca    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3145    Veaches    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3146    Cheana     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3147    Destynee   C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3148    Mary       C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3149    Monisha    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3150    Colletta   C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3151    Mikayla    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3152    Tomeka     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3153    Keevon     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3154    Anasa      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3155    LaKintra   C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3156    CharmoniqueC.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3157    Jesse      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3158    Michanique C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3159    Shanise    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3160    Latisha    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3161    Morgan     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3162    Talya      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3163    Lydia      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3164    Lisa       C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3165    Earlene Y. C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3166    Marilyn    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3167    Whitney    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3168    Jasmine    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3169    Latrena    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3170    Alfreda    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3171    Ykeisha    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3172    Breaunna C.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1059 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 70 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   3173    Sharee      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3174    Danielle    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3175    Ginger      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3176    Robbie      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3177    Precious    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3178    Christasha C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3179    Kimberly    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3180    Sharlene    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3181    Tornika     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3182    Ebony       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3183    Jesenia     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3184    Loretta     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3185    Earlene     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3186    Yolanda     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3187    Sarahmay C.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3188    Opal        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3189    Ronda       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3190    Tamara      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3191    Jacqueline C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3192    Tamika      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3193    Joandra     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3194    Toni        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3195    Joy         C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3196    Nakia       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3197    Tonya       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3198    Cinnamon C.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3199    Kerchelle   C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3200    Guadalupe C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3201    Frances     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3202    Cindy       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3203    Eudolia     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3204    Angelica    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3205    Diana       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3206    Cassandra C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3207    Olga        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3208    Rashawnda C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3209    Monia       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3210    Linda       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3211    Trendetta C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3212    Jeanette    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3213    Nikesha     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3214    Taqunia     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3215    Sakemia     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3216                C.
           LaTonya Latrise                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3217    Nashyra     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3218    Cheyenne C.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1060 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   3219    Ericka      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3220    Evelyn      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3221    Monique     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3222    Theresa A C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3223    Kimberly    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3224    Shonnia     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3225    Chrishondra C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3226    Renada      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3227    Leona       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3228    Sherry      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3229    Whajetta    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3230    Janet       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3231    Marie       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3232    Latoya      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3233    Sharon      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3234    Kajuana     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3235    Patricia    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3236    Brittany    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3237    LaRhonda C.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3238    Barbara     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3239    April       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3240    Leslie      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3241    Martha      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3242    Latisia     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3243    Tierra      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3244    Tristin     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3245    Carla       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3246    Tania       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3247    Dorothy     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3248    Sarah       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3249    Vicky       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3250    Shavontay C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3251    Delilah     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3252    Juanita     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3253    Ella        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3254    Crystal     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3255    Lacrecia    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3256    Shani       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3257    Nikki       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3258    Maia        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3259    Susan       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3260    Viola       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3261    Chelsey     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3262    Cindy       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3263    Judith      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3264    Debbie      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1061 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   3265    Patricia   C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3266    Alice      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3267    Jaleesa    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3268    Leann      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3269    Shoutez    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3270    Charlotte  C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3271    Isasia     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3272    Beth       C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3273    Danielle   C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3274    Chenell    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3275    Tera       C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3276    Antoine    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3277    Rashaunda C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3278    Antoinette C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3279    Debra      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3280    Lonita     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3281    Latoya     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3282    Saudia     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3283    Tomike     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3284    La Creica  C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3285    Khristina  C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3286    Jennifer   C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3287    Christin   C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3288    Taylor     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3289    Jaimie     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3290    Rashaunda C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3291    Shellimari C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3292    Janis      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3293    Bria       C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3294    Vonshay    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3295    Selena     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3296    Janem      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3297    Nikia      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3298    Cynthia    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3299    Jennifer   C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3300    Jolia      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3301    Jasmine    C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3302    Sandra     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3303    Cheryl     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3304    Treneshia C.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3305    Jennifer   C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3306    Shatarra   C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3307    Taneisha   C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3308    Carole     C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3309    Shirnifa   C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3310    Vella      C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1062 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   3311    Lashawn     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3312    Andrea      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3313    Suzanne     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3314    Morgan      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3315    Alyssa      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3316    Wendy       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3317    Janine      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3318    Brittani    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3319    Latoya      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3320    Crystal     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3321    Leesia      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3322    Shinda      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3323    Tarayla     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3324    Carolyn     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3325    Tiffany     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3326    Sabrina     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3327    Latasha     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3328    Monyetta    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3329    Evelyn      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3330    Virginia    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3331    Joy         C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3332    Lisa        C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3333    Martha      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3334    Michelle    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3335    Angela      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3336    Gabrielle   C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3337    Diamond     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3338    Ebony       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3339    Alaina      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3340    Patricia    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3341    Kasie       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3342    Kisha       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3343    Becky       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3344    Kacia       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3345    Brittney    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3346    Claudia     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3347    Shakelia    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3348    Thomasina   C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3349    Kiarra      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3350    Markeisha   C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3351    Patricia    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3352    La’Quita    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3353    Lacrystal   C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3354    Kristy      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3355    Denice      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3356    Destiny     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1063 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 74 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   3357    Jeanine      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3358    Brenda       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3359    Courtney     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3360    Saquena      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3361    Shelly       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3362    Pearlean     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3363    Tiasha       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3364    Shirley      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3365    Alychia      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3366    Teresa       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3367    Juanita      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3368    Loretta      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3369    Lonetta      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3370    Detra        C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3371    Michelle     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3372    Carletha     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3373    Sharday      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3374    Jacqueline   C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3375    Martealer    C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3376    Audrey       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3377    Brittany     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3378    Asia         C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3379    Tracie       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3380    Meggan       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3381    Jessica      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3382    Angela       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3383    Lorraine     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3384    Charletta    C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3385    Dionne       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3386    Bresha       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3387    Shanika      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3388    Stacey       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3389    Dawn         C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3390    Deleshia     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3391    Omeshia      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3392    LeShay       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3393    Dianka       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3394    Detonya      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3395    Sharie       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3396    Marianela    C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3397    Nicole       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3398    Alejandra    C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3399    Brunilda     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3400    Alelyn       C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3401    Calandre     C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3402    Marilyn      C.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1064 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 75 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   3403    Massiel       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3404    Mariah        C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3405    Jennifer      C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3406    Avianca       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3407    Najee         C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3408    Erika         C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3409    Trenesa       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3410    Rontrinika C.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3411    Kiyannah      C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3412    Alesie        C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3413    Ellen MichelleC.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3414    Theresa       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3415    Nichole       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3416    Deanisha      C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3417    Sarah         C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3418    Francis       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3419    Camille       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3420    Cherae        C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3421    Philisha      C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3422    Chardon       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3423    Lorraine      C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3424    Sherita       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3425    Chelsea       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3426    Tiffany       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3427    Tiffany       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3428    Kerry         C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3429    Fayetta       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3430    Dawn Michelle C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3431    Ashley        C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3432    Lakeisha      C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3433    Patricia      C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3434    Lisa          C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3435    Danielle      C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3436    Cheron        C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3437    Christina     C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3438    Jennifer      C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3439    Lakiesha      C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3440    Besetta       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3441    Annecia       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3442    Kamisha       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3443    Adriana       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3444    Marshawn C.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3445    Gloria        C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3446    Barbara       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3447    Latasha       C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3448    Bonita        C.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1065 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 76 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   3449    Patrice     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3450    Laria       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3451    Earla       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3452    Latoya      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3453    Leonda      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3454    India       C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3455    Jennifer    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3456    Tawanda     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3457    Taneil      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3458    Ebonie      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3459    Rachel      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3460    Nikena      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3461    Robin R     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3462    Amanda      C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3463    Jasmine     C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3464    Patricia    C.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3465    April       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3466    Kim         D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3467    Saida       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3468    Leona       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3469    LeeAnn      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3470    Kimberly    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3471    Ashley      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3472    Dannette    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3473    Laniece     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3474    Jessica     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3475    Latrice     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3476    Latonya     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3477    Shelia      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3478    Janet       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3479    Nicole      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3480    April       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3481    Denise      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3482    Sheila      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3483    Jasmine     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3484    Shawn       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3485    Barbara     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3486    Mykesha     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3487    Tara        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3488    Rosalyn     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3489    Melissa     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3490    Eddwena     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3491    Idel        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3492    Carla       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3493    Tomika      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3494    Erica       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1066 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 77 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   3495    Christie    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3496    Denise      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3497    Charlie     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3498    Glenda      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3499    Shadia      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3500    Deborah     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3501    Ashley      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3502    Kristy      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3503    Kara        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3504    Kindra      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3505    Annie       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3506    Eileen      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3507    Terrasye    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3508    Kameshia    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3509    Renicea     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3510    Kimberly    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3511    Dovie       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3512    Minnie      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3513    Cavia       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3514    Jennifer    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3515    Linda       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3516    Brittany    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3517    Kristi      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3518    LaMeicion   D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3519    Hilary      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3520    Lodema      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3521    Paige       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3522    Chakela     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3523    Tameka      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3524    Jolie       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3525    Crystal     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3526    Rocheryl    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3527    Sandra      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3528    Paulisha    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3529    Chuntell    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3530    Nichella    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3531    Becky       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3532    Robin       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3533    Nancy       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3534    Timmeka     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3535    Mary        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3536    Peggy       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3537    Nzinga      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3538    Lisa        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3539    Teresa      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3540    Treli       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1067 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   3541    Shandella D.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3542    Deborah     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3543    Chaquita    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3544    Kameron     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3545    Lauren      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3546    Cleisha     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3547    Yutebia     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3548    Tiffany     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3549    Chauncey D.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3550    Jessica     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3551    Chamieka D.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3552    Rochell     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3553    Kim         D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3554    Wanda       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3555    Chlois RenaeD.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3556    Shamel      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3557    Nina        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3558    Taylor      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3559    Janet       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3560    Maria       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3561    Penny       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3562    Kenya       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3563    Dorothy     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3564    Angela      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3565    Jacqueline D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3566    Rochanda D.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3567    Kenya       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3568    Diane       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3569    Pamela      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3570    Penny       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3571    Susan       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3572    Monica      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3573    Shundrika D.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3574    Lila        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3575    Shacree     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3576    Erica       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3577    Donniece    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3578    Samika      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3579    Stephanie D.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3580    Brandice    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3581    Robin       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3582    Ronicia     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3583    Brittany    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3584    Trunise     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3585    Tamaree     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3586    Jaquinn     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1068 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 79 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   3587    Shayana     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3588    Jada        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3589    Shaquana D.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3590    Felicia     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3591    Temeketha D.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3592    Trayvyonne D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3593    Rene        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3594    Mika        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3595    Leah        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3596    Ishia       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3597    Mary        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3598    MarshawnnaD.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3599    Shante      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3600    Chantel     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3601    Toniciea    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3602    Regina      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3603    Brittney    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3604    Rina        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3605    Arzeria     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3606    Trenice     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3607    Shonee      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3608    Angela      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3609    Dadrian     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3610    Jeronica    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3611    Marquita    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3612    Branda      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3613    Neyurka     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3614    Shiquila    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3615    Yolanda     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3616    George      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3617    Ella Marie D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3618    JoAnn       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3619    Breshey     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3620    Dominique D.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3621    Patricia    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3622    Glinda      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3623    Yvette      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3624    Lillie      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3625    Enchantress D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3626    Angela      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3627    April       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3628    Renee       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3629    Tanya       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3630    Mynisha     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3631    Andrea      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3632    Joy         D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1069 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 80 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   3633    Lorraine    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3634    Buelah      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3635    Pasha       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3636    Angela      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3637    Heather     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3638    Felicia     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3639    Aikista     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3640    Althea      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3641    Coretta     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3642    Deborah     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3643    Jamella     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3644    Paulette    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3645    Thaila      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3646    Tracy       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3647    Anthea      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3648    Tranese     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3649    Mecia       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3650    Teliece     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3651    Nashay      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3652    Lisa        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3653    Rose        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3654    Briana      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3655    Brittany    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3656    Jessica     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3657    Laurience   D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3658    Shanequa    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3659    Debbie      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3660    Falicia     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3661    Taquisa     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3662    Tracy       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3663    Timica      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3664    Netisha     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3665    Jani        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3666    Kameisha    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3667    Michelle    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3668    Felicia     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3669    Michelle    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3670    Rochelle    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3671    Robin       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3672    Tyanna      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3673    Denise      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3674    Lequita     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3675    Daiyalana   D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3676    Raquel      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3677    Kimberly    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3678    Pranta      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1070 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   3679    Dora        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3680    Dulema      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3681                D.
           Frances Diane                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3682    Tester      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3683    Wanda       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3684    Sylvia      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3685    Arvella     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3686    Stephanie D.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3687    Ramie       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3688    Angela      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3689    Sharita     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3690    Pamala      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3691    Nicole      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3692    Melisa J    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3693    Monique     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3694    Superior    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3695    Cassandra D.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3696    Cinteria    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3697    Tasheka     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3698    Romona      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3699    DRosa       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3700    Tristan     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3701    Wendy       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3702    Takiela     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3703    Wendy       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3704    Tamara      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3705    Daionna     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3706    Keira       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3707    Mia         D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3708    Alexandria D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3709    Amber       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3710    Santita     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3711    Shana       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3712    Veronica    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3713    Rickia      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3714    Destiny     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3715    Crystal     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3716    Queyona     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3717    Latoca      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3718    Ashley      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3719    Jasmine     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3720    Brittany    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3721    Leonyia     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3722    Ebony       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3723    Jonae       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3724    Charlotte   D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1071 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   3725    Thelma       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3726    Mable        D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3727    Elizabeth    D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3728    Gia          D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3729    Cynthia      D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3730    Valerie      D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3731    Randrell     D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3732    Juwanna      D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3733    Bessie       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3734    Jarline      D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3735    Starla       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3736    Manessah     D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3737    Betty        D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3738    McDexturie   D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3739    Jessica      D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3740    Omega        D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3741    Kenashica    D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3742    Chrissy      D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3743    Canica       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3744    Angela       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3745    Robin        D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3746    Monay        D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3747    Jennifer     D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3748    Teresa       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3749    Amy          D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3750    Justyce      D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3751    Angila       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3752    Bridgette    D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3753    Laura        D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3754    Amanda       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3755    Patty        D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3756    Cassandra    D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3757    Chitika      D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3758    Maurlithe    D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3759    Monie        D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3760    Shanice      D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3761    Troilse      D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3762    Jasmine      D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3763    Olivia       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3764    Alicia       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3765    Teresa       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3766    Gladys       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3767    Gloria       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3768    Alicia       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3769    Mamie        D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3770    Kendra       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1072 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   3771    Iris        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3772    Peggy       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3773    Patricia    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3774    Kiani       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3775    Nicole      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3776    Vernice     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3777    Tina        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3778    Myrtite     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3779    Angelic     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3780    Randee      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3781                D.
           Constance Lee                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3782    Alisa       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3783    Ticia       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3784    Courtney    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3785    Judy        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3786    Ginger      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3787    Salena      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3788    LaShayvia D.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3789    Sylvia      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3790    Kelley      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3791    Marisol     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3792    Tiona       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3793    Melissa     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3794    Deborah     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3795    Rejean      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3796    Melissa     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3797    Diana       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3798    Susie       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3799    Danielle    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3800    Alexis      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3801    Adreana     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3802    Melissa     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3803    Kimberly    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3804                D.
           Mary Ann Elizabeth              [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3805    Lydia       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3806    Maria       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3807    Liza        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3808    Lamesha     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3809    Edesha      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3810    Christin    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3811    Maureen     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3812    Monique     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3813    Ebony       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3814    Cindy       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3815    Erolia      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3816    Rosemary D.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1073 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   3817    Jonshara    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3818    Tami        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3819    Dana        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3820    Traysa      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3821    Mary        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3822    Kira        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3823    Lynnell     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3824    Patricia    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3825    Patricia    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3826    Shannon     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3827    Margaret    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3828    Jaynitha    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3829    Eboni       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3830    Michaela    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3831    Charlotte   D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3832    Roneshia    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3833    Jene        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3834    Breketa     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3835    Nakia       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3836    Alicia      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3837    Kalinie     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3838    LaDonna     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3839    Tressia     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3840    Wanda       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3841    Janice      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3842    Ulanda      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3843    Nicole      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3844    Carmen      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3845    Tecalli     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3846    Diamond     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3847    Iman        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3848    Asia        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3849    Porchia     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3850    Sahunterica D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3851    Nakia       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3852    Tammy       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3853    Bettye      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3854    Freda       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3855    Petry       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3856    Tira        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3857    Brittany    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3858    Jaiva       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3859    Ejeanee     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3860    Tandra      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3861    Bridget     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3862    Kristal     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1074 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 85 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   3863    Tiffany    D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3864    Timica     D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3865    Nella      D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3866    Glennetta D.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3867    Donna      D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3868    Kirshanda D.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3869    Susan      D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3870    Keka       D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3871    Melissa    D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3872    Paula      D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3873    Stephanie D.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3874    Trenicia   D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3875    Rosetta    D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3876    Kimberly   D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3877    Josie      D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3878    Tammy      D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3879    Elizabeth  D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3880    Angeletter D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3881    Nikki      D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3882    Taiketra   D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3883    Shirley    D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3884    Angel      D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3885    Crystal    D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3886    Carolyn    D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3887    Jennifer   D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3888    Taylor     D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3889    Regina     D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3890    Vynnessa D.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3891    Dominique D.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3892    Shakeya    D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3893    Samantha D.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3894    Jovi       D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3895    Amber      D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3896    Patricia   D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3897    Chachanna D.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3898    Joycelyn   D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3899    Karen      D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3900    Jaimee     D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3901    Andrea     D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3902    Kiera      D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3903    Shankita   D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3904    Shameka    D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3905    Arionna    D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3906    Georgina   D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3907    Felicia    D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3908    Eva        D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1075 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   3909    Veronica    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3910    Hanan       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3911    Sherri      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3912    Cheray      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3913    Lauren      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3914    Ashley      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3915    Lisa        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3916    Gloria      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3917    Abrianne    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3918    Tabitha     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3919    Annette     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3920    Darlene A D.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3921    Yolanda     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3922    Lasonya     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3923    Rebecca     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3924    Angelia     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3925    Sharon      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3926    Lois        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3927    Tamula      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3928    Shuntelle   D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3929    Verlena     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3930    Tommie      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3931    Lavenia     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3932    Antoinette D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3933    Nadlyn      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3934    Christina   D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3935    Laquesha D.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3936    Tanja       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3937    Mareme      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3938    Tinamarie D.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3939    Sharlee     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3940    Tiffany N   D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3941                D.
           Melody Santos                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3942    Elizabeth   D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3943    Elizabeth   D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3944    Pamela      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3945    Tandra      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3946    Marcella    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3947    Tambria     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3948    Betty       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3949    Lamonica D.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3950    Shaniqua    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3951    Tamekia     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3952    Laura       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3953    Piaida      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3954    Kenya       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1076 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   3955    Tiara       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3956    Chavona     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3957    Christine   D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3958    Bianca      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3959    Brittney    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3960    Willisha    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3961    Sylvia      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3962    Georgia     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3963    Deidre      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3964    Kinyah      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3965    Kimberly    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3966    Stephanie D.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3967    Felicia     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3968    Chantally   D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3969    Alicia      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3970    Azia YolandaD.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3971    Chantella   D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3972    Celeste     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3973    Tracey      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3974    Sable       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3975    Whakila     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3976    Acynieth    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3977    Natalye     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3978    Tierra      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3979    Takila      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3980    Felicia     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3981    Letecia     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3982    Nikite      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3983    Tiffany     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3984    Kati        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3985    Darla       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3986    Tiffany     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3987    Andrea      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3988    Jessica     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3989    Eboni       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3990    Kathleen    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3991    Tina        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3992    Ida M.      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3993    Yvonne      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3994    Tara        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3995    Danielle    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3996    Shayla      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3997    Brittany    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3998    Terese      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   3999    Autumn      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4000    Tamara      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1077 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   4001    Jasmine      D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4002    Gwynne       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4003    Audrey       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4004    Karen        D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4005    Kimberly     D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4006    Rainette     D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4007    Debra        D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4008    Marie        D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4009    Miesha       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4010    Brenda       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4011    Julie        D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4012    Candiace     D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4013    Antionette   D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4014    Monique      D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4015    Darla        D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4016    Kameo        D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4017    Rogrika      D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4018    Kim          D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4019    Joslyn       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4020    Karen        D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4021    Nedra        D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4022    Dana         D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4023    Gayle        D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4024    Leslie       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4025    Betty        D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4026    Diana        D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4027    Iris         D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4028    Jessieka     D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4029    Elizabeth    D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4030    Hollibeth    D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4031    Amber        D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4032    Brandi       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4033    Sylvia       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4034    Natushca     D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4035    Annette      D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4036    Tiffany      D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4037    Loreta       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4038    Yolanda      D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4039    Ganell       D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4040    Joyce        D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4041    Lakeisha     D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4042    Diana        D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4043    Natalie L    D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4044    Trameika     D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4045    Chaquetta    D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4046    Britanny     D.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1078 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 89 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   4047    Andretta    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4048    Alonda      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4049    LaTia       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4050    Sheronda    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4051    Donika      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4052    Ursula      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4053    Allison     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4054    Markeycia   D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4055    Sheena      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4056    Debbie      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4057    Tiffany     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4058    Marylin     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4059    Tyeshia     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4060    Tawana      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4061    Yvette      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4062    Herica      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4063    Brandi      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4064    Dequita     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4065    Tenica      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4066    Breuna      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4067    Tiara       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4068    Kristi      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4069    Kimberly    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4070    April       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4071    Christy     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4072    Mercedes    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4073    Autellius   D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4074    Maryellen   D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4075    Chanel      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4076    April       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4077    Monique     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4078    Regina      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4079    Renita      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4080    Bernice     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4081    Sherria     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4082    Christine   D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4083    Makeisha    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4084    Laressia    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4085    Valencia    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4086    Laddieann   D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4087    Denise      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4088    Kyleisha    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4089    Lori        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4090    Trina       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4091    Sheron      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4092    Candice     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1079 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 90 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   4093    Pauline     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4094    Martha      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4095    Gladys      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4096    Robin       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4097    Sharon      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4098    Julia       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4099    Desiree     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4100    Cynthia     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4101    Jo          D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4102    Victoria    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4103    Priscilla   D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4104    Heather     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4105    Kimberly    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4106    Pauline     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4107    Nicole      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4108    Sherice     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4109    Luretha     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4110    Keva        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4111    Hareesha    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4112    Renae       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4113    Starles     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4114    Willie      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4115    Linda       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4116    Brittany    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4117    Bernella    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4118    Tracy       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4119    Shameca     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4120    Carolyn     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4121    Glennetta   D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4122    Mary        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4123    Crystal     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4124    Yvonne      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4125    Michelle    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4126    Keisha      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4127    Diamond     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4128    Sharmeka    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4129    Hollisha    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4130    Dijonia     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4131    Rhonda      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4132    Nakiya      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4133    Shaina      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4134    Yolanda     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4135    Ashley      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4136    Farlonda    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4137    Latara      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4138    Victoria    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1080 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   4139    Dana        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4140    Kandavia    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4141    Melissa     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4142    Shaunithia D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4143    Tomica      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4144    Kristy      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4145    Teravin     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4146    Icle        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4147    Penny       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4148    Cindy       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4149    Phyllis     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4150    Anita       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4151    Ashley      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4152    Cathy       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4153    Jamillah    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4154    Maria       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4155    Terry       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4156    Shameeka D.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4157    Juanita     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4158    Mikkel      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4159    Shirley     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4160    Shelia      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4161    Tamakio     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4162    La'Coisha D.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4163    Dedrain     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4164    Shellie     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4165    Marmita     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4166    Angelique D.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4167    Pamela      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4168    Carmellia   D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4169    Jasmin      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4170    Andrienne D.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4171    Tiffany     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4172    Shermica G. D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4173    Patricia    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4174    Ashley      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4175    Meisha      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4176    Timera      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4177    Shaundria D.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4178    Danielle    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4179    Debra       D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4180    Sabrina     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4181    Jennifer    D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4182    Belinda     D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4183    Jeri        D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4184    Jazmen      D.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1081 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   4185    Tiffany    D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4186    Sherrie    D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4187    Patricia   D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4188    Kimia      D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4189    Rebecca    D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4190    Cora       D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4191    Natasha    D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4192    Yvette     D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4193    Odell      D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4194    Toya       D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4195    Angela     D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4196    Doretha    D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4197    Stacey     D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4198    Tamatha    D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4199    Starlyne   D.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4200    Elizabeth  E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4201    Charlene   E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4202    Jasmine    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4203    Lillie     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4204    Martha     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4205    Lequitta   E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4206    Lekeshia   E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4207    Aishah     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4208    Nicole     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4209    Carol      E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4210    Laquanda E.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4211    April      E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4212    Dorisa     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4213    Tenisha    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4214    Taylor     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4215    Mariah     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4216    Erica      E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4217    Barbara    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4218    Laura      E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4219    Margie     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4220    Cloria     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4221    Brenda     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4222    Johna Lynn E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4223    Trivia     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4224    Christina  E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4225    Rebacca    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4226    Shala      E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4227    Kathalyn   E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4228    Donna      E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4229    Mira       E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4230    Marcia     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1082 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   4231    Pauline    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4232    Wilneka    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4233    Yomicka    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4234    Juaneishia E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4235    Felicia    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4236    Martha     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4237    LeeShanay E.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4238    Berlincia  E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4239    Mary       E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4240    Christine  E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4241    Cindy      E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4242    Jeanette   E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4243    Amber      E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4244    Angela     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4245    Kina       E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4246    Nicole     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4247    Tamika     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4248    Kimberly   E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4249    Shermanda E.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4250    Shireen    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4251    Gina       E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4252    Jeanette   E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4253    Kayla      E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4254    Ceclee     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4255    Frances    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4256    Gwendolyn E.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4257    Aubreon    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4258    Courtney   E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4259    Yolonda    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4260    Raneisha   E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4261    Sharnice   E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4262    Nikitha    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4263    Brandi     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4264    Pora       E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4265    Divida     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4266    Shaquita   E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4267    Malika     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4268    Roshawnda E.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4269    Amannda E.                      [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4270    Johnna     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4271    April      E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4272    Candice    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4273    Latasha    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4274    Deronda    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4275    Treva      E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4276    Christi    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1083 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 94 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   4277    Alexandra E.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4278    Danielle    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4279    Tamra       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4280    Twanda      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4281    Geneva      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4282    Randi       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4283    Christeen   E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4284    Taynesia    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4285    Latoya      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4286    Dinisha     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4287    D’anza      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4288    Canesha     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4289    Tyrika      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4290    Brenda      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4291    Pamela      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4292    Genale      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4293    Wilsheika E.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4294    Reanella    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4295    Theresa     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4296    Crystal     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4297    Kharisma    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4298    Ashley      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4299    Whitley     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4300    Shakethia E.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4301    Lexus S     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4302    Marlejanae E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4303    Ruth        E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4304    Charlene    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4305    Deborah     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4306    Jamie       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4307    Barbara     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4308    Lia         E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4309    Lynn        E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4310    Angela      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4311    Tamaira     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4312    Alida       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4313    Annmichelle E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4314    Tasha       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4315    Irene       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4316    Darlene     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4317    Demetress E.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4318    Sheri       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4319    Faye        E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4320    Agahnee     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4321    Beatrice    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4322    Johari      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1084 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
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Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 95 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   4323    Rachel     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4324    Georgiana E.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4325    Celestine  E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4326    Margaret   E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4327    Dionna     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4328    Amanda     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4329    Stephanie E.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4330    Brittany   E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4331    Mary       E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4332    Lisa       E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4333    Monica     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4334    Melanie    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4335    Sophie     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4336    Tjuana     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4337    Catherine E.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4338    Jessie     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4339    Theresa    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4340    Candies    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4341    Tina       E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4342    Phyllis    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4343    Lisa       E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4344    Kefneek    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4345    Sammie     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4346    Norma Sue E.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4347    Laura      E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4348    Jamela     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4349    Kaylee     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4350    Sharon     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4351    Pamela     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4352    Pamela Dee E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4353    Shawnta    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4354    Shavon     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4355    Etoria     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4356    Latorsha   E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4357    Sierra     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4358    Toni       E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4359    Danyell    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4360    Michelle   E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4361    Shakina    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4362    Jasmine    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4363    Annette    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4364    Stachia    E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4365    Evelyn     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4366    Patricia   E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4367    Janquita   E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4368    Jalisa     E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1085 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 96 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   4369    Jamise      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4370    Jasmine     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4371    Tammy       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4372    Theresa     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4373    Candice     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4374    Ann         E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4375    Brittney    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4376    N’Dap’Me    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4377    Jennifer    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4378    Tiffany     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4379    Paulene     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4380    Janice      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4381    Shaklee     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4382    Kimberly    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4383    Michaesha   E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4384    Eileen      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4385    Jeaniece    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4386    Maria       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4387    Teresa      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4388    Natasha     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4389    Rodas       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4390    Tamara      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4391    Shirley     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4392    Krisbel     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4393    Kayonta     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4394    Ernestine   E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4395    Ego         E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4396    Jessica     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4397    Estelle     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4398    Tajanay     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4399    April       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4400    Jennifer    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4401    Nikki       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4402    Dorothy     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4403    Melivina    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4404    Tamara      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4405    Ashlee      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4406    Susan       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4407    Danielle    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4408    Tonia       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4409    Olicia      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4410    Kimberly    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4411    Inez        E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4412    Trayanna    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4413    Lakista     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4414    Deborah     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1086 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 97 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   4415    Kalaiah     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4416    Trina       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4417    Patricia    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4418    Starletta   E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4419    Camille     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4420    Tamesha     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4421    Dorothy     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4422    Jasmine     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4423    Earlene     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4424    Freddie     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4425    Minnie      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4426    Debra       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4427    Danielle    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4428    Geneda      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4429    Farrah      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4430    Stephanie   E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4431    Erica       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4432    Camilla     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4433    Emmylou     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4434    Alishia     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4435    Sharon      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4436    Courtney    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4437    Leanna      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4438    Mikayla     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4439    Kelsey      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4440    Ronisha     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4441    Natasha     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4442    Nickcole    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4443    Michelle    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4444    Donita      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4445    Elham       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4446    Crystal     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4447    Jasmine     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4448    Juan        E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4449    Jessie      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4450    Jessica     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4451    Modjodji    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4452    Marlisa     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4453    Megan       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4454    Whitney     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4455    Monica      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4456    Violeta     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4457    Nora        E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4458    JaeLen      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4459    Laukau      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4460    Amy         E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1087 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   4461    Melissa     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4462    Lilli       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4463    Danna       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4464    Cassandra E.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4465    Angela      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4466    Mishundalin E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4467    Regina      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4468    Anna        E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4469    Joan        E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4470    Leonandra E.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4471    Sandra      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4472    Felicia     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4473    Maisha      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4474    Latoya      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4475    Kiara       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4476    Chiquita    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4477    Julia       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4478    LaToyia     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4479    Lashandra E.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4480    Reba        E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4481    Jaquoline   E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4482    Aleanda     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4483    Keva        E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4484    Jennifer    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4485    Michelle    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4486    Shontia     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4487    Grace       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4488    Sue         E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4489    Brenda      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4490    Leola       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4491    Monique     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4492    Ebony       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4493    Shenise     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4494    Shavonica E.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4495    Danetta     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4496    Willia      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4497    Shandrea E.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4498    Carisa      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4499    Sharon      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4500    Lashaunda E.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4501    Tangi       E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4502    Demica      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4503    Lakisha     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4504    Tiffany     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4505    Marvina     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4506    Travae      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1088 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 99 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   4507    Jennifer    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4508    Tanyra      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4509    Chrishonna E.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4510    Breonna     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4511    Nakeshia    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4512    Angela      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4513    Deneen      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4514    Peketra     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4515    LaShon      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4516    Khadijah    E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4517    Vanessa     E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4518    Ogechi      E.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4519    Longina     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4520    Marcy       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4521    Carol       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4522    Mollie      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4523    Tomiko      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4524    Bernice     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4525    Sabrina     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4526    Ruby        F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4527    Linda       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4528    Betty       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4529    Trista      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4530    Latrina     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4531    Latosha     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4532    Jomana      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4533    Kim         F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4534    Doris       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4535    Shamara     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4536    Petal       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4537    Belinda     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4538    Shyleria    F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4539    Deondra     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4540    Keondra     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4541    Constanze F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4542    Tyeisha     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4543    JohnQuisha F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4544    Anne        F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4545    Theresa     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4546    Tonya       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4547    Genevieve F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4548    Carenda     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4549    Debra       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4550    Candida     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4551                F.
           Emily Augustine                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4552    Mary        F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1089 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 100 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   4553    Ukena      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4554    Candyes    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4555    Darlene    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4556    Quiana     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4557    Tonya      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4558    Shacaraya F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4559    Cynthia    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4560    Symone     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4561    Chevon     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4562    Lashawn    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4563    Andrea     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4564    Erica      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4565    Brandaejah F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4566    Latanya    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4567    Margaret   F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4568    Penny      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4569    Ruby       F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4570    Gabrielle  F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4571    Rosalind   F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4572    Tanicka    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4573    Shatanna   F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4574    Anne       F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4575    Kathy      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4576    Ernestine  F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4577    Linda      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4578    Jenie      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4579    Dominique F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4580    Shanita    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4581    Sylenthia  F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4582    Elizabeth  F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4583    Sousselle F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4584    Sharon     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4585    Nashanda F.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4586    Paige      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4587    Jenai      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4588    Kristine   F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4589    Mariza     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4590    Maxine     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4591    Collen     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4592    Yasmine    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4593    Maria      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4594    Donya      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4595    Lady       F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4596    Quantas    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4597    Chenelene F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4598    Deidre     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1090 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   4599    Melinda     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4600    Ebony       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4601    Santaneika F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4602    Pamela      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4603    Domonika F.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4604    Janet       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4605    Avesha      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4606    Erica       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4607    Carlton     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4608    Shannon     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4609    Teearra     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4610    Sheila      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4611    Alexandria F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4612    Nary        F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4613    Bianca      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4614    Rhonda      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4615    Rhonda      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4616    Nina        F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4617    Chantel     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4618    Breanna     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4619    Victoria    F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4620    DealtoneishaF.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4621    Quanshay F.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4622    Mary        F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4623    Tiffany     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4624    Shevon      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4625    Shaina      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4626    Dorothy L F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4627    Denise      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4628    Dominique F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4629    Alisa       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4630    Joanne      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4631    Felicia     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4632    Jaharasann F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4633    Maria       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4634    Robin       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4635    Lakesha     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4636    Elena       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4637    Jennifer    F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4638    Mawusi      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4639    Hmasu       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4640    Micky       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4641    Louise      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4642    Lahoma      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4643    Georgianna F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4644    Jamecia     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1091 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   4645    Quontina    F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4646    Arlene      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4647    Kristen     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4648    Shirley     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4649    LaConnia    F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4650    Shavonda    F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4651    Olivia      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4652    Kenisha     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4653    Arika       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4654    Sherry      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4655    Teralasha   F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4656    Keishonda   F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4657    Amber       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4658    Shaquala    F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4659    Stephanie   F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4660    India       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4661    Taliah      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4662    Catina      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4663    Deborah     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4664    Karissa     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4665    Santos      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4666    Ebony       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4667    Kimberly    F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4668    Jeanette    F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4669    Cassandra   F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4670    Dorene      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4671    Cinthia     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4672    Sheniqua    F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4673    Andrea      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4674    Leilani     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4675    Stephanie   F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4676    Louise      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4677    Karifa      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4678    Akilah      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4679    Donna       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4680    Keisha      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4681    Alvina      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4682    Davonejha   F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4683    Maikai      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4684    Lashondra   F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4685    Olimpia     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4686    Tonia       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4687    Leenna      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4688    Celia       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4689    Michelle    F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4690    Desini      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1092 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   4691    Roynieka    F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4692    Tahswana F.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4693    Lexus       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4694    Natalie     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4695    Patricia    F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4696    Dolores     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4697    Rhonda      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4698    Crystal     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4699    Deborah     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4700    Aquila      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4701    Carol       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4702    Tyronica    F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4703    Diane       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4704    Stephanie F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4705    Caroline AnnF.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4706    Leatha      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4707    Krysal      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4708    Shady       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4709    LaRiniesha F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4710    Nancy       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4711    Lynette     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4712    Shanay      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4713    Jacinda     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4714    Gail        F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4715    Alicia      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4716    Keiana      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4717    Tatiana     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4718    Garinesha F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4719    Bobbie      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4720    Laura       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4721    Crystal     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4722    Teaniscer F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4723    Deborah     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4724    Sheena      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4725    Zeneshea F.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4726    Priscilla   F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4727    Tiffany     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4728    Angela      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4729    Valerie     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4730    Angela      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4731    Tomarie     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4732    Courtney    F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4733    Felicia     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4734    Abigail     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4735    Tenesia     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4736    Eyana       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1093 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   4737    Leindy    F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4738    Teresa    F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4739    Jennell   F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4740    Amanda    F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4741    Kyamoni   F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4742    Vanette   F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4743    Doneca    F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4744    Pim       F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4745    Kenyatte  F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4746    Katrina   F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4747    Patrice   F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4748    Martisa   F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4749    Janay     F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4750    Katrina   F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4751    Andrea    F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4752    Sade      F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4753    Nakoma    F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4754    Ciera     F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4755    Chris     F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4756    Julian    F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4757    Mandisa   F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4758    Whitnee   F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4759    Tierra L  F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4760    Yolanda   F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4761    Sharine   F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4762    Michelle  F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4763    Nadine    F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4764    Jose      F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4765    Areli     F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4766    Joy       F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4767    Osmara    F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4768    Alicia    F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4769    Thihiesha F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4770    Korie     F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4771    Coquise   F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4772    Martha    F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4773    Brandy    F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4774    Yvonne    F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4775    Sondra    F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4776    Jowharah F.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4777    Tiffany   F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4778    Kennethia F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4779    Domonique F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4780    Kalia     F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4781    Hyacinth  F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4782    Lolita    F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1094 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   4783    Tammie       F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4784    Patricia     F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4785    Carla        F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4786    Veronica     F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4787    Kristina     F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4788    Hester       F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4789    Monique      F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4790    Helen        F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4791    Catherine    F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4792    Natasha      F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4793    Irene        F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4794    Terrakeyla   F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4795    Patricia     F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4796    Lillie       F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4797    Jalissa      F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4798    Linda        F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4799    Dianne       F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4800    Shamonie     F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4801    Gabrielle    F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4802    Judy         F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4803    Eve          F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4804    Cianna       F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4805    Tammy        F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4806    Melinda      F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4807    Natasha      F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4808    Angela       F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4809    Stephanie    F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4810    Margaret     F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4811    Akeen        F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4812    Tiffany      F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4813    Kaiesha      F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4814    Cindy        F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4815    Crystal      F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4816    Patricia     F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4817    Nicole       F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4818    Erica        F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4819    Lajolla      F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4820    Kendriyal    F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4821    Undeener     F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4822    Joan         F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4823    Janesha      F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4824    Ashleigh     F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4825    Bernal       F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4826    Monique      F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4827    Tina         F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4828    Myisha       F.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1095 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   4829    Tiasia     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4830    Veronica   F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4831    Latoynia   F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4832    Antoinette F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4833    Tonmika    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4834    Charmaine F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4835    Latara     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4836    Raquel     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4837    Renita     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4838    Jhazie     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4839    Jacurie    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4840    Leslie     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4841    Shavondria F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4842    Evony      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4843    Hayviya    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4844    Fenella    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4845    Shawnda    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4846    Shanelle   F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4847    Sharon     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4848    Shale      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4849    Anna       F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4850    Glory      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4851    Trenisha   F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4852    Wanda      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4853    Angel      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4854    Danielle   F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4855    Janice     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4856    Tekita     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4857    Dionne     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4858    Cheron     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4859    Nadia      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4860    Margaret   F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4861    Evette     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4862    Dana       F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4863    Wendy      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4864    Amber      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4865    Melissa    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4866    Doshia     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4867    Athena     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4868    LeCrecia   F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4869    Ebony      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4870    Natalie    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4871    Jennifer   F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4872    Angela     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4873    Iesha      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4874    Sherneatha F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1096 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   4875    Frederica  F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4876    Towanda    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4877    Shastelle  F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4878    Allison    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4879    Tequitha   F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4880    Shinnel    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4881    Nicole     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4882    Diyana     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4883    Kenyata    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4884    Nyra       F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4885    Thenesshia F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4886    Thasmia    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4887    Holly      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4888    Kiara      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4889    Theresa    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4890    Marjorie   F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4891    Debbie     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4892    Layonda    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4893    Tamera     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4894    Ganisha    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4895    April      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4896    Tanisha    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4897    Mercedes F.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4898    Nicole     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4899    Shamikkia F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4900    Lexus      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4901    Sashell    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4902    Alice      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4903    Ivyanne    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4904    Pegeen     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4905    San        F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4906    Rhonda     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4907    Bernice    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4908    Yorba L    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4909    Bridget    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4910    Lisa       F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4911    Monty      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4912    Laurie     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4913    Shirley    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4914    Stephanie F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4915    Laura      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4916    Rebecca    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4917    Ashley     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4918    Kenya      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4919    Dyona      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4920    Neashia    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1097 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   4921    April      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4922    Sondra     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4923    Brendalee F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4924    Susan M    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4925    Tanesha    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4926    Brittany   F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4927    Leah       F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4928    Starlysha  F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4929    Tameka     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4930    Gloria     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4931    April      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4932    Nychelle   F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4933    Brenda     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4934    Renetta    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4935    Laquesha F.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4936    April      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4937    Ocean      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4938    Domonique F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4939    Fransha    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4940    Sade       F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4941    Alexis J.  F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4942    Ella       F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4943    Aurora     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4944    Dominque F.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4945    Barbara    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4946    Hollis     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4947    Kristen    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4948    Brittany   F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4949    Gwendolyn F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4950    Sharon     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4951    Alesha     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4952    Rhoda      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4953    Akia       F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4954    Dietra     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4955    Janae      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4956    Tabitha    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4957    Dijon      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4958    Teneshia   F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4959    Helen      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4960    Shaquanda F.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4961    Patricia   F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4962    Mary       F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4963    Brozenlynn F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4964    Julie      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4965    Tahirih    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4966    Andrea     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1098 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 109 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   4967    Dajenae     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4968    Jevon       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4969    Kathalyn    F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4970    Lashawn     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4971    Angela      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4972    Lena F      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4973    Deborah     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4974    Tumeca      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4975    Laurie      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4976    Jennifer    F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4977    Latoya      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4978    Cierra      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4979    Lawanda     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4980    Shaunna     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4981    Shunta      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4982    Brandy      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4983    Princess    F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4984    Lisa        F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4985    Shamika     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4986    Vicki       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4987    Cindy       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4988    Ebony       F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4989    Dominique   F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4990    Tammaka     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4991    Danisha     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4992    Twanda      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4993    Sandra      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4994    Voncile     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4995    Yolanda     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4996    Rachelle    F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4997    Shareba     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4998    Shunisha    F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   4999    Porsche     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5000    Regina      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5001    Kimberly    F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5002    Clauzelle   F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5003    Charmaine   F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5004    Merlyn      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5005    Tierra      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5006    Jeannene    F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5007    LeShika     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5008    Joy         F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5009    Sherrie     F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5010    Ann         F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5011    Tiesha      F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5012    Toni        F.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1099 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
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Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 110 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   5013    Tongela       F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5014    Evany         F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5015    Breanna       F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5016    Patrice       F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5017    Lashelle      F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5018    Latonya       F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5019    Debbie        F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5020    Devon         F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5021    Kristyon      F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5022    Brittany N.   F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5023    Tasia         F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5024    Kyana         F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5025    Latonia       F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5026    Kimberly      F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5027    Jessica       F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5028    Darrilyn      F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5029    Janella       F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5030    Cynthia       F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5031    Anita         F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5032    Victoria      F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5033    Shawanna      F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5034    Bridgette     F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5035    Tia           F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5036    Kristie       F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5037    Kristin       F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5038    Jodi          F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5039    Deborah       F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5040    Gwanda        F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5041    Brittany      F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5042    Tracy         F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5043    Bonnie        F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5044    Brenda        F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5045    Kathy         F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5046    Rayana        F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5047    Neiva         F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5048    Faafetai      F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5049    Delma         F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5050    Karen         F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5051    Latanya       F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5052    Felicia       F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5053    Dorothy       F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5054    Anita         F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5055    Tia           F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5056    Vanessa       F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5057    Cassie        F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5058    Tierra        F.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1100 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 111 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   5059    Tia        F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5060    Lanesha    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5061    Lasandrana F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5062    Bessilita  F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5063    AntwaneshiaF.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5064    Brittany   F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5065    Barbara    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5066    Wanda      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5067    Valrie     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5068    Christina  F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5069    Shontal    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5070    Starla     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5071    Norma      F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5072    Chantel    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5073    Vernita    F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5074    Tamara     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5075    Connie     F.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5076    Tamara     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5077    Diandra    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5078    Helen      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5079    Nicole     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5080    Whyeshia G.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5081    Lethia     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5082    Dasheka    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5083    Thelma     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5084    Breonia    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5085    Denise     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5086    Stephanie G.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5087    Sandra     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5088    Patricia   G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5089    Natasha    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5090    Danielle   G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5091    Gwendolyn G.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5092    Andrea     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5093    Barbara    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5094    Kenya      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5095    Givonia    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5096    Dwana      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5097    Avis       G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5098    Waynette   G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5099    Theresa    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5100    Danielle   G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5101    Jasmine    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5102    Monika     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5103    Phyllis    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5104    Devona     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1101 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 112 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   5105    Juanita      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5106    Carla        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5107    Shajuanica   G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5108    Janet        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5109    Gina         G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5110    Shanette     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5111    Rowenia      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5112    Sherida      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5113    Danielle     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5114    Rosemary     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5115    Jonita       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5116    Tiasha       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5117    Alexandra    G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5118    Susie        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5119    Victoria     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5120    Jennifer     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5121    Lashaunah    G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5122    Melanie      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5123    Latasha      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5124    Latrice      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5125    Roben        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5126    Sarah        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5127    Robyn        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5128    Jeneil       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5129    Latoya       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5130    Monica       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5131    Tynequa      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5132    Arisna       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5133    Diana        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5134    Jessica      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5135    Haide        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5136    Arai         G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5137    Gloria       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5138    Milagro      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5139    Michelle     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5140    Dina         G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5141    Guadalupe    G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5142    Amanda       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5143    Beatrice     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5144    Gabriela     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5145    Marilyn      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5146    Sylvia       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5147    Sandra       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5148    Wanda        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5149    Mary Jane    G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5150    Sandra       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1102 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   5151    Venessa     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5152    Andrea      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5153    Dulce       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5154    Erica       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5155    Natasha     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5156    Leora       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5157    Rachelle    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5158    Maria       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5159    Tania       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5160    Amber       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5161    Dennie      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5162    Patricia    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5163    Nyesha      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5164    Karun       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5165    Renee       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5166    Ashley      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5167    Sharee      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5168    Caroline    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5169    Kenna       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5170    Jenay       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5171    Vanessa     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5172    Cynthia     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5173    Theresa     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5174    Kennita J   G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5175    Dayana      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5176    Pares       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5177    Amanda      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5178    Ashley      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5179    Tawanna     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5180    Tara        G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5181    Diamond     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5182    Angel       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5183    Arnetta     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5184    Chasma      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5185    Enisha      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5186    Nadine      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5187    Esther      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5188    Vada        G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5189    Shante      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5190    Shavina     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5191    Grace       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5192    Vernette    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5193    Bridget     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5194    Marcia      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5195    Sherika     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5196    Atoya       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1103 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 114 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   5197    Vivian      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5198    Annaretta   G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5199    Helen       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5200    Mesha       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5201    Crystal     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5202    Lucretia    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5203    Ashley      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5204    Lashonda    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5205    Kindra      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5206    Evadne      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5207    Yvonne      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5208    Rochelle    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5209    Brenda      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5210    Traci       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5211    Lavonne     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5212    Antoinae    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5213    Donna       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5214    Joeana      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5215    Tamika      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5216    Mary        G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5217    Rachel      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5218    Shanay      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5219    Marlanea    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5220    Stephanie   G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5221    Shavonne    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5222    Delicia     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5223    Setara      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5224    Fran        G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5225    Bonnie      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5226    Gail        G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5227    Dominique   G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5228    Richele     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5229    Shemesha    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5230    Tiffany     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5231    Rayna       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5232    Vilinda     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5233    Sherece     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5234    Jennifer    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5235    Laquanda    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5236    Yvette      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5237    Trilla      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5238    Katie       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5239    Carole      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5240    Monique     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5241    Katrina     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5242    Alexandra   G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1104 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 115 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   5243    Michelle    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5244    Michelle    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5245    Shertara    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5246    Heather R   G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5247    Carmelita   G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5248    Regina      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5249    Tracey      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5250    Meagan      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5251    Tanya       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5252    Nakia       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5253    Mary        G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5254    Charlene    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5255    Claudine    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5256    Yodit       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5257    Rita        G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5258    Latanya     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5259    Deborah     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5260    Ashley      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5261    Lawanda     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5262    Eve         G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5263    Courtney    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5264    Monica      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5265    Janice      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5266    Sherry      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5267    Japoria     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5268    Elizabeth   G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5269    Shirley     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5270    Diane       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5271    Kimberly    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5272    Candice     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5273    Yolanda     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5274    Margaret    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5275    Tontranic   G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5276    Melba       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5277    Molene      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5278    Shiante     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5279    Deureka     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5280    Barbara     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5281    Burnell     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5282    Shalona     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5283    Felicia     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5284    Nadirah     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5285    Danielle    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5286    Ann         G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5287    Misty       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5288    Sonya       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1105 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 116 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   5289    Mildred      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5290    Samantha     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5291    Katiana      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5292    Carrie       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5293    Gina         G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5294    Martha       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5295    Tyra         G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5296    Ronisha      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5297    Margaret     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5298    Sesen        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5299    Shakeria     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5300    Shanae       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5301    Lawanda      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5302    Connie       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5303    Latasha      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5304    Lakisha      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5305    Lasharee     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5306    Ashawa       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5307    Joshjarie    G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5308    Robin        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5309    Unique       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5310    Keisha       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5311    Tawanda      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5312    Jacqueline   G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5313    Caylin       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5314    Vicki        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5315    Cheyenne     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5316    Annie        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5317    Shavon       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5318    Allene       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5319    Betty        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5320    Natasha      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5321    Toya         G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5322    Tamika       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5323    Effie        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5324    Janis        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5325    Sabrina      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5326    Teresa       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5327    Mattie       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5328    Mary         G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5329    Terrie       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5330    Natara       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5331    Daina        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5332    Shalieah     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5333    Carolyn      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5334    Erica        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1106 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 117 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   5335    Natalie    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5336    Shalonda   G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5337    Kay        G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5338    Deshirea   G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5339    Kiara D    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5340    Cabrina    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5341    Sheryl     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5342    Skylar     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5343    Martha     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5344    Elise      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5345    Kimberly   G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5346    Lashanda G.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5347    Mary       G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5348    Renee      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5349    Brenda     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5350    Diana      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5351    Tanisha    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5352    Tiffany    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5353    Jovan      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5354    Sheryll    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5355    Renee      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5356    Carrie     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5357    Jessica    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5358    Gwendolyn G.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5359    Ericka     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5360    Antwanesse G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5361    Cierra     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5362    Misty      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5363    Lori       G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5364    Trina      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5365    Tracee     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5366    Jazzlynn   G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5367    Christina  G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5368    Lucinda    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5369    Deborah    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5370    Twyla      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5371    Toshieeda G.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5372    Shari      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5373    Laura      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5374    Shantae    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5375    Ruby       G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5376    Nichole    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5377    Sherry     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5378    Celeair    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5379    Theresa    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5380    Felica     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1107 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   5381    Ashley     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5382    L’Sean     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5383    Crystal    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5384    Dorothy    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5385    Latrice    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5386    Antionette G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5387    Shunteal   G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5388    Latrice    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5389    Alexis     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5390    Aysia      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5391    Sharee     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5392    April      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5393    Shawntinae G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5394    Adora      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5395    Trina      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5396    Charde     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5397    Ronnicher G.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5398    Kimyatta   G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5399    Sharon     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5400    Delores    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5401    Brandi     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5402    Sharon     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5403    Sherry     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5404    Jasmine    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5405    Ebony      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5406    Carla      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5407    Lacandies G.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5408    Frances    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5409    Sonja      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5410    Loualma    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5411    Yolanda    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5412    Theresa    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5413    Stacey     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5414    Tiarra     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5415    Autumn     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5416    Letitia    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5417    Elizabeth  G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5418    Katina     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5419    Samantha G.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5420    Sylvia     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5421    Tamisha    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5422    JoAnn      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5423    Cerlestine G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5424    Rubie      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5425    Joanne     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5426    Renell     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1108 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
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Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 119 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   5427    Janel      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5428    Tauni      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5429    Tiona      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5430    Ashley     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5431    Yovonie    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5432    Brittany   G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5433    April      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5434    Johnnie MaeG.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5435    Tara       G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5436    Tosha      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5437    Nicole     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5438    Donisha    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5439    Tiffany    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5440    Dymond     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5441    Jasmine    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5442    Deborah    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5443    Corinne    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5444    Billie     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5445    Pamela     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5446    Cormellia  G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5447    Rashanae G.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5448    Kathy      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5449    Hattie     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5450    Catherine G.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5451    Geraldine G.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5452    Otestein   G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5453    Jennifer   G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5454    April      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5455    Sharonda G.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5456    Esther     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5457    Natalie    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5458    Judith     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5459    Sheller    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5460    Lorrie     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5461    Trinette   G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5462    Virgina    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5463    Mirna      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5464    Pamela     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5465    Tatanashia G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5466    Madlyn     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5467    Shikirra   G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5468    Jazmin     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5469    Nordica    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5470    Paula      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5471    Darcel     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5472    Asia       G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1109 of 1377
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Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 120 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   5473    Francine      G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5474    Diana         G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5475    Gloria        G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5476    Mayra         G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5477    Crystal       G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5478    Sandra        G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5479    Brandy        G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5480    Lavette       G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5481    Felicia       G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5482    Jennifer      G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5483    Felicia       G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5484    Hilda         G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5485    Angela        G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5486    Dora Martha G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5487    Rosalie       G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5488    Tammy         G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5489    Aimii         G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5490    Shauna        G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5491    Stacey        G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5492    Esther LillianG.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5493    Amanda        G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5494    Silvette      G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5495    Anntonietta G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5496    Tonya         G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5497    Judy          G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5498    Cassandra G.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5499    Argentina     G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5500    Erika         G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5501    Pebra         G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5502    Jessica       G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5503    Tiffany       G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5504    Maria         G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5505    Francis       G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5506    Leah          G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5507    Alyssa        G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5508    Amy           G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5509    Marlisa       G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5510    Zanita S      G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5511    Tangela       G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5512    Chara         G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5513    Tiffany       G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5514    Werinterist G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5515    Olivia        G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5516    Tina          G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5517    Rose          G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5518    Shanita       G.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1110 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 121 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   5519    Mary         G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5520    Genny        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5521    Erin         G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5522    Mameka       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5523    Katrevia     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5524    Nahema       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5525    Tammy        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5526    Debbie       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5527    Jacqueline   G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5528    Crystal      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5529    Tamika       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5530    Jessica      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5531    Natisha      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5532    Therese      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5533    Alexis       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5534    Trenice      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5535    Arieona      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5536    Lenor        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5537    Phyllis      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5538    Aigner       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5539    Sylvia       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5540    Cheryl       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5541    Rasheta      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5542    Chelia       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5543    Ronda        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5544    Leslie       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5545    Nicole       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5546    Yolanda      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5547    Tonya        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5548    Menika       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5549    Cherita      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5550    Ruby         G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5551    Dawny        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5552    Johnishia    G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5553    Tangie       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5554    Linda        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5555    Jasmine      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5556    Sheliah      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5557    Janet        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5558    Elizabeth    G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5559    Vicki        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5560    Sekia        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5561    Sharri       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5562    Tiffany      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5563    Sheneka      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5564    Betida       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1111 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 122 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   5565    Sherri     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5566    Michelle   G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5567    Cindylee   G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5568    Ashley     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5569    Starnisha  G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5570    Susan      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5571    Sherry     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5572    Tiffany    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5573    Kelli      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5574    Renea      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5575    Tysha      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5576    Cheri      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5577    Charlmesha G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5578    Gina       G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5579    Natasha    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5580    Kendra     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5581    Estella    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5582    Christina  G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5583    Eboni      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5584    Niesha     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5585    Tia        G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5586    Monique    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5587    Rhonda     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5588    Elizabeth  G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5589    Erica      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5590    Candice    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5591    Kiesha     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5592    Karen      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5593    Tirzah     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5594    Danielle   G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5595    Ashlei     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5596    Faith      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5597    Lashanna G.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5598    La Tanya   G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5599    Kimberly   G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5600    Denise     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5601    Shayauna G.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5602    Mohogany G.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5603    Deborah    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5604    Britny     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5605    Quateria   G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5606    Glenda     G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5607    Letrina    G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5608    Tinteral   G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5609    Erin       G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5610    Betty      G.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1112 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   5611    Cynthia        G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5612    Dana           G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5613    Sharonda G.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5614    Aiisha Monique G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5615    Jessica        G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5616    Shameshia G.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5617    Lamia          G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5618    Lucreshia G.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5619    Latresha       G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5620    Kayron         G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5621    Alicia         G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5622    Megan          G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5623    Dimisha        G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5624    Denise         G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5625    Demetris       G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5626    Shawndria G.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5627    Royericka G.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5628    Eisha          G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5629    Kiara          G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5630    Chanel         G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5631    Sharon         G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5632    Tiffanie       G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5633    Daisey         G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5634    Bryntte        G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5635    Tamica         G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5636    Lynette        G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5637    Monique        G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5638    Aleshia        G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5639    Miriam         G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5640    Cynthia        G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5641    Christina      G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5642    Jayla          G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5643    Elizabeth      G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5644    Sherry         G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5645    Chinique       G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5646    Danielle       G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5647    Brittany       G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5648    Shriaya Lillie G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5649    Tiffini        G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5650    Leanorah       G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5651    Joye           G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5652    Martika        G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5653    Snoheleni G.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5654    Maria          G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5655    Anna           G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5656    Dakila         G.               [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1113 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 124 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   5657    Tonya        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5658    Nia          G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5659    Veronica     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5660    Aleshia      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5661    Gayle        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5662    Virginia     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5663    Alexandra    G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5664    Asia         G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5665    Jackie       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5666    Shontrelle   G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5667    Elisa        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5668    Felieace     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5669    Shaketha     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5670    Lateisha     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5671    Jacqueline   G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5672    Lakendra     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5673    Veronica     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5674    April        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5675    Danyell      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5676    Demetreia    G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5677    Jonaisha     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5678    Wanda        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5679    Erica        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5680    Juana        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5681    Danielle     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5682    Shelia       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5683    Sharonda     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5684    Susan        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5685    Lashanna     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5686    Anitra       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5687    Dovona       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5688    Quintena     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5689    Deane        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5690    Andriss      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5691    Tamaika      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5692    Jontae       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5693    Lashaun      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5694    Erica        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5695    Brittany     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5696    Talaya       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5697    Laura        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5698    Shawana      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5699    Jeannette    G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5700    Jessica      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5701    Ranika       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5702    Karen        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1114 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 125 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   5703    Angela       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5704    Monica       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5705    Laquavia     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5706    Tanell       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5707    Takisha      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5708    Jon A.       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5709    Shontae      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5710    Ja net       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5711    Kelia        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5712    Tyree        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5713    Latrisha     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5714    Shamika      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5715    Ashley       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5716    Miranda N.   G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5717    Cameo        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5718    Talisa       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5719    Chanel       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5720    Terrinika    G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5721    Miracle      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5722    Malissa      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5723    Martazia     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5724    Sierra       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5725    Tanya        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5726    Bresha       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5727    Regina       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5728    Chayna       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5729    LaDonna      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5730    Ashly        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5731    Denise       G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5732    Tempy        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5733    Ashanti      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5734    Meltonji     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5735    Kim          G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5736    Tiffany      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5737    Felicia      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5738    Yolanda      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5739    Zipporah     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5740    Ethelene     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5741    Tracy        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5742    Jade         G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5743    Coshelle     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5744    Keana        G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5745    Veronica     G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5746    Tiffany      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5747    Lisa         G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5748    Cynthia      G.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1115 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 126 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   5749    Qwenavon    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5750    Arika       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5751    Toniesha    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5752    Tammy       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5753    Charmaine   G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5754    Stephanie   G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5755    Patrice     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5756    Ashley      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5757    Shanae      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5758    Chaunte     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5759    Latisha     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5760    Alana       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5761    Carmen      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5762    Shenea      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5763    Shelia      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5764    Kim         G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5765    Stephanie   G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5766    Wallace     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5767    Katheleen   G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5768    Tricia      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5769    Tiqwettia   G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5770    Delilah     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5771    Talia       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5772    Helen       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5773    Charisse    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5774    Porsha      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5775    Virginia    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5776    Lanesha     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5777    Leah        G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5778    Donna       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5779    Wendy       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5780    Tawnya      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5781    Rosalind    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5782    Mary        G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5783    Erika       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5784    Jeanell     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5785    Jenetta     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5786    Shuvon      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5787    Juanita     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5788    Billie      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5789    Tanakia     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5790    Ashley      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5791    Ryan        G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5792    Olivia      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5793    Debbie      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5794    Tara        G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1116 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 127 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   5795    Tiffany     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5796    LaShon      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5797    Sandra      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5798    Gwendolyn   G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5799    Jaquala     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5800    Demi        G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5801    Cynthia     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5802    Martha      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5803    Latasha     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5804    Malika      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5805    Tammicka    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5806    Danah       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5807    Nia         G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5808    Kimbre      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5809    Tahlia      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5810    Yorel       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5811    Takeana     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5812    Janeen      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5813    Teakeana    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5814    Leslie      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5815    Felicia     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5816    Louise      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5817    Jessica     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5818    Angela      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5819    Keiosha     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5820    Liliris     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5821    Veronica    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5822    Brandy      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5823    Cynthia     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5824    Deion       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5825    Wray        G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5826    Denise      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5827    Rayshelle   G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5828    Dianne      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5829    Kristy      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5830    Amanda      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5831    Michelle    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5832    Payten      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5833    Karen       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5834    Bertha V.   G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5835    Tandolyn    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5836    Brenae      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5837    Katlyn      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5838    Lois        G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5839    Sandra      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5840    Michelle    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1117 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   5841    Jessica     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5842    Gail        G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5843    Bonnie      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5844    Desiree     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5845    Nalaia      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5846    Matilda     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5847    Victoria    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5848    Sylvia      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5849    Lanita      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5850    Ana         G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5851    Lorraine    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5852    Angela      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5853    Heaven      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5854    Sage        G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5855    Sherell     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5856    Lauren      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5857    Vianella    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5858    Imelda      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5859    Cheryl      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5860    Latosha     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5861    Binnie      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5862    Adashia     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5863    Shanee      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5864    Ieshia      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5865    Dorothy     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5866    Penny       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5867    Nyasha      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5868    Emily       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5869    Melissa     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5870    Shanaee     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5871    Lacey       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5872    Tamika      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5873    Brenda      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5874    Donna       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5875    Valerie     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5876    Kimberly    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5877    Priscilla   G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5878    Leslie      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5879    Marlene     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5880    Yvette      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5881    Ketryna     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5882    Sequoia     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5883    Emilia      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5884    Charleyisha G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5885    Tyetia      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5886    Doris       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1118 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 129 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   5887    Monica      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5888    Crystal     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5889    Mychelle    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5890    Jamiea      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5891    Keonna      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5892    Cristina    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5893    Rosa        G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5894    Jennifer    G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5895    Mandy       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5896    Crystal     G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5897    Ariana      G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5898    Kerri       G.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5899    Dianna      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5900    Chiquita    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5901    Valerie     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5902    Kwuniesha   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5903    Lori        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5904    Crystal     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5905    Kim         H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5906    Brianca     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5907    Keona       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5908    Regina      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5909    Yolanda     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5910    Sherrell    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5911    Sally       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5912    Jada        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5913    Angela      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5914    Cha’Terra   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5915    Lachelle    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5916    Milika      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5917    Karen       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5918    Genneth     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5919    Crystal     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5920    Amber       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5921    Cathleen    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5922    Jenna       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5923    Donna       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5924    Brittany    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5925    Joeann      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5926    Ashley      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5927    Hillary     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5928    Rena        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5929    Shateeka    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5930    Felicia     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5931    Ameenah     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5932    Lakeisha    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1119 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
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Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 130 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   5933    Ereny       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5934    Wendy       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5935    Jasmine     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5936    Jazmine     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5937    Kayle       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5938    Latonya     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5939    Raven       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5940    Sakina      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5941    Tahrina     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5942    Sophia      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5943    Surayya     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5944    Trenisha    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5945    Marshay     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5946    Ashle       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5947    Rose        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5948    Tamara      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5949    Diedre      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5950    Barbara     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5951    Lapores     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5952    Terry       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5953    Temika      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5954    Whitney     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5955    Constantina H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5956    Rickeydria H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5957    Darlene     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5958    LaShon      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5959    Eboney      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5960    Markeita    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5961    Roneisha    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5962    Lynea       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5963    Michelle    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5964    Morgana     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5965    Aaronesha H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5966    Lachelle    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5967    Ashton      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5968    Briana      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5969    Bridgette   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5970    Laura       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5971    Nikita      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5972    Chekeena H.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5973    Whitney     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5974    Genessia    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5975    Siera       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5976    Yolanda     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5977    Virginia    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5978    Jackie      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1120 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   5979    Huberta      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5980    Gerrilyn     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5981    Willimena    H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5982    Deidra       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5983    Wanda        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5984    Kimberly     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5985    Keundra      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5986    Brandy       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5987    Stephenie    H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5988    Arisha       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5989    Arleshia     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5990    Shakia       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5991    Loreal       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5992    Shavon       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5993    Anne         H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5994    Latrice      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5995    Lyshanette   H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5996    Keona        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5997    Shatoria     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5998    Tiffini      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   5999    Areiona      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6000    Tameka       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6001    Crystal      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6002    Judith       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6003    Chanette     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6004    Quedwina     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6005    Detri        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6006    Tina         H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6007    Takeisha     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6008    Denise       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6009    Keyosha      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6010    Cara         H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6011    Angela       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6012    Lakesia      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6013    Sandra       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6014    Terri        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6015    Loretta      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6016    Nicole       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6017    Colette      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6018    Devan        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6019    Jessica      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6020    Brandy       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6021    Antonia      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6022    Ciara        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6023    Bobbie       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6024    Jeriesha     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1121 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   6025    Zorana      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6026    Sherrion    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6027    Joanne      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6028    Nikari      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6029    Pamela      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6030    Crystal     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6031    Danielle    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6032    Jonell      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6033    Charletha   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6034    Lakisha     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6035    Anna        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6036    Kenyanna    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6037    Cheryl      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6038    Lillian     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6039    Sinnamen    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6040    Mary        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6041    Annette     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6042    Nicole      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6043    Candace     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6044    Latasha     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6045    Rosalinda   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6046    Elisha      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6047    Suzanne     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6048    Tynisa      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6049    Tonia       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6050    Lasaiah     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6051    Kimberly    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6052    Charlese    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6053    Jazzmine    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6054    Mownesia    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6055    Tameka      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6056    Taylor      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6057    Netasha     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6058    Natoya      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6059    Annetta     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6060    Taylor      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6061    Cresha      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6062    Joyce       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6063    Landryia    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6064    Paris       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6065    Lori        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6066    Ladeesha    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6067    Donnika     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6068    Millie      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6069    Unice       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6070    Sharonda    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1122 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 133 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   6071    Cecelia     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6072    Brandy      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6073    Terancia    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6074    Brieanna    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6075    Triva       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6076    Tywanda     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6077    Nancy       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6078    Kimberly    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6079    Leshea      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6080    Sylvia      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6081    Lavetta     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6082    Khaliah     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6083    Edwin       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6084    Sekarra     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6085    Erica       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6086    Melissa     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6087    Carol       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6088    Tallise     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6089    Montoya     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6090    Roynika     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6091    Shamekia    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6092    Jazmin      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6093    Shavasha    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6094    Jamie       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6095    Mary        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6096    Jessica     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6097    Jo-Ann      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6098    Patricia    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6099    Sharon      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6100    Tanjai      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6101    Judith      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6102    Edith       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6103    Dazera      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6104    Nayneshia   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6105    Yolanda     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6106    Lyntonia    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6107    Selena      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6108    Mary        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6109    Quinn       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6110    Stephanie   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6111    Jasmin      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6112    Lisa        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6113    Deandra     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6114    Amanda      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6115    Veronica    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6116    Edith       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1123 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 134 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   6117    Lashanna     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6118    Alexandria   H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6119    Pamela       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6120    Charysse     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6121    Tisha        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6122    Rashanda     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6123    Kristan      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6124    Sherrie      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6125    Latierra     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6126    Jeany        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6127    Cassie       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6128    Nakia        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6129    Michelle     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6130    Pauline      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6131    Bridgitte    H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6132    Elizabeth    H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6133    Nicole       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6134    Tamara       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6135    Allante      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6136    Dawnyai      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6137    Falana       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6138    Tawana       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6139    Jasmine      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6140    Cheryl       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6141    Mary         H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6142    Brittany     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6143    Alicia       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6144    Rosalind     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6145    Tamara       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6146    Tinise       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6147    Helene       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6148    Laura        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6149    Felis        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6150    Gasada       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6151    Deborah      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6152    Ebony        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6153    Shameia      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6154    Yasmine      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6155    Sandra       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6156    Lasheena     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6157    Debora       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6158    Megan        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6159    Takeya       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6160    Sharice      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6161    Shundrika    H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6162    Shana        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1124 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   6163    Shaveter    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6164    Liesel      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6165    Adahsha     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6166    Alajah      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6167    Consuela    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6168    Peggy       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6169    Adell       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6170    Nicole      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6171    Zerahiah    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6172    Richetta    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6173    Katherine   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6174    Janquana H.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6175    LatanganiqkaH.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6176    Jasmine     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6177    Tammy       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6178    Luevern     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6179    Ella        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6180    Bridgette   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6181    Sharice     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6182    Patricia    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6183    Tammi       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6184    Natasha     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6185    Rukuya      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6186    Dana        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6187    Barbara     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6188    Jerriann    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6189    Reneta      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6190    Quimara     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6191    Arnetia     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6192    Latocha     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6193    Shelley     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6194    Antonya     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6195    Charnetta H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6196    Tiffany     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6197    Quayonna H.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6198    Kanisha     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6199    Clara       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6200    Gwendolyn H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6201    Queenester H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6202    Bianca      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6203    Lavonda     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6204    Sonja       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6205    Chimira     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6206    Delores     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6207    Daphanie    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6208    Domonique H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1125 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   6209    Tinita      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6210    Ashley      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6211    Rose        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6212    Lottie      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6213    Mabel       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6214    Christon    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6215    Tamerra     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6216    Dominique H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6217    Amanda      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6218    Evelyn      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6219    Mahogany H.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6220    Raven       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6221    Atalya      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6222    Ellazora    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6223    Judith      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6224    Brittany    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6225    Lejanee     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6226    Tiffany     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6227    Theresa     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6228    Lora        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6229    Michelle    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6230    Cynthia     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6231    Stefanie    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6232    Ashlee      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6233    Lakisia     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6234    Nora        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6235    Sabrina     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6236    Tammy       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6237    Tunisha     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6238    Melissa     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6239    Jessica     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6240    Violet      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6241    Angela      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6242    Pamela Kay H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6243    Careolyen H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6244    Janice      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6245    Angela      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6246    Dellaina L. H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6247    Lakita      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6248    Dichelle    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6249    Toria       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6250                H.
           Stephanie Nicole                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6251    Latroyia    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6252    Sherrie     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6253    Saleesha    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6254    Holly       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1126 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   6255    Shari       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6256    Charnise    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6257    Ashanta     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6258    Janae       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6259    Monique     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6260    Andrea      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6261    Charmaine H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6262    Tyera       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6263    Lashe       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6264                H.
           Jherica Lavonne                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6265    Sophia      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6266    Iesha       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6267    Delpri      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6268    Tayloir     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6269    Michelle    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6270    Jaryn       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6271    Katrina     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6272    Santesha    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6273    Montenekia H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6274    Channel     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6275    Nina        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6276    Latosha     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6277    Jermonia    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6278    Victoria    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6279    Linda       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6280    Tawana      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6281    Sheila      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6282    Jasmine     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6283    Ireyon      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6284    Antoinette H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6285    Kierra      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6286    Unique      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6287    Helon       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6288    Camisha     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6289    Traci L.    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6290    Tera        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6291    Tachara     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6292    Monique     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6293    Karimah     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6294    Charlene    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6295    Darla       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6296    Rashanda H.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6297    Tabatha     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6298    Carolyn     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6299    Laquana     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6300    Tiffanie    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1127 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   6301    Maya        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6302    Yasmine     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6303    Chivonne    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6304    Shonta      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6305    Kaye        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6306    Queen       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6307    Raynisha    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6308    Carlie      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6309    Tranisha    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6310    Amaryllis   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6311    Kimberly    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6312    Shana       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6313    Michelle    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6314    Lisa J.     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6315    Bessie      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6316    Linda       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6317    Brandy      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6318    Marquitta   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6319    Darrylicia  H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6320    Deborah     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6321    Tiffany     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6322    Breanna     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6323    Christina   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6324    Candice     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6325    Katherine   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6326    Christina   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6327    Melanie     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6328    Janeetra    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6329    Amy         H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6330    Shiacondra J.H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6331    Ceona       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6332    Callie      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6333    Breonnia    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6334    Turunika    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6335    Domique     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6336    Bianca      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6337    Akilah      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6338    Staci       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6339    Patrice     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6340    Raquel      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6341    Shannel     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6342    Abui        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6343    Marshneil H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6344    Cali        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6345    Auyauna     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6346    Laconia     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1128 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 139 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   6347    Marva       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6348    Nakia       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6349    Darla       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6350    Monica      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6351    Nicole      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6352    Monica      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6353    Christine   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6354    Jaqwesha    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6355    Jennifer    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6356    Laura       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6357    Ebony       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6358    Crystal     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6359    Demitress   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6360    Natasha     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6361    Yalonda     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6362    Taylor      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6363    Anissia     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6364    Quishawn    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6365    Megan       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6366    Shalondra   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6367    Vess        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6368    Shontal     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6369    Veronica    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6370    Lashonda    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6371    Cynthia     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6372    Karen       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6373    Erika       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6374    Dominique   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6375    Davia       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6376    Janice      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6377    Ariel       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6378    Markeita    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6379    Samantha    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6380    Patricia    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6381    Shequita    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6382    Peggy       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6383    Tierra      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6384    Glenda      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6385    Katurah     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6386    Dana        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6387    Roz         H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6388    Genise      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6389    Dora        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6390    Sarah       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6391    Patricia    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6392    Diane       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1129 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 140 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   6393    Cathy       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6394    Nyreisha    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6395    Jermeka     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6396    Fredreka    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6397    Porche      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6398    Nicole      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6399    Tammy       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6400    Sandra      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6401    Raynelle    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6402    Kadjah      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6403    Elizabeth   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6404    Dorothy     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6405    Katherine   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6406    Samantha    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6407    Marea       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6408    Lakeisha    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6409    Vosheaa     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6410    Soccria C   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6411    Robin       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6412    Shante      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6413    Dionne      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6414    Ketoria     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6415    Doneisha    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6416    Anna        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6417    Gail        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6418    Patty       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6419    Robin       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6420    Sandra      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6421    Sharesha    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6422    Maria       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6423    Virginia    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6424    Victoria    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6425    Rebecca     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6426    Ethel       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6427    Ellen       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6428    Bernice     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6429    Amber       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6430    Amisha      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6431    Patricia    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6432    Kendra      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6433    Kimberly    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6434    Shelly      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6435    Ashley      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6436    Betty       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6437    Kimberly    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6438    Roshay      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1130 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   6439    Leslie     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6440    Leonda     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6441    Janie      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6442    Natalia    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6443    Tina       H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6444    Simone     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6445    Violet     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6446    Donna      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6447    Dmargaret H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6448    Mary       H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6449    Jennifer   H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6450    Keenya     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6451    Jessica    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6452    Kimberly   H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6453    Charlene   H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6454    Shaquan    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6455    Natasha    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6456    Victoria   H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6457    Georgia    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6458    Jennifer   H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6459    Cheryl     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6460    Lorene     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6461    Amanda     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6462    Shakema    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6463    Jolene     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6464    Pamela     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6465    Chandra    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6466    Tasheka    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6467    Keisheauna H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6468    Melissa    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6469    Christine  H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6470    Shamekia H.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6471    Brandy     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6472    Rosalind   H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6473    Shellanga H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6474    Bernice    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6475    Asia       H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6476    Linda      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6477    Beverly    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6478    Loretta    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6479    Mercedes H.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6480    Kakisa     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6481    Kemmie     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6482    Monalisa   H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6483    Kasandra   H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6484    Teresa     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1131 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
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Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   6485    Samiece     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6486    Shanique    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6487    Shanna      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6488    Dajae       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6489    Karima      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6490    Sandrnicka H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6491    Jasmine     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6492    Kasel       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6493    Adrienne    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6494    Sherman     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6495    Tasha       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6496    Brittany    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6497    Meagan      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6498    Jelisa      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6499    Marquita    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6500    Adriane     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6501    Constance H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6502    Angelique H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6503    Chiquita    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6504    Jennifer    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6505    Courtney    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6506                H.
           Sharee Annice                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6507    Dashonna H.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6508    Diamond     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6509    Yolonda     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6510    April       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6511    Carolyn     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6512    Angela      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6513    Gina        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6514    Barbara     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6515    Melody      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6516    Kim         H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6517    Rebekah     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6518    Laraya      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6519    Gillian     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6520    Sherrie     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6521    Brittany    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6522    Iris        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6523    Samantha H.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6524    Brettney    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6525    Latrice     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6526    Jeanine     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6527    Vanessa     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6528    Roshanda H.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6529    Trennie     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6530    Wanda       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1132 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   6531    Danayafia   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6532    Raskeka     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6533    Daunya      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6534    Danielle    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6535    Kenyetta    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6536    Nakeia      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6537    Linda       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6538    Lisa        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6539    Hope        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6540    Tonya       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6541    Janice      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6542    Regina      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6543    Krysta      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6544    Latara      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6545    Marchelle   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6546    Cynthia     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6547    Gloria      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6548    Ashley      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6549    Latoshia    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6550    Pamela      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6551    Marcia      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6552    Lisa        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6553    Maria       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6554    Lisa        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6555    Jackeline   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6556    Susana      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6557    Ramona      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6558    Carolina    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6559    Angela      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6560    Deborah     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6561    Shannon     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6562    Maria       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6563    Bianca      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6564    Brandy      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6565    Beatrice    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6566    Irma        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6567    Edith       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6568    Veronica    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6569    Shauna      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6570    Cassandra   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6571    Bethzaida   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6572    Tangila     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6573    Corinne S   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6574    Jerika      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6575    Wendy       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6576    Gloria      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1133 of 1377
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Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 144 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   6577    Susan     H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6578    Donaciana H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6579    Karen     H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6580    Ashley    H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6581    Terrell   H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6582    Evelyn    H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6583    Emily     H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6584    Reather   H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6585    Dasheauna H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6586    Kennisha  H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6587    Trenesha  H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6588    Kila      H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6589    Jasmyne   H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6590    China     H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6591    Dellecia  H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6592    Yasadia   H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6593    Ruby      H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6594    Eunice    H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6595    Alegra    H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6596    Davina    H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6597    Keisha    H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6598    Kendra    H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6599    Shante    H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6600    Tationas  H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6601    Tatiana   H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6602    Jill      H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6603    Therine   H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6604    LaJoy     H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6605    Samone    H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6606    Stephanie H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6607    Shea      H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6608    Shannon   H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6609    Latanga   H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6610    Regyna    H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6611    Selecia   H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6612    Ashley    H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6613    Katrina   H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6614    Zora      H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6615    Lolita    H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6616    Laquita   H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6617    T’keya    H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6618    Patrica   H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6619    Tomasina H.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6620    Sorita    H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6621    Melissa   H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6622    Tiffany   H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
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                                 Exhibit (s) A - Q Page 1134 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   6623    Brenda       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6624    Carrie       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6625    Marilyn      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6626    Angel        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6627    Darlene      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6628    Queeana      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6629    Hope         H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6630    Juanita      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6631    Shannon      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6632    Teresea      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6633    Kallafia     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6634    Jessica      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6635    Lieumishia   H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6636    Etoria       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6637    Linda        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6638    Keyana       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6639    Shatiqua     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6640    Linda        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6641    Cynthia      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6642    Kenda        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6643    Shalonda     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6644    Georgia      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6645    Yolanda      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6646    Monesha      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6647    Sharina      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6648    Ikesha       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6649    Melissa      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6650    Tynesha      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6651    Ikeisha      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6652    Michelle     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6653    Veronica     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6654    Letonya      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6655    Sandra       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6656    Bobbie       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6657    Gina         H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6658    Portya       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6659    Sarenna      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6660    Lynnette     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6661    Avis         H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6662    Angelia      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6663    Jami         H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6664    Mary         H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6665    Shawntae     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6666    Kanisha      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6667    Trina        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6668    Tanya        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   6669    Patricia      H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6670    Peggy         H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6671    Tracy         H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6672    Latosha       H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6673    Patricia JoyceH.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6674    Brandy        H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6675    Desiree       H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6676    Lashawna H.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6677    Cortina       H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6678    Latisha       H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6679    Dnebile       H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6680    Savanah       H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6681    Denessa       H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6682    Mercedes H.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6683    Chanda        H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6684    Camilla       H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6685    Connie        H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6686    Drew          H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6687    Carolyn       H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6688    Danielle      H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6689    Teresia       H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6690    Sheryl        H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6691    Nicole        H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6692    Cotena        H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6693    Millie        H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6694    Lucia         H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6695    Cynthia       H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6696    Renita        H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6697    Cassy         H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6698    Tiffani       H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6699    Lola          H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6700    Danielle      H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6701    Lynn          H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6702    Latasha       H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6703    Barnisha      H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6704    Kendra        H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6705    Corneisha H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6706    Kacey         H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6707    Najah         H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6708    Erika         H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6709    Antonette     H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6710    Jennea        H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6711    Dominique H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6712    Merlisa       H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6713    Brittany      H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6714    Myesha        H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
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Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   6715    Shanec     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6716    Janice     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6717    Sherri     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6718    Cherry     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6719    Natoya     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6720    Aisha      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6721    Kayla      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6722    Nancy      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6723    Brandy     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6724    Jeanette   H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6725    Laquesha H.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6726    Brenda     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6727    Lisa       H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6728    Chasidy    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6729    Brenda     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6730    Stephanie H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6731    Stephanie H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6732    Jessica    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6733    DeacquaneseH.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6734    Arianne    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6735    Emonika    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6736    Julia      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6737    Brinisha   H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6738    Kimberly   H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6739    Tashika    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6740    Julie      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6741    LaCreshia H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6742    Linda      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6743    Shenecko H.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6744    Karmen     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6745    Alexis     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6746    Edoni      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6747    Felica     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6748    Dianna     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6749    Tiffany    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6750    Sharon     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6751    Tanisha    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6752    Sabrina    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6753    Aisha      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6754    Ann        H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6755    Elizabeth  H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6756    Barbara    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6757    Ashalique H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6758    Dinesha    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6759    Shibhon    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6760    Toushe     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1137 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   6761    Nicole     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6762    Sherri     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6763    Frankie    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6764    Cabresha H.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6765    Simone     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6766    Elizabeth  H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6767    Christine  H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6768    Marlene    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6769    Donna      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6770    Shatoia    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6771    Shaniqua   H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6772    Ashli      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6773    Vicki      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6774    Tarita     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6775    Tia        H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6776    Denise     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6777    Sharon     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6778    Keontae    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6779    Marlene    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6780    Vannishah H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6781    Tariah     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6782    Lajunan    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6783    Debrie     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6784    Leneesha H.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6785    Jeronda    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6786    Nequan     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6787    Deborah    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6788    Chalonge   H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6789    Andrea     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6790    Zasha      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6791    Natiala D. H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6792    Tianna     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6793    Tammy      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6794    Kubelium   H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6795    Helen      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6796    Sakia      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6797    Ruby       H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6798               H.
           Teresa Simms                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6799    Monica     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6800    Shiyana    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6801    Vickie     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6802    Ciara      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6803    Heide      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6804    Daphaney H.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6805    Arlene     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6806    Sylvia     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
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Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 149 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   6807    Aarone        H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6808    Shameka       H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6809    Kischa        H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6810    Alantae       H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6811    Demesha H.                      [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6812    Shareckia H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6813    Jennifer      H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6814    Amber D.      H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6815    Traneisha H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6816    Coquese       H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6817    Sharon        H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6818    Nakeya        H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6819    Kimberley H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6820                  H.
           Elizabeth Alice                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6821    Michelle      H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6822    Yvette        H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6823    Kourtnee      H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6824    Theshonda H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6825    Virginia      H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6826    Kathy         H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6827    Patricia      H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6828    Arieal        H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6829    Lexus         H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6830    Jinnifer      H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6831    Connie        H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6832    Kishell       H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6833    Holley        H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6834    Daphne        H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6835    Beth          H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6836    Heidi         H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6837    Harriette     H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6838    Linda         H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6839    Chanda        H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6840    Janine        H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6841    Tamela        H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6842    Lashun        H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6843    Lakisha       H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6844    Shariece      H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6845    Beverly       H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6846    Desarae       H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6847    Shanette      H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6848    Antoinette H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6849    Danielle      H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6850    Robin         H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6851    Brittney      H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6852    Marricka      H.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1139 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 150 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   6853    Nikita      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6854    Latasha     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6855    Tuneshia    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6856    Pauline     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6857    Latasha     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6858    Kennika S   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6859    Tammy       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6860    Nancy       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6861    Helen       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6862    Donisha     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6863    Brandi      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6864    Monique     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6865    Chariesse   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6866    Brianna     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6867    Deanna      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6868    Sharon      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6869    Swanson     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6870    Lynnetta    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6871    Alexis      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6872    Jennel      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6873    Jayvonne    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6874    Empress     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6875    Margie      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6876    Precious    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6877    Evelyn      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6878    Marvel      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6879    Equalyn     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6880    Crystal     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6881    Cherlyn     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6882    Latoya      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6883    Kelli       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6884    Bridgette   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6885    Letitia     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6886    Monique     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6887    Raenisha    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6888    Farrah      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6889    Patty       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6890    Annetria    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6891    Lawanda     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6892    Patricia    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6893    Chanel      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6894    Ashley      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6895    Alison      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6896    Kiara       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6897    Lisa        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6898    Crystal     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
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                                 Exhibit (s) A - Q Page 1140 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   6899    Emone       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6900    Keisha      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6901    Nikki       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6902    Nichole     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6903    Judy        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6904    Robyn       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6905    Janelle     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6906    Barbara     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6907    Bonnie      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6908    Demetria    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6909    Coquise     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6910    Jasme       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6911    Karen       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6912    Monica      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6913    Shareika    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6914    Kimberly    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6915    Nyasia      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6916    Kurie       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6917    Tiree       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6918    Shedena     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6919    Sonya       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6920    Jere        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6921    Zakiyyah    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6922    Fitima      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6923    Laniecia    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6924    Avriane     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6925    Dequan      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6926    Elizabeth   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6927    Judy        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6928    Michelle    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6929    Janet       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6930    Kisha       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6931    Lisa        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6932    Leigh       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6933    Elise       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6934    Hayley      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6935    Autumn      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6936    Mary        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6937    Paula       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6938    Janess      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6939    Verlie      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6940    Tabatha     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6941    Kathy       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6942    Leslie      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6943    Christine   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6944    Yvonne      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
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                                 Exhibit (s) A - Q Page 1141 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   6945    LeeAnn      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6946    Barbara Ann H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6947    Anita       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6948    Sierra      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6949    Shantel     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6950    Dawn        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6951    Preniecesa H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6952    Kia         H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6953    Chara       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6954    Mary        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6955    Beatrice    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6956    Elva        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6957    Anide       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6958    Linda       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6959    Jacqueline H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6960    Nicole      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6961    Cheryl      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6962    Paulette    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6963    Janet       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6964    Marquese H.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6965    Dawn        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6966    Michelle    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6967    Robin       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6968    Amy         H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6969    Crystal     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6970    Najeebah    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6971    Amber       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6972    Aqueelah    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6973    Vivian      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6974    Tiesha      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6975    Paggy       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6976    Theresa     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6977    Miranda     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6978    April       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6979    Kimiko      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6980    Lakeshia    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6981    Alisa       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6982    Clarice     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6983    Diahn       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6984    Shannon     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6985    Kywanna     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6986    Lisa        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6987    Tamekia     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6988    Shanti      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6989    Nancy       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6990    Devanee     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1142 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 153 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   6991    Sequia       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6992    Elizabeth    H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6993    Melinda      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6994    Cherie       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6995    Tamoiya      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6996    Ronisha      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6997    Sondra       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6998    Braion       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   6999    Theresa      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7000    Eleesha      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7001    Stacey       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7002    Kelly        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7003    Elan         H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7004    Chanelle     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7005    Kierra       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7006    Dorothy      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7007    Valerie      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7008    Cynthia      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7009    Quinya       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7010    Donna        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7011    Lydia        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7012    Michelle     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7013    Ursula       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7014    Erica        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7015    Chanell      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7016    Yasmeen      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7017    Lamonica     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7018    Ashley       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7019    Jenna        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7020    Lamonda      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7021    Jelahzai     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7022    Maxine       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7023    Miracle      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7024    Mechel       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7025    Alexandria   H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7026    Jocelyn      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7027    Mary         H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7028    Latoya       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7029    Yvonne       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7030    Ranada       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7031    Erica        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7032    Shalonda     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7033    Starla       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7034    Celeste      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7035    Monica       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7036    Robyn        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
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Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   7037    Erica      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7038    Annita     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7039    Jazmine    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7040    Melissa    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7041    Regina     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7042    Glenda     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7043    Marvina    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7044    Kadedra    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7045    April      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7046    Veronica   H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7047    Quanita    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7048    Nancy      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7049    Lashana    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7050    Cynthia    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7051    Tamicka    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7052    Jalishia   H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7053    Cynthia    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7054    Dorothy    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7055    Chasity    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7056    Amber      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7057    Donnette   H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7058    Mary       H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7059    Regina     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7060    Chiquita   H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7061    Amanda     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7062    Shemeka    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7063    Cammila    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7064    Jasmine    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7065    Lameka     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7066    Shonda     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7067    Debbie     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7068    Destiny    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7069    Victoria   H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7070    Dana       H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7071    Torquilla  H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7072    Miracle    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7073    Cassandra H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7074    Jelisa     H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7075    Mary       H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7076    Sonya      H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7077    Deneisha   H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7078    Crystal    H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7079    Ilanenia   H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7080    Tiffianie  H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7081    Mercetes   H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7082    Shamonique H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1144 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   7083    Ondrea      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7084    Devonne     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7085    Melissa     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7086    Sonja       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7087    Angela      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7088    Kennash     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7089    Amanda      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7090    Amber       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7091    Jill        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7092    Shanterra   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7093    Marti       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7094    Tyroneasa   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7095    Stephany    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7096    Tara        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7097    Muriel      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7098    Ashlee      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7099    Denisha     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7100    Charmell    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7101    Lashanaye   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7102    Versie      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7103    Shawana     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7104    Krystal     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7105    Elizabeth   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7106    Shamitha    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7107    Ericka      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7108    Shardi      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7109    Shakeena    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7110    Mercedes    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7111    Asherah     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7112    Sandra      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7113    Latonya     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7114    Meca        H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7115    Robin       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7116    Johanna     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7117    Georgesia   H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7118    Ashley      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7119    Shameka     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7120    Kathleen    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7121    Shavonne    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7122    Brigitte    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7123    Stacey      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7124    Jessica     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7125    Tawanna     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7126    Pamela      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7127    Laquinta    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7128    Alexis      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1145 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   7129    Jasmine     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7130    DiamondniqueH.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7131    Titaniesha H.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7132    Marcie      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7133    Lajuana     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7134    Bonnie      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7135    Karen       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7136    Ashley      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7137    Laura       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7138    Ebony       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7139    Karent      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7140    Hellen      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7141    Nikita      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7142    Silver      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7143    Ida         H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7144    Candance H.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7145    Orlanda     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7146    Terai       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7147    Pearl       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7148    Tamara      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7149    Kayla       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7150    Jazmine     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7151    Patricia    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7152    Stephanie H.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7153    Mandisha H.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7154    Jasmine     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7155    Summer      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7156    Shirley     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7157    Jillian     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7158    Monique     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7159    Jennifer    H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7160    Merline     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7161    Keysha      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7162    Kenya       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7163    Kelcey      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7164    Shaunte     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7165    Andrea      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7166    Crystal     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7167    Donna       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7168    Tanya       H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7169    Carolyn     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7170    Angela      H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7171    Monique     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7172    Daunte LanaeH.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7173    Latonya     H.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7174    LacanhandriaH.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1146 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   7175    Yade         H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7176    Lakesha      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7177    Jondra       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7178    Rebecca      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7179    Lakrista     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7180    Kelley       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7181    Cynthia      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7182    Ebone        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7183    Cynthia      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7184    Lolita       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7185    Cecelia      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7186    Virginia     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7187    Karen        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7188    Jancy        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7189    Rachel       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7190    Sara         H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7191    Angelique    H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7192    Lovane       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7193    Kristen      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7194    Laura        H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7195    Tiffany      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7196    Nina         H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7197    Camtam       H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7198    Lina         H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7199    Jerrdean     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7200    Latasha      H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7201    Sherrell     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7202    Patricia     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7203    Isabelle     H.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7204    Kelly        I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7205    Hawa         I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7206    Hadija       I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7207    Kelli        I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7208    Chidiebere   I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7209    Sharon       I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7210    Whitney      I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7211    Thelma       I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7212    Kwi          I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7213    Elixis       I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7214    Itohan       I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7215    Lida         I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7216    Belinda      I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7217    Rebecca      I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7218    Anita        I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7219    Kirbey       I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7220    Shada        I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1147 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 158 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   7221    Kanisha      I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7222    Gerleen      I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7223    Tiffany      I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7224    Joanne       I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7225    Angela       I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7226    Talonda D.   I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7227    Donita S     I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7228    Jahnisha     I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7229    Regie        I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7230    Janine       I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7231    Monique      I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7232    Heather      I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7233    Latasha      I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7234    Donna        I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7235    Becky        I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7236    Latrina      I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7237    Lakisha      I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7238    Javonni      I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7239    Jennifer     I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7240    Jazmine      I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7241    Candice      I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7242    Shannon      I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7243    Tomica       I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7244    Porsha J     I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7245    Arlee        I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7246    Carol        I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7247    Talisa       I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7248    Bridgette    I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7249    Sheira       I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7250    Jamillah     I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7251    Kimberly     I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7252    Debbie       I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7253    Johneshia    I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7254    Sontrice     I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7255    Joanna       I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7256    Shanova      I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7257    Audra        I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7258    Naomi        I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7259    Angelica     I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7260    Pensy        I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7261    Tammy L      I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7262    Nytiesha     I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7263    Bianca       I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7264    Shada        I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7265    Juanita      I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7266    Pamela       I.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1148 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 159 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   7267    Amber       I.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7268    Tenise      I.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7269    Jasmine     I.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7270    Desiree     I.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7271    Kimyata     I.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7272    Maureen     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7273                J.
           Chantoria Chanel                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7274    Rachel      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7275    Tiffany     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7276    Shanelle    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7277    Kevonna     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7278    Ursula      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7279    Cheryl      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7280    Myeesha     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7281    Eunice      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7282    Aja         J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7283    Marquita    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7284    Tralice     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7285    Debra       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7286    Jan         J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7287    Tanisha     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7288    Satori      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7289    Cheaqua     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7290    Sandra      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7291    Tanesha     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7292    Jackie      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7293    Neshay      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7294    Rudie       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7295    Kendra      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7296    Latosha     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7297    Veladia     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7298    Rosalyn     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7299    Renee       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7300    Lajawqa     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7301    Brandi      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7302    Bertha      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7303    Ora         J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7304    Catherine J.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7305    Heather     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7306    Yasmine     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7307    Ronna       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7308    Autanee     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7309    Emma        J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7310    Sabrina     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7311    Kasena      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7312    Regina      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1149 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   7313    Trenita     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7314    Kia         J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7315    Nicole      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7316    Lernise     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7317    Avanette    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7318    Jennifer    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7319    Ebony       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7320    Tiffany     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7321    Tiffany     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7322    Sonya       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7323    Andrea      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7324    Jajuanna    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7325    Patricia    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7326    Jalen       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7327    Bilaya      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7328    Margaret    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7329    Triniece    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7330    Katisha     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7331    Malaka      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7332    Joyce       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7333    Shannon     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7334    Brandy      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7335    Dorothy     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7336    Tykeshia    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7337    Tangie      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7338    La’Quinta   J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7339    Jessica     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7340    Jennifer    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7341    Cora        J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7342    Francenna   J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7343    Cassandra   J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7344    Laquinta    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7345    Tamika      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7346    Karen       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7347    Jessica     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7348    Lisa        J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7349    Asia        J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7350    Latrice     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7351    Minleshia   J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7352    Qulia       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7353    Nicole      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7354    Tamara      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7355    Alecia      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7356    Lacrecia    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7357    Debbie      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7358    Latausha    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1150 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   7359    Latanetta    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7360    Keisha       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7361    Lavena       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7362    Valerie      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7363    Myckell      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7364    Nancy        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7365    Sarah        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7366    Lesia        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7367    Krystal      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7368    Ebony        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7369    LaCresha     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7370    Carrissa     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7371    Brandy       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7372    Diamond      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7373    Amena        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7374    Breshell     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7375    Charlyna     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7376    Laqunna      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7377    Jordan       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7378    Robyn        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7379    Kelley       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7380    Shavaki      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7381    Wendy        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7382    Bobbie       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7383    Debbie       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7384    Dorothy      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7385    Tina         J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7386    Mary         J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7387    Pinky        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7388    Shawntrell   J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7389    Janice       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7390    Laneisha     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7391    Angel        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7392    Stephanie    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7393    Daisha       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7394    Asia         J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7395    Tawanna      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7396    Shamela      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7397    Ronisha      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7398    Shala        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7399    Tiffany      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7400    Janean       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7401    Shirley      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7402    Latisha      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7403    Jamie        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7404    Alexandria   J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1151 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   7405    Monalisa     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7406    Antasha      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7407    Schanequa    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7408    Jennifer     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7409    Chatara      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7410    Whitney      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7411    Keyanna      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7412    Brandy       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7413    Lashonda     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7414    Tatiana A    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7415    Courtney     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7416    Kandis       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7417    Pricilla     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7418    Tanisha      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7419    Antameka     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7420    Laurice      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7421    Mercedes     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7422    Jianni M     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7423    Charmane     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7424    Hillary      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7425    Taylor       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7426    Keshonthel   J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7427    Yoshanda     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7428    Daisy        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7429    Keiana       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7430    Chelsea      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7431    Dawn         J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7432    Monica       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7433    Paulette     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7434    Aisha        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7435    Paulette     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7436    Queen        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7437    Beaethel     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7438    Monet        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7439    Lerona       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7440    Elnora       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7441    Leslie       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7442    Kimberly     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7443    Shrina       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7444    Jazelle      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7445    Charlene     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7446    Tracy        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7447    Vanessa      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7448    Gwendolyn    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7449    Sharesse     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7450    Vanita       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1152 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 163 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   7451    Gabrielle    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7452    Ellis        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7453    Yutoshica    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7454    Cynthia      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7455    Shamera      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7456    Deborah      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7457    Megann       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7458    Daryl        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7459    Malynda      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7460    Montrice     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7461    Tarita       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7462    Angela       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7463    Latisha      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7464    Jameka       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7465    Shirley      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7466    Tamecia      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7467    Rhonda       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7468    Shyla        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7469    Jessica      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7470    Alvanese     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7471    Rodnesha     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7472    Jemeisha     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7473    Jessica      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7474    Loreal       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7475    Marquisha    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7476    Constance    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7477    Laterra      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7478    Keishana     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7479    Susan        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7480    Alicia       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7481    Sharmaine    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7482    Terri        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7483    Latosha      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7484    Katie        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7485    Taelour      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7486    Tameka       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7487    Alicia       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7488    Rosalind R   J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7489    Lola         J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7490    Raemisha     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7491    Markisha     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7492    Quwana       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7493    Whitney      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7494    Brittany     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7495    Tashauna     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7496    Pamela       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1153 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 164 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   7497    Ashley       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7498    Marilyn      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7499    Herschelle   J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7500    Y’Lonn       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7501    Tamara       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7502    Brandi       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7503    Linda        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7504    Catherine    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7505    Vickie       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7506    Lourdes      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7507    Maria        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7508    Jacalyn      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7509    Cheryl       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7510    Chandra      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7511    Marie        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7512    Gina         J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7513    Antheyst     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7514    Andrea       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7515    Rejina       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7516    Alicia       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7517    Patricia     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7518    Leshonda     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7519    Peggy        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7520    Mia          J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7521    Melisa       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7522    Betty        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7523    Marcien      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7524    Pamela       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7525    Waltisha     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7526    Rebecca      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7527    Kaela        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7528    Janesia      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7529    Wanda        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7530    Terriel      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7531    Latoya       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7532    Lauryn       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7533    Cassandra    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7534    Minnie       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7535    Jahnika      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7536    Kathryn      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7537    Shanelle     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7538    Kelly        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7539    Shanika      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7540    Carla        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7541    Tiffany      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7542    Tyisha       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1154 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   7543    Lilliette    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7544    Dyeshia      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7545    Darneshia    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7546    Mahlonii     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7547    Gloria       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7548    Shaneshia    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7549    Lisa         J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7550    Saaliha      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7551    Natalee      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7552    Kamilah      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7553    Archannell   J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7554    Sandra       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7555    Contina      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7556    Deloris      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7557    Zakiya       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7558    Kenya        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7559    Lameka       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7560    Latesa       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7561    Jonathan     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7562    Ashley       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7563    Latasha      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7564    Eboni        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7565    Lafonda      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7566    Felecia      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7567    Tyquisha     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7568    Mikeisha     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7569    Tenisha      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7570    Alicia       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7571    Tanisha      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7572    Tatiana      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7573    Rashonda     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7574    Brittany     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7575    Renay        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7576    Shirley      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7577    Lateeka      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7578    Taunika      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7579    Janelle      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7580    Nefertiti    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7581    Kishona      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7582    Jazmine      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7583    Keiron       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7584    Rosalyn      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7585    Sonia        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7586    Barbara A    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7587    Naima        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7588    Chaka        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1155 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 166 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   7589    Julecia     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7590    Anita       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7591    Charonne    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7592    Zakia       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7593    Anietra     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7594    Marian      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7595    Dericka     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7596    Devin       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7597    Brandiya    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7598    Britney     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7599    Cynthia     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7600    Shirley     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7601    Eve         J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7602    Latanya     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7603    Neva        J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7604    Dawn        J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7605    Angel       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7606    Terry       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7607    Joanne      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7608    Ethel       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7609    Danita      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7610    Della       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7611    Erin        J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7612    Lisa        J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7613    Ivory       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7614    Stephanie   J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7615    Shelia      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7616    Chelena     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7617    Lateisha    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7618    Melanie     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7619    Vickie      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7620    Cassandra   J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7621    Monica      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7622    Lily        J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7623    Juana       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7624    Stormy      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7625    Qadriyyah   J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7626    Lakeisha    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7627    Agnes       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7628    Bette       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7629    Sukari      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7630    Carla       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7631    Twana       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7632    Colleen     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7633    Deborah     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7634    Averi       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1156 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   7635    Melinda      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7636    Eloise       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7637    Louise       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7638    Shanae       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7639    Ella         J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7640    Terrie       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7641    Felecia      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7642    Yolanda      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7643    Kyra         J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7644    Callie       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7645    Helen        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7646    Rose         J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7647    Keziah       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7648    Alishia      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7649    Peggy        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7650    Vanessa      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7651    Sherice      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7652    Sonya        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7653    Carolyn      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7654    Shantel      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7655    Shaqunta     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7656    Alicia       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7657    Whitney      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7658    Ashley       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7659    Donna        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7660    British      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7661    Deonna       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7662    Kinyada      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7663    Latricia     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7664    Jamie        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7665    Gardenia     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7666    Veronica     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7667    Nickie       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7668    Kishana      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7669    Danyetta     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7670    Beverly      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7671    Lakecia      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7672    Demetrice    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7673    Susan        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7674    April        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7675    Brittney     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7676    Alicia       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7677    Bridget      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7678    Willie Mae   J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7679    Tierney      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7680    Calvelina    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1157 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 168 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   7681    Aretha     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7682    Quintasha J.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7683    Janelle    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7684    Jesselyn   J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7685    Trini      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7686    Ashley     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7687    Stephanie J.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7688    Natasha    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7689    Alisha     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7690    Adair      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7691    Victoria   J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7692    Tracie     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7693    Shanequa J.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7694    Katriece   J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7695    Dray       J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7696    Nicole     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7697    Minnie     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7698    Princella  J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7699    Tenisha    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7700    Monique    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7701    Portia     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7702    Twanisha   J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7703    Erica      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7704    Paulette   J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7705    Chevon     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7706    Darnika    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7707    Shemaiah J.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7708    Jameesha J.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7709    Cecile     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7710    Shandrecka J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7711    Jeanne     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7712    Torrie     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7713    Mercedez J.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7714    Ashleigh   J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7715    Sherell    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7716    Cammie     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7717    Tiffany    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7718    Al-Nisa    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7719    Quintisha  J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7720    Kenisha    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7721    Stephanie J.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7722    Lisa       J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7723    Crystal    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7724    Idani      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7725    Dwayne     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7726    Cynthia    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1158 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 169 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   7727    Laporsha     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7728    Tonyelle     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7729    Miesha       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7730    Chaunte      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7731    Crystal      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7732    Cantrell     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7733    Antionette   J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7734    Jalisia      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7735    Denisha      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7736    Trina        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7737    Laneisha     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7738    Colleen      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7739    Myfila       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7740    Kimberly     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7741    Sarah        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7742    Chivetta     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7743    Shiniki      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7744    Melody       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7745    Conswela     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7746    Rebecca      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7747    Latonya      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7748    Monica       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7749    Earline      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7750    Dekita       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7751    Cheryl       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7752    Gloria       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7753    Kelly        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7754    Janice       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7755    Sherry       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7756    Erika        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7757    Kierra       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7758    Dawnashe     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7759    Brittany     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7760    Kristi       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7761    Shanquelle   J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7762    Latoya       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7763    Lachandra    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7764    Dwann        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7765    Tiffany      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7766    Bertha       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7767    Charlotte    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7768    Sharon       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7769    Lateshia     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7770    Jazmine      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7771    Tawana       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7772    Amanda       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1159 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 170 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   7773    Shalonda   J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7774    Dorothy    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7775    Chaquita   J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7776    Lisha      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7777    Vanetta    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7778    Joyce      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7779    Natalie    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7780    Shannon    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7781    Leslie     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7782    Dana       J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7783    Delasia    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7784    Briana     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7785    Mary       J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7786    Tamara     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7787    Joya       J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7788    Catina     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7789    Jeanie     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7790    Tanisha    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7791    Yolanda    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7792    Gina       J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7793    Carla      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7794    Laura      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7795    Latoya     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7796    Donavia    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7797    Tracey     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7798    Paula      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7799    Kenya      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7800    Johnniemae J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7801    Dian       J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7802    Tonya      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7803    Marie      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7804    Michelle   J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7805               J.
           Chrysanthemum                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7806    Lillian    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7807    Aqua       J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7808    Jennifer   J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7809    Fotina     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7810    Tequilla   J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7811    Deatrice   J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7812    Juanita    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7813    Ivy        J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7814    Latesha    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7815    LaCresha J.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7816    Tianah     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7817    Ranysha    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7818    Teresa     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1160 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   7819    Miesha       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7820    JeAnecia     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7821    Tierra       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7822    Darla        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7823    Nicole       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7824    Jessica      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7825    Bonita       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7826    Jerrica      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7827    Mia          J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7828    Denise       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7829    Masharia     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7830    Yolanda      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7831    Senora       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7832    April        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7833    Cheryl       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7834    Catherine    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7835    Jacqueline   J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7836    Latosha      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7837    Lillian      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7838    Carmilia     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7839    Shante       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7840    Michel’le    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7841    Linda        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7842    Latisha      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7843    Angela       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7844    Latusha      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7845    D’Essence    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7846    Nyquosha     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7847    Teneka       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7848    Evelyn       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7849    Shontee      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7850    Arthea       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7851    Katrena      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7852    Ebony        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7853    Talibah      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7854    Santora      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7855    Yolanda      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7856    Christina    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7857    Naomi        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7858    Angela       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7859    Angela       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7860    Creshine     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7861    Latasha      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7862    Deloice      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7863    Donna        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7864    April        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1161 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   7865    Dortha       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7866    Sharteia     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7867    Taretha      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7868    Patricia     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7869    Danielle     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7870    Diymon       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7871    Trista       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7872    Angela       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7873    Keysia       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7874    Eboni        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7875    Jessica      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7876    Mollie       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7877    Dorristeen   J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7878    Patricia     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7879    Margaret     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7880    Ida Lanier   J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7881    Regina       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7882    Ida          J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7883    Debra        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7884    Terri        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7885    Linda        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7886    Angela       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7887    Stella       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7888    Melvina      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7889    Denay        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7890    Charlotte    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7891    Cabirii      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7892    Donna        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7893    Stacey       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7894    Vanessa      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7895    Roxanne      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7896    Felicia      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7897    Deborah      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7898    Sherrell     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7899    Veonca       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7900    Angelique    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7901    Tonya        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7902    Mozella      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7903    Janice       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7904    Shanreka     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7905    Cicely       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7906    Tomoro       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7907    Demetrel     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7908    Dorothy      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7909    Doris        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7910    Toshiba      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1162 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 173 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   7911    Nicole     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7912    Tonza      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7913    Jakema     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7914    Thenecha J.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7915    Lizzie     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7916    Andrea T   J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7917    Velleta    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7918    Denise     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7919    Amber      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7920    Ebony      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7921    Cassandra J.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7922    Jessica    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7923    Jenecia    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7924    Shenise    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7925    Siobahn    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7926    Nativa     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7927    Keyantay   J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7928    Credena    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7929    Charlene   J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7930    Vanessa M. J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7931    Antoinette J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7932    Tiffany    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7933    Terrica    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7934    Cristy     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7935    Latonya    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7936    Mia        J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7937    Quanita    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7938    Kally      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7939    Monick     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7940    Ashley     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7941    Raynisha L J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7942    Shareema J.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7943    Monifa     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7944    Kendra     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7945    Keara      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7946    Kayanna    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7947    Dariani    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7948    Keanndra J.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7949    Chinae     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7950    Sammiesha J.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7951    Krystle    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7952    Kayla      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7953    Aniya      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7954    Crystal    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7955    Kima       J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7956    Janell     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1163 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 174 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   7957    Shayna      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7958    Asia        J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7959    Torica      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7960    Kaitlin M.  J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7961    Ashley      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7962    Jernae      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7963    Britney     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7964    Latrice     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7965    Toniquica J.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7966    Mashera     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7967    Tyronesha J.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7968    Shantel     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7969    Ollie       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7970    Bethannie J.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7971    Betty       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7972    Latasha     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7973    Bobbi       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7974                J.
           Gloria L Shannon                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7975    Nashika     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7976    Mariah      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7977    Ambreana J.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7978    Kathy       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7979    DeNeshia J.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7980    Dawn        J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7981    Porcherria J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7982    Dan         J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7983    Deborah     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7984    Lynda       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7985    Keyana      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7986    Tunakaisha J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7987    Brittney    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7988    Latoia      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7989    Antoinette J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7990    Janae       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7991    Danielle    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7992    Krystle     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7993    Pamela      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7994    Briauhna    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7995    Kimberly    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7996    Denise      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7997    Tamekia     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7998    Arletha     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   7999    Shakeila    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8000    Eneditra    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8001    Bonnie      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8002    Rose        J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1164 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 175 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   8003    Charlesette J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8004    Monique      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8005    Sierra       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8006    Daswanna J.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8007    Tracee       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8008    Tenisha      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8009    Taka         J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8010    Jasmine      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8011    Linda        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8012    Jenita       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8013    Ashley       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8014    Tacasha      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8015    Brittany     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8016    Sherrice     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8017    Cherrlyn     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8018    Keyana       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8019    Rosemarie J.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8020    Lkhendrian J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8021    Stephonna J.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8022    Latatkinosha J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8023    Ahsha        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8024    Generra      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8025    Karla        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8026    Lacreisha J.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8027    Nicole       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8028    Springer     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8029    Nicole       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8030    Belinda      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8031    Chnekra      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8032    Kenna        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8033    Melinda      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8034    Tiffany      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8035    Dawnyetta J.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8036    Toi          J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8037    Latashanna J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8038    Debbie       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8039    Tonyika      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8040    Jennifer     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8041    Johneisha J.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8042    Milisa       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8043    Porsche      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8044    Miranda      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8045    Erica        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8046    Shanilya     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8047    Jessica      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8048    Lashay       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1165 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 176 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   8049    Kathleen    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8050    Kay         J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8051    Melisha     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8052    Lisa        J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8053    Theresa     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8054    Valerie     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8055    Vinnell     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8056    Equilla     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8057    Katrisa     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8058    Lakeitha    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8059    Sade        J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8060    Doris       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8061    Keyana      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8062    Jaquiya     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8063    Lenora      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8064    Vineesha    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8065    Veronica    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8066    Lakesha     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8067    Marcia      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8068    Lastasha    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8069    Tamekkia    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8070    Marquia     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8071    Dasia       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8072    Melissa     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8073    Lasaisha    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8074    Brittany    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8075    Kokitha     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8076    Chastity    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8077    Cassandra   J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8078    Sidney      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8079    Erika       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8080    Pamela      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8081    Priscilla   J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8082    Rhonda      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8083    Latoya      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8084    Lamenda     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8085    Lakeisha    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8086    Tinielle    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8087    Erica       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8088    Matawnaw    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8089    Qiana       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8090    Felicia     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8091    Cassandra   J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8092    Vanessa     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8093    Aaliyah     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8094    Syranda     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1166 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   8095    Dalana      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8096    Evelyn      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8097    Coneshea J.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8098    Keyana      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8099    Patricia    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8100    Shalonda    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8101    Denise      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8102    Lonshae     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8103    Sharde      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8104    Tania       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8105    Rochelle    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8106    Pamela      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8107    Victoria    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8108    Wanda       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8109    Kyeshia     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8110    Shemekia J.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8111    Aikina      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8112    Vendetta    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8113    Michelle    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8114    Elizabeth   J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8115    Ivoncy      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8116    Shawana     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8117    Tarsha      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8118    LaCresha J.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8119    L’Tanya     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8120    Barbara     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8121    Latasha     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8122    Anglia      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8123    Erica       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8124    Ryclynn     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8125    Shuntiya    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8126    Lanetta     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8127    Kalaya      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8128    Shakida     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8129    Natallia    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8130    Brooksenell J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8131    Ramona      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8132    Anne        J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8133    Ruta        J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8134    Chana       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8135    Sherita     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8136    Careia      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8137    Nicole      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8138    Shanee      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8139    Mary        J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8140    Dekeshia    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1167 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 178 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   8141    Angel      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8142    Lawanna    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8143    Patrice    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8144    Ebony      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8145    Debbie     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8146    Joycelyn   J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8147    Jerrie     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8148    Tanika     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8149    Keana      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8150    Amanda     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8151    Jaela      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8152    Jerri      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8153    Cheronique J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8154    Zondra     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8155    Bobbie     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8156    Porsha     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8157    Sheila     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8158    Lypa       J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8159    Dameka     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8160    Camille    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8161    Jasmine    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8162    Doris      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8163    Bercillia  J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8164    Brenda     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8165    Dortha     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8166    Chanterria J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8167    Crystal    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8168    Waynesha J.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8169    Phalan     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8170    Tamiko     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8171    Marriesa   J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8172    Dortha     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8173    Wanda      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8174    Doreen     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8175    Sarah      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8176    Jason      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8177    Linda      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8178    Angela     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8179    Lynn       J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8180    Latanuza   J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8181    Kimberly   J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8182    Betty      J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8183    Kelley     J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8184    Yolanda    J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8185    Lisa       J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8186    Almedia Jo J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1168 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 179 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   8187    Deborah     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8188    Jacqueline J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8189    Ramona      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8190    Maggie      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8191                J.
           Antoinette Marie                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8192    Beatrice    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8193    Aureta      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8194    Sabrina     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8195    Tashia      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8196    Charlondra J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8197    Desoril     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8198    Deborah     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8199    Ramona      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8200    Sharita     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8201    Cicely      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8202    Shavon      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8203    Monti       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8204    Andrea      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8205    Myesha      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8206    Lashonda J.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8207    Shanieka    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8208    Charmaine J.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8209    Jocelyn     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8210    Maria       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8211    Capretha    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8212    Kenya T     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8213    Shalonda    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8214    Ronieka     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8215    Tykisha     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8216    Asia        J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8217    Denise      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8218    Shalamar J.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8219    Erica       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8220    Tyniesha S J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8221    Latoya      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8222    Shadonna L. J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8223    Sharee      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8224    Tawana      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8225    Katrina     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8226    Chantel     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8227    Sheena      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8228    Ashley      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8229    Alexandra J.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8230    Monica      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8231    Keioka      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8232    Elizabeth   J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1169 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 180 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   8233    Deone YvetteJ.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8234    Jacqueline J.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8235    Zipporah    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8236    Lavita      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8237    Ladriena    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8238    Chanel L    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8239    Tenisha     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8240    Roya        J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8241    Leslie      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8242    Lakietha    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8243    Robin       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8244    FRANCESCAJ.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8245    Tarkesha    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8246    Chelsea     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8247    Markeshia J.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8248    Saniyyah    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8249    Misty       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8250    Raedon      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8251    Cierra      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8252    Marshell    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8253    Tiffany     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8254    Amentra     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8255    Aaliyah     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8256    Deasia      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8257    Tiauna      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8258    Tamena L J.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8259    Brielle     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8260    Vasheka     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8261    Ann         J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8262    Treena      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8263    Cicely      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8264    Tiffany     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8265    Judic       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8266    Stephanie J.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8267    Traci       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8268    Asia        J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8269    Cassandra J.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8270    Shanice     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8271    Anya        J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8272    Danielle    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8273    Shavonn     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8274    Ursalla     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8275    Michelle    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8276    Sharan      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8277    Denitra     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8278    Carmen      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1170 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   8279    Keshia       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8280    Charline     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8281    Anisha       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8282    Jessica      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8283    Jennifer     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8284    Jeannette    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8285    Katrina      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8286    Latrice      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8287    Fonika       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8288    Annette      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8289    Ladayna      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8290    Latosha      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8291    Shenise      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8292    Raquel       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8293    Pia          J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8294    Tyhisha      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8295    Shanaida     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8296    Kierra       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8297    Sharee       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8298    Kyomara      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8299    Pamela       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8300    Denetrice    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8301    Monique      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8302    Tenisha      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8303    Gina         J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8304    Tamara       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8305    Patricia     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8306    Diasonthia   J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8307    Saquia       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8308    Melissa      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8309    Ebony        J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8310    Joell A.     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8311    Regenna      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8312    Shemika      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8313    Latoya       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8314    Audris       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8315    Christina    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8316    Aiesha       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8317    Christine    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8318    Naty         J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8319    Georgia      J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8320    Roddrica     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8321    Alexandra    J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8322    Kumeka       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8323    Tashawna     J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8324    Gloria       J.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1171 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   8325    Climmie     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8326    Jazzmine    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8327    Angelette   J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8328    Roberta     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8329    Bridney     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8330    Edwintz     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8331    Danytria    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8332    Ingrid      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8333    Branice     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8334    Kantayeni   J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8335    Lynn        J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8336    Chasity     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8337    Mary        J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8338    Erica       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8339    Shanay      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8340    Tasheka     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8341    Michelle    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8342    Paula       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8343    Kimberly    J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8344    Aundrea     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8345    Luella      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8346    Karen       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8347    Jasmine     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8348    Joyce       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8349    Gloria      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8350    Alisha      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8351    Denise      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8352    Alexis      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8353    Jasmine     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8354    Vicky       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8355    Sefanie     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8356    Sandra      J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8357    Krystal     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8358    Harriet     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8359    LaTia       J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8360    Juanita     J.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8361    Tene        K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8362    Jamie       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8363    Catherine   K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8364    Jamila      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8365    Siano       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8366    Robin       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8367    Tara        K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8368    Karley      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8369    Joy         K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8370    Marlene     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1172 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 183 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   8371    Rhonda      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8372    Amina       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8373    Luz         K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8374    Muna        K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8375    Charlene    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8376    Jamarie     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8377    Shelia      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8378    Tanachi     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8379    Patricia    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8380    Reynalda    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8381    Cecilia     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8382    Susan       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8383    Derise      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8384    Helen       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8385    Lisa        K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8386    Terry       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8387    Anita       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8388    Cherice     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8389    Jamilla     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8390    Stefani     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8391    Suzanna     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8392    Dowella     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8393    Shante      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8394    Tabitha     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8395    Charlotte   K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8396    Deloris     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8397    Nicole      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8398    Donna       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8399    Joyce       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8400    Brittana    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8401    Samantha    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8402    Vernae      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8403    Cherie      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8404    Latoya      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8405    Mary        K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8406    Melody      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8407    Celia       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8408    Lydia       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8409    Maxine      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8410    Dolores     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8411    Adrianna    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8412    Jackie      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8413    Felisha     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8414    Chiquita    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8415    Sharren     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8416    Helen       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1173 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 184 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   8417    Michelle   K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8418    Cyrk       K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8419    Carol      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8420    Angie      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8421    Elizabeth  K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8422    Michelle   K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8423    Whitney    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8424    Marquita   K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8425    Bianca     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8426    Lasha      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8427    Shelly     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8428    Karla      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8429    Shelmadine K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8430    Natasha    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8431    Keiara     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8432    Cornesha K.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8433    Michelle   K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8434    Ashanti    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8435    Taisha     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8436    Amanda     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8437    Yvette     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8438    Angelica   K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8439    Denise     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8440    Jetta      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8441    Joyce      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8442    Jeanette   K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8443    Kasie      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8444    Chala      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8445    Derricka   K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8446    Renee      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8447    Liddion    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8448    Mattie     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8449    Antoinette K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8450    Keesha     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8451    Rebecca    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8452    Yolanda    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8453    Christina  K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8454    Debra      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8455    Iesha      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8456    Cathy      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8457    LaToyia    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8458    Marion     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8459    JMe        K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8460    Dana       K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8461    Keiko      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8462    Keshaun    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1174 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   8463    Kyra       K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8464    Carolyn    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8465    Joanne     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8466    Patricia   K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8467    Jeanette   K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8468    Nisha      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8469    Sue        K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8470    Thronda    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8471    Cynthia    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8472    Deangela   K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8473    Tyree      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8474    Kaitlyn    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8475    Cartaze    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8476    Jessica    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8477    Sheereen K.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8478    Samantha K.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8479    Nicole     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8480    Tiffany    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8481    Launa      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8482    Asong      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8483    Cortney    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8484    Robin      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8485    Tracey     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8486    Reshanya K.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8487    Marqueshia K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8488    Jamilla    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8489    Jana       K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8490    Arniscia   K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8491    Barbara    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8492    Kathy      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8493    Holly      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8494    Crystal    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8495    Amanda     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8496    Aretha     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8497    Shacheva K.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8498    Sarah      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8499    Mary       K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8500    Tommie     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8501    Latoya     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8502    Latasha    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8503    Kelly      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8504    Mehnaz     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8505    Noor       K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8506    Malcgaing K.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8507    Georgia    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8508    Kia        K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1175 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 186 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   8509    Latrice    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8510    Earline    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8511    Mary       K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8512    Pauline    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8513    Kimika     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8514    Joan       K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8515    Toniesha   K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8516    Camisha    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8517    Kathleen   K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8518    Jocquise   K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8519    Kim        K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8520    Monique    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8521    Deborah    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8522    Inola      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8523    Diane      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8524    Han        K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8525    Danyelle   K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8526    Shantell   K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8527    Velma      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8528    Nacamiche K.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8529    Yuknica    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8530    Joyce      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8531    Tatiana    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8532    Regina     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8533    Ashley     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8534    Latonya    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8535    Lashounda K.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8536    Ebony      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8537    Donnetresa K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8538    Fabium     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8539    Mary       K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8540    Antoinette K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8541    Shavaughn K.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8542    KashawndriaK.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8543    Phyllis    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8544    Chanta     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8545    Rashon     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8546    Nakesha    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8547    Lazandria K.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8548    Treasure   K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8549    Fenishia   K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8550    Christany  K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8551    Teresa     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8552    Ajalae     K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8553    Phatema    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8554    Jessica    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1176 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 187 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   8555    Allison     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8556    Valerie     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8557    Angela      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8558    Tierra      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8559    Mariah      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8560    Shawna      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8561    Heather     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8562    Mecca       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8563    Marissa     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8564    Vanessa     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8565    Ricsheema   K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8566    Cynthia     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8567    Breana      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8568    Felicia     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8569    Onisha      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8570    Beverly     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8571    Leslye      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8572    Tiffanie    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8573    Delisa      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8574    Sophia      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8575    Theeda      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8576    Katrina     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8577    Monik       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8578    Tennille    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8579    Christina   K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8580    Sharbie     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8581    Tiesha L.   K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8582    Damita      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8583    Jenny       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8584    Naujai      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8585    Teri        K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8586    Kendra      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8587    Leslye      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8588    Twjana      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8589    Allison     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8590    Lateich     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8591    Salita      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8592    Alexus      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8593    Carlisha    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8594    Patricia    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8595    Alexice     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8596    Laquanda    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8597    Janet       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8598    April       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8599    Taleea      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8600    Tommie      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1177 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 188 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   8601    Kyerra      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8602    Latoya R    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8603    Gina        K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8604    Gleenisha K.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8605    Saundra     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8606    Wonetta     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8607    Erica       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8608    Ramona      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8609    Sadie       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8610    Skylar      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8611    Jessica     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8612    Sheniqua    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8613    Charlotte E K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8614    Nancy       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8615    Susitina    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8616    Shaundrea K.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8617    Eloise      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8618    Joan        K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8619    Lori        K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8620    Evamarie    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8621    Vicky       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8622    Tatianna    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8623    Sierra      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8624    Kyana       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8625    Felecia     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8626    Latrice     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8627    Willette    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8628    Latrina     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8629    Paula       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8630    Shanae      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8631    Sarah       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8632    Nicole      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8633    Shana       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8634    Brenda      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8635    Latacha     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8636    Jada        K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8637    Alexandria K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8638    Destiney    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8639    Janice      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8640    Connie      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8641    Darla       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8642    Tasha Marie K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8643    Laura       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8644    Justina     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8645    Yolanda     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8646    Debra       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1178 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 189 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   8647    Jamie       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8648    Desimonia K.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8649    Sheryl      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8650    Kashonda K.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8651    Angela      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8652    Jerrie      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8653    Samone      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8654    Shelyse     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8655    Shontorie   K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8656    Mary        K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8657    Angela      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8658    Patricia    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8659    Dina        K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8660    Tiffany     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8661    Jessica LynnK.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8662    Eliza       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8663    Cathy       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8664    Barbara     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8665    Lateshia    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8666    Chrisayus K.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8667    Judith      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8668    Jacqueline K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8669    DeAnn Sue K.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8670    Sandra      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8671    Chrystal    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8672    Nicole      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8673    Assietou    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8674    Regina      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8675    Michael     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8676    Donna       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8677    Misty       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8678    Annette     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8679    Norma       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8680    Shawndalya K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8681    Shurlane    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8682    Serrano     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8683    Donetta     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8684    Susie       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8685    Edward      K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8686    Adekemi     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8687    Elizabeth   K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8688    Debra       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8689    Karen       K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8690    Kathryn     K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8691    Samantha K.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8692    Jennifer    K.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1179 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 190 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   8693    Delores    K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8694    Kiara      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8695    Defie      K.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8696    Barbara    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8697    Donna      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8698    Melloney   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8699    Leilani    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8700    Shanteel   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8701    Chasity    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8702    Sheila     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8703    Devedia    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8704    Breanna    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8705    Diane      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8706    Stephanie L.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8707    Debra      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8708    Alana      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8709    Alexis     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8710    Mathylon   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8711    Brittany   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8712    Carlisha   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8713    Margaret   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8714    Juanita    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8715    Cymphony L.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8716    Perita     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8717    Laura      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8718    Raquel     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8719    Cerissa    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8720    Raushanah L.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8721    Ana        L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8722    La Veta    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8723    Lakeitha   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8724    Sheena     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8725    Mallory    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8726    Demarris   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8727    Natasha    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8728    Latrice    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8729    Nicole     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8730    Latoya     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8731    Andrea     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8732    QueenestherL.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8733    Jeanna     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8734    Mae        L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8735    Judy       L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8736    Gail       L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8737    Frederik   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8738    Shakiera   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1180 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 191 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   8739    Tracy      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8740    Lynn       L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8741    Tera       L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8742    Briana     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8743    Marcia     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8744    Barbara    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8745    Meloney    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8746    Barbara    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8747    Teresa     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8748    Tyra       L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8749    Cassandra L.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8750    Gabrielle  L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8751    Cheryl     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8752    Lakehsia   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8753    Arlene     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8754    Theresa    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8755    Diane      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8756    Queen      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8757    Tamara     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8758    Lucy       L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8759    Shekura    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8760    Denae      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8761    Martisha   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8762    Jasmine    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8763    Cynthia    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8764    Tzire      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8765    LaToyia    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8766    Sherry     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8767    Cashmiere L.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8768    Donna      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8769    Mariah     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8770    Desaanghia L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8771    Nicole     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8772    Ranessa    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8773    Keiondra   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8774    Laterra    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8775    Janice     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8776    Kathleen   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8777    Shavanda L.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8778    Latres     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8779    Doris      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8780    Krishawn   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8781    Gina       L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8782    Krystal    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8783    Karen      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8784    Shawna     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1181 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   8785    Ariel      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8786    Martha     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8787    Cleo       L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8788    Kalita     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8789    Beverly    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8790    Shikela    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8791    Beverly    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8792    Jessica    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8793    Taryn      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8794    Shabrea    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8795    Marrietta  L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8796    Shelia     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8797    Mable      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8798    Diana      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8799    Alice      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8800    Bertha     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8801    Josette    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8802    Rachel     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8803    Lisa       L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8804    Melissa    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8805    Raquel     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8806    Carlyne    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8807    Telisa     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8808    Ashley     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8809    Linda      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8810    Denethia   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8811    Mariah     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8812    Brittney   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8813    Rochelle   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8814    Breshara   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8815    Dian       L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8816    Marjorie   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8817    Shelayne   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8818    Sandy      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8819    Latasha    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8820    Celaundra L.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8821    Brigitte   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8822    Tiffany    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8823    Lisa       L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8824    Bobbi      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8825    Sally      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8826    Martha     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8827    Deshanda D L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8828    Latoya     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8829    Juanita    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8830    Kionna M. L.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1182 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 193 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   8831    Iisha        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8832    Miranda      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8833    Vincent      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8834    Stephanie    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8835    Jessica      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8836    Annetta      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8837    Reid         L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8838    Milika       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8839    Angela       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8840    Theora       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8841    Deborah      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8842    Mattie       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8843    Tenneille    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8844    Donna        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8845    Hope         L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8846    Lakrystle    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8847    Kimberly     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8848    Eleyse       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8849    Torkeisha    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8850    Brianna      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8851    Vickie       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8852    Ruby         L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8853    Carolyn      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8854    Adrienne     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8855    Kimberly     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8856    Melvalena    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8857    Ebony        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8858    Talkara      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8859    Alexandria   L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8860    Lacreasha    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8861    Chantay      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8862    Randyse      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8863    Ketrina      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8864    Dondra L     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8865    Dwanna       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8866    Ella         L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8867    Eboney       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8868    Nalina       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8869    Betty        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8870    Donna        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8871    Chade        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8872    Aliece       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8873    Jamika       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8874    Tammy        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8875    Latoya       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8876    Shelrece     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1183 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 194 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   8877    Stephanie L.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8878    Melva       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8879    Shermaine L.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8880    Aida        L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8881    Caternia    L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8882    Darlene     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8883    Janine      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8884    Rosalie     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8885    Annie       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8886    Latoya      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8887    Kristal     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8888    Kehia       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8889    Damara k L.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8890    Latisha     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8891    Natasha     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8892    Tiffany     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8893    Melinee     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8894    Precious    L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8895    Jennifer    L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8896    Tywana      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8897    Dalisa      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8898    Delicia     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8899    Renee       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8900    Deidraniece L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8901    Morgan      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8902    Ashley      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8903    Jacqueline L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8904    Shannon     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8905    Jennifer    L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8906    Laquita     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8907    Kenya       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8908    Christiana L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8909    Tracey      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8910    Kathleena L.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8911    Amber       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8912    Shanita     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8913    Sheron      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8914    Tanica      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8915    Lavera      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8916    Jennifer    L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8917    Claracy     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8918    Shannell    L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8919    Donna       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8920    Lachelle    L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8921    Lenora      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8922    Toneeka     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1184 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 195 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   8923    Lorraine     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8924    Raivenn      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8925    Shameka      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8926    Sarah        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8927    Beverly      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8928    Shannon      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8929    Ashleigh     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8930    Barbara      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8931    Doris        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8932    Ora          L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8933    Michelle     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8934    Tammy        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8935    Anika        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8936    Nicole       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8937    Maya         L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8938    Malika       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8939    Sherry       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8940    Brandy       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8941    Ebony        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8942    Denika       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8943    Solida       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8944    Malika       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8945    Jebria       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8946    Nicole-AlexisL.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8947    Teonna       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8948    Ruth         L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8949    Yvonne       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8950    Emily        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8951    Shaquilia    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8952    Stephanie L.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8953    Tommie       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8954    Tina         L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8955    Regina       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8956    Chaquila     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8957    Bari         L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8958    Kimberly     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8959    Shantazia L.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8960    Lorie        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8961    Angela       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8962    Annie        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8963    Latricia     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8964    Diana        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8965    Tamikah      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8966    Alice        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8967    Carole       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8968    Leeolther    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1185 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 196 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   8969    Elizabeth   L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8970    Alicia      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8971    Crystal     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8972    Keisha      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8973    Alicia      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8974    Erica       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8975    Lacosica    L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8976    Ava         L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8977    Alicia      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8978    Jewelle     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8979    Shantrell   L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8980    Bonecia     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8981    Ashley      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8982    Yolanda     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8983    Rose        L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8984    Yusbel      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8985    Cheryl      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8986    Marsha      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8987    Jesseca     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8988    Jacquelyn   L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8989    Jamesa      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8990    Donna       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8991    Sheila      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8992    Olga        L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8993    Lois        L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8994    Skyler      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8995    Nawaun      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8996    Shadrika    L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8997    Laney       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8998    Kim         L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   8999    Natasha     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9000    Atelaite    L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9001    Tiffany     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9002    Adrienne    L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9003    Priscilla   L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9004    Brittany    L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9005    Lakasha     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9006    Valeria     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9007    Terrionta   L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9008    Tyanne      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9009    Nitika      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9010    Ceteria     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9011    Shanise     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9012    Bobbie      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9013    Janett      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9014    Pilar       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1186 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 197 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   9015    Brenda      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9016    Lisa        L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9017    Candis      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9018    Lakeidra    L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9019    Tamara      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9020    Desire      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9021    Ternico     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9022    Arika       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9023    Demtrice    L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9024    Brandia     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9025    Amel        L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9026    Trinicia    L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9027    Jessica     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9028    Angela      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9029    Jamie       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9030    Rachel      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9031    Tiffany     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9032    Adrienne    L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9033    Trina       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9034    Lelia       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9035    Crysta      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9036    Cleotil     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9037    Jean        L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9038    Rauquel     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9039    Jelissa     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9040    Marquita    L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9041    Peggy       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9042    Terry       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9043    Chanel      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9044    Stephanie   L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9045    Stacey      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9046    Candace     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9047    Tonesha     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9048    Louvenia    L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9049    Karen       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9050    Paula       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9051    Arianna     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9052    Natasha     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9053    Bonnie      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9054    Mitchelle   L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9055    Ashley      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9056    Desiree     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9057    Sharita     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9058    Chandra     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9059    Dajahane    L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9060    Melissa     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1187 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 198 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   9061    Peggie       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9062    Keisha       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9063    Debreshia    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9064    Sade         L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9065    Deaundria    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9066    Shamiah      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9067    Kimberly     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9068    Vivian       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9069    Preshawna    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9070    Samantha     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9071    Jamie        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9072    Denisha      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9073    Dominique    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9074    Jenai        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9075    Jeanetta     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9076    Cynthia      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9077    Richelle     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9078    Jacqueline   L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9079    Gwendolen    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9080    Cassandra    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9081    Lena         L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9082    Stephanie    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9083    Karlisa      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9084    Christine    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9085    Bernice      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9086    Speranzi     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9087    Miguel       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9088    Irene S.     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9089    Shantal      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9090    Kristi       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9091    Royshonda    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9092    Charmica     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9093    Charlotte    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9094    Jessica      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9095    Nicole       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9096    Britanya     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9097    Krystal      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9098    Chari        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9099    Vannesha     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9100    Shamer       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9101    Martia       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9102    Virginia     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9103    Courtney     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9104    Unique       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9105    Olivia       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9106    Tomeisha     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1188 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 199 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   9107    Parsharie    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9108    Beatrice     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9109    Presha       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9110    Shemekia     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9111    Maudarica    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9112    Destiny      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9113    Dorothiea    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9114    Carla        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9115    Shatarra     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9116    Elene        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9117    Luis         L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9118    Arlene       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9119    Eliyah       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9120    Sheree       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9121    Shalonda     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9122    Monique      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9123    Gloria J     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9124    Suzanne      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9125    Aesha        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9126    Lannay       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9127    Jasmine      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9128    Talisha      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9129    Heather      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9130    Tianna       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9131    Rashaun      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9132    Lauren       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9133    Whitney      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9134    Denise       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9135    Jamelle      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9136    Leah         L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9137    Brittany     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9138    Crihelda     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9139    Latesia      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9140    Chazinque    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9141    Angel        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9142    Darelene     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9143    Raffaella    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9144    Jullianne    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9145    Pamela       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9146    Malissa      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9147    Beth Marie   L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9148    Anastasia    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9149    Jasmine      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9150    Elisha       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9151    Tina         L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9152    Elaine       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1189 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 200 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   9153    Natasha     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9154    Latanya     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9155    Nakia       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9156    Tameka      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9157    Robin       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9158    Colleen     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9159    Connie      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9160    Jeri        L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9161    Miesha      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9162    Bertha      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9163    Keionsha    L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9164    Gloria      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9165    Sarah       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9166    Clemmie     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9167    Beverly     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9168    Mary        L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9169    Georgialynn L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9170    Kim         L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9171    Charana     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9172    Louise      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9173    Angel       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9174    Alfredia    L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9175    Alexis      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9176    Jazmind     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9177    Beverly     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9178    Amber       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9179    Jelisa      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9180    Brenda      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9181    Sepi        L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9182    Petra       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9183    Keeoshi     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9184    Catherine L.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9185    Julianne    L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9186    Heidi       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9187    Lakiesa     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9188    Tonya       L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9189    Seameah L.                      [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9190    Annette     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9191    Suzanne     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9192    Jessica     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9193    Crystal     L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9194    Michelle    L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9195    Marquette L.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9196    Sharnetta L.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9197    Alnita      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9198    Dionne      L.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1190 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 201 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   9199    Sontella   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9200    Denise     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9201    Andrea     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9202    BenevolenceL.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9203    Briante    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9204    Dominique L.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9205    Shanisha   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9206    Tomekia    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9207    Carla      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9208    Darlene    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9209    Destiny    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9210    Valynciah L.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9211    Zuleakia   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9212    Kathleen   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9213    Norma      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9214    Dionne     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9215    Clynaee    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9216    Vanessa    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9217    Shavonda L.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9218    Ebony      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9219    Betty      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9220    Evelyn     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9221    Theresa    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9222    Rose Mary L.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9223    Ivan       L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9224    Sylvia     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9225    Kinya      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9226    Consuelo   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9227    Latreace   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9228    Totiana    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9229    Velencia   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9230    Carrie     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9231    Breanna    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9232    Kathy      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9233    Khair      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9234    Candace    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9235    Montik     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9236    Tequila    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9237    Careesi    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9238    Rebecca    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9239    Camille    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9240    Kristal    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9241    Alaina     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9242    Keyonna    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9243    Cathy      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9244    Megan      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1191 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   9245    Sandra        L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9246    Clarisagale   L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9247    Samantha      L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9248    Kasarri       L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9249    Darlene       L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9250    Catherine     L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9251    Tiese         L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9252    Vilma         L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9253    Virginia      L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9254    Elvira        L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9255    Marisela      L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9256    Shakeema      L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9257    Artemisha     L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9258    Ana           L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9259    Janet         L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9260    Maria         L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9261    Nina          L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9262    Joshonda      L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9263    Angelina      L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9264    Madeline      L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9265    Jennifer      L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9266    Melissa       L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9267    Alexis        L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9268    Leona         L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9269    Concetta      L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9270    Shemeka       L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9271    LaTia         L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9272    Toni          L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9273    Shala         L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9274    Rocquelle     L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9275    Shpale        L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9276    Lanitia       L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9277    Mille         L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9278    Tammy         L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9279    Tamika        L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9280    Danielle      L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9281    Jada          L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9282    Theresa       L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9283    Tina          L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9284    Carmelle      L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9285    Sherita       L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9286    Lashawn       L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9287    Breanna       L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9288    Areiner       L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9289    Latoya        L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9290    Chane         L.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1192 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 203 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   9291    Yolanda    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9292    Angela     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9293    Daphanie   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9294    Ronisha    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9295    Britney    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9296    Janice     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9297    Stacy      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9298    Essence    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9299    Iesha      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9300    Tatiana    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9301    Lenisha    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9302    Janie      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9303    Mckendie L.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9304    Jarita     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9305    Veronica   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9306    Robyn      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9307    Qiana      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9308    Una        L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9309    Lavon      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9310    Kendra     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9311    Gabrielle  L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9312    Makia      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9313    Laraya     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9314    Briana     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9315    Tammy      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9316    Bernice    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9317    Sherelle A L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9318    Ethel      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9319    Ashlyn     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9320    Sherice    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9321    Danielle   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9322    Patricia   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9323    Barbara    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9324    Mirlyn     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9325    Autashia   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9326    Valencia   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9327    Sawan      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9328    Linda      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9329    Valecia    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9330    Shally     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9331    Chavela    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9332    Reeshemah L.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9333    Marguerite L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9334    Yolanda    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9335    Passion    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9336    Tashonda L.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1193 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 204 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   9337    Margaret     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9338    Sylvia       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9339    Linda        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9340    Dawn         L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9341    Mary         L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9342    Quaneshia    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9343    Tiffany      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9344    Brenda       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9345    Josie        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9346    Erica        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9347    Tonia        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9348    Leslie       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9349    Yolanda      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9350    Laneishia    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9351    Hope         L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9352    Jasmine      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9353    Cynthia      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9354    Vikki        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9355    Stephanie    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9356    Stephanie    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9357    Patricia     L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9358    Annie        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9359    Fannie       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9360    Carolyn      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9361    Danza        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9362    Shavon       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9363    Catherine    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9364    Yolanda      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9365    Jamiese      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9366    Sherry       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9367    Gwendolyn    L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9368    Demekia      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9369    Janet        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9370    Alexandria   L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9371    Bobbie       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9372    Lora         L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9373    Myisha       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9374    Velma        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9375    Darlene      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9376    Alithia      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9377    Reva         L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9378    Julie        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9379    Sophie       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9380    Givonne      L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9381    Sheree       L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9382    Sonya        L.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1194 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   9383    Jasmine    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9384    Tamika L   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9385    Sherree    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9386    Keimica    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9387    Marsha     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9388    Sabrina    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9389    Rubisela   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9390    Lorraine   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9391    Luna       L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9392    Lummisha L.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9393    Tarva      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9394    Victoria   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9395    Marla      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9396    Jasmine    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9397    Ganice     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9398    Kyla       L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9399    Nichlah    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9400    Tuesday    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9401    Latrice    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9402    Tyra       L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9403    Phyllis    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9404    Laniece    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9405    Sandra     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9406    Sharon     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9407    Latoya     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9408    JoAnn      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9409    Christene  L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9410    Patricia   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9411    Jacqueline L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9412    Vennessa L.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9413    Laqeisha   L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9414    Sylvia     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9415    Antoinette L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9416    Keyla      L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9417    Latoya     L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9418    Venitia    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9419    Chacity    L.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9420    Roshonda M.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9421    Kyeisha    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9422    Angela     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9423    Keiasha    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9424    Kiara      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9425    Colleen    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9426    Jenna      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9427    Francheska M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9428    Tearra     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1195 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 206 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   9429    ShaAnna     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9430    Darlene     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9431    Raquel      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9432    Domonique M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9433    Whitney     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9434    Ophelia     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9435    Latarsha    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9436    Chanelle    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9437    Ashley      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9438    Shyvonne M.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9439    Katrina     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9440    Tomiqua     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9441    Valencia    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9442    Paula       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9443    Kalani      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9444    Akexis      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9445    Ebony       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9446    Lillie      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9447    Pamela      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9448    Latanya     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9449    Tarisha     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9450    Linda       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9451    Eljeanay    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9452    Bianca      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9453    Renee       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9454    Krystle     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9455    LaGuania M.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9456    Teresa      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9457    Diane       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9458    Rachel      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9459    Jamika      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9460    Lashawntate M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9461    Tiffany     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9462    Barbara     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9463    Rachel      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9464    LaSheika    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9465    Lisa        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9466    Lashonya M.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9467    Conelia     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9468    Evelyn      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9469    Pamela      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9470    Alberta     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9471    Latisha     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9472    Tyisha      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9473    Tyartria    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9474    Angelina    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1196 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   9475    Ebonee     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9476    Dezionne   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9477    Kawana     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9478    Tomeka     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9479    Sierra     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9480    Christina  M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9481    Camesha M.                      [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9482    Tihesha    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9483    Rose       M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9484    Ayanna     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9485    Rashida    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9486    Lafunda    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9487    Gilneshia  M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9488    Linda      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9489    Katheryn   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9490               M.
           Tuavao Connie                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9491    Thi        M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9492    Annis      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9493    Kellie     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9494    Pamela     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9495    Dawn       M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9496    Charie     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9497    Patricia   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9498    Donnette   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9499    Maria      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9500    Tricia     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9501    Renee      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9502    Sabrina    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9503    Jasmine    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9504    Arbertia   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9505    Alexandria M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9506    Mailanda   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9507    Christal   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9508    Cheneria   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9509    Janet      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9510    Patricia   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9511    Champa     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9512    Tanashya M.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9513    Curtistine M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9514    Misty      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9515    Margaret   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9516    Geraldine M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9517    Marie      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9518    Dawn       M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9519    Tommani    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9520    Frances    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1197 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 208 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   9521    Lucretia    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9522    Destiney S M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9523    Sherry      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9524    Kathleen    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9525    Symphonie M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9526    Miasha      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9527    Paula       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9528    Edith       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9529    Jasmine     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9530                M. Tantoy
           Gregoria Grace                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9531    Sheryl      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9532    Amelia      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9533    Valerie     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9534    Sabrina     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9535    Suzanne     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9536    Jennifer    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9537    Kimberly    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9538    Tynesha     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9539    Jaclynn     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9540    Angel       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9541    Imekah      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9542    Mary        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9543    Tamisha     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9544    Taya        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9545    Karol       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9546    Sharwan     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9547    Lenora      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9548    Toni        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9549    Jacquelyn M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9550    Desree      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9551    Pamela      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9552    Carolyn     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9553    Krystal     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9554    Renada      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9555    Briana      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9556    Shalise     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9557    Lillie      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9558    January     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9559    Rochelle    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9560    Candace     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9561    Sharanda M.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9562    Tomeka      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9563    Sheilia     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9564    Sherrill    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9565    Angel       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9566    TeukisiafoouM.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1198 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 209 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   9567    Stacey       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9568    Aundrea      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9569    Taylor       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9570    Alexis       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9571    Rachel       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9572    Denise       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9573    Crystal      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9574    Jessica      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9575    Kianga       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9576    Yavonda      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9577    Estelle      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9578    Cammala      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9579    Ifony        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9580    Latonia      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9581    Amber        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9582    Beulah       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9583    Ebony        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9584    Tiffany      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9585    Tashina      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9586    Alicia       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9587    Loretta      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9588    Debra        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9589    Brittany     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9590    Doris        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9591    Cara         M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9592    Denise       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9593    Alondra      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9594    Mayra        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9595    Isolina      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9596    Carol        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9597    Elizabeth    M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9598    Linda        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9599    Charrisse    M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9600    Danitra      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9601    Alexandria   M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9602    Laquesha     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9603    Victoria     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9604    Sharron      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9605    Quwana       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9606    Julia        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9607    Joanne       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9608    Tabrecka     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9609    Charlene     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9610    Andrea       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9611    Jennifer     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9612    Shante       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1199 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 210 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   9613    Amber        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9614    Letita       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9615    Leah         M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9616    Nekold       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9617    Tamika       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9618    Angel        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9619    Renata       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9620    Shannon      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9621    Anita        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9622    Charne       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9623    Dedra        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9624    Davisha      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9625    Kimberly     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9626    Aisha        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9627    Latanya      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9628    Barbara      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9629    Cheria       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9630    Pamela       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9631    Natalie      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9632    Natalia      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9633    Marcella     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9634    Wanda        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9635    Serita       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9636    Daisha       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9637    Denean       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9638    Martell      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9639    Tina         M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9640    Dalila       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9641    Helen        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9642    Kachae       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9643    Denise       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9644    Kourtlyn     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9645    Zonda        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9646    Jacqueline   M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9647    Charlina     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9648    Lataya       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9649    Kayla        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9650    Jerica       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9651    Quiana       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9652    Patricia     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9653    Kezia        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9654    Starrish     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9655    Shakela      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9656    Sylvia       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9657    Demetria     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9658    Tonia        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1200 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 211 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   9659    Shallanie   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9660    Rella       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9661    Ladrekea    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9662    Timetria    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9663    Judith      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9664    Lizzie      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9665    Gail        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9666    Pamela      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9667    Maxcine     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9668    Raquel      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9669    Nickita L   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9670    Sheronda    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9671    Kasey       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9672    Angela M    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9673    Lori        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9674    Chtuara     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9675    Rodnesha    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9676    Kristen     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9677    Dominique   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9678    Jaquitta    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9679    Tominique   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9680    Mildred     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9681    Stephanie   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9682    Corrina     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9683    Demeisha    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9684    Zarianne    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9685    Crystal     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9686    Yasmine     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9687    Britney     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9688    Maria       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9689    Theresa     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9690    Giselle     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9691    Dashia      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9692    Janel       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9693    Stefanie    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9694    Cynthia     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9695    Diana       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9696    Joanna      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9697    Mildred     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9698    Muneca      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9699    Maria       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9700    Brandi      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9701    Maria       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9702    Kathryn     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9703    Deborah     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9704    Teddie      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1201 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 212 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   9705    Jaquelline   M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9706    Elufemia     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9707    Kerrinisha   M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9708    Nichole      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9709    Elizabeth    M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9710    Bianca       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9711    Maria        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9712    Jennifer     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9713    Stacey       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9714    Deadra       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9715    Anita        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9716    Angelina     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9717    Malia        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9718    Lana         M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9719    Brandi       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9720    Celeste      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9721    Jasma        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9722    Andrea       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9723    Vivian       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9724    Vicki        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9725    Bianca       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9726    Shavonne     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9727    Eva          M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9728    Tamela       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9729    Maria        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9730    Iesha        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9731    Sarah        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9732    Iesha        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9733    Shannel      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9734    Ashley       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9735    Chantelle    M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9736    Ashley       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9737    Toyella      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9738    Maurqoise    M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9739    Kelci        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9740    Julie        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9741    Kelii        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9742    Sherry       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9743    Katherine    M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9744    Joyce        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9745    Latoya       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9746    Christy      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9747    Raynetta     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9748    Lawanda      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9749    Katrina      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9750    Laura        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1202 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 213 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   9751    Unyque       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9752    Latisha      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9753    Ebonie       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9754    Candis       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9755    Patricia     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9756    Suryiah      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9757    Shardonae M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9758    Clovers      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9759    Stephanie M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9760    Tina         M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9761    Michelle     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9762    Sade         M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9763    Jeanne       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9764    Bridgette    M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9765    Crystal      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9766    Carrie       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9767    Maureen      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9768    Orlundraha M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9769    Filicia      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9770    Tina         M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9771    Frankie      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9772    Samara       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9773    Melisa       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9774    Ronnicka     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9775    Meshalay     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9776    Diamond      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9777    Appushuia M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9778    Angela       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9779    Sharde       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9780    Shetoria     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9781    Brenda       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9782    Candace      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9783    Telena       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9784    Andrea       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9785    Melva        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9786    Salena       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9787    Taliia Lynae M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9788    Pearlnia     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9789    Denise       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9790    Rocky        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9791    Deondria     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9792    Wynder       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9793    Carolyn      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9794    Kelly        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9795    Breona       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9796    Denettria    M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1203 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 214 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   9797    Leola      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9798    Lanita     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9799    Shimeki    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9800    Nakeisha   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9801    Monica     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9802    Pamela     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9803               M.
           Rouyeisha Evette                [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9804    Lisa       M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9805    Susan      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9806    Leslie     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9807    Valerie    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9808    Letinnia   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9809    Jackie     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9810    Chinuru    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9811    Nicole     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9812    Kenyetta   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9813    Samara     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9814    Tamesha    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9815    Patricia   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9816    Jbanisha   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9817    Sharmekia M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9818    Valerie    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9819    Mikkia     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9820    Shemaliz   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9821    Claudia    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9822    Portia S   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9823    Tara       M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9824    Michele    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9825    Judith     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9826    Natassi    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9827    Shawanna M.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9828    Mechele    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9829    Tianisha   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9830    Sheri      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9831    Theresa    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9832    Ruth       M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9833    Leslie     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9834    Sierra     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9835    Marcella   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9836    Jeanette   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9837    Jacqueline M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9838    Latanya    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9839    Latoya     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9840    Brandi     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9841    Courtney   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9842    Maria      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1204 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 215 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   9843    Nakai        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9844    Ernestine    M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9845    Rashawna     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9846    Tavia        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9847    Linda        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9848    Tequila      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9849    Misty        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9850    Cynthia      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9851    Yvonne       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9852    Diamita      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9853    Markeshia    M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9854    Robin        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9855    Barbara      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9856    Deborah      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9857    Lawanda      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9858    Melissa      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9859    Ashley       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9860    Jacqueline   M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9861    Michelle     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9862    Keisha       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9863    Michelle     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9864    Alisa        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9865    Alysia       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9866    Debra        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9867    Glynnis      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9868    Natasha      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9869    Sania        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9870    Lanette      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9871    Elaine       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9872    Evelyn       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9873    Erika        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9874    Carita       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9875    Nichole      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9876    Chryl        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9877    Susan        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9878    Dasha        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9879    Elana        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9880    Roslyn       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9881    Alexis       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9882    JoAnn        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9883    Latasha      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9884    Sheryl       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9885    Ashley       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9886    Michelle     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9887    Sarah        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9888    Lashawn      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1205 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 216 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   9889    Marchiondia M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9890    Chenika     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9891    Dalana      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9892    Devina      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9893    Juwana      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9894    Patricia    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9895    Beverly     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9896    Theresa     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9897    Vicki       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9898    Deijah      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9899    Araina      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9900    Michelle    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9901    Naavil      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9902    Regina      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9903    Syvondra    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9904    Kesha       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9905    Annalee     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9906    Melissa     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9907    Nakiya      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9908    Lorna       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9909    Tawana      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9910    Shondra     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9911    Jeree       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9912    Tawana      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9913    Lisa        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9914    Angela      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9915    Pamela      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9916    Pamela      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9917    Delpha      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9918    Verria      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9919    Shiara      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9920    Rachelle    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9921    Yvonne      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9922    Irene       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9923    Shelia      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9924    Nayetta     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9925    Laguana     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9926    Sharma      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9927    Eileen      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9928    Rakijah     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9929    Kathryn     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9930    Pamela      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9931    Vicky       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9932    Leigh       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9933    Tieisha     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9934    Crystal     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1206 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
   9935    Natasha     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9936    Symone      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9937    Ellen       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9938    Kara        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9939    Natalie     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9940    Joamika     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9941    Susan       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9942    Ebony       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9943    LeAndra     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9944    Lekesha     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9945    Adrean      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9946    Kimberly    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9947    Elayja      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9948    Michelle    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9949    Ataucha     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9950    Mia         M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9951    Lashun      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9952    Wilma       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9953    Tana        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9954    Washita     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9955    Erica       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9956    Makayla D   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9957    Tracy       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9958    Tracy       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9959    Kimberly    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9960    LaToyia     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9961    Betty       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9962    Tyeka       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9963    Deonka      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9964    Brittany    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9965    Armagean    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9966    Erica       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9967    Mary        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9968    Shonda      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9969    Jasmine     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9970    Bianca      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9971    Kehosha     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9972    Kathleen    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9973    Deja        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9974    Jalisa      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9975    Jessica     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9976    Aquilla     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9977    Linda       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9978    Janessa     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9979    Tonaya      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
   9980    Julia       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1207 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 218 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  9981     Cathryn     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  9982     Laurice     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  9983     Rhonda      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  9984     Dorothy     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  9985     Anisah      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  9986     Brooke      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  9987     Cynthia     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  9988     Jacquita    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  9989     Krystal     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  9990     Diana       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  9991     Martha      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  9992     Clara       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  9993     Cecelia     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  9994     Tasha       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  9995     Baylis      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  9996     Mahogany    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  9997     Syrinthia   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  9998     Alicia      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  9999     Rachael     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10000    Kyara       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10001    Debra       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10002    Jazmin      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10003    Deborah     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10004    Britany     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10005    Margaret    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10006    Cardelia    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10007    Kerisha     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10008    Rebecca     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10009    Pamela      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10010    Keesha      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10011    Naeaundra   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10012    Diamondh    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10013    Mary        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10014    Brenda      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10015    Tiffiney    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10016    Amy         M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10017    Sheltoria   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10018    Natasha     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10019    Marie       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10020    Kathy       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10021    Ruby        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10022    Danielle    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10023    Patrice     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10024    Pamela      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10025    Stephaine   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10026    Beatrice    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1208 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 219 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  10027    Darline      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10028    Shamar       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10029    Synethra     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10030    Edtwana      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10031    Tenisha      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10032    Alondra      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10033    Venita       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10034    Altamese     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10035    Tjara        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10036    May          M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10037    Jacolyn      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10038    Tiesha       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10039    Jazelle      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10040    Janique      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10041    Takera       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10042    Koreen       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10043    Christina    M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10044    Fredarica    M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10045    Violet       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10046    Yketa        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10047    Kina         M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10048    Keshawn      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10049    Andrea       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10050    Kamesha      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10051    Katherine    M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10052    Melissa      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10053    Keimesha     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10054    Aeisha       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10055    Keisha       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10056    Quartisha    M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10057    Kewanan      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10058    Tangala      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10059    Crystal      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10060    Peggy        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10061    Jacqueline   M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10062    Lynette      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10063    Alpha        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10064    Tyliccea     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10065    Keanna       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10066    Caryn        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10067    August       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10068    Naniva       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10069    Chantay      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10070    Oleshia      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10071    Catherine    M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10072    Uzema        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1209 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 220 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  10073    Tiffany      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10074    Tamer        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10075    Danielle     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10076    Sonya        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10077    Sherry       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10078    Lashawn      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10079    Trenai       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10080    Latoshia     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10081    Anikae       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10082    Madreda      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10083    Terri        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10084    Shatel       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10085    Tiana        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10086    Barbara      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10087    Nichole      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10088    Tiffany      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10089    Tamia        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10090    Trena        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10091    Trina        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10092    William      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10093    Laura        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10094    Tylisha      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10095    Erica        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10096    Tonya        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10097    Patricia     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10098    Genea        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10099    Tammy        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10100    Michelle     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10101    LaDru        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10102    Nicole       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10103    Angela D     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10104    Lillian      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10105    Mekia        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10106    Latoya       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10107    Courtney     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10108    Michelle     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10109    Tracy        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10110    Amanda       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10111    Lushana      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10112    Kimberly     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10113    Tenna        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10114    Krystal      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10115    Consuellas   M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10116    Terra        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10117    Shauna       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10118    Shirley      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1210 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 221 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  10119    Erica      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10120               M.
           Ronnesha Patrice                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10121    Ashley     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10122    Delyn      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10123    Heather    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10124    Denise     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10125    Laveeya    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10126    Dutchess   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10127    Tomeka     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10128    Stephanie M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10129    Katrina    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10130    Tamece     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10131    Tierra     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10132    Sonequa    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10133    Stanecia   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10134    Shakera    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10135    Markisha   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10136    Letha      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10137    Sparkle    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10138    Dia        M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10139    Searena    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10140    Alexa      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10141    Jakalyn    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10142    Johnesha M.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10143    Toyshima M.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10144    Felicia    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10145    Miranda    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10146    Tamara     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10147    Shunae     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10148    Janaye     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10149    Demetrieus M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10150    Rogell     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10151    Alexis     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10152    Delores    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10153    Teresa     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10154    Danita     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10155    Shayla     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10156    Latasha    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10157    Kari       M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10158    Chequalah M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10159    Dominique M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10160    Dorothy    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10161    Shelli     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10162    Shalon     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10163    Kandis     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10164    Amber      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1211 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  10165    Nelterie   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10166    Petra      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10167    Ciji       M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10168    Wanda      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10169    Kerany     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10170    Francine   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10171    Jontazia   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10172    Sheree     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10173    Taileah    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10174    Makeda     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10175    Kiani      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10176    Carol      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10177    Joellyn    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10178    Kameisha M.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10179    Sierra     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10180    Brandy     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10181    Arbynne    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10182    Sherriee   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10183    Tawana     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10184    Shanoal    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10185    Marie      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10186    Misty      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10187    Mary       M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10188    Regina     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10189    Tanasha    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10190    Temetrice M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10191    Roberta    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10192    Briana     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10193    Camille    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10194    Darneeshia M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10195    Chyra      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10196    Deborah    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10197    Randi      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10198    Shanitha   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10199    Lakeitha   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10200    Cierra     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10201    Lauri      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10202    Pebbles    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10203    Aloni      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10204    Avonee     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10205    Jacqueline M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10206    Mary       M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10207    Stephanie M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10208    Jennifer   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10209    Kathleen   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10210    Stephanie M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1212 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 223 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  10211    Maria         M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10212    Darling       M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10213    Rosalina      M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10214    Krystle       M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10215    Anne          M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10216    Bobbi         M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10217    Justine       M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10218    Tameka        M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10219    Mariah        M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10220    Shaniel       M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10221    Sheila        M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10222    Erica         M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10223    Kathy         M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10224    Tiffany       M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10225    Ravyn         M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10226    Erin          M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10227    Bienvenida    M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10228    Nicole        M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10229    Jazmine       M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10230    Nykia         M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10231    Narissa       M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10232    Lady          M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10233    Allie         M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10234    Kelley        M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10235    Kelly         M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10236    Tennisa       M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10237    Lakisha       M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10238    Vicki         M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10239    Lindas        M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10240    Linda         M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10241    Trinity       M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10242    Sparlena      M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10243    Tiricka       M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10244    Jo            M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10245    Yolanda       M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10246    Olga          M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10247    Esmeralda     M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10248    Lucinda       M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10249    Jennifer      M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10250    Elizabeth     M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10251    Ariana        M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10252    Jenny         M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10253    Yoloxochitl   M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10254    Leilani       M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10255    Janet         M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10256    Diana         M.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1213 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 224 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  10257    Aurelia      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10258    LaDina S     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10259    Melisa       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10260    Belinda      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10261    Bernadette   M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10262    Rashidah     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10263    Antonica     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10264    Laquita      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10265    Stephanie    M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10266    Melissa      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10267    Tasha        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10268    Schanell     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10269    Mickey       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10270    Katherine    M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10271    Eva          M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10272    Kaylenn      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10273    Priscilla    M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10274    Carlisa      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10275    Dawn         M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10276    Jessica      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10277    Renika       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10278    Andrea       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10279    Tammy        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10280    Danny        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10281    Krista       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10282    Jeanne       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10283    Barbara      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10284    Sonia        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10285    Mabel        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10286    Mandi        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10287    Likisha      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10288    Marchelle    M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10289    Selicia      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10290    Janice       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10291    Lorine       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10292    Lekeasha     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10293    Zoraida      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10294    Debra        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10295    Latosha      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10296    Marcia       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10297    Saundra      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10298    Eva          M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10299    Teresa       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10300    Jackie       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10301    Anita        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10302    Tanisha      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1214 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 225 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  10303    Elizabeth  M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10304    Tanisha    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10305    Tonda      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10306    Bertha     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10307    Kisha      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10308    Gloria     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10309    Deborah    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10310    CharqweshiaM.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10311    Ebony      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10312    Debbie     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10313    Latricesa  M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10314    Shaquenta M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10315    Elanda     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10316    Chanera    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10317    Rebekka    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10318    Sherri     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10319    Katrina    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10320    Ursula     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10321    Tanisha    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10322    DatuanneshaM.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10323    Jacorria   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10324    Brittni    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10325    Estela     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10326    Carolyn    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10327    Myeisha    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10328    Andra      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10329    Anita      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10330    Khinya     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10331    Charice    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10332    Tyra       M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10333    Tamika     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10334    Tammy      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10335    Jacquetta M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10336    Jacqueline M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10337    Stanniesha M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10338    Virginia   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10339    Kimberlia  M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10340    Karen      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10341    Takeira    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10342    Khoseca    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10343    Kisha      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10344    Helen      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10345    Shereesa   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10346    Christina  M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10347    Beverly    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10348    Marie      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1215 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 226 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  10349    Sierra    M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10350    Keshawna M.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10351    Harriett  M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10352    Nyanza    M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10353    Christen  M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10354    Jenie     M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10355    Tranisha  M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10356    Robin     M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10357    Rosa      M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10358    Wendy     M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10359    Dore      M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10360    Martha    M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10361    Yvonne L. M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10362    Serena    M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10363    Mechel    M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10364    Hope      M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10365    Felisha   M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10366    Tameka    M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10367    Daisy     M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10368    Ashley    M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10369    Keisha    M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10370    Denequa   M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10371    Alicia    M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10372    Ashalah   M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10373    Laquanza M.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10374    Shannon   M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10375    Atyia     M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10376    Michelle  M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10377    Rodgina   M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10378    Shenequia M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10379    Elizabeth M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10380    Rachel    M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10381    Shajuana  M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10382    Georgia   M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10383    Anita     M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10384    Charmayna M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10385    Kymberlie M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10386    Mahogany M.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10387    Dasia     M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10388    Jennifer  M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10389    April     M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10390    Hollie    M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10391    Denise    M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10392    Misha     M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10393    Mareika   M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10394    Makeba    M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1216 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 227 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  10395    Seyega       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10396    Sharee       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10397    Charlotte    M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10398    Tanya        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10399    Aurora       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10400    Laska        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10401    Maya         M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10402    Wanikie      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10403    Alicia       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10404    Janee        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10405    Rosalyn      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10406    Henrietta    M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10407    Stephanie    M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10408    Tina         M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10409    Beverly      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10410    Jessica      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10411    Portia       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10412    Apryl        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10413    Diamond      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10414    Shaundra     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10415    Sheila       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10416    Annette      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10417    Akilah       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10418    Michele      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10419    Shanteral    M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10420    Charlene     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10421    Nieisha      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10422    Katrina      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10423    JoAnn        M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10424    Rosa         M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10425    Alma         M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10426    Yvonne       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10427    Mary         M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10428    Judy         M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10429    Gerrika      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10430    Latarsha     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10431    Tiffany      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10432    Tamekia      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10433    Whitney      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10434    Elnora       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10435    Charsalynn   M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10436    Osha'tae     M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10437    Katrina      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10438    Chelsea      M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10439    Audrey       M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10440    Shunarion    M.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1217 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 228 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  10441    Zabrina    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10442    Ashley     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10443    Yamzel     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10444    Kanika     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10445    Rachell    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10446    Renee      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10447    Carolyn    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10448    Linda      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10449    Nichele    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10450    Niki       M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10451    Christal   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10452    Chatara    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10453    Wanda      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10454    Rene       M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10455    Sandra     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10456    Janet      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10457    Angela     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10458    Mary       M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10459    Vonetta    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10460    Ericka     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10461    Evelyn     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10462    Sherondee M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10463    Monique    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10464    Kristian   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10465    Samantha M.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10466    Stephanie M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10467    Gloria     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10468    Kendra     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10469    Lakisha    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10470    Janel      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10471    Jordonn    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10472    Jewel      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10473    Beverly    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10474    Erica      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10475    Heaher     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10476    Darlene    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10477    Brandy     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10478    Monica     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10479    Dinora     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10480    Robin      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10481    Shaona Kay M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10482    Aja        M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10483    Robbie May M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10484    Cynthia    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10485    Jetayonna M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10486    Chasidy    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1218 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 229 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  10487    Nadia     M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10488    Mary      M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10489    Doris     M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10490    Imani     M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10491    Teniqua   M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10492    Nema      M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10493    Latasha   M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10494    Kimberly  M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10495    Sarah     M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10496    Ifeyinwa  M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10497    Latesha   M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10498    Jessica   M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10499    Chantel   M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10500    Sheila    M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10501    Wendy     M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10502    Alicia    M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10503    Kelli     M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10504    Rica      M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10505    Shatoya   M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10506    Manouchca M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10507    Vincia    M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10508    Karen     M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10509    Erika     M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10510    Shawshona M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10511    Erica     M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10512    Shareika  M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10513    Betty     M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10514    Jennifer  M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10515    Patricia  M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10516    Zenita    M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10517    Marquita  M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10518    Lakesha   M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10519    Yashonda M.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10520    Victoria  M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10521    Qiena     M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10522    Shanette  M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10523    Keira     M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10524    Rickeena  M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10525    Melinda   M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10526    Jasmine   M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10527    Morgan    M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10528    Arianna   M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10529    Dianne    M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10530    Awilda    M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10531    Stephanie M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10532    Maria     M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1219 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  10533    Evony      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10534    Marquita   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10535    Kena       M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10536    Cassandra M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10537    Hawa       M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10538    Vaneesea M.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10539    Meshia     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10540    Christina  M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10541    Cynthia    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10542    Nia        M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10543    Autumne    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10544    Tracy      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10545    Corlis     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10546    Nina       M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10547    Tierika    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10548    Germeshia M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10549    Lisa       M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10550    Kimberly   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10551    LaRonda    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10552    Aria       M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10553    Susan      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10554    Whitney    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10555    Denise     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10556    Sheila     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10557    Lisa       M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10558    Tarallah   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10559    Latonda    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10560    Tracy      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10561    Andrea     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10562    Latosha    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10563    Chanel     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10564    Latrecia   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10565    Caroline   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10566    Elizabeth  M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10567    Janice     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10568    Vivica     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10569    Antwanesha M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10570    Charlene   M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10571    Tierra     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10572    Jacqueline M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10573    Rhonda     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10574    Keonna     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10575    Julysa     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10576    Brandi     M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10577    Lanzy      M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10578    Valerie    M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1220 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  10579    Donella     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10580    Tameika     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10581    Norma       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10582    Dawn        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10583    Tra'nisha   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10584    Shannise    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10585    Elizabeth   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10586    Tanesha     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10587    Cheree      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10588    Nicole      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10589    Samantha M.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10590    Melvena     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10591    Joanna      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10592    Shamaron M.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10593    Beverly     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10594    Sarah       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10595    Christina   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10596    Sherrilyn   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10597    Nakia       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10598    Pamela      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10599    Kierra      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10600    Diane       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10601    Jannie      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10602    Debra       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10603    Lashaunette M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10604    Tamika      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10605    Betty       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10606    Shirley     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10607    Yasmin      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10608    Gena        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10609    Akilah      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10610    TarashumikaM.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10611    Menione     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10612    Cecily      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10613    Latasha     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10614    Adriane     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10615    Porsha      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10616    Latravia    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10617    LaDrea      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10618    Lakisha     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10619    Latoya      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10620    Shontee     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10621    Carla       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10622    Neffertiti  M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10623    Angela      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10624    Dorothy     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1221 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 232 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  10625    Martteshia M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10626    Crystal     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10627    Sylvia      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10628    Beth        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10629    Nashua      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10630    Trenecia    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10631    Tamaurya M.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10632    Diamond     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10633    Antoniesha M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10634    Nashliua    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10635    Unique      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10636    Qwana       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10637    Alesha      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10638    Shirley     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10639    Arnetha     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10640    Virginia    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10641    Bridgette   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10642    Lawonia     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10643    Lisa        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10644    Shannon     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10645    Linda       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10646    Fay J       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10647    Sharon      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10648    Jennifer    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10649    Tania       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10650    Lakeesha M.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10651    Ayondela    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10652    Floreece    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10653    Ayanna      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10654    Andrea      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10655    Joyshala    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10656    Yolanda     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10657    Sherkila    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10658    Lakesia     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10659    Yolanda     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10660    Shenisha    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10661    Amanda      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10662    Sherise     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10663                M.
           Tyeesha Bailey                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10664    Sakira      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10665    Kimeon      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10666    Erika       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10667    Alyssia     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10668    Dinisia     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10669    Xanthea     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10670    Reanna      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1222 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 233 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  10671    Equilla     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10672    Kimberly    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10673    Donna       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10674    Miesha      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10675    Mychal      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10676    Christina   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10677    Kenia       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10678    Kaneisha    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10679    Jennifer    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10680    Tiffany     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10681    Phyllis     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10682    Glenna      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10683    Evony       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10684    Lanita      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10685    Kutaina     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10686    April       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10687    Christina   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10688    Rachel      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10689    Monique     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10690    Aireal      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10691    Patricia    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10692    Yolanda     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10693    Pascal      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10694    Alicia      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10695    Tamekia     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10696    Dannitza    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10697    Melissa     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10698    Bertha      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10699    Alexis      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10700    Sylvia      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10701    Tamiko      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10702    Amea        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10703    Mary        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10704    Samantha    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10705    Patrina     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10706    Sade        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10707    Chantel     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10708    Naomie      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10709    Yolanda     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10710    Tanisha     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10711    Laura       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10712    Marie       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10713    Michelle    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10714    Heather     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10715    Kimberly    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10716    Marilyn     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1223 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 234 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  10717    Ashley      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10718    Irene       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10719    Deborah     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10720    Jo          M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10721    Nicole      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10722    Deborah     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10723    Lesley      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10724    Shanee      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10725    Tasslin     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10726    Donna       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10727    Jasmine     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10728    Deborah     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10729    Jamie       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10730    Lakeisha    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10731    Katherine   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10732    Shawna      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10733    Crystal     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10734    Nichell     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10735    Latavia     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10736    Katrina     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10737    Lavinia     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10738    Delores     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10739    Cynthia     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10740    Alexzandria M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10741    Mesha       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10742    Lisa        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10743    Crystal     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10744    Esmeralda M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10745    Keich       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10746    Grace       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10747    Lillian     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10748    Celeste     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10749    Glenda      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10750    Shanta      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10751    Ebony       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10752    Taisha      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10753    Judith      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10754    Stephany    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10755    Christina   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10756    Tammye      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10757    Billie      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10758    Marilyn     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10759    Tequila     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10760    Stephanie M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10761    Krystal     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10762    Kennitha    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1224 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 235 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  10763    April       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10764    Monica      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10765    Myshonda    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10766    Jihan       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10767    Alisha      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10768    Margie      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10769    Tella       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10770    Tiyawna     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10771    Lateesha    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10772    Tiffany     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10773    Keyla       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10774    Chelsea     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10775    Marquita    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10776    Remeisha    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10777    Candy       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10778    Sparkel     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10779    Karen       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10780    Jazell      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10781    Kellie      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10782    Deborah     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10783    Michelle    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10784    Monique     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10785    Darlene     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10786    Felicia     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10787    Janae       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10788    Monica      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10789    Ieshia      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10790    Rocquel     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10791    Tawanda     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10792    Sally       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10793    Denise      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10794    Laquetta    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10795    Gwendolyn   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10796    Essie       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10797    Neva        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10798    Keisha      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10799    Hope        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10800    Sermetra    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10801    Pamela      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10802    Destiny     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10803    Shelia      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10804    Janae       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10805    LaSchele    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10806    Daijhanet   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10807    Lisa        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10808    Genda       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1225 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 236 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  10809    Shandra     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10810    Alexus      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10811    Sharolyn    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10812    Keseiya     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10813    Sonya       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10814    Cassandra   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10815    Genese      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10816    Bria        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10817    Monet       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10818    Danteon     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10819    Yolanda     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10820    Wima        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10821    Carnesha    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10822    Michael     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10823    Samantha    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10824    Nachaun     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10825    Sherenell   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10826    Tamika      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10827    Tarishia    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10828    Cheliese    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10829    Shereatha   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10830    Jessica     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10831    Denise      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10832    Audrey      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10833    Anetrys     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10834    Tyrisha     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10835    Kathy       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10836    Stella      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10837    Aiesha      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10838    Nikkindra   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10839    Jenelle     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10840    Terrica     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10841    Carlette    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10842    Tamara      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10843    Amie        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10844    Lashanta    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10845    Pamela      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10846    Marikee     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10847    Karen       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10848    Rasheeda    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10849    Nakia       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10850    Karimah     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10851    Aaida       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10852    Saleema     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10853    Jamiylah    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10854    Ruqaiyah    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1226 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 237 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  10855    Shalon      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10856    Raquida     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10857    Tricia      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10858    Raquesha    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10859    Zakkiyya    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10860    Idina       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10861    Shamieka    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10862    Rebecca     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10863    Lynn        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10864    Teresa      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10865    Amanda      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10866    Beverly     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10867    Elijah      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10868    Veronica    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10869    Shante      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10870    Shahidah    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10871    Ameera      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10872    Brittney    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10873    Monique     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10874    Abigail     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10875    Rosa        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10876    Kawana      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10877    Lucrecia    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10878    Cecoy       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10879    Ciera       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10880    Latasha     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10881    Ashley      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10882    Petra       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10883    Penny       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10884    Sandra      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10885    Barbara     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10886    Steve       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10887    Latisha     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10888    Erika       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10889    Darlisa     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10890    Kenyatta    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10891    Adrienne    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10892    Taylor      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10893    Markesha    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10894    Brittney    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10895    LaDonna     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10896    Lashonda    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10897    Melissa     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10898    Sondra      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10899    Sandrea     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10900    Tecarra     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1227 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 238 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  10901    Michelle    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10902    Felecia     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10903    Truth       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10904    Sanquinette M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10905    Kasey       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10906    Mary        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10907    Asia        M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10908    Kassandra M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10909    Vanessa     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10910    Dianna      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10911    Shanika     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10912    Christine   M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10913    Casandra M.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10914    Brenda      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10915    Gloria      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10916    Elise       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10917    Tamara      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10918    Vernessa    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10919    Nykisha     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10920    Frances     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10921    Deborah     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10922    Rocheryl    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10923    Kim         M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10924    Tamara      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10925    Wilhelmina M.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10926    Patricia    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10927    Betty       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10928    Kyiesha     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10929    Chanequa M.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10930    Jamira      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10931    Brittney    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10932    Angela      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10933    Rosemary M.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10934    Martha      M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10935    Lenaysia    M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10936    Kristie     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10937    Barbara     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10938    Melissa     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10939    Latasha     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10940    Angelique M.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10941                M.
           Ashley Maxine                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10942    Racheal     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10943    Shannon     M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10944    Shari       M.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10945    Tia         N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10946    Lindsay     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1228 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 239 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  10947    Robin       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10948    Jennifer    N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10949    Shireen     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10950    Beverly     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10951    Shari       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10952    Janeva      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10953    Ida         N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10954    Traci       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10955    Cathy       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10956    Octavia     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10957    Jazmyn      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10958    Debbie      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10959    Linda       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10960    Kalor       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10961    Erika       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10962    Charity     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10963    Stephanie   N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10964    Zayra       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10965    Lashonda    N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10966    Angel       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10967    Faith       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10968    Brittney    N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10969    Kaela       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10970    Roshawn     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10971    Labrisha    N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10972    Veronica    N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10973    Annette     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10974    Princess    N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10975    Teresa      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10976    Tamika      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10977    Shneirdre   N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10978    Dominique   N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10979    Leta        N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10980    Natalie     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10981    Jefferia    N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10982    Kaneisha    N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10983    Akira       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10984    Crystal     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10985    Samanda     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10986    Tameka      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10987    Tameka      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10988    Tanisha     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10989    Shanice     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10990    Tanisha     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10991    Leona       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10992    Amy         N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1229 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 240 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  10993    Theresa     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10994    Christina   N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10995    Danaysha    N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10996    Santana     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10997    Kenyatte    N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10998    Vivian      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  10999    Robin       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11000    Sheretta    N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11001    Denisha     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11002    Minnie      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11003    Latisha     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11004    Kay         N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11005    Phillis     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11006    Keayra      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11007    Trenice     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11008    Margaret    N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11009    Tammy       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11010    Lashaunda   N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11011    Velvet      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11012    Erika       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11013    Pamela      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11014    Alesha      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11015    Takeisha    N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11016    Shandria    N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11017    LaToyia     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11018    Telissa     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11019    Kandice     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11020    Ida         N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11021    Aja         N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11022    Ernestine   N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11023    Sharmelle   N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11024    Pricilla    N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11025    Shebrekia   N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11026    Trineka     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11027    April       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11028    Tabitha     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11029    Jalyn       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11030    Riquel      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11031    Dasha       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11032    Coral       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11033    Mechelle    N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11034    Darlene     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11035    Denetra     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11036    Patricia    N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11037    Nicole      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11038    Kesha       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1230 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  11039    Cassandra N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11040    Shawnetta N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11041    Mary      N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11042    Sherita   N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11043    Latricia  N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11044    Mercedes N.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11045    Jennie    N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11046    Brittany  N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11047    Veronica  N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11048    Tammy     N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11049    Paulette  N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11050    Kawanna   N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11051    Donna     N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11052    Brittani  N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11053    Kristina  N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11054    Loretta   N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11055    Nichet    N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11056    Dominic   N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11057    Brittney  N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11058    Kaila     N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11059    Rhoda     N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11060    Brandy    N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11061    Odessa    N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11062    Christy   N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11063    Mfeeomeah N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11064    Shante    N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11065    Autumn    N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11066    Kammeron N.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11067    Tasha     N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11068    Desiree   N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11069    Tracy     N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11070    Shelly    N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11071    Alecia    N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11072    Norma     N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11073    Honoree   N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11074    Rose      N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11075    Krystal   N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11076    Erica     N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11077    Angela    N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11078    Helen     N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11079    Sharon    N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11080    Bernice   N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11081    Natasha   N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11082    Edith     N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11083    Pearlie   N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11084    Du Juana  N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1231 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  11085    Sheterra R   N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11086    Janice       N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11087    Sandra       N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11088    Latasha      N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11089    Mahlia       N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11090    Erica        N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11091    Octavia      N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11092    Tiona        N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11093    Jennifer     N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11094    Lynneta      N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11095    Rasheena     N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11096    Tiffany      N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11097    Brandy       N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11098    Ashley       N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11099    Joyce        N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11100    Michelle     N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11101    Samely       N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11102    Lucille      N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11103    Marjorie     N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11104    Antonisha    N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11105    Linda        N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11106    Tiffany      N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11107    Sabrina      N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11108    Ervina       N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11109    Sandra       N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11110    Diane        N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11111    Jessica      N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11112    Deadra       N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11113    Tabitha      N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11114    Carolyn      N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11115    Darlene      N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11116    Barbara      N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11117    Donna        N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11118    Kirkisha     N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11119    Elite        N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11120    Crystal      N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11121    Frankie      N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11122    Tracey       N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11123    Elizabeth    N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11124    Latoya       N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11125    Donna        N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11126    Heather      N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11127    Tasha        N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11128    Felicia      N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11129    Melissa      N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11130    Precious     N.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1232 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 243 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  11131    Kenya       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11132    Tachara     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11133    Patty       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11134    Marian      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11135    Shunterica N.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11136    Erica       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11137    Lashay      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11138    Betsy       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11139    Donna       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11140    Tara        N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11141    Damekia     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11142    Stephanie N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11143    Dachanda N.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11144    Shandell    N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11145                N.
           Stephanie Yolanda               [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11146    Frances     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11147    Linda       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11148    Jelando     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11149    Yolanda     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11150    Delandra    N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11151    Chasity     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11152    Ponda       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11153    Bisa        N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11154    Kenya       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11155    Endya       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11156    Shanon      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11157    Latoya      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11158    Nicole      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11159    Debbie      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11160    Georgil     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11161    Erica       N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11162    Geraldine N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11163    Dorian      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11164    Deanna      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11165    Tidarat     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11166    Jannette    N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11167    Melonie     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11168    Carolyn     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11169    Tomika      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11170    Olivia      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11171    Odette      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11172    Jennifer    N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11173    Chermane N.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11174    Gregory     N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11175    Shelly      N.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11176    Gwendolyn N.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1233 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 244 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  11177    Charlise M.   N.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11178    Teresa        N.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11179    Darlene       N.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11180    Darline       O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11181    Barbara       O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11182    Deborah       O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11183    Marla         O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11184    Meshaun       O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11185    Picola        O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11186    Rotasha       O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11187    Tanesha       O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11188    Jenay D       O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11189    Evgenia       O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11190    Doreen        O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11191    Anquinett     O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11192    Larissa       O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11193    Gregnishe     O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11194    Elizabeth     O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11195    Janasha       O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11196    Carol         O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11197    Erica         O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11198    Chandra       O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11199    Vera          O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11200    Becky         O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11201    Daajai        O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11202    Latondria     O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11203    Yvette        O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11204    Tressa        O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11205    Uchenna       O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11206    Nakia         O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11207    Tamela        O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11208    Pennie        O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11209    Michele       O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11210    Yoko          O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11211    Christie      O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11212    Sharan        O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11213    Charmaine     O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11214    Lily          O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11215    Aforo         O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11216    Corita        O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11217    Sharon        O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11218    Akia          O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11219    Justine       O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11220    Anthony       O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11221    Tyra          O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11222    Javon         O.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1234 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 245 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  11223    Yvonn     O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11224    Debra     O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11225    Tekia     O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11226    Taneka    O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11227    Deoniesha O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11228    Beverly   O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11229    Barbara A O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11230    Tomeko    O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11231    Tanisha   O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11232    Trinice   O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11233    Charisse  O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11234    Lakesha   O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11235    Linda     O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11236    Marilyn   O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11237    Lillie    O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11238    Evelyn    O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11239    Nyoka     O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11240    Tricia    O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11241    Belinda   O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11242    Anouk     O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11243    Danelle   O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11244    Sandra    O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11245    Rachel    O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11246    Rosie     O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11247    Omnee     O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11248    Armineh   O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11249    Faith     O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11250    Kenita    O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11251    Bianca    O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11252    Whisper   O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11253    Micki     O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11254    April     O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11255    Freida    O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11256    Cassandra O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11257    Coleen    O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11258    Cassie    O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11259    Maria     O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11260    Stella    O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11261    Cecilia   O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11262    Elizabeth O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11263    Barbara   O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11264    Maxine    O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11265    Rebecca   O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11266    Cecilia   O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11267    Regina    O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11268    Lashwanda O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1235 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 246 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  11269    Claudine   O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11270    Michelle   O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11271    Lashawnda O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11272    Erika      O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11273    Hazel      O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11274    Cristina   O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11275    Maria      O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11276    Antonia V. O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11277    Patricia   O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11278    Sarah      O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11279    Jennie     O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11280    Angela M. O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11281    Elizabeth  O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11282    Erica      O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11283    Angelica   O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11284    Yvonne     O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11285    Wanda      O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11286    Jalen      O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11287    Araseli    O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11288    Anacelia   O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11289    Olga       O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11290    Micaela    O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11291    Linda      O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11292    Tanya      O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11293    Burmadean O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11294    Patricia   O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11295    Abimbola   O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11296    Brenda     O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11297    Donna      O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11298    Paula      O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11299    Patricia   O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11300    Roberta    O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11301    Angelika   O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11302    Clarissa   O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11303    Leniqua    O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11304    Gloria     O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11305    Jayeren    O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11306    Ella       O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11307    Tyonna     O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11308    Jowayn     O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11309    Jasmine P O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11310    Mercedes O.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11311    Penny      O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11312    Marqutia   O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11313    Kina       O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11314    Jahairy    O.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1236 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 247 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  11315    Loletia     O.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11316    Shonetish O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11317    Otisha      O.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11318    Rachel      O.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11319    Yolonda     O.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11320    Keisha      O.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11321    Linda       O.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11322    Joyce       O.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11323    Latonja     O.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11324    Kiara       O.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11325    Lamona      O.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11326    Sheila      O.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11327    Kimberly    O.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11328    Thasha      O.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11329    Machelle    O.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11330    Pamela      O.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11331    Tamika      O.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11332    Latasha     O.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11333    Qiana       O.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11334    Tiffany     O.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11335    Laporchea O.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11336    Calandra    O.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11337    Charlette   O.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11338    LaRonda     O.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11339    Taneka      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11340    Michele     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11341    Jeannivee P.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11342    Zariana SadeP.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11343    Crystal     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11344    Janee       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11345    Josie       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11346    Norma       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11347    Catherine P.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11348    Roxanne     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11349    Erica       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11350    Natoya      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11351    Chyna       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11352    Sandra      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11353    Terry       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11354    Yvette      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11355    Bonita      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11356    Markesha P.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11357    Latrice     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11358    Fannie      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11359    Patrice     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11360    Chelsea     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1237 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 248 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  11361    Angelica     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11362    April        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11363    Viletta      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11364    Reymishia    P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11365    Jatawni      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11366    Luz          P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11367    Gayle        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11368    Bernadette   P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11369    Christie     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11370    Nakeisha     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11371    Roberta      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11372    Antonia      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11373    Edna         P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11374    Azhane       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11375    Maria        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11376    Nicole       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11377    Dashenaye    P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11378    Kamari       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11379    Leritha      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11380    Latasha      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11381    Tracey       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11382    Donna        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11383    Kim          P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11384    Kelly        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11385    Frances      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11386    Janice       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11387    Catherine    P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11388    Alena        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11389    Latoya       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11390    Johnella     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11391    Maquinta     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11392    Ashanti      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11393    Michele      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11394    Latisha      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11395    Sharon       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11396    Latoya       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11397    Kalyn        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11398    Amore        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11399    Kya          P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11400    Mary         P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11401    Kizzy        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11402    Darla        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11403    Akimi        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11404    Ouida        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11405    Daynelle     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11406    Antigone     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1238 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 249 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  11407    Linda       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11408    Deanna      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11409    Sheena      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11410    Gayle       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11411    Tasha       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11412    Kiva        P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11413    Stacey      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11414    Annette     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11415    Yvonne      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11416    Jameka      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11417    Keturah     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11418    Marquia     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11419    Claudia     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11420    Sandra      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11421    Vickie      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11422    Tonya       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11423    Tabitha     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11424    Latoya      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11425    Brandy      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11426    Patrice     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11427    Arnisha     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11428    Nauisha     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11429    Ashley      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11430    Nikkara     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11431    Varnice     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11432    Jessy       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11433    Keshana     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11434    Kylia       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11435    Asmodeus    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11436    Jamie       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11437    Bettie      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11438    Peatra      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11439    Chandra     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11440    Symone      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11441    Regina      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11442    Betty       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11443    Ramona      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11444    Keiva       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11445    Amanda      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11446    Jayne       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11447    Yessica     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11448    Michelle    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11449    Ashae       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11450    Joyce       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11451    Ciara       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11452    Darnecha    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1239 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 250 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  11453    Appolonia P.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11454    Alyissa     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11455    Annquaneen P.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11456    Mary        P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11457    Lindsey     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11458    Tharah      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11459    Patricia    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11460    Drelinda    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11461    Jean        P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11462    Markesha P.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11463    Sabrina     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11464    Deborah     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11465    Rhonna      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11466    Shelly      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11467    Marjorie    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11468    Kristin     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11469    Delores     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11470    Anita       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11471    Cathy       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11472    Crystal     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11473    Winter      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11474    Jackqualine P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11475    Britany     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11476    Chanice     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11477    Danielle    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11478    Lucille     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11479    Ahjee       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11480    Donna       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11481    Denise      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11482    Lovie       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11483    Shamika     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11484    Shateira    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11485    Alicia      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11486    Wendy       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11487    Towanna     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11488    Leann       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11489    Ukari       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11490    Anastasia P.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11491    Marie       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11492    Tracy       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11493    Debbianna P.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11494    Sharice     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11495    Vonetta     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11496    Lakeisha    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11497    Kristin     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11498    Lola        P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1240 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 251 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  11499    Eboni        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11500    Chanice      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11501    Nykia        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11502    Daisy Lee    P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11503    Jennene      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11504    Keesha       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11505    Florine      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11506    LaSonta      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11507    Kimberly     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11508    Leoneice     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11509    Sparkle      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11510    Diamond      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11511    Tiffany      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11512    Ashley       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11513    Miochia      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11514    Ashonti      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11515    Antoinette   P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11516    Kisha        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11517    Jacqueline   P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11518    Latoya       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11519    Laketha      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11520    Sharhonda    P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11521    Felishea     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11522    Jessica      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11523    Treta        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11524    Danielle     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11525    Tiffany      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11526    J’nae        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11527    Tracy        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11528    Christine    P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11529    Latasha      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11530    Deborah      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11531    Lillie       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11532    Cynthia      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11533    Deshawna     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11534    Frankie      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11535    Jacqueline   P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11536    Lindsay      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11537    Marcia       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11538    Sundra       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11539    Trebiane     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11540    Tandria      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11541    Lynze        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11542    Jamie        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11543    Sabrina      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11544    Tashay       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1241 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  11545    Melissa      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11546    Dallesia     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11547    Tikisha      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11548    Shakya       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11549    Cynthia      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11550    Penny        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11551    Brenda       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11552    April        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11553    Aneesah      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11554    Brandy       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11555    Melissa      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11556    Macey        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11557    Angia        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11558    Shakiyla     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11559    Nicole       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11560    Vala         P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11561    Quiana       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11562    Candace      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11563    Phyllis      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11564    Lakia        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11565    Sherry       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11566    Teresa       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11567    Janice       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11568    Michael B    P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11569    Beverly      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11570    Janice       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11571    Ykeva        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11572    Kelley       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11573    Emma         P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11574    Demeka       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11575    Kathryn      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11576    Carolyn      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11577    Betty        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11578    Banny        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11579    Trisha       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11580    Remcey       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11581    Brieana      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11582    Anisha       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11583    Maria        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11584    Kiana        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11585    Suzanne      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11586    Jacqueline   P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11587    Niesha       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11588    Dalea        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11589    Barbara      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11590    Joyce        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1242 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 253 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  11591    Susan       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11592    Jean        P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11593    Pam         P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11594    Betty       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11595    Lilly       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11596    Princess    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11597    Kayla       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11598    Amber       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11599    Syreeta     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11600    Lakedria    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11601    Raynisha    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11602    Shamilla    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11603    Lekchisa    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11604    Wynetta     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11605    Marlene     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11606    Maralee     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11607    Tamara      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11608    Cheryl      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11609    Ariana      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11610    Latresa     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11611    Destiney    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11612    Deborah     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11613    Shirley     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11614    Samantha    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11615    Jennifer    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11616    Justine     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11617    Isbel       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11618    Maria       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11619    Mary        P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11620    Zenaida     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11621    Erika       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11622    Yoanka      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11623    Angela      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11624    Elizabeth   P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11625    Sandra      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11626    Claudia     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11627    Michelle    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11628    Yanelle     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11629    Debbie      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11630    Sonia       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11631    Marianna    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11632    Mary        P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11633    Myisha      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11634    Lataya      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11635    Laquinta    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11636    Gina        P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1243 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 254 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  11637    Nakita       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11638    Channise     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11639    Diamond      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11640    Molenea      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11641    Kaylah       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11642    Crystal      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11643    Sandra       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11644    Sophia       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11645    Tiffany      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11646    Omonique     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11647    Ciano        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11648    Skylar       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11649    Alexandria   P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11650    Charlene     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11651    Sharon       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11652    Christina    P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11653    Bonnie       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11654    Jasmine      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11655    Judith       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11656    Yvonne       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11657    Dashay       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11658    Yasmenn      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11659    Asia         P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11660    Jennifer     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11661    Alfreda      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11662    Olivia       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11663    Brandy       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11664    Tyesha       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11665    Phalyn       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11666    Kiafa        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11667    Doris        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11668    Rena         P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11669    Abrianna     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11670    Leon         P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11671    Tenele       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11672    Tawana       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11673    Dominique    P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11674    Sheena       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11675    Anita        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11676    Randi        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11677    Keydra       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11678    Pauline      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11679    Talethea     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11680    Shawnta      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11681    Tekia        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11682    Gatanya      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1244 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 255 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  11683    Dana          P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11684    Priss         P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11685    Krystal       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11686    Camia         P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11687    Alicia        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11688    Turise        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11689    Ashley        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11690    Tiera         P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11691    Khalilah      P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11692    Alice         P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11693    Delesia       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11694    Katelynn E.   P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11695    Nicole        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11696    Jaunice       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11697    Doris         P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11698    Natasha       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11699    Mallori       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11700    Briana        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11701    Ruth          P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11702    April         P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11703    Amanda        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11704    Katherine     P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11705    Myishea       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11706    Jennifer      P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11707    Melody        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11708    Latiesha      P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11709    Gail          P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11710    Tamara        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11711    Brandi        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11712    Caylon        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11713    Erlene        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11714    Renia         P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11715    Tanisha       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11716    Rita F        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11717    Tishunia      P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11718    Latanya       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11719    Renea         P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11720    Lisa          P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11721    Nicola        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11722    Tonika        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11723    Lori          P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11724    Starlet       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11725    Marquettia    P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11726    Keshee        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11727    Sally         P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11728    Mariah        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1245 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  11729    Donnetta     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11730    Tamico       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11731    Lisa         P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11732    Shantel      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11733    Danielle     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11734    Rosalyn      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11735    Antoinette   P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11736    Tarry        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11737    Catina       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11738    Naomi        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11739    Tiffanie     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11740    Dana         P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11741    Michelle     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11742    Bertina      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11743    Andrea       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11744    Ebony        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11745    Lisa         P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11746    Joyclyn      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11747    Karen        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11748    Jo           P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11749    Corinthian   P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11750    Anternette   P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11751    Delain       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11752    Trene        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11753    Annette      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11754    Deborah      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11755    Paulette     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11756    Ashanta      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11757    Margaret     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11758    Jennifer     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11759    Edna         P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11760    Latasha      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11761    Danae        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11762    Markesha     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11763    Dianna       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11764    Taywana      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11765    Davonda      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11766    Julia        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11767    Joclyn       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11768    Tenisha      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11769    Niyoka       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11770    Robin        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11771    Dorris       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11772    Latonyel     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11773    Leshun       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11774    Regene       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1246 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  11775    Josiane     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11776    Tanya       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11777    Brittany    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11778    Alonzaree   P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11779    Courtney    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11780    Tenyka      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11781    Chaniquea   P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11782    Heather     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11783    Lurenda     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11784    Darlene     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11785    Patricia    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11786    Shalaunda   P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11787    Danielle    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11788    Viola       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11789    Iodah       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11790    Dequia      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11791    Felecia     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11792    Samantha    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11793    Melissa     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11794    LaKienda    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11795    Karla       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11796    Danielle    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11797    Annie       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11798    Michelle    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11799    Sumeka      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11800    Chanell     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11801    Patsy       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11802    Wanda       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11803    Lisa        P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11804    Jisheena    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11805    Donna       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11806    Tiffany     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11807    Tamika      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11808    Sheila      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11809    Wedeline    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11810    Andreneka   P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11811    Cassandra   P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11812    Daisy       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11813    Barbara     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11814    Veronica    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11815    Tineisha    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11816    Sandrika    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11817    Maria       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11818    Meoshi      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11819    Jacqulyn    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11820    Wendy       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1247 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 258 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  11821    Quinesha     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11822    Jo           P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11823    Maribel      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11824    Lyndsey      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11825    Martha       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11826    Jasmin       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11827    Sharon       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11828    Dora         P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11829    Tinika       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11830    Christina    P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11831    Stacee       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11832    Naomi        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11833    Ishala       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11834    Darlene      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11835    Beverly      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11836    Bettie       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11837    Tonya        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11838    Marilyn      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11839    Tracy        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11840    Christine    P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11841    Betty        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11842    Joyce        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11843    Nautica      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11844    Michelle     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11845    Alisha       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11846    Lynette      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11847    Tamara       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11848    Melissa      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11849    Linda        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11850    Wendy        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11851    Monique      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11852    Keva         P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11853    Tina         P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11854    Lalaniea     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11855    Michelle     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11856    Lakisha      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11857    Tanika       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11858    Adera        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11859    Charity      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11860    Paradise     P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11861    Shanda       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11862    Alicia       P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11863    Pauline      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11864    Jacqueline   P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11865    Wilma        P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11866    Charlyn      P.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1248 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 259 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  11867    Tanya       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11868    Destiney    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11869    Beverly     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11870    Kimberly    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11871    Monica      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11872    Tracey      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11873    Jessica     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11874    Casaudia    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11875    Vanessa     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11876    Jamesha     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11877    Felicia     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11878    Kamille     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11879    Nashell     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11880    Sally       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11881    Kristina    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11882    Tina        P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11883    Latrisha    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11884    Brenda      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11885    Marine      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11886    Charnell    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11887    Shatara     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11888    Sheri       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11889    Dawn        P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11890    Sherry      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11891    Susan       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11892    Tiffany     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11893    Ashley      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11894    April       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11895    Kristen     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11896    Rosa        P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11897    Ashley      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11898    Ciera       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11899    Caroline    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11900    Yolanda     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11901    Sherrill    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11902    Cassandra   P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11903    Angela      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11904    Alicia      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11905    Doneshia    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11906    Shantell    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11907    Vanessa     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11908    Wanda       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11909    Renee       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11910    Dolores     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11911    Tiffany     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11912    Lunise      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1249 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 260 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  11913    Katiana     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11914    Alicia      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11915    Bobbie      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11916    Nicole      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11917    Antonette   P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11918    Kindrea     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11919    Robyn       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11920    Sandra      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11921    Starlita    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11922    Sherri      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11923    Aja         P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11924    Karin       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11925    Brenda      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11926    Pamela      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11927    Beverly     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11928    Chrisheya   P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11929    Yolanda     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11930    Christal    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11931    Dawn        P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11932    Angela      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11933    Sabrina     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11934    Dana        P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11935    Mia         P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11936    Carmillia   P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11937    Erica       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11938    Christie    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11939    Latasha     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11940    Keshia      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11941    Marissa     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11942    Femi        P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11943    Roniesha    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11944    Janet       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11945    Myesha      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11946    Nikaila     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11947    Tia         P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11948    Randi N.    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11949    Griselda    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11950    Dominique   P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11951    Arlene      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11952    Lency       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11953    Lena        P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11954    Yvette      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11955    Tabresha    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11956    Antonina    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11957    Lashanda    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11958    Brittney    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1250 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 261 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  11959    Tonise        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11960    Frances       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11961    Joey          P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11962    Alanna        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11963    Debbie        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11964    Whitney       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11965    Dericka       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11966    Dawn          P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11967    Tamukia       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11968    Shamaia       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11969    Shatoya       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11970    Nieaka        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11971    Lura          P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11972    Shermaine     P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11973    Irene         P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11974    Yulanda       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11975    Tina          P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11976    Annette       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11977    Cleo          P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11978    Rachel        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11979    Mikisha       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11980    Rhonda        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11981    Taisha        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11982    Breanna       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11983    Melissa       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11984    Virginia      P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11985    Tara          P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11986    Jacqueline    P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11987    Edweena       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11988    Kathy         P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11989    Nicole        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11990    Shantalette   P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11991    Tromika       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11992    Terri         P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11993    Rashante      P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11994    Brandy        P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11995    Precious      P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11996    Carolyn       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11997    Christy       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11998    Tanya         P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  11999    Rebecca       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12000    Terri         P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12001    Kayle         P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12002    Melissa       P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12003    Kimberly      P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12004    Annie         P.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1251 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  12005    Brandy      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12006    Shanique    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12007    Sandra      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12008    Macole      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12009    Nikki       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12010    Rosalind    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12011    Brandy      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12012    Cheliesha P.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12013    Alycia      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12014    Deborah     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12015    Antoinette P.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12016    Mildred     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12017    Michelle    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12018    Faith       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12019    Tesha       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12020    Danielle    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12021    Lynzie      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12022    Terri       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12023    Ranika      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12024    Ashley      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12025    Felecia     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12026    Monica      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12027    Ashley      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12028    Elizabeth   P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12029    Patricia    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12030    Ashley      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12031    Regina      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12032    Elizabeth   P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12033    Rita        P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12034    Raven       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12035    Tunya       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12036    Quaronica P.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12037    Latasha     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12038    Paula       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12039    Christina   P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12040    Keisha      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12041    Kimberly    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12042    Tikesha     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12043    Latoya      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12044    Destiny D. P.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12045    Brittney    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12046    Vonkeisha P.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12047    Ashley      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12048    Lachundra P.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12049    Schimechlyn P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12050    Demetria    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1252 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 263 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  12051    Letoyia     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12052    Nneka       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12053    Crystal     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12054    Alita       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12055    Shanita     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12056    Tatiana     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12057    Vannessa    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12058    Cheryl      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12059    Hermine     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12060    Andrea      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12061    Jennifer    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12062    Danya       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12063    Grace       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12064    Moneesha    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12065    Sabrina     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12066    Delila      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12067    Jessica     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12068    Diana       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12069    Vanessa     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12070    Dantoni     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12071    Dorothy     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12072    Jonnette    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12073    Porsha      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12074    Margaret    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12075    Marcela     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12076    Porscha     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12077    Shameka     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12078    Lakeya      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12079    Telia       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12080    Tyleah      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12081    Illissia    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12082    Kuanesha    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12083    Lisa        P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12084    Markeetta   P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12085    Deana       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12086    Angie       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12087    Laterrier   P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12088    Ronisha     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12089    Eva         P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12090    Agnes       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12091    Shaprall    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12092    Somer       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12093    Nikisha     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12094    Johnetta    P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12095    Bianca      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12096    Jermise     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1253 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 264 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  12097    Tamara      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12098    Lawonda     P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12099    Shelia      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12100    Sheila      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12101    Amanda      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12102    Lanaya      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12103    Bianca      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12104    Shaneesha P.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12105    Porche      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12106    Angela      P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12107    Tonia       P.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12108    Debra       Q.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12109    Danielle    Q.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12110    Tawanda     Q.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12111    Shida S.    Q.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12112    Martha      Q.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12113    Lori        Q.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12114    Sybil       Q.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12115    Keidra      Q.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12116    Glenna      Q.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12117    Lakeita     Q.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12118    Kidadda     Q.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12119    Keyvonna Q.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12120    Marvell     Q.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12121    Carmelita Q.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12122    Estela      Q.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12123    Angela MarieQ.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12124    Theresa     Q.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12125    Tina        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12126    Sheree      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12127    Carla       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12128    Amanda      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12129                R.
           Dynisheron Denise               [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12130    Tammy       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12131    Champagne R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12132    Caffey      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12133    Nancy       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12134    Joi         R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12135    Angela      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12136    Tiffany     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12137    Marcie      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12138    Shannon     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12139    Thalia      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12140    Nikki       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12141    Jacquelyn R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12142    Kaschet     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1254 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 265 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  12143    Jasmine   R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12144    Sijuade   R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12145    Kaamilya  R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12146    Sanetta   R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12147    Lenelle   R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12148    Yomandery R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12149    Keva      R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12150    Lakesia   R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12151    Debra     R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12152    Patricia  R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12153    Larriann  R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12154    Kareema   R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12155    Tamala    R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12156    Vicki     R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12157    Sharon    R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12158    Samyah    R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12159    Marcia    R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12160    Linda     R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12161    Tonya     R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12162    Jeana     R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12163    Rebecca   R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12164    Blanca    R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12165    Martha    R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12166    Jasmine   R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12167    Amanda    R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12168    Sandra    R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12169    Rosa      R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12170    Angela    R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12171    Jessica R R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12172    Shanne    R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12173    Kamillya  R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12174    Nyisha    R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12175    Rachel    R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12176    Cassandra R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12177    Aqueelah  R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12178    Thoren    R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12179    Ebony     R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12180    Kamessa   R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12181    Alana     R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12182    Briaun    R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12183    Kim       R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12184    Jodi      R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12185    Yalonda   R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12186    Lakisha   R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12187    Terrie    R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12188    Laurie    R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1255 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 266 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  12189    Annostashia R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12190    Qiana         R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12191    Melodie       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12192    Balpreet      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12193    Felicia       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12194    Benecia       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12195    Ebony         R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12196    Wanda         R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12197    Porshe        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12198    Dina          R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12199    Marian        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12200    Althea        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12201    Alvina        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12202    Tahitia       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12203    Taunitta      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12204    Shareca       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12205    Tamira        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12206    Brittany      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12207    Josephine R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12208    Tiera         R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12209    Laterica      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12210    Antoinette R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12211    Stevie        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12212    Nicole        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12213    Mattie        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12214    Keyada        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12215    Mariah        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12216    Nicole        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12217    Nazhat        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12218    Jennifer      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12219    Tarwiyah      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12220    Patsy         R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12221    Kanosha       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12222    Tashunda R.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12223    Patricia      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12224                  R.
           Danielle Ratliff                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12225    Charlotte     R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12226    Kim           R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12227    Dantea        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12228    Mandy         R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12229    Linda         R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12230    Lasheena R.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12231    Lauren        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12232    Tomika        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12233    Aisha         R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12234    Yvonne        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1256 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 267 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  12235    Margaux      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12236    Samantha     R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12237    Heather      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12238    Lydia        R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12239    Myiehsa      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12240    Helen        R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12241    Ranecka      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12242    Sheree       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12243    Nakeisha     R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12244    Vicki        R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12245    Ricca        R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12246    Tysa         R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12247    Beverly      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12248    Lillie       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12249    Patsy O      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12250    Keshana      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12251    Tantiana     R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12252    Mia          R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12253    Cheyenne     R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12254    Tahjanaye    R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12255    Ebony        R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12256    Vernessia    R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12257    Sheila M     R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12258    Karyn        R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12259    Marlise      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12260    Loretta      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12261    Jennifer     R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12262    Keisha       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12263    Charlotte    R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12264    Tierra       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12265    Jasmine      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12266    Rowena       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12267    Olivia       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12268    Guretes      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12269    Sofia        R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12270    Charolette   R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12271    Lashanay     R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12272    Natalie      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12273    Jimmie       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12274    Tracy        R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12275    Tamiquia     R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12276    Mike Ann     R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12277    Jasmine      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12278    Breanna      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12279    Erica        R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12280    Oticia       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1257 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 268 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  12281    Latisha    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12282    Asia       R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12283    Chelsea    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12284    Gwendolyn R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12285    Kylnita    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12286    Akeela     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12287    DontwaniqueR.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12288    Marra      R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12289    Tashina    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12290    Benita     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12291    Nickea     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12292    Leslie     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12293    Etta       R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12294    Latawdry   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12295    Dominique R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12296    Cheryl     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12297    Kelly      R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12298    Karika     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12299    Virginia   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12300    Violet     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12301    Latodica   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12302    Henrietta  R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12303    Kerstin    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12304    Yolanda    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12305    Juanita    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12306    Charlene   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12307    Mary       R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12308    Tonisha    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12309    Jessica    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12310    Gwendolyn R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12311    Kelly J    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12312    Lillian    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12313    Monique    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12314    Tempis     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12315    Rochelle   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12316    Dominique R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12317    Wontika    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12318    Anna       R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12319    Frinet     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12320    Janet      R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12321    Damisha    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12322    Tammy      R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12323    Tonya      R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12324    Keisha     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12325    Bennie     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12326    Jennifer   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1258 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 269 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  12327    Jennifer   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12328    Dianna     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12329    Jennifer   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12330    Teri       R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12331    Selena     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12332    Peggy      R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12333    Markytta   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12334    Deserae    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12335    Kim        R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12336    Anita      R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12337    Kandyce J. R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12338    Raquita    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12339    Patricia   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12340    Jeannie    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12341    Hannah     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12342    Kandie     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12343    Rhonda     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12344    Johari     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12345    Victoria   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12346    Ramona     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12347    Patricia   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12348    Adrianne   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12349    Cassandra R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12350    Nastasha   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12351    Ebony      R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12352    Quashunda R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12353    Lateesha   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12354    Carol      R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12355    Jayna      R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12356    Clarisy    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12357    Shellyn    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12358    Daniesha   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12359    Brooke     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12360    Millicent  R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12361    Sheila     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12362    Dominique R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12363    Katherine  R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12364    Shaday N. R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12365    Danielle   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12366    Carol      R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12367    Akisha     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12368    Evelyn     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12369    Melissa    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12370    Heather    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12371    Angel      R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12372    Naomi      R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1259 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 270 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  12373    Florenda     R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12374    Britney      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12375    Dolly        R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12376    Tiara        R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12377    Linda        R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12378    Arcinda      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12379    FRANCESCAR.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12380    Maedella     R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12381    Latasha      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12382    Angela       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12383    Kimberly     R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12384    Rose         R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12385    Veronica     R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12386    Sammi        R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12387    Iraida       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12388    Vikkisse     R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12389    Melvenia     R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12390    Sharmaine R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12391    Melissa      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12392    Cortney      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12393    Dominique R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12394    Veronica     R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12395    Christina    R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12396    Cecilia Rose R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12397    Helen        R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12398    Traci        R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12399    Jasmin       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12400    Zelanda      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12401    Keysha       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12402    Martha       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12403    Deborah      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12404    Dorothy      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12405    Tessie       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12406    C aleah      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12407    Nelta        R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12408    Antionepe R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12409    Wendy        R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12410    Shonda       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12411    Deshan       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12412    Kiehanna     R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12413    Carroll      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12414    Marlene      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12415    Deborah      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12416    Debra        R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12417    Martha       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12418    Ivette       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1260 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 271 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  12419    Genesis     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12420    Khadijah    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12421    Valarie     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12422    Cierra      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12423    Samantha    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12424    Sharell     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12425    Dominic     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12426    Chelsea     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12427    Rosa        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12428    Joyce       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12429    India       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12430    Shanice     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12431    Shacoria    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12432    Shannon     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12433    Brittany    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12434    Natasha     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12435    Lashawna    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12436    Creniesha   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12437    Dianna      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12438    Vera        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12439    Kelsea      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12440    Christy     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12441    Danece      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12442    Shukura     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12443    Dellana     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12444    Kennesia    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12445    Myrnalynn   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12446    Maria       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12447    Atiya       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12448    Mia         R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12449    Amber       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12450    Tracy       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12451    Jamaica     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12452    Patricia    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12453    Kayle       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12454    Sandra      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12455    Erin        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12456    Edra        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12457    Laura       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12458    Tanicka     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12459    Wanda       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12460    Dominique   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12461    Kimberly    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12462    Jessica     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12463    Marie       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12464    Leydonna    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1261 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 272 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  12465    Dechelle    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12466    Tasha       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12467    Frances     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12468    Felecia     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12469    Roslyn      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12470    Nancy       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12471    Chryshell   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12472    Carmen      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12473    Tedra       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12474    Diamond     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12475    Naomi       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12476    Creshawna   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12477    Precious    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12478    Joana       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12479    Larita      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12480    Sherese     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12481    Sheri       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12482    Shelley     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12483    Lupe        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12484    Ratesa      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12485    Mikekema    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12486    Tracy       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12487    Latoria     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12488    Nakia       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12489    Yolanda     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12490    Jamesia     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12491    Melonie     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12492    Brenda      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12493    Ashley      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12494    Lisa        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12495    Erica       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12496    Julie       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12497    Jeazenia    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12498    DeNitra     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12499    Tasha       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12500    Shantae     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12501    Wendy       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12502    Sherell     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12503    Donna       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12504    Sandra      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12505    Chantay     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12506    Nutalia     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12507    Monique     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12508    Betty       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12509    Gina        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12510    Lenesha     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1262 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 273 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  12511    Tori          R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12512    Darnise       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12513    Selma         R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12514    Nicole        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12515    Velana        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12516    Cassandra     R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12517    Sandra        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12518    Martha        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12519    Michelle      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12520    Julie         R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12521    Selestine     R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12522    Rosola        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12523    Francine      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12524    Kayla         R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12525    Marsha        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12526    Stephanie     R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12527    Valicia       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12528    Jennifer      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12529    Shanisha      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12530    Nilsi         R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12531    Juana         R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12532    Sara          R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12533    Deshjanay     R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12534    Constance     R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12535    Kristelle     R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12536    Madeline      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12537    Tiffany       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12538    Khrystiarra   R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12539    Shataia       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12540    Maria         R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12541    Michelle      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12542    Chermell      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12543    Tyqueria      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12544    Erin          R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12545    Sharron       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12546    Starnisha     R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12547    Nakia         R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12548    Urshala       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12549    Crystal       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12550    Shanell       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12551    Sanduya       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12552    Sade          R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12553    Doreen        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12554    Ruby          R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12555    Catherine     R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12556    Montease      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1263 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 274 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  12557    Mary V.      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12558    Fame         R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12559    Tenechia     R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12560    Pam          R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12561    Lisa         R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12562    Melanese     R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12563    Brittney     R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12564    Ashley       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12565    Latosha      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12566    Tawana       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12567    Ashley L.    R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12568    Jazzmine     R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12569    Ebony        R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12570    Christina    R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12571    Aundra       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12572    Skyla        R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12573    Alyia        R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12574    Arsha        R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12575    Janeyrian    R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12576    Andrea       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12577    Rachel       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12578    Darneshia    R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12579    Marcelene    R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12580    Tonja        R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12581    Frances      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12582    Latoya       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12583    Latavis      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12584    Mashia       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12585    Mellisa      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12586    Nicola       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12587    Robterria    R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12588    Zeldeetria   R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12589    Dehann       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12590    Anjanee      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12591    Ayanna       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12592    Pamela D     R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12593    Chandra      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12594    Lynette      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12595    Briana       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12596    Tameka       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12597    Sarrah       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12598    Lashay       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12599    Avalea       R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12600    Belinda      R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12601    Brittany     R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12602    Sarah        R.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1264 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 275 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  12603    Paige       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12604    Kimberley   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12605    Moneka      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12606    Brenda      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12607    Felicia     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12608    Trina       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12609    Kinya       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12610    Conya       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12611    Rosemary    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12612    Jessica     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12613    Hedeshia    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12614    Renee       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12615    Heather     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12616    Chymeshia   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12617    Danita      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12618    Cheryl      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12619    Sherranda   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12620    Kathie      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12621    Patricia    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12622    Antricia    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12623    Shapearl    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12624    Arleccie    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12625    Krystle     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12626    Ebonie      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12627    Jasmin      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12628    Maja        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12629    Jennifer    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12630    Jaquana     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12631    Ajai        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12632    Nicole      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12633    Raquel      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12634    Tayana      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12635    Khalia      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12636    Sherrell    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12637    Tajorie     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12638    Stephanie   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12639    Elizabeth   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12640    Myra        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12641    Ebonie      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12642    Wayniesha   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12643    Alaria      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12644    Felicia     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12645    Rolanda     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12646    Shanika     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12647    Stacey      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12648    Tameika     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1265 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 276 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  12649    Paula       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12650    Ny'Quria    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12651    Glenda      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12652    Alease      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12653    Susan       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12654    Monique     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12655    Glenda      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12656    Chanal      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12657    Tina        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12658    Dornecia    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12659    Linda       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12660    Janai       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12661    Trevanna    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12662    Trashelle   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12663    Natasha     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12664    Sarah       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12665    Yvette      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12666    Michelle    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12667    Dorene      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12668    Laketa      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12669    Laura       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12670    Shaquana    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12671    Tyesha      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12672    Andria      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12673    Marnishia   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12674    Karen       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12675    Asia        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12676    Amara       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12677    Vonsha      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12678    Shakina     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12679    Danielle    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12680    Sherry      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12681    Jasmine     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12682    Lyneice     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12683    Deanna      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12684    Pamela      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12685    Latoya      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12686    Chonseya    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12687    Toni        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12688    Jasmine     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12689    Genia       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12690    Chinique    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12691    Laquisha    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12692    Kimberlie   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12693    Maurice     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12694    Violet      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1266 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 277 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  12695    Gloria J   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12696    Antoinette R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12697    Theresa    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12698    Eileen     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12699    Michelle   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12700    Angela F   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12701    Yolanda    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12702    Jannie     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12703    Tiffany    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12704    Felecia    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12705    Winter     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12706    ShawnkeshaR.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12707    Sharita L  R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12708    Lakeisha   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12709    Katrina    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12710    Deondra    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12711    TheRes     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12712    Dionne     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12713    Bettina    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12714    Jessica    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12715    Tiashia    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12716    Ashley B   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12717    Jessica    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12718    Keyerra    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12719    Erica      R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12720    Horacessa R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12721    Taylor     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12722    Sada       R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12723    Tanayia    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12724    Jalea      R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12725    Charvice   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12726    Kimberly   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12727    Alicia     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12728    Kendra     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12729    Matricia   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12730    Britne     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12731    Lachelle   R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12732    Shenika    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12733    Terri      R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12734    Latoya     R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12735    Haley      R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12736    Lisette    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12737    Daisy      R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12738    Michele    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12739    Dejanae    R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12740    Darla      R.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1267 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 278 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  12741    Jasmine     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12742    Tammy       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12743    Brittany    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12744    Tekisha     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12745    Michelle    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12746    Roy         R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12747    Lorraine    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12748    Sandra      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12749    Kendra      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12750    Chantel     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12751    Janice      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12752    Edith       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12753    Christine   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12754    Karen       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12755    Dione       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12756    Janice      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12757    Kimberly    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12758    Orienthia   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12759    Lavette     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12760    Tiffany     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12761    Delaynna    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12762    Ahnila      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12763    Kimberly    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12764    Kimberly    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12765    Aida        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12766    Rosanne     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12767    Andrea      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12768    Karina      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12769    Alma        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12770    Ermelinda   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12771    Maria       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12772    Destiny     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12773    Lashawn     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12774    Julyana     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12775    Cecilia     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12776    Maria       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12777    Alice       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12778    Amelia      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12779    Veronica    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12780    Vanessa     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12781    Rachel      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12782    Juanita     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12783    Jiana       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12784    Veronica    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12785    Patricia    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12786    Vanessa     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1268 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 279 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  12787    Ysenia      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12788    Passion     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12789    Jennifer    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12790    Luz         R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12791    Lisbet N    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12792    Samantha    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12793    Rocio       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12794    Rebecca     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12795    Karla       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12796    Lawana      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12797    Amanda      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12798    Alicia      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12799    Linda       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12800    Lashunda    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12801    Jaqieta     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12802    Carolyn     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12803    Charicka    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12804    Susan       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12805    Marsha      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12806    Destine     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12807    Wyneshia    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12808    Stephanie   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12809    Wanda       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12810    Beverly     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12811    Melissa     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12812    Kelly       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12813    Monester    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12814    Cilia       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12815    Rosetta     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12816    Candace     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12817    Princess    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12818    Renita      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12819    Carrie      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12820    Versa       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12821    Priscilla   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12822    Donaciana   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12823    Stephanie   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12824    Marivel     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12825    Jordyn      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12826    Noelle      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12827    Mittie      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12828    Jori        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12829    Star        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12830    Malckah     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12831    Elisha      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12832    Joanna      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1269 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 280 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  12833    Joanna      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12834    Carolyn     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12835    Janie       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12836    Rebecca     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12837    Kathleen    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12838    Janet       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12839    Sheena      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12840    Julia       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12841    Sheri       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12842    Aurora      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12843    Mona        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12844    Terri       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12845    Porschia    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12846    Shanice     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12847    Nita        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12848    Crystal     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12849    Sheryl      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12850    Siobhan     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12851    Daniella    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12852    Birma       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12853    Sinfonia    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12854    Jeanette    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12855    Lori        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12856    Gwendolyn   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12857    Elsieta     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12858    Charlene    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12859    Crystal     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12860    Gloria      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12861    Ella        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12862    Jennifer    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12863    LaTia       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12864    Cali        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12865    Terra       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12866    Miriam      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12867    Gail        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12868    Deandrea    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12869    Myra        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12870    Regida      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12871    Laquesta    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12872    Shandra     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12873    Lameasia    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12874    Taiyana     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12875    Dedra       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12876    Dildred     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12877    Carmel      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12878    Genevia     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1270 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 281 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  12879    Sheilan       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12880    Clarisse      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12881    Toni          R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12882    Azalea        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12883    Jeri-Ann      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12884    Derrian       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12885    Jeanette      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12886    Dawn M        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12887    Sonora        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12888    Monica R      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12889    Diana         R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12890    Tyjuana       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12891    Meon          R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12892    Melissa       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12893    Lessie        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12894    Juanette      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12895    Natalie       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12896    Jasmine       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12897    Michelle      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12898    Adrienne      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12899    Carmel        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12900    Jocelyn       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12901    Pamela        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12902    Diane         R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12903    Lazara        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12904    Raporcha      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12905    Joy           R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12906    Quntedta      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12907    Shirley Ann   R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12908    Vicky         R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12909    Cheryl        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12910    Angelique     R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12911    Lillie        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12912    Sharon        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12913    Rebecca       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12914    Crystal       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12915    Ashley        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12916    Kristina      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12917    Deanndra      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12918    Marie         R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12919    Dewana        R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12920    Nequoia       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12921    Yolanda       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12922    Bernadette    R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12923    Chanell       R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12924    Patricia      R.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1271 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  12925    Gernelle    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12926    Robin       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12927    Saunja      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12928    Erin        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12929    Brenda      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12930    Lizbeth     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12931    Madelon     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12932    Theresa     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12933    Lynette     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12934    Latasha     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12935    Shataya     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12936    Ebone       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12937    Tiffaney    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12938    Tyeisha     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12939    Faith       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12940    Bruce       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12941    Cynthia     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12942    Davina      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12943    Yvonne      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12944    Alexis      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12945    Shaniqua    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12946    Linda       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12947    Traci       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12948    Whitney     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12949    Anna        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12950    Natasha     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12951    Luetta      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12952    Bertha MarieR.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12953    Rosslyn     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12954    Yvette      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12955    Yolanda     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12956    Marsha      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12957    Susan       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12958    Rodneisha R.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12959    Darryshia   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12960    Unique      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12961    Regina      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12962    Amy         R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12963    Rozzi       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12964    Kimberly    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12965    Mary        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12966    Ella        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12967    Charice     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12968    Inequa      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12969    Shalest     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12970    Roxie       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1272 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 283 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  12971    Tarvoria    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12972    Alaina      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12973    Stacy       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12974    Trishawn    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12975    Loniece     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12976    Christy     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12977    Cammie      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12978    Chiwana     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12979    Donna       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12980    Sherry      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12981    Essence     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12982    Donnita     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12983    Shedarika   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12984    Sherlyn     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12985    Doison      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12986    Lisa        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12987    Lakeisha    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12988    Rhadetrae   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12989    Mikenisha   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12990    Sherry      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12991    April       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12992    Angela      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12993    Tina        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12994    Elisha      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12995    Natasha     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12996    Wilgeena    R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12997    Kim         R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12998    Betty       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  12999    Ramona      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13000    Arlene      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13001    Karen       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13002    Sonya       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13003    Debbie      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13004    Shauen      R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13005    Carolyn     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13006    Dawn        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13007    Breyana     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13008    Nancy       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13009    Onye        R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13010    Nushundra   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13011    Dehavon     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13012    Constance   R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13013    Shirley     R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13014    Erica       R.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13015    Natasha     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13016    April       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1273 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 284 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  13017    Gloria      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13018    Shakeva     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13019    Jacquelyn   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13020    Jo Ann      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13021    Juanita     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13022    Chauntell   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13023    Janell      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13024    Meredith    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13025    Saileen     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13026    Edeline     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13027    Johanne     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13028    Jessica     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13029    Alicia      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13030    Elisa       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13031    Amy         S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13032    Delores     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13033    Angel M     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13034    Danielle    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13035    Shelmarri   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13036    Sabra       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13037    Ashley      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13038    Cynthia     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13039    Mayra       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13040    Esia        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13041    Marie       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13042    Courtney    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13043    Mona        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13044    Jasmond     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13045    Nicole      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13046    Brenda      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13047    Deborah     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13048    Lynelle     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13049    Debora      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13050    Debra       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13051    Donnessa    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13052    Pernella    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13053    Prudence    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13054    Tekella     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13055    Barbara     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13056    Carla       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13057    Arica       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13058    Elita       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13059    Sophia      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13060    Angelique   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13061    Amber       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13062    Melissa     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1274 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  13063    Nichole      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13064    Angela       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13065    Ishega       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13066    Jessica      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13067    Carmen       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13068    Miriam       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13069    Jaclyn       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13070    Maria        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13071    Araina       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13072    Ruby         S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13073    Mona         S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13074    Nicole       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13075    Ashley       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13076    Ursula       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13077    Christina    S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13078    Denise       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13079    Lakisha      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13080    Shana        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13081    Michelle     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13082    De-aria      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13083    Kimberly     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13084    Tammie       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13085    Martha       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13086    Kimberly     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13087    Ketcha       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13088    Brittany     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13089    Shiegko      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13090    Stacey       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13091    Cynthia      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13092    Patricia     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13093    Paula        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13094    Dorice       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13095    Sherri       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13096    Tiffany      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13097    Margaret     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13098    Shantale     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13099    Victoria     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13100    Terrica      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13101    Raquel       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13102    Patricia     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13103    Kathryn      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13104    Jacqueline   S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13105    Shelly       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13106    Debra        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13107    Lytonia      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13108    Amy          S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1275 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  13109    Koti          S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13110    Litrevia      S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13111    Ebony         S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13112    Evelyn        S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13113    Crystal L B   S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13114    Charlisa      S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13115    Kaneisha      S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13116    Danielle      S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13117    Jessica       S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13118    Jasmine       S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13119    Cheyenne      S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13120    Laquesha      S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13121    Patricia      S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13122    Robinette     S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13123    Tamara        S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13124    Maria         S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13125    Desiree       S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13126    Martha        S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13127    Joana         S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13128    Aida          S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13129    Martha        S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13130    Ciara         S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13131    Tiffany       S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13132    Shyann        S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13133    Erica         S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13134    Jalonda       S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13135    Ayanna        S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13136    Nieves        S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13137    Latricia      S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13138    Latricia      S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13139    Eneida        S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13140    Stacey        S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13141    Rosa          S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13142    Rachel        S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13143    Joanne        S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13144    Paulette      S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13145    Renai         S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13146    Jamie         S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13147    Michelle      S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13148    Jazmine       S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13149    Shirley       S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13150    Quanetta      S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13151    Myykkie       S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13152    Rotasha       S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13153    Charlotte     S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13154    Connie        S.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1276 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  13155    Margaret   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13156    Sabrina    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13157    Cherisa    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13158    Ruby       S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13159    Diane      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13160    Jennifer   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13161    Brenda     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13162    Mildred    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13163    Sharieka   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13164    Jacqueline S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13165    Wraeondria S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13166    Kimerly    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13167    Jeannie    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13168    Jameice    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13169    Mildred    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13170    Abbriel    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13171    Eva        S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13172    Labrittany S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13173    Melissa    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13174    Gaynell    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13175    Debra      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13176    Shamika    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13177    Wendy      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13178    Lorraine   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13179    Glenda     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13180    Tentra     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13181    Shaunte    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13182    Cynthia    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13183    Shari      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13184    Rachel     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13185    Jeanne     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13186    Kelly      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13187    Jena       S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13188    Shannon    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13189    Madeline   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13190    Nicole     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13191    Regina     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13192    Kathleen   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13193    Rosalyn    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13194    QuenneatherS.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13195    Shelley    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13196    Sharon     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13197    Rachel     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13198    Melissa B S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13199    Keri       S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13200    Lisa       S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1277 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 288 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  13201    Misty        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13202    Carrie       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13203    Katherine    S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13204    Pamela       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13205    Deborah      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13206    Shawn        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13207    Cheryl       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13208    Marquisa     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13209    Krondalette S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13210    Kreshell     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13211    Octavia      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13212    Gabrielle    S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13213    Joyceline    S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13214    Caroline     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13215    Shandon      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13216    Sabrina      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13217    Nedra        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13218    Karla        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13219    Debra        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13220    Janay        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13221    Virttie      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13222    Shaquetta S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13223    Naika        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13224    Tyneka       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13225    Shayla       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13226    Keyon        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13227    Margareta S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13228    Markita      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13229    Daysha       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13230    Roashanett S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13231    Jasmine      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13232    Kiana        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13233    Tina         S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13234    Hynthea      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13235    Quenda       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13236    Vera         S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13237    Mary         S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13238    Terry        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13239    Patricia Ann S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13240    Denise       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13241    Elizabeth    S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13242    Julia        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13243    Lucretia     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13244    Thelma       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13245    Katrena      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13246    Tracy        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1278 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  13247    Jennifer LynnS.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13248    Constance S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13249    Chatee       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13250    Nitikia      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13251    Chosolen     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13252    Quiana       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13253    Felicia      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13254    Missy        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13255    Aleah        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13256    Ebony        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13257    Shaneka      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13258    Chante       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13259    Shareka      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13260    Karonshai S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13261    Allison      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13262    Kaiyana      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13263    Debra        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13264    Stanisha     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13265    Monica       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13266    Tonya        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13267    Charlthea S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13268    Sophia       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13269    Treasure     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13270    Nina         S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13271    Tameila      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13272    Shanteria    S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13273    Carolyn      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13274    Sophia       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13275    Sophia       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13276    Tyronda      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13277    Angela       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13278    Leameso      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13279    Cynthia      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13280    Mercedes S.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13281    Brittany     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13282    Joy          S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13283    Roxanne      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13284    Crystal      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13285    Amber        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13286    Katherine    S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13287    Shantae      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13288    Keshea       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13289    Cicely       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13290    Rosalie      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13291    Stacey       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13292    Shenelle     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1279 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 290 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  13293    Gail        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13294    Kristy      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13295    Norma       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13296    Paula       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13297    Jasmine     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13298    Monique     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13299    Tyqashia    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13300    Tomika      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13301    Kathy       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13302    Cydney      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13303    Angela      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13304    Xenia       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13305    Chriss      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13306    Alexine     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13307    Cleshon     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13308    Jessica     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13309    Ellen       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13310    Malaika     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13311    Tiffany     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13312    Anika       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13313    Syeeta      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13314    Crystal     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13315    Darlene     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13316    Micaela T   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13317    Yavette     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13318    Kwana       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13319    Shirley     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13320    Catherine   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13321    Karen       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13322    Donyelle    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13323    Trinicia    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13324    Leslie      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13325    Sheena      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13326    Jade        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13327    Malisa      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13328    Charnise    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13329    Barbara L   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13330    Chanise     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13331    Sherri      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13332    Dalnika     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13333    Dyamond     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13334    Kenyetta    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13335    April       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13336    Jaquana     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13337    Tasmiyah    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13338    Sherrir     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1280 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 291 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  13339    Brenda     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13340    Sharon     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13341    Michelle   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13342    Dalon      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13343    Christene  S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13344    Tiffany    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13345               S.
           Sharon Denice                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13346    Kandis     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13347    Rayekal    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13348    Barbara    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13349    Elizabeth  S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13350    Naquita    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13351    Tyral      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13352    Tysheika   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13353    Lisa       S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13354    Gwendolyn S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13355    Shantrial  S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13356    Tanya      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13357    Carmen     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13358    Donna      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13359    Rosa       S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13360    Melody     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13361    Lanette    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13362    Nayaka     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13363    Melissa    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13364    Jada       S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13365    Dale       S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13366    Khristian  S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13367    Valerie    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13368    Jevette    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13369    Anne       S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13370    Meline     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13371    Tonia      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13372    Holly      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13373    Meadow     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13374    Cynthia    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13375    Shanika    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13376    Latanesha S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13377    Ashley     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13378    Vicky      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13379    Candy      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13380    Lakendra   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13381    Tamra      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13382    Jacqueline S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13383    Ryan       S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13384    Keysha     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1281 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  13385    Joy       S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13386    Tarita    S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13387    Vicky     S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13388    Tamika    S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13389    Sheri     S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13390    Shanavia  S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13391    Tiesha    S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13392    Brianna   S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13393    Taquasia  S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13394    Dannette  S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13395    Barbara   S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13396    Racheal   S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13397    Tiffany   S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13398    Jaterria  S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13399    Sheree    S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13400    Linda     S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13401    Latoya    S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13402    Lotonia   S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13403    Artisha   S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13404    Tommie    S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13405    Elaine    S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13406    Kristie   S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13407    Carol     S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13408    Kelly     S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13409    Yvette    S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13410    Latressa  S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13411    Patricia  S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13412    Lucille   S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13413    Ebony     S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13414    Jo Jean   S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13415    Desiree   S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13416    Jef       S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13417    Tianna R  S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13418    Sylvia    S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13419    Keosha    S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13420    Rebecca   S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13421    Allisha   S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13422    Glinda    S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13423    Rachel    S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13424    Tamika    S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13425    Rayna     S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13426    Robin     S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13427    Kiarra    S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13428    Raynetta  S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13429    Rashaunda S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13430    Cindy     S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1282 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 293 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  13431    Jackie       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13432    Maniah       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13433    Glenda       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13434    Jalessa      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13435    Briana       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13436    Lanisha      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13437    Crystal      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13438    Bonnie       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13439    Geneva       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13440    Dorothy      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13441    Amina        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13442    Xelinashiron S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13443    Anna         S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13444    Ayesha       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13445    Barbara      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13446    Melissa      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13447    Tiffani      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13448    Towanna      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13449    Shelia       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13450    Trakiqualo S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13451    Crystal      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13452    Yasmeen      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13453    Crystal      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13454    Virginia     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13455    Khadijah     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13456    Mary         S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13457    Rosalind     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13458    Dolores      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13459    Fay          S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13460    Jay          S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13461    Linda        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13462    Tassanee S.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13463    Kenisha      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13464    Sonyalen     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13465    Tiesha       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13466    Maryanne S.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13467    Mary         S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13468    Collette     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13469    Doris        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13470    Ida          S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13471    Cortney      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13472    Dawn         S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13473    Wanda        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13474    Sharetha     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13475    Tabitha      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13476    Sonisha      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1283 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  13477    Theresa      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13478    Gloria       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13479    Markia       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13480    Antoinette   S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13481    Cassandra    S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13482    Ivory        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13483    Roxanne      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13484    Raelle       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13485    Janease      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13486    Adasha       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13487    Samantha     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13488    Alexis       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13489    Shantella    S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13490    Dezarell     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13491    Leslie       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13492    Leslye       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13493    Meoshia      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13494    Lashanti     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13495    Tawonna      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13496    Pandora      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13497    Joanne       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13498    Keisha       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13499    Qiana        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13500    Gloria K     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13501    Vera         S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13502    Dawnia       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13503    Melissa      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13504    Salone       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13505    Kenita       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13506    Jutauna      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13507    Rolanda      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13508    Nicole       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13509    Michelle     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13510    Andrea       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13511    Tumika       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13512    Joanie       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13513    Jameka       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13514    Idella       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13515    Teel         S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13516    Mikeala      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13517    Keiawanna    S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13518    Destiny      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13519    Ashley       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13520    Monique      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13521    Yvette       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13522    Valerie      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1284 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 295 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  13523    Tierria     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13524    Anika       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13525    Nicole      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13526    Rosalyn     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13527    Ida         S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13528    Dangela     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13529    Sarah       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13530    Christal    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13531    Alicia      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13532    Marilyn     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13533    Sade        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13534    Brenda      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13535    Briana      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13536    Nicole      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13537    Brittany    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13538    Telisha     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13539    Shaina      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13540    Simone      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13541    Breanna     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13542    Bertha      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13543    Paulette    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13544    Vanessa     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13545    Markisha    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13546    Katherin    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13547    Sharolyn    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13548    Katina      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13549    Tyikiea     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13550    Kadesha     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13551    Evelyn      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13552    Karry       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13553    Enola       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13554    Markell     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13555    Jalisa      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13556    Kimberly    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13557    Lakeisha    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13558    Laquinta    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13559    Crystal     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13560    Tonya       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13561    Najha       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13562    Jamelle     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13563    Tineice     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13564    Shyease     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13565    Davina      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13566    Laketa      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13567    Nicole      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13568    Brittany    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1285 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 296 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  13569    Satnya       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13570    Naja         S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13571    Lara         S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13572    Rochelle S   S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13573    Scarlyn      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13574    Delisa       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13575    Lacoya       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13576    Tomachia     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13577    Johnaya      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13578    Melissa      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13579    Sonja        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13580    Danita       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13581    Kathleen     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13582    Serina       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13583    Judy         S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13584    ELEANOR      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13585    Andrea       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13586    Ronita       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13587    Talise       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13588    Raven        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13589    Dedra        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13590    Latosha      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13591    Jamie        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13592    Sharon       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13593    Elizabeth    S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13594    Marrian      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13595    Ashley       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13596    Cathy        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13597    Gloria       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13598    Laquita      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13599    Robin        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13600    Senther      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13601    Beverly      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13602    Asia         S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13603    Joleean      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13604    Yolanda      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13605    Angela       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13606    Pamela       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13607    Charlene     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13608    Lydia        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13609    Zedra        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13610    Danielle     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13611    Lauren       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13612    Doris        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13613    Larita       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13614    Sharell      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1286 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 297 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  13615    Emily       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13616    Jocelyn M. S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13617    Donna       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13618    Kerra       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13619    Delphina    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13620    Chawnise S.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13621    Marcella    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13622    Kelly       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13623    Debra       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13624    Kia         S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13625    Blanche     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13626    Lakisha     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13627    Tywanda     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13628    Tiffany     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13629    Anita       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13630    Desiree     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13631    Samantha S.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13632    Erica       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13633    April       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13634    Germaine S.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13635    Belinda     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13636    Datoya      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13637    Ieisha      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13638    Tonya       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13639    Linda       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13640    Sharon      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13641    Susanne     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13642    Raven       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13643    Sabrina     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13644    Latoya      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13645    Cynthia     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13646    Monique     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13647    Deirdra     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13648    Raven       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13649    Shanteka    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13650    Porttra     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13651    Sharonique S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13652    Kyra        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13653    Tiffany     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13654    Tiffany     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13655    Rosemarie S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13656    Cindy       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13657    Sharon      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13658    Gloria      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13659    Velvika     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13660    Chartavious S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1287 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 298 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  13661    Tameka     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13662    Ashley     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13663    Nakiya     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13664    Rnee       S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13665    Juneshia   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13666    Dyneshia   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13667    Shamia     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13668    Otrina     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13669    Laveca     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13670    Nekishia   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13671    Isis       S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13672    Denisia    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13673    Diamondque S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13674    Jessica    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13675    Maria      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13676    Christie   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13677    Amee       S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13678    Sheneka    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13679    Gwendolyn S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13680    Kofine     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13681    LaquaneishaS.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13682    Chantelle  S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13683    Desiree    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13684    Sabrina    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13685    Marshaye S.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13686    Linda      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13687    Connie     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13688    Candace    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13689    Roxanna    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13690    Cynthia    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13691    Bernice    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13692    Amy        S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13693    Jenay      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13694    Melvion    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13695    Brittany   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13696    Daisy      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13697    Chaznae    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13698    Rebecca    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13699    Karen      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13700    Arbury     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13701    Betty      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13702    Lovie      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13703    Ashley     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13704    Shanna     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13705    Marian     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13706    Brenda     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1288 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  13707    Shantoya    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13708    Belinda     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13709    Linda       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13710    Theresa     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13711    Joylynn     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13712    Ashley      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13713    Marcella    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13714    Tinne       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13715    Kaylynne    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13716    Monica      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13717    Natashia    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13718    Bonita      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13719    Eulene      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13720    Christine   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13721    Monique     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13722    Ka’lonnie   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13723    Kelly       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13724    Shaunte     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13725    Francis     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13726    Chasity     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13727    Enjoli      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13728    Bateana     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13729    Sandrenna   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13730    Lizzette    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13731    Lillian     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13732    Waynisha    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13733    Iysis       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13734    Rainah      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13735    Shyana      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13736    Martiesa    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13737    Nickeya     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13738    Tatiana     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13739    Deviney     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13740    Dija        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13741    Joy         S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13742    Annie       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13743    Londen      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13744    Shawna      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13745    Patricia    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13746    Lawanda     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13747    Cortina     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13748    Candice     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13749    Laura       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13750    Mary        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13751    Kristi      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13752    Marilyn     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1289 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 300 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  13753    Nyeatia     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13754    Corby       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13755    Jacqueline S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13756    Dionne      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13757    Jamesha     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13758    Ty’Taneshia S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13759    Robin       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13760    Vicki       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13761    Charlene    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13762    Lisa        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13763    Menisha     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13764    Tylar       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13765    Sharon      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13766    Zoe         S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13767    Linda       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13768    Janie       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13769    Shelene     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13770    Jayla       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13771    Tawona      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13772    Ashley      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13773    Mikesha     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13774    Ruby        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13775    Gwendolyn S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13776    Burlinda    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13777    Chantilly   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13778    Shamika     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13779    Sharlett    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13780    Patricia    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13781    Ja'briel    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13782    Melba       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13783    Kendria     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13784    Precious    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13785    Sharon      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13786    Julia       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13787    Jemesha     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13788    Miranda     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13789    Leslie      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13790    Jenika      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13791    Jasmine     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13792    Levonne     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13793    Quanella    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13794    Jasmine     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13795    Jerri       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13796    Felicia     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13797    Nanci       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13798    Janice      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1290 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 301 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  13799    Joan         S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13800    Debra        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13801    Surwan       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13802    Lisa         S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13803    Angela       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13804    Hester       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13805    Weena        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13806    Rae-Anne     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13807    Victoria     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13808    Gay          S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13809    Sabrena      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13810    Sonya        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13811    Kim M        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13812    Yvette       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13813    Juli         S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13814    Lisa         S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13815    Melissa      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13816    Cherese      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13817    Tara         S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13818    Charity      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13819    Nanotichka   S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13820    Genmar       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13821    Lashaunda    S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13822    Precious     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13823    Elysia       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13824    Shanette     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13825    Kimberly     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13826    Monique L.   S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13827    Sabrina      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13828    Latesia      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13829    Jerkeithra   S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13830    Kortney      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13831    Nicole       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13832    Starr        S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13833    Chavon       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13834    Martine      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13835    Immysha      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13836    Tyanna       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13837    Tammie       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13838    Burgundy     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13839    Lakeisha     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13840    Niesha       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13841    Mikayla      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13842    Vanessa      S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13843    Kateisha     S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13844    Jeneal       S.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1291 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 302 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  13845    Sara        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13846    Jacquaeline S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13847    Janell      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13848    Taleesa     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13849    Sheri       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13850    Lakenya     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13851    Valena      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13852    Melissa     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13853    Precious    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13854    Kenna       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13855    Ashley      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13856    Sehrika     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13857    Sherita     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13858    Royeshia    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13859    Jeniece     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13860    Britney     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13861                S.
           Breonda Marie                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13862    Tejuanda    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13863    Kyanna      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13864    Keona       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13865    Latrisha    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13866    Bryanna     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13867    Debra       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13868    Nikita      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13869    Lawanna     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13870    Schnille    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13871    Patricia    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13872    Cheryl      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13873    Michelle    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13874    Catharine S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13875    Tiana       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13876    Janet       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13877    Patrice     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13878    Jacqueline S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13879    Ashanae     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13880    Tiereny     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13881    Lakeysha    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13882    Felisia     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13883    Quannella S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13884    Krystal     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13885    Kimberly    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13886    Lakesha     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13887    Brittiney   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13888    Nicole      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13889    Courtney    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13890    Felesia     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1292 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 303 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  13891    Victoria   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13892    Sharon     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13893    Shonta     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13894    Judith     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13895    Wanda      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13896    Kimberly   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13897    Sharaneika S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13898    Nicole     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13899    Natasha    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13900    Jamila     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13901    Angela     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13902    Ruby       S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13903    Katina     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13904    Toccara    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13905    Shaquita   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13906    Sade       S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13907    Linda      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13908    Shirley    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13909    Brianna    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13910    Diana      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13911    Lindy      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13912    April      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13913    Tracie     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13914    Michele    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13915    Betina     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13916    Carla      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13917    Victoria   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13918    Lisa       S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13919    Darnisha   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13920    Johnee     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13921    Danchell   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13922    Nicole     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13923    Shaketa    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13924    Cassindra S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13925    Dawn       S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13926    Tiffany    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13927    Amber      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13928    Chasity    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13929    Treena     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13930    Karen      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13931    Judith     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13932    Aina       S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13933    Myriam     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13934    Linda      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13935    Cieannarea S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13936    Mona       S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1293 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
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Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  13937    Stephanie   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13938    Christina   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13939    Shanicca    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13940    Susan       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13941    Dionne      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13942    Trenise     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13943    Valerie     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13944    Delmar      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13945    Sheila      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13946    Katrina     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13947    Jermisha    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13948    Brandi      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13949    Cortney     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13950    Crystal     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13951    Renee       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13952    Shamirra    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13953    Mallory C   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13954    Stacy       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13955    Marquetta   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13956    Tanya       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13957    Nancy       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13958    Theresa     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13959    Dianna      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13960    Odette      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13961    Jean        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13962    Bridgette   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13963    Whitney     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13964    Latasha     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13965    Tamika      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13966    Precious    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13967    Jazmine     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13968    Kenyatta    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13969    Sheila      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13970    Jeralynn    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13971    Eva         S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13972    Ashley      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13973    Inicha      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13974    Keisanna    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13975    Billie      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13976    Betty       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13977    Sandra      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13978    Glorietta   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13979    Michele     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13980    Vickie      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13981    Robin       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13982    Brenda      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1294 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  13983    Beverly     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13984    Elaine      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13985    Sheyla      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13986    Catherine S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13987    Charlene    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13988    Kim         S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13989    Shillie     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13990    Carol       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13991    Candice     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13992    Shannon     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13993    Andrea      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13994    Tiffany     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13995    Aimee       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13996    Kiara       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13997    Dontae      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13998    Larisha     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  13999    Jennifer    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14000    Michelle    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14001    Ricketa     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14002    Neekie      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14003    Ronise      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14004    Kendrea     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14005    Ayesha      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14006    Leteasha    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14007    Erica       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14008    Valvet      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14009    Sade        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14010    Milbrycleyo S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14011    Ludmila     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14012    FRANCESCAS.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14013    Pearlie     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14014    Vinetta     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14015    Marlette    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14016    Jayne       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14017    Buffy       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14018    Krystal     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14019    Kim         S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14020    Martha      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14021    Chardei     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14022    Latonya     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14023    Whitley     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14024    Susie       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14025    Tameca      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14026    Arkameia    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14027    Naomi       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14028    Alicia      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1295 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
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Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  14029    Lisa       S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14030    Linda      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14031    Andrea     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14032    Janyce     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14033    Dorothy    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14034    Helen      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14035    Nicole C   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14036    Sirena     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14037    Breje      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14038    La-Darrius S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14039    Christine  S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14040    Randee     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14041    Tiombe     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14042    Desiree    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14043    Veronica   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14044    Robuethia S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14045    Cynthia    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14046    Karen      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14047    Felicia    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14048    Launa      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14049    Sherah     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14050    Jessica    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14051    Kenisha    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14052    Kenisha    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14053    Charlotte  S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14054    Shulonda   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14055    Anne       S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14056    Ronnette   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14057    Lydia      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14058    Jennifer   S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14059    Leshawnda S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14060    Kelli      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14061    Shontay    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14062    Giia       S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14063    Rosemary S.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14064    Lakesha    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14065    Keanna     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14066    Terri      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14067    Regina     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14068    Constance S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14069    Lotiji     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14070    Erica      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14071    Willene    S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14072    Mary       S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14073    April      S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14074    Lakena     S.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1296 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  14075    Maniqua     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14076    Kerri       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14077    Charisse    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14078    Charrita    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14079    Nikia       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14080    Laura       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14081    Shonda      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14082    Mary        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14083    Lena        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14084    Alicia      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14085    Bernice     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14086    Belinda     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14087    Zahrah      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14088    Laura       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14089    Linda       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14090    Rosemary    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14091    Betty       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14092    Angelique   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14093    Chaka       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14094    Melody      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14095    Mildred     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14096    LaKwanda    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14097    Tomicka     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14098    Michele     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14099    Tammie      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14100    Tralena     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14101    Katrina     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14102    Tamara      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14103    Dominique   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14104    Latisha     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14105    Hope        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14106    Mariana     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14107    Bobbi       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14108    Monica      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14109    Katrina     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14110    Mable       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14111    Tamarah     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14112    Inez        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14113    Sarah       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14114    Roshanna    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14115    Candice     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14116    Tiffany     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14117    Kuuleme     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14118    Sherry      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14119    Shanell     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14120    Ebony       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1297 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
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Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  14121    Erin R      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14122    Jennifer    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14123    Leah        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14124    Clara       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14125    Lorretta    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14126    Sydonnie    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14127    Yanekee     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14128    Donna       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14129    Sheree      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14130    Rhiannon    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14131    Alexis      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14132    Savana      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14133    Loren       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14134    Myisha      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14135    Latisha     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14136    Paula       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14137    Sonia       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14138    Maima       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14139    Sandy       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14140    Terrie      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14141    Markisha    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14142    Annette     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14143    Joelynn     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14144    Jessica     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14145    Bianca      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14146    Melissa     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14147    Tanista     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14148    Lathessia   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14149    Tianje      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14150    Candace     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14151    Ashley      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14152    Margaret    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14153    Melanie     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14154    Malikah     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14155    Delicia     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14156    Rayshana    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14157    Lakendra    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14158    Renasha     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14159    Precious    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14160    Nicole      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14161    Tiffani     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14162    Paula       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14163    Sade        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14164    Selena      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14165    Quenshell   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14166    Daphne      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1298 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
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Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 309 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  14167    Jennifer    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14168    Nancy       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14169    Tinesha     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14170    Ariel       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14171    Adriana     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14172    Tiara       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14173    Jada        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14174    Stashon     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14175    Hazel       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14176    Timeshia    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14177    Tee'Airra   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14178    Quawana     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14179    Donna       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14180    Marilyn     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14181    Natalie     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14182    Brittney    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14183    Shantell    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14184    Neva        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14185    Alicia      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14186    Rachel V.   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14187    Katrina     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14188    Tamara M    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14189    Raven       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14190    Ronitta     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14191    Lameeka     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14192    Akenya      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14193    Shania      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14194    Dyonna      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14195    Whitney     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14196    Monique     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14197    Robyne      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14198    Dalian      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14199    Drucilla    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14200    Stephanie   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14201    Linda       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14202    Sylvia      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14203    Aretha      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14204    Bernice     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14205    Theresa     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14206    Patrisha    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14207    Yeshua      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14208    Crystal     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14209    Beverly     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14210    Tomeka      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14211    Donna       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14212    Nazikifea   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1299 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 310 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  14213    Patrice     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14214    Indica      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14215    Karen       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14216    Shawn       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14217    Kamaria     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14218    Stephanie   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14219    Shakira     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14220    Rukiya      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14221    Candez      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14222    Pauline     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14223    Denise      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14224    Wylanda     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14225    Patricia    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14226    Jessica     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14227    Tracey      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14228    Kenyotte    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14229    Erica       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14230    Shunta      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14231    Summer      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14232    Crystal     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14233    Tracy       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14234    Shelly      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14235    Bennette    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14236    Beulah      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14237    Nicolette   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14238    Nedra       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14239    Sharon      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14240    Freda       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14241    Mattie      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14242    Antra       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14243    Simeko      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14244    Danielle    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14245    Nancy       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14246    Venester    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14247    LaQuinta    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14248    Machelle    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14249    Darlena     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14250    Tira        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14251    Dorothy     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14252    Kimberly    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14253    Jalila      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14254    JoAnn       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14255    Renee       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14256    Shirley     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14257    Appolonia   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14258    Anna        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1300 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 311 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  14259    Jocelyn     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14260    Mary        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14261    Lakeisha    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14262    Angelyn     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14263    Jody        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14264    Dianond     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14265    Kimberly    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14266    Chelsea     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14267    Shaundra    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14268    Teskanada   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14269    Shanta      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14270    Leaquanna   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14271    Kenya       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14272    Shartara    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14273    Vinsetta    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14274    Towanna     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14275    Brandy      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14276    Lakeisha    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14277    Latoya      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14278    Belinda     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14279    La’Keshia   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14280    Felicia     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14281    Julia       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14282    Shalita     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14283    Hollye      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14284    Linda       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14285    Lynda       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14286    Taniesha    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14287    Elisha      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14288    Shequitta   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14289    LaDonna     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14290    Latasha     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14291    Jennifer    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14292    Crisacia    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14293    Earlean     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14294    Shannon     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14295    Madaesha    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14296    Andrea      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14297    Akiela      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14298    Shanelle    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14299    Shakeena    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14300    Giovonna    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14301    Mercedes    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14302    Carrie      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14303    Dreama      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14304    Danella     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1301 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  14305    Marian      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14306    Shauntay    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14307    Suzette     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14308    Lena        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14309    Jonithia    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14310    Jasmine     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14311    Tamika      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14312    Jeni        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14313    Jessica     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14314    Wanda       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14315    Marsha      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14316    Lynnetta    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14317    Lakisha     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14318    Ernestine   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14319    Latonya     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14320    Tanisha     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14321    Barbara     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14322    Barbara     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14323    Sunie       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14324    Salome      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14325    Sherri      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14326    Martina     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14327    Tisha       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14328    Ishimina    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14329    Billi       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14330    Janaye      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14331    Angela      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14332    Lyona       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14333    Kimberly    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14334    Dayanna     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14335    Rebecca     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14336    Crystal     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14337    Christine   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14338    Latricia    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14339    Tiffany     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14340    Corinne     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14341    Jodie       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14342    Felisha     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14343    Anjileen    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14344    Jasmine S   S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14345    Deandra     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14346    Anyona      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14347    Danielle    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14348    Titiana     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14349    Ebony       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14350    Melanie     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1302 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 313 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  14351    Monesha     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14352    Shanice     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14353    Ardisheonia S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14354    Beverly     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14355    Deanna      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14356    Erica       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14357    Radiah      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14358    Jessica     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14359    Lillie      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14360    Veronica    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14361    Daisy       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14362    Ruth        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14363    Sierra      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14364    Keosha      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14365    Brittni     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14366    Shanikka    S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14367    Bonnie      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14368    Tiffany     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14369    Monica      S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14370    Iysha       S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14371    Anastasia S.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14372    Olga        S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14373    Demaria     S.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14374    Tyishalle   T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14375    Brittney    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14376    Rosalyn     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14377                T.
           Theresa-Marie                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14378    Takeshia    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14379    Rhonda      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14380    Dorothy     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14381    Nihema      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14382    Letonuia    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14383    Robert      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14384    Jessica     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14385    Shavonta    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14386    Linda       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14387    Lynette     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14388    Judy        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14389    Delores     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14390    April       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14391    Lavelda     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14392    Erika       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14393    Leartice    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14394    Melissa E T.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14395    Davita      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14396    Harnikia    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1303 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 314 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  14397    Linda      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14398    Annie      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14399    Kendall    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14400    Niktanza   T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14401    Bethany    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14402    April      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14403    Zakia      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14404    Kenya      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14405    Kiyera     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14406    Dustie     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14407    Whitley    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14408    Keith      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14409    Giovanna   T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14410    SchampagneT.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14411    Shanique   T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14412    Brittney   T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14413    Cheryl     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14414    Ileah      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14415    Brandy     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14416    Misty      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14417    Kesha      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14418    Quorenna R T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14419    Holiday    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14420    Kimberly   T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14421    Sharon     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14422    Sherry     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14423    Lakita     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14424    Patrica    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14425    Kenisha    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14426    Destinee   T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14427    Gwendolyn T.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14428    Jasmine    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14429    Nicole     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14430    Tiara      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14431    Arneshia   T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14432    Keri       T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14433    Dominique T.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14434    Arieonne   T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14435    Talana     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14436    Lynda      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14437    Patrina    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14438    Doris      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14439    Phyllis    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14440    Latina     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14441    Kayanna    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14442    Lameka     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1304 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  14443    Monica     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14444    Patricia   T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14445    Sharissa   T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14446    Ebony      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14447    Mary       T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14448    Sabrina    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14449    Shatevia   T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14450    Shytasha   T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14451    Lisa       T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14452    Sarah      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14453    Tanisha    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14454    Victoria   T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14455    Khara      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14456    Ericka     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14457    Charlotte  T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14458    Janet      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14459    Gabriel    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14460    Ranell     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14461    Leanna     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14462    Kylene     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14463    Mellissa   T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14464    Deneshalon T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14465    Tanyah     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14466    Charmaine T.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14467    Jazzmyn    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14468    Rochelle   T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14469    Marilyn    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14470    Jazzoree   T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14471    Linda      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14472    Sondra     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14473    Shaniqua   T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14474    Lakesha    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14475    Simone     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14476    Kara       T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14477    Danish     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14478    Zsaquez    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14479    Dorene     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14480    India      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14481    Shanale    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14482    Teadra     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14483    Crystal    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14484    Teresa     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14485    Malinda    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14486    Diamond    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14487    Jessica    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14488    Teya       T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
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Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  14489    Breeann     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14490    Eneequa     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14491    Danisha     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14492    Jacqueline T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14493    Yolanda     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14494    Rosemary T.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14495    Sherilyn Y T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14496    Cathy       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14497    Carla       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14498    Alicia      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14499    Shalimar    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14500    Timiko      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14501    Patrice     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14502    Nikia L     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14503    Latausha    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14504    Roneka      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14505    Camesha T.                      [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14506    Stephanie T.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14507    Devlin      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14508    Mitzie      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14509    Angela      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14510    Angel       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14511    Laura       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14512    Alice       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14513    Majorie     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14514    Amber       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14515    Tisharra    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14516    Brichai     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14517    Ashley Rose T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14518    Chelsea     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14519    Marsha      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14520    Shontale    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14521    Ieshia      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14522    Carmisha l T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14523    Deonna      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14524    Tamiko      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14525    Tia         T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14526    Timara      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14527    Tammy       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14528    Kurston     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14529    Jasmine     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14530    Jacquel     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14531    Tamika      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14532    Johnt’e     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14533    Tammy       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14534    Dachelle    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1306 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 317 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  14535    Briawna       T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14536    Delta         T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14537    Amanda        T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14538    Tina          T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14539    Brandee       T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14540    Sabrina       T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14541    Tonya         T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14542    Jeanine       T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14543    Meaza         T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14544    Corina        T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14545    Jamie         T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14546    Toni          T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14547    Shannece T.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14548    Kristy        T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14549    Jill          T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14550    Virginia      T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14551    Schnestia T.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14552    Anita         T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14553    Marilyn       T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14554    Tiffany       T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14555    Amber         T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14556    Sheena        T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14557    Monique       T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14558    Antionette L. T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14559    Linda         T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14560    Danielle      T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14561    Nonetta       T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14562    karl          T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14563    Shae          T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14564    Shelley       T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14565    Timbi         T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14566    Tashauna T.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14567    Shannon       T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14568    Autumn        T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14569    Jasmine       T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14570    Arlonious     T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14571    Tameka        T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14572    Denise        T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14573    Shemika       T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14574    Sharon        T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14575    Alfreda       T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14576    Eneetra       T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14577    Tyisha        T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14578    Sandra        T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14579    Brittany      T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14580    Letai         T.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 318 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  14581    Patricia     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14582    Patricia     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14583    Raeshawn     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14584    Lakesha      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14585    Katrina      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14586    Deasia       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14587    Rebecca      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14588    Susanne      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14589    Talithe      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14590    Monique      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14591    Teresa       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14592    Chaka        T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14593    Ronlishia    T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14594    Cabaneka     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14595    Jessica      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14596    Stephanie    T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14597    Gabrielle    T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14598    Crishawn     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14599    Latonya      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14600    Sheimeka     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14601    Vanessa      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14602    Brittani     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14603    Dieara       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14604    Vivian       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14605    Ladesha      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14606    Darolyn      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14607    Kimberly     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14608    Kadijah      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14609    Verdena      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14610    Angela       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14611    Amy          T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14612    Crystal      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14613    Dawn         T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14614    Tonya        T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14615    Emosha       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14616    Leporscha    T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14617    Lashonda     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14618    Jean         T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14619    Deondra      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14620    Selena       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14621    Jamilla      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14622    Kadejia      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14623    Ellaleesha   T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14624    Lateisha     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14625    Felicia      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14626    Suwanda      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1308 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 319 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  14627    Patricia     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14628    Leah         T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14629    Cheryl       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14630    Valencia     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14631    Shante       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14632    Lavida       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14633    Annie        T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14634    Marsha       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14635    Tiffany      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14636    Humara       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14637    Chantra      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14638    Dena         T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14639    Jnettia      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14640    Diana        T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14641    Edna         T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14642    Liza         T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14643    Kashlye      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14644    Dinah        T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14645    Eartha       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14646    June         T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14647    Rosa         T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14648    Dorothy      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14649    Kianna       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14650    Destini      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14651    Tiffany      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14652    Jnia         T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14653    Felecia      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14654    Teje         T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14655    Khalimah     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14656    Gwendolyn    T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14657    Laneisha     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14658    Alice        T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14659    Eleanora     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14660    Gloria       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14661    Diane        T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14662    Bernadette   T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14663    Latoya       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14664    Shayla       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14665    Christine    T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14666    Lashaun      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14667    Shamika      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14668    Chasity      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14669    Shanice      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14670    Arnetta      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14671    Nicole       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14672    Shanay       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
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                                 Exhibit (s) A - Q Page 1309 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 320 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  14673    Amber        T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14674    Clarissa     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14675    Deserie      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14676    Diamond      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14677    Zantequa     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14678    Ruby         T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14679    Lacoya       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14680    Brendia      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14681    Margaret     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14682    Aja          T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14683    Kelley       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14684    Shavon       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14685    Clorissa     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14686    Valencia     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14687    Remeka       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14688    Tanya        T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14689    DeShaye      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14690    Tina         T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14691    Sierra       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14692    Briana       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14693    Shenise      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14694    Demetrias    T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14695    Linda        T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14696    Perona       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14697    Monique      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14698    Demisha      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14699    Cora         T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14700    Lakesha      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14701    Marie        T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14702    Lakisha      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14703    Alisha       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14704    Yushica      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14705    Bennie       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14706    Coya         T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14707    Shanay       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14708    Latoia       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14709    Tiffiny      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14710    Lequita      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14711    Etweice      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14712    Tatiana      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14713    Charity      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14714    Lachell N.   T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14715    Lakeisha     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14716    Angela       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14717    Brittney     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14718    Raeniessia   T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
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                                 Exhibit (s) A - Q Page 1310 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 321 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  14719    Deja        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14720    Akieya      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14721    Raven       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14722    Virsie      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14723    Dakyra      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14724    Lakeifhia   T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14725    Drenae      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14726    Veronica    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14727    Tasha       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14728    Shirley     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14729    Mary        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14730    Hailey      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14731    Christine   T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14732    Lisa        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14733    Hope        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14734    Aubrianna T.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14735    Lauren      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14736    Alexanderia T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14737    Gina        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14738    Demitria    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14739    Charlotte   T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14740    Wannetta T.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14741    Antanette   T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14742    Yolanda     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14743    Gayla       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14744    Sentoria    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14745    Charlotte   T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14746    Kai         T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14747    Ashley      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14748    Lydia       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14749    Jessie      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14750    Ayanna      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14751    Alyssa      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14752    Anna        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14753    Cyrenthia   T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14754    Britney     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14755    Antanisha T.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14756    Barbara     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14757    Zim         T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14758    Christina   T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14759    Crystal     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14760    Latricia    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14761    Bryla       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14762    Crescentia T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14763    Lillie      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14764    Tyanna      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1311 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 322 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  14765    Ryann       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14766    Deija       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14767    Elisha      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14768    Catona      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14769    Asonie      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14770    Mary        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14771    Rakita      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14772    Tajsha      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14773    Charlotte   T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14774    Rochelle    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14775    Katrece     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14776    Natasha     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14777    Tara        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14778    Keevie      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14779    Judy        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14780    Shannon     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14781    Shirley     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14782    Alecia      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14783    Donna       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14784    Lakeisha    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14785    Kimberly    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14786    Sherkyro    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14787    Katrina     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14788    Joselyn     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14789    Shanika     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14790    Katura      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14791    Tamaiki     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14792    Sharon      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14793    Shana       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14794    Lakeshia    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14795    Malikah     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14796    Alexis      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14797    Monique     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14798    Naykia      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14799    Shimika     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14800    Jean        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14801    Rashana     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14802    Ayanna      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14803    Belinda     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14804    Steffani    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14805    Khristell   T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14806    Theresa     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14807    Jana        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14808    Khevian     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14809    Shonda      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14810    Deltrice    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1312 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 323 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  14811    Kewshana    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14812    Diamond     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14813    Ladora      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14814    Tina        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14815    Yolanda     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14816    Susanne     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14817    Carline     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14818    Amina       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14819    Tamia       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14820    Janice      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14821    Erica       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14822    Aruna       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14823    Susan       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14824    Demetra     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14825    Jeanette    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14826    Teroline    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14827    Anitra      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14828    Julie       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14829    Jessica     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14830    Jahtasha    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14831    Cherica     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14832    Kimyatta    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14833    Latasha     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14834    Kenya       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14835    Tenishia    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14836    Sherry      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14837    Jasmine     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14838    Angela      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14839    Cheryse     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14840    Beverly     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14841    Emma        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14842    Bianca      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14843    Darnisha    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14844    Brianne     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14845    Rocquell    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14846    Ciara       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14847    Lynne       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14848    Erneshia    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14849    Latisha     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14850    Ava         T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14851    Tilia       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14852    Rodneisha   T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14853    Shanice     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14854    Juanita     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14855    Nicole      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14856    Pamela      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1313 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 324 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  14857    Donna       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14858    Dawnshea    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14859    Vena        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14860    Tonee       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14861    Rin         T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14862    Arlinda     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14863    Shaquita    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14864    Ashley      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14865    Latoya      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14866    Julianna    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14867    Henrietta   T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14868    Kristina    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14869    Jennifer    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14870    Shantrice   T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14871    Hope        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14872    Tami        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14873    Michelle    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14874    Brenda      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14875    Mikkia      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14876    Crystal     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14877    Regine      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14878    Cornelia    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14879    Tammy       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14880    Brittney    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14881    Genelle     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14882    Teena       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14883    Paula       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14884    LaCedes     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14885    Sequoia     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14886    Shamiya     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14887    Vanessa     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14888    Ronisha     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14889    Alicia      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14890    Joyce       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14891    Yolanda     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14892    Deyaricia   T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14893    Sheriee     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14894    Carla       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14895    Wendy       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14896    Brandi      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14897    Delana      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14898    Stacy       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14899    Lashana     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14900    Steffani    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14901    Lacey       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14902    Alfreda     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1314 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 325 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  14903    Judy        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14904    Valerie     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14905    Ehericka    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14906    Patricia    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14907    Lakesha     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14908    Marshon     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14909    Sandra      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14910    Quiteria    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14911    Shaneda     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14912    Bonnie      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14913    Esther      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14914    Tonya       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14915    Lauretta    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14916    Susana      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14917    Kandice     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14918    Anna        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14919    Ashley      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14920    Helen       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14921    Luisa       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14922    Amalia      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14923    Catrina     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14924    Sylvia      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14925    Noemi       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14926    Amber       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14927    Felicita    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14928    Ingiatriz   T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14929    Sonia       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14930    Ililliana   T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14931    Tammi       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14932    Jennifer    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14933    Michelle    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14934    Adreianna   T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14935    Odelia      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14936    Tonya       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14937    Earl        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14938    Roxanne     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14939    Sylvia      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14940    Maimouna    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14941    Mariama     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14942    Jennifer    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14943    Michele     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14944    Comiesha    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14945    Christine   T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14946    Lisa        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14947    Tanya       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14948    Paris       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1315 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 326 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  14949    Lolita     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14950    Rabecca    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14951    Joslynn    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14952    Helena     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14953    Janine     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14954    Norma J    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14955    Kira       T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14956    Sarah      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14957    Aquilla    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14958    Frankie    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14959    Lasonia    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14960    Dominique T.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14961    Jikila     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14962    Brittnie   T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14963    Alexcia    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14964    Tasha      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14965    Deborah    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14966    Donna      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14967    Adrina     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14968    Xuan-nhi   T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14969    Amida      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14970    Tia        T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14971    Kanika     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14972    Vivian     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14973    Misty      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14974    India      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14975    Arryana    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14976    Alexis     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14977    Octavia    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14978    Latoi      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14979    Sheryl     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14980    Taryn      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14981    Alexis     T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14982    Linda      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14983    Aevra      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14984    Fredrika   T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14985    Dashawn    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14986    Trina      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14987    Latasha    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14988    Joyanne    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14989    Catherine T.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14990    Sonia      T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14991    Dana       T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14992    Lawonda M. T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14993    Loretta    T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14994    Gabriela   T.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1316 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 327 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  14995    Barbara     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14996    Kendra      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14997    Kathleen    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14998    Tara        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  14999    Brandy      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15000    Tanya       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15001    Tamica      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15002    Johnnie     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15003    Sheila      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15004    April       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15005    Cathy       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15006    Andrea      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15007    Rochelle    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15008    Nicole      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15009    Sparkle     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15010    Regina      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15011    Tori        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15012    Achanti     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15013    Satai       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15014    Nena        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15015    Veronica    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15016    Lalonnie    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15017    Deondra     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15018    Tammy       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15019    Lois        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15020    Charlie     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15021    Kenisha     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15022    Melva       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15023    Cecelia     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15024    Katrina     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15025    Calina      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15026    Otika       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15027    Jaqual      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15028    Alisiaah    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15029    Yolanda     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15030    Sophia      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15031    Chyna       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15032    Cynthia     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15033    Makala      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15034    Tammy       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15035    Christina   T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15036    Alexis      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15037    Alease      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15038    Amber       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15039    Shana       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15040    Saqouia     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1317 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 328 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  15041    Ginelle      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15042    Tiffaney     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15043    Corneisha    T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15044    Tameka       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15045    Brandy       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15046    Angela       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15047    Alisha       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15048    Angela       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15049    Marshay      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15050    Marlena      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15051    Geneva       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15052    Lauraelle    T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15053    Joyelle      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15054    Marion       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15055    Geraldine    T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15056    Tabitha      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15057    Danelle      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15058    Niaun        T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15059    JoAnn        T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15060    Alberta      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15061    Christina    T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15062    Tanisha      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15063    Shydell      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15064    Larynika     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15065    Shontre      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15066    Patricia     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15067    Jacqueline   T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15068    Angela       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15069    Connie       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15070    Crystal      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15071    Lori         T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15072    Starie       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15073    Monique      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15074    Tameteria    T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15075    Denice       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15076    Andria       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15077    Angelica     T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15078    Toni         T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15079    Cicely       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15080    Lula         T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15081    Linda        T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15082    Tracy        T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15083    Dianna       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15084    Sheila       T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15085    Peggy        T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15086    Crystal      T.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1318 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 329 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  15087    Lexes       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15088    Dajonia     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15089    Dora        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15090    Victoria    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15091    Leady       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15092    Aqueena     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15093    Dianna      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15094    Corisa      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15095    Tiffany     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15096    Latesha     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15097    Tiffanie    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15098    Latoya      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15099    Latangela   T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15100    Rosalyn     T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15101    Quonesha    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15102    Chanel      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15103    Karlisha    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15104    Rose        T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15105    Chaka       T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15106    Janice      T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15107    Alanna L    T.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15108    Funmilayo   U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15109    Jessica     U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15110    Kimberly    U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15111    Courtney    U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15112    Renee       U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15113    Janise      U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15114    Molly       U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15115    Barbara     U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15116    Sherri      U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15117    Tamika      U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15118    Porcha      U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15119    Brianna     U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15120    Robin       U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15121    Latreice    U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15122    Starla      U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15123    Lydia       U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15124    Brenda      U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15125    Patricia    U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15126    Beatriz     U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15127    Josie       U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15128    Rose        U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15129    Marian      U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15130    Rita        U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15131    Tammy       U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15132    Cathy       U.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1319 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  15133    Debra       V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15134    Amanda      V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15135    Caroline    V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15136    Perrica     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15137    Tammy       V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15138    Jasmin      V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15139    Yvette      V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15140    Gema        V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15141    Mauricea    V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15142    Michele     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15143    Wilmeshia   V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15144    Angela      V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15145    Margaret    V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15146    Linda       V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15147    Carmen      V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15148    Bryanna     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15149    Aneudes     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15150    Tamanika    V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15151    Ida         V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15152    Karen       V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15153    April       V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15154    Brittany    V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15155    Griselda    V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15156    Juanita     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15157    Adriana     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15158    Gisela      V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15159    Maria       V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15160    Linda       V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15161    Schunta     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15162    Angel       V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15163    Sharon      V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15164    Shern       V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15165    Sorielle    V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15166    Randi       V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15167    Latasha     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15168    Donnisha    V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15169    Heather     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15170    Shirley     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15171    Sharon      V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15172    Tammy       V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15173    Shannon     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15174    Destiny     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15175    Nancy       V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15176    Dorothy     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15177    Pamela      V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15178    Natalie     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1320 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  15179    Tasha      V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15180    Tyequncia V.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15181    Adeline    V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15182    Moneice    V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15183    Lillie     V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15184    Domonique V.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15185    Carolyn    V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15186    Ann        V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15187    Mykel      V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15188    Christian  V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15189    Theresa    V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15190    Angelita   V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15191    Andriea    V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15192    Maritza    V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15193    Vicky      V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15194    Leatha     V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15195    Kaimana    V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15196    Genee      V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15197    Courtney   V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15198    Kimikio    V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15199    Lauren     V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15200    Jequea     V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15201    Jacqueline V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15202    Toyna      V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15203    Keshia     V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15204    Telena     V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15205    Jemeka     V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15206    Jasmine    V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15207    Brooke     V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15208    Keianna    V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15209    Cheryl     V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15210    Deeatta    V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15211    Virginia   V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15212    Erika      V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15213    Jamikia    V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15214    Felicia    V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15215    Sharene    V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15216    Gabrielle  V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15217    Ashley     V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15218    Stephanie V.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15219    Rosifela   V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15220    Esther     V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15221    Heather    V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15222    Leticia    V.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15223    Esmeralda V.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15224    Stephanie V.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1321 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 332 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  15225    Autum       V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15226    Shavon      V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15227    Loni        V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15228    Bianca      V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15229    Shania      V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15230    Latiana     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15231    Sharisse    V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15232    Jennifer    V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15233    Karla       V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15234    Linda       V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15235    Ashley      V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15236    Isela       V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15237    Tanichia    V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15238    Karima      V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15239    Thao        V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15240    Yolanda     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15241    Liliana     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15242    Wendy       V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15243    Maria       V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15244    Virginia    V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15245    Brenda      V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15246    Beatriz     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15247    Erica       V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15248    Pamela      V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15249    Melissa     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15250    Jasele      V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15251    Samantha    V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15252    Delauren    V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15253    Linda       V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15254    Diana       V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15255    Tiahna      V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15256    Dina        V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15257    Sherion     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15258    Tania       V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15259    Lindsey     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15260    Diane M     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15261    Keonna      V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15262    Rochelle    V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15263    Raychel     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15264    Jessica     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15265    Shamira     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15266    Trenisha    V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15267    McShea      V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15268    Angela      V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15269    Dianne      V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15270    Ettrell     V.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1322 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 333 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  15271    Maria        V.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15272    Jessica      V.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15273    Latrice      V.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15274    Laquita      V.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15275    Nytetia      V.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15276    Rayline      V.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15277    Lakisha      V.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15278    Chalise      V.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15279    Mary         V.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15280    Ilean        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15281    Veronica     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15282    Felicia      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15283    Christina    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15284    Karen        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15285    Shacora      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15286    Essence      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15287    Sharon       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15288    Antionette   W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15289    Rosalind     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15290    Amber        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15291    Monica       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15292    Ashley       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15293    Kathryn      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15294    Laqueva      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15295    Sherrion     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15296    Johnea       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15297    Lakisha      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15298    Pearly       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15299    Victoria     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15300    Lathasea     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15301    Monet        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15302    Tifanny      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15303    Necoisha     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15304    Jessica      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15305    Jennifer     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15306    Shandra      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15307    Martina      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15308    Barbara      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15309    Tiffany      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15310    Wendy        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15311    Darlene      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15312    Abigail      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15313    Nikita       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15314    Zersha       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15315    Cynthia      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15316    Penny        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1323 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 334 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  15317    Jacqueline   W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15318    Nakiya       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15319    Ayanna       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15320    Brittany     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15321    Danielle     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15322    Celestine    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15323    Alexis       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15324    Ashlee       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15325    Daphne       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15326    Marjorie     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15327    Jada         W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15328    Shavonda     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15329    Vickie       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15330    Raven        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15331    Dekeqia      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15332    Ameenah      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15333    Myava        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15334    Mashariki    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15335    Cassandra    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15336    Chryslin     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15337    Tekeela      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15338    Myeschcia    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15339    Lashundra    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15340    Martisha     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15341    Joi          W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15342    Mende        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15343    Barbara      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15344    Dorothy      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15345    Glennicea    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15346    Janada       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15347    Tajuanna     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15348    Christina    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15349    Heidi        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15350    Rosalinde    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15351    Kimberly     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15352    Lavon        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15353    Patrice      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15354    Yolanda      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15355    Kendreka     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15356    Kenyette     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15357    Melissa      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15358    Niesha       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15359    Quishawna    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15360    Diane        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15361    Christina    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15362    Mindi        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1324 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  15363    Chamayah W.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15364    April      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15365    Lakenya    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15366    Tiffany    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15367    Roshunda W.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15368    Adrine     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15369    Latarsha   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15370    Chantay    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15371    Ratoya     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15372    Tharshay   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15373    Catanga    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15374    Keosha     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15375    Yowanda    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15376    Norma      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15377    Candice    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15378    Shirley    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15379    Jane       W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15380    Threathere W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15381    Monica     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15382    Yvette M   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15383    Kimberly   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15384    Michulae   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15385    Charlene   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15386    Melissa    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15387    Danielle   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15388    Adrian     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15389    Legranta   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15390    Genowa     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15391    Courtney   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15392    Ida        W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15393    Lashawndra W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15394    Laquil     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15395    Asia U.    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15396    Candice    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15397    Brittny    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15398    Patsy      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15399    Phylicia   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15400    Lawrencia W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15401    Michelle   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15402    Priscilla  W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15403    Serbrina   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15404    Breyana    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15405    Raquel     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15406    Essie      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15407    Janada     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15408    Tasha      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1325 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 336 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  15409    Joanne       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15410    Yakita       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15411    Nina         W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15412    Monica       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15413    Charmine     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15414    LaFaydra     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15415    Julie        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15416    Jacqueline   W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15417    Kaleah       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15418    Evelyn       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15419    Sandra       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15420    Aisha        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15421    Carla        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15422    Gina         W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15423    Marka        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15424    Brittany     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15425    Dorothy      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15426    Lilla        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15427    Karen        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15428    Lesha        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15429    Ramona       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15430    Carles       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15431    Tia          W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15432    LaRonda      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15433    Tamela       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15434    Kacee        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15435    Taniesha     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15436    Shannon      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15437    Shatora      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15438    Vanessa      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15439    Stephanie    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15440    Celeste      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15441    Tamara       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15442    Dallas       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15443    Shameeka     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15444    Quiara       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15445    Lashay       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15446    Darci        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15447    Victoria     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15448    Rosheba      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15449    Lakimiyion   W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15450    Natasha      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15451    April        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15452    Cori         W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15453    Renee        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15454    Laporshia    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1326 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 337 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  15455    Ivelon    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15456    Margaret  W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15457    Victoria  W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15458    Myeshia   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15459    Ruth      W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15460    Aireal    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15461    Danna     W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15462    ThomasceneW.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15463    Susan     W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15464    Martha    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15465    Ayanna    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15466    Teresa    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15467    Tiffany   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15468    Latonya   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15469    Tmomnika W.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15470    Shantwain W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15471    Erika     W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15472    Eva       W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15473    Ashley    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15474    Annette   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15475    Nadine    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15476    Tina      W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15477    Dore      W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15478    Eboni     W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15479    Kimberly  W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15480    Rosa      W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15481    Cindy     W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15482    Andrea    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15483    Whitney   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15484    Zina      W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15485    Candace   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15486    Danyell   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15487    Tameka    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15488    Margaret  W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15489    Cara      W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15490    Stephanie W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15491    Lorraine  W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15492    Kamesha   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15493    Lola      W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15494    Tamara    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15495    Yolanda   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15496    Shannon   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15497    Courtney  W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15498    Kandice   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15499    Larissa   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15500    Renee     W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1327 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 338 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  15501    Tracy        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15502    Chelsea      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15503    Linda        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15504    Shante       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15505    Annissa      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15506    Kinshasha    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15507    Regina       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15508    Sharetta     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15509    Mia          W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15510    Dalleasha    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15511    Yemaya       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15512    Ontayai      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15513    Reedie       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15514    Tania        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15515    Ebony        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15516    Ruth         W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15517    Abbie        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15518    Nina         W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15519    Tameka       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15520    Somika       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15521    Tammy        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15522    Alisha       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15523    Felicia      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15524    Bridget      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15525    Shanika      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15526    Martina      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15527    Barbara      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15528    Amy          W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15529    Rachell      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15530    Meghan       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15531    Antoinette   W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15532    Shreeya      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15533    Kwonisha     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15534    Sharon       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15535    Carolyn      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15536    MyNesha      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15537    Caitlyn      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15538    Marshell     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15539    Dominique    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15540    Sheila       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15541    Yaniqwa      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15542    Tara         W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15543    Kandace      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15544    Lotacha      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15545    Bobbie       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15546    Krystal      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1328 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  15547    Sylvia      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15548    Seniquia    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15549    India       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15550    Crystal     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15551    Ellen       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15552    Renee       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15553    Keisyanta   W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15554    Toni        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15555    Aleashia    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15556    Willa       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15557    Betty       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15558    Aliyah      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15559    Danielle    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15560    Norchelle   W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15561    Kendra      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15562    Ariel       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15563    Tonesha     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15564    Maxine      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15565    Cheryl      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15566    Serrita     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15567    Lyndora     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15568    Marshayla   W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15569    Nikisha     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15570    Traci       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15571    Denisha     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15572    Ebonee      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15573    Keona       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15574    LeNisa      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15575    Cynthia     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15576    Dornisha    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15577    Janay       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15578    Kanesia     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15579    Junnell     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15580    Stephanie   W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15581    Amber       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15582    Whitney     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15583    Ashley      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15584    Bridget     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15585    Angela      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15586    Jasmine     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15587    Jazma       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15588    Theresa     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15589    Doreen      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15590    Tammy       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15591    Angela      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15592    Timea       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1329 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 340 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  15593    Kysa      W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15594    Nadevia   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15595    Rickia    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15596    Ernestine W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15597    Sharece   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15598    Shana     W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15599    Trinette  W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15600    Danielle  W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15601    Karima    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15602    Quiana    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15603    Mickeyah  W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15604    Ora       W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15605    Mattie    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15606    Charlene  W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15607    Deborah   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15608    Cherie    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15609    Catina    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15610    Ginia     W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15611    Natasha   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15612    Tamara    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15613    Eboni     W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15614    Mariah    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15615    Raquisha  W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15616    Kyandra   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15617    Kemosha   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15618    Kiyana    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15619    Brittney  W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15620    Brittany  W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15621    Jennifer  W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15622    Dameshia W.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15623    Ameesha   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15624    India     W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15625    Angela M  W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15626    Virginia  W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15627    Janeel    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15628    Carolyn   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15629    Teresa    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15630    Joellen   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15631    Casina    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15632    Nellie    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15633    Shery     W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15634    Cathryn   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15635    Lakeisha  W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15636    Donna     W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15637    Tammy LynnW.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15638    Tameca    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1330 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  15639    Erica       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15640    Linda       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15641    Daletha     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15642    Michele     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15643    Amber       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15644    Mary        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15645    Emerald     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15646    Gwendolyn   W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15647    John        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15648    Alane       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15649    Qwen        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15650    Yolanda     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15651    Alyce       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15652    Elizabeth   W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15653    Fatima      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15654    Quierra     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15655    Detra       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15656    Sidni       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15657    Ann         W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15658    Aeisha      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15659    Bristell    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15660    Tiffany     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15661    Myeisha     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15662    Malandria   W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15663    Margaret    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15664    Morlean     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15665    Yolanda     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15666    Christian   W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15667    Deedra      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15668    Antaneka    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15669    Natural     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15670    Gladys      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15671    Crystal     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15672    Chandra     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15673    Sondra      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15674    Tracie      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15675    Shanelle    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15676    Shay        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15677    Colby S     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15678    Soweto      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15679    Nicole      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15680    Mishaya     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15681    Brandin     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15682    Cynthia     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15683    Heather     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15684    LaDonna     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1331 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  15685    Arlene     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15686    Pearl      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15687    Elise      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15688    Tabrina    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15689    Christine  W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15690    Debora     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15691    Kelly      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15692    Milandria  W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15693    Kelly      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15694    Anita      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15695    Wednesday W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15696    Curshawn W.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15697    Donna      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15698    Susan      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15699    Deborah    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15700    Jan        W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15701    Gloria     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15702    Jamesetta W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15703    Rosemary W.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15704    Kimberly   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15705    Robbin     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15706    Christina  W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15707    Jamie      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15708    Courtney   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15709    Chanel     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15710    Tyeshia    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15711    Ewana Lynn W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15712    Kandice    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15713    Melanie    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15714    Donna      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15715    Ruthie     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15716    Veola      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15717    Veronica   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15718    Kimberly   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15719    Carletha   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15720    Tonda      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15721    Peaches    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15722    Sheanetha W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15723    Annette    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15724    Shauneese W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15725    Debra      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15726    Michelle   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15727    Christina  W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15728    Cora       W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15729    Teena      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15730    Chanta     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1332 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
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Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 343 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  15731    Lashanda W.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15732    Kimberly    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15733    Lateris     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15734    Laquat      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15735    Ebony       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15736    Myra        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15737    Miesha M W.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15738    Lashae      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15739    Theresa     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15740    Patti       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15741    Jan         W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15742    April       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15743    Melissa     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15744    Sharon      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15745    Jimmika     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15746    Deidre      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15747    Deven       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15748    Wanda       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15749    Ronesha     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15750    Toshie Annette
                       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15751    Julia       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15752    Jada        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15753    Kaira       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15754    Jaquisha    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15755    Brooke      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15756    Florina     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15757    Sherron     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15758    Talayia     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15759    Melissa     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15760    Debra       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15761    Chelsea     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15762    Tomeika     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15763    Kimberlynn W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15764    Barbara     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15765    Forlisa     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15766    Sheree      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15767    Sherez      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15768    Danile      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15769    Tiffany     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15770    Shaneka     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15771    Yolanda     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15772    Shalina     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15773    Timeka      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15774    Samone      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15775    Diana       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15776    Rebeckah W.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1333 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  15777    Karrie       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15778    Princess     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15779    Africa       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15780    Kea          W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15781    Zenia        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15782    Clara        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15783    Tyeisha      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15784    Nicole       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15785    Lynn         W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15786    Lequila      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15787    Rochelle     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15788    Kashmere W.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15789    Ebone        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15790    Celia        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15791    Cynthia      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15792    Shana        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15793    Brenisha     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15794    Autumn       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15795    Shaquila     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15796    Johnisha     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15797    Watuta       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15798    Debra        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15799    Sophia       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15800    Porsha       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15801    Prensteada W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15802    Diana        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15803    Kelwynn      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15804    Sheala       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15805    Shaquanna W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15806    Katerina     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15807    Theresa      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15808    Maquichia W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15809    Ashley       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15810    Twanda       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15811    Kenjetta     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15812    Tonia        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15813    Marsha       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15814    Bessie       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15815    Kathy        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15816    Jasmine      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15817    Sammy        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15818    Dominique W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15819    Tanganyika W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15820    Leslie       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15821    Tiffany      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15822    Gayle Elaine W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1334 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 345 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  15823    Telisa      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15824    Katara      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15825    Lakisha     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15826    Jazmyne     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15827    Victoria    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15828    Shaquella W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15829    Ashlee      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15830    Kathy       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15831    Wanda       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15832    Rhonda      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15833    Cheryl      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15834    Camera      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15835    YanellymarieW.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15836    Glenda      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15837    Dialaysia   W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15838    Marcella    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15839    Tychais     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15840    Burstine    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15841    Tyrikka     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15842    Kristy      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15843    Chere       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15844    Jade        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15845    Shalisha    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15846    Shaunti     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15847    Chatara     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15848    Tonnie      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15849    Keleisha    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15850    Clarissa    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15851    Kourtney    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15852    Barbara     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15853    Latoshia    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15854    Vereem      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15855    Remecca     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15856    Shamekia W.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15857    Pattie      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15858    Tiffany     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15859    Nikki       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15860    Sheena      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15861    Clanisha    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15862    Adrian      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15863    Destiny     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15864    Heather     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15865    Barbara     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15866    Khryshana W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15867    Ashley      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15868    Antionette W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1335 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  15869    Sheneen     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15870    Mary        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15871    Amirah      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15872    Petrice     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15873    Deshika     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15874    Larri       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15875    Audrey      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15876    Caldonia    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15877    Wanda       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15878    Cheri       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15879    LaVandra W.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15880    Jazmon      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15881    Landon      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15882    Belinda     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15883    Danalynn    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15884    Johnetta    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15885    Lanae       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15886    Lori        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15887    Alexa       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15888    Deborah     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15889    Trentnecia W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15890    Velvet      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15891    Monet       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15892    Ruby        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15893    Stacey      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15894    Laurie      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15895    Casandra W.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15896    Rayner      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15897    Shondra     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15898    Dinita      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15899    Aliya       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15900    Danielle    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15901    Shanika     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15902    Jaya        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15903    Tashauna W.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15904    Tevakevia W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15905    Shandria    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15906    Melony      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15907    Eurie       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15908    Sharonda C W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15909    Tenisha     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15910    Jasmine     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15911    Timberlyn W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15912    Shyenne     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15913    Tychelle M. W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15914    Keiara      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1336 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 347 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  15915    Sherika    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15916    Tiffany    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15917    Penny      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15918    Jaquiece   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15919    Jeanette   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15920    Cara       W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15921    Charmayne W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15922    Samon      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15923    Krystal    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15924    Mary       W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15925    Evelyn     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15926    Jasmine    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15927    Jeanette   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15928    Carolyn    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15929    Beth       W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15930    Lavenya    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15931    Pamela     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15932    Melinda    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15933    Kenyatta   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15934    Gina       W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15935    Natasha    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15936    Carol      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15937    Yolanda    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15938    Yuketa     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15939    Joileah    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15940    Tina       W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15941    Maraela    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15942    Ella       W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15943    Dana       W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15944    Patricia   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15945    Natasha    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15946    Jacqueline W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15947    Elsie      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15948    Lori       W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15949    Linda      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15950    Kishara    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15951    Dwuanna    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15952    Mirrica    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15953    Maureen    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15954    Tracy      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15955    Dawn       W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15956    Ranita     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15957    Terry      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15958    Glenda     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15959    Robin      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15960    Candice    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1337 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 348 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  15961    Shydayshiae W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15962    Jasmine     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15963    Victoria    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15964    Nikita      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15965    Kimberly    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15966    Kendra      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15967    Kiana       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15968    Rozella     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15969    Sherdina    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15970    Christina   W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15971    Stephanie W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15972    Gwendolyn W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15973    Earnestine W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15974    Ulander     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15975    Sandra      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15976    Nataya      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15977    Tasha       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15978    Brittany    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15979    Vanette     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15980    Courtney    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15981    Brittany    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15982    Exie        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15983    Kayla       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15984    Shannon     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15985    Carlesha    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15986    Cherlunda W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15987    Georgia     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15988    Carlita     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15989    Belinda     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15990    Yvette      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15991    Jashawn     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15992    Lawanda     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15993    Jodie       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15994    Courtney    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15995    Mieshiea    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15996    Delores     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15997    Shanell     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15998    Jasmine     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  15999    Julia       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16000    Delia       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16001    Jameelah W.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16002    Keyanna     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16003    Cierra      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16004    Keishawn W.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16005    Denastya    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16006    Shannon     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1338 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  16007    Lasajania   W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16008    Tyja        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16009    Tiosha      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16010    Marsha      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16011    Donna       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16012    Crystal     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16013    Caressa     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16014    Toni        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16015    Mallory     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16016    Linda       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16017    Brittany    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16018    Tiffani     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16019    Lonisha     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16020    Victoria    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16021    Marilyn     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16022    Shakelia    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16023    Nikyra      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16024    Taren       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16025    Herashea    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16026    Blythe      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16027    Felicia     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16028    Lakeisha    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16029    Samantha    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16030    Amber       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16031    Terri       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16032    Sha’Tiana   W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16033    Gena        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16034    Chaquita    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16035    Janetta     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16036    Linda       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16037    KaJanna     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16038    Yolanda     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16039    Kaisa       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16040    Shaina      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16041    Nada        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16042    Marketta    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16043    Clara       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16044    Nicole      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16045    Kathy       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16046    Kayneshia   W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16047    Joanne      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16048    April       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16049    Shanae      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16050    Joy         W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16051    Katie       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16052    Rosalind    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1339 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  16053    Shaniqua  W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16054    Roshawnda W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16055    Kim       W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16056    Tanya     W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16057    Laneece   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16058    Lakesia   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16059    Gloria    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16060    Porsche   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16061    Julia     W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16062    Carolyn   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16063    Tameika   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16064    Chancey   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16065    Myeisha   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16066    Shatara   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16067    Nandi     W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16068    Taryn     W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16069    Latoya    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16070    Tammye    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16071    Jazzlyn   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16072    Shasta    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16073    Cheynne   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16074    Lottia    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16075    Rhonda    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16076    Chloe     W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16077    Lavera    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16078    Latonya   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16079    Delores   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16080    Chloe     W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16081    Temeika   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16082    Christin  W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16083    Lisa      W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16084    Brittany  W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16085    Sharelle  W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16086    Kimisha   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16087    Kimmey    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16088    Donisha   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16089    Renee     W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16090    Joyce     W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16091    Jessica   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16092    Kyun      W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16093    Catherine W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16094    Darlene   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16095    Petra     W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16096    Shannon   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16097    Jaleesa   W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16098    Rayana    W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1340 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  16099    Jazmine     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16100    Sheenae     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16101    Doris       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16102    Johanna     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16103    Jasmine     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16104    Breyauna    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16105    Kwenita     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16106    Tyler       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16107    Ebony       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16108    Sade        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16109    Eartha      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16110    Tiamo       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16111    Deshawn     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16112    Michelle    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16113    Weslia      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16114    Delicia     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16115    Abrieana    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16116    Dontasia    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16117    Jasmine     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16118    Iqueisha    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16119    Angela      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16120    Edna        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16121    Amesha      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16122    Denise      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16123    LaSandra    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16124    Susanna     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16125    Jeanette    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16126    LaShon      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16127    Patrice     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16128    Pamala      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16129    Marquisha   W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16130    Lakeita     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16131    Lakissa     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16132    Dashon      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16133    Lakeisha    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16134    Rhonda      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16135    Tantra      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16136    Latasha     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16137    Ashley      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16138    Lisa        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16139    Natasha     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16140    Gloria      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16141    Ashlee      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16142    Leslie      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16143    Sheek       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16144    Shirley     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1341 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 352 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  16145    Nytia      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16146    Seleita    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16147    Robin      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16148    Vanessa    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16149    Bria       W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16150    Marian     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16151    Shunte     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16152    Mickey     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16153    Monica     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16154    Amber      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16155    Rosie      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16156    Keyon      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16157    Desier     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16158    Louvenia   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16159    Tawana     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16160    Lachaundra W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16161    Shalina    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16162    Ashanti    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16163    Norkeshia W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16164    Kenetra    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16165    Torsha     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16166    Philicia   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16167    Keristen   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16168    Rashida    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16169    Olivia     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16170    Angelic    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16171    Sheryl     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16172    Ramona     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16173    Katherine  W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16174    Shanett    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16175    Jaqwesha W.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16176    Nancy      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16177    Jaquiana   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16178    Tiffanie   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16179    Tyisha     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16180    Nakedra    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16181    Sophia     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16182    Gisele     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16183    Whitley    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16184    Theresa    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16185    Amelia     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16186    Kenadrea W.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16187    Dana       W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16188    Diana      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16189    Barbara    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16190    Vernassa   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1342 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  16191    Tammy        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16192    Annette      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16193    Keyshia      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16194    Rikki        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16195    Annjonette   W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16196    Quamica      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16197    Minnie       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16198    Marcia       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16199    Brittany     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16200    Shaleea      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16201    Stephanie    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16202    Shamese      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16203    La Roeya     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16204    Tamara       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16205    Claudia      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16206    June         W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16207    Shelbi       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16208    Katrina      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16209    Edith        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16210    Kimberly     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16211    Mariah       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16212    Ashley       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16213    Lashay       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16214    Toyosha      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16215    Montrai      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16216    Jaclyn       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16217    Armetrice    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16218    Irma         W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16219    Shardeshia   W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16220    Breneisha    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16221    Mikiesha     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16222    Rekeia       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16223    Charrica     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16224    Charlene     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16225    Shawndra     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16226    Tynette      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16227    Monique      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16228    Leslie       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16229    Ida Mae      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16230    Shagonna     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16231    Bralian      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16232    Helen        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16233    Shonda       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16234    Lashaun      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16235    Lanisha      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16236    Antoinette   W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1343 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  16237    Erica      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16238    Felyca     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16239    Kenesha    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16240    Lakenda    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16241    Sonidrell  W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16242    Shaneka    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16243    LaQuandra W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16244    Angenique W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16245    Margaret   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16246    Latreece   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16247    Channesha W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16248    Lily       W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16249    Quianetra W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16250    Brittney   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16251    Dionne     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16252    Brittany   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16253    Carlynn    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16254    Alberta    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16255    Niesha     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16256    Lakaisha   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16257    Allison    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16258    Yvonne     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16259    Roulina    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16260    Colleen    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16261    Amanda     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16262    Lisi       W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16263    Leslie     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16264    Sonia      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16265    Tiarra     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16266    Crystal    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16267    Antoinette W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16268    Maudie     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16269    Niya       W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16270    Franzette  W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16271    Vonciea    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16272    Takeisha   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16273    Lynette    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16274    Donisha    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16275    Deborah    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16276    Natasha    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16277    Alexis     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16278    Chanika    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16279    Karen      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16280    Trateria   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16281    Loubelia   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16282    Chyril     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1344 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  16283    Rozita      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16284    Debbie A    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16285    Darice      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16286    Diane       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16287    Sandra      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16288    Suzanne     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16289    Sharon      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16290    Isabella    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16291    Threasa     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16292    Tammie      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16293    Jacqueline W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16294    Beverly     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16295    Faye        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16296    Janice      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16297    Christopher Denise
                       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16298    LeShawanneW.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16299    Lottie      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16300    Reonda      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16301    Donyette    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16302    Kimberly    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16303    Linda       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16304    Jacqueline W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16305    Tamika      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16306    Sue A       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16307    Tiffany     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16308    Rekiyra     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16309    Tenicia     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16310    Lorretta    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16311    Carla       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16312    Verdon A    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16313    Keisha      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16314    Crystal G. W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16315    Tamatha     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16316    Nikki       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16317    Dina        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16318    Okima       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16319    Mia         W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16320    Pamela      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16321    Ebony       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16322    Kimberly    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16323    Tisha       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16324    Marttield R W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16325    Nicole      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16326    Imani       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16327    Latesha     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16328    Nitara      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1345 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 356 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  16329    Lakiesha     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16330    Renita       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16331    Tynesa       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16332    Valorre E    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16333    Laneka       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16334    Gwendolyn    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16335    Chanda       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16336    Terria       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16337    Senya        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16338    April        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16339    Devon        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16340    Latasha      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16341    Lynetta      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16342    Christa      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16343    Nicole R     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16344    Robin L      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16345    Nichelle     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16346    Nequoia      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16347    Leola        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16348    Nakeytha     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16349    Deniece      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16350    Ebony        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16351    Latasha      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16352    Asia         W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16353    Georgia      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16354    Joanna       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16355    Jermaine     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16356    Shantil      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16357    Antoinette   W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16358    Troylesha    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16359    Elana        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16360    Gwetia       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16361    Keyunsha     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16362    Lynea        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16363    Amanda       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16364    Louise       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16365    Antonette    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16366    Adria        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16367    Sieairra     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16368    Chasadey     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16369    Rayna        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16370    Kristian     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16371    Lolisha      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16372    Tylisa       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16373    Jonice       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16374    Troylynn     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1346 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 357 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  16375    LeAndra    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16376    Kyra       W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16377    Tranasha   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16378    Morgan     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16379    Clara      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16380    Dashi      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16381    Chassidy   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16382    Kristin    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16383    Danyell    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16384    Tambussie W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16385    Jasmine    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16386    Toni       W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16387    Carrie     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16388    Mykea      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16389    Destyni    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16390    Nahasia    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16391    D'amber    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16392    Chardonnay S
                      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16393    Jasmine    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16394    Erica D    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16395    Nicole     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16396    Tierra     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16397    Andrea     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16398    Icesse     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16399    Jamie      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16400    Barbara    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16401    Tonya      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16402    Bria       W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16403    Sharell    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16404    Monica     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16405    Juanita    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16406    Danielle   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16407    Eva        W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16408    Jasmine    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16409    Angel      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16410    Tiffany    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16411    Demory     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16412    Nicole     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16413    Theresa    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16414    Patrice    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16415    Latisha    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16416    Jodi       W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16417    La’Shon    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16418    Cassandra W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16419    Glenda     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16420    Jurlee     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1347 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 358 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  16421    Francis      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16422    Latasha      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16423    Essence      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16424    Laquicheia   W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16425    Heather      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16426    Stacey       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16427    Delethia     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16428    Sharon       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16429    Yolanda      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16430    Verniqua     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16431    Calandra     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16432    Dalya        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16433    Jacqueline   W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16434    Gwendolyn    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16435    Juaquita     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16436    Michele      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16437    Henraine     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16438    Karen        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16439    Melanthia    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16440    Avanta       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16441    Velma        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16442    Carla        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16443    Tracey       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16444    Eulalia      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16445    Ida          W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16446    Patricia     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16447    Jalessa      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16448    Sarah        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16449    Natalie      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16450    Dominique    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16451    Alica        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16452    Rasheeda     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16453    Julia        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16454    Evonia       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16455    Tiffany      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16456    Latasha      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16457    Melody       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16458    Brenda       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16459    Carol        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16460    Zaire        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16461    Carla        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16462    Alexia       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16463    Shamika      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16464    Sheila       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16465    Darlecia     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16466    Linda        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1348 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  16467    Marquaisha W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16468    Lalonni     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16469    Catherine W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16470    Denise      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16471    Linda       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16472    Shametris W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16473    Ltanya      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16474    Phroney     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16475    George      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16476    Tia         W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16477    Katie       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16478    Yvette      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16479    Therasa     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16480    Carnessia W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16481    Tanya       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16482    Rosie       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16483    Tatianna    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16484    Katrina     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16485    Arnetranice W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16486    Lakesia     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16487    April       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16488    Kashandra W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16489    Carol       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16490    Willie      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16491    Clarissa    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16492    Carmela     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16493    Demetrius W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16494    Sharie      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16495    Stephanie W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16496    Princess    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16497    Taniesha    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16498    Heather     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16499    Karletha    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16500    Janna       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16501    Erica       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16502    Bobbie      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16503    April       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16504    Bridgitte   W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16505    Joan        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16506    Khaleela    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16507    Carla       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16508    Alexandria W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16509    Rhonisha    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16510    Teriah      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16511    Jacqulyn    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16512    Daniella    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1349 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  16513    Emma        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16514    Tracy       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16515    Wanda       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16516    Angelica    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16517    Marilyn     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16518    Nicoa       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16519    Tedra       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16520    Barbara     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16521    Tina        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16522    Mae Ole     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16523    Sharon      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16524    Florence    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16525    Jane        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16526    Hope L.     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16527    Bertha      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16528    Amy         W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16529    Trena       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16530    Kim         W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16531    Serina      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16532    Raquel      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16533    Aisha       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16534    Lisa        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16535    Augusta     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16536    Janice      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16537    Raelynne    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16538    Jennifer    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16539    Rovonne     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16540    Arielle     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16541    Rochelle    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16542    Aja         W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16543    Semmik      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16544    Alliene     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16545    Alicia      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16546    Keeyonna    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16547    Arika       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16548    Tyshena     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16549    Brandi      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16550    Amanda      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16551    Ladaisha    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16552    Tylea       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16553    Jasmine     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16554    Jamie       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16555    Sarde       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16556    Lynecia     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16557    Patricia    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16558    Stephanie   W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1350 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  16559    Nanyamka    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16560    Arlene      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16561    Nyah        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16562    Natasha     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16563    Tricie      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16564    Catrisha    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16565    Brigitte    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16566    Wyneisha    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16567    Monique     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16568    Phyllis     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16569    Sherry      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16570    Deandra     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16571    Wilma       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16572    Shanta      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16573    Teresa      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16574    Latrabia    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16575    Alvetta     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16576    Keiunnia    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16577    Robin       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16578    Sheleta     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16579    Phyllicia   W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16580    Jakaria     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16581    Wanda       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16582    Brenda      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16583    Shakieta    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16584    Karen       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16585    Dominique   W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16586    Shamika     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16587    Toni        W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16588    Brittany    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16589    Glenice     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16590    Janice      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16591    Terese      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16592    Lakeisha    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16593    Talacia     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16594    Jacarra     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16595    Winifred    W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16596    Angela      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16597    Christian   W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16598    Kendra      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16599    Jasmine     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16600    Cassandra   W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16601    Robin       W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16602    Tersia      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16603    Latasha     W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16604    Sandra      W.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1351 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 362 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  16605    Nakisha    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16606    Tanesha    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16607    B'Arka     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16608    Peace      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16609    Deborah    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16610    Mona       W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16611    Michelle   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16612    Kay        W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16613    Tonya      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16614    Roberta    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16615    Satrina    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16616    Carla      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16617    Latoya     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16618    LaRhonda W.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16619    Alice      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16620    Mary       W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16621    Sharon     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16622    Lakisha    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16623    Sharon     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16624    Shelia     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16625    Demonica W.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16626    Kim        W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16627    Gabrielle  W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16628    Heather    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16629    Jasmin     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16630    Kalin      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16631    Erika      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16632    Florence   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16633    LaDevionce W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16634    Teresa     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16635    Maryellen W.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16636    Candance W.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16637    Tracey     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16638    Gabrielle  W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16639    Barbara    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16640    Teri       W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16641    Angela     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16642    Carmet     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16643    Victoria   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16644    Lanorah Denise
                      W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16645    Takola     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16646    Cheryl     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16647    Ruby       W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16648    Lachelle   W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16649    Tanika     W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16650    Johnnie    W.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1352 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 363 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  16651    Tara         W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16652    Marisa       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16653    Larcarol     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16654    Sherri       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16655    Dominique    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16656    Roberta      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16657    Linda        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16658    Cherisse     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16659    Bryttany     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16660    Tahonie      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16661    Shatanique   W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16662    Latricia     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16663    Iieha        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16664    Cassandra    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16665    Jeanette     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16666    Pamela       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16667    Selina       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16668    Ayoka        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16669    Waneesha     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16670    Krystle      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16671    Ashley       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16672    Kyiana       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16673    Kadisha      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16674    Kimberly     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16675    Amber        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16676    Diamondya    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16677    Rosetta      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16678    April        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16679    Malania      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16680    Joan         W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16681    Rebecca      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16682    Paggy        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16683    Leeandrea    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16684    Michelle     W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16685    Constance    W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16686    Roemell      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16687    Markia       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16688    Barbara      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16689    Nicole       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16690    Cambrey      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16691    Wendy        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16692    Patrice      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16693    Zellia       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16694    Kenya        W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16695    Teresa       W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16696    Monique      W.                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1353 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 364 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  16697    Mary          W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16698    Rebecca       W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16699    Alexis B      W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16700    Chrishenell   W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16701    Dana          W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16702    Linda         W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16703    Hazel         W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16704    Kimberly      W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16705    Shandra       W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16706    Angela        W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16707    Thelma        W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16708    Tyleyiah      W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16709    Chanel        W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16710    Doris         W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16711    Erica         W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16712    Glennisha     W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16713    Jamila        W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16714    Corisa        W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16715    Janet         W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16716    Sharon        W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16717    Eunice        W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16718    Melinda       W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16719    Celeste       W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16720    Monica        W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16721    Brittany      W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16722    Nicole        W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16723    Laquetta      W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16724    Lacresa       W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16725    Tracey        W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16726    Kirstin       W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16727    Freda         W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16728    La’Chelle     W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16729    Shanea        W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16730    Armeker       W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16731    Rosanda       W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16732    Kimberly      W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16733    Shavonn       W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16734    Latoya        W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16735    Maekia        W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16736    Lanae         W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16737    Marisa        W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16738    Renee         W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16739    Leicia        W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16740    Ronisha       W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16741    Rosalind      W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16742    Neva          W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1354 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 365 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  16743    Denise        W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16744    Valeria       W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16745    Jamica        W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16746    Malaysia      W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16747    Marry         W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16748    Sonya         W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16749    Shirley       W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16750    Laurie        W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16751    Althea        W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16752    Alicia        W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16753    Jorie         W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16754    Tanya         W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16755    Tarrell       W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16756    Saquanda W.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16757    Shawntay W.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16758    Ericka N      W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16759    Janea         W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16760    Joann         W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16761    Zelvonia      W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16762    Lakeysha      W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16763    Marsha        W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16764    Portia        W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16765    Kateichia     W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16766    Debra         W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16767    Katrina       W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16768    Tiffany       W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16769    Leah Billingsley
                         W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16770    Barbara       W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16771    Valerie       W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16772    Lydia         W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16773    Vanessa       W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16774    Lynette       W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16775    Tonya         W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16776    Georgina      W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16777    Andrea        W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16778    Nasacari      W.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16779    Silver        X.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16780    Ie            X.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16781    Ayesha        Y.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16782    Jessica       Y.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16783    Helen         Y.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16784    Brittany      Y.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16785    Teresa        Y.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16786    Nikki         Y.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16787    Amelia        Y.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16788    Linda         Y.                [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1355 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
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           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  16789    Jericha     Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16790    Mary        Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16791    Patricia    Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16792    Dominique Y.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16793    La Tia      Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16794    Johnitta    Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16795    Edith       Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16796    Amber       Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16797    Kiarra      Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16798    Laurie      Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16799    Rebecca     Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16800    Franche     Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16801    Brianna     Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16802    Karen       Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16803    Ronelda     Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16804    Sherece     Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16805    Yaakovyah Y.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16806    Devon       Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16807    LashandolineY.
                        L                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16808    Laura       Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16809    Claudette   Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16810    Shavonda Y.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16811    Jackie      Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16812    Kali        Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16813    Tammy       Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16814    Mona        Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16815    Angola      Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16816    Ann         Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16817    Rhonda      Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16818    Margaret    Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16819    Shalonda    Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16820    Yolanda     Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16821    Sabrina     Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16822    Melissa     Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16823    Karen       Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16824    Sereba      Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16825    Senora      Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16826    Julia       Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16827    Tehia       Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16828    Jacole      Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16829    Kenya       Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16830    Ione        Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16831    Donna       Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16832    Sheila      Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16833    Leona       Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16834    Brea        Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1356 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 367 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  16835    Keyonah    Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16836    April      Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16837    Andrea     Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16838    Kawana     Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16839    Harquilla  Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16840    Marcie     Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16841    Stefanie   Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16842    Sheila     Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16843    Robin      Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16844    Toninette  Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16845    Tamesha    Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16846    Katina     Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16847    Lajuana    Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16848    Stephanie Y.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16849    Kiana      Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16850    Tayaqua    Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16851    Margarete Y.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16852    Melinda    Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16853    Wilma      Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16854    Debra K    Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16855    Constanze Y.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16856    Kathy      Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16857    Hanoi      Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16858    Roslyn     Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16859    Tamara     Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16860    Carles     Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16861    Delonda    Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16862    April      Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16863    Lashaun D Y.                    [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16864    Sabrina    Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16865    Melonie    Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16866    Dezrae     Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16867    Danielle   Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16868    Marina     Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16869    Crystal    Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16870               Y.
           Nasheaky Nashay                 [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16871    Thursday   Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16872    Ynasha     Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16873    Ana        Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16874    Deanna     Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16875    Breeanna Y.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16876    Angela     Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16877    Carla      Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16878    Margaret   Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16879    Barbara    Y.                   [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16880    Samantha Y.                     [Redacted]       [Redacted]    [Redacted]     [Redacted]
      Case 23-01092-MBK          Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04                 Desc
                                 Exhibit (s) A - Q Page 1357 of 1377
In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 368 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  16881    Kayla       Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16882    Aisha       Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16883    Brittany    Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16884    Mary        Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16885    Arlene      Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16886    Betty Grace Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16887    Jessica     Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16888    Falandia    Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16889    Kay         Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16890    Jackie      Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16891    Tonya       Y.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16892    Laura       Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16893    Starwishi   Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16894    Tiffany     Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16895    Tonya       Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16896    Charne      Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16897    Carla       Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16898    Mary        Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16899    Vilma       Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16900    Mary        Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16901    Alicia      Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16902    Juana       Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16903    Phoebe      Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16904    Kimberly    Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16905    Heather     Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16906    Theresa     Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16907    Melissa     Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16908    Wendy       Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16909    Tiara       Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16910    Tatiana     Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16911    Florence    Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16912    Patricia    Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16913    Latanya     Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16914    Latanya     Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16915    Shaquala    Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16916    Shannon     Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16917    Jennifer    Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16918    Amy         Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16919    Alexiss     Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16920    Maria       Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16921    Joanne      Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16922    Crystal M   Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16923    Helen       Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16924    Brenda      Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16925    Erniesha    Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16926    Tenise      Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
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In re: LTL Management LLC, Case No. 23-12825-MBK
Verified Rule 2019 Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins Rubio LLP
Exhibit P-1 – Watts Guerra LLP - Redacted Claimant Schedule
Page 369 of 369

           First Name
Claimant                 Last Name                                           Date of
            (injured                        Date of Birth
   No.                (injured person)                           SSN        Death (if
            person)
                                                               (last 4)    applicable)       Claim Type
  16927    Tineka      Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16928    Julie       Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16929    Jenette     Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16930    Amanda      Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16931    Diana       Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16932    Kaisa       Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16933    Veronica    Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16934    Tonya       Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
  16935    Nicole      Z.                  [Redacted]       [Redacted]    [Redacted]     [Redacted]
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                                            Exhibit Q


                        AHC of Supporting Counsel Member Acknowledgements




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                            Exhibit (s) A - Q Page 1363 of 1377



                                      ACKNOWLEDGEMENT

        I hereby represent that the information provided herein with respect to Andres Pereira Law
Firm is true and correct to the best of my knowledge.

                                             ANDRES PEREIRA LAW FIRM:

                                             By:
                                             Name: Andres Pereira
                                             Title:    Principal Atty




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                                                       ACKNOWLEDGEMENT

                   I hereby represent that the information provided herein with respect to Andrews &
            Thornton is true and correct to the best of my knowledge.

                                                             ANDREWS & THORNTON:

                                                             By:
                                                             Name: Anne Andrews
                                                             Title: Partner




                                                               3
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                                      ACKNOWLEDGEMENT

         I hereby represent that the information provided herein with respect to Johnson Law Group
is true and correct to the best of my knowledge.

                                             JOHNSON LAW GROUP:

                                             By:
                                             Name: Basil E. Adham
                                             Title: Partner
  Case 23-01092-MBK         Doc -1 Filed 05/09/23 Entered 05/09/23 03:22:04               Desc
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                                       ACKNOWLEDGEMENT

         I hereby represent that the information provided herein with respect to Linville Law Group
is true and correct to the best of my knowledge.

                                             LINVILLE LAW GROUP:

                                             By:
                                             Name: Hunter Linville
                                             Title: Member




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DocuSign Envelope ID: 4FED1E08-34CA-4AF5-A817-95923E4593FF
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                                                        ACKNOWLEDGEMENT

                    I hereby represent that the information provided herein with respect to McDonald Worley
            PC is true and correct to the best of my knowledge.

                                                             MCDONALD WORLEY PC:

                                                             By:
                                                             Name: Don Worley
                                                             Title: President




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                                    ACKNOWLEDGEMENT

        I hereby represent that the information provided herein with respect to Nachawati Law
Firm is true and correct to the best of my knowledge.

                                          NACHAWATI LAW FIRM:
                                                 /s/ Majed Nachawati
                                          By:
                                          Name: Majed Nachawati
                                          Title:    Managing Partner




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DocuSign Envelope ID: A342475D-B449-4C11-B716-C06B65349B2A
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                                                        ACKNOWLEDGEMENT

                    I hereby represent that the information provided herein with respect to Paul LLP is true and
            correct to the best of my knowledge.

                                                             PAUL LLP:

                                                             By:
                                                             Name: Rick Paul
                                                             Title: Partner




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                                                       ACKNOWLEDGEMENT

                  I hereby represent that the information provided herein with respect to Pulaski Kherkher,
            PLLC is true and correct to the best of my knowledge.

                                                             PULASKI KHERKHER, PLLC:

                                                             By:
                                                             Name: Adam Pulaski
                                                             Title: Partner




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                                       ACKNOWLEDGEMENT

         I hereby represent that the information provided herein with respect to Rueb Stoller Daniel
is true and correct to the best of my knowledge.

                                              RUEB STOLLER DANIEL:

                                              By:
                                              Name: Greg Rueb
                                              Title: Founding Partner




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DocuSign Envelope ID: BEDE7DBB-31E1-442B-9129-8856AFA39C4D
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                                                       ACKNOWLEDGEMENT

                     I hereby represent that the information provided herein with respect to Singleton Schreiber
            is true and correct to the best of my knowledge.

                                                             SINGLETON SCHREIBER:

                                                             By:
                                                             Name: Andrew Bluth
                                                             Title: Partner




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                                      ACKNOWLEDGEMENT

       I hereby represent that the information provided herein with respect to Trammell PC is true
and correct to the best of my knowledge.

                                             TRAMMELL PC:

                                             By:
                                             Name: Fletcher Trammell
                                             Title: President/Owner




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                                      ACKNOWLEDGEMENT

         I hereby represent that the information provided herein with respect to Watts Guerra LLP
is true and correct to the best of my knowledge.

                                            WATTS GUERRA LLP:

                                            By:
                                            Name: Mikal Watts
                                            Title: Capital Partner




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